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                     EXHIBIT 2
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                    UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF DELAWARE



   MICHAEL NINIVAGGI, JAKE MICKEY
   and CAILIN NIGRELLI, individually and on   Civil Action No. 20-cv-1478-SB
   behalf of all others similarly situated,

                             Plaintiffs,

         v.

   UNIVERSITY OF DELAWARE,

                             Defendant.

   HANNAH RUSSO, individually and on be-
   half of all others similarly situated,     Civil Action No. 20-cv-1693-SB

                             Plaintiff,

         v.

   UNIVERSITY OF DELAWARE,

                             Defendant.




                           Expert Report of Steven P. Gaskin




                                                                               1
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        1.      I am Steven P. Gaskin. I make this Declaration based upon my personal knowledge

 and under authority of 28 U.S.C. § 1746.


                              I.    Introduction and Qualifications

        2.      I am Steven P. Gaskin. I am an independent survey expert. I have served as a

 Principal at Applied Marketing Science, Inc., of Waltham, MA (“AMS”) from 2004 - 2020. I hold

 Bachelor of Science and Master of Science degrees in Management from the Sloan School of

 Management at the Massachusetts Institute of Technology (“MIT”). I have co-authored a number

 of articles and papers in such top-ranked peer-reviewed publications as Marketing Science and

 Management Science. In addition, I have authored several conference presentations on aspects of

 conjoint analysis.

        3.      I have served as an expert witness in various legal disputes. I have been called

 upon primarily to project what customers would have done in different market scenarios and to

 measure reductions in market value or price premia of product features, often through conjoint

 analysis. My professional qualifications, a list of cases in which I have testified at deposition or

 trial, and a list of publications I have authored are included in my Curriculum Vitae, attached as

 Exhibit A to this Report.

        4.      In undertaking this assignment, I relied on my extensive expertise in developing,

 testing, and analyzing surveys, and in interpreting qualitative and quantitative research about

 consumer attitudes, intentions, and behavior. The facts and/or data upon which I base the opinions

 and inferences reflected in this Report are of a type reasonably relied upon by experts in my field.




                                                                                                   2
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             5.     A complete list of materials I have considered to date in connection with this

 particular assignment is included as Exhibit B. To the extent that I review additional information

 that I deem worthy of discussing, I will supplement my Report and this list.

             6.     Part of the work for this analysis was performed under my direction by others at

 AMS.1 Throughout this Report, I have used the terms “I” and “my” to refer to work performed by

 me and/or others under my direction.

             7.     My time as a survey expert is being compensated at a rate of $800 per hour. Neither

 my nor AMS’ compensation is contingent upon the opinions I render or the outcome of this

 litigation.


                                                 II.    Assignment

             8.     It is alleged that the University of Delaware (“Defendant” or the “University”)

 decided “not to issue appropriate refunds for the Spring 2020 term after canceling in-person classes

 and changing all classes to an online/remote format,2 closing most campus buildings, and requiring

 all students who could leave campus to do so as a result of the Novel Coronavirus Disease

 (“COVID-19”).”3 Plaintiffs and members of the Class allege that “although Defendant continued

 to offer some level of academic instruction via online classes, Plaintiffs and members of the

 proposed Class were deprived of the benefits of on-campus enrollment for which they paid.”4

 Additionally, Plaintiffs and members of the Class allege they were deprived of utilizing services

 for which they have already paid, such as the option to take courses in-person or online instead of


 1
     https://www.ams-inc.com/
 2
   When I refer to in-person classes in this Report, I mean the choice of in-person or online/remote courses, as opposed
 to online/remote courses only.
 3
     Consolidated Class Action Complaint, ¶ 1.
 4
     Id., ¶ 48.

                                                                                                                      3
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 solely online, access to campus facilities, student activities, health services, and other opportunities

 (the “Closure of the University Campus”).5

             9.        Plaintiffs and the putative class are therefore seeking a refund of tuition for in-

 person educational services, facilities, access and/or opportunities that Defendant has not provided.

 Plaintiffs seek, for themselves and a proposed class, Defendant’s disgorgement of the difference

 between the fair market value of the online learning provided versus the fair market value of the

 live, in-person instruction in a physical classroom on a physical campus with all the attendant

 benefits for which they contracted.6 It is my understanding that the proposed class is defined as

 “All undergraduate students enrolled in classes at the University of Delaware during the Spring

 2020 semester who paid tuition” (the “Class”).

             10.       Assuming Plaintiffs’ allegations are true, I was asked by counsel for Plaintiffs to

 design, describe, and execute a market research survey (the “University Survey”) and to conduct

 an analysis that would enable me to assess the extent the reduction, if any, in market value resulting

 from the Closure of the University Campus (measured in dollars and/or percentage terms).7

             11.       For this survey, I selected choice-based conjoint (“CBC”) analysis as the most

 appropriate survey methodology. I have used this method successfully in other litigation contexts

 where the objective was to determine the relative market values of a product or service with and

 without a particular product or service feature or claim on the label or given the disclosure or non-

 disclosure of a product or service feature at the time and point of first purchase.




 5
     Id., ¶¶ 48, 50.
 6
     Id., ¶ 127.
 7
   The conversion of dollar figures to a percentage amount is a relatively straightforward undertaking, which is done
 in a fair and conservative way that has been accepted by many courts (see ¶ 23 for examples of these cases). This
 conversion to a percentage amount is described in ¶ 59.

                                                                                                                   4
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        12.     The conjoint analysis I describe in this Report was designed to estimate the

 reduction, if any, in market value (measured in dollars and/or percentage terms) resulting from the

 Closure of the University Campus, meaning the difference in the market value between in-person

 classes and full access to the University’s campus and facilities, compared to the market value of

 online classes and no access to the University’s campus or facilities, at the time and point of

 acceptance. The scientific methodology used to design, execute, and analyze the survey in this

 Report is sound, reliable, and valid. In undertaking this assignment, I relied on my extensive

 expertise in developing, testing, and analyzing surveys, and in interpreting qualitative and

 quantitative research about consumer attitudes, intentions, and behavior.


                                  III. Summary of Conclusions

        13.     The survey and analysis I ran were designed to estimate any reduction in market

 value (measured in dollars and/or percentage terms) due to the Closure of the University Campus

 in Spring 2020, meaning the difference in market value between in-person classes and full access

 to the University’s campus and facilities, compared to the market value of online classes and no

 access to the University’s campus or facilities, at the time and point of acceptance. Based on the

 survey and analysis described in this Report, I conclude that the reduction in market value resulting

 from the Closure of the University Campus in Spring 2020 due to a change from in-person classes

 and full access to the University’s campus and facilities to online classes and no access to the

 University’s campus or facilities is 15.2%.


                                  IV. Overview of Methodology

        14.     The basic methodology that I selected is known as web-based conjoint analysis.

 Conjoint analysis is a tool that enjoys wide use and acceptance in the field of market research. It

                                                                                                    5
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 was introduced to the field of market research in 1971 and is generally recognized by marketing

 science academics and industry practitioners to be the most widely studied and applied form of

 quantitative market value measurement. It has been shown to provide valid and reliable measures

 of consumer choices, and these have been shown to provide valid and reliable estimates of the

 relevant market value under scenarios related to those measured. 8

           15.    The general idea behind conjoint analysis is that the market value for a particular

 product is driven by features, or descriptions of features, embodied in that product. During the

 survey, consumers are shown sets of product profiles made up of varying features (“choice sets”)

 and asked, as part of a series of “choice tasks,” to indicate their preferred product profile among

 those shown. At no point are respondents asked to indicate directly how much they would pay for

 any product or given set of features; rather, the analysis is based on choices respondents make

 among alternative product profiles (or, in this case, university profiles) like those that are shown

 in the choice tasks described in this Report (See Figure 1 below as an example of a single “choice

 task”).




 8
  Louviere, Jordan (1988). “Conjoint Analysis Modelling of Stated Preferences: A Review of Theory, Methods,
 Recent Developments and External Validity,” Journal of Transport Economics and Policy: Stated Preference
 Methods in Transport Research, Vol. 22, No. 1 (Jan.), pp. 93-119.

                                                                                                              6
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                                 Figure 1: Choice Task Example




        16.     I used Sawtooth Software (http://sawtoothsoftware.com) for the programming of

 the survey and will make use of it for the analysis of the survey’s results. Sawtooth Software is a

                                                                                                  7
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 leading provider of conjoint analysis software.9 Its software is used by academics and business

 practitioners around the world. Conjoint analysis provides respondents with realistic choices

 among hypothetical products that vary on multiple feature categories. Its use of appropriate

 statistical methods, including Hierarchical Bayes (“HB”) regression analysis,10 enhances

 predictive ability, making the conjoint analysis even more reliable and valid.

            17.      The randomization of the order and appearance of the features and levels in the

 survey helps keep the respondent from focusing on a single feature or attribute,11 which minimizes

 demand artifacts that might be induced. A “demand artifact” is similar to a leading question in

 that it encourages respondents to answer a question in a way that the researcher would prefer or

 that they feel the researcher is “demanding.” 12

            18.      The conjoint analysis uses data from the survey on the feature levels of the

 university profiles shown, and the resulting choices of respondents, to generate partial

 contributions of these feature levels (“partworths”) to overall university utility.13 The partworths

 for feature levels are identified with the estimation methods so that the partworths best predict

 customers’ choices from the survey. Conjoint analysis allows for the prediction of the probability

 that customers will choose any university profile that can be described by the feature levels and

 can do so for any competitive set of universities. I can also simulate how choice shares would



 9
   Sawtooth Software, Inc.’s Lighthouse Studio package, which is a well-known and widely used software system for
 these types of applications, was used to program the conjoint analysis section of the questionnaire and to analyze the
 survey results.
 10
      The CBC System for Choice-Based Conjoint Analysis (Version 9), Sawtooth Software Technical Paper Series, 2017.
 11
   “Attribute” is another commonly-used term for a product (or in this case, university) feature. I will be making use
 of it below.
 12
   Simonson, I., and R. Kivetz (2012). “Demand Effects in Likelihood of Confusion Surveys: The Importance of
 Marketplace Conditions,” Trademark and Deceptive Advertising Surveys: Law, Science, and Design, Shari Seidman
 Diamond and Jerre B. Swann, Eds, Chicago, IL.: ABA Publishing, American Bar Association, p. 243.
 13
      “Utility” is an economic term referring to the total satisfaction received from consuming a good or service.

                                                                                                                     8
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 change in a market based on a change in overall tuition.14 By making use of these capabilities,

 CBC allows me to determine the reduction, if any, in market value (measured in dollars and/or

 percentage terms) between in-person classes and full access to the University’s campus and

 facilities, compared to the market value of online classes and no access to the University’s campus

 or facilities.

            19.      As noted above, to estimate the partworths, I used a method known as Hierarchical

 Bayes (HB) regression. HB provides reliable and valid conjoint analysis estimates of partworths.

 It is the most commonly-used estimation method for choice-based conjoint analysis.15 HB

 regression makes use of data from the overall sample of respondents when estimating the

 partworths for each individual respondent. Its use enables me to appropriately balance the number

 of choice tasks in each survey with the number of partworths that need to be estimated. I have

 observed in other conjoint surveys that I have conducted that this reduction in the number of choice

 tasks needed limits respondent wear-out.16

            20.      Hierarchical Bayes Choice-Based Conjoint (“HB CBC”) estimation enables me to

 obtain more precise estimates of market level distributions from individual, respondent-level

 estimates. HB CBC partworth estimates are best suited for calculating statistics at the market level,

 such as the average or median value of certain variables of interest, and for simulating the overall,

 aggregate behavior of the market.




 14
      See ¶ 57.
 15
      It is often referred to as the “gold standard” for CBC estimation. See, for example,
 https://sawtoothsoftware.com/help/lighthouse-studio/manual/estimating_utilities_with_hb.html
 16
   If too many questions are asked of a respondent, then the respondent may “wear out,” that is, response errors may
 increase as the respondent tires. Not only did I limit the number of questions in the choice task to minimize wear out,
 but I also pretested the questionnaire to assure that respondents did not experience wear out. See Section VI for details
 on pretesting.

                                                                                                                        9
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        21.     Conjoint analysis uses information from consumer behavior theory which makes

 the partworth estimates even more precise. For example, consumer behavior theory indicates that

 preferences are monotonic in price (i.e., all else equal, people prefer to pay less than to pay more).

 Ignoring this theory would result in estimating a model that does not use all of the available data.

 In CBC, customers are shown sets of university profiles (called the “choice sets”) and asked to

 choose the profile that they most prefer, or, in other words, the profile that they would choose if

 they were making a choice, and if the choice set described the only universities that were available

 to them. I showed respondents three university profiles in each choice set. University profiles

 were composed of seven features in the survey: (i) University; (ii) Undergraduate Teaching

 Ranking; (iii) Student-Faculty Ratio; (iv) 4-Year Graduation Rate; (v) Ethnic Diversity Index; (vi)

 Class and Campus Format; and (vii) Tuition per Semester.

        22.     When price (in this case, the cost per semester for attending the University) is one

 of the measured features in a conjoint analysis, the value (negative or positive) that the market

 places on changes in features can be expressed in dollars and/or percentage terms. That is,

 reduction in market value can be calculated as the price reduction needed to compensate, for the

 Class, for the loss of a feature or a change to a worse level of a feature. Similarly, added market

 value, or the price premium customers would pay, for the Class, for the inclusion of a feature or a

 better level of a feature can be calculated. Because CBC is based directly on customer choices, it

 is, in my opinion, an ideal survey method to determine the reduction in market value, if any, that

 might result from the Closure of the University Campus at issue in this lawsuit. In particular, we

 can determine the reduction in market value, if any, between the University with in-person classes

 and full access to the University’s campus and facilities, compared to the market value of the

 University with online classes and no access to the University’s campus or facilities. It is my


                                                                                                    10
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 opinion, based on conversations with Plaintiffs’ economics expert, Mr. Colin Weir, that the

 conjoint methodology described in this Report accounts for appropriate supply-side factors,

 including that (1) the tuition range used in the survey reflects the actual market tuition prices that

 prevailed during the relevant Class Period; and (2) the number of students used (or assumed) in

 the damages calculations reflects the actual number of students enrolled during the relevant Class

 Period (the number of students enrolled being fixed as a matter of history).17

            23.      I have performed similar analyses using similar methodologies before.         For

 example, I was retained as an expert in Smith v. The Ohio State University, No. 2020-00321JD

 (OH), and Weiman v. Miami University, Nos. 2020-00614JD (OH) and 2020-00644JD (OH), cases

 similar to this current case that involved tuition refunds due to campus closures during the COVID-

 19 pandemic. Additionally, I was retained as an expert in Sanchez-Knutson v. Ford Motor Co.,

 No. 14-civ-61344 WPD (S.D. Fla.), and more recently, in Banh v. American Honda Motor Co.,

 No. 2:19-cv-05984 RGK (C.D. Cal.), Braverman v. BMW of North America, LLC, No. 16-cv-

 00966 TJH (C.D. Cal.), Cardenas v. Toyota Motor Corp., No. 18-22798-Civ-Moreno (S.D. Fla.),

 and Johnson et al. v. Nissan North America, Inc., No. 3:17-cv-00517 (N.D. Cal.), which were all

 class action lawsuits that concerned motor vehicle defects. Additionally, I was retained as an

 expert in a class action lawsuit, Khoday v. Symantec Corp. and Digital River, Inc., No. 0:11-cv-

 00180 JRT (D. Minn.), which concerned a software product. I was also retained as an expert in a

 class action lawsuit, In Re: Lenovo Adware Litigation, No. 5:15-md-02624 RMW (N.D. Cal.),

 which concerned a software privacy and security issue. The In Re Arris Cable Modem Consumer

 Litigation, No. 17-cv-1834 LHK (N.D. Cal.) case involved latency problems with Internet

 modems. The Hudock v. LG Electronics U.S.A., Inc., No. 16-cv-01220 JRT (D. Minn.) and Koenig


 17
      See the Report of economist Colin Weir for further information.

                                                                                                    11
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 v. Vizio, Inc., No. BC702266 (Cal. Sup. Ct.) cases both involved refresh rates of LED televisions.

 The Kaupelis v. Harbor Freight Tools USA, Inc., No. 19-cv-1203 JVS (C.D. Cal.) case involved

 a chainsaw defect. The Hadley v. Kellogg Sales Company, No. 5:16-cv-04955 LHK (N.D. Cal.)

 and Krommenhock v. Post Foods LLC, No. 3:16-cv-04958 WHO (N.D. Cal.) cases involved

 misleading health claims due to high sugar levels in cereals. Similarly, the Milan v. Clif Bar and

 Company, No. 3:18-cv-02354-JD (N.D. Cal.) case involved misleading health claims due to high

 sugar levels in nutrition bars. The Bailey v. Rite Aid Corporation, No. 4:18-cv-06926 YGR (N.D.

 Cal.) case involved a misleading claim on acetaminophen gelcaps. The Maldonado v. Apple, Inc.,

 No. 3:16-cv-04067-WHO (N.D. Cal.) case involved the market difference between new and

 remanufactured iPhones and iPads. The Prescod v. Celsius Holdings, Inc., No. 19STCV09321

 (Cal. Super. Ct., L.A. County) case involved a misrepresentation involving the use of artificial

 ingredients in energy drinks. The Bechtel v. Fitness Equipment Services, LLC, DBA Sole Fitness,

 (S. D. Ohio), No. 1:19-cv-00726 case involved a misrepresentation concerning horsepower in

 treadmills. In all twenty cases, I proposed using a similar methodology to the one I have used

 here. The courts found the methodology suitable as a basis for calculating damages and certified

 the classes. After the courts accepted my damages methodology and granted class certification, I

 performed full analyses for the Ford, Honda, Toyota, BMW, Symantec, Lenovo, Arris, LG

 Electronics, Vizio, Kellogg, Post, Apple, and Clif Bar lawsuits, in a way generally consistent with

 the methodology I use here.


                                V.    Questionnaire Development

        24.     To establish the attributes and levels for the questionnaire in this analysis, I first

 determined the features that would be part of each university profile. The attributes and levels


                                                                                                   12
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 included in the conjoint choice tasks do not need to include every possible feature of the

 universities at issue; in fact, it would be infeasible and contrary to best practices to do so. The

 main purposes of having different attributes and levels are to provide a reasonable and engaging

 choice task and to help disguise our chief interest in respondents’ reactions—here, their reactions

 to the Closure of the University Campus. In the survey, all features, other than the features and

 levels shown, were held constant.

            25.      To determine the remaining attributes, I consulted the Complaint, used information

 from University of Delaware’s website pages, reviewed the admissions websites and third-party

 websites of University of Delaware’s competitors, reviewed various college decision websites, and

 reviewed enrollment data for University of Delaware and competitors in order to choose

 features and tuition values that would be recognizable to a common audience and would simulate

 an undergraduate education choice experience.18 After conducting this research, I included the

 following attributes in the survey:

            •     University

            •     Undergraduate Teaching Ranking

            •     Student-Faculty Ratio

            •     4-Year Graduation Rate

            •     Ethnic Diversity Index

            •     Tuition per Semester

            26.      “University” refers to the college or university in which the respondent is

 considering enrolling. “Undergraduate Teaching Ranking” refers to the U.S. News and World




 18
      See Exhibit B (Materials Reviewed) for more details.

                                                                                                    13
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 Report ranking of undergraduate teaching in public universities in the U.S. “Student-Faculty

 Ratio” refers to the number of students in comparison to how many faculty members there are at

 the college or university. “4-Year Graduation Rate” refers to the percentage of undergraduate

 students that graduate in four years. “Ethnic Diversity Index” indicates the degree to which the

 college or university is ethnically diverse according to U.S. News and World Report.

            27.   “Class and Campus Format” refers to the student’s university experience and

 whether or not classes and campus facilities are offered in-person or remotely. I am not opining

 on the truth or falsity of the allegations of the Complaints regarding the Closure of the University

 Campus. I am relying on the Complaints, discussions with counsel, and the documents listed in

 Exhibit B for the description of the Closure of the University Campus and student experience in

 the survey.

            28.   The inclusion of additional attributes significantly reduces demand artifacts. In

 other words, all of these attributes, beyond the key attribute addressing Class and Campus Format,

 were included to obscure which feature was of primary interest in the survey, preventing

 respondents from answering in a certain way to please the “interviewer.”

            29.   Another attribute in the conjoint survey was “Tuition per Semester,” so that the

 value placed by respondents on the key attribute could be expressed in terms of price, allowing the

 reduction, if any, in market value calculations to be made. The tuition levels in the survey were

 chosen by researching the admissions websites and third-party websites of the University of

 Delaware and its competitors, reviewing various college decision websites, and conversations with

 Counsel.19




 19
      Id.

                                                                                                  14
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         30.      The questionnaire was programmed into a web-based software system designed for

 administering and analyzing such questionnaires. Respondents answered all survey questions via

 their desktop, laptop, tablet, or smartphones.

         31.      To avoid order bias, the attributes were shown in a different order, chosen at

 random, for each respondent (except for “University,” which was always shown first, and “Tuition

 per Semester,” which was always shown last). Following completion of the twelve choice tasks,

 respondents were thanked, and the survey was completed.

         32.      It is standard survey practice to avoid indicating the sponsor and purpose of the

 survey to ensure respondents’ objectivity and to make respondents “blind” to the sponsor and

 purpose of the survey.20 The design and administration of my survey is characterized as blind to

 the respondents (as was verified by the pretest interviews). Because the survey was administered

 via the Internet, respondents were not exposed to human interviewers, thereby eliminating the

 possibility of an interviewer communicating the sponsor or purpose of the survey and influencing

 the outcome (intentionally or not). An Internet-based survey avoids demand artifacts that might

 be induced by means of intonation or facial expressions during the delivery of particular questions

 or answers. An Internet-based survey removes, or at least greatly diminishes, any “interviewer

 bias” which may arise from the desire of the respondents to please, displease, or impress the

 interviewer. One might say that the computer, as well as the respondent, is blind to the survey’s

 purpose; hence the survey is double-blind.




  Diamond, Shari S. (2011). “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence (Third
 20

 Edition), Washington, D.C.: The National Academies Press, pp. 410-411.

                                                                                                             15
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                                       VI. Pretesting the Questionnaire

            33.      The conjoint questionnaire was pretested with 20 respondents.                  The pretests

 consisted of 10 preliminary pretest interviews that were conducted to identify and correct any

 possible issues with the survey, and 10 final pretest interviews that were verbal debriefs with

 respondents after they had answered the survey questions. I tested the following: that respondents

 did not have difficulty with the questions and instructions; that they understood the choice exercise

 they were asked to perform; that they looked at all or almost all of the features in making their

 choices; and that they did not think the questions were leading or biased. Additionally, I asked

 respondents about their beliefs regarding the sponsor and purpose of the survey. Pretesting ensured

 that respondents understood and would continue to understand the questions, instructions, and

 descriptions presented in the questionnaire. This also ensured that the survey flowed smoothly.

 Following standard procedures, no pretest responses or pretest respondents were included in the

 final sample.21


                                           VII. Identifying the Sample

            34.      For this survey, I targeted United States residents aged 16 and over who indicated

 that they had personally applied to, been accepted to, or attended the University of Delaware or

 one of its competitors22 for undergraduate education in the past 20 years.23 I also relied on a list


 21
      See Exhibits F and G for more information on pretesting.
 22
    Competitor universities included: Auburn University, George Mason University Michigan State University, North
 Carolina State University, Rutgers University, State University of New York at Albany, State University of New York
 at Binghamton, Stony Brook University – SUNY, University at Buffalo – SUNY, University of California – Merced,
 University of California – Riverside, University of Colorado Boulder, University of Connecticut, University of
 Delaware, University of Iowa, University of Maryland College Park, University of Massachusetts Amherst, University
 of North Carolina at Chapel Hill, University of Oregon, University of Pittsburgh, University of Rhode Island,
 University of Utah, University of Virginia, and Virginia Tech.
 23
   Prodege Research (described in subsequent paragraphs) targeted the following states: Delaware, New Jersey,
 Pennsylvania, Maryland, Virginia, and the District of Columbia.

                                                                                                                 16
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 of 15,000 records provided by Defendants which included email addresses of current and former

 University of Delaware students (the “Student List”).24

            35.      Internet surveys are a common form of market research. In addition, there is

 evidence that data collected using Internet surveys do not differ in quality from that collected using

 phone or mall-intercept methodologies.25 The survey was conducted by contracting with two

 market research companies. The first, Luth Research (“Luth”), was used to recruit potential

 respondents from the Student List. The second was Prodege Research (“Prodege”), a leading

 Internet survey panel company that has pre-recruited potential respondents who indicate their

 willingness to participate in consumer surveys. Prodege is a well-established market research firm

 that maintains panels of about 5.7 million active members in the United States alone.26 AMS and

 I have worked with Luth and Prodege on many other projects and found them to be consistently

 reliable and have found Prodege to be a high-quality supplier of qualified survey respondents.

            36.      Potential respondents from the Student List were sent an invitation to go to a

 website to complete the survey. Each invitation included a URL with an embedded unique ID that

 was matched against a list of valid IDs and against the list of IDs that had already been used.27

 The former assured that only valid respondents completed the questionnaire; the latter assured that

 each respondent completed the questionnaire at most once. Non-Student List (i.e., those recruited

 from Prodege and not from the list provided by Defendants) potential respondents were selected

 at random through the panel and sent an invitation to go to a website to complete the survey. Only


 24
   Stipulation and Proposed Order for Release of E-mail Addresses, pp. 1-2 (Filed 04/13/2022). I used Luth Research
 to recruit survey respondents from this list.
 25
   Poret, Hal. (2010). “A comparative empirical analysis of online versus mall and phone methodologies for trademark
 surveys,” The Trademark Reporter, Vol. 100, No. 3 (May-June), pp. 756-807.
 26
      Active members are defined as having responded to a survey invitation in the past 12 months.
 27
   Each of the 15,000 emails was randomly assigned a unique ID, which was then embedded in the URL included in
 the invitation sent to that specific email.

                                                                                                                 17
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 respondents who received an invitation were able to enter the survey, with checks in place to

 prevent respondents from taking the survey more than once. Internet survey panels motivate

 respondents to participate in surveys by giving them a small monetary or rewards incentive.28 The

 incentive is not contingent on respondents providing particular answers in the conjoint task and

 there is consensus in the industry that such small monetary incentives do not lead to any bias in a

 survey’s results.29

           37.     After clicking the link from the survey invitation, respondents were shown a

 browser window with an introduction followed by a CAPTCHA challenge to ensure that responses

 were not computer-generated.30 After completing the CAPTCHA, respondents move on to the

 survey.

           38.     To provide further validation, the gender and age of Non-Student List respondents

 were compared to values provided to the panel company. Any respondent whose stated age and

 gender did not match the values previously provided to the panel company were terminated from

 the survey.

           39.     Following validation, respondents were screened to ensure that they personally

 applied to, been accepted to, or attended the University of Delaware or one of its competitors for

 4-year undergraduate education in the past 20 years.

           40.     A total of 1,064 respondents completed the survey beginning on June 16, 2022, and

 ending on July 21, 2022. Survey response statistics are provided in Exhibit H.


 28
   The incentives are in the form of points or credits that align with industry standards. Respondents from the Student
 List who completed the survey were sent a $20 Amazon gift card.
  Singer, Eleanor (2012). “The Use and Effects of Incentives in Surveys,” Survey Research Center, Institute for Social
 29

 Research, University of Michigan, p. 17.
 30
    A CAPTCHA challenge refers to a program that protects websites against “bots” (i.e., computer-generated
 responses) by generating and grading tests that humans can pass, but current computer programs cannot. The acronym
 “CAPTCHA” stands for Completely Automated Public Turing Test to Tell Computers and Humans Apart.

                                                                                                                    18
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            41.      Upon completion of data collection, respondents’ data were reviewed according to

 generally accepted data cleaning procedures.                    First, respondents’ data were reviewed for

 “speeding.” To establish the speeding criteria, the survey was tested internally to determine the

 fastest reasonable completion time for the survey as a whole, as well as for the conjoint analysis

 choice tasks themselves. These criteria were determined to be a minimum of 5 minutes to complete

 the entire survey, and a minimum of 1 minute to complete the conjoint task.31 A total of 13

 respondents in the survey were removed for completing the entire survey in less than 5 minutes

 and/or for completing the conjoint task in less than 1 minute. Next, respondents’ data were

 reviewed for “lagging.”32 I typically remove respondents in the survey who took more than an

 hour to complete the whole survey for lagging. A total of 47 respondents who took more than an

 hour to complete the whole survey were removed. Finally, respondents’ data were reviewed for

 “straightlining” which is judged based on an invalid pattern of responding to the conjoint portion

 of the survey (i.e., inputting the same response to at least 11 of the 12 choice sets in the conjoint

 exercise). A total of 10 respondents in the survey were removed for “straightlining.” This resulted

 in 70 removals due to data cleaning, and a final sample of 994 respondents in the survey.

            42.      A sample size of 994 respondents is more than sufficient for making scientifically

 valid conclusions on the basis of this survey, based on my experience and on statistical sampling

 theory.33 This sample size exceeds the minimum requirements laid out by Sawtooth Software for

 sample size in a conjoint analysis survey.34 I have made, and validated, forecasts based on



 31
      Time in the conjoint was calculated using the “sys_StartTime” and “sys_EndTime” variables.
 32
      “Lagging” refers to respondents who, contrary to instruction, did not complete the survey in one sitting.
 33
   Orme, Bryan K. (2020). Getting Started with Conjoint Analysis: Strategies for Product Design and Pricing Research
 (Fourth Edition), Manhattan Beach, CA.: Research Publishers LLC, pp. 63-65.
 34
      Id.

                                                                                                                  19
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 quantitative surveys of as few as 250 respondents, and sample sizes such as these are commonly

 used by large businesses to make important decisions.


                                      VIII. Survey Administration

         43.      The screening portion of the survey began by asking respondents which type of

 device they were using to complete the survey. Respondents on a desktop, laptop, tablet, or

 smartphone were allowed to continue; those who indicated that they were using another mobile or

 electronic device received an instruction that the survey was not formatted for viewing on such

 devices and were prompted to log back into the survey using a desktop, laptop, tablet, or

 smartphone. Next, gender and age were collected and validated.35 Respondents were next asked

 to indicate their state of residence. Respondents were then asked if they or any member of their

 household worked for certain types of companies. Respondents who indicated that they or a

 member of their household worked for an administration or faculty at a college or university, a

 marketing or market research firm, or a public relations or advertising agency were not allowed to

 continue. Next, respondents were asked when, if at all, they most recently applied to a 4-year

 college or university in the United States for undergraduate education. Respondents who indicated

 they had applied in the past 20 years were allowed to continue. Next, respondents were asked to

 indicate for a list of universities if they had applied to, applied and were accepted to, or had applied,

 were accepted, and attended each university. Respondents who indicated they had applied to, been

 accepted to, or attended the University of Delaware or one of its competitors were allowed to

 continue. Screening ensured that I sampled those respondents who have personally applied to the




 35
    Gender and age responses for only the Non-Student List were compared to the information collected by the panel
 to validate that the responses matched.

                                                                                                               20
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 University of Delaware or one of its competitors for 4-year undergraduate education in the past 20

 years.

          44.        To avoid influencing respondents’ answers and survey results and to minimize

 answers from uninformed respondents, I used filters in my survey question response options, such

 as the answer option of “None of the above.” I also randomized answer options in the survey

 questions where it was appropriate.

          45.      In the main part of the survey, respondents were introduced to the conjoint task.

 They were asked to make certain assumptions during the conjoint choice tasks.36

          46.      Respondents were then shown a set of introductory descriptions of the features

 (University, Student-Faculty Ratio, 4-Year Graduation Rate, Ethnic Diversity Index,

 Undergraduate Teaching Ranking, Class and Campus Format, and Tuition per Semester) that each

 university profile shown in the conjoint exercise would include. Respondents were shown the

 description for each feature prior to continuing to the choice tasks. These descriptions were also

 made accessible later in the survey, while completing the choice exercise, by clicking on the name

 of the feature in each choice task. The features and feature levels that were presented to

 respondents in the survey’s choice tasks were as follows:




 36
   Assumptions include the following: 1) You have applied and been accepted to each of these universities; 2) You
 are actually considering enrolling as an undergraduate at a college or university; 3) Each of the features shown about
 each university is true, even if you know or think otherwise, including cost of tuition; 4) The universities do not vary
 on any features other than the features that are shown to vary in the exercise; and 5) You are making your university
 choices prior to the COVID-19 pandemic, so it should not be a factor in your decisions.

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 University

 The universities you will choose from vary by University.

      •    Some of these universities have satellite or regional campuses – please assume you would be
           enrolling at the main campus.

 The Universities shown (in alphabetical order) in the exercise include:
   North Carolina State     Stony Brook University         University of        University of Maryland
                                                                                                          University of Pittsburgh
       University                  – SUNY                   Delaware                – College Park

 Number of                  Number of               Number of                   Number of                 Number of
 undergraduate students:    undergraduate students: undergraduate students:     undergraduate students:   undergraduate students:
 ~25,973                    ~17,909                 ~19,678                     ~30,511                   ~19,200

 Main Campus Location:      Main Campus Location: Main Campus Location: Main Campus Location: Main Campus Location:
 Raleigh, NC                Stony Brook, NY       Newark, DE            College Park, MD      Pittsburgh, PA

 Fall 2019 Acceptance       Fall 2019 Acceptance      Fall 2019 Acceptance      Fall 2019 Acceptance      Fall 2019 Acceptance
 Rate: 45%                  Rate: 44%                 Rate: 71%                 Rate: 44%                 Rate: 57%

 Fall 2019 SAT              Fall 2019 SAT             Fall 2019 SAT             Fall 2019 SAT             Fall 2019 SAT
 composite score for the    composite score for the   composite score for the   composite score for the   composite score for the
 25th to 75th percentile    25th to 75th percentile   25th to 75th percentile   25th to 75th percentile   25th to 75th percentile
 of enrolled students:      of enrolled students:     of enrolled students:     of enrolled students:     of enrolled students:
 1250 – 1420                1230 – 1440               1160 – 1350               1280 – 1470               1260 – 1440

 Fall 2019 ACT              Fall 2019 ACT             Fall 2019 ACT             Fall 2019 ACT             Fall 2019 ACT
 composite score for the    composite score for the   composite score for the   composite score for the   composite score for the
 25th to 75th percentile    25th to 75th percentile   25th to 75th percentile   25th to 75th percentile   25th to 75th percentile
 of enrolled students:      of enrolled students:     of enrolled students:     of enrolled students:     of enrolled students:
 27 – 32                    26 – 32                   24 – 30                   29 – 34                   28 – 33

                          You will have access to this information throughout this survey.




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 Undergraduate Teaching Ranking

 The universities you will choose from vary by Undergraduate Teaching Ranking.

        •   The rankings shown have been sourced from U.S. News and World Report, an
            American media company that publishes news, opinions, consumer advice, rankings,
            and analysis.
        •   U.S News is a recognized leader in college, grad school, hospital, mutual fund, and
            car rankings.
        •   College presidents, provosts, and admissions deans who participated in the annual
            U.S. News peer assessment survey were asked to nominate up to 15 schools in their
            Best Colleges ranking category that have a strength in undergraduate teaching.
        •   The lists, organized by U.S. News ranking categories, include the colleges that
            received the most nominations. They are ranked in descending order based on the
            number of top-15 nominations they received. Schools had to receive seven or more
            nominations to be ranked.

 The Undergraduate Teaching Ranking levels shown in the exercise include:
  Undergraduate teaching is not Ranked in the top 6-10 best               Ranked top 5 best
    in the top 10 among public undergraduate teaching among undergraduate teaching among
      universities in the U.S.     public universities in the U.S. public universities in the U.S.
  The university’s undergraduate The university’s undergraduate The university’s undergraduate
   teaching is not in the top 10 teaching is ranked in the top 6- teaching is ranked in the top 5
   according to the U.S. News 10 according to the U.S. News according to the U.S. News
         and World Report                 and World Report                and World Report
                   You will have access to this information throughout this survey.




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 Student-Faculty Ratio

 The universities you will choose from vary by Student-Faculty Ratio.

        •   A student-faculty ratio indicates the number of full-time-equivalent students in
            comparison to how many full-time-equivalent faculty members there are at the
            college or university.
        •   This excludes faculty and students of law, medical, business, and other stand-alone
            graduate or professional programs in which faculty members teach virtually only
            graduate-level students.
        •    Faculty numbers also exclude graduate or undergraduate students who are teaching
            assistants.

 The Student-Faculty Ratio levels shown in the exercise include:
  19:1 student-faculty 17:1 student-faculty 15:1 student-faculty 12:1 student-faculty
          ratio                 ratio                   ratio                 ratio
   There is 1 faculty     There is 1 faculty      There is 1 faculty   There is 1 faculty
  member for every 19 member for every 17 member for every 15 member for every 12
        students              students                students              students
                  You will have access to this information throughout this survey.


 4-Year Graduation Rate

 The universities you will choose from vary by 4-year Graduation Rate.

        •   The 4-year graduation rate indicates the percent of undergraduate students who
            graduate in four years.
        •   To be enrolled full-time, students must take 12 credits per semester. To graduate in
            four years, students must take and pass at least 15 credits per semester.

 The 4-Year Graduation Rate levels shown in the exercise include:
  57% Graduation 61% Graduation 65% Graduation 69% Graduation 73% Graduation
         Rate                Rate                 Rate               Rate               Rate
        57% of              61% of              65% of              69% of             73% of
    undergraduate      undergraduate        undergraduate       undergraduate      undergraduate
  students graduate students graduate students graduate students graduate students graduate
     in four years      in four years        in four years       in four years      in four years
                   You will have access to this information throughout this survey.




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 Ethnic Diversity Index

 The universities you will choose from vary by Ethnic Diversity Index.

        •   The scores shown have been sourced from U.S. News and World Report, an
            American media company that publishes news, opinions, consumer advice, rankings,
            and analysis.
        •   U.S News is a recognized leader in college, grad school, hospital, mutual fund, and
            car rankings.
        •   To identify colleges where students are most likely to encounter undergraduates from
            racial or ethnic groups different from their own, U.S. News factors in the total
            proportion of minority students and the overall mix of groups. The data is drawn from
            the Fall 2020 total undergraduate student body.
        •   The ethnic categories used in the calculations are non-Hispanic African-American,
            Hispanic, American Indian, Pacific Islander/Native Hawaiian, Asian, non-Hispanic
            white, and multiracial (two or more races).
        •   The formula produces a diversity index that ranges from 0 to 1. The closer a school’s
            number is to 1, the more diverse the student population.

 The Ethnic Diversity Index levels shown in the exercise include:
 The Ethnic Diversity     The Ethnic Diversity       The Ethnic Diversity     The Ethnic Diversity
 Index is a .4 out of 1   Index is a .5 out of 1     Index is a .6 out of 1    Index is a .7 out of 1
 The Ethnic Diversity     The Ethnic Diversity       The Ethnic Diversity     The Ethnic Diversity
Index for this school is Index for this school Index for this school is Index for this school is
     a .4 out of 1            is a .5 out of 1           a .6 out of 1              a .7 out of 1
                   You will have access to this information throughout this survey.




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 Class and Campus Format

 The universities you will choose from vary by Class and Campus Format.

        •   Class and campus format indicate two things about a student’s university experience:
            o Whether classes are conducted online or in person at the university’s campus.
                   ▪ When classes are offered in person, students may have the option to (but not
                       be required to) take them online instead.
            o Whether or not students have physical access to the university campus, its facilities,
               and the accompanying campus experience.

 The Class and Campus Format levels shown in the exercise include:
 Classes held online; no access to Classes held online; have access Classes are offered in person;
       campus or facilities            to campus and facilities       have access to campus and
                                                                                facilities
   Classes are held online, and      Classes are held online, but   Classes are offered in person
  students have no access to the students still have access to the and students have access to the
   campus, its facilities, or the   campus, its facilities, and the campus, its facilities, and the
       campus experience                  campus experience               campus experience
                  You will have access to this information throughout this survey.


 Tuition per Semester

 The universities you will choose from vary by Tuition per Semester.

        •   Tuition at some of the universities in the exercise may be called an instructional fee.
        •   The tuition listed below does not include any changes in the amount you would pay
            due to financial aid, work-study, scholarships, or other forms of tuition support.
        •   This tuition price does not include room and board, the general fee, or any other
            additional fees. Room and board would be an additional charge if you choose to and
            are able to live on campus.

 The Tuition per Semester levels shown in the exercise include:
       $3,250               $6,750             $10,250            $13,750              $17,250

    The price of         The price of       The price of        The price of          The price of
     tuition per          tuition per        tuition per         tuition per           tuition per
    semester is          semester is        semester is         semester is           semester is
       $3,250               $6,750            $10,250             $13,750               $17,250
                   You will have access to this information throughout this survey.




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         47.      Respondents were then shown a sample choice task, and then a series of twelve

 choice tasks, each containing a choice set of three different, hypothetical university options

 (“university profiles”) that were described by the combinations of levels of the features that I

 selected. The choice sets were chosen by the Sawtooth Software program using a scientific

 experimental design to ensure that respondents saw each level of each feature in the choice sets

 with roughly the same frequency. The designs are highly efficient, (i.e., they provide the estimates

 of partworths with high precision).37

         48.      The attributes’ order was randomized across respondents, but not within

 respondents, in the choice exercises, with the exception of “University” and “Tuition per

 Semester,” which were always listed first and last, respectively. For each set of three universities,

 respondents were asked: “If these were your only options and you had to choose a university to

 enroll in, which university would you choose?” In the survey’s choice tasks, respondents indicated

 which of the three options they would choose. In each choice task, respondents were also presented

 with a second question which read, “Given your knowledge of universities, would you or would

 you not actually be willing to enroll at the university that you chose above with the tuition

 indicated?      As a reminder, please assume you are actually considering enrolling as an

 undergraduate at a college or university, and you are making your university choices prior to the

 COVID-19 pandemic, so it should not be a factor in your decisions."38




 37
   For more technical descriptions, see The CBC System for Choice-Based Conjoint Analysis (Version 9), Sawtooth
 Software Technical Paper Series, 2017. Efficiencies were greater than .991 for the balanced overlap randomized
 design.
 38
   Brazell, Jeff D., Christopher G. Diener, Ekaterina Karniouchina, William L. Moore, Válerie Séverin, and Pierre-
 Francois Uldry (2006). “The no-choice option and dual response choice designs,” Marketing Letters, Vol. 17, No. 4
 (December), pp. 255-268.

                                                                                                               27
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            49.       After answering both questions, respondents continued on to the next choice task.

 Following the presentation of the twelve choice tasks, respondents were thanked for their time and

 the survey was completed.


                                                      IX. Analysis

            50.       Hierarchical Bayes regression estimates of the partworths for each respondent were

 obtained from the survey data using software developed by Sawtooth Software, Inc. As described

 previously, partworths represent the relative preference or utility associated with each level of each

 university attribute. The overall utility of a university is the sum of the partworths for the attribute

 levels possessed by the university. The partworths, which were estimated at the individual

 respondent level, were then used in the market simulations described below. In Exhibit I, I

 summarize the average partworths.

            51.       As is a commonly accepted practice in conjoint studies, I used a model that ensures

 that the partworths for the price follow a logical order (i.e., respondents always prefer to pay less

 in tuition). For the purposes of this survey, that means they prefer a Tuition per Semester price of

 $3,250 to a price of $6,750, prefer a price of $6,750 to a price of $10,250, prefer a price of $10,250

 to a price of $13,750, and prefer a price of $13,750 to a price of $17,250.39

            52.       The average values of the estimated partworths in Exhibit I indicate that the market

 prefers in-person classes and full access to the University’s campus and facilities to online classes

 and no access to the University’s campus or facilities. That is, the average partworth for “Classes

 offered in person; have access to campus and facilities” is greater than the average partworth for

 “Classes held online; no access to campus or facilities.”



 39
      I refer to this type of model as a “price constrained model.”

                                                                                                       28
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            53.        To establish the appropriateness of using the partworths to forecast customer

 behavior, I tested the fit and predictive ability of the conjoint analysis estimates. One such method

 is to determine the holdout performance, which measures how well the partworth estimates predict

 the actual choices made by survey respondents when looking at a subset of the choice tasks not

 used in the estimation. In other words, if the model is still able to predict university choices for

 the one choice task that is removed or “held out” from the data used for estimation, I can be more

 confident in the validity of the model. In very simple terms, I ask the model, “Given the

 preferences obtained from the partworths estimated from just eleven choice tasks, how well can

 you predict the university choice in the twelfth?” To get a valid indicator of holdout performance,

 I used HB estimation, excluding one of the twelve choice tasks for each respondent from the

 estimation. I repeated this process three times, using a different choice task each time, and

 calculated the percentage of choices that were predicted correctly with the HB estimates.40 A

 purely random approach would predict a choice correctly only 33.3% of the time (one time out of

 three). It is my experience, based on similar surveys I have conducted, that the HB estimates are

 appropriate for making predictions with respect to alternative scenarios.


                                     X.   Description of Conjoint Results

            54.        The results obtained from conducting the conjoint analysis allowed me to calculate

 the reduction in market value (measured in dollars and/or percentage terms)41 attributable to the

 Closure of the University of Delaware Campus in Spring 2020. Stated differently, I was able to



 40
      See Exhibit J.
 41
   The conversion of dollar figures to a percentage amount is a relatively straightforward undertaking, which is done
 in a fair and conservative way that has been accepted by many courts (see ¶ 23 for examples of these cases). This
 conversion to a percentage amount is described in ¶ 59.

                                                                                                                  29
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 calculate the reduction in market value between in-person classes and full access to the

 University’s campus and facilities, compared to the market value of online classes and no access

 to the University’s campus or facilities, at the time and point of acceptance.


      XI. Calculation of the Reduction in Market Value Due to the Closure of the University

                                                       Campus

          55.     I used the Market-Based Method to determine any reduction in market value due to

 the Closure of the University Campus. The Market-Based Method uses the HB partworths to

 simulate a market in which all customers react to the same choice set of universities and tuition.

          56.     I used standard procedures in the Sawtooth Software HB CBC software to run the

 choice simulations. Market simulations using HB CBC partworth estimates are often used by

 firms to simulate what would happen if a new product were introduced to a market, or if a firm

 decided to change a feature or features of an existing product. Forecasts based on such market

 simulations are sufficiently accurate such that firms routinely make decisions based on the results

 of these simulations.42 To predict customers’ choices in the simulation, I applied an approach

 commonly used in marketing research called “Randomized First Choice (“RFC”) Simulation.”

 Under RFC, a consumer chooses the university with a probability based on the relative utility of

 the available choices, where the consumer’s utility from a university is calculated as the sum of

 the estimated partworths for the features provided by the university plus random draws of the

 unobserved components in the utility.43


 42
   Orme, B (2020). “Chapter 10: Market Simulators for Conjoint Analysis,” Getting Started with Conjoint Analysis:
 Strategies for Product Design and Pricing Research (Fourth Edition), Manhattan Beach, CA.: Research Publishers
 LLC, pp. 89-105.
 43
   The Sawtooth Software HB estimation includes a standard option to perform RFC. The software assumes that the
 random perturbations on the partworths of each attribute follow a standard Normal distribution and the additional
 random perturbations at the university level follow a Gumbel distribution.

                                                                                                               30
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         57.     As described above, the Market-Based Method of calculating the reduction in

 market value (measured in dollars and/or percentage terms) uses the partworths to predict how the

 market would react in a hypothetical world in which there are two available configurations of the

 University of Delaware that vary only in their Tuition per Semester and Class and Campus Format.

 When determining the reduction in market value between the two configurations of the University

 of Delaware, I held all other features (except Tuition per Semester) constant at specific levels for

 the university options in the simulations; the exact levels I chose for these other features did not

 affect my calculations.44,45 For each respondent, the partworths for the levels present in each

 university profile were summed to obtain an overall relative utility for each of the two

 configurations of the University of Delaware. These utilities, in turn, combined with a decision

 rule (i.e., Randomized First Choice), were used in a conjoint simulator to calculate the reduction

 in market value, if any, due to the Closure of the University Campus.                     Since these two

 configurations of the University of Delaware are the only universities available in this market

 simulation, their shares add to 100%. I simulated markets with lower tuition for the University of

 Delaware with the Closure of the University Campus, or higher tuition for the University of

 Delaware without the Closure of the University Campus. I identified the tuition cost such that half

 of the market (as represented by the data from all of the respondents in my analysis) chose the

 University of Delaware with the Closure of the University Campus and half of the market chose

 the University of Delaware without the Closure of the University Campus (i.e., each one had a

 market share of 50%). The reduction in market value equals this difference between the two tuition



 44
   This simulation method is also described in Orme, Bryan K., and Keith Chrzan (2017). Becoming an Expert in
 Conjoint Analysis: Choice Modeling for Pros, Orem, Utah: Sawtooth Software, Inc., p. 194.
 45
   See Exhibit O for the specific levels used in the simulations. Levels were chosen based on the University of
 Delaware characteristics for each feature.

                                                                                                            31
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 costs, which represents the amount necessary to compensate for the Closure of the University

 Campus. This process was repeated at every possible Tuition per Semester level, lowering the

 tuition of the University of Delaware with the Closure of the University Campus to get one measure

 of reduction in market value, and then raising the tuition of the University of Delaware without

 the Closure of the University Campus to get another.46 I chose, among the tuition cost differences

 obtained at the different levels of starting tuition, the smallest (which is the most conservative) as

 the reduction in market value for the University of Delaware with the Closure of the University

 Campus.47,48 The analysis was conducted among all survey respondents, as well as for respondents

 who applied to, were accepted by, or attended the University of Delaware.49

            58.      The results of the Market-Based simulations are given in Exhibit K. Using the

 most conservative approach, as noted in the prior paragraph, the Market-Based Method estimates

 that the reduction in market value for the University of Delaware due to the Closure of the

 University Campus, meaning the difference in the market value between in-person classes and full

 access to the University’s campus and facilities, compared to the market value of online classes

 and no access to the University’s campus or facilities, at the time and point of acceptance for the

 Class is $2,614.33 per semester.


 46
   To calculate the reduction in market value, it is possible to raise the tuition of the University of Delaware without
 the Closure of the University Campus, or to lower the tuition of the University of Delaware with the Closure of the
 University Campus. I tried both methods, starting at all tuition levels, and reported the reduction in market value as
 the smallest value found across all starting tuition levels. Note, however, that I cannot raise or lower the tuition beyond
 the boundaries used in the conjoint analysis (i.e., $3,250 and $17,250). From the lower bound tuition of $3,250, I can
 only raise the tuition of the University of Delaware without the Closure of the University Campus, and from the upper
 bound tuition of $17,250, I can only lower the tuition of the University of Delaware with the Closure of the University
 Campus. The maximum reduction in market value that I can measure is, therefore, $17,250 - $3,250 = $14,000, and
 the answer given in such a case would be conservatively reported as “$14,000.”
 47
   Note that this is not the same as calculating the reduction in market value for each respondent and then averaging it
 across respondents, a method I do not recommend.
 48
   It is also possible to conduct the analysis using the linear price partworths. In these studies, the resulting reductions
 in market value are higher than the results I have presented in this Report. See footnote 53 for these results.
 49
      See footnote 51.

                                                                                                                         32
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            59.      This dollar value was then expressed as a percentage of the highest tuition available

 in the survey to give the reduction in market value on a percentage basis. Using the highest tuition

 as the denominator is the most conservative method, because it gives the lowest percentage

 reduction in market value.50 In this case, the most conservative percent reduction in market value

 is calculated by taking the smallest dollar value for the reduction in market value and dividing it

 by the highest tuition level in the survey ($17,250).

            60.      The reduction in market value for the University of Delaware (based on the entire

 sample of those who applied to University of Delaware or its competitors) due to a change from a

 Class and Campus format with “Classes are offered in person; have access to campus and

 facilities” to “Classes held online; no access to campus or facilities” is 15.2%

 ($2,614.33/$17,250).51,52,53


                                                   XII. Conclusions

            61.      The survey and analysis I ran were designed to estimate any reduction in market

 value (measured in dollars and/or percentage terms) due to the Closure of the University of

 Delaware Campus in Spring 2020, meaning the difference in market value between in-person



 50
   This is the most conservative method, because the price chosen is in the denominator when calculating the percent
 reduction in market value and dividing by a larger number gives a lower percentage result.
 51
    I also repeated the Market-Based simulations to calculate the reduction in market value of the University of
 Delaware due to the Closure of the University Campus among the 187 respondents who have applied to, been accepted
 to, or attended the University of Delaware. The corresponding reduction in market value is 18.1% per semester. This
 is a less conservative value than the reduction in market value for the overall sample, so I recommend using the more
 conservative value of 15.2%.
 52
      The reduction in market value is significantly different from zero at the 95% confidence level.
 53
   As mentioned, I measured the reduction in market value for the University of Delaware among all 994 respondents.
 An alternative method to the one I have described is to use linear price partworths, in which the price partworths for
 each respondent are modeled using a line, rather than a piecewise linear formulation. Using the linear price partworths,
 the reduction in market value for the University of Delaware due to a change from a Class and Campus Format with
 “Classes are offered in person; have access to campus and facilities” to one with “Classes held online; no access to
 campus or facilities” is 19.0%.

                                                                                                                      33
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 classes and full access to the University of Delaware’s campus and facilities, compared to the

 market value of online classes and no access to the University of Delaware’s campus or facilities,

 at the time and point of acceptance. Based on the survey and analysis described in this Report, I

 conclude that the reduction in market value for the University of Delaware due to the Closure of

 the University Campus and change from “Classes held in person; have access to campus and

 facilities” to “Classes held online; no access to campus or facilities” is 15.2%.



        I declare under penalty of perjury of the laws of the United States that the foregoing is true

 and correct. Executed on August 1, 2022, in Newcastle, Maine.




                                                               __________________________

                                                                       Steven P. Gaskin



        Exhibits:
        A: Steve Gaskin CV
        B: Materials Reviewed
        C: Survey Invitation
        D: Questionnaire
        E: Screenshots
        F: Changes Made to Conjoint Survey Due to Preliminary Pretesting
        G: Final Pretests
        H: Response Statistics
        I: Average Partworths
        J: Model Fit and Holdout Diagnostics

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       K: Reduction in Market Value
       L: Screener Data Glossary
       M: Data Listing (Produced in Excel format: Exhibit M_Screener_Data_Listing.xlsx)
       N: Conjoint Data Listing (Produced in .csv format: Exhibit N_Conjoint_Data_Listing.csv)
       O: CBC HB Settings




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                       Exhibit A: Steven P. Gaskin Curriculum Vitae


 E-mail:             steven_gaskin@outlook.com

 Home Address:       52 North Newcastle Road
                     Newcastle, ME 04553
                     (781) 812-3226

 Education:          MASSACHUSETTS INSTITUTE OF TECHNOLOGY, SLOAN
                     SCHOOL OF MANAGEMENT, Master of Science in Management, June 1983.
                     Brooks Prize for Best Master’s Thesis.

                     MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Bachelor of Science
                     in Management, June 1977. Naval ROTC Award for Outstanding
                     Overall Achievement.

 Career Positions:

 2020-present        Independent litigation survey expert

 2004-2020           APPLIED MARKETING SCIENCE, INC., Waltham, MA
                     Principal. AMS is a marketing research and consulting organization with two
                     main practices in which I consult and oversee projects 1) Product And
                     Process Improvement which helps clients in a broad range of product and
                     service industries identify and use the Voice of the Customer to develop new
                     products and services and understand customer behavior and 2) Litigation
                     Services which supports expert testimony related to surveys, including
                     design, execution, analysis, reporting and critique of opposing expert
                     reports. Cases include patent damage lawsuits regarding the valuation of
                     particular product features using conjoint analysis, trademark, class action,
                     and copyright. Retired from AMS in February of 2020.

 2000-2003           ADPILOT, INC., New York City and Sherborn, MA
                     Chief Technology Officer. Provided consulting on marketing models for
                     magazine advertising effectiveness, targeting for grocery store consumer
                     promotions, and consumer packaged goods store/week/upc level promotion
                     response.

 1992-2000           THE DELPHI GROUP, INC., Sherborn, MA
                     President. Provided consulting on marketing models for forecasting and
                     promotion response to other market research firms, including the M/A/R/C
                     Group, Adpilot, Inc., Silknet Software, Sandoz, Schering-Plough, Warner-
                     Lambert, and Syncra Software. Worked with marketing expert witnesses and
                     economists on litigation research. Winner of competition to become
                     forecaster of new vehicle sales for all divisions worldwide for Ford Motor
                     Company.




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 1989-1992         M/A/R/C, INC., Waltham, MA
                   Director of Research and Development. Managed the Waltham, MA office.
                   Developed, sold and delivered marketing sciences model applications to
                   Fortune 500 firms. Developed and implemented the RAPIDS sales force
                   sizing and allocation model for pharmaceutical companies around the world.

 1985-1989         INFORMATION RESOURCES, INC., Waltham, MA
                   Director of Research and Development. Rebuilt and enhanced the
                   ASSESSOR new product forecasting model. Participated in the early
                   development of the Voice of the Customer methodology for generating
                   customer needs.

 1982-1985         MANAGEMENT DECISION SYSTEMS, INC., Waltham, MA
                   Director of Research and Development. Responsible for the development and
                   commercialization of numerous marketing science models including, CATALYST
                   and DEFENDER.

 1977-1982         UNITED STATES NAVY, Lieutenant aboard guided missile cruiser USS
                   Leahy, CG-16. Served as Gunnery Officer, Electronic Warfare Officer, and
                   Intelligence Officer during cruises from San Diego to the Far East, Indian
                   Ocean, Persian Gulf and Africa. Top Secret Special Background Investigation
                   clearance. Managed extensive ship repairs in shipyard.

 Publications:     Hauser, John R. and Steven P. Gaskin (1984). “Application of the
                   “DEFENDER” Consumer Model,” Marketing Science, Vol. 3, No. 4.

                   Urban, Glen L., Theresa Carter, Steven Gaskin and Zofia Mucha
                   (1986). “Market Share Rewards to Pioneering Brands: An Empirical
                   Analysis and Strategic Implications,” Management Science, Vol. 32,
                   No. 6 (June). Winner, TIMS College of Marketing Award for Best
                   Paper of 1986.

                   Gaskin, Steven, Theodoros Evgeniou and Daniel Bailiff (2007). “Two-Stage
                   Models: Identifying Non-Compensatory Heuristics for the Consideration Set
                   then Adaptive Polyhedral Methods within the Consideration Set,”
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                   (and Compensatory) Models of Consideration-Set Decisions,” Proceedings of
                   the Sawtooth Software 2009 Conference, Delray Beach, FL.

                   Hauser, John R., Abbie Griffin, Robert L. Klein, Gerald M. Katz, and Steven
                   P. Gaskin (2010). “Quality Function Deployment (QFD),” Wiley
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                   Naresh K. Malhotra.




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                   Gaskin, Steven P., Abbie Griffin, John R. Hauser, Gerald M. Katz, and Robert
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                   Ding, Min, John Hauser, Songting Dong, Daria Dzyabura, Zhilin Yang,
                   Chenting Su and Steven Gaskin (2011). “Unstructured Direct Elicitation of
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                   Gaskin, Steve. (2013). “Navigating the Conjoint Analysis Minefield,” Visions,
                   Vol. 37 (No. 1), pp. 22-25.

                   Griffin, Abbie, Brett W. Josephson, Gary Lilien, Fred Wiersema, Barry
                   Bayus, Rajesh Chandy, Ely Dahan, Steve Gaskin, Ajay Kohli, Christopher
                   Miller, Ralph Oliva and Jelena Spanjol (2013). “Marketing’s roles in
                   innovation in business-to-business firms: Status, issues, and research agenda,”
                   Marketing Letters, Vol. 24 (May), 323-337.

                   Gaskin, Steven P. (2015). “The David Vases: Considering Serpentine Waves
                   on Yuan Blue and White,” Orientations, Vol. 46, No. 4 (May), pp. 29-37.

                   Gaskin, Steven P., Dr. Aprajita Sharma, and Dr Ellen S. Smart (2021). “For
                   the Love of Broken Porcelain,” Orientations, Vol. 52 (September/October),
                   pp. 54-62.

 Expert
 Testimony        Barbara Schwab et al. v. Philip Morris USA, Inc. et al.
                  Case No. CV-04-1945 (JBW)(SMG), E.D. of New York
                  Light Cigarettes Litigation, deposed in connection with support of John
                  Hauser, expert for plaintiffs

                  Computer Sciences Corporation v. Ascension Health
                  AAA No. 58-117-Y-00290-08
                  Customer Satisfaction Survey evaluation (2011 Report)

                  Linares et al. v. Securitas Security Services, USA et al.
                  Superior Court, State of California, Los Angeles County
                  Employment Survey (2011 Report, deposed Sept. 14, 2011)

                  Devi Khoday and Danise Townsend, et al., v. Symantec Corp. and Digital
                  River, Inc., United States District Court, District of Minnesota, 0:11-cv-
                  00180 (JRT-FLN), Software Service Conjoint Analysis (2013 Report,
                  deposed Aug. 15, 2013)




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                  JDS Therapeutics, LLC and Nutrition 21, LLC, v. Pfizer Inc., Wyeth LLC,
                  Wyeth Consumer Healthcare Ltd. and Wyeth Consumer Healthcare LLC,
                  United States District Court, Southern District Of New York, Case No.
                  1:12-cv-09002-JSR, Customer Survey evaluation (2013 Report, deposed
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                  Stone Creek, Inc. v. Omnia Italian Design and Bon-Ton Stores, Inc., United
                  States District Court, District of Arizona, Case No. 13-cv-00688-NVW,
                  Customer Survey evaluation (2014 Report, deposed Mar 25, 2014;
                  testimony at trial Oct. 23, 2015)

                  Shannon Adams, et al., v. Target Corporation, United States District Court,
                  Central District of California, Case No. CV13-05944-GHK (PJWx),
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                  Veronica’s Auto Insurance Services, Inc. v. Veronica’s Services, Inc.,
                  United States District Court, Central District of California, Case No. CV13-
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                  Services, Inc., and Whole Foods Market Pacific Northwest, Inc., United
                  States District Court, Western District of Washington, Case No. 3:13-cv-
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                  Angela Sanchez-Knutson, et al., v. Ford Motor Company, United States
                  District Court, Southern District of Florida, Case No. 14-61344-CIV-
                  DIMITROULEAS (Report regarding a conjoint analysis, Nov. 13, 2015,
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                  Kenai Batista, Andy Chance, and Crystal Quebral, et al., v. Nissan North
                  America, Inc., United States District Court, Southern District of Florida,
                  Miami Division, Class Action: Case No. 1:14-cv-24728-Civ-Scola/Otazo-
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                  Robert Tomassini, et al., v. Chrysler Group LLC (n/k/a FCA US LLC),
                  United States District Court, Northern District of New York, Case No.
                  3:14-cv-01226-MAD-DEP (Declaration regarding the methodology for a
                  conjoint analysis, Feb. 14, 2016, deposed Jul. 25, 2017)

                  In Re Azek Building Products, Inc. Marketing and Sales Practices
                  Litigation, United States District Court, District of New Jersey, MDL No.
                  2506 (KM)(MCA) Case No. 2:12-cv-06627 (MCA) (MAH) (Report
                  regarding a conjoint analysis, May 16, 2016, deposed Jul. 1, 2016)




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                  In Re: Lenovo Adware Litigation, United States District Court, District of
                  Northern California, Case No. 5:15-md-02624-RMW (Declaration
                  regarding the methodology for a conjoint analysis, Jul. 22, 2016)

                  In Re Shaun Sater, et al., v. Chrysler Group LLC, et al., United States
                  District Court, Central District of California, Eastern Division, Case No.
                  5:14-cv-00700-VAP-DTB (Declaration regarding the methodology for a
                  conjoint analysis, Aug. 3, 2016, deposed Sept. 16, 2016)

                  In Re Simply Orange Orange Juice Marketing and Sales Practices
                  Litigation, United States District Court, Western District of Missouri, MDL
                  No. 2361 Master Case No. 4:12-md-02361-FJG (Declaration regarding the
                  methodology for a conjoint analysis, Jul. 8, 2016, Report, Aug. 19, 2016)

                  Benjamin Hankinson et al. v. R.T.G. Furniture Corp. et al., United States
                  District Court, Southern District of Florida, Case No. 9:15-cv-81139-
                  COHN/SETZLER (Declaration regarding the methodology for a conjoint
                  analysis, Sept. 1, 2016, Report, Oct. 3, 2016)

                  Billy Glenn et al. v. Hyundai Motor America and Hyundai Motor
                  Company, United States District Court of California, Case No. 8:15-CV-
                  02052-DOC-KES (Declaration regarding the methodology for a conjoint
                  analysis, May 1, 2017, deposed Jul. 21, 2017, Report, Mar. 23, 2018)

                  Tom Kondash et al. v. Kia Motors America, INC., and Kia Motors
                  Corporation, United States District Court, Southern District of Ohio, Case
                  No. 1:15-cv-506 (Declaration regarding the methodology for a conjoint
                  analysis, Jul. 7, 2017, deposed Nov. 17, 2017)

                  Jennifer Beardsall et al. v. CVS Pharmacy, Inc., Target Corporation,
                  Walgreen Co., Wal-Mart Stores, Inc., and Fruit of the Earth, Inc., United
                  States District Court, Northern District of Illinois, Case No. 1:16-cv-06103
                  (Declaration regarding the methodology for a conjoint analysis, Dec. 22,
                  2017)

                  In Re Arris Cable Modem Consumer Litigation, United States District
                  Court, Northern District of California, San Jose Division, Case No. 17-cv-
                  1834-LHK (Declaration regarding the methodology for a conjoint analysis,
                  Mar. 9, 2018, deposed Apr. 5, 2018; Report, Jan. 31, 2019; deposed Feb.
                  14, 2019)

                  Teresa Elward et al. v. Electrolux Home Products, Inc., United States
                  District Court, Northern District of Illinois Eastern Division, Case No.
                  1:15-cv-09882 (Declaration regarding the methodology for a conjoint
                  analysis, Apr. 20, 2018, deposed Jul. 27, 2018)




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                  Stephen Hadley et al. v. Kellogg Sales Company, United States District
                  Court, Northern District of California, Case No. 5:16-cv-04955-LHK-HRL
                  (Declaration regarding a demand analysis and the methodology for a
                  conjoint analysis, April 30, 2018, deposed May 30, 2018, Report, Sept. 17,
                  2018, deposed Oct. 5, 2018)

                  Doru Bali et al. v. Fiat Chrysler Automobiles N.V., FCA US LLC, Sergio
                  Marchionne, VM Motori S.P.A., VM North America, Inc., Robert
                  Bosch Gmbh, and Robert Bosch LLC,, United States District Court,
                  Northern District of California, San Francisco Division, Case No. 3:17-md-
                  02777-EMC (Report regarding the methodology for and example of two
                  conjoint analyses, Jun. 6, 2018, deposed Jul. 23, 2018)

                  Michelle Gyorke-Takatri et al. v. Nestlé USA, INC. and Gerber Products
                  Company, Superior Court for The State of California in and for The County
                  of San Francisco, Case No. CGC 15-546850 (Declaration regarding the
                  methodology for a conjoint analysis, Sept. 10, 2018)

                  Debbie Krommenhock and Stephen Hadley et al. v. Post Foods LLC,
                  United States District Court, Northern District of California, Case No.
                  3:16-cv-04958-WHO (JSC) (Declaration regarding a demand analysis and
                  the methodology for a conjoint analysis, January 11, 2019, deposed Feb.
                  28, 2019, report Apr. 24, 2019, deposed May 15, 2019)

                  Jacob Beaty and Jessica Beaty et al. v. Ford Motor America, United States
                  District Court, Western District of Washington, Case No. 3:17-CV-
                  05201(Declaration regarding the methodology for a conjoint analysis, Feb.
                  22, 2019, deposed Mar. 26, 2019)

                  Barry Braverman et al. v. BMW of North America, LLC and BMW AG,
                  United States District Court, Central District of California, Western
                  Division, Case No. 8:16-cv-00966-BRO-SS (Report regarding a conjoint
                  analysis, Mar. 29, 2019, deposed May 29, 2019)

                  Hudock et al. v. LG Electronics U.S.A., Inc. et al., United States District
                  Court, District of Minnesota, Lead Case No. 16-cv-01220 JRT-KMM
                  (Report regarding a conjoint analysis, May 8, 2019, deposed Jun. 7, 2019)

                  Suresh Persad et al. v. Ford Motor Company, United States District Court,
                  Eastern District of Michigan, Southern Division, Civil Action No. 2:17-cv-
                  12599-TGBMKM (Declaration regarding a conjoint analysis, Jun. 25,
                  2019, Report Nov. 7, 2019, deposed Dec. 27, 2019)

                  Nike, Inc. v. Skechers U.S.A., Inc., United States District Court, District of
                  Oregon, Portland Division, Case No. 2:17-cv-08509-JAK-E (Report
                  evaluating a survey, Jul. 29, 2019, deposed Sept. 18, 2019)



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                  Paul Stockinger et al. v. Toyota Motor Motor Sales, Inc., United States
                  District Court, Central District of California, Case No. 17-cv-00035-VAP-
                  KS (Declaration regarding a conjoint analysis, Sept. 12, 2019, deposed Oct.
                  9, 2019)

                  Vicky Maldonado et al. v. Apple Inc. et al., United States District Court,
                  Northern District of California, San Francisco Division, Case No. 3:16-cv-
                  04067-WHO (Report regarding a conjoint analysis, Feb. 10, 2020)

                  Jennifer Nemet et al. v. Volkswagen Group of America, et al., United
                  States District Court, Northern District of California, San Francisco
                  Division, Case No. 3:17-cv-04372-CRB (Report regarding a conjoint
                  analysis, Feb. 14, 2020, deposed July 16, 2020)

                  Jeffrey Koenig and Marcellus Holt v. Vizio, Inc., Superior Court of the
                  State of California, County of Los Angeles, Case No. BC702266
                  (Declaration regarding a conjoint analysis, February 26, 2020, deposed
                  April 23, 2020. Report August 30, 2021, deposed October 5, 2021)

                  Will Kaupelis and Frank Ortega v. Harbor Freight Tools USA Inc., United
                  States District Court, Central District of California, Case No.: 8:19-cv-1203
                  (Declaration regarding a conjoint analysis, March 2, 2020, deposed May
                  28, 2020)

                  Banh et al. v. American Honda Motor Company, Inc., United States
                  District Court, Central District of California, Western Division, Case No.:
                  2:19-cv-05984 (Report regarding a conjoint analysis, April 9, 2020,
                  deposed June 4, 2020)

                  Daniel Zeiger and Danz Doggie Daytrips v. WellPet LLC, United States
                  District Court, Northern District of California, San Francisco Division,
                  Case No. 3:17-CV-04056-WHO (Report regarding a conjoint analysis,
                  June 29, 2020)

                  Javier Cardenas et al. v. Toyota Motor Corporation, United
                  States District Court Southern District of Florida, Case No. 18-22798-Civ-
                  Moreno (Report regarding a conjoint analysis, October 14, 2020)

                  Thomas Bailey v. Rite Aid Corporation, United States District Court,
                  Northern District of California, Case No. 4:18-cv-06926 (Declaration
                  regarding a conjoint analysis, October 16, 2020)




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                  Laura Bechtel and Troy Thoennes v. Fitness Equipment Services, LLC,
                  DBA Sole Fitness, United States District Court, Southern District of Ohio
                  Western Division, Case No. 1:19-Cv-00726 (Declaration regarding a
                  conjoint analysis, December 2, 2020)

                  Daniel Prescod v. Celsius Holdings, Inc., Superior Court for the State of
                  California, County of Los Angeles, Case No. 19STCV09321 (Declaration
                  regarding a conjoint analysis, December 16, 2020, deposed April 2, 2021)

                  Sherida Johnson et al. v. Nissan North America, Inc., United States District
                  Court, Northern District of California, San Francisco Division, Case No.
                  3:17-cv-00517 (Declaration regarding a conjoint analysis, February 16,
                  2021, deposed April 22, 2021)

                  Derick Ortiz v. SIG Sauer, Inc., United States District Court, District of
                  New Hampshire, Case No. 1:19-cv-01025-JL (Report regarding a conjoint
                  analysis, Feb. 26, 2021)

                  Ralph Milan et al. v. Clif Bar & Company, United States District Court,
                  Northern District of California, Case No. 4:18-cv-02354-JD (Report
                  regarding a conjoint analysis, March 2, 2021, deposed April 29, 2021)

                  Darren Fulton and Craig Jude Broussard v. Ford Motor Company, United
                  States District Court Southern District of Texas, Case No. 2:18-cv-00456
                  (Report regarding a conjoint analysis, March 15, 2021, deposed April 20,
                  2021)

                  Clarence Simmons et al. v Ford Motor Company, United States District
                  Court Southern District of Florida, Case No. 9-18-cv-81558-RAR (Report
                  evaluating a survey, June 10, 2021, deposed July 30, 2021)

                  Felix Obertman v. Electrolux Home Products, Inc., United States District
                  Court Eastern District of California, Case No. 2:19-cv-02487-KJM-AC
                  (Declaration regarding a conjoint analysis, June 14, 2021, deposed August
                  13, 2021)

                  Sherris Minor v. Baker Mills, Inc.; And Kodiak Cakes, LLC., United States
                  District Court Northern District of California, Case No. 20-cv-02901-RS
                  (Report regarding a conjoint analysis, August 2, 2021, deposed August 30,
                  2021)

                  Brooke Smith v. The Ohio State University, Court of Claims for the State
                  of Ohio, Case Nos. 2020-00321JD, (Declaration regarding a conjoint
                  analysis, June 23, 2021, deposed August 24, 2021)




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                  Gila Duke v. Ohio University, Court of Claims for the State of Ohio, Case
                  No. 2021-00036JD, (Declaration regarding a conjoint analysis, July 30,
                  2021, deposed September 22, 2021, Hearing January 18, 2022)

                  Caitlyn Waitt and Jordan Worrell v. Kent State University, Court of Claims
                  for the State of Ohio, Case No. 2020-00392JD, (Declaration regarding a
                  conjoint analysis, September 10, 2021)

                  Christopher Julian, Mark Pacana, Paul Fiskratti, and Wayne Leward v.
                  TTE Technology, Inc., United States District Court Northern District of
                  California, Case No. 3:20-CV-02857-EMC (Declaration regarding a
                  conjoint analysis, August 27, 2021, deposed September 24, 2021)

                  Mackenzie Weiman and Sarah Baumgartner v. Miami University, Court of
                  Claims for the State of Ohio, Case Nos. 2020-00614JD, 2020-00644JD
                  (Declaration regarding a conjoint analysis, September 24, 2021, Hearing
                  January 18, 2022)

                  Lawrence Keba v. Bowling Green State University, Court of Claims for the
                  State of Ohio, Case No. 2020-00639JD (Declaration regarding a conjoint
                  analysis, September 24, 2021)

                  Tyler Allen Click, Troy Bowen, Bailey Henderson, Ethan Galan, Luis G.
                  Ochoa Cabrera, Homero Medina, Michael Guidroz, Scott A. Hines, Bryan
                  J. Tomlin, Quentin Alexander, And Jacqueline Bargstedt, et al., v. General
                  Motors LLC, United States District Court, Southern District of Texas,
                  Corpus Christi Division, Case No. 2:18-Cv-00455-Ngr (Report Regarding
                  a Conjoint Analysis, October 12, 2021)

                  Howard Clark, Michelle Moran, et al., v. S.C. Johnson & Son, Inc.,
                  Superior Court of the State of California, County of Alameda, Case No.
                  RG20067897 (Report regarding a conjoint analysis, November 12, 2021)

                  Lance Dutcher v. Google LLC, d/b/a YouTube, and YouTube, LLC,
                  Superior Court of the State of California, County of Santa Clara, Case No.
                  20CV366905 (Declaration regarding a conjoint analysis, February 10,
                  2022, deposed May 27, 2022)

                  Lakeita Kemp, et al., v. Nissan North America and Nissan Motor Co., Ltd.,
                  United States District Court, Middle District of Tennessee, Nashville
                  Division, Case Nos. 3:19-cv-00843 and 3:19-cv-00854 (Report regarding a
                  conjoint analysis, February 22, 2022)




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                  Mark D. Chapman, et al., V. General Motors LLC, United States District
                  Court, Eastern District of Michigan, Case No. 2:19-Cv-12333-TGB-DRG
                  (Report Regarding a Conjoint Analysis, February 24, 2022, deposed April
                  12, 2022)

                  Terry Sonneveldt, et al., v. Mazda Motor of America, Inc. D/B/A Mazda
                  North American Operations and Mazda Motor Corporation, United States
                  District Court, Central District of California, Case No. 8:19-cv-01298-JLS-
                  KES (Declaration regarding a conjoint analysis, March 11, 2022, deposed
                  March 29, 2022, Report July 26, 2022)

                  Mocha Gunaratna and Renee Camenforte v. Dr. Dennis Gross Skincare,
                  LLC, United States District Court, Central District of California, Case No.
                  2:20-cv-02311-MWF-GJS (Declaration regarding a conjoint analysis, April
                  1, 2022, deposed May 23, 2022)

 Professional
 Societies:       INFORMS (The Institute for Operations Research and Management
                  Science)




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                        Exhibit B: Materials Reviewed and Considered

 Bailey v. Rite Aid Corporation, No. 4:18-cv-06926 YGR (N.D. Cal.)

 Banh v. American Honda Motor Co., No. 2:19-cv-05984 RGK (C.D. Cal.)

 Bechtel v. Fitness Equipment Services, LLC, DBA Sole Fitness, No. 1:19-cv-00726 (S. D. Ohio)

 Braverman v. BMW of North America, LLC, No. 16-cv-00966 TJH (C.D. Cal.)

 Brazell, Jeff D., Christopher G. Diener, Ekaterina Karniouchina, William L. Moore, Válerie
 Séverin, and Pierre-Francois Uldry (2006). “The no-choice option and dual response choice
 designs,” Marketing Letters, Vol. 17, No. 4 (Dec.), pp. 255-268.

 Cardenas v. Toyota Motor Corp., No. 18-22798-Civ-Moreno (S.D. Fla.)

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 Report of Colin Weir

 Diamond, Shari S. (2011). “Reference Guide on Survey Research,” Reference Manual on
 Scientific Evidence (Third Edition), Washington, D.C.: The National Academies Press, pp. 359-
 423.

 Hadley v. Kellogg Sales Company, No. 5:16-cv-04955 LHK (N.D. Cal.)

 HB-Reg v4 For Hierarchical Bayes Regression, Sawtooth Software Technical Paper Series,
 2013.

 Hudock v. LG Electronics U.S.A., Inc., No. 16-cv-01220 JRT (D. Minn.)

 In Re Arris Cable Modem Consumer Litigation, No. 17-cv-1834 LHK (N.D. Cal.)

 In Re: Lenovo Adware Litigation, No. 5:15-md-02624 RMW (N.D. Cal.)

 Johnson et al. v. Nissan North America, Inc., No. 3:17-cv-00517 (N.D. Cal.)

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                                                                                              B-1
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                         Materials Reviewed for Attribute Development

 University Attribute:

 https://catalog.upp.pitt.edu

 https://nces.ed.gov

 https://www.ncsu.edu/

 https://www.pitt.edu/

 https://www.stonybrook.edu/

 https://www.udel.edu/

 https://www.umd.edu/

 https://www.usnews.com




                                                                                            B-3
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 Undergraduate Teaching Ranking:

 https://www.usnews.com


 Student-Faculty Ratio Attribute:

 https://www.usnews.com


 4-Year Graduation Rate Attribute:

 https://nces.ed.gov


 Ethnic Diversity Index Attribute:

 https://www.usnews.com


 Class and Campus Format Attribute Initiatives Attribute:

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 Tuition Per Semester Attributes:

 Consolidated Class Action Complaint (09/03/2021)

 https://studentservices.ncsu.edu/wp-content/uploads/2020/09/Fall-2019_archive.pdf

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                        Exhibit C: Prodege Survey Invitation




           XXXX,




                                                                            C-1
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                         Exhibit C: Student List Invitations
 Initial Invitation




                                                                            C-2
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 Reminder Invitation




                                                                            C-3
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 Final Reminder Invitation




                                                                            C-4
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                                     Exhibit D: Questionnaire

 LEGEND:
 [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
 Notes to respondent in italics

 Introduction & Screening

 [INTRODUCTION S1] Thank you for your willingness to participate in our study. The
 responses you give to these questions are very important to us. If you don’t know an answer to a
 question or if you are unsure, please indicate this by choosing the DON’T KNOW/UNSURE
 option. It is very important that you do not guess.

 Your answers will be kept in confidence. The results of this study will not be used to try to sell
 you anything.

 When you are ready to get started, please select the “NEXT” button.

 [NEXT PAGE]

  SCREENING QUALIFICATION (“S” SERIES OF QUESTIONS)

 QS0. Please click on the box below and answer the question that appears. When completed,
 select the "NEXT” button to continue.

 [INSERT CAPTCHA]

 [NEXT PAGE]

 QS1. What type of electronic device are you using to complete this survey? (Select one only)
 [RANDOMIZE]

       Desktop computer [CONTINUE]
       Laptop computer [CONTINUE]
       Tablet computer [CONTINUE]
       Smartphone [CONTINUE]
       Other mobile or electronic device [ANCHOR; ON HOLD]

 [IF “OTHER” SELECTED IN QS1, DISPLAY: “This survey is not formatted for viewing on
 this device. Please return to the survey, using the same link, from a desktop, laptop, tablet, or
 smartphone.”]

 [NEXT PAGE]




                                                                                                 D-1
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 QS2. Are you…? (Select one only)

  Male
  Female

 [NEXT PAGE]

 QS3. Into which of the following categories does your age fall? (Select one only)

    Under 16 [TERMINATE]
    16 - 29
    30 - 40
    41 - 54
    55+

 [NEXT PAGE]

 QS4. In which state do you live? (Select one only) [DROP DOWN LIST OF 50 STATES +
 DC; + “MY AREA IS NOT LISTED HERE”. TERMINATE IF “MY AREA IS NOT
 LISTED HERE” IS SELECTED]

 [TERMINATE IF AGE AND GENDER DO NOT MATCH THE VALUES PASSED BY
 PANEL PROVIDER] [update age recode to match QS3]

 [NEXT PAGE]

 QS5. Do you or does any member of your household work for any of the following types of
 companies? (Select all that apply) [RANDOMIZE]

        A company that manufactures or sells washing machines
        A company that manufactures or sells motor vehicles
        Administration or staff at a hospital or health care facility
        Administration or faculty at a college or university [TERMINATE]
        A marketing or market research firm [TERMINATE]
        A public relations or advertising agency [TERMINATE]
        None of the above [ANCHOR; EXCLUSIVE]

 [TERMINATE IF “COLLEGE OR UNIVERSITY,” “MARKETING OR MARKET
 RESEARCH FIRM,” OR “PUBLIC RELATIONS OR ADVERTISING AGENCY”
 SELECTED]

 [NEXT PAGE]




                                                                                           D-2
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 QS6. When, if at all, did you most recently apply to a 4-year college or university in the United
 States for your undergraduate education? (Select one only)
          Never [TERMINATE]
          Currently applying
          Within the last year
          1 to less than 3 years ago
          3 to less than 5 years ago
          5 to less than 10 years ago
          10 to less than 15 years ago
          15 to less than 20 years ago
          More than 20 years ago [TERMINATE]

 [NEXT PAGE]




                                                                                                D-3
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 QS7. Below is a list of colleges and universities (in alphabetical order) in the United States.

 For each, please indicate whether you applied to the school, applied and were accepted to the
 school, or applied, were accepted, and attended the school for your undergraduate education.

 If you did not apply to the school for your undergraduate education, please select N/A. (Select
 one response per school) [ALPHABETICAL ORDER]
                                                             I        I applied     I applied, was
                                                         applied       and was       accepted, and
                                                                                                         N/A
                                                          to this   accepted to      attended this
                                                          school     this school         school
      1. Auburn University
      2. George Mason University
      3. Hayle Pierce University
      4. Michigan State University
      5. North Carolina State University
      6. Rutgers University
      7. State University of New York at Albany
      8. State University of New York at Binghamton
      9. Stony Brook University – SUNY
      10. University at Buffalo – SUNY
      11. University of California – Merced
      12. University of California – Riverside
      13. University of Colorado Boulder
      14. University of Connecticut
      15. University of Delaware
      16. University of Iowa
      17. University of Maryland College Park
      18. University of Massachusetts Amherst
      19. University of North Carolina at Chapel Hill
      20. University of Oregon
      21. University of Pittsburgh
      22. University of Rhode Island
      23. University of Utah
      24. University of Virginia
      25. Virginia Tech
 [MUST SELECT “APPLIED,” “APPLIED AND WAS ACCEPTED,” OR “APPLIED,
 WAS ACCEPTED, AND ATTENDED” FOR ANY UNIVERSITY LISTED, OTHERWISE
 TERMINATE. IF “HAYLE PIERCE UNIVERSITY” SELECTED TERMINATE; IF
 “APPLIED, WAS ACCEPTED, AND ATTENDED” SELECTED FOR 5 OR MORE
 UNIVERSITIES, TERMINATE.]

 [NEXT PAGE]



                                                                                                   D-4
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 QS8. Thinking back to when you most recently applied for your undergraduate education, in
 which state did you reside at the time? (Select one only) [DROP DOWN LIST OF 50 STATES
 + DC; INCLUDE “OUTSIDE THE US” AS AN OPTION]

 [NEXT PAGE]

 QS9. For quality control purposes, please select the “Other” option below and then type the
 word [‘quality’] [‘check’] [‘survey’] [‘question’] into the space provided. (Select one only)
 [RANDOMIZE THE FOUR QUESTION VERSIONS]
     Strongly agree
     Agree
     Neither agree nor disagree
     Disagree
     Strongly disagree
     Other. [TEXT BOX, DO NOT FORCE RESPONSE IF SELECTED]

 [TERMINATE RESPONDENT UNLESS CORRECT WORD FROM QUESTION IS
 TYPED IN “OTHER” BOX]

 [NEXT PAGE]

 QS10. You have qualified to take this survey. Before continuing, please carefully read these
 instructions:

        •   Please take the survey in one session without interruption.

        •   While taking the survey, please do not consult any other websites or other electronic
            or written materials.

        •   Please answer all questions on your own without consulting any other person.

        •   If you normally wear eyeglasses or contact lenses when viewing an electronic device,
            please wear them for the survey.

 (Select one only)
     I understand and agree to the above instructions [CONTINUE]
     I do not understand or do not agree to the above instructions [TERMINATE]

    [NEXT PAGE]




                                                                                                 D-5
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 Choice Exercise Setup
 [INTRO 1]
 For the following questions, we will be focusing on the decision of whether or not to enroll at a
 college or university for undergraduate education.
 [NEXT PAGE]

 [INTRO 2]
 Now imagine that you have been accepted to several universities and are making the decision at
 which to enroll as an undergraduate.
 The following questions will involve a series of exercises. In each exercise, you will make two
 choices.

    •   First, you will be shown three different university options that vary in terms of
        features and tuition. You will be asked, given that you have to make a choice, to choose
        the college or university that you would most prefer to enroll in.

    •   You will also be asked whether you would actually be willing to enroll at the college
        or university you chose at the tuition indicated if you were planning to attend a 4-
        year college or university in the next academic year.

 [WAIT 10 SECONDS BEFORE SHOWING ‘NEXT’ BUTTON]
 [NEXT PAGE]
 [INTRO 3]
 The universities that will be shown to you include one or more features within each of the
 following categories:
 [RANDOMIZE LIST; ANCHOR NAME AND PRICE]

    •   University [ANCHOR]
    •   Undergraduate Teaching Ranking
    •   Student-Faculty Ratio
    •   4-Year Graduation Rate
    •   Ethnic Diversity Index
    •   Class and Campus Format
    •   Tuition per Semester [ANCHOR]

 [WAIT 5 SECONDS BEFORE SHOWING ‘NEXT’ BUTTON]

 [NEXT PAGE]




                                                                                                D-6
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 [INTRO 4]
 For the purpose of these exercises, you should assume:

    •   You have applied and been accepted to each of these universities.
    •   You are actually considering enrolling as an undergraduate at a college or university.
    •   Each of the features shown about each university is true, even if you know or think
        otherwise, including cost of tuition.
    •   The universities do not vary on any features other than the features that are shown to vary
        in the exercise.
    •   You are making your university choices prior to the COVID-19 pandemic, so it should
        not be a factor in your decisions.

 Select “NEXT” to continue. [PROGRAM BULLET POINTS TO APPEAR WITH 3
 SECOND INTERVALS BETWEEN EACH BULLET]

 [NEXT PAGE]

 [INTRO 5]
 We will now give you a more detailed introduction to each feature. If you are on a mobile
 device, you may need to turn your device to the side to be able to view some of the features.
 [NEXT PAGE]

 [RANDOMIZE THE FOLLOWING SECTIONS IN THE SAME ORDER AS THE LIST
 ABOVE. TUITION PER SEMESTER IS ALWAYS THE LAST CATEGORY SHOWN]




                                                                                                 D-7
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  University [CONJ1]

  The universities you will choose from vary by University.

       •    Some of these universities have satellite or regional campuses – please assume you would
            be enrolling at the main campus.

  The Universities shown (in alphabetical order) in the exercise include:
   North Carolina State       Stony Brook University             University of          University of Maryland
                                                                                                                     University of Pittsburgh
       University                    – SUNY                       Delaware                 – College Park

 Number of                    Number of                    Number of                    Number of               Number of
 undergraduate students:      undergraduate students:      undergraduate students:      undergraduate students: undergraduate students:
 ~25,973                      ~17,909                      ~19,678                      ~30,511                 ~19,200

 Main Campus Location: Main Campus Location: Main Campus Location:                      Main Campus Location: Main Campus Location:
 Raleigh, NC           Stony Brook, NY       Newark, DE                                 College Park, MD      Pittsburgh, PA

 Fall 2019 Acceptance         Fall 2019 Acceptance         Fall 2019 Acceptance         Fall 2019 Acceptance         Fall 2019 Acceptance
 Rate: 45%                    Rate: 44%                    Rate: 71%                    Rate: 44%                    Rate: 57%

 Fall 2019 SAT                Fall 2019 SAT                Fall 2019 SAT                Fall 2019 SAT                Fall 2019 SAT
 composite score for the      composite score for the      composite score for the      composite score for the      composite score for the
 25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of
 enrolled students:           enrolled students:           enrolled students:           enrolled students:           enrolled students:
 1250 – 1420                  1230 – 1440                  1160 – 1350                  1280 – 1470                  1260 – 1440

 Fall 2019 ACT                Fall 2019 ACT                Fall 2019 ACT                Fall 2019 ACT                Fall 2019 ACT
 composite score for the      composite score for the      composite score for the      composite score for the      composite score for the
 25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of   25th to 75th percentile of
 enrolled students:           enrolled students:           enrolled students:           enrolled students:           enrolled students:
 27 – 32                      26 – 32                      24 – 30                      29 – 34                      28 – 33

                          You will have access to this information throughout this survey.

  [DELAY NEXT BUTTON 5 SECONDS]

  [NEXT PAGE]




                                                                                                                                          D-8
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 Undergraduate Teaching Ranking [CONJ2]

 The universities you will choose from vary by Undergraduate Teaching Ranking.
        •   The rankings shown have been sourced from U.S. News and World Report, an
            American media company that publishes news, opinions, consumer advice, rankings,
            and analysis.
        •   U.S News is a recognized leader in college, grad school, hospital, mutual fund, and
            car rankings.
        •   College presidents, provosts, and admissions deans who participated in the annual
            U.S. News peer assessment survey were asked to nominate up to 15 schools in their
            Best Colleges ranking category that have a strength in undergraduate teaching.
        •   The lists, organized by U.S. News ranking categories, include the colleges that
            received the most nominations. They are ranked in descending order based on the
            number of top-15 nominations they received. Schools had to receive seven or more
            nominations to be ranked.

 The Undergraduate Teaching Ranking levels shown in the exercise include:
  Undergraduate teaching is not Ranked in the top 6-10 best               Ranked top 5 best
    in the top 10 among public undergraduate teaching among undergraduate teaching among
      universities in the U.S.     public universities in the U.S. public universities in the U.S.
  The university’s undergraduate The university’s undergraduate The university’s undergraduate
   teaching is not in the top 10 teaching is ranked in the top 6- teaching is ranked in the top 5
   according to the U.S. News 10 according to the U.S. News according to the U.S. News
         and World Report                 and World Report                and World Report
                   You will have access to this information throughout this survey.

 [DELAY NEXT BUTTON 5 SECONDS]

 [NEXT PAGE]




                                                                                              D-9
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 Student-Faculty Ratio [CONJ3]

 The universities you will choose from vary by Student-Faculty Ratio.
        •   A student-faculty ratio indicates the number of full-time-equivalent students in
            comparison to how many full-time-equivalent faculty members there are at the
            college or university.
        •   This excludes faculty and students of law, medical, business, and other stand-alone
            graduate or professional programs in which faculty members teach virtually only
            graduate-level students.
        •    Faculty numbers also exclude graduate or undergraduate students who are teaching
            assistants.

 The Student-Faculty Ratio levels shown in the exercise include:
  19:1 student-faculty 17:1 student-faculty 15:1 student-faculty 12:1 student-faculty
          ratio                 ratio                   ratio                 ratio
   There is 1 faculty     There is 1 faculty      There is 1 faculty   There is 1 faculty
  member for every 19 member for every 17 member for every 15 member for every 12
        students              students                students              students
                  You will have access to this information throughout this survey.

 [DELAY NEXT BUTTON 5 SECONDS]

 [NEXT PAGE]

 4-Year Graduation Rate [CONJ4]

 The universities you will choose from vary by 4-year Graduation Rate.
        •   The 4-year graduation rate indicates the percent of undergraduate students who
            graduate in four years.
        •   To be enrolled full-time, students must take 12 credits per semester. To graduate in
            four years, students must take and pass at least 15 credits per semester.

 The 4-Year Graduation Rate levels shown in the exercise include:
  57% Graduation 61% Graduation 65% Graduation 69% Graduation 73% Graduation
         Rate                Rate                 Rate               Rate               Rate
        57% of              61% of              65% of              69% of             73% of
    undergraduate      undergraduate        undergraduate       undergraduate      undergraduate
  students graduate students graduate students graduate students graduate students graduate
     in four years      in four years        in four years       in four years      in four years
                   You will have access to this information throughout this survey.

 [DELAY NEXT BUTTON 5 SECONDS]



                                                                                             D-10
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 [NEXT PAGE]

 Ethnic Diversity Index [CONJ5]

 The universities you will choose from vary by Ethnic Diversity Index.
        •   The scores shown have been sourced from U.S. News and World Report, an
            American media company that publishes news, opinions, consumer advice, rankings,
            and analysis.
        •   U.S News is a recognized leader in college, grad school, hospital, mutual fund, and
            car rankings.
        •   To identify colleges where students are most likely to encounter undergraduates from
            racial or ethnic groups different from their own, U.S. News factors in the total
            proportion of minority students and the overall mix of groups. The data is drawn from
            the Fall 2020 total undergraduate student body.
        •   The ethnic categories used in the calculations are non-Hispanic African-American,
            Hispanic, American Indian, Pacific Islander/Native Hawaiian, Asian, non-Hispanic
            white, and multiracial (two or more races).
        •   The formula produces a diversity index that ranges from 0 to 1. The closer a school’s
            number is to 1, the more diverse the student population.

 The Ethnic Diversity Index levels shown in the exercise include:
 The Ethnic Diversity     The Ethnic Diversity       The Ethnic Diversity     The Ethnic Diversity
 Index is a .4 out of 1   Index is a .5 out of 1     Index is a .6 out of 1    Index is a .7 out of 1
 The Ethnic Diversity     The Ethnic Diversity       The Ethnic Diversity     The Ethnic Diversity
Index for this school is Index for this school Index for this school is Index for this school is
     a .4 out of 1            is a .5 out of 1           a .6 out of 1              a .7 out of 1
                   You will have access to this information throughout this survey.

 [DELAY NEXT BUTTON 5 SECONDS]

 [NEXT PAGE]




                                                                                               D-11
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 Class and Campus Format [CONJ6]

 The universities you will choose from vary by Class and Campus Format.
        •   Class and campus format indicate two things about a student’s university experience:
            o Whether classes are conducted online or in person at the university’s campus.
                   ▪ When classes are offered in person, students may have the option to (but
                        not be required to) take them online instead.
            o Whether or not students have physical access to the university campus, its
               facilities, and the accompanying campus experience.

 The Class and Campus Format levels shown in the exercise include:
 Classes held online; no access to Classes held online; have access Classes are offered in person;
       campus or facilities            to campus and facilities       have access to campus and
                                                                                facilities
   Classes are held online, and      Classes are held online, but   Classes are offered in person
  students have no access to the students still have access to the and students have access to the
   campus, its facilities, or the   campus, its facilities, and the campus, its facilities, and the
       campus experience                  campus experience               campus experience
                  You will have access to this information throughout this survey.

 [DELAY NEXT BUTTON 5 SECONDS]

 [NEXT PAGE]

 Tuition per Semester [CONJ7]

 The universities you will choose from vary by Tuition per Semester.
        •   Tuition at some of the universities in the exercise may be called an instructional fee.
        •   The tuition listed below does not include any changes in the amount you would pay
            due to financial aid, work-study, scholarships, or other forms of tuition support.
        •   This tuition price does not include room and board, the general fee, or any other
            additional fees. Room and board would be an additional charge if you choose to and
            are able to live on campus.

 The Tuition per Semester levels shown in the exercise include:
       $3,250               $6,750             $10,250            $13,750              $17,250

    The price of         The price of       The price of        The price of          The price of
     tuition per          tuition per        tuition per         tuition per           tuition per
    semester is          semester is        semester is         semester is           semester is
       $3,250               $6,750            $10,250             $13,750               $17,250
                   You will have access to this information throughout this survey.



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 [DELAY NEXT BUTTON 5 SECONDS]

 [NEXT PAGE]

 Choice Exercise Tutorial
 [INTRO 6]

 Here is an example of what one particular set of choices might look like.

 Please note, in the actual exercise, you will be able to click or tap on the blue, underlined feature
 labels to review the detailed information about the levels in each feature.

 Each of the three columns shown represents one of the three universities from which you will be
 asked to choose.

 THIS IS JUST AN EXAMPLE.

 Please select the “NEXT” button after you have reviewed the example.




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 [UNDERNEATH TASK EXAMPLE]: “As a reminder, this is just an example. You cannot
 select the buttons in the image above.”
 [WAIT 5 SECONDS BEFORE SHOWING ‘NEXT’ BUTTON]
 [NEXT PAGE]
 [CONJ_INTRO_1]

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 On each of the pages that follow there will be one “choice task” in which three hypothetical
 universities are presented, each with a different set of features. You will be asked to choose the
 university you most prefer to enroll in if you had to choose, if there were no other options
 available, AND if all other features not mentioned in the exercise were the same across the
 universities shown.


    •   Please assume that the universities do not vary on any features other than the features that
        are shown to vary in the exercise
    •   As a reminder, you are making your university choices prior to the COVID-19 pandemic,
        so it should not be a factor in your decisions.

 Once you have chosen one of the three universities as your most preferred option, you will then
 be asked a second question:

    •   “Given your knowledge of universities, would you or would you not actually be willing
        to enroll at the university that you chose above with the tuition indicated? As a
        reminder, please assume you are actually considering enrolling as an undergraduate at a
        college or university, and you are making your university choices prior to the COVID-19
        pandemic, so it should not be a factor in your decisions.”

 There will be twelve of these choice exercises, after which the survey will conclude.

 [WAIT 10 SECONDS BEFORE SHOWING ‘NEXT’ BUTTON]
 [NEXT PAGE]

 [CONJ_INTRO_2]

 Next, you will begin the choice exercises. Select the “NEXT” button to get started.

 [NEXT PAGE]

 Choice Exercises

 [CONJOINT EXERCISE TAKES PLACE HERE. CHOICE TASK REPEATED 12
 TIMES. ATTRIBUTE ORDER RANDOMIZED ACROSS RESPONDENTS. THE TWO
 EXCEPTIONS ARE UNIVERSITY NAME WHICH IS ALWAYS FIRST AND TUITION
 PER SEMESTER, WHICH IS ALWAYS LAST.]

 [SHOW FOLLOWING INSTRUCTION TEXT ABOVE CONJOINT EXERCISE: “If you
 are taking the survey on a mobile device, you may want to turn your phone to get a wider
 screen. You also will need to swipe and view all three products before making your
 selections.”]

 [NEXT PAGE]

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 [AFTER THE CONJOINT PORTION; SHOW ONLY FOR STUDENT LIST SAMPLE]

 [QEMAIL] Thank you for participating in our survey. To show our appreciation, we will email
 you a $20 Amazon gift card to the same email address to which this survey invitation was
 sent. If you prefer that the gift card be sent to a different email address, please provide the email
 address below. We will only use this email to send you your gift card. We will not share or use
 this email for any other purpose.

 [PROVIDE TEXT BOXES FOR EMAIL ADDRESS. REQUIRE PROPER FORMAT
 FOR EMAIL ADDRESS. RESPONDENT MUST PROVIDE ANSWER OR CHECK-BOX
 BELOW FOR “Please send the gift card to the same email address to which this survey
 invitation was sent.”]

 EMAIL ADDRESS: [FORCE RESPONSE]
 CONFIRM EMAIL ADDRESS: [FORCE RESPONSE]
         ❑ Please send the gift card to the same email address to which this survey invitation
 was sent. [EXCLUSIVE]

 [IF EMAILS DO NOT MATCH, SHOW ERROR MESSAGE “Your email entries do not
 match. Please re-enter this information.”]

 [RESPONDENTS FORWARDED TO PANEL THANK-YOU PAGE]

 [END OF SURVEY]




                                                                                                 D-16
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                              Exhibit E: Screenshots

 Introduction and Screening

 Introduction S1.




 QS0.




 QS1.




                                                                            E-1
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 QS2.




 QS3.




 QS4.




                                                                            E-2
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 QS5.




 QS6.




                                                                            E-3
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 QS7.




                                                                            E-4
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 QS8.




 QS9.




                                                                            E-5
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 QS10.




                                                                            E-6
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 Main Questionnaire

 Choice Exercise Setup
 INTRO1.




 INTRO2.




 INTRO3.




                                                                            E-7
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 INTRO4.




 INTRO5.




                                                                            E-8
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 University




                                                                            E-9
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 4-Year Graduation Rate




                                                                           E-10
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 Class and Campus Format




                                                                           E-11
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 Ethnic Diversity Index




                                                                           E-12
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 Student Faculty Ratio




                                                                           E-13
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 Undergraduate Teaching Ranking




                                                                           E-14
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 Tuition per Semester




                                                                           E-15
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 Choice Exercise Tutorial

 INTRO6.




                                                                           E-16
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 CONJ_INTRO_1




 CONJ_INTRO_2




                                                                           E-17
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 Choice Exercises




                                                                           E-18
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 QEMAIL (Only shown to Student List Sample).




                                                                           E-19
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         Exhibit F: Changes Made to Conjoint Survey Due to Preliminary Pretesting

 Overview
 AMS conducted pretesting of the university conjoint survey under my direction to ensure that the
 survey content and questions were understood by respondents. The pretesting process was
 divided into two stages. In the first stage, preliminary pretesting, the focus was to identify and
 correct possible issues in the survey. Ten (10) pretest respondents were sufficient to proceed to
 the second stage, final pretesting. The purpose of final pretesting was to confirm the study would
 be understood and found not to be biased or leading by respondents. Ten (10) respondents
 completed final pretesting.
 A number of potential issues were identified in the course of preliminary pretesting of the
 conjoint survey. The potential issues are summarized below, along with their associated findings
 and solutions.


                             Conjoint Survey Preliminary Pretesting

             Potential Issue                               Finding and Solution

  1. Awkward placement of              Moved parenthetical to after “universities” so it now
     parenthetical in QS7 (“Below is a reads: “Below is a list of colleges and universities (in
     list of colleges (in alphabetical alphabetical order) in the United States.”
     order) and universities in the
     United States.”)
  2. Respondents indicated slight      Changed wording to: “Fall 2019 [SAT/ACT] composite
     confusion with the wording of the score for the 25th to 75th percentile of enrolled students”
     SAT and ACT “middle 50%”
     wording in the University
     attribute description.
  3. Wanted to make sure respondents     For the dual response question, added: “As a reminder,
     were clear in their understanding   please assume you are actually considering enrolling as
     of the context in which they are    an undergraduate at a college or university, and you are
     making their choices.               making your university choices prior to the COVID-19
                                         pandemic, so it should not be a factor in your
                                         decisions.”

                                         Additionally, added the following instruction text in the
                                         conjoint exercise: “As a reminder, you are making your
                                         university choices prior to the COVID-19 pandemic, so
                                         it should not be a factor in your decisions.”




                                                                                                  F-1
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                                    Exhibit G: Final Pretests
 CONJOINT PRETEST – FINAL PRETEST 1
 ▪ The following questions will be asked after the respondent has completed the survey

 Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
 completely confidential, and we will not use any of your responses to sell you anything. We
 would now like to ask you a few additional questions.

 Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
         ☐ Yes… If yes, who? ENTER TEXT HERE:
         ☐ No
         ☒ Unsure

 Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
    survey?
         ☒ Yes… If yes, how? ENTER TEXT HERE: I think the sponsor is trying to
         understand what students value the most when picking schools to attend and they may
         publish their findings on the website or something.
         ☐ No
         ☐ Unsure

 Q3. Did you or did you not have difficulty understanding the questions and instructions?
         ☐ Yes, I had difficulty understanding the questions and instructions
         ☒ No, I did not have difficulty understanding the questions and instructions
         ☐ Unsure

 [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
 THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
 was the question or instruction difficult to answer? Would you have preferred a different way to
 ask the question or give the instruction? Would you please give an example? ASK "Anything
 else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
    that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
    words, did you or did you not find any of the questions leading or biased?]
          ☐ Yes, I felt the survey was trying to get me to answer in a certain way
          ☒ No, I did not feel the survey was trying to get me to answer in a certain way
          ☐ Unsure

 [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
 LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
 was trying to get you to answer in a certain way. Can you please explain why you felt this way?


                                                                                               G-1
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 What about the question was leading or biased? ASK "Anything else?" UNTIL THE
 RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q5. Were you or were you not able to answer all of the questions?
         ☒ Yes, I was able to answer all of the questions
         ☐ No, I was not able to answer all of the questions
         ☐ Unsure

 [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
 ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
 answer? Would you have preferred a different way to ask the question or give the instruction?
 Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
 SAYS, "Nothing else."]

        ENTER TEXT HERE:

 Q6. In doing the choice exercises, did you or did you not understand that you were asked to
    imagine that you were deciding at which university to enroll as an undergraduate?
         ☒ Yes, I understood
         ☐ No, I did not understand
         ☐ Unsure

 [READ] Please think back to the part of the survey where you were asked to choose your most
 preferred university …

 Q7. Did you or did you not understand that the universities you were asked to choose among
    only varied on the features described and that all the other features of the university choices
    were the same for all the universities presented?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

 Q8. Did you or did you not look at all or almost all of the features in making your choices?
          ☒ Yes, I looked at all or almost all of the features in making my choices
          ☐ No, I did not look at all or almost all of the features in making my choices
          ☐ Unsure

 Q9. In making your choices, did you or did you not consider some features to be more important
 than others?
          ☒ Yes, I considered some features to be more important than others
          ☐ No, I did not consider some features to be more important than others
          ☐ Unsure


                                                                                                G-2
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 CONJOINT PRETEST – FINAL PRETEST 2
 ▪ The following questions will be asked after the respondent has completed the survey

 Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
 completely confidential, and we will not use any of your responses to sell you anything. We
 would now like to ask you a few additional questions.

 Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
         ☐ Yes… If yes, who? ENTER TEXT HERE:
         ☒ No
         ☐ Unsure

 Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
    survey?
         ☐ Yes… If yes, how? ENTER TEXT HERE:
         ☒ No
         ☐ Unsure

 Q3. Did you or did you not have difficulty understanding the questions and instructions?
         ☐ Yes, I had difficulty understanding the questions and instructions
         ☒ No, I did not have difficulty understanding the questions and instructions
         ☐ Unsure

 [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
 THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
 was the question or instruction difficult to answer? Would you have preferred a different way to
 ask the question or give the instruction? Would you please give an example? ASK "Anything
 else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
    that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
    words, did you or did you not find any of the questions leading or biased?]
          ☐ Yes, I felt the survey was trying to get me to answer in a certain way
          ☒ No, I did not feel the survey was trying to get me to answer in a certain way
          ☐ Unsure

 [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
 LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
 was trying to get you to answer in a certain way. Can you please explain why you felt this way?
 What about the question was leading or biased? ASK "Anything else?" UNTIL THE
 RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:


                                                                                               G-3
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 Q5. Were you or were you not able to answer all of the questions?
         ☒ Yes, I was able to answer all of the questions
         ☐ No, I was not able to answer all of the questions
         ☐ Unsure

 [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
 ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
 answer? Would you have preferred a different way to ask the question or give the instruction?
 Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
 SAYS, "Nothing else."]

        ENTER TEXT HERE:

 Q6. In doing the choice exercises, did you or did you not understand that you were asked to
    imagine that you were deciding at which university to enroll as an undergraduate?
         ☒ Yes, I understood
         ☐ No, I did not understand
         ☐ Unsure

 [READ] Please think back to the part of the survey where you were asked to choose your most
 preferred university …

 Q7. Did you or did you not understand that the universities you were asked to choose among
    only varied on the features described and that all the other features of the university choices
    were the same for all the universities presented?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

 Q8. Did you or did you not look at all or almost all of the features in making your choices?
          ☒ Yes, I looked at all or almost all of the features in making my choices
          ☐ No, I did not look at all or almost all of the features in making my choices
          ☐ Unsure

 Q9. In making your choices, did you or did you not consider some features to be more important
 than others?
          ☒ Yes, I considered some features to be more important than others
          ☐ No, I did not consider some features to be more important than others
          ☐ Unsure




                                                                                                G-4
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 CONJOINT PRETEST – FINAL PRETEST 3
 ▪ The following questions will be asked after the respondent has completed the survey

 Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
 completely confidential, and we will not use any of your responses to sell you anything. We
 would now like to ask you a few additional questions.

 Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
         ☐ Yes… If yes, who? ENTER TEXT HERE:
         ☐ No
         ☒ Unsure

 Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
    survey?
         ☒ Yes… If yes, how? ENTER TEXT HERE: I have a guess that they might gather all
         of the similar results based on each category to see which was the most important and
         which ones were the most important factors in the decision.
         ☐ No
         ☐ Unsure

 Q3. Did you or did you not have difficulty understanding the questions and instructions?
         ☐ Yes, I had difficulty understanding the questions and instructions
         ☒ No, I did not have difficulty understanding the questions and instructions
         ☐ Unsure

 [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
 THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
 was the question or instruction difficult to answer? Would you have preferred a different way to
 ask the question or give the instruction? Would you please give an example? ASK "Anything
 else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
    that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
    words, did you or did you not find any of the questions leading or biased?]
          ☐ Yes, I felt the survey was trying to get me to answer in a certain way
          ☒ No, I did not feel the survey was trying to get me to answer in a certain way
          ☐ Unsure

 [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
 LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
 was trying to get you to answer in a certain way. Can you please explain why you felt this way?
 What about the question was leading or biased? ASK "Anything else?" UNTIL THE
 RESPONDENT SAYS, "Nothing else."]


                                                                                               G-5
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       ENTER TEXT HERE:

 Q5. Were you or were you not able to answer all of the questions?
         ☒ Yes, I was able to answer all of the questions
         ☐ No, I was not able to answer all of the questions
         ☐ Unsure

 [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
 ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
 answer? Would you have preferred a different way to ask the question or give the instruction?
 Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
 SAYS, "Nothing else."]

        ENTER TEXT HERE:

 Q6. In doing the choice exercises, did you or did you not understand that you were asked to
    imagine that you were deciding at which university to enroll as an undergraduate?
         ☒ Yes, I understood
         ☐ No, I did not understand
         ☐ Unsure

 [READ] Please think back to the part of the survey where you were asked to choose your most
 preferred university …

 Q7. Did you or did you not understand that the universities you were asked to choose among
    only varied on the features described and that all the other features of the university choices
    were the same for all the universities presented?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

 Q8. Did you or did you not look at all or almost all of the features in making your choices?
          ☒ Yes, I looked at all or almost all of the features in making my choices
          ☐ No, I did not look at all or almost all of the features in making my choices
          ☐ Unsure

 Q9. In making your choices, did you or did you not consider some features to be more important
 than others?
          ☒ Yes, I considered some features to be more important than others
          ☐ No, I did not consider some features to be more important than others
          ☐ Unsure




                                                                                                G-6
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 CONJOINT PRETEST – FINAL PRETEST 4
 ▪ The following questions will be asked after the respondent has completed the survey

 Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
 completely confidential, and we will not use any of your responses to sell you anything. We
 would now like to ask you a few additional questions.

 Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
         ☒ Yes… If yes, who? ENTER TEXT HERE: Pretty vague, but I assume it’s a financial
         department of a college or university but I’m not sure which one.
         ☐ No
         ☐ Unsure

 Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
    survey?
         ☒ Yes… If yes, how? ENTER TEXT HERE: I assume the information would be used
         to prioritize improving different aspects of a college in order to attract the most
         students.
         ☐ No
         ☐ Unsure

 Q3. Did you or did you not have difficulty understanding the questions and instructions?
         ☐ Yes, I had difficulty understanding the questions and instructions
         ☒ No, I did not have difficulty understanding the questions and instructions
         ☐ Unsure

 [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
 THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
 was the question or instruction difficult to answer? Would you have preferred a different way to
 ask the question or give the instruction? Would you please give an example? ASK "Anything
 else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
    that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
    words, did you or did you not find any of the questions leading or biased?]
          ☐ Yes, I felt the survey was trying to get me to answer in a certain way
          ☒ No, I did not feel the survey was trying to get me to answer in a certain way
          ☐ Unsure

 [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
 LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
 was trying to get you to answer in a certain way. Can you please explain why you felt this way?


                                                                                               G-7
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 What about the question was leading or biased? ASK "Anything else?" UNTIL THE
 RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q5. Were you or were you not able to answer all of the questions?
         ☒ Yes, I was able to answer all of the questions
         ☐ No, I was not able to answer all of the questions
         ☐ Unsure

 [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
 ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
 answer? Would you have preferred a different way to ask the question or give the instruction?
 Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
 SAYS, "Nothing else."]

        ENTER TEXT HERE:

 Q6. In doing the choice exercises, did you or did you not understand that you were asked to
    imagine that you were deciding at which university to enroll as an undergraduate?
         ☒ Yes, I understood
         ☐ No, I did not understand
         ☐ Unsure

 [READ] Please think back to the part of the survey where you were asked to choose your most
 preferred university …

 Q7. Did you or did you not understand that the universities you were asked to choose among
    only varied on the features described and that all the other features of the university choices
    were the same for all the universities presented?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

 Q8. Did you or did you not look at all or almost all of the features in making your choices?
          ☒ Yes, I looked at all or almost all of the features in making my choices
          ☐ No, I did not look at all or almost all of the features in making my choices
          ☐ Unsure

 Q9. In making your choices, did you or did you not consider some features to be more important
 than others?
          ☒ Yes, I considered some features to be more important than others
          ☐ No, I did not consider some features to be more important than others
          ☐ Unsure


                                                                                                G-8
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 CONJOINT PRETEST – FINAL PRETEST 5
 ▪ The following questions will be asked after the respondent has completed the survey

 Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
 completely confidential, and we will not use any of your responses to sell you anything. We
 would now like to ask you a few additional questions.

 Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
         ☐ Yes… If yes, who? ENTER TEXT HERE:
         ☒ No
         ☐ Unsure

 Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
    survey?
         ☐ Yes… If yes, how? ENTER TEXT HERE:
         ☒ No
         ☐ Unsure

 Q3. Did you or did you not have difficulty understanding the questions and instructions?
         ☐ Yes, I had difficulty understanding the questions and instructions
         ☒ No, I did not have difficulty understanding the questions and instructions
         ☐ Unsure

 [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
 THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
 was the question or instruction difficult to answer? Would you have preferred a different way to
 ask the question or give the instruction? Would you please give an example? ASK "Anything
 else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:

 Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
    that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
    words, did you or did you not find any of the questions leading or biased?]
          ☐ Yes, I felt the survey was trying to get me to answer in a certain way
          ☒ No, I did not feel the survey was trying to get me to answer in a certain way
          ☐ Unsure

 [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
 LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
 was trying to get you to answer in a certain way. Can you please explain why you felt this way?
 What about the question was leading or biased? ASK "Anything else?" UNTIL THE
 RESPONDENT SAYS, "Nothing else."]

       ENTER TEXT HERE:


                                                                                               G-9
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  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-10
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  CONJOINT PRETEST – FINAL PRETEST 6
  ▪ The following questions will be asked after the respondent has completed the survey

  Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
  completely confidential, and we will not use any of your responses to sell you anything. We
  would now like to ask you a few additional questions.

  Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
          ☒ Yes… If yes, who? ENTER TEXT HERE: One of the schools listed.
          ☐ No
          ☐ Unsure

  Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
     survey?
          ☐ Yes… If yes, how? ENTER TEXT HERE:
          ☒ No
          ☐ Unsure

  Q3. Did you or did you not have difficulty understanding the questions and instructions?
          ☐ Yes, I had difficulty understanding the questions and instructions
          ☒ No, I did not have difficulty understanding the questions and instructions
          ☐ Unsure

  [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
  THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
  was the question or instruction difficult to answer? Would you have preferred a different way to
  ask the question or give the instruction? Would you please give an example? ASK "Anything
  else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:

  Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
     that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
     words, did you or did you not find any of the questions leading or biased?]
           ☐ Yes, I felt the survey was trying to get me to answer in a certain way
           ☒ No, I did not feel the survey was trying to get me to answer in a certain way
           ☐ Unsure

  [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
  LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
  was trying to get you to answer in a certain way. Can you please explain why you felt this way?
  What about the question was leading or biased? ASK "Anything else?" UNTIL THE
  RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:


                                                                                               G-11
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  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-12
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  CONJOINT PRETEST – FINAL PRETEST 7
  ▪ The following questions will be asked after the respondent has completed the survey

  Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
  completely confidential, and we will not use any of your responses to sell you anything. We
  would now like to ask you a few additional questions.

  Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
          ☐ Yes… If yes, who? ENTER TEXT HERE:
          ☒ No
          ☐ Unsure

  Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
  survey?
          ☐ Yes… If yes, how? ENTER TEXT HERE:
          ☒ No
          ☐ Unsure

  Q3. Did you or did you not have difficulty understanding the questions and instructions?
           ☐ Yes, I had difficulty understanding the questions and instructions
           ☒ No, I did not have difficulty understanding the questions and instructions
           ☐ Unsure

  [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
  THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
  was the question or instruction difficult to answer? Would you have preferred a different way to
  ask the question or give the instruction? Would you please give an example? ASK "Anything
  else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:

  Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
  that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
  words, did you or did you not find any of the questions leading or biased?]
           ☐ Yes, I felt the survey was trying to get me to answer in a certain way
           ☒ No, I did not feel the survey was trying to get me to answer in a certain way
           ☐ Unsure

  [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
  LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
  was trying to get you to answer in a certain way. Can you please explain why you felt this way?
  What about the question was leading or biased? ASK "Anything else?" UNTIL THE
  RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:


                                                                                               G-13
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  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-14
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  CONJOINT PRETEST – FINAL PRETEST 8
  ▪ The following questions will be asked after the respondent has completed the survey

  Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
  completely confidential, and we will not use any of your responses to sell you anything. We
  would now like to ask you a few additional questions.

  Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
          ☐ Yes… If yes, who? ENTER TEXT HERE:
          ☐ No
          ☒ Unsure

  Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
  survey?
          ☒ Yes… If yes, how? ENTER TEXT HERE: Anyone who wants to go college and
          see which college is the best fit.
          ☐ No
          ☐ Unsure

  Q3. Did you or did you not have difficulty understanding the questions and instructions?
           ☐ Yes, I had difficulty understanding the questions and instructions
           ☒ No, I did not have difficulty understanding the questions and instructions
           ☐ Unsure

  [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
  THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
  was the question or instruction difficult to answer? Would you have preferred a different way to
  ask the question or give the instruction? Would you please give an example? ASK "Anything
  else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:

  Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
  that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
  words, did you or did you not find any of the questions leading or biased?]
           ☐ Yes, I felt the survey was trying to get me to answer in a certain way
           ☒ No, I did not feel the survey was trying to get me to answer in a certain way
           ☐ Unsure

  [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
  LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
  was trying to get you to answer in a certain way. Can you please explain why you felt this way?
  What about the question was leading or biased? ASK "Anything else?" UNTIL THE
  RESPONDENT SAYS, "Nothing else."]



                                                                                               G-15
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        ENTER TEXT HERE:

  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-16
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  CONJOINT PRETEST – FINAL PRETEST 9
  ▪ The following questions will be asked after the respondent has completed the survey

  Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
  completely confidential, and we will not use any of your responses to sell you anything. We
  would now like to ask you a few additional questions.

  Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
          ☐ Yes… If yes, who? ENTER TEXT HERE:
          ☐ No
          ☒ Unsure

  Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
  survey?
          ☐ Yes… If yes, how? ENTER TEXT HERE:
          ☐ No
          ☒ Unsure

  Q3. Did you or did you not have difficulty understanding the questions and instructions?
           ☐ Yes, I had difficulty understanding the questions and instructions
           ☒ No, I did not have difficulty understanding the questions and instructions
           ☐ Unsure

  [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
  THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
  was the question or instruction difficult to answer? Would you have preferred a different way to
  ask the question or give the instruction? Would you please give an example? ASK "Anything
  else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:

  Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
  that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
  words, did you or did you not find any of the questions leading or biased?]
           ☐ Yes, I felt the survey was trying to get me to answer in a certain way
           ☒ No, I did not feel the survey was trying to get me to answer in a certain way
           ☐ Unsure

  [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
  LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
  was trying to get you to answer in a certain way. Can you please explain why you felt this way?
  What about the question was leading or biased? ASK "Anything else?" UNTIL THE
  RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:


                                                                                               G-17
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  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-18
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  CONJOINT PRETEST – FINAL PRETEST 10
  ▪ The following questions will be asked after the respondent has completed the survey

  Thank you for taking the time to complete the survey. As a reminder, your responses will be kept
  completely confidential, and we will not use any of your responses to sell you anything. We
  would now like to ask you a few additional questions.

  Q1. Do you or do you not have a belief about who might be the sponsor of this survey?
          ☐ Yes… If yes, who? ENTER TEXT HERE:
          ☐ No
          ☒ Unsure

  Q2. Do you or do you not have an opinion about how the sponsor would use the results of this
  survey?
          ☐ Yes… If yes, how? ENTER TEXT HERE:
          ☐ No
          ☒ Unsure

  Q3. Did you or did you not have difficulty understanding the questions and instructions?
           ☐ Yes, I had difficulty understanding the questions and instructions
           ☒ No, I did not have difficulty understanding the questions and instructions
           ☐ Unsure

  [IF “YES,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION OR INSTRUCTION
  THAT THEY FOUND DIFFICULT TO ANSWER, ASK OPEN ENDED QUESTIONS: Why
  was the question or instruction difficult to answer? Would you have preferred a different way to
  ask the question or give the instruction? Would you please give an example? ASK "Anything
  else?" UNTIL THE RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:

  Q4. Did you or did you not feel like the survey was trying to get you to answer in a certain way,
  that you otherwise would not? [IF RESPONDENT ASKS FOR CLARIFICATION: In other
  words, did you or did you not find any of the questions leading or biased?]
           ☐ Yes, I felt the survey was trying to get me to answer in a certain way
           ☒ No, I did not feel the survey was trying to get me to answer in a certain way
           ☐ Unsure

  [IF “YES,” PROBE. FOR EACH QUESTION OR INSTRUCTION THAT THEY FOUND
  LEADING OR BIASED ASK OPEN ENDED QUESTIONS: You indicated you felt the survey
  was trying to get you to answer in a certain way. Can you please explain why you felt this way?
  What about the question was leading or biased? ASK "Anything else?" UNTIL THE
  RESPONDENT SAYS, "Nothing else."]

        ENTER TEXT HERE:


                                                                                               G-19
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  Q5. Were you or were you not able to answer all of the questions?
          ☒ Yes, I was able to answer all of the questions
          ☐ No, I was not able to answer all of the questions
          ☐ Unsure

  [IF “NO,” PROBE FOR DIFFICULTIES. FOR EACH QUESTION THAT THEY COULDN’T
  ANSWER, ASK OPEN ENDED QUESTIONS: Why was the question difficult to provide an
  answer? Would you have preferred a different way to ask the question or give the instruction?
  Would you please give an example? ASK "Anything else?" UNTIL THE RESPONDENT
  SAYS, "Nothing else."]

         ENTER TEXT HERE:

  Q6. In doing the choice exercises, did you or did you not understand that you were asked to
     imagine that you were deciding at which university to enroll as an undergraduate?
          ☒ Yes, I understood
          ☐ No, I did not understand
          ☐ Unsure

  [READ] Please think back to the part of the survey where you were asked to choose your most
  preferred university …

  Q7. Did you or did you not understand that the universities you were asked to choose among
     only varied on the features described and that all the other features of the university choices
     were the same for all the universities presented?
           ☒ Yes, I understood
           ☐ No, I did not understand
           ☐ Unsure

  Q8. Did you or did you not look at all or almost all of the features in making your choices?
           ☒ Yes, I looked at all or almost all of the features in making my choices
           ☐ No, I did not look at all or almost all of the features in making my choices
           ☐ Unsure

  Q9. In making your choices, did you or did you not consider some features to be more important
  than others?
           ☒ Yes, I considered some features to be more important than others
           ☐ No, I did not consider some features to be more important than others
           ☐ Unsure




                                                                                                 G-20
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                                   Exhibit H: Response Statistics
  Non-Student List:
                  (A) Invitations sent                              92,272
                  (B) Completed surveys                             1,047
                  (C) Disqualified                                  10,229
                      Terminates                                    9,991
                      Failed Gender and/or Age Validation            238
                  (D) Incomplete/Breakoffs                           649
                      Screener                                       557
                      Conjoint Introduction                          50
                      Conjoint Exercise                              42
                  (E) Total Responding                              12,159
                  Qualification Rate = (E-C)/(E)                    15.9%
                  Completion Rate = (B)/(B+D)                       61.7%
                  Conjoint Completion Rate = (B)/(B+D:              91.9%
                  Conjoint Introduction + D: Conjoint Exercise)
                  Response Rate = (E)/(A)                           13.2%


  Student List:
                  (A) Invitations sent                              15,000
                  (B) Completed surveys                              17
                  (C) Disqualified                                   10
                  (D) Incomplete/Breakoffs                            3
                      Screener                                        1
                      Conjoint Introduction                           1
                      Conjoint Exercise                               1
                  (E) Total Responding                               30
                  Qualification Rate = (E-C)/(E)                    66.7%
                  Completion Rate = (B)/(B+D)                       85.0%
                  Conjoint Completion Rate = (B)/(B+D:              89.5%
                  Conjoint Introduction + D: Conjoint Exercise)
                  Response Rate = (E)/(A)                           0.2%



                                                                             H-1
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                                             Exhibit I: Average Partworths

                                                                                                                       Average
                                                                                                                      Partworth
                                        Survey Attribute/Level                                                          Values
                                                                                                                    (Zero Centered
                                                                                                                        Diffs) 1
University
                                                                   Stony Brook University - SUNY                         -32.82
                                                                            University of Pittsburgh                       9.83
                                                                    North Carolina State University                        7.52
                                                                             University of Delaware                        2.10
                                                              University of Maryland - College Park                       13.36

Undergraduate Teaching Ranking
                                              Undergraduate teaching is not in the top 10 among                          -29.24
                                                                  public universities in the U.S.
                                             Ranked in the top 6-10 best undergraduate teaching                            7.33
                                                           among public universities in the U.S.
                                               Ranked top 5 best undergraduate teaching among                             21.91
                                                                  public universities in the U.S.

Student-Faculty Ratio
                                                                              19:1 student-faculty ratio                 -16.79
                                                                            17 to 1 student-faculty ratio                 -2.30
                                                                            15 to 1 student-faculty ratio                  5.88
                                                                            12 to 1 student-faculty ratio                 13.21

4-Year Graduation Rate
                                                                                    57% Graduation Rate                  -28.35
                                                                                    61% Graduation Rate                  -13.96
                                                                                    65% Graduation Rate                   -0.81
                                                                                    69% Graduation Rate                   12.24
                                                                                    73% Graduation Rate                   30.89

Ethnic Diversity Index
                                                         The Ethnic Diversity Index is a .4 out of 1                     -10.94
                                                         The Ethnic Diversity Index is a .5 out of 1                      -2.55
                                                         The Ethnic Diversity Index is a .6 out of 1                       4.97
                                                         The Ethnic Diversity Index is a .7 out of 1                       8.52




   1The zero centered difference figures shown were calculated using the Sawtooth Software simulator. For details on how the
   software calculates them, see https://sawtoothsoftware.com/forum/6140/is-there-a-formula-for-calculating-the-zero-centered-diffs

                                                                                                                               I-1
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Class and Campus Format
                                    Classes held online; no access to campus or facilities   -35.49
                                Classes held online; have access to campus and facilities      8.85
                       Classes are offered in person; have access to campus and facilities    26.64

Tuition per Semester
                                                                                  $3,250      102.89
                                                                                  $6,750       65.19
                                                                                 $10,250        0.54
                                                                                 $13,750      -53.74
                                                                                 $17,250     -114.89

                                                                                    None     -32.87




                                                                                                 I-2
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                               Exhibit J: Model Fit and Holdout Diagnostics

  In order to establish the appropriateness of using the partworths to forecast changes in market
  value, I tested the fit and predictive ability of the conjoint analysis estimates by determining the
  holdout performance, which measures how well the partworth estimates predict the actual
  choices made by survey respondents when looking at a subset of the choice sets not used in the
  estimation.
  In very simple terms, I ask the model, “Given the preferences obtained from the partworths
  estimated from just 11 choice sets, how well can you predict the university choice in the 12th?”
  To get a valid indicator of holdout performance, I used the HB regression excluding one of the
  twelve choice sets for each respondent from the estimation. I repeated this process three times
  using a different choice set each time and calculated the percentage of choices that could be
  predicted correctly with the HB estimates.

  Key to Model Types:

  Price Constrained: Main-effects model with price partworths constrained so that partworths for
  prices monotonically decrease as price increases. This was the model I selected to use as the
  basis for my reduction in market value calculations.

  Unconstrained: Standard main-effects model. No interactions.

  Interactions: Model with attributes that interact. Typically models with interactions fit better in
  the calibration sample (which is natural, since the interactions give the model additional
  explanatory variables). However, the interactions tend not to help models’ ability to predict
  choices in the holdout sample. Further, upon running the Sawtooth Software CBC/HB Model
  Explorer1, we found there were no interactions between our attributes that merited inclusion in
  the model.

  No Interactions: Standard main-effects model.

  Holdout Diagnostics: Conducted using designs employing 11 choice sets in the calibration and
  leaving out one question for holdout prediction.2




  1
    Orme, Bryan K., and Walter Williams (2016). What are the Optimal HB Priors Settings for CBC and MaxDiff
  Studies?, Orem, Utah: Sawtooth Software, Inc.
  2
    A purely random approach would predict the choice correctly only 33.3 percent of the time (one time out of three).
  It is my opinion that the HB estimates are appropriate for making predictions with respect to alternative scenarios.

                                                                                                                   J-1
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                                      Price Constrained,    Price Unconstrained,
                                       No Interactions         No Interactions
        Holdout = Choice Task 4
             Hit Rate (Fit):               0.9529                 0.9615
          Hit Rate (Holdout):              0.6592                 0.6640

        Holdout = Choice Task 8
             Hit Rate (Fit):               0.9519                 0.9618
          Hit Rate (Holdout):              0.6559                 0.6600

       Holdout = Choice Task 12
            Hit Rate (Fit):                0.9552                 0.9648
          Hit Rate (Holdout):              0.6459                 0.6529

         Average Hit Rate (Fit)            0.9533                 0.9627
       Average Hit Rate (Holdout)          0.6516                 0.6590




                                                                                   J-2
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                                     Exhibit K: Reduction in Market Value

  Please refer to paragraphs 55-60 of my report for more details on the reduction in market value
  analysis.

  For the University of Delaware options in this simulation, I held all other features (except the
  Class and Campus Format and Tuition per Semester) constant at specific levels; the exact levels I
  chose for these other features did not affect my calculations. The tuition of each University in
  the simulator was initially set at $3,250. In the simulated market, I found the higher tuition of
  the University without the Closure of the University Campus such that half of the market chose
  the first University and half of the market chose the second University with the Closure of the
  University Campus. The reduction in market value for the Universities equals the difference
  between the two tuition prices that compensates for the University with the Closure of the
  University Campus. This process was then repeated at the other tuition levels to get one measure
  of reduction in market value, and then lowering the tuition of the University to get another.1,2

  I conducted the analysis above for the full sample based on the entire sample of those who had
  applied to, been accepted to, or attended University of Delaware or comparable public
  universities, as well as for the sub-sample of those who applied to, had been accepted to, or had
  attended the University of Delaware.




  1
    To calculate the reduction in market value, it is possible to raise the tuition of the University without the Closure of
  the University Campus, or to lower the tuition of the University with the Closure of the University Campus. I tried
  both methods, starting at all price points, and reported the reduction in market value as the smallest value found
  across all starting tuition price points. Note, however, that I cannot raise or lower the tuition price beyond the
  boundaries used in the conjoint analysis (i.e., $3,250 and $17,250). From the lower bound tuition level of $3,250, I
  can only raise the tuition of the University without the Closure of the University Campus, and from the upper bound
  tuition level of $17,250, I can only lower the tuition of the University with the Closure of the University Campus.
  The maximum reduction in market value that I can measure is, therefore, $17,2500 - $3,250 = $14,000.
  2
    I chose, among the tuition differences obtained at the different levels of starting tuition prices, the smallest (which
  is the most conservative) as the reduction in market value for the University with the Closure of the University
  Campus. The most conservative percent reduction in market value is calculated by taking the smallest dollar value
  for the reduction in market value and dividing it by the largest tuition price in the survey. Note that the results
  obtained through this method, where piecewise linear partworths are used, give a smaller reduction in value than I
  would have obtained using linear price partworths.

                                                                                                                       K-1
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  Model Used:

  Price Constrained: Main-effects model with price partworths constrained so that partworths for
  prices monotonically decrease as price increases.

  Simulation Decision Rule Used:

  Randomized First Choice: This model adds a degree of random error to the partworths and then
  simulates a respondent’s product choice over a large number of trials (with a different random
  error term each time). University share is a function of the distribution of university choices
  over these trials. Randomized First Choice simulation is considered to be superior to First
  Choice simulation in terms of predicting holdout choices.3

  Reduction in Market Value Calculations: I specified hypothetical University of Delaware
  options that varied only by whether they had the Closure of the University Campus (as
  represented internally in the conjoint by the label “Class and Campus Format”). Other features
  were held constant at specific baseline levels, and the analysis was conducted separately for each
  Tuition per Semester level. The choice of baseline levels for attributes, other than the Class and
  Campus Format attribute and Tuition per Semester, have no effect on the simulation since they
  are held constant across the two Universities.4 The values below represent the reductions in
  market value of the University of Delaware options resulting from the Closure of the University
  Campus.




  3
   Comparing Hierarchical Bayes Draws and Randomized First Choice for Conjoint Simulations, Sawtooth Software
  Research Paper Series, 2000.
  4
      See Exhibit O (CBC HB Settings) for the baseline levels.

                                                                                                         K-2
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                                       Full Sample (N=994)
         University of Delaware and Competitor Universities (based on the entire sample of
      respondents who had applied to, been accepted to, or attended University of Delaware or
                                  comparable public universities)

        Lowering the Tuition per Semester of the University of Delaware with the Closure of the
                                         University Campus
                       “Classes held online; no access to campus or facilities”

    “Classes held online; no
      access to campus or
           facilities”                                                     $10,250          $13,750          $17,250
                                        $3,250 per       $6,750 per
  (Value compared to                                                         per              per              per
                                         semester         semester
  “Classes are offered in                                                  semester         semester         semester
  person; have access to
  campus and facilities”)

  Price Constrained Model
       Randomized First Choice
                                              -           >$3,5005         $2,625.53       $3,199.22        $2,862.34
                   Simulation


        Raising the Tuition per Semester of the University of Delaware without the Closure of the
                                            University Campus
                          “Classes held online; no access to campus or facilities”

    “Classes held online; no
      access to campus or
           facilities”                                                     $10,250          $13,750          $17,250
                                        $3,250 per       $6,750 per
  (Value compared to                                                         per              per              per
                                         semester         semester
  “Classes are offered in                                                  semester         semester         semester
  person; have access to
  campus and facilities”)
  Price Constrained Model
       Randomized First Choice
                                         $4,260.07        $2,614.33        $3,194.95       $2,866.39              -
                   Simulation




  5
   A greater than sign (>) indicates that there is insufficient range in the prices used to compensate for the change in
  utility. For example, when the University of Delaware with the Closure of the University Campus is $6,750 per
  semester in the simulation model, the range of Tuition per Semester cannot decrease below $3,250. So, the Tuition
  per Semester cannot be lowered enough in the simulation to compensate for the presence of the Closure of the
  University Campus. In such cases, I show the maximum amount the price could be raised or lowered along with a
  “>” sign to show that the actual reduction in market value would be a greater number than the value shown.

                                                                                                                      K-3
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                          University of Delaware Subsample (N=187)
     University of Delaware (based on the sample of respondents who applied to, had been
                    accepted to, or had attended the University of Delaware)

      Lowering the Tuition per Semester of the University of Delaware with the Closure of the
                                       University Campus
                     “Classes held online; no access to campus or facilities”

    “Classes held online; no
      access to campus or
           facilities”                                      $10,250       $13,750       $17,250
                                $3,250 per    $6,750 per
  (Value compared to                                          per           per           per
                                 semester      semester
  “Classes are offered in                                   semester      semester      semester
  person; have access to
  campus and facilities”)

  Price Constrained Model
     Randomized First Choice
                                     -         >$3,500      $3,123.00    $3,691.00     $3,321.00
                 Simulation


     Raising the Tuition per Semester of the University of Delaware without the Closure of the
                                         University Campus
                       “Classes held online; no access to campus or facilities”

    “Classes held online; no
      access to campus or
           facilities”                                      $10,250       $13,750      $17,250
                                $3,250 per    $6,750 per
  (Value compared to                                          per           per          per
                                 semester      semester
  “Classes are offered in                                   semester      semester     semester
  person; have access to
  campus and facilities”)
  Price Constrained Model
     Randomized First Choice
                                 $4,642.00    $3,125.00     $3,705.00    $3,315.00         -
                 Simulation




                                                                                                K-4
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                                 Exhibit L: Data Glossary


Variable       Description                                         Code
AMSID          Respondent ID
                                                                   1 = Desktop computer
                                                                   2 = Laptop computer
               What type of electronic device are you using to     3 = Tablet computer
QS1
               complete this survey?                               4 = Smartphone
                                                                   5 = Other mobile or
                                                                   electronic device
                                                                   1 = Male
QS2            Are you…?
                                                                   2 = Female
                                                                   1 = Under 16
                                                                   2 = 16 - 29
               Into which of the following categories does your
QS3                                                                3 = 30 - 40
               age fall?
                                                                   4 = 41 - 54
                                                                   5 = 55+
QS4            In which state do you live?
                                                                   1 = A company that
               Do you or does any member of your household
QS5_1                                                              manufactures or sells
               work for any of the following types of companies?
                                                                   washing machines
                                                                   1 = A company that
               Do you or does any member of your household
QS5_2                                                              manufactures or sells motor
               work for any of the following types of companies?
                                                                   vehicles
                                                                   1 = Administration or staff
               Do you or does any member of your household
QS5_3                                                              at a hospital or health care
               work for any of the following types of companies?
                                                                   facility
                                                                   1 = Administration or
               Do you or does any member of your household
QS5_4                                                              faculty at a college or
               work for any of the following types of companies?
                                                                   university
               Do you or does any member of your household         1 = A marketing or market
QS5_5
               work for any of the following types of companies?   research firm
               Do you or does any member of your household         1 = A public relations or
QS5_6
               work for any of the following types of companies?   advertising agency
               Do you or does any member of your household
QS5_7                                                              1 = None of the above
               work for any of the following types of companies?




                                                                                           L-1
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                                                                      1 = Never
                                                                      2 = Currently applying
                                                                      3 = Within the last year
                                                                      4 = 1 to less than 3 years
                                                                      ago
                                                                      5 = 3 to less than 5 years
               When, if at all, did you most recently apply to a 4-
                                                                      ago
QS6            year college or university in the United States for
                                                                      6 = 5 to less than 10 years
               your undergraduate education?
                                                                      ago
                                                                      7 = 10 to less than 15 years
                                                                      ago
                                                                      8 = 15 to less than 20 years
                                                                      ago
                                                                      9 = More than 20 years ago
               Below is a list of colleges and universities (in
               alphabetical order) in the United States.

               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_1                                                                 1 = Auburn University
               applied, were accepted, and attended the school for
               your undergraduate education.

               If you did not apply to the school for your
               undergraduate education, please select N/A
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_2                                                                 1 = George Mason University
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_3                                                                 1 = Hayle Pierce University
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_4                                                                 1 = Michigan State University
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = North Carolina State
QS7_5
               applied, were accepted, and attended the school for    University
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_6                                                                 1 = Rutgers University
               applied, were accepted, and attended the school for
               your undergraduate education.



                                                                                               L-2
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               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = State University of New
QS7_7
               applied, were accepted, and attended the school for    York at Albany
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = State University of New
QS7_8
               applied, were accepted, and attended the school for    York at Binghamton
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = Stony Brook University –
QS7_9
               applied, were accepted, and attended the school for    SUNY
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University at Buffalo –
QS7_10
               applied, were accepted, and attended the school for    SUNY
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of California –
QS7_11
               applied, were accepted, and attended the school for    Merced
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of California –
QS7_12
               applied, were accepted, and attended the school for    Riverside
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of Colorado
QS7_13
               applied, were accepted, and attended the school for    Boulder
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_14                                                                1 = University of Connecticut
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_15                                                                1 = University of Delaware
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_16                                                                1 = University of Iowa
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of Maryland
QS7_17
               applied, were accepted, and attended the school for    College Park
               your undergraduate education.



                                                                                               L-3
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               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of
QS7_18
               applied, were accepted, and attended the school for    Massachusetts Amherst
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or    1 = University of North
QS7_19
               applied, were accepted, and attended the school for    Carolina at Chapel Hill
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_20                                                                1 = University of Oregon
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_21                                                                1 = University of Pittsburgh
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_22                                                                1 = University of Rhode Island
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_23                                                                1 = University of Utah
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_24                                                                1 = University of Virginia
               applied, were accepted, and attended the school for
               your undergraduate education.
               For each, please indicate whether you applied to the
               school, applied and were accepted to the school, or
QS7_25                                                                1 = Virginia Tech
               applied, were accepted, and attended the school for
               your undergraduate education.




                                                                                                L-4
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                                                                      1 = Alabama
                                                                      2 = Alaska
                                                                      3 = Arizona
                                                                      4 = Arkansas
                                                                      5 = California
                                                                      6 = Colorado
                                                                      7 = Connecticut
                                                                      8 = Delaware
                                                                      9 = Florida
                                                                      10 = Georgia
                                                                      11 = Hawaii
                                                                      12 = Idaho
                                                                      13 = Illinois
                                                                      14 = Indiana
                                                                      15 = Iowa
                                                                      16 = Kansas
                                                                      17 = Kentucky
                                                                      18 = Louisiana
                                                                      19 = Maine
                                                                      20 = Maryland
                                                                      21 = Massachusetts
                                                                      22 = Michigan
               Thinking back to when you most recently applied
                                                                      23 = Minnesota
QS8            for your undergraduate education, in which state did
                                                                      24 = Mississippi
               you reside at the time?
                                                                      25 = Missouri
                                                                      26 = Montana
                                                                      27 = Nebraska
                                                                      28 = Nevada
                                                                      29 = New Hampshire
                                                                      30 = New Jersey
                                                                      31 = New Mexico
                                                                      32 = New York
                                                                      33 = North Carolina
                                                                      34 = North Dakota
                                                                      35 = Ohio
                                                                      36 = Oklahoma
                                                                      37 = Oregon
                                                                      38 = Pennsylvania
                                                                      39 = Rhode Island
                                                                      40 = South Carolina
                                                                      41 = South Dakota
                                                                      42 = Tennessee
                                                                      43 = Texas
                                                                      44 = Utah
                                                                      45 = Vermont
                                                                      46 = Virginia

                                                                                            L-5
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                                                                        47 = Washington
                                                                        48 = West Virginia
                                                                        49 = Wisconsin
                                                                        50 = Wyoming
                                                                        51 = Washington D.C.
                                                                        52 = Outside the US
                                                                        1= Strongly agree
                                                                        2 = Agree
               For quality control purposes, please select the
                                                                        3 = Neither agree nor
               “Other” option below and then type the word
QS9                                                                     disagree
               [‘quality’] [‘check’] [‘survey’] [‘question’] into the
                                                                        4 = Disagree
               space provided.
                                                                        5 = Strongly disagree
                                                                        6 = Other
QS9Word        Correct Open-End response for QS9
QS9_6_SP       Open-End response for Qs9
                                                                        1 = I understand and agree
                                                                        to the above instructions
               You have qualified to take this survey. Before
QS10                                                                    2= I do not understand or do
               continuing, please carefully read these instructions:
                                                                        not agree to the above
                                                                        instructions
StartTime      Date and time respondent began survey
EndTime        Date and time respondent finished survey




                                                                                             L-6
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                                          Exhibit M: Screener Data Listing

AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1771534109        2         1         4   CO            0           0           0           0           0           0           1         7
1771558898        2         1         2   IA            0           0           0           0           0           0           1         5
1771559180        2         1         3   FL            0           0           0           0           0           0           1         8
1771559211        3         2         4   NJ            0           0           0           0           0           0           1         8
1771559269        2         1         2   IL            0           0           0           0           0           0           1         2
1771559284        2         1         3   KY            0           0           0           0           0           0           1         8
1771583340        2         2         3   NY            0           0           0           0           0           0           1         6
1771583400        2         2         4   TX            0           0           0           0           0           0           1         2
1771605677        2         2         3   VA            0           0           0           0           0           0           1         7
1771605717        3         2         2   CA            0           0           0           0           0           0           1         6
1771627895        2         1         2   CO            0           0           0           0           0           0           1         4
1771627952        2         2         2   FL            0           0           0           0           0           0           1         5
1771648704        3         2         4   NY            0           0           0           0           0           0           1         6
1771668331        2         2         3   AZ            0           0           0           0           0           0           1         5
1771668887        2         1         5   MD            0           0           0           0           0           0           1         8
1771669044        2         2         2   PA            0           0           0           0           0           0           1         7
1771669142        2         2         4   PA            0           0           0           0           0           0           1         4
1771669109        2         2         2   CA            0           0           0           0           0           0           1         4
1772611941        1         2         3   NY            0           0           0           0           0           0           1         8
1772695901        1         1         4   FL            0           1           1           0           0           0           0         8
1772820460        4         1         4   CA            0           0           0           0           0           0           1         2
1772831637        4         2         4   WV            0           0           0           0           0           0           1         8
1772877780        4         2         2   CA            0           0           0           0           0           0           1         6
1772904580        4         1         2   OR            0           0           0           0           0           0           1         7
1772904853        4         2         2   IL            0           0           0           0           0           0           1         4
1772916960        4         2         2   PA            0           0           0           0           0           0           1         7
1773025206        4         1         3   NC            0           0           0           0           0           0           1         7
1773045609        4         1         5   OH            0           0           0           0           0           0           1         4
1773045615        4         2         2   SC            0           0           0           0           0           0           1         6
1773066137        4         1         4   MI            0           0           0           0           0           0           1         7
1773066156        4         2         4   IL            0           0           0           0           0           0           1         7
1773087431        4         2         2   NY            0           0           0           0           0           0           1         6
1773087485        4         1         4   KY            0           0           0           0           0           0           1         8


                                                                                                                                          M-1
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                                            Exhibit M: Screener Data Listing

AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1771534109          4           4           4           4           4           4           4           4           4            4            4            4
1771558898          4           4           4           2           2           4           4           4           4            2            2            4
1771559180          4           4           4           4           4           4           4           4           4            4            4            4
1771559211          4           4           4           4           4           1           4           4           4            3            3            3
1771559269          4           4           4           1           4           4           1           1           4            4            4            4
1771559284          4           4           4           4           4           4           4           4           4            4            4            4
1771583340          4           4           4           4           4           4           2           4           4            1            4            4
1771583400          4           4           4           4           4           4           4           4           4            4            4            4
1771605677          4           2           4           4           4           4           4           4           4            4            4            4
1771605717          4           2           4           2           4           2           4           4           4            4            4            4
1771627895          2           2           4           1           2           1           1           4           2            1            2            4
1771627952          1           4           4           2           2           2           2           2           2            2            4            4
1771648704          4           4           4           4           4           4           4           4           4            2            4            4
1771668331          4           4           4           4           4           4           4           4           4            4            4            4
1771668887          4           4           4           4           4           4           4           4           4            4            4            4
1771669044          4           1           4           4           4           4           4           4           4            4            4            4
1771669142          4           4           4           4           4           4           1           4           4            4            2            4
1771669109          4           4           4           4           4           2           4           4           2            2            4            4
1772611941          4           4           4           4           4           4           4           3           2            4            4            4
1772695901          4           4           4           1           1           4           1           1           4            1            4            4
1772820460          1           1           4           1           1           4           4           4           4            4            1            1
1772831637          4           4           4           4           4           4           4           4           4            4            4            4
1772877780          4           4           4           4           4           4           4           4           4            4            2            2
1772904580          4           4           4           4           4           4           4           4           4            4            4            4
1772904853          4           4           4           1           4           4           4           4           4            4            4            4
1772916960          4           4           4           4           4           4           4           4           4            4            4            4
1773025206          4           4           4           2           2           4           4           4           4            4            1            2
1773045609          4           4           4           1           2           1           4           4           4            1            4            1
1773045615          4           4           4           4           4           4           4           4           4            4            4            4
1773066137          4           4           4           1           4           4           4           4           4            4            4            4
1773066156          4           4           4           3           4           4           4           4           4            4            4            4
1773087431          4           4           4           4           4           4           2           3           4            2            4            4
1773087485          4           4           4           4           4           4           4           4           4            4            2            4


                                                                                                                                                           M-2
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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1771534109       3      4      4      4      4      4      4      4      4      4      4       4
1771558898       4      4      4      3      4      2      4      2      4      4      4       4
1771559180       4      4      4      4      4      4      4      4      3      4      4       4
1771559211       4      4      4      4      4      4      4      4      4      4      4       4
1771559269       4      4      4      4      4      4      4      4      4      4      4       4
1771559284       4      4      4      4      4      4      4      4      4      4      4       2
1771583340       4      4      4      4      4      4      4      4      4      4      4       4
1771583400       4      4      4      4      4      4      4      4      4      4      4       3
1771605677       4      4      4      4      2      4      2      4      4      4      4       3
1771605717       4      4      4      4      4      4      2      2      4      4      4       4
1771627895       3      2      1      4      2      1      2      4      2      1      2       4
1771627952       4      2      4      4      4      4      4      4      4      4      4       4
1771648704       4      4      4      4      4      4      4      4      4      4      4       4
1771668331       4      4      4      4      4      4      4      4      2      4      4       4
1771668887       4      4      4      4      1      4      4      4      4      4      4       4
1771669044       4      4      4      4      4      4      4      4      4      4      4       4
1771669142       4      4      4      4      2      2      4      4      3      4      4       2
1771669109       4      1      4      4      4      1      4      4      4      4      4       4
1772611941       4      4      4      4      4      4      4      4      4      4      4       4
1772695901       4      1      1      4      4      1      4      4      4      4      4       4
1772820460       4      1      4      1      4      4      4      4      4      4      4       4
1772831637       4      4      4      4      4      4      4      4      1      4      4       1
1772877780       4      4      4      4      4      4      4      4      4      4      4       4
1772904580       4      4      4      4      4      4      4      2      4      4      4       4
1772904853       4      4      4      1      4      4      4      4      4      4      4       4
1772916960       4      4      4      4      4      4      4      4      3      4      4       4
1773025206       4      4      4      4      4      4      2      4      4      4      4       4
1773045609       1      2      2      4      4      4      4      4      4      4      4       4
1773045615       4      4      4      4      4      4      1      4      4      4      4       4
1773066137       4      4      4      4      4      4      4      4      4      4      4       4
1773066156       4      4      4      4      4      4      4      4      4      4      4       4
1773087431       4      2      4      4      4      4      1      4      4      4      4       4
1773087485       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1771534109       4       6         6   quality    quality           1    6/16/2022 17:05:00    6/16/2022 17:22:00
1771558898       4      15         6   survey     survey            1    6/16/2022 17:34:00    6/16/2022 17:42:00
1771559180       4      48         6   question   question          1    6/16/2022 17:35:00    6/16/2022 17:54:00
1771559211       4      30         6   check      check             1    6/16/2022 17:35:00    6/16/2022 17:42:00
1771559269       4      13         6   check      check             1    6/16/2022 17:35:00    6/16/2022 17:45:00
1771559284       4      17         6   question   question          1    6/16/2022 17:35:00    6/16/2022 17:42:00
1771583340       4      32         6   check      check             1    6/16/2022 18:05:00    6/16/2022 18:26:00
1771583400       4      43         6   survey     survey            1    6/16/2022 18:05:00    6/16/2022 18:17:00
1771605677       2      46         6   survey     survey            1    6/16/2022 18:36:00    6/16/2022 18:52:00
1771605717       4       5         6   quality    quality           1    6/16/2022 18:36:00    6/16/2022 18:54:00
1771627895       1       6         6   quality    quality           1    6/16/2022 19:07:00    6/16/2022 19:15:00
1771627952       4      32         6   question   question          1    6/16/2022 19:07:00    6/16/2022 20:02:00
1771648704       4      42         6   check      check             1    6/16/2022 19:38:00    6/16/2022 19:51:00
1771668331       4       3         6   quality    quality           1    6/16/2022 20:09:00    6/16/2022 20:54:00
1771668887       4      20         6   survey     survey            1    6/16/2022 20:10:00    6/16/2022 20:21:00
1771669044       4      38         6   question   question          1    6/16/2022 20:10:00    6/16/2022 20:20:00
1771669142       4      38         6   check      check             1    6/16/2022 20:10:00    6/16/2022 20:23:00
1771669109       2       5         6   survey     survey            1    6/16/2022 20:10:00    6/16/2022 20:16:00
1772611941       4      32         6   question   question          1    6/17/2022 18:26:00    6/17/2022 18:35:00
1772695901       4       9         6   quality    Quality           1    6/17/2022 20:30:00    6/17/2022 20:47:00
1772820460       4       5         6   survey     Survey            1     6/18/2022 0:39:00     6/18/2022 0:46:00
1772831637       1      48         6   question   question          1     6/18/2022 1:09:00     6/18/2022 1:21:00
1772877780       4       5         6   survey     survey            1     6/18/2022 3:13:00     6/18/2022 3:23:00
1772904580       4      52         6   check      Check             1     6/18/2022 4:15:00     6/18/2022 4:22:00
1772904853       4      13         6   quality    Quality           1     6/18/2022 4:16:00     6/18/2022 4:22:00
1772916960       4      38         6   check      check             1     6/18/2022 4:46:00     6/18/2022 5:11:00
1773025206       4       5         6   quality    Quality           1     6/18/2022 8:23:00     6/18/2022 8:30:00
1773045609       4      35         6   survey     survey            1     6/18/2022 8:54:00     6/18/2022 9:06:00
1773045615       4      33         6   survey     survey            1     6/18/2022 8:54:00     6/18/2022 9:06:00
1773066137       4      22         6   check      Check             1     6/18/2022 9:25:00     6/18/2022 9:39:00
1773066156       4      13         6   quality    quality           1     6/18/2022 9:25:00     6/18/2022 9:35:00
1773087431       4      32         6   survey     survey            1     6/18/2022 9:56:00    6/18/2022 10:04:00
1773087485       4      17         6   question   Question          1     6/18/2022 9:56:00    6/18/2022 10:21:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1773087662        4         2         2   CO            0           0           0           0           0           0           1         3
1773087635        4         2         2   CA            0           0           0           0           0           0           1         2
1773109824        4         2         2   KY            0           0           0           0           0           0           1         3
1773132524        2         2         2   NC            0           0           0           0           0           0           1         4
1773132751        4         2         3   GA            0           0           0           0           0           0           1         3
1773155081        3         2         3   IN            0           0           0           0           0           0           1         7
1773155113        4         1         4   NH            0           0           0           0           0           0           1         8
1773177158        4         2         2   CO            0           0           0           0           0           0           1         6
1773198248        4         2         2   NY            0           0           1           0           0           0           0         4
1773219082        4         1         3   MD            0           0           0           0           0           0           1         7
1773219234        4         1         4   OH            0           0           0           0           0           0           1         6
1773219257        4         2         3   ID            0           0           0           0           0           0           1         8
1773241173        4         2         3   GA            0           0           0           0           0           0           1         7
1773263705        1         1         3   SC            0           0           0           0           0           0           1         5
1773263614        4         1         4   SD            0           0           0           0           0           0           1         7
1773263764        4         2         3   PA            0           0           0           0           0           0           1         7
1773284157        2         2         2   FL            0           0           0           0           0           0           1         4
1773284316        4         2         2   GA            0           0           0           0           0           0           1         5
1773284366        4         1         3   CA            0           0           0           0           0           0           1         4
1773305599        4         2         3   HI            0           0           0           0           0           0           1         8
1773305666        4         2         4   NY            0           0           0           0           0           0           1         8
1773305592        4         1         4   MD            0           0           0           0           0           0           1         8
9AeYIO7d          4         2         2   DE            0           0           0           0           0           0           1         5
1773344346        4         2         4   NC            0           0           0           0           0           0           1         3
1773344369        4         2         3   GA            0           0           0           0           0           0           1         8
1773344449        4         1         2   OR            0           0           0           0           0           0           1         2
1773363543        1         2         3   CA            0           0           0           0           0           0           1         8
1773363599        4         2         3   GA            0           0           0           0           0           0           1         8
1773363699        4         2         3   MI            0           0           0           0           0           0           1         4
1773382195        4         2         4   NY            0           0           0           0           0           0           1         4
1773382217        2         1         2   OH            0           0           0           0           0           0           1         4
1773382363        4         2         3   GA            0           0           0           0           0           0           1         8
1773399872        2         1         2   AZ            0           0           0           0           0           0           1         5


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1773087662          4           4           4           4           4           4           4           4           4            4            4            4
1773087635          4           4           4           1           1           4           4           4           1            4            1            1
1773109824          4           4           4           4           4           4           4           4           4            4            4            4
1773132524          4           4           4           4           1           1           4           4           4            4            4            4
1773132751          1           4           4           4           4           4           4           4           4            4            4            4
1773155081          4           4           4           4           3           1           2           2           2            4            4            4
1773155113          4           4           4           1           4           4           4           4           4            4            4            4
1773177158          4           4           4           4           4           4           4           4           2            4            4            4
1773198248          4           4           4           4           4           4           4           4           4            1            4            4
1773219082          4           4           4           4           4           2           4           4           4            4            4            4
1773219234          4           4           4           1           4           4           4           4           4            4            4            4
1773219257          4           4           4           4           4           4           4           4           4            4            4            1
1773241173          1           4           4           4           4           4           4           4           4            4            4            4
1773263705          4           4           4           4           4           4           4           4           4            4            4            4
1773263614          4           4           4           4           4           4           4           4           4            4            4            4
1773263764          4           4           4           4           4           2           4           4           4            4            4            4
1773284157          4           4           4           4           4           4           4           4           4            4            4            4
1773284316          4           4           4           4           4           4           4           4           4            4            4            4
1773284366          4           4           4           4           4           4           4           4           4            4            4            1
1773305599          4           4           4           4           4           4           4           4           4            4            4            4
1773305666          4           4           4           4           4           4           4           4           4            4            4            4
1773305592          4           1           4           4           1           1           4           4           1            1            1            1
9AeYIO7d            4           4           4           4           4           4           4           4           4            4            4            4
1773344346          4           4           4           4           1           4           4           4           4            4            4            4
1773344369          4           4           4           4           4           4           4           4           4            4            4            4
1773344449          4           4           4           4           4           4           4           1           4            4            4            4
1773363543          4           4           4           4           4           4           4           4           4            4            4            1
1773363599          4           4           4           4           4           4           4           4           4            4            2            2
1773363699          4           4           4           1           4           4           4           4           4            4            4            4
1773382195          4           4           4           4           1           4           4           3           4            4            4            4
1773382217          4           4           4           4           4           4           4           4           4            4            4            4
1773382363          4           4           4           4           4           1           4           4           4            4            4            4
1773399872          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1773087662       2      4      4      4      4      4      4      4      4      4      4       4
1773087635       4      4      4      4      4      4      4      4      4      4      1       4
1773109824       4      4      4      4      4      4      1      4      4      4      4       4
1773132524       4      4      4      4      4      4      3      4      4      4      4       1
1773132751       4      4      4      4      4      4      4      4      4      4      4       4
1773155081       4      4      4      4      4      4      4      4      4      4      4       4
1773155113       1      1      4      4      4      4      4      4      4      1      4       4
1773177158       4      4      4      4      4      4      4      4      4      4      4       4
1773198248       4      4      4      4      4      4      4      4      4      4      4       4
1773219082       4      3      4      4      4      4      4      4      4      2      4       4
1773219234       4      4      4      4      4      4      4      4      4      4      4       4
1773219257       4      4      4      4      4      4      4      4      4      4      4       4
1773241173       4      4      4      4      4      4      4      4      4      4      4       4
1773263705       4      4      4      4      4      4      4      1      2      4      4       4
1773263614       4      4      4      2      4      4      4      4      4      4      4       4
1773263764       4      4      2      4      4      4      4      4      4      4      4       3
1773284157       4      4      4      4      4      4      4      4      4      3      4       4
1773284316       4      4      4      4      4      4      4      4      4      4      3       4
1773284366       4      4      4      4      4      4      4      4      4      4      4       4
1773305599       4      4      4      4      4      4      4      1      4      4      1       4
1773305666       4      4      4      4      4      4      4      4      1      4      4       4
1773305592       4      4      2      4      2      4      4      4      4      4      4       4
9AeYIO7d         4      4      3      4      4      4      4      4      4      4      4       4
1773344346       4      4      4      4      4      4      4      4      4      4      4       4
1773344369       4      4      4      4      4      4      1      4      4      4      4       4
1773344449       1      4      4      4      4      4      4      2      4      4      4       4
1773363543       4      4      4      4      4      4      4      1      4      4      4       4
1773363599       4      4      4      4      4      4      4      4      4      4      4       4
1773363699       4      4      4      3      4      4      4      4      4      4      4       4
1773382195       4      4      4      4      4      4      4      4      4      4      4       4
1773382217       4      4      1      1      1      1      1      4      4      4      4       4
1773382363       4      4      4      4      4      4      4      4      4      4      4       4
1773399872       1      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1773087662       4       6         6   check      Check             1     6/18/2022 9:56:00    6/18/2022 10:15:00
1773087635       4       5         6   quality    Quality           1     6/18/2022 9:56:00    6/18/2022 10:05:00
1773109824       4      17         6   survey     survey            1    6/18/2022 10:27:00    6/18/2022 10:37:00
1773132524       4      33         6   quality    quality           1    6/18/2022 10:58:00    6/18/2022 11:16:00
1773132751       4      10         6   check      Check             1    6/18/2022 10:58:00    6/18/2022 11:46:00
1773155081       4      14         6   question   question          1    6/18/2022 11:29:00    6/18/2022 11:45:00
1773155113       4      29         6   check      Check             1    6/18/2022 11:29:00    6/18/2022 11:38:00
1773177158       4      43         6   question   Question          1    6/18/2022 12:01:00    6/18/2022 12:09:00
1773198248       4      32         6   quality    Quality           1    6/18/2022 12:31:00    6/18/2022 12:41:00
1773219082       4       7         6   quality    Quality           1    6/18/2022 13:02:00    6/18/2022 13:11:00
1773219234       4      35         6   question   question          1    6/18/2022 13:02:00    6/18/2022 13:12:00
1773219257       4       5         6   survey     Survey            1    6/18/2022 13:02:00    6/18/2022 13:09:00
1773241173       4      10         6   check      Check             1    6/18/2022 13:33:00    6/18/2022 13:45:00
1773263705       4      38         6   question   question          1    6/18/2022 14:04:00    6/18/2022 14:14:00
1773263614       4      15         6   survey     survey            1    6/18/2022 14:04:00    6/18/2022 14:13:00
1773263764       4      38         6   quality    Quality           1    6/18/2022 14:04:00    6/18/2022 14:11:00
1773284157       4       9         6   check      check             1    6/18/2022 14:35:00    6/18/2022 15:24:00
1773284316       4      10         6   quality    Quality           1    6/18/2022 14:35:00    6/18/2022 14:42:00
1773284366       4       5         6   question   Question          1    6/18/2022 14:35:00    6/18/2022 14:48:00
1773305599       4      11         6   survey     Survey            1    6/18/2022 15:06:00    6/18/2022 15:23:00
1773305666       4      32         6   check      Check             1    6/18/2022 15:06:00    6/18/2022 15:14:00
1773305592       4      20         6   check      Check             1    6/18/2022 15:06:00    6/18/2022 15:20:00
9AeYIO7d         4       8         6   question   question          1    6/18/2022 15:43:00    6/18/2022 15:56:00
1773344346       4      33         6   quality    quality           1    6/18/2022 16:08:00    6/18/2022 16:14:00
1773344369       4      10         6   survey     survey            1    6/18/2022 16:08:00    6/18/2022 16:16:00
1773344449       4      37         6   quality    quality           1    6/18/2022 16:08:00    6/18/2022 16:15:00
1773363543       4       5         6   question   question          1    6/18/2022 16:39:00    6/18/2022 16:50:00
1773363599       4       5         6   check      Check             1    6/18/2022 16:39:00    6/18/2022 16:46:00
1773363699       4      15         6   survey     Survey            1    6/18/2022 16:39:00    6/18/2022 16:57:00
1773382195       4      32         6   check      Check             1    6/18/2022 17:10:00    6/18/2022 17:15:00
1773382217       4      35         6   question   question          1    6/18/2022 17:10:00    6/18/2022 17:18:00
1773382363       4      32         6   quality    Quality           1    6/18/2022 17:10:00    6/18/2022 17:28:00
1773399872       4       3         6   survey     survey            1    6/18/2022 17:41:00    6/18/2022 17:56:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1773416150        4         2         3   CT            0           0           0           0           0           0           1         8
1773416204        4         1         2   MA            0           0           0           0           0           0           1         5
1773416304        4         1         3   OH            0           0           0           0           0           0           1         7
1773432025        3         2         2   GA            0           0           0           0           0           0           1         5
1773432103        2         1         2   OH            0           0           0           0           0           0           1         4
1773447468        4         2         2   MD            0           0           0           0           0           0           1         6
1773447662        4         1         3   NE            0           0           0           0           0           0           1         6
1773447666        4         2         4   NJ            0           0           0           0           0           0           1         8
1773447690        4         2         2   CA            0           0           1           0           0           0           0         4
1773462776        1         1         3   NJ            0           0           0           0           0           0           1         7
1773462813        2         1         3   FL            0           0           0           0           0           0           1         7
1773504865        4         1         3   TX            0           0           0           0           0           0           1         8
1773518559        4         2         3   NY            0           0           0           0           0           0           1         7
1773518519        4         2         2   FL            0           0           0           0           0           0           1         4
1773531277        1         1         2   NY            0           0           0           0           0           0           1         4
1773531372        4         2         3   CA            0           0           0           0           0           0           1         3
1773531369        2         2         4   WI            0           0           0           0           0           0           1         7
1773531253        4         2         2   NV            0           0           0           0           0           0           1         3
1773543873        4         1         3   HI            0           0           0           0           0           0           1         7
1773555537        3         2         3   AL            0           0           0           0           0           0           1         8
1773566193        4         2         3   CA            0           0           1           0           0           0           0         7
1773566233        2         1         3   CA            0           0           0           0           0           0           1         4
1773566242        4         2         2   NJ            0           0           0           0           0           0           1         5
c8WkbKax          3         1         2   DE            0           0           0           0           0           0           1         4
1773595304        1         1         4   GA            0           0           0           0           0           0           1         8
1773603241        2         1         3   FL            0           0           0           0           0           0           1         8
1773611952        4         1         4   CA            0           0           0           0           0           0           1         6
1773619763        1         1         4   CA            0           0           0           0           0           0           1         5
1773619852        1         1         2   NC            0           0           0           0           0           0           1         7
1773619921        4         1         4   CA            0           0           0           0           0           0           1         5
1773630552        2         1         3   CA            0           0           0           0           0           0           1         7
1773630781        2         1         4   NJ            0           0           0           0           0           0           1         8
1773641048        4         1         4   MI            0           0           0           0           0           0           1         8


                                                                                                                                          M-9
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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1773416150          4           2           4           4           4           4           4           4           4            4            4            4
1773416204          4           4           4           4           4           4           4           4           4            4            4            4
1773416304          4           4           4           4           4           4           4           4           4            4            4            4
1773432025          4           4           4           4           1           4           4           4           4            4            4            4
1773432103          4           4           4           4           4           4           4           4           4            4            4            4
1773447468          4           4           4           2           4           4           4           4           4            4            4            4
1773447662          4           4           4           4           4           4           4           4           4            4            4            4
1773447666          4           4           4           4           4           2           4           4           4            4            4            4
1773447690          4           1           4           4           4           4           4           4           4            4            2            2
1773462776          4           4           4           4           4           2           4           4           4            4            4            4
1773462813          4           4           4           4           4           4           4           4           4            4            4            4
1773504865          1           4           4           4           4           4           4           4           4            4            4            4
1773518559          4           4           4           4           4           4           4           4           4            2            4            4
1773518519          2           4           4           4           4           4           4           4           4            2            4            4
1773531277          4           4           4           4           4           4           4           4           1            4            4            4
1773531372          4           4           4           1           4           4           4           4           4            4            4            1
1773531369          4           4           4           4           4           4           4           4           4            4            4            4
1773531253          4           4           4           2           4           4           4           4           4            4            4            1
1773543873          2           4           4           1           4           4           4           4           2            4            4            4
1773555537          2           4           4           4           4           4           4           4           4            4            4            4
1773566193          4           4           4           4           4           4           4           4           4            4            4            4
1773566233          4           4           4           4           4           4           4           4           4            4            3            2
1773566242          4           4           4           4           4           3           4           4           4            4            4            4
c8WkbKax            4           4           4           4           4           4           4           4           4            4            4            4
1773595304          4           4           4           4           4           1           4           4           4            4            4            4
1773603241          4           4           4           4           1           1           4           4           4            1            1            1
1773611952          4           4           4           1           1           4           4           4           4            4            2            2
1773619763          4           4           4           4           4           4           4           4           4            4            4            4
1773619852          4           4           4           4           1           4           4           4           4            4            4            4
1773619921          4           4           4           1           3           4           4           4           4            4            4            1
1773630552          4           4           4           4           4           4           4           4           4            4            2            2
1773630781          1           3           4           2           2           4           4           1           4            1            4            4
1773641048          4           4           4           2           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1773416150       4      3      1      4      2      4      4      4      4      4      4       4
1773416204       4      2      4      4      4      2      4      4      4      4      4       4
1773416304       4      4      4      4      4      4      4      4      2      4      4       4
1773432025       4      4      4      4      4      4      4      4      4      4      4       4
1773432103       4      4      1      1      1      4      1      4      4      4      4       4
1773447468       4      4      4      4      3      4      4      4      4      4      4       4
1773447662       4      4      4      2      4      4      4      4      4      4      4       4
1773447666       4      4      4      4      4      4      4      4      4      4      4       4
1773447690       4      4      4      4      4      4      4      4      4      4      4       4
1773462776       4      4      4      4      4      4      4      4      4      4      4       4
1773462813       4      4      4      4      4      4      4      4      4      1      4       4
1773504865       4      4      4      4      4      4      4      4      4      4      4       4
1773518559       4      4      4      4      4      4      4      4      4      4      4       4
1773518519       2      4      4      3      4      4      3      4      4      4      4       4
1773531277       4      4      4      4      4      4      4      4      4      4      4       4
1773531372       4      4      4      4      4      4      4      4      4      4      4       4
1773531369       4      4      4      2      4      4      4      4      4      4      4       4
1773531253       4      4      4      4      4      4      4      2      4      4      1       4
1773543873       4      4      4      2      4      4      4      4      4      4      2       4
1773555537       4      4      4      4      4      4      4      4      4      4      4       4
1773566193       3      4      4      4      4      4      4      4      4      4      4       4
1773566233       4      4      4      4      4      4      4      4      4      4      4       4
1773566242       4      4      4      4      4      4      4      4      4      4      4       4
c8WkbKax         4      4      3      4      4      4      4      4      4      4      4       4
1773595304       4      4      4      4      4      4      4      4      4      4      4       4
1773603241       4      4      4      4      4      4      1      4      4      4      1       1
1773611952       4      4      4      4      4      4      1      2      4      4      4       4
1773619763       4      4      4      4      4      4      4      2      4      4      4       4
1773619852       4      4      4      4      4      4      1      4      4      4      4       1
1773619921       4      4      4      4      4      4      4      4      4      4      4       4
1773630552       4      4      4      4      4      4      4      4      4      4      4       4
1773630781       4      1      4      4      2      4      1      4      4      1      4       2
1773641048       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1773416150       4       7         6   question   Question          1    6/18/2022 18:12:00    6/18/2022 18:33:00
1773416204       4      21         6   survey     survey            1    6/18/2022 18:12:00    6/18/2022 18:19:00
1773416304       4      35         6   quality    quality           1    6/18/2022 18:12:00    6/18/2022 18:23:00
1773432025       4      10         6   check      Check             1    6/18/2022 18:43:00    6/18/2022 18:48:00
1773432103       4      35         6   check      check             1    6/18/2022 18:43:00    6/18/2022 18:50:00
1773447468       4      20         6   survey     survey            1    6/18/2022 19:14:00    6/18/2022 19:20:00
1773447662       4      27         6   quality    Quality           1    6/18/2022 19:14:00    6/18/2022 19:35:00
1773447666       4      30         6   question   Question          1    6/18/2022 19:14:00    6/18/2022 19:32:00
1773447690       4       5         6   quality    Quality           1    6/18/2022 19:14:00    6/18/2022 19:23:00
1773462776       4      30         6   question   question          1    6/18/2022 19:45:00    6/18/2022 20:03:00
1773462813       4       9         6   check      check             1    6/18/2022 19:45:00    6/18/2022 20:05:00
1773504865       4      43         6   survey     Survey            1    6/18/2022 21:18:00    6/18/2022 21:28:00
1773518559       4      32         6   question   question          1    6/18/2022 21:49:00    6/18/2022 22:08:00
1773518519       4       9         6   quality    Quality           1    6/18/2022 21:49:00    6/18/2022 21:57:00
1773531277       4      32         6   quality    quality           1    6/18/2022 22:20:00    6/18/2022 22:27:00
1773531372       4       5         6   survey     Survey            1    6/18/2022 22:20:00    6/18/2022 22:26:00
1773531369       4      49         6   check      check             1    6/18/2022 22:20:00    6/18/2022 22:29:00
1773531253       4      28         6   question   question          1    6/18/2022 22:20:00    6/18/2022 22:32:00
1773543873       4      11         6   check      Check             1    6/18/2022 22:51:00    6/18/2022 22:58:00
1773555537       4       1         6   check      Check             1    6/18/2022 23:22:00    6/18/2022 23:29:00
1773566193       4       5         6   quality    Quality           1    6/18/2022 23:53:00     6/19/2022 0:06:00
1773566233       4       5         6   survey     survey            1    6/18/2022 23:53:00    6/18/2022 23:59:00
1773566242       4      30         6   question   question          1    6/18/2022 23:53:00     6/19/2022 0:03:00
c8WkbKax         4       8         6   quality    quality           1     6/19/2022 0:21:00     6/19/2022 0:32:00
1773595304       4      52         6   question   question          1     6/19/2022 1:26:00     6/19/2022 2:11:00
1773603241       3       9         6   check      check             1     6/19/2022 1:57:00     6/19/2022 2:27:00
1773611952       4       5         6   survey     survey            1     6/19/2022 2:29:00     6/19/2022 2:36:00
1773619763       4       5         6   check      check             1     6/19/2022 2:59:00     6/19/2022 3:11:00
1773619852       1      33         6   quality    quality           1     6/19/2022 3:00:00     6/19/2022 3:11:00
1773619921       4       5         6   survey     Survey            1     6/19/2022 3:00:00     6/19/2022 3:28:00
1773630552       4       5         6   question   question          1     6/19/2022 3:30:00     6/19/2022 3:54:00
1773630781       2      30         6   quality    quality           1     6/19/2022 3:30:00     6/19/2022 3:38:00
1773641048       4      22         6   check      check             1     6/19/2022 4:01:00     6/19/2022 4:08:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1773660999        4         1         3   GA            0           0           0           0           0           0           1          6
1773661139        4         1         3   NY            0           0           0           0           0           0           1          8
1773670505        3         1         4   OR            0           0           0           0           0           0           1          8
1773680650        2         1         2   NJ            0           0           0           0           0           0           1          6
1773680660        2         1         3   WI            0           0           0           0           0           0           1          8
1773704279        2         1         3   FL            0           0           0           0           0           0           1          7
1773718355        2         1         3   NJ            0           0           0           0           0           0           1          7
1773718319        2         1         3   MD            0           0           0           0           0           0           1          7
1773733603        4         1         3   AR            0           0           0           0           0           0           1          2
1773733758        2         1         2   CT            0           0           0           0           0           0           1          6
1773733891        2         1         4   LA            0           0           0           0           0           0           1          2
1773769732        4         1         3   UT            0           0           0           0           0           0           1          7
1773769985        2         1         4   FL            0           0           0           0           0           0           1          8
1773770159        4         1         2   NJ            0           0           0           0           0           0           1          6
1773789163        4         1         3   OH            0           0           0           0           0           0           1          7
1773789252        4         1         3   NY            0           0           0           0           0           0           1          6
1773808585        2         1         2   WA            0           0           1           0           0           0           0          6
1773808850        1         1         3   PA            0           0           0           0           0           0           1          7
1773808935        2         1         3   FL            0           0           0           0           0           0           1          6
1773829069        2         1         3   NY            0           0           0           0           0           0           1          5
1773849720        4         1         3   MS            0           0           0           0           0           0           1          3
1773849651        4         1         4   NC            0           0           0           0           0           0           1          8
1773870025        4         1         2   GA            0           0           0           0           0           0           1          2
1773870024        4         1         3   CA            0           0           0           0           0           0           1          7
1773870038        1         1         3   KY            0           0           0           0           0           0           1          6
1773870170        4         1         3   NM            0           0           0           0           0           0           1          5
1773870192        1         1         3   MI            0           0           0           0           0           0           1          7
1773910602        4         1         3   CA            0           0           0           0           0           0           1          8
1773910837        3         1         3   UT            0           0           0           0           0           0           1          7
1773930253        1         1         3   MA            0           0           0           0           0           0           1          6
1773950158        4         1         2   OR            0           0           0           0           0           0           1          4
1773950487        3         1         3   CA            0           0           0           0           0           0           1          6
1773969463        1         1         3   CA            0           0           0           0           0           0           1          7


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1773660999          1           4           4           4           1           4           4           4           4            4            4            4
1773661139          4           4           4           4           4           4           4           4           4            2            4            4
1773670505          4           4           4           4           4           4           4           4           4            4            4            4
1773680650          4           4           4           4           4           3           4           4           4            4            4            4
1773680660          4           4           4           4           4           4           4           4           4            4            4            4
1773704279          4           4           4           4           4           4           4           4           4            4            4            2
1773718355          4           4           4           4           4           2           4           4           4            4            4            4
1773718319          4           4           4           4           4           4           4           4           4            4            4            4
1773733603          4           4           4           4           4           4           4           4           4            4            4            1
1773733758          4           4           4           4           4           4           4           1           1            1            4            4
1773733891          1           1           4           1           1           1           1           1           1            1            1            1
1773769732          4           4           4           4           4           4           4           4           4            4            4            4
1773769985          4           4           4           4           4           2           4           4           4            4            4            4
1773770159          4           4           4           4           4           1           4           4           4            4            4            4
1773789163          4           4           4           1           4           4           4           4           4            4            4            4
1773789252          4           4           4           4           4           4           4           4           3            4            4            4
1773808585          4           4           4           4           2           4           4           4           4            4            4            1
1773808850          4           4           4           4           4           4           4           4           4            4            4            4
1773808935          4           4           4           4           4           3           4           4           4            4            4            4
1773829069          4           4           4           4           4           4           4           3           4            4            4            4
1773849720          1           4           4           4           2           2           4           4           4            4            4            4
1773849651          4           4           4           4           4           4           4           4           4            4            4            4
1773870025          4           4           4           4           4           4           4           4           4            4            4            1
1773870024          4           4           4           4           4           4           4           4           4            4            2            2
1773870038          4           4           4           2           4           4           4           4           4            4            4            4
1773870170          4           4           4           1           4           4           4           4           4            4            4            4
1773870192          4           4           4           1           4           4           4           4           4            4            4            4
1773910602          4           4           4           4           4           4           4           4           4            4            4            2
1773910837          4           4           4           4           4           4           4           4           4            4            4            4
1773930253          4           4           4           4           4           4           4           4           4            4            4            4
1773950158          4           4           4           2           2           4           4           4           4            4            4            4
1773950487          4           4           4           2           4           4           4           2           4            4            2            4
1773969463          4           4           4           4           4           4           4           4           4            4            2            2


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1773660999       4      4      4      4      4      4      2      4      4      4      4       1
1773661139       4      4      4      4      4      4      4      4      4      4      4       4
1773670505       4      4      4      4      4      4      4      1      4      4      4       4
1773680650       4      4      4      4      4      4      4      4      4      4      4       4
1773680660       4      4      4      4      4      3      4      4      4      4      4       4
1773704279       4      4      4      4      4      4      4      4      4      4      4       4
1773718355       4      4      4      4      4      4      4      4      4      4      4       4
1773718319       4      4      4      4      1      4      4      4      4      4      4       4
1773733603       4      4      4      4      4      4      4      4      4      4      1       4
1773733758       4      1      4      4      4      4      4      4      4      4      4       4
1773733891       1      1      1      1      1      1      1      1      1      1      1       1
1773769732       4      4      4      4      4      4      4      4      4      4      3       4
1773769985       4      4      4      4      4      4      2      4      4      4      4       4
1773770159       4      4      4      4      4      4      4      4      4      4      4       4
1773789163       4      4      4      4      4      4      4      4      4      4      4       4
1773789252       4      4      4      4      4      4      4      4      4      4      4       4
1773808585       2      4      4      4      4      4      1      4      4      4      2       4
1773808850       4      4      4      4      4      4      4      4      3      4      4       4
1773808935       4      4      4      4      4      4      4      4      4      4      4       4
1773829069       4      4      4      4      4      4      4      4      4      4      4       4
1773849720       4      4      2      2      4      4      2      4      2      4      4       2
1773849651       4      4      4      4      4      4      1      4      4      4      4       4
1773870025       4      4      4      4      4      4      4      4      4      4      4       4
1773870024       4      4      4      4      4      4      4      4      4      4      4       4
1773870038       4      4      4      4      4      4      4      4      4      4      4       4
1773870170       4      4      4      4      4      4      4      4      4      4      4       4
1773870192       4      4      4      4      4      4      4      4      4      4      4       4
1773910602       4      4      4      4      4      4      4      4      4      4      4       4
1773910837       4      4      4      4      4      4      4      4      4      4      3       4
1773930253       4      4      4      4      4      2      4      4      4      4      4       4
1773950158       2      4      4      4      4      4      2      4      4      4      4       4
1773950487       4      4      4      4      4      4      4      4      4      4      2       4
1773969463       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1773660999       4      10         6   question   question          1     6/19/2022 5:04:00     6/19/2022 5:15:00
1773661139       4      32         6   survey     Survey            1     6/19/2022 5:04:00     6/19/2022 5:26:00
1773670505       4      37         6   quality    quality           1     6/19/2022 5:34:00     6/19/2022 5:46:00
1773680650       4      30         6   check      check             1     6/19/2022 6:05:00     6/19/2022 6:15:00
1773680660       4      21         6   quality    quality           1     6/19/2022 6:05:00     6/19/2022 6:28:00
1773704279       4       5         6   question   question          1     6/19/2022 7:07:00     6/19/2022 7:21:00
1773718355       4      30         6   survey     survey            1     6/19/2022 7:38:00     6/19/2022 7:57:00
1773718319       4      20         6   check      check             1     6/19/2022 7:38:00     6/19/2022 7:49:00
1773733603       1       4         6   question   question          1     6/19/2022 8:09:00     6/19/2022 8:18:00
1773733758       1       7         6   survey     survey            1     6/19/2022 8:09:00     6/19/2022 8:17:00
1773733891       1      18         6   check      check             1     6/19/2022 8:09:00     6/19/2022 8:15:00
1773769732       4      44         6   quality    quality           1     6/19/2022 9:11:00     6/19/2022 9:25:00
1773769985       2      10         6   quality    quality           1     6/19/2022 9:11:00     6/19/2022 9:21:00
1773770159       4      30         6   check      Check             1     6/19/2022 9:11:00     6/19/2022 9:18:00
1773789163       4      22         6   survey     survey            1     6/19/2022 9:42:00     6/19/2022 9:55:00
1773789252       4      32         6   question   Question          1     6/19/2022 9:42:00     6/19/2022 9:49:00
1773808585       4      47         6   check      check             1    6/19/2022 10:13:00    6/19/2022 10:22:00
1773808850       4      38         6   question   question          1    6/19/2022 10:13:00    6/19/2022 10:20:00
1773808935       4      30         6   quality    quality           1    6/19/2022 10:13:00    6/19/2022 10:21:00
1773829069       4      32         6   survey     survey            1    6/19/2022 10:44:00    6/19/2022 10:58:00
1773849720       1      24         6   question   Question          1    6/19/2022 11:15:00    6/19/2022 11:29:00
1773849651       4      33         6   check      Check             1    6/19/2022 11:16:00    6/19/2022 11:32:00
1773870025       4       5         6   quality    Quality           1    6/19/2022 11:46:00    6/19/2022 11:55:00
1773870024       4       5         6   check      check             1    6/19/2022 11:46:00    6/19/2022 11:54:00
1773870038       2      17         6   question   question          1    6/19/2022 11:46:00    6/19/2022 12:01:00
1773870170       4      31         6   quality    Quality           1    6/19/2022 11:46:00    6/19/2022 11:54:00
1773870192       4      22         6   survey     survey            1    6/19/2022 11:47:00    6/19/2022 12:01:00
1773910602       4       5         6   survey     survey            1    6/19/2022 12:48:00    6/19/2022 12:59:00
1773910837       4      44         6   quality    quality           1    6/19/2022 12:48:00    6/19/2022 13:04:00
1773930253       4      21         6   check      check             1    6/19/2022 13:19:00    6/19/2022 13:35:00
1773950158       4      37         6   question   Question          1    6/19/2022 13:50:00    6/19/2022 13:58:00
1773950487       4       5         6   quality    quality           1    6/19/2022 13:50:00    6/19/2022 14:00:00
1773969463       4       5         6   survey     survey            1    6/19/2022 14:21:00    6/19/2022 14:32:00


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AMSID       QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
 1773969790        2         1         2   GA            0           0           0           0           0           0           1          3
 1774040599        2         1         3   MO            0           0           0           0           0           0           1          7
 1774040984        4         1         2   GA            0           0           0           0           0           0           1          4
2wAwFsHK           2         2         2   PA            0           0           1           0           0           0           0          5
 1775673926        2         1         2   PA            0           0           0           0           0           0           1          7
 1775735555        2         1         3   OR            0           0           0           0           0           0           1          6
 1775735698        1         1         3   NJ            0           0           0           0           0           0           1          8
YJ3zWvio           2         2         2   DE            0           0           0           0           0           0           1          5
 1775887643        1         2         4   VA            0           0           0           0           0           0           1          4
 1776064278        2         2         5   FL            0           0           0           0           0           0           1          2
 1776087756        2         2         2   CA            0           0           0           0           0           0           1          3
 1776130272        2         2         3   MI            0           0           0           0           0           0           1          6
 1776130214        3         2         2   VA            0           0           0           0           0           0           1          7
 1776152198        2         1         3   CA            0           0           0           0           0           0           1          7
 1776152280        2         2         4   NJ            0           0           0           0           0           0           1          7
 1776172142        2         2         3   NC            0           0           0           0           0           0           1          7
 1776191447        2         2         3   NJ            0           0           0           0           0           0           1          7
 1776210051        4         2         3   MO            0           0           0           0           0           0           1          2
 1776226788        2         1         3   VA            0           0           0           0           0           0           1          7
 1776226595        4         2         3   UT            0           0           0           0           0           0           1          4
 1776243190        3         2         3   GA            0           0           0           0           0           0           1          6
JFPMFOdC           2         2         2   NY            0           0           0           0           0           0           1          4
 1776270891        2         1         4   CA            0           0           0           0           0           0           1          8
 1776284163        4         1         3   NJ            0           0           0           0           0           0           1          6
 1776297532        2         1         2   TX            0           0           0           0           0           0           1          5
 1776297653        4         1         4   TX            0           0           0           0           0           0           1          6
 1776309371        2         1         3   CA            0           0           0           0           0           0           1          7
 1776320362        2         1         2   CA            0           0           0           0           0           0           1          2
 1776332807        1         1         3   MA            0           0           0           0           0           0           1          8
 1776332943        2         1         4   CA            0           0           0           0           0           0           1          8
 1776346742        4         1         3   GA            0           0           0           0           0           0           1          2
 1776387795        1         1         3   VA            0           0           0           0           0           0           1          6
 1776394179        4         1         3   NC            0           0           0           0           0           0           1          2


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AMSID       QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
 1773969790          1           4           4           4           4           4           4           4           4            4            4            4
 1774040599          4           4           4           2           4           4           4           4           4            4            4            4
 1774040984          2           4           4           4           3           4           4           4           4            4            4            4
2wAwFsHK             4           4           4           4           4           4           4           4           4            4            4            4
 1775673926          4           4           4           4           1           4           4           4           4            4            4            4
 1775735555          4           4           4           4           4           4           4           4           4            4            4            1
 1775735698          4           4           4           4           4           3           4           4           4            4            4            4
YJ3zWvio             4           4           4           4           4           2           4           4           4            4            4            4
 1775887643          4           4           4           4           4           4           4           4           4            4            4            4
 1776064278          1           4           4           4           4           4           1           3           4            4            4            4
 1776087756          4           4           4           4           4           4           4           4           4            4            4            2
 1776130272          4           4           4           2           4           4           4           4           4            4            4            4
 1776130214          4           4           4           4           4           2           4           4           4            4            4            4
 1776152198          4           4           4           4           4           4           4           1           2            4            4            4
 1776152280          4           4           4           4           4           2           4           4           4            4            4            4
 1776172142          4           4           4           4           4           4           4           4           4            4            4            4
 1776191447          4           4           4           4           4           4           4           4           2            4            4            4
 1776210051          4           4           4           1           4           4           4           4           4            4            4            1
 1776226788          4           4           4           4           4           4           4           4           4            4            4            4
 1776226595          4           4           4           4           4           4           4           4           4            4            4            4
 1776243190          4           4           4           1           2           4           4           4           4            4            4            4
JFPMFOdC             4           4           4           4           4           4           4           1           4            4            4            4
 1776270891          4           4           4           4           4           4           4           4           4            4            2            4
 1776284163          4           4           4           2           2           4           4           4           4            4            2            2
 1776297532          4           4           4           4           4           4           4           4           1            4            4            4
 1776297653          4           4           4           4           4           1           1           4           4            1            4            4
 1776309371          4           4           4           4           4           4           4           4           4            4            4            2
 1776320362          4           4           4           2           4           2           4           4           4            4            3            3
 1776332807          4           4           4           4           4           4           4           4           4            4            4            4
 1776332943          4           4           4           2           1           4           4           4           4            4            4            2
 1776346742          4           4           4           4           1           1           4           4           4            4            4            4
 1776387795          4           4           4           4           4           4           4           4           4            4            4            4
 1776394179          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID       QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
 1773969790       4      4      4      4      4      4      2      4      4      4      4       4
 1774040599       4      4      4      4      4      4      4      4      4      4      4       4
 1774040984       4      4      4      4      4      4      4      4      4      4      4       4
2wAwFsHK          4      4      3      4      4      4      4      4      4      4      4       4
 1775673926       4      4      4      4      4      4      4      4      1      4      4       4
 1775735555       4      4      4      4      4      4      4      2      4      4      4       4
 1775735698       4      2      4      4      4      4      4      4      4      4      4       4
YJ3zWvio          4      4      3      4      4      4      4      4      2      4      4       4
 1775887643       4      4      4      4      4      4      4      4      4      4      4       4
 1776064278       4      4      4      4      4      4      4      4      4      4      4       4
 1776087756       4      4      4      4      4      4      4      4      4      4      4       4
 1776130272       4      4      4      4      4      4      4      4      4      4      4       4
 1776130214       4      4      4      4      4      4      4      4      4      4      4       4
 1776152198       4      4      4      4      4      4      4      2      4      4      4       4
 1776152280       4      4      4      4      4      4      4      4      4      4      4       4
 1776172142       4      4      4      4      4      4      1      4      4      4      4       4
 1776191447       2      4      4      4      4      4      4      1      4      4      4       4
 1776210051       1      4      4      4      4      4      4      4      4      4      4       4
 1776226788       4      4      4      4      4      4      4      4      4      4      4       4
 1776226595       4      4      4      4      4      4      4      4      4      4      1       4
 1776243190       1      2      4      4      4      4      4      4      4      4      4       4
JFPMFOdC          4      2      3      4      1      2      4      4      4      4      4       4
 1776270891       4      4      4      4      4      4      4      4      4      4      2       4
 1776284163       2      1      1      4      4      4      4      4      4      4      4       4
 1776297532       4      4      4      4      4      4      4      4      4      4      4       4
 1776297653       4      4      4      4      4      4      4      4      4      4      4       4
 1776309371       4      4      4      4      4      4      4      4      4      4      4       4
 1776320362       4      4      2      3      4      2      4      3      2      4      2       4
 1776332807       4      4      4      4      4      2      4      4      4      4      4       4
 1776332943       4      4      4      4      4      4      4      4      4      4      4       4
 1776346742       4      4      4      4      4      4      1      4      4      4      4       4
 1776387795       4      4      4      4      4      4      4      4      4      4      4       3
 1776394179       4      4      4      4      4      4      1      4      4      4      4       4


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AMSID       QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
 1773969790       1      10         6   question   question          1    6/19/2022 14:22:00    6/19/2022 14:27:00
 1774040599       4      14         6   survey     Survey            1    6/19/2022 16:24:00    6/19/2022 16:37:00
 1774040984       1      33         6   question   question          1    6/19/2022 16:25:00    6/19/2022 16:30:00
2wAwFsHK          4      38         6   check      check             1    6/21/2022 10:56:00    6/21/2022 11:07:00
 1775673926       4      38         6   quality    quality           1    6/21/2022 11:58:00    6/21/2022 12:13:00
 1775735555       4      37         6   check      check             1    6/21/2022 12:59:00    6/21/2022 13:13:00
 1775735698       4      30         6   question   question          1    6/21/2022 12:59:00    6/21/2022 13:08:00
YJ3zWvio          4       8         6   survey     survey            1    6/21/2022 14:16:00    6/21/2022 14:28:00
 1775887643       3      46         6   quality    quality           1    6/21/2022 15:34:00    6/21/2022 15:41:00
 1776064278       4       9         6   check      check             1    6/21/2022 18:40:00    6/21/2022 18:45:00
 1776087756       4       5         6   question   question          1    6/21/2022 19:11:00    6/21/2022 19:20:00
 1776130272       4      22         6   survey     survey            1    6/21/2022 20:13:00    6/21/2022 20:41:00
 1776130214       4      30         6   survey     survey            1    6/21/2022 20:13:00    6/21/2022 20:24:00
 1776152198       4       5         6   check      check             1    6/21/2022 20:44:00    6/21/2022 21:06:00
 1776152280       4      30         6   quality    quality           1    6/21/2022 20:44:00    6/21/2022 20:59:00
 1776172142       4      33         6   question   question          1    6/21/2022 21:15:00    6/21/2022 21:24:00
 1776191447       4      30         6   question   question          1    6/21/2022 21:46:00    6/21/2022 21:58:00
 1776210051       4       5         6   survey     survey            1    6/21/2022 22:17:00    6/21/2022 22:28:00
 1776226788       2      46         6   check      check             1    6/21/2022 22:48:00    6/21/2022 23:09:00
 1776226595       4      44         6   quality    Quality           1    6/21/2022 22:48:00    6/21/2022 23:04:00
 1776243190       4       6         6   survey     survey            1    6/21/2022 23:19:00    6/21/2022 23:24:00
JFPMFOdC          4      32         6   question   question          1     6/22/2022 0:05:00     6/22/2022 0:16:00
 1776270891       4       5         6   question   question          1     6/22/2022 0:21:00     6/22/2022 0:28:00
 1776284163       4      30         6   survey     survey            1     6/22/2022 0:52:00     6/22/2022 0:58:00
 1776297532       4      43         6   quality    quality           1     6/22/2022 1:25:00     6/22/2022 1:37:00
 1776297653       4      43         6   survey     Survey            1     6/22/2022 1:25:00     6/22/2022 1:36:00
 1776309371       4       5         6   check      check             1     6/22/2022 1:55:00     6/22/2022 2:28:00
 1776320362       4       5         6   question   question          1     6/22/2022 2:25:00     6/22/2022 2:33:00
 1776332807       4      21         6   quality    quality           1     6/22/2022 3:00:00     6/22/2022 3:08:00
 1776332943       4       5         6   survey     survey            1     6/22/2022 3:00:00     6/22/2022 3:12:00
 1776346742       4      10         6   check      check             1     6/22/2022 3:28:00     6/22/2022 3:37:00
 1776387795       1      46         6   question   question          1     6/22/2022 4:51:00     6/22/2022 5:07:00
 1776394179       4      33         6   quality    Quality           1     6/22/2022 5:06:00     6/22/2022 5:17:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1776396413        2         1         2   FL            0           0           0           0           0           0           1          2
1776410763        4         1         3   NY            0           0           0           0           0           0           1          6
1776410852        4         1         3   CA            0           0           0           0           0           0           1          8
1776426172        4         1         3   PA            0           0           0           0           0           0           1          6
1776444673        1         1         3   NJ            0           0           0           0           0           0           1          4
1776464003        4         1         2   CA            0           0           0           0           0           0           1          5
1776485659        2         1         3   MT            0           0           0           0           0           0           1          7
1776508864        2         1         3   IA            0           0           0           0           0           0           1          7
1776509236        1         1         3   CA            0           0           0           0           0           0           1          5
1776534263        2         1         3   SC            0           0           0           0           0           0           1          2
1776534191        3         1         3   PA            0           0           0           0           0           0           1          7
1776561834        1         1         2   AZ            0           0           0           0           0           0           1          4
1776562249        1         1         3   NC            0           0           0           0           0           0           1          7
1776589715        2         1         2   OH            0           0           0           0           0           0           1          6
1776621349        2         1         3   OH            0           0           0           0           0           0           1          6
1776718723        1         1         2   MD            0           0           1           0           0           0           0          3
1776781876        2         1         3   MD            0           0           0           0           0           0           1          3
1776816925        4         1         2   CA            0           0           0           0           0           0           1          4
1776852458        3         1         2   GA            0           0           0           0           0           0           1          5
1776920957        4         1         3   TX            0           0           0           0           0           0           1          8
1776950219        4         1         3   IL            0           0           0           0           0           0           1          6
1776950674        4         1         3   TX            0           0           0           0           0           0           1          6
1776983268        4         1         2   UT            0           0           0           0           0           0           1          4
1776984331        4         1         2   TX            0           0           0           0           0           0           1          4
1776984609        4         1         2   NY            0           0           0           0           0           0           1          4
1776984398        3         1         3   GA            0           0           0           0           0           0           1          6
1777014057        1         1         2   CA            0           0           0           0           0           0           1          6
1777014364        4         1         2   CA            0           0           0           0           0           0           1          5
1777014846        4         1         2   WA            0           0           0           0           0           0           1          2
1783587070        2         1         3   AL            0           0           0           0           0           0           1          2
1783643435        4         2         2   PA            0           0           0           0           0           0           1          6
1783643649        2         1         4   NJ            0           0           0           0           0           0           1          7
1783679344        4         1         3   NJ            0           0           0           0           0           0           1          6


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1776396413          4           4           4           4           4           4           4           4           4            4            4            4
1776410763          4           4           4           4           4           4           4           1           4            4            4            4
1776410852          4           1           4           4           4           4           4           4           4            4            4            1
1776426172          1           4           4           1           4           4           4           4           4            4            4            4
1776444673          4           4           4           4           4           1           1           4           4            4            4            4
1776464003          4           4           4           4           4           4           4           4           4            4            4            4
1776485659          4           3           4           3           4           4           4           3           4            4            4            4
1776508864          4           4           4           4           4           4           4           4           4            4            4            4
1776509236          4           4           4           4           4           4           4           4           4            4            2            2
1776534263          4           4           4           4           1           4           4           4           4            4            4            4
1776534191          4           4           4           4           4           4           4           4           4            4            4            4
1776561834          4           4           4           4           4           4           4           4           4            4            2            3
1776562249          4           4           4           4           2           4           4           4           4            4            4            4
1776589715          4           4           4           4           4           4           4           4           4            4            4            4
1776621349          4           4           4           4           4           2           4           4           4            4            4            4
1776718723          4           1           4           4           4           4           4           4           4            4            4            4
1776781876          4           1           4           4           4           4           4           4           4            4            4            4
1776816925          4           4           4           4           4           4           4           4           4            4            4            4
1776852458          1           4           4           2           2           4           4           4           4            4            4            4
1776920957          4           2           4           4           4           3           4           4           4            4            4            4
1776950219          4           4           4           4           4           4           4           4           4            4            4            4
1776950674          4           4           4           1           4           4           4           4           4            4            4            4
1776983268          4           4           4           4           4           4           4           4           4            4            4            4
1776984331          4           2           4           1           4           4           1           4           4            4            2            4
1776984609          4           4           4           4           4           4           1           4           4            4            4            4
1776984398          4           4           4           1           4           1           4           4           4            4            4            4
1777014057          4           4           4           4           4           4           4           4           4            4            1            1
1777014364          4           4           4           4           4           4           4           4           4            4            1            1
1777014846          4           4           4           1           4           4           4           4           4            4            1            1
1783587070          1           4           4           4           4           4           4           4           4            4            4            4
1783643435          4           4           4           1           4           4           4           4           4            1            4            4
1783643649          4           4           4           4           4           3           4           4           4            4            4            4
1783679344          4           4           4           4           4           3           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1776396413       4      4      4      4      4      4      4      4      4      4      4       1
1776410763       4      4      4      4      4      4      4      4      4      4      4       4
1776410852       4      4      4      4      4      4      4      4      4      4      1       4
1776426172       4      4      4      4      4      4      4      1      2      4      4       4
1776444673       4      4      4      4      4      4      4      4      4      4      1       4
1776464003       4      4      4      4      4      4      1      4      4      4      4       4
1776485659       4      4      4      4      4      4      4      4      4      4      4       4
1776508864       4      4      4      3      4      4      4      4      4      4      4       4
1776509236       4      4      4      4      4      4      4      4      4      4      4       4
1776534263       4      4      4      4      4      4      4      4      4      4      4       4
1776534191       4      4      4      4      4      4      4      4      2      4      4       4
1776561834       4      4      4      4      4      4      4      4      4      4      4       4
1776562249       4      4      4      4      4      4      4      4      4      4      4       4
1776589715       4      4      4      4      4      4      2      2      4      4      4       4
1776621349       4      4      4      4      4      4      4      4      2      4      4       4
1776718723       4      4      4      4      4      4      4      4      4      4      4       4
1776781876       4      4      4      4      4      4      4      4      4      4      4       4
1776816925       4      4      4      4      4      4      4      4      4      4      4       4
1776852458       1      4      4      1      1      4      1      1      1      4      2       3
1776920957       4      4      4      4      4      4      4      4      4      4      4       4
1776950219       4      4      4      4      4      4      4      3      4      4      4       4
1776950674       4      4      4      1      4      4      4      4      4      4      4       4
1776983268       4      4      4      4      3      4      4      4      4      4      4       4
1776984331       4      4      4      4      4      4      4      4      1      4      4       1
1776984609       4      1      4      4      4      4      4      4      4      4      4       4
1776984398       4      4      4      4      4      4      4      4      4      4      4       4
1777014057       4      4      4      4      4      4      4      4      4      4      4       4
1777014364       4      4      4      4      4      4      4      4      4      4      4       4
1777014846       4      4      4      4      4      4      4      2      4      4      1       4
1783587070       4      4      4      4      4      4      4      4      4      4      4       4
1783643435       4      4      1      4      4      4      4      1      3      3      4       4
1783643649       4      4      4      4      4      4      4      4      4      4      4       4
1783679344       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1776396413       1       9         6   question   question          1     6/22/2022 5:07:00     6/22/2022 5:21:00
1776410763       4      32         6   survey     Survey            1     6/22/2022 5:34:00     6/22/2022 5:58:00
1776410852       4       5         6   quality    quality           1     6/22/2022 5:35:00     6/22/2022 6:05:00
1776426172       4      38         6   check      check             1     6/22/2022 6:03:00     6/22/2022 6:19:00
1776444673       1      30         6   check      check             1     6/22/2022 6:34:00     6/22/2022 6:53:00
1776464003       4       5         6   question   question          1     6/22/2022 7:05:00     6/22/2022 7:17:00
1776485659       4      26         6   quality    quality           1     6/22/2022 7:37:00     6/22/2022 7:47:00
1776508864       4      15         6   survey     survey            1     6/22/2022 8:06:00     6/22/2022 8:14:00
1776509236       4       5         6   question   question          1     6/22/2022 8:07:00     6/22/2022 8:25:00
1776534263       4      40         6   check      check             1     6/22/2022 8:37:00     6/22/2022 8:50:00
1776534191       4      35         6   quality    quality           1     6/22/2022 8:38:00     6/22/2022 8:46:00
1776561834       4       3         6   check      check             1     6/22/2022 9:09:00     6/22/2022 9:38:00
1776562249       4      33         6   survey     survey            1     6/22/2022 9:10:00     6/22/2022 9:24:00
1776589715       4      35         6   question   question          1     6/22/2022 9:39:00     6/22/2022 9:45:00
1776621349       4      35         6   check      check             1    6/22/2022 10:12:00    6/22/2022 10:24:00
1776718723       4      20         6   question   question          1    6/22/2022 11:45:00    6/22/2022 11:52:00
1776781876       4      20         6   survey     survey            1    6/22/2022 12:49:00    6/22/2022 13:01:00
1776816925       2       5         6   check      Check             1    6/22/2022 13:18:00    6/22/2022 13:26:00
1776852458       1      46         6   quality    quality           1    6/22/2022 13:48:00    6/22/2022 13:56:00
1776920957       4      21         6   question   question          1    6/22/2022 14:51:00    6/22/2022 15:16:00
1776950219       4      13         6   quality    quality           1    6/22/2022 15:20:00    6/22/2022 15:29:00
1776950674       4      43         6   question   Question          1    6/22/2022 15:21:00    6/22/2022 15:39:00
1776983268       4      44         6   survey     Survey            1    6/22/2022 15:52:00    6/22/2022 16:07:00
1776984331       1      43         6   quality    Quality           1    6/22/2022 15:53:00    6/22/2022 16:39:00
1776984609       4      32         6   check      check             1    6/22/2022 15:53:00    6/22/2022 16:02:00
1776984398       4      13         6   survey     Survey            1    6/22/2022 15:53:00    6/22/2022 16:07:00
1777014057       4       5         6   question   question          1    6/22/2022 16:22:00    6/22/2022 16:52:00
1777014364       4       5         6   quality    Quality           1    6/22/2022 16:23:00    6/22/2022 16:34:00
1777014846       4      47         6   check      check             1    6/22/2022 16:23:00    6/22/2022 16:33:00
1783587070       4       1         6   survey     survey            1    6/29/2022 20:02:00    6/29/2022 20:22:00
1783643435       4      38         6   question   question          1    6/29/2022 21:33:00    6/29/2022 21:40:00
1783643649       4      30         6   check      check             1    6/29/2022 21:33:00    6/29/2022 21:43:00
1783679344       4      30         6   quality    quality           1    6/29/2022 22:36:00    6/29/2022 22:42:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1783696255        4         2         3   PA            0           0           0           0           0           0           1          6
1783709624        2         2         3   NJ            0           1           0           0           0           0           0          5
1783927985        1         1         3   PA            0           0           0           0           0           0           1          5
1783974042        4         1         2   NJ            0           0           0           0           0           0           1          5
1783980496        4         1         2   NJ            0           0           0           0           0           0           1          5
1784041171        4         1         3   MD            0           0           0           0           0           0           1          7
1784070353        4         1         2   MD            0           0           0           0           0           0           1          6
1784083568        4         1         2   NJ            0           0           0           0           0           0           1          5
1784090017        1         1         2   PA            0           0           0           0           0           0           1          7
1784099142        4         1         3   NJ            0           0           0           0           0           0           1          7
1784108080        4         1         2   PA            0           0           0           0           0           0           1          7
1784139264        4         1         2   PA            0           0           0           0           0           0           1          5
1784140247        1         1         3   PA            0           0           0           0           0           0           1          7
1784145977        2         1         3   NJ            0           0           0           0           0           0           1          7
1784158266        2         1         3   PA            0           0           0           0           0           0           1          6
1784203626        2         2         3   MD            0           0           0           0           0           0           1          7
1784203787        2         2         4   PA            0           0           0           0           0           0           1          5
1784207006        2         2         3   PA            0           0           0           0           0           0           1          6
1784206338        2         1         3   MD            0           0           0           0           0           0           1          8
1784235153        1         2         3   MD            0           0           1           0           0           0           0          6
1784234491        4         2         4   PA            0           0           0           0           0           0           1          7
1784236526        2         1         4   NJ            0           0           0           0           0           0           1          8
1784240703        4         2         4   DE            0           0           0           0           0           0           1          8
1784265193        1         2         5   PA            0           0           0           0           0           0           1          5
1784269594        2         2         3   PA            0           0           0           0           0           0           1          7
1784295765        1         2         3   NJ            0           0           0           0           0           0           1          7
1784303028        4         2         2   MD            0           0           0           0           0           0           1          3
1784303236        3         2         2   PA            0           0           1           0           0           0           0          5
1784304066        2         2         2   PA            0           0           0           0           0           0           1          6
1784329721        1         2         3   NJ            0           0           0           0           0           0           1          7
1784330221        2         1         3   NJ            0           0           0           0           0           0           1          5
1784333427        4         2         3   MD            0           0           0           0           0           0           1          7
1784339472        4         2         3   PA            0           0           0           0           0           0           1          2


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1783696255          4           4           4           4           4           4           4           4           4            4            4            4
1783709624          4           4           4           4           4           3           4           4           4            4            4            4
1783927985          4           4           4           4           4           4           4           4           4            4            4            4
1783974042          4           4           4           4           4           1           4           4           4            4            4            4
1783980496          4           4           4           4           4           1           4           4           4            4            4            4
1784041171          4           4           4           4           4           4           4           4           4            4            4            4
1784070353          1           1           4           4           4           4           4           4           4            4            4            4
1784083568          4           4           4           4           4           3           4           4           4            4            4            4
1784090017          4           4           4           4           4           4           4           4           4            4            4            4
1784099142          4           4           4           4           2           3           4           4           1            4            4            4
1784108080          4           4           4           4           4           4           4           4           4            4            4            4
1784139264          4           4           4           4           4           1           1           4           4            4            4            4
1784140247          4           4           4           4           4           4           4           4           4            4            4            4
1784145977          4           4           4           4           4           2           4           4           4            4            4            4
1784158266          4           4           4           2           2           2           4           4           4            4            4            4
1784203626          4           4           4           4           4           4           4           4           4            4            4            4
1784203787          4           4           4           4           4           4           4           4           4            4            4            4
1784207006          4           4           4           4           4           4           4           4           4            4            4            4
1784206338          4           4           4           4           4           4           4           4           4            4            4            4
1784235153          4           4           4           4           4           4           4           4           4            4            4            4
1784234491          4           4           4           4           4           4           4           4           4            4            4            4
1784236526          4           4           4           4           4           2           4           4           4            4            4            4
1784240703          4           4           4           4           4           3           4           4           4            4            4            4
1784265193          4           4           4           4           2           2           4           4           4            4            4            4
1784269594          4           4           4           4           4           4           4           4           4            4            4            4
1784295765          4           4           4           4           4           2           4           4           4            4            4            4
1784303028          4           4           4           4           4           4           4           4           4            4            4            4
1784303236          4           4           4           4           4           4           4           2           4            4            4            4
1784304066          4           4           4           4           4           4           4           4           4            4            4            4
1784329721          4           4           4           4           4           3           4           4           4            4            4            4
1784330221          4           2           4           4           4           2           4           4           4            4            4            4
1784333427          4           4           4           4           4           4           4           4           4            4            4            4
1784339472          4           4           4           1           4           4           1           4           4            4            1            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1783696255       4      4      4      4      4      4      4      4      3      4      4       4
1783709624       4      4      2      4      4      4      4      4      1      4      4       1
1783927985       4      4      1      4      4      4      4      4      3      4      4       4
1783974042       4      4      4      4      4      4      4      4      4      4      4       4
1783980496       4      4      4      4      4      4      4      4      4      4      4       4
1784041171       4      4      1      4      1      4      4      4      4      4      4       4
1784070353       1      4      4      4      3      4      4      4      4      4      4       1
1784083568       4      4      4      4      4      4      4      4      4      4      4       4
1784090017       4      4      4      4      4      4      4      4      3      4      4       4
1784099142       4      1      4      4      4      4      4      4      4      4      4       4
1784108080       4      4      4      4      4      4      4      4      1      4      4       4
1784139264       4      4      1      4      4      4      4      4      4      4      4       4
1784140247       4      4      4      4      4      4      4      4      4      4      4       2
1784145977       4      4      4      4      4      4      4      4      4      4      4       4
1784158266       4      4      2      4      2      4      2      4      2      4      4       2
1784203626       2      4      2      4      4      4      4      4      4      4      4       4
1784203787       4      4      4      4      4      4      4      4      1      4      4       4
1784207006       4      4      4      4      4      4      4      4      2      4      4       4
1784206338       4      4      4      4      3      4      4      4      4      4      4       4
1784235153       4      4      4      4      3      4      4      4      4      4      4       4
1784234491       4      4      4      4      4      4      4      4      3      4      4       4
1784236526       4      4      4      4      4      4      4      4      4      4      4       4
1784240703       4      4      4      4      4      4      4      4      4      4      4       4
1784265193       4      4      4      4      4      4      4      4      2      4      4       4
1784269594       4      4      2      4      4      4      4      4      2      4      4       4
1784295765       4      4      4      4      4      4      4      4      4      4      4       4
1784303028       4      4      4      4      2      4      4      4      4      4      4       4
1784303236       4      4      2      4      2      4      4      4      4      4      4       4
1784304066       4      4      3      4      4      4      4      4      4      4      4       4
1784329721       4      4      4      4      4      4      4      4      4      4      4       4
1784330221       4      4      4      4      2      4      4      4      4      4      4       4
1784333427       4      4      4      4      3      4      4      4      4      4      4       4
1784339472       4      4      1      4      4      1      4      4      1      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1783696255       4      38         6   check      Check             1    6/29/2022 23:10:00    6/29/2022 23:24:00
1783709624       1      30         6   question   question          1    6/29/2022 23:38:00    6/29/2022 23:52:00
1783927985       4      38         6   quality    quality           1     6/30/2022 7:26:00     6/30/2022 7:59:00
1783974042       4      30         6   check      check             1     6/30/2022 8:27:00     6/30/2022 8:36:00
1783980496       4      30         6   survey     survey            1     6/30/2022 8:35:00     6/30/2022 8:41:00
1784041171       4      20         6   quality    quality           1     6/30/2022 9:45:00     6/30/2022 9:51:00
1784070353       4      20         6   question   Question          1    6/30/2022 10:15:00    6/30/2022 10:23:00
1784083568       4      30         6   question   question          1    6/30/2022 10:27:00    6/30/2022 10:38:00
1784090017       4      38         6   survey     survey            1    6/30/2022 10:34:00    6/30/2022 10:53:00
1784099142       4      32         6   check      Check             1    6/30/2022 10:45:00    6/30/2022 10:56:00
1784108080       4      38         6   quality    Quality           1    6/30/2022 10:54:00    6/30/2022 11:08:00
1784139264       4      38         6   question   question          1    6/30/2022 11:26:00    6/30/2022 11:38:00
1784140247       4      38         6   survey     survey            1    6/30/2022 11:27:00    6/30/2022 11:35:00
1784145977       4      30         6   survey     survey            1    6/30/2022 11:33:00    6/30/2022 12:03:00
1784158266       4      38         6   check      check             1    6/30/2022 11:45:00    6/30/2022 11:55:00
1784203626       4       8         6   question   question          1    6/30/2022 12:28:00    6/30/2022 12:38:00
1784203787       4      38         6   check      check             1    6/30/2022 12:28:00    6/30/2022 12:36:00
1784207006       4      38         6   quality    quality           1    6/30/2022 12:31:00    6/30/2022 12:38:00
1784206338       4      20         6   question   question          1    6/30/2022 12:36:00    6/30/2022 13:07:00
1784235153       4      20         6   question   question          1    6/30/2022 12:59:00    6/30/2022 13:24:00
1784234491       4      38         6   survey     survey            1    6/30/2022 12:59:00    6/30/2022 13:10:00
1784236526       4      30         6   check      check             1    6/30/2022 13:00:00    6/30/2022 13:18:00
1784240703       4      30         6   quality    quality           1    6/30/2022 13:04:00    6/30/2022 13:17:00
1784265193       4      38         6   survey     survey            1    6/30/2022 13:29:00    6/30/2022 14:01:00
1784269594       4      38         6   quality    quality           1    6/30/2022 13:33:00    6/30/2022 13:43:00
1784295765       4      30         6   check      check             1    6/30/2022 13:59:00    6/30/2022 14:06:00
1784303028       4      20         6   survey     survey            1    6/30/2022 14:06:00    6/30/2022 14:13:00
1784303236       4      38         6   question   question          1    6/30/2022 14:07:00    6/30/2022 14:16:00
1784304066       4       8         6   question   question          1    6/30/2022 14:07:00    6/30/2022 14:16:00
1784329721       4      30         6   check      check             1    6/30/2022 14:35:00    6/30/2022 14:44:00
1784330221       4      30         6   check      check             1    6/30/2022 14:36:00    6/30/2022 14:41:00
1784333427       4      20         6   survey     survey            1    6/30/2022 14:39:00    6/30/2022 14:53:00
1784339472       1      38         6   question   question          1    6/30/2022 14:45:00    6/30/2022 14:58:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1784344379        2         2         3   NJ            0           0           0           0           0           0           1          8
1784354688        2         2         3   PA            0           0           0           0           0           0           1          8
1784355538        1         2         5   MD            0           0           0           0           0           0           1          6
1784364667        2         2         2   MD            0           0           0           0           0           0           1          6
1784364840        2         2         2   MD            0           0           0           0           0           0           1          3
1784370996        2         2         5   MD            0           0           0           0           0           0           1          4
1784371962        2         2         3   NJ            0           0           0           0           0           0           1          8
1784379594        2         1         3   NJ            0           0           0           0           0           0           1          6
1784391288        2         2         2   MD            0           0           0           0           0           0           1          4
1784396873        2         1         3   PA            0           0           0           0           0           0           1          7
1784401636        4         1         4   PA            0           0           0           0           0           0           1          7
1784409549        2         1         4   MD            0           0           0           0           0           0           1          8
1784409575        2         1         4   NJ            0           0           0           0           0           0           1          8
1784431411        2         1         3   MD            0           0           0           0           0           0           1          5
1784470970        2         1         2   NJ            0           0           0           0           0           0           1          3
1784500821        1         1         4   NJ            0           0           0           0           0           0           1          2
1784521747        2         1         2   MD            0           0           0           0           0           0           1          5
1784578390        4         1         2   PA            0           0           0           0           0           0           1          5
1784612596        2         1         3   DE            0           0           0           0           0           0           1          4
1784614750        2         1         2   PA            0           0           0           0           0           0           1          6
1784617938        3         1         2   NJ            0           0           0           0           0           0           1          4
1784693596        2         1         3   NJ            0           0           1           0           0           0           0          6
1784714162        4         1         2   PA            0           0           0           0           0           0           1          4
1784918678        2         1         2   PA            0           0           0           0           0           0           1          6
1785005689        4         1         2   NJ            0           0           0           0           0           0           1          6
1785108481        2         1         2   PA            0           0           0           0           0           0           1          4
1785248272        4         2         3   MD            0           0           0           0           0           0           1          8
1785250160        1         2         3   PA            0           0           0           0           0           0           1          6
1785251077        2         2         2   PA            0           0           0           0           0           0           1          3
1785252476        2         2         2   NJ            0           0           0           0           0           0           1          6
1785258478        2         2         2   NJ            0           0           0           0           0           0           1          5
1785264210        2         2         3   NJ            0           0           0           0           0           0           1          7
1785265364        1         1         3   NJ            0           0           0           0           0           0           1          5


                                                                                                                                          M-29
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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1784344379          4           4           4           4           4           4           4           4           4            4            4            4
1784354688          4           2           4           4           4           4           4           4           4            4            4            4
1784355538          4           4           4           4           4           4           4           4           4            4            4            4
1784364667          4           4           4           4           4           4           4           4           4            4            4            4
1784364840          4           4           4           4           3           4           4           4           4            4            4            4
1784370996          4           4           4           4           4           4           4           4           4            4            4            4
1784371962          4           4           4           4           4           1           4           4           4            4            4            4
1784379594          4           4           4           4           4           2           4           4           4            4            4            4
1784391288          4           1           4           2           2           4           4           4           4            4            4            4
1784396873          4           4           4           4           4           4           4           4           4            4            4            4
1784401636          4           4           4           4           4           4           4           4           4            4            4            4
1784409549          4           2           4           4           4           4           4           4           4            4            4            4
1784409575          4           4           4           4           4           4           4           4           4            4            4            4
1784431411          4           4           4           4           4           4           4           4           4            4            4            4
1784470970          4           4           4           4           4           2           4           4           4            4            4            4
1784500821          4           4           4           4           4           2           4           4           4            4            4            4
1784521747          1           4           4           4           4           4           4           4           4            4            4            4
1784578390          4           1           4           2           1           4           1           4           4            4            4            2
1784612596          4           4           4           4           4           1           4           4           4            4            4            4
1784614750          4           2           4           4           4           4           4           4           4            4            4            4
1784617938          4           4           4           4           4           2           4           4           4            4            4            4
1784693596          4           4           4           4           4           1           4           4           4            4            4            4
1784714162          4           4           4           4           4           4           4           4           4            4            4            4
1784918678          4           4           4           4           4           4           4           4           4            4            4            4
1785005689          4           4           4           4           4           4           4           4           4            4            4            4
1785108481          4           4           4           4           4           4           4           4           4            4            4            4
1785248272          4           4           4           4           4           4           4           4           4            4            4            4
1785250160          4           4           4           4           4           4           4           4           4            4            4            4
1785251077          4           4           4           4           4           4           4           1           4            4            4            4
1785252476          4           4           4           4           4           3           4           4           4            2            4            4
1785258478          4           4           4           4           4           2           4           4           4            4            4            2
1785264210          4           4           4           4           4           4           4           4           4            4            4            4
1785265364          4           4           4           4           4           4           1           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1784344379       4      4      1      4      4      4      4      4      4      4      4       4
1784354688       4      4      4      4      2      4      4      4      2      4      4       4
1784355538       4      4      4      4      1      4      4      4      4      4      4       4
1784364667       4      4      4      4      4      4      2      4      4      4      4       4
1784364840       4      4      4      4      4      4      4      4      4      4      4       4
1784370996       4      4      4      4      4      4      3      4      4      4      4       4
1784371962       4      4      4      4      4      4      4      4      4      4      4       4
1784379594       4      4      4      4      4      4      4      4      4      4      4       4
1784391288       4      4      2      4      3      4      4      4      2      4      4       2
1784396873       4      4      4      4      4      4      2      4      2      4      4       2
1784401636       4      4      4      4      4      4      4      4      2      4      4       4
1784409549       4      4      4      4      1      4      4      4      4      4      4       4
1784409575       4      4      2      4      4      4      2      4      4      4      4       4
1784431411       4      1      3      1      1      4      1      4      4      4      4       4
1784470970       4      4      4      4      4      4      4      4      4      4      4       4
1784500821       4      4      4      4      4      4      4      4      4      4      4       4
1784521747       4      4      2      4      2      4      4      2      4      4      4       2
1784578390       1      2      3      3      4      4      4      4      1      2      4       2
1784612596       4      4      4      4      4      4      4      4      4      4      4       4
1784614750       4      4      4      4      4      1      4      4      4      4      4       1
1784617938       4      4      4      4      4      4      4      4      4      4      4       4
1784693596       4      4      4      4      4      4      4      4      4      4      4       4
1784714162       4      4      4      4      4      4      4      4      2      4      4       4
1784918678       4      4      2      4      2      4      4      4      2      4      4       4
1785005689       4      4      1      4      4      4      4      4      4      4      4       4
1785108481       4      4      4      4      4      4      4      4      2      4      4       4
1785248272       4      4      4      4      4      4      4      4      4      4      4       4
1785250160       4      4      4      4      4      4      4      4      2      4      4       4
1785251077       4      4      4      4      4      4      4      4      4      4      4       4
1785252476       4      4      4      4      4      4      4      4      4      4      4       4
1785258478       2      2      2      4      4      4      4      4      4      4      4       4
1785264210       4      4      4      4      4      4      4      4      4      4      4       3
1785265364       4      4      4      4      4      4      4      4      4      4      4       2


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1784344379       4      30         6   quality    quality           1    6/30/2022 14:50:00    6/30/2022 15:03:00
1784354688       4      38         6   check      check             1    6/30/2022 15:00:00    6/30/2022 15:10:00
1784355538       4      20         6   survey     survey            1    6/30/2022 15:02:00    6/30/2022 15:16:00
1784364667       4      49         6   quality    quality           1    6/30/2022 15:10:00    6/30/2022 15:16:00
1784364840       1      46         6   question   question          1    6/30/2022 15:10:00    6/30/2022 15:27:00
1784370996       4      40         6   quality    QUALITY           1    6/30/2022 15:17:00    6/30/2022 15:26:00
1784371962       4      30         6   survey     Survey            1    6/30/2022 15:18:00    6/30/2022 15:31:00
1784379594       4      30         6   survey     survey            1    6/30/2022 15:25:00    6/30/2022 15:33:00
1784391288       4      20         6   check      check             1    6/30/2022 15:40:00    6/30/2022 16:03:00
1784396873       4      38         6   quality    quality           1    6/30/2022 15:45:00    6/30/2022 15:58:00
1784401636       4      38         6   question   question          1    6/30/2022 15:49:00    6/30/2022 16:01:00
1784409549       4      20         6   check      check             1    6/30/2022 15:58:00    6/30/2022 16:05:00
1784409575       4      30         6   question   question          1    6/30/2022 15:58:00    6/30/2022 16:06:00
1784431411       4      20         6   check      check             1    6/30/2022 16:21:00    6/30/2022 16:32:00
1784470970       4      30         6   quality    quality           1    6/30/2022 17:09:00    6/30/2022 17:16:00
1784500821       4      30         6   survey     survey            1    6/30/2022 17:48:00    6/30/2022 17:54:00
1784521747       4      20         6   survey     survey            1    6/30/2022 18:17:00    6/30/2022 18:23:00
1784578390       2      38         6   question   question          1    6/30/2022 19:38:00    6/30/2022 19:56:00
1784612596       1      38         6   quality    quality           1    6/30/2022 20:32:00    6/30/2022 20:44:00
1784614750       1      38         6   check      check             1    6/30/2022 20:36:00    6/30/2022 20:43:00
1784617938       4      30         6   question   question          1    6/30/2022 20:41:00    6/30/2022 20:50:00
1784693596       4      30         6   check      check             1    6/30/2022 22:58:00    6/30/2022 23:10:00
1784714162       4      38         6   question   Question          1    6/30/2022 23:46:00      7/1/2022 0:01:00
1784918678       2      38         6   survey     survey            1      7/1/2022 7:06:00      7/1/2022 7:20:00
1785005689       4       8         6   question   Question          1      7/1/2022 9:09:00      7/1/2022 9:20:00
1785108481       4      38         6   check      check             1     7/1/2022 10:57:00     7/1/2022 11:14:00
1785248272       1      46         6   quality    Quality           1     7/1/2022 13:27:00     7/1/2022 13:50:00
1785250160       4      38         6   survey     survey            1     7/1/2022 13:29:00     7/1/2022 13:41:00
1785251077       4      38         6   survey     survey            1     7/1/2022 13:30:00     7/1/2022 13:44:00
1785252476       4      30         6   quality    quality           1     7/1/2022 13:31:00     7/1/2022 13:37:00
1785258478       4      30         6   check      check             1     7/1/2022 13:38:00     7/1/2022 13:55:00
1785264210       2      46         6   question   question          1     7/1/2022 13:44:00     7/1/2022 13:57:00
1785265364       4      32         6   quality    quality           1     7/1/2022 13:46:00     7/1/2022 14:05:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1785270406        1         2         5   PA            0           0           0           0           0           0           1          3
1785299682        1         1         4   NJ            0           0           0           0           0           0           1          7
1785299587        2         2         2   PA            0           0           0           0           0           0           1          5
1785315228        3         2         4   NJ            0           0           0           0           0           0           1          8
1785365969        4         2         3   NJ            0           0           0           0           0           0           1          3
1785376895        2         2         4   NJ            0           0           0           0           0           0           1          8
1785378965        4         2         3   MD            0           0           0           0           0           0           1          5
1785379809        2         1         3   NJ            0           0           0           0           0           0           1          8
1785380196        1         2         3   NJ            0           0           1           0           0           0           0          8
1785384425        2         2         4   PA            0           0           0           0           0           0           1          7
1785385241        1         2         2   NJ            0           0           0           0           0           0           1          4
1785392950        1         2         3   NJ            0           0           0           0           0           0           1          7
1785398343        4         2         3   PA            0           0           0           0           0           0           1          7
1785398431        4         2         3   MD            0           0           0           0           0           0           1          8
1785399788        2         2         2   MD            0           0           0           0           0           0           1          7
1785406067        2         2         2   NJ            0           0           0           0           0           0           1          6
1785411365        2         2         4   PA            0           0           0           0           0           0           1          3
1785415863        2         2         4   NJ            0           0           0           0           0           0           1          8
1785418369        1         2         4   MD            0           0           0           0           0           0           1          8
1785420004        4         2         3   MD            0           0           1           0           0           0           0          4
1785422380        4         2         3   NJ            0           0           0           0           0           0           1          6
1785423379        4         1         4   NJ            0           0           0           0           0           0           1          6
1785426594        2         2         3   PA            0           0           0           0           0           0           1          3
1785512144        2         1         3   DE            0           0           0           0           0           0           1          8
1785543643        2         1         4   MD            0           0           0           0           0           0           1          8
1785551207        4         1         3   MD            0           0           0           0           0           0           1          7
1785554730        1         1         5   NJ            0           0           0           0           0           0           1          7
1785566319        4         1         3   DE            0           0           0           0           0           0           1          5
1785597376        4         1         3   NJ            0           0           0           0           0           0           1          7
1785601455        2         1         4   PA            0           0           0           0           0           0           1          4
1785635688        4         1         3   DE            0           0           0           0           0           0           1          4
1785652391        4         1         2   PA            0           0           0           0           0           0           1          5
1785659570        4         1         3   PA            0           0           0           0           0           0           1          8


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1785270406          4           4           4           4           4           4           4           4           4            4            4            4
1785299682          4           4           4           4           4           4           4           4           4            4            4            4
1785299587          4           4           4           4           4           4           4           4           4            4            4            4
1785315228          4           4           4           4           4           3           4           4           4            3            4            4
1785365969          4           4           4           4           1           2           4           4           4            2            4            4
1785376895          4           4           4           4           4           2           4           4           4            4            4            4
1785378965          4           4           4           4           4           4           4           4           4            4            4            4
1785379809          4           1           4           4           4           1           4           4           1            1            4            4
1785380196          4           4           4           4           4           2           4           4           4            4            4            4
1785384425          4           4           4           4           4           4           4           4           4            4            4            4
1785385241          4           4           4           4           4           1           4           4           4            4            4            4
1785392950          4           4           4           4           4           3           4           4           4            4            4            4
1785398343          4           4           4           4           4           4           4           4           4            4            4            4
1785398431          4           4           4           4           4           4           4           4           4            4            4            4
1785399788          4           4           4           4           4           4           4           4           4            4            4            4
1785406067          4           4           4           4           4           2           4           4           4            4            4            4
1785411365          4           4           4           4           4           1           4           4           4            4            4            4
1785415863          4           4           4           4           4           4           4           4           4            4            4            4
1785418369          4           4           4           4           4           4           4           4           4            4            4            4
1785420004          4           4           4           4           4           4           4           4           4            4            4            4
1785422380          4           4           4           4           4           3           4           4           4            4            4            4
1785423379          4           4           4           2           4           3           4           4           4            4            4            4
1785426594          4           4           4           2           4           4           4           4           4            4            4            4
1785512144          4           4           4           4           4           4           4           4           4            4            4            4
1785543643          4           4           4           4           4           4           4           4           4            4            4            4
1785551207          4           3           4           4           4           4           4           4           4            4            4            4
1785554730          1           4           4           1           1           3           1           1           4            4            4            4
1785566319          4           4           4           4           4           1           4           4           4            4            4            4
1785597376          4           4           4           4           4           3           4           4           4            4            4            4
1785601455          2           4           4           3           4           4           2           4           4            2            4            4
1785635688          4           4           4           4           4           4           4           4           4            4            4            4
1785652391          4           4           4           1           4           3           4           4           4            4            4            4
1785659570          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1785270406       4      4      4      4      1      4      4      4      4      4      4       4
1785299682       4      4      4      4      4      4      4      4      4      4      4       4
1785299587       4      4      2      4      4      4      4      4      4      4      4       4
1785315228       2      4      4      4      4      4      4      4      4      4      4       4
1785365969       4      4      4      4      4      4      4      4      4      4      4       4
1785376895       4      4      4      4      4      4      4      4      4      4      4       4
1785378965       4      4      4      4      3      4      4      4      4      4      4       4
1785379809       4      4      1      4      4      4      4      4      4      4      4       4
1785380196       4      4      4      4      4      4      4      4      4      4      4       4
1785384425       4      4      4      4      4      4      4      4      4      4      4       1
1785385241       4      4      4      4      4      4      4      4      4      4      4       4
1785392950       4      4      4      4      4      4      4      4      4      4      4       4
1785398343       4      4      2      4      4      4      4      4      3      4      4       4
1785398431       4      4      4      4      2      4      4      4      4      4      4       4
1785399788       4      4      4      4      1      4      4      4      4      4      4       1
1785406067       4      4      4      4      4      4      4      4      4      4      4       4
1785411365       4      4      1      4      4      4      4      4      4      4      4       4
1785415863       4      4      4      4      2      4      2      4      4      4      4       4
1785418369       4      4      4      4      1      4      4      4      4      4      4       4
1785420004       4      4      4      4      1      4      4      4      4      4      4       4
1785422380       4      4      4      4      4      4      4      4      4      4      4       4
1785423379       4      4      2      4      4      4      4      4      4      4      4       4
1785426594       4      4      4      4      4      4      4      4      4      4      4       4
1785512144       4      4      2      4      2      4      4      4      4      4      4       4
1785543643       4      4      4      4      1      4      4      4      4      4      4       4
1785551207       4      4      4      4      4      4      4      4      4      4      4       4
1785554730       4      1      1      4      1      4      4      1      4      1      4       1
1785566319       4      1      3      4      4      4      4      4      4      4      4       4
1785597376       4      4      4      4      4      4      4      4      4      4      4       4
1785601455       4      4      2      4      4      4      4      4      4      2      4       4
1785635688       4      4      3      4      2      2      4      4      4      4      4       4
1785652391       4      4      4      4      4      4      4      4      4      4      4       4
1785659570       4      4      4      4      4      4      4      4      3      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime          EndTime
1785270406       4      38         6   check      check             1     7/1/2022 13:51:00 7/1/2022 13:59:00
1785299682       1      21         6   check      check             1     7/1/2022 14:25:00 7/1/2022 14:39:00
1785299587       4      38         6   question   question          1     7/1/2022 14:25:00 7/1/2022 14:31:00
1785315228       4      30         6   survey     Survey            1     7/1/2022 14:44:00 7/1/2022 15:15:00
1785365969       4      30         6   quality    Quality           1     7/1/2022 15:41:00 7/1/2022 15:51:00
1785376895       4      30         6   question   question          1     7/1/2022 15:54:00 7/1/2022 16:04:00
1785378965       4      20         6   question   Question          1     7/1/2022 15:56:00 7/1/2022 16:06:00
1785379809       4      30         6   survey     survey            1     7/1/2022 15:57:00 7/1/2022 16:04:00
1785380196       4      30         6   quality    quality           1     7/1/2022 15:59:00 7/1/2022 16:17:00
1785384425       1      38         6   survey     survey            1     7/1/2022 16:03:00 7/1/2022 16:19:00
1785385241       4      30         6   check      check             1     7/1/2022 16:04:00 7/1/2022 16:24:00
1785392950       4      30         6   quality    quality           1     7/1/2022 16:14:00 7/1/2022 16:40:00
1785398343       4      38         6   quality    quality           1     7/1/2022 16:20:00 7/1/2022 16:54:00
1785398431       4      20         6   question   Question          1     7/1/2022 16:20:00 7/1/2022 16:31:00
1785399788       1      20         6   check      check             1     7/1/2022 16:22:00 7/1/2022 16:33:00
1785406067       4      30         6   survey     Survey            1     7/1/2022 16:31:00 7/1/2022 16:44:00
1785411365       4      38         6   quality    quality           1     7/1/2022 16:37:00 7/1/2022 16:52:00
1785415863       4      30         6   survey     survey            1     7/1/2022 16:42:00 7/1/2022 16:51:00
1785418369       4      51         6   question   question          1     7/1/2022 16:45:00 7/1/2022 16:53:00
1785420004       4      20         6   check      Check             1     7/1/2022 16:48:00 7/1/2022 17:20:00
1785422380       4      30         6   quality    Quality           1     7/1/2022 16:51:00 7/1/2022 17:19:00
1785423379       2      30         6   question   question          1     7/1/2022 16:52:00 7/1/2022 17:04:00
1785426594       1      38         6   survey     survey            1     7/1/2022 16:56:00 7/1/2022 17:49:00
1785512144       4       8         6   question   question          1     7/1/2022 18:51:00 7/1/2022 19:02:00
1785543643       4      20         6   check      check             1     7/1/2022 19:41:00 7/1/2022 19:51:00
1785551207       1      20         6   survey     Survey            1     7/1/2022 19:55:00 7/1/2022 20:11:00
1785554730       1      30         6   question   question          1     7/1/2022 20:01:00 7/1/2022 20:20:00
1785566319       4       8         6   check      check             1     7/1/2022 20:21:00 7/1/2022 20:31:00
1785597376       4      30         6   check      Check             1     7/1/2022 21:19:00 7/1/2022 21:27:00
1785601455       4      38         6   survey     survey            1     7/1/2022 21:26:00 7/1/2022 21:38:00
1785635688       4       8         6   quality    Quality           1     7/1/2022 22:32:00 7/1/2022 22:40:00
1785652391       4      38         6   survey     Survey            1     7/1/2022 23:06:00 7/1/2022 23:41:00
1785659570       4      38         6   question   question          1     7/1/2022 23:22:00 7/1/2022 23:37:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1785695925        2         1         3   NJ            0           0           0           0           0           0           1          4
1785716353        2         1         3   NJ            0           0           0           0           0           0           1          4
1785781094        4         1         3   PA            0           0           0           0           0           0           1          7
1787295286        4         1         4   PA            0           0           0           0           0           0           1          7
1787300023        2         1         3   NJ            0           0           0           0           0           0           1          8
1787300955        4         1         3   PA            0           0           0           0           0           0           1          8
1787301986        4         1         4   NJ            0           0           0           0           0           0           1          4
1787315449        2         1         3   PA            0           0           0           0           0           0           1          5
1787330031        4         1         3   PA            0           0           0           0           0           0           1          7
1787348455        2         1         2   NJ            0           0           0           0           0           0           1          5
1787385297        4         1         2   MD            0           0           0           0           0           0           1          4
1787415709        2         1         3   NJ            0           0           0           0           0           0           1          5
1787426668        1         1         2   PA            0           0           0           0           0           0           1          6
1788033014        1         2         3   NJ            0           0           0           0           0           0           1          5
1788032862        1         1         2   PA            0           0           0           0           0           0           1          7
1788059460        4         2         4   NJ            0           0           0           0           0           0           1          5
1788061140        2         2         2   NJ            0           0           0           0           0           0           1          5
1788062199        4         2         4   PA            0           0           0           0           0           0           1          8
1788063164        1         2         5   PA            0           0           0           0           0           0           1          4
1788061382        2         2         3   NJ            0           0           0           0           0           0           1          7
1788091627        2         2         2   NJ            0           0           0           0           0           0           1          6
1788093273        2         2         2   NJ            0           0           0           0           0           0           1          4
1788093342        2         2         4   NJ            0           0           0           0           0           0           1          8
1788095121        2         1         3   MD            0           0           0           0           0           0           1          8
1788099191        4         2         4   PA            0           0           0           0           0           0           1          8
1788099530        1         1         3   NJ            0           0           0           0           0           0           1          6
1788099416        4         1         2   MD            0           0           0           0           0           0           1          5
1788100135        3         2         4   NJ            0           0           0           0           0           0           1          3
1788122218        1         2         2   PA            0           0           0           0           0           0           1          7
1788123449        1         2         3   NJ            0           0           0           0           0           0           1          8
1788131031        2         1         4   NJ            0           0           0           0           0           0           1          7
1788153050        4         1         3   PA            0           0           0           0           0           0           1          7
1788173038        2         1         4   PA            0           0           0           0           0           0           1          2


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1785695925          4           4           4           1           4           1           1           1           1            1            4            4
1785716353          4           4           4           4           4           2           4           4           4            4            4            4
1785781094          4           4           4           4           4           4           4           4           4            4            4            4
1787295286          4           4           4           4           4           1           4           4           4            4            4            4
1787300023          4           4           4           4           4           2           4           4           4            4            4            4
1787300955          4           4           4           4           4           4           4           4           4            4            4            4
1787301986          4           4           4           4           4           1           4           4           4            4            4            4
1787315449          4           1           4           4           4           4           4           4           4            4            4            4
1787330031          4           4           4           4           4           4           4           4           4            4            4            4
1787348455          4           4           4           4           4           2           4           4           4            4            4            4
1787385297          1           4           4           4           4           4           4           4           4            4            4            4
1787415709          4           4           4           4           4           4           4           4           4            4            4            4
1787426668          4           4           4           4           4           4           4           4           4            4            4            4
1788033014          4           4           4           4           4           1           4           4           4            4            4            4
1788032862          4           4           4           4           4           4           4           4           4            4            4            4
1788059460          4           4           4           4           4           2           4           4           4            4            4            4
1788061140          4           4           4           4           4           2           4           4           4            4            4            4
1788062199          4           4           4           4           4           4           4           4           4            4            4            4
1788063164          4           4           4           4           4           4           2           4           4            4            4            4
1788061382          4           4           4           4           4           4           4           4           4            4            4            4
1788091627          4           4           4           4           4           2           4           4           4            4            4            4
1788093273          4           4           4           4           4           3           4           4           4            4            4            4
1788093342          4           4           4           2           4           2           4           4           4            4            4            4
1788095121          4           4           4           4           4           4           4           4           4            4            4            4
1788099191          3           4           4           4           4           4           4           4           1            1            4            4
1788099530          4           4           4           3           2           4           4           4           4            4            4            4
1788099416          2           4           4           1           3           4           1           4           4            4            4            4
1788100135          4           4           4           4           4           1           4           4           4            4            4            4
1788122218          1           4           4           4           4           4           4           4           4            4            4            4
1788123449          4           4           4           4           4           2           4           4           4            4            4            4
1788131031          4           4           4           4           4           2           4           4           4            4            4            4
1788153050          4           4           4           4           4           4           4           4           4            4            4            4
1788173038          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1785695925       4      4      1      4      4      4      4      4      4      4      4       4
1785716353       4      4      4      4      4      4      4      4      4      4      4       4
1785781094       4      4      4      4      2      4      4      4      4      4      4       4
1787295286       4      4      3      4      4      4      4      4      1      4      4       4
1787300023       4      4      2      4      4      4      4      4      4      4      4       4
1787300955       2      1      2      4      4      4      4      4      4      4      4       4
1787301986       4      4      1      4      4      4      4      4      4      4      4       4
1787315449       4      4      4      4      4      4      4      4      4      4      4       4
1787330031       4      4      4      4      4      4      4      4      3      4      4       4
1787348455       4      4      4      4      4      4      4      4      4      4      4       4
1787385297       4      4      1      4      4      4      4      4      4      4      4       4
1787415709       4      4      4      4      4      4      3      4      4      4      4       4
1787426668       4      4      4      4      4      4      4      1      4      4      4       4
1788033014       4      4      4      4      4      4      4      4      4      4      4       4
1788032862       4      4      4      4      4      4      4      4      1      4      4       4
1788059460       4      4      4      4      4      4      4      4      4      4      4       4
1788061140       4      4      4      4      4      4      4      4      4      4      4       4
1788062199       4      4      4      4      4      4      4      4      2      4      4       4
1788063164       4      4      2      4      4      4      4      4      2      4      4       4
1788061382       4      2      4      4      4      4      4      4      4      4      4       4
1788091627       4      4      4      4      4      4      4      4      4      4      4       4
1788093273       4      4      4      4      4      4      4      4      4      4      4       4
1788093342       4      2      4      4      4      4      4      4      4      4      4       1
1788095121       4      4      4      4      4      4      4      4      4      4      4       4
1788099191       4      4      4      4      4      4      4      4      4      4      4       4
1788099530       4      4      4      4      4      4      4      4      4      1      4       4
1788099416       4      4      4      4      4      1      4      4      2      4      4       4
1788100135       4      4      4      4      4      4      4      4      4      4      4       4
1788122218       4      4      4      4      4      4      4      4      4      4      4       4
1788123449       4      4      4      4      4      4      4      4      4      4      4       4
1788131031       4      4      1      4      4      4      4      4      4      4      4       4
1788153050       4      4      4      4      4      4      4      4      2      4      4       4
1788173038       4      4      1      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime           EndTime
1785695925       4      52         6   question   question          1      7/2/2022 1:01:00    7/2/2022 1:09:00
1785716353       4      30         6   check      check             1      7/2/2022 2:04:00    7/2/2022 2:09:00
1785781094       4      20         6   quality    Quality           1      7/2/2022 5:05:00    7/2/2022 5:11:00
1787295286       4       8         6   quality    quality           1     7/4/2022 11:22:00 7/4/2022 11:27:00
1787300023       4      30         6   question   question          1     7/4/2022 11:28:00 7/4/2022 11:33:00
1787300955       2      38         6   check      Check             1     7/4/2022 11:29:00 7/4/2022 11:36:00
1787301986       4      30         6   survey     survey            1     7/4/2022 11:30:00 7/4/2022 11:50:00
1787315449       1      49         6   question   question          1     7/4/2022 11:46:00 7/4/2022 12:07:00
1787330031       4      38         6   survey     Survey            1     7/4/2022 12:05:00 7/4/2022 12:11:00
1787348455       4      30         6   quality    quality           1     7/4/2022 12:29:00 7/4/2022 12:38:00
1787385297       1      20         6   survey     Survey            1     7/4/2022 13:18:00 7/4/2022 14:08:00
1787415709       2      30         6   question   question          1     7/4/2022 14:01:00 7/4/2022 14:08:00
1787426668       4       5         6   check      Check             1     7/4/2022 14:17:00 7/4/2022 14:39:00
1788033014       4      30         6   question   question          1     7/5/2022 10:52:00 7/5/2022 11:15:00
1788032862       4      38         6   quality    quality           1     7/5/2022 10:52:00 7/5/2022 10:59:00
1788059460       4      30         6   check      Check             1     7/5/2022 11:17:00 7/5/2022 11:37:00
1788061140       4      30         6   survey     survey            1     7/5/2022 11:19:00 7/5/2022 11:29:00
1788062199       4      38         6   quality    quality           1     7/5/2022 11:20:00 7/5/2022 11:33:00
1788063164       4      38         6   question   question          1     7/5/2022 11:21:00 7/5/2022 11:38:00
1788061382       4      30         6   survey     survey            1     7/5/2022 11:26:00 7/5/2022 12:03:00
1788091627       4      30         6   check      check             1     7/5/2022 11:50:00 7/5/2022 12:03:00
1788093273       4      30         6   question   question          1     7/5/2022 11:51:00 7/5/2022 12:06:00
1788093342       4      30         6   quality    quality           1     7/5/2022 11:51:00 7/5/2022 12:02:00
1788095121       1      20         6   check      check             1     7/5/2022 11:53:00 7/5/2022 12:00:00
1788099191       4      32         6   survey     survey            1     7/5/2022 11:57:00 7/5/2022 12:15:00
1788099530       4      22         6   survey     survey            1     7/5/2022 11:57:00 7/5/2022 12:09:00
1788099416       2      20         6   check      check             1     7/5/2022 11:57:00 7/5/2022 12:05:00
1788100135       1      30         6   quality    quality           1     7/5/2022 11:58:00 7/5/2022 12:04:00
1788122218       4      38         6   question   question          1     7/5/2022 12:22:00 7/5/2022 12:32:00
1788123449       4      30         6   question   question          1     7/5/2022 12:23:00 7/5/2022 12:51:00
1788131031       4      30         6   survey     survey            1     7/5/2022 12:29:00 7/5/2022 12:56:00
1788153050       4      38         6   quality    quality           1     7/5/2022 12:51:00 7/5/2022 13:02:00
1788173038       4      38         6   check      check             1     7/5/2022 13:08:00 7/5/2022 13:32:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1788192782        4         1         3   MD            0           0           0           0           0           0           1          4
1788219399        4         1         2   PA            0           1           0           0           0           0           0          4
1788221599        1         1         2   PA            0           0           0           0           0           0           1          5
1788945710        2         2         4   NJ            0           0           0           0           0           0           1          7
1789000944        4         2         3   MD            0           0           0           0           0           0           1          5
1789004437        4         2         3   PA            0           0           0           0           0           0           1          4
1789008335        3         1         3   PA            0           0           0           0           0           0           1          6
1789010111        4         1         3   PA            0           0           0           0           0           0           1          7
1789029910        4         2         4   PA            0           0           0           0           0           0           1          4
1789031050        2         2         3   MD            0           0           0           0           0           0           1          7
1789037238        4         2         4   PA            0           0           0           0           0           0           1          3
1789038733        2         2         2   MD            0           0           0           0           0           0           1          3
1789044633        2         2         3   MD            0           0           0           0           0           0           1          7
1789071074        4         2         3   PA            0           0           0           0           0           0           1          7
1789075731        2         2         2   DC            0           0           0           0           0           0           1          5
1789076782        2         2         2   MD            0           0           0           0           0           0           1          4
1789102677        2         2         2   PA            0           0           0           0           0           0           1          6
1789107941        4         2         5   MD            0           0           0           0           0           0           1          6
1789124710        2         2         4   PA            0           0           0           0           0           0           1          6
1789142981        3         2         5   NJ            0           0           0           0           0           0           1          8
1789149328        4         2         2   NJ            0           0           0           0           0           0           1          5
1789163799        1         1         3   PA            0           0           0           0           0           0           1          8
1789164847        1         1         3   NJ            0           0           0           0           0           0           1          7
1789164526        4         2         3   PA            0           0           0           0           0           0           1          8
1789172217        2         2         5   DE            0           0           0           0           0           0           1          8
1789185620        2         2         2   PA            0           0           0           0           0           0           1          5
1789187157        4         1         2   MD            0           0           0           0           0           0           1          4
1789189910        2         2         2   NJ            0           0           0           0           0           0           1          4
1789190919        2         1         5   MD            0           0           0           0           0           0           1          7
1789207930        4         1         3   MD            0           0           0           0           0           0           1          7
1789212032        1         2         2   MD            0           0           0           0           0           0           1          4
1789213095        2         2         3   PA            0           0           0           0           0           0           1          7
1789222618        2         1         2   PA            0           0           0           0           0           0           1          5


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1788192782          4           4           4           4           4           4           4           4           4            4            4            4
1788219399          4           4           4           1           4           4           4           4           4            4            4            4
1788221599          4           4           4           4           4           4           4           4           4            4            4            4
1788945710          4           4           4           4           2           3           4           4           4            4            4            4
1789000944          4           4           4           1           1           4           4           4           4            4            1            1
1789004437          4           4           4           4           4           1           4           4           4            4            4            4
1789008335          4           4           4           4           4           4           4           4           4            4            4            4
1789010111          4           4           4           4           4           1           1           4           4            4            4            4
1789029910          4           4           4           4           4           4           4           4           4            4            4            4
1789031050          4           2           4           4           4           4           4           4           4            4            4            4
1789037238          4           4           4           1           4           4           4           4           4            4            4            4
1789038733          4           4           4           4           4           4           4           4           4            4            4            4
1789044633          4           4           4           4           4           4           4           4           4            4            4            4
1789071074          4           4           4           4           4           4           4           4           4            4            4            4
1789075731          4           4           4           4           4           4           4           4           4            4            4            4
1789076782          4           4           4           4           4           4           4           4           4            4            4            4
1789102677          4           4           4           4           4           3           4           4           4            4            4            4
1789107941          4           4           4           4           4           4           4           4           4            4            4            4
1789124710          4           4           4           4           4           4           4           4           4            4            4            4
1789142981          4           2           4           4           4           4           4           4           4            4            4            4
1789149328          4           4           4           4           4           4           4           4           2            4            4            4
1789163799          4           4           4           4           4           2           4           4           4            4            4            4
1789164847          4           4           4           4           2           2           4           4           4            4            4            4
1789164526          4           4           4           4           4           4           2           2           2            2            4            4
1789172217          4           4           4           4           4           4           4           4           4            4            4            4
1789185620          4           4           4           4           4           4           4           4           4            4            4            4
1789187157          4           2           4           4           4           4           4           4           4            4            2            4
1789189910          4           4           4           4           4           2           4           4           4            4            4            4
1789190919          4           4           4           4           4           4           4           4           4            4            4            4
1789207930          4           4           4           4           2           4           4           4           4            4            4            4
1789212032          4           4           4           4           4           4           4           4           4            4            4            4
1789213095          4           4           4           4           4           4           4           4           4            4            4            4
1789222618          4           4           4           4           4           4           1           1           1            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1788192782       4      4      1      4      1      4      4      4      4      4      4       4
1788219399       4      1      2      4      4      4      4      4      2      4      4       4
1788221599       4      4      4      4      4      2      4      4      4      4      4       4
1788945710       4      4      4      4      4      4      2      4      4      4      4       4
1789000944       4      4      3      4      1      4      1      4      4      2      4       1
1789004437       4      4      4      4      4      4      4      4      4      4      4       4
1789008335       4      4      4      4      4      4      4      4      4      4      4       4
1789010111       1      4      4      4      4      4      4      4      4      4      4       4
1789029910       1      4      1      4      4      4      4      4      1      4      4       1
1789031050       4      4      4      4      2      4      4      4      4      4      4       2
1789037238       4      4      4      4      4      4      4      4      4      4      4       4
1789038733       4      4      4      4      2      4      4      4      4      4      4       4
1789044633       4      4      2      4      2      4      4      4      4      4      4       4
1789071074       4      4      4      4      4      4      4      4      2      4      4       4
1789075731       4      4      4      4      1      4      4      4      4      4      4       4
1789076782       2      4      4      4      3      4      4      4      4      4      4       2
1789102677       4      2      4      4      4      4      4      4      1      4      4       4
1789107941       4      4      4      4      3      4      4      4      4      4      4       4
1789124710       4      4      4      4      4      4      4      4      2      4      4       4
1789142981       4      2      2      4      4      4      4      4      4      1      4       4
1789149328       4      4      4      4      4      3      4      4      4      4      4       4
1789163799       4      4      2      4      2      4      4      4      4      4      4       4
1789164847       4      4      2      4      2      4      2      4      4      4      4       3
1789164526       4      4      4      4      4      4      4      4      4      4      4       4
1789172217       4      4      3      4      4      4      4      4      4      4      4       4
1789185620       4      4      2      4      4      4      4      4      3      4      4       4
1789187157       4      4      2      4      3      4      4      3      4      4      4       2
1789189910       4      4      4      4      4      4      4      4      4      4      4       4
1789190919       2      4      4      4      1      4      4      4      4      4      4       4
1789207930       4      4      3      4      3      4      4      4      4      4      4       4
1789212032       4      4      4      4      1      4      4      4      4      4      4       4
1789213095       4      4      2      4      4      4      4      4      4      4      4       4
1789222618       4      4      4      4      4      4      4      4      1      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime          EndTime
1788192782       4      20         6   check      Check             1     7/5/2022 13:28:00 7/5/2022 13:41:00
1788219399       4      38         6   quality    quality           1     7/5/2022 13:53:00 7/5/2022 14:02:00
1788221599       4      38         6   survey     survey            1     7/5/2022 13:56:00 7/5/2022 14:06:00
1788945710       4      30         6   question   question          1     7/6/2022 10:00:00 7/6/2022 10:18:00
1789000944       1      20         6   check      Check             1     7/6/2022 10:58:00 7/6/2022 11:08:00
1789004437       4      38         6   quality    quality           1     7/6/2022 11:02:00 7/6/2022 11:13:00
1789008335       3      46         6   question   question          1     7/6/2022 11:07:00 7/6/2022 11:15:00
1789010111       4      38         6   survey     Survey            1     7/6/2022 11:09:00 7/6/2022 11:17:00
1789029910       1      38         6   check      Check             1     7/6/2022 11:30:00 7/6/2022 11:46:00
1789031050       4      20         6   question   question          1     7/6/2022 11:31:00 7/6/2022 11:49:00
1789037238       4      38         6   survey     Survey            1     7/6/2022 11:36:00 7/6/2022 12:06:00
1789038733       4      20         6   question   question          1     7/6/2022 11:38:00 7/6/2022 11:46:00
1789044633       4      20         6   survey     survey            1     7/6/2022 11:45:00 7/6/2022 12:32:00
1789071074       4      38         6   quality    quality           1     7/6/2022 12:09:00 7/6/2022 12:17:00
1789075731       4      51         6   survey     survey            1     7/6/2022 12:12:00 7/6/2022 12:28:00
1789076782       4      20         6   check      check             1     7/6/2022 12:13:00 7/6/2022 12:22:00
1789102677       2      38         6   quality    quality           1     7/6/2022 12:38:00 7/6/2022 12:46:00
1789107941       4      20         6   question   Question          1     7/6/2022 12:44:00 7/6/2022 13:04:00
1789124710       4      38         6   check      check             1     7/6/2022 13:01:00 7/6/2022 13:07:00
1789142981       4      30         6   survey     Survey            1     7/6/2022 13:21:00 7/6/2022 13:29:00
1789149328       4      30         6   question   question          1     7/6/2022 13:26:00 7/6/2022 13:50:00
1789163799       4      30         6   quality    quality           1     7/6/2022 13:42:00 7/6/2022 13:51:00
1789164847       4      30         6   quality    quality           1     7/6/2022 13:42:00 7/6/2022 13:52:00
1789164526       4      32         6   check      Check             1     7/6/2022 13:43:00 7/6/2022 13:52:00
1789172217       4       8         6   survey     survey            1     7/6/2022 13:50:00 7/6/2022 14:08:00
1789185620       4      38         6   question   question          1     7/6/2022 14:05:00 7/6/2022 14:12:00
1789187157       4      20         6   check      Check             1     7/6/2022 14:06:00 7/6/2022 14:14:00
1789189910       4      30         6   quality    quality           1     7/6/2022 14:09:00 7/6/2022 14:19:00
1789190919       4      20         6   question   question          1     7/6/2022 14:10:00 7/6/2022 14:18:00
1789207930       4      20         6   check      check             1     7/6/2022 14:28:00 7/6/2022 14:37:00
1789212032       4      20         6   survey     survey            1     7/6/2022 14:33:00 7/6/2022 14:40:00
1789213095       4      38         6   survey     survey            1     7/6/2022 14:34:00 7/6/2022 14:44:00
1789222618       4      38         6   question   question          1     7/6/2022 14:44:00 7/6/2022 15:25:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1789222374        4         1         2   NJ            0           0           1           0           0           0           0          5
1789227954        4         2         3   PA            0           0           0           0           0           0           1          2
1789236842        2         1         2   NJ            0           0           0           0           0           0           1          3
1789240576        1         2         3   DE            0           0           0           0           0           0           1          6
1789240202        2         2         4   PA            0           0           0           0           0           0           1          7
1789243038        4         2         4   PA            0           0           1           0           0           0           0          8
1789246545        3         2         4   NJ            0           0           0           0           0           0           1          8
1789249014        4         1         3   NJ            0           0           0           0           0           0           1          3
1789289111        2         1         3   NJ            0           0           0           0           0           0           1          8
1789314086        2         2         2   MD            0           0           0           0           0           0           1          3
1789318888        2         2         3   NJ            0           0           0           0           0           0           1          7
1789324745        2         2         2   PA            0           0           0           0           0           0           1          5
1789330455        4         1         4   PA            0           0           0           0           0           0           1          8
1789333431        4         2         4   PA            0           0           0           0           0           0           1          2
1789336382        3         2         3   NJ            0           0           0           0           0           0           1          8
1789341554        4         2         3   NJ            0           0           0           0           0           0           1          6
1789351396        4         2         4   PA            0           0           0           0           0           0           1          8
1789359690        3         2         3   PA            0           0           0           0           0           0           1          8
1789372104        4         2         4   PA            0           0           0           0           0           0           1          2
1789371975        4         2         3   PA            0           0           0           0           0           0           1          7
1789401721        4         2         3   MD            0           0           0           0           0           0           1          4
1789407359        2         1         3   NJ            0           0           0           0           0           0           1          8
1789409120        4         2         5   NJ            0           0           0           0           0           0           1          8
1789416156        2         1         2   NJ            0           0           0           0           0           0           1          2
1789450904        2         1         2   PA            0           0           0           0           0           0           1          4
1789458626        3         1         5   NJ            0           0           0           0           0           0           1          7
1789523930        4         1         3   PA            0           0           0           0           0           0           1          7
1789528537        4         1         2   MD            0           0           0           0           0           0           1          5
1789532199        4         1         3   NJ            0           0           0           0           0           0           1          2
1789542962        2         1         3   MD            0           0           0           0           0           0           1          7
1789545249        4         1         4   NJ            0           0           0           0           0           0           1          8
1789593669        1         1         3   MD            0           0           0           0           0           0           1          7
1789613467        4         1         2   PA            0           0           0           0           0           0           1          5


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1789222374          4           4           4           4           4           1           4           4           4            4            4            4
1789227954          4           4           4           4           4           4           4           4           4            4            4            4
1789236842          4           4           4           4           4           2           4           4           4            4            4            4
1789240576          4           4           4           4           4           4           4           4           4            4            4            4
1789240202          4           4           4           4           4           4           4           4           4            4            4            4
1789243038          4           4           4           4           4           4           4           4           4            4            4            4
1789246545          4           4           4           4           4           3           4           4           2            4            4            4
1789249014          4           4           4           4           4           3           4           4           4            4            4            4
1789289111          1           1           4           4           4           4           3           2           4            4            4            4
1789314086          4           4           4           4           4           4           4           4           4            4            4            4
1789318888          4           4           4           4           4           4           4           4           4            4            4            4
1789324745          4           4           4           4           4           4           4           4           4            4            4            4
1789330455          4           4           4           4           4           4           4           4           4            4            4            4
1789333431          4           4           4           4           4           4           4           4           4            4            4            4
1789336382          2           4           4           4           4           4           4           4           4            4            4            3
1789341554          4           4           4           4           4           2           4           4           4            4            4            4
1789351396          4           4           4           4           4           1           4           4           4            4            4            4
1789359690          4           4           4           2           4           1           4           4           4            4            4            4
1789372104          4           4           4           1           4           1           4           4           4            4            4            4
1789371975          4           4           4           4           4           4           4           4           4            4            4            4
1789401721          4           4           4           1           4           4           4           4           4            4            4            4
1789407359          4           4           4           4           4           2           4           4           4            4            4            4
1789409120          4           4           4           4           4           4           4           4           4            4            4            4
1789416156          4           4           4           1           4           1           4           4           4            4            4            4
1789450904          4           4           4           4           4           1           4           4           4            1            4            4
1789458626          4           4           4           4           4           3           4           4           4            4            4            4
1789523930          4           4           4           4           4           2           4           4           4            4            4            4
1789528537          4           4           4           4           4           4           4           4           2            4            4            4
1789532199          4           4           4           1           1           3           4           4           4            4            4            4
1789542962          4           4           4           4           4           4           4           4           4            4            4            4
1789545249          4           4           4           1           2           3           4           4           4            4            4            4
1789593669          4           4           4           4           4           4           4           4           4            4            4            4
1789613467          4           4           4           2           4           2           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1789222374       4      4      4      4      4      4      4      4      1      4      4       4
1789227954       4      4      4      4      4      4      4      4      1      4      4       4
1789236842       4      4      4      4      4      4      4      4      4      4      4       4
1789240576       4      4      3      4      4      4      4      4      4      4      4       4
1789240202       4      4      4      4      4      4      4      4      1      4      4       4
1789243038       4      4      4      4      4      4      4      4      3      4      4       4
1789246545       4      4      4      4      4      4      2      4      4      4      4       4
1789249014       4      4      4      4      4      4      4      4      4      4      4       4
1789289111       4      4      4      4      4      4      4      4      2      4      4       4
1789314086       4      4      4      4      3      4      4      4      4      4      4       4
1789318888       4      4      2      4      4      4      4      4      4      4      4       4
1789324745       4      4      4      4      4      4      4      4      2      4      4       4
1789330455       4      4      4      4      4      4      4      4      3      4      4       4
1789333431       1      4      4      4      4      4      4      4      4      1      4       4
1789336382       3      4      4      4      4      4      4      4      4      4      4       4
1789341554       4      4      4      3      4      4      4      4      4      4      4       4
1789351396       4      4      4      4      4      4      4      4      4      4      4       4
1789359690       4      4      4      4      4      4      4      4      4      4      4       4
1789372104       4      4      4      4      4      4      4      4      4      4      4       4
1789371975       4      4      2      4      4      1      4      4      4      4      4       4
1789401721       4      4      4      4      1      4      1      4      4      4      4       4
1789407359       4      4      4      4      4      4      4      4      4      4      4       4
1789409120       4      4      4      4      4      4      4      4      2      4      4       3
1789416156       4      4      4      4      4      1      4      4      4      4      4       4
1789450904       4      4      4      4      4      4      4      4      4      4      4       4
1789458626       4      4      4      4      4      4      4      4      4      4      4       4
1789523930       4      4      4      4      4      4      4      4      2      4      4       4
1789528537       2      2      2      4      1      1      4      4      4      4      4       4
1789532199       1      2      4      4      4      4      4      4      4      4      4       4
1789542962       4      4      4      4      3      1      4      4      4      4      4       4
1789545249       4      4      4      4      4      4      4      4      4      4      4       4
1789593669       4      4      2      4      2      4      4      4      4      4      4       4
1789613467       4      4      1      4      4      4      4      4      1      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime           EndTime
1789222374       4      30         6   check      Check             1     7/6/2022 14:45:00 7/6/2022 14:57:00
1789227954       4      38         6   quality    Quality           1     7/6/2022 14:50:00 7/6/2022 14:58:00
1789236842       4      30         6   survey     survey            1     7/6/2022 15:00:00 7/6/2022 15:08:00
1789240576       4       8         6   check      check             1     7/6/2022 15:04:00 7/6/2022 15:10:00
1789240202       1      38         6   quality    quality           1     7/6/2022 15:05:00 7/6/2022 15:22:00
1789243038       4      38         6   question   question          1     7/6/2022 15:08:00 7/6/2022 15:28:00
1789246545       4      30         6   question   question          1     7/6/2022 15:11:00 7/6/2022 15:32:00
1789249014       4      30         6   survey     survey            1     7/6/2022 15:14:00 7/6/2022 15:23:00
1789289111       4      32         6   check      check             1     7/6/2022 15:59:00 7/6/2022 16:09:00
1789314086       4      20         6   quality    quality           1     7/6/2022 16:27:00 7/6/2022 16:43:00
1789318888       4      30         6   survey     survey            1     7/6/2022 16:34:00 7/6/2022 16:55:00
1789324745       4      38         6   quality    quality           1     7/6/2022 16:39:00 7/6/2022 16:48:00
1789330455       4      38         6   question   question          1     7/6/2022 16:46:00 7/6/2022 16:56:00
1789333431       4      38         6   check      Check             1     7/6/2022 16:50:00 7/6/2022 17:13:00
1789336382       4      30         6   check      Check             1     7/6/2022 16:53:00 7/6/2022 17:24:00
1789341554       4      30         6   check      check             1     7/6/2022 16:59:00 7/6/2022 17:05:00
1789351396       4      30         6   survey     Survey            1     7/6/2022 17:11:00 7/6/2022 17:35:00
1789359690       4      38         6   survey     survey            1     7/6/2022 17:21:00 7/6/2022 17:51:00
1789372104       4      38         6   quality    quality           1     7/6/2022 17:36:00 7/6/2022 17:49:00
1789371975       4      38         6   quality    Quality           1     7/6/2022 17:36:00 7/6/2022 17:48:00
1789401721       4      20         6   question   Question          1     7/6/2022 18:13:00 7/6/2022 18:33:00
1789407359       4      30         6   check      check             1     7/6/2022 18:21:00 7/6/2022 19:12:00
1789409120       4      38         6   survey     survey            1     7/6/2022 18:23:00 7/6/2022 18:32:00
1789416156       1      30         6   quality    quality           1     7/6/2022 18:33:00 7/6/2022 18:42:00
1789450904       4      38         6   question   question          1     7/6/2022 19:25:00 7/6/2022 19:37:00
1789458626       4      30         6   question   Question          1     7/6/2022 19:37:00 7/6/2022 19:49:00
1789523930       4      38         6   survey     survey            1     7/6/2022 21:21:00 7/6/2022 21:28:00
1789528537       4      20         6   check      check             1     7/6/2022 21:28:00 7/6/2022 21:47:00
1789532199       4      30         6   quality    quality           1     7/6/2022 21:34:00 7/6/2022 21:51:00
1789542962       4      20         6   check      check             1     7/6/2022 21:54:00 7/6/2022 22:03:00
1789545249       4      30         6   quality    Quality           1     7/6/2022 21:58:00 7/6/2022 22:07:00
1789593669       2      20         6   survey     survey            1     7/6/2022 23:31:00 7/6/2022 23:44:00
1789613467       4      38         6   check      check             1      7/7/2022 0:20:00    7/7/2022 0:28:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1789619032        4         1         3   NJ            0           0           0           0           0           0           1          7
1790036429        4         2         2   PA            0           0           0           0           0           0           1          7
1790039489        2         2         5   MD            0           0           0           0           0           0           1          7
1790062906        2         1         4   MD            0           0           0           0           0           0           1          7
1790075040        1         2         4   MD            0           0           0           0           0           0           1          7
1790095918        2         2         4   MD            0           0           1           0           0           0           0          8
1790115508        2         1         3   PA            0           0           1           0           0           0           0          8
1790119154        3         1         3   NJ            0           0           1           0           0           0           0          7
1790129499        1         2         5   MD            0           0           0           0           0           0           1          7
1790136042        4         2         4   PA            0           0           0           0           0           0           1          7
1790140628        2         2         4   PA            0           0           0           0           0           0           1          7
1790144646        4         2         2   NJ            0           0           1           0           0           0           0          5
1790164377        4         2         3   MD            0           0           0           0           0           0           1          8
1790172402        4         2         2   MD            0           0           0           0           0           0           1          7
1790176061        4         2         4   MD            0           0           0           0           0           0           1          8
1790177494        4         2         3   PA            0           0           0           0           0           0           1          7
1790191089        4         2         3   NJ            0           0           0           0           0           0           1          6
1790194413        4         2         3   PA            0           0           0           0           0           0           1          6
1790210578        4         2         2   PA            0           0           0           0           0           0           1          6
1790222383        4         2         2   PA            0           0           0           0           0           0           1          6
1790231032        2         1         4   NJ            0           0           0           0           0           0           1          8
1790260053        2         2         2   PA            0           0           1           0           0           0           0          6
1790260245        4         2         2   PA            0           0           0           0           0           0           1          5
1790266729        1         2         5   PA            0           0           0           0           0           0           1          6
1790268714        1         2         3   MD            0           0           1           0           0           0           0          7
1790279623        2         2         3   DE            0           0           0           0           0           0           1          7
1790287050        2         2         4   MD            0           0           0           0           0           0           1          6
1790290133        4         2         3   PA            0           0           0           0           0           0           1          8
1790299614        2         2         2   PA            0           0           0           0           0           0           1          5
1790301416        2         2         5   PA            0           0           0           0           0           0           1          8
1790332134        4         1         2   PA            0           0           0           0           0           0           1          5
1790332862        1         1         3   NJ            0           0           0           0           0           0           1          7
1790333129        2         1         2   MD            0           0           0           0           0           0           1          4


                                                                                                                                          M-49
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                                            Exhibit M: Screener Data Listing

AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1789619032          4           4           4           4           4           2           4           4           4            4            4            4
1790036429          4           4           4           4           4           4           4           4           4            4            4            4
1790039489          4           4           4           4           4           4           4           4           4            4            4            4
1790062906          4           4           4           4           4           4           4           4           4            4            4            4
1790075040          4           1           4           1           4           4           4           4           4            4            4            4
1790095918          4           4           4           4           4           4           4           4           4            4            4            4
1790115508          4           4           4           4           4           4           4           4           4            4            4            4
1790119154          4           4           4           4           4           3           4           4           4            4            4            4
1790129499          4           4           4           4           4           4           4           4           4            4            4            4
1790136042          4           4           4           4           4           4           4           4           4            4            4            4
1790140628          4           4           4           4           4           4           4           4           4            4            4            4
1790144646          4           2           4           4           4           4           4           4           4            4            4            4
1790164377          4           4           4           4           4           4           4           4           4            4            4            4
1790172402          4           4           4           4           4           4           4           4           4            4            4            4
1790176061          4           4           4           4           4           4           4           4           4            4            4            4
1790177494          4           4           4           1           1           4           4           4           4            4            4            4
1790191089          4           4           4           4           4           3           4           4           4            4            4            4
1790194413          4           4           4           4           4           4           4           4           4            4            4            4
1790210578          4           4           4           4           4           4           4           4           4            2            4            4
1790222383          4           4           4           4           4           4           4           4           4            4            4            4
1790231032          4           4           4           4           4           2           4           4           4            4            4            4
1790260053          4           4           4           4           4           4           2           2           4            2            4            4
1790260245          4           4           4           4           4           4           4           4           4            4            4            4
1790266729          4           4           4           4           4           4           4           4           4            4            4            4
1790268714          4           4           4           4           4           4           4           4           4            4            4            4
1790279623          4           4           4           4           4           4           4           4           4            4            4            4
1790287050          4           4           4           4           1           4           4           4           4            4            4            4
1790290133          4           4           4           4           4           4           4           4           4            4            4            4
1790299614          4           4           4           4           4           4           4           4           4            4            4            4
1790301416          4           4           4           2           4           3           4           4           4            4            4            4
1790332134          4           4           4           4           4           4           4           4           4            4            4            4
1790332862          4           4           4           4           4           1           4           4           4            4            4            4
1790333129          4           4           4           4           4           4           4           4           4            4            4            4


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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1789619032       4      4      4      4      4      4      4      4      4      4      4       4
1790036429       4      4      4      4      4      4      4      4      1      4      4       4
1790039489       4      4      4      4      3      4      4      4      4      4      4       4
1790062906       4      4      4      4      4      4      3      4      4      4      4       4
1790075040       4      1      1      4      3      1      4      4      4      4      4       4
1790095918       4      4      4      4      1      4      4      4      1      4      4       4
1790115508       4      2      3      4      4      4      4      4      4      4      4       4
1790119154       4      4      4      4      4      4      4      4      4      1      4       4
1790129499       4      4      4      4      2      4      4      4      4      4      4       4
1790136042       4      4      4      4      4      4      4      4      3      4      4       4
1790140628       4      4      4      4      4      4      4      4      1      4      4       4
1790144646       4      4      4      4      2      4      4      4      4      4      4       4
1790164377       4      4      4      4      2      4      4      4      4      4      4       4
1790172402       4      4      3      4      2      4      4      4      4      4      4       4
1790176061       4      4      4      4      2      4      4      4      4      4      4       4
1790177494       4      4      4      4      4      4      4      4      1      4      4       4
1790191089       4      4      4      4      4      4      4      4      4      4      4       4
1790194413       4      4      4      4      4      4      4      4      1      4      4       4
1790210578       4      4      4      4      2      4      3      4      3      4      4       4
1790222383       4      4      4      4      4      4      4      4      1      4      4       4
1790231032       4      4      4      4      4      4      4      4      4      4      4       4
1790260053       4      4      4      4      4      4      4      4      4      4      4       4
1790260245       4      4      4      4      4      4      4      4      2      4      4       4
1790266729       4      4      4      4      4      4      4      4      2      4      4       4
1790268714       4      4      4      4      3      4      4      4      4      4      4       4
1790279623       4      4      3      4      2      4      4      4      4      4      4       4
1790287050       4      4      4      4      3      4      4      4      4      4      4       4
1790290133       4      4      4      4      4      4      4      4      2      4      4       4
1790299614       4      4      2      4      4      4      4      4      4      4      4       4
1790301416       4      4      4      4      4      4      4      4      4      4      4       4
1790332134       4      4      4      4      2      4      4      4      4      4      4       4
1790332862       4      4      4      4      4      4      4      4      4      4      4       4
1790333129       4      4      4      4      1      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime           EndTime
1789619032       4      30         6   survey     survey            1      7/7/2022 0:32:00    7/7/2022 0:40:00
1790036429       4      38         6   question   Question          1     7/7/2022 11:55:00 7/7/2022 12:03:00
1790039489       4      20         6   survey     survey            1     7/7/2022 11:59:00 7/7/2022 12:31:00
1790062906       3      23         6   quality    quality           1     7/7/2022 12:22:00 7/7/2022 12:34:00
1790075040       4      20         6   question   question          1     7/7/2022 12:34:00 7/7/2022 13:18:00
1790095918       4      20         6   check      check             1     7/7/2022 12:54:00 7/7/2022 13:08:00
1790115508       4       7         6   question   question          1     7/7/2022 13:14:00 7/7/2022 13:31:00
1790119154       4      29         6   survey     survey            1     7/7/2022 13:17:00 7/7/2022 13:36:00
1790129499       4      20         6   quality    quality           1     7/7/2022 13:27:00 7/7/2022 13:37:00
1790136042       4      38         6   check      check             1     7/7/2022 13:34:00 7/7/2022 13:46:00
1790140628       4      38         6   check      check             1     7/7/2022 13:39:00 7/7/2022 13:45:00
1790144646       4      30         6   quality    quality           1     7/7/2022 13:43:00 7/7/2022 13:57:00
1790164377       4      20         6   question   Question          1     7/7/2022 14:05:00 7/7/2022 14:19:00
1790172402       4      20         6   question   question          1     7/7/2022 14:14:00 7/7/2022 14:28:00
1790176061       4      20         6   survey     survey            1     7/7/2022 14:17:00 7/7/2022 14:42:00
1790177494       4      38         6   survey     Survey            1     7/7/2022 14:19:00 7/7/2022 14:27:00
1790191089       4      30         6   quality    Quality           1     7/7/2022 14:35:00 7/7/2022 14:44:00
1790194413       4      38         6   check      Check             1     7/7/2022 14:39:00 7/7/2022 14:51:00
1790210578       4      38         6   quality    quality           1     7/7/2022 14:55:00 7/7/2022 15:07:00
1790222383       4      38         6   question   Question          1     7/7/2022 15:09:00 7/7/2022 15:28:00
1790231032       4      30         6   question   question          1     7/7/2022 15:21:00 7/7/2022 15:48:00
1790260053       4      32         6   survey     survey            1     7/7/2022 15:51:00 7/7/2022 16:50:00
1790260245       4      38         6   survey     survey            1     7/7/2022 15:53:00 7/7/2022 16:23:00
1790266729       4      38         6   quality    quality           1     7/7/2022 15:59:00 7/7/2022 16:28:00
1790268714       4      20         6   quality    quality           1     7/7/2022 16:02:00 7/7/2022 16:11:00
1790279623       4       8         6   survey     survey            1     7/7/2022 16:14:00 7/7/2022 16:24:00
1790287050       4      20         6   survey     survey            1     7/7/2022 16:24:00 7/7/2022 16:43:00
1790290133       4      38         6   check      Check             1     7/7/2022 16:28:00 7/7/2022 16:38:00
1790299614       4      38         6   question   question          1     7/7/2022 16:37:00 7/7/2022 16:46:00
1790301416       4      30         6   check      check             1     7/7/2022 16:40:00 7/7/2022 16:50:00
1790332134       3      38         6   question   Question          1     7/7/2022 17:17:00 7/7/2022 17:30:00
1790332862       4      30         6   quality    quality           1     7/7/2022 17:18:00 7/7/2022 17:26:00
1790333129       4      20         6   survey     survey            1     7/7/2022 17:19:00 7/7/2022 17:25:00


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                                          Exhibit M: Screener Data Listing

AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1790340220        2         2         2   NJ            0           0           0           0           0           0           1          5
1790343421        4         2         3   NJ            0           0           0           0           0           0           1          8
1790344820        1         2         4   PA            0           0           0           0           0           0           1          5
1790370608        2         2         4   NJ            0           0           0           0           0           0           1          8
1790374190        4         1         4   DE            0           0           0           0           0           0           1          6
1790379347        4         2         3   NJ            0           0           0           0           0           0           1          7
1790414475        2         2         2   MD            0           0           0           0           0           0           1          2
1790419521        3         2         3   NJ            0           0           0           0           0           0           1          6
1790426262        4         2         3   MD            0           0           0           0           0           0           1          6
1790429049        3         2         2   NJ            0           0           0           0           0           0           1          6
1790433210        1         1         2   MD            0           0           0           0           0           0           1          5
1790438909        4         1         2   NJ            0           0           0           0           0           0           1          2
1790546652        1         1         2   CA            0           0           1           0           0           0           0          5
1790581534        4         1         4   PA            0           0           0           0           0           0           1          8
1790614142        2         1         3   PA            0           0           0           0           0           0           1          8
1790699941        1         1         3   NJ            0           0           0           0           0           0           1          5
1790713523        4         1         3   PA            0           0           0           0           0           0           1          7
1790759919        2         1         3   PA            0           0           0           0           0           0           1          8
1790827631        2         1         4   MD            0           0           0           0           0           0           1          8
1790847303        2         1         3   NJ            0           0           0           0           0           0           1          7
1790851184        3         1         3   PA            0           0           0           0           0           0           1          7
1790874374        4         1         3   NJ            0           0           0           0           0           0           1          6
1790936264        2         1         3   MD            0           0           0           0           0           0           1          6
1790974452        2         1         3   NJ            0           0           0           0           0           0           1          8
1791123699        4         1         3   NJ            0           0           0           0           0           0           1          7
1791229265        4         1         4   PA            0           0           0           0           0           0           1          8
1791302452        2         2         4   PA            0           0           0           0           0           0           1          8
1791309762        4         2         2   PA            0           0           1           0           0           0           0          5
1791310474        4         2         3   PA            0           0           0           0           0           0           1          7
1791312896        4         2         3   PA            0           0           0           0           0           0           1          2
1790823166        4         1         2   MD            0           0           0           0           0           0           1          4
1791333150        3         1         2   PA            0           0           0           0           0           0           1          5
1791366526        4         2         3   PA            0           0           0           0           0           0           1          8


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1790340220          4           3           4           2           4           2           4           4           4            4            4            4
1790343421          4           4           4           4           2           2           4           4           4            4            4            4
1790344820          4           4           4           4           4           2           4           4           4            4            4            4
1790370608          4           4           4           4           4           2           4           4           4            4            4            4
1790374190          4           4           4           4           4           3           4           4           4            4            4            4
1790379347          4           4           4           4           4           4           4           4           4            4            4            4
1790414475          4           4           4           4           4           1           1           4           4            4            4            1
1790419521          4           4           4           2           2           3           2           2           2            2            4            4
1790426262          4           4           4           1           4           4           4           4           4            4            4            4
1790429049          4           4           4           4           4           3           4           4           4            4            4            4
1790433210          4           4           4           4           4           4           4           4           4            4            4            4
1790438909          4           4           4           4           4           2           4           4           4            4            4            4
1790546652          1           1           4           1           4           4           2           4           4            4            1            2
1790581534          4           4           4           4           4           4           4           4           4            4            4            4
1790614142          4           2           4           1           4           4           4           4           1            4            1            4
1790699941          4           4           4           4           4           2           4           4           4            4            4            4
1790713523          4           2           4           4           4           2           4           4           4            4            4            4
1790759919          4           4           4           4           4           4           4           4           4            4            4            4
1790827631          4           2           4           4           4           4           4           4           4            4            4            4
1790847303          4           4           4           4           4           3           4           2           4            4            4            4
1790851184          4           4           4           4           4           2           4           4           4            4            4            4
1790874374          4           4           4           4           4           2           4           4           4            4            4            4
1790936264          4           4           4           4           4           4           4           4           4            4            4            4
1790974452          4           4           4           4           4           2           4           4           4            4            4            4
1791123699          4           4           4           4           2           2           4           4           4            4            4            4
1791229265          4           4           4           4           4           4           4           4           4            4            4            4
1791302452          4           4           4           4           4           4           4           4           4            4            4            4
1791309762          4           4           4           4           4           2           4           4           4            4            4            4
1791310474          4           4           4           4           4           4           4           4           4            4            4            4
1791312896          4           4           4           4           4           1           4           4           4            4            4            4
1790823166          4           4           4           4           4           4           4           4           4            4            4            4
1791333150          4           4           4           4           4           2           4           4           4            4            4            4
1791366526          4           4           4           4           4           4           4           4           4            4            4            4


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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1790340220       4      4      4      4      1      1      4      4      4      4      4       4
1790343421       4      2      2      4      4      4      4      4      4      4      4       4
1790344820       4      4      2      4      4      4      4      4      4      4      4       4
1790370608       4      4      4      4      4      4      4      4      4      4      4       4
1790374190       4      4      2      4      4      4      4      4      4      4      4       4
1790379347       4      4      4      4      4      2      4      4      4      4      4       4
1790414475       4      4      1      4      1      4      4      4      4      4      4       4
1790419521       2      2      2      2      2      2      2      4      4      4      4       2
1790426262       4      4      4      4      4      4      4      4      4      4      4       4
1790429049       4      4      4      4      4      4      4      4      4      4      4       4
1790433210       4      4      4      4      1      4      4      4      4      4      4       4
1790438909       4      4      4      4      4      4      4      4      4      4      4       4
1790546652       4      4      1      4      4      4      4      4      3      4      4       4
1790581534       4      4      4      4      4      4      4      4      1      4      4       4
1790614142       1      4      4      4      4      4      4      4      4      4      4       4
1790699941       4      4      4      4      4      4      4      4      4      4      4       4
1790713523       4      4      2      4      4      4      4      4      2      4      4       4
1790759919       4      4      4      4      4      4      4      4      3      4      4       4
1790827631       4      4      4      4      2      4      4      4      4      4      4       2
1790847303       4      4      4      4      4      4      4      4      4      4      4       4
1790851184       4      4      2      4      4      4      4      4      4      4      4       4
1790874374       4      4      1      4      4      4      4      4      2      4      4       4
1790936264       4      4      4      4      3      4      4      4      4      4      4       4
1790974452       4      4      4      4      4      4      4      4      4      4      4       4
1791123699       4      2      2      4      2      2      2      4      4      4      4       3
1791229265       4      4      4      4      4      4      4      4      1      4      4       4
1791302452       4      4      4      4      4      4      4      4      2      4      4       4
1791309762       4      4      4      4      4      4      4      4      2      4      4       4
1791310474       4      4      4      4      4      4      4      4      4      4      4       4
1791312896       4      4      4      4      4      4      4      4      4      4      4       4
1790823166       4      4      4      4      2      4      4      4      4      4      4       4
1791333150       4      4      1      4      4      4      4      4      4      4      4       4
1791366526       4      4      2      4      4      4      4      4      4      4      4       4


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                                        Exhibit M: Screener Data Listing

AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime           EndTime
1790340220       4      30         6   quality    quality           1     7/7/2022 17:27:00 7/7/2022 17:42:00
1790343421       2      30         6   check      Check             1     7/7/2022 17:31:00 7/7/2022 17:43:00
1790344820       4      38         6   question   question          1     7/7/2022 17:33:00 7/7/2022 17:40:00
1790370608       4      30         6   survey     survey            1     7/7/2022 18:07:00 7/7/2022 18:18:00
1790374190       4       8         6   question   question          1     7/7/2022 18:13:00 7/7/2022 18:32:00
1790379347       1      38         6   quality    Quality           1     7/7/2022 18:19:00 7/7/2022 18:31:00
1790414475       1      20         6   check      check             1     7/7/2022 19:12:00 7/7/2022 19:24:00
1790419521       2      30         6   survey     Survey            1     7/7/2022 19:19:00 7/7/2022 19:28:00
1790426262       4      22         6   question   question          1     7/7/2022 19:29:00 7/7/2022 19:50:00
1790429049       4      30         6   quality    Quality           1     7/7/2022 19:35:00 7/7/2022 19:44:00
1790433210       4      20         6   check      check             1     7/7/2022 19:41:00 7/7/2022 19:48:00
1790438909       4      30         6   question   question          1     7/7/2022 19:51:00 7/7/2022 19:56:00
1790546652       1       5         6   survey     survey            1     7/7/2022 23:13:00 7/7/2022 23:23:00
1790581534       4      38         6   question   question          1      7/8/2022 0:39:00    7/8/2022 0:53:00
1790614142       4      38         6   survey     survey            1      7/8/2022 2:13:00    7/8/2022 2:23:00
1790699941       4      30         6   quality    quality           1      7/8/2022 5:42:00    7/8/2022 5:47:00
1790713523       4      38         6   check      check             1      7/8/2022 6:11:00    7/8/2022 6:20:00
1790759919       4      38         6   check      check             1      7/8/2022 7:36:00    7/8/2022 8:00:00
1790827631       2      20         6   question   question          1      7/8/2022 9:08:00    7/8/2022 9:18:00
1790847303       4      32         6   survey     survey            1      7/8/2022 9:32:00    7/8/2022 9:52:00
1790851184       4      38         6   quality    quality           1      7/8/2022 9:36:00    7/8/2022 9:42:00
1790874374       4      38         6   check      Check             1     7/8/2022 10:03:00 7/8/2022 10:09:00
1790936264       4      20         6   question   question          1     7/8/2022 11:09:00 7/8/2022 11:19:00
1790974452       4      30         6   survey     survey            1     7/8/2022 11:53:00 7/8/2022 12:01:00
1791123699       4      30         6   quality    Quality           1     7/8/2022 14:36:00 7/8/2022 14:48:00
1791229265       4      38         6   quality    Quality           1     7/8/2022 16:40:00 7/8/2022 16:48:00
1791302452       4      38         6   check      check             1     7/8/2022 18:25:00 7/8/2022 18:40:00
1791309762       4      38         6   question   Question          1     7/8/2022 18:36:00 7/8/2022 18:48:00
1791310474       1      38         6   survey     Survey            1     7/8/2022 18:37:00 7/8/2022 18:48:00
1791312896       4      38         6   check      check             1     7/8/2022 18:44:00 7/8/2022 19:05:00
1790823166       4      20         6   question   question          1     7/8/2022 18:53:00 7/8/2022 19:21:00
1791333150       4      38         6   survey     Survey            1     7/8/2022 19:14:00 7/8/2022 19:24:00
1791366526       4      38         6   quality    Quality           1     7/8/2022 20:13:00 7/8/2022 20:40:00


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                                          Exhibit M: Screener Data Listing

AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1791367286        1         2         4   NJ            0           0           0           0           0           0           1          7
1791375983        4         2         4   NJ            0           0           0           0           0           0           1          8
1791381403        2         2         2   PA            0           0           0           0           0           0           1          7
1791385544        4         2         2   NJ            0           0           0           0           0           0           1          6
1791389262        2         2         4   PA            0           0           0           0           0           0           1          8
1791393450        4         2         4   NJ            0           0           0           0           0           0           1          7
1791401426        2         2         3   NJ            0           0           0           0           0           0           1          7
1791406705        4         2         3   NJ            0           0           0           0           0           0           1          8
1791410648        4         2         2   PA            0           0           1           0           0           0           0          7
1791413678        2         2         2   NJ            0           0           0           0           0           0           1          2
1791417600        4         2         3   PA            0           0           0           0           0           0           1          7
1791417997        1         2         5   MD            0           0           0           0           0           0           1          8
1791423391        1         2         2   NJ            0           0           0           0           0           0           1          5
1791431097        3         1         3   NJ            0           0           0           0           0           0           1          7
1791437149        3         2         4   DE            0           0           0           0           0           0           1          7
1791442189        4         2         3   NJ            0           0           0           0           0           0           1          8
1791448760        4         2         3   MD            0           0           0           0           0           0           1          5
1791454952        4         2         2   PA            0           0           0           0           0           0           1          6
1791463118        4         2         3   PA            0           0           0           0           0           0           1          7
1791485937        4         2         3   PA            0           0           0           0           0           0           1          5
1791508946        4         1         2   MD            0           0           0           0           0           0           1          4
1791596556        2         1         5   MD            0           0           0           0           0           0           1          8
1791633644        4         1         4   NJ            0           0           0           0           0           0           1          8
1791721245        1         1         3   PA            0           0           0           0           0           0           1          7
1791733729        2         1         4   MD            0           0           0           0           0           0           1          7
1791759922        1         1         3   NJ            0           0           0           0           0           0           1          8
1791805035        2         1         3   MD            0           0           0           0           0           0           1          8
1791871513        4         1         3   MD            0           0           0           0           0           0           1          6
1792036494        4         1         4   PA            0           0           0           0           0           0           1          6
1792103079        3         1         4   NJ            0           0           0           0           0           0           1          7
1792107947        1         1         3   NJ            0           0           0           0           0           0           1          7
1792125230        4         1         3   DE            0           0           0           0           0           0           1          6
1792171137        4         1         4   PA            0           0           0           0           0           0           1          6


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1791367286          4           4           4           4           4           3           4           4           4            4            4            4
1791375983          4           4           4           4           4           3           4           4           4            4            4            4
1791381403          4           4           4           4           4           4           4           4           4            4            4            4
1791385544          4           4           4           4           4           2           4           4           4            4            4            4
1791389262          4           4           4           4           4           4           4           4           4            4            4            4
1791393450          4           4           4           4           4           2           4           4           4            4            4            4
1791401426          4           4           4           4           4           4           4           4           4            4            4            4
1791406705          4           4           4           4           4           4           4           2           2            4            4            4
1791410648          4           4           4           4           4           4           4           4           4            4            4            4
1791413678          4           4           4           4           4           4           4           4           4            4            4            1
1791417600          4           4           4           4           4           4           4           4           4            4            4            4
1791417997          4           4           4           4           4           4           4           4           4            4            4            4
1791423391          4           4           4           4           2           2           4           4           4            4            4            4
1791431097          4           4           4           4           4           3           4           4           4            4            4            4
1791437149          4           4           4           4           4           4           4           4           4            4            4            4
1791442189          4           4           4           4           4           3           4           4           4            4            4            4
1791448760          4           4           4           1           1           4           4           4           4            4            4            4
1791454952          4           4           4           4           4           4           4           4           4            4            4            4
1791463118          4           4           4           4           4           4           4           4           4            4            4            4
1791485937          4           4           4           4           4           4           4           4           4            4            4            4
1791508946          4           4           4           4           4           4           4           4           4            4            4            4
1791596556          3           4           4           4           4           4           4           4           4            4            4            4
1791633644          4           4           4           4           4           2           1           4           4            4            4            4
1791721245          4           4           4           4           4           4           4           4           4            4            4            4
1791733729          4           4           4           4           4           4           4           3           3            2            2            4
1791759922          4           4           4           4           4           3           4           4           4            4            4            4
1791805035          4           4           4           2           4           4           4           4           4            4            4            4
1791871513          4           4           4           4           4           4           4           4           4            4            4            4
1792036494          4           4           4           3           4           4           4           4           4            4            4            4
1792103079          4           4           4           4           4           1           4           4           4            4            4            4
1792107947          4           4           4           4           4           2           4           4           4            4            4            4
1792125230          4           4           4           4           4           1           4           4           4            4            4            4
1792171137          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1791367286       4      4      4      4      4      4      4      4      4      4      4       4
1791375983       4      4      4      3      4      4      4      4      4      4      4       4
1791381403       4      4      4      4      4      4      4      4      1      4      4       4
1791385544       4      4      4      4      4      4      4      4      4      4      4       4
1791389262       4      4      4      4      4      4      4      4      3      4      4       4
1791393450       4      4      4      4      4      4      4      4      4      4      4       4
1791401426       4      4      2      4      4      4      4      4      4      4      4       4
1791406705       4      4      4      4      4      4      4      4      4      4      4       4
1791410648       4      4      4      4      4      4      4      4      2      4      4       4
1791413678       4      1      4      4      4      1      4      4      4      4      4       1
1791417600       4      4      4      4      4      4      4      4      3      4      4       4
1791417997       4      4      4      4      3      4      4      4      4      4      4       2
1791423391       4      4      4      4      4      4      2      4      4      4      4       4
1791431097       4      4      4      4      4      4      4      4      4      4      4       4
1791437149       4      4      3      4      4      4      4      4      4      4      4       4
1791442189       4      4      4      4      4      4      4      4      4      4      4       4
1791448760       4      4      4      4      2      4      4      4      4      4      4       4
1791454952       4      4      4      4      4      4      4      4      1      4      4       4
1791463118       4      4      2      4      2      4      4      4      2      4      4       4
1791485937       1      4      1      4      1      4      4      4      4      4      4       4
1791508946       4      4      4      4      4      4      4      4      4      4      4       4
1791596556       4      4      4      4      1      4      4      4      4      4      4       4
1791633644       4      4      1      4      4      4      4      4      4      4      4       4
1791721245       4      1      4      4      4      4      4      4      3      4      4       1
1791733729       4      4      4      4      3      4      4      4      4      4      4       2
1791759922       4      4      4      4      4      4      4      4      4      4      4       4
1791805035       4      4      4      4      4      4      4      4      4      4      4       4
1791871513       4      4      4      4      2      4      4      4      4      4      4       1
1792036494       4      4      4      4      4      4      4      4      4      4      4       4
1792103079       4      4      4      4      4      4      4      4      4      4      4       4
1792107947       4      4      4      4      4      4      4      4      4      4      4       4
1792125230       4      4      3      4      4      4      4      4      4      4      4       4
1792171137       4      4      3      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime           EndTime
1791367286       4      30         6   quality    quality           1     7/8/2022 20:24:00 7/8/2022 20:49:00
1791375983       4      30         6   survey     Survey            1     7/8/2022 20:33:00 7/8/2022 20:55:00
1791381403       4      38         6   question   question          1     7/8/2022 20:43:00 7/8/2022 21:02:00
1791385544       4      30         6   survey     survey            1     7/8/2022 20:50:00 7/8/2022 20:57:00
1791389262       4      38         6   check      check             1     7/8/2022 20:58:00 7/8/2022 21:16:00
1791393450       4      30         6   question   question          1     7/8/2022 21:06:00 7/8/2022 21:22:00
1791401426       4      32         6   quality    quality           1     7/8/2022 21:21:00 7/8/2022 21:33:00
1791406705       4      32         6   check      Check             1     7/8/2022 21:31:00 7/8/2022 21:42:00
1791410648       4      38         6   survey     Survey            1     7/8/2022 21:40:00 7/8/2022 22:04:00
1791413678       4      30         6   quality    quality           1     7/8/2022 21:44:00 7/8/2022 21:57:00
1791417600       4      38         6   question   question          1     7/8/2022 21:52:00 7/8/2022 22:02:00
1791417997       4      20         6   question   question          1     7/8/2022 21:53:00 7/8/2022 22:26:00
1791423391       4      30         6   quality    quality           1     7/8/2022 22:05:00 7/8/2022 22:15:00
1791431097       4      30         6   check      check             1     7/8/2022 22:20:00 7/8/2022 22:31:00
1791437149       4       8         6   survey     survey            1     7/8/2022 22:33:00 7/8/2022 23:02:00
1791442189       4      30         6   question   Question          1     7/8/2022 22:43:00 7/8/2022 23:13:00
1791448760       1      20         6   survey     Survey            1     7/8/2022 22:57:00 7/8/2022 23:05:00
1791454952       4      38         6   quality    Quality           1     7/8/2022 23:11:00 7/8/2022 23:22:00
1791463118       4      38         6   check      check             1     7/8/2022 23:30:00 7/8/2022 23:40:00
1791485937       4      38         6   question   Question          1      7/9/2022 0:31:00    7/9/2022 0:39:00
1791508946       1      20         6   survey     survey            1      7/9/2022 1:34:00    7/9/2022 1:41:00
1791596556       4       1         6   quality    quality           1      7/9/2022 5:34:00    7/9/2022 6:22:00
1791633644       4      32         6   survey     Survey            1      7/9/2022 7:08:00    7/9/2022 7:20:00
1791721245       4      38         6   question   question          1      7/9/2022 9:42:00    7/9/2022 9:56:00
1791733729       2      20         6   quality    quality           1     7/9/2022 10:02:00 7/9/2022 10:18:00
1791759922       4      30         6   check      check             1     7/9/2022 10:44:00 7/9/2022 11:11:00
1791805035       4      22         6   survey     Survey            1     7/9/2022 11:52:00 7/9/2022 12:00:00
1791871513       1      20         6   question   Question          1     7/9/2022 13:33:00 7/9/2022 13:39:00
1792036494       4      22         6   quality    Quality           1     7/9/2022 18:23:00 7/9/2022 18:36:00
1792103079       4      30         6   survey     Survey            1     7/9/2022 20:55:00 7/9/2022 21:07:00
1792107947       4      30         6   question   question          1     7/9/2022 21:08:00 7/9/2022 21:16:00
1792125230       4       8         6   check      Check             1     7/9/2022 21:54:00 7/9/2022 22:07:00
1792171137       4      20         6   quality    Quality           1     7/10/2022 0:00:00 7/10/2022 0:10:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1792199446        2         1         3   PA            0           0           1           0           0           0           0          7
1792287507        1         1         4   NJ            0           0           0           0           0           0           1          8
1792296106        4         1         5   PA            0           0           0           0           0           0           1          7
1792409254        1         1         3   NJ            0           0           0           0           0           0           1          8
1792426102        1         1         2   DE            0           0           0           0           0           0           1          4
1792525500        4         1         3   NJ            0           0           0           0           0           0           1          8
1792537715        4         1         2   NJ            0           0           1           0           0           0           0          5
1792537885        4         1         3   NJ            0           0           1           0           0           0           0          7
1792567303        4         1         3   NJ            0           0           0           0           0           0           1          8
1792575461        4         1         4   PA            0           0           0           0           0           0           1          8
1792581413        2         1         3   PA            0           0           0           0           0           0           1          7
1792582340        2         1         3   NJ            0           0           0           0           0           0           1          8
1792597384        2         1         2   MD            0           0           0           0           0           0           1          5
1792672547        1         1         3   MD            0           0           0           0           0           0           1          5
1792672765        4         1         2   NJ            0           0           0           0           0           0           1          7
1792676336        2         1         2   MD            0           0           0           0           0           0           1          3
1792686733        2         1         3   MD            0           0           0           0           0           0           1          7
1792722089        4         1         3   PA            0           0           0           0           0           0           1          8
1792739338        2         1         4   NJ            0           0           0           0           0           0           1          8
1792767165        4         1         2   PA            0           0           0           0           0           0           1          5
1792782964        2         1         2   NJ            0           0           0           0           0           0           1          4
1792800143        1         1         3   NJ            0           0           0           0           0           0           1          5
1792881244        4         1         2   PA            0           0           0           0           0           0           1          5
1793188227        4         2         2   NJ            0           0           0           0           0           0           1          5
1793188686        2         2         3   VA            0           0           0           0           0           0           1          7
1793190488        2         1         3   VA            0           0           0           0           0           0           1          7
1793194295        1         2         3   NJ            0           0           0           0           0           0           1          7
1793196038        2         1         2   VA            0           0           0           0           0           0           1          5
1793225418        4         2         3   NJ            0           0           1           0           0           0           0          4
1793253601        4         2         4   PA            0           0           0           0           0           0           1          4
1793258626        4         2         2   MD            0           0           0           0           0           0           1          3
1793263708        4         2         2   VA            0           0           0           0           0           0           1          6
1793265852        2         2         2   VA            0           0           0           0           0           0           1          6


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1792199446          4           4           4           4           4           2           4           4           4            4            4            4
1792287507          4           4           4           4           4           3           4           4           4            4            4            4
1792296106          4           4           4           4           4           4           4           4           4            4            4            4
1792409254          4           4           4           4           4           3           4           4           2            4            4            4
1792426102          4           4           4           4           4           2           4           4           4            4            4            4
1792525500          4           4           4           4           4           2           4           4           4            4            4            4
1792537715          4           4           4           4           4           1           4           4           4            4            4            4
1792537885          4           4           4           4           4           2           2           2           2            4            4            4
1792567303          4           4           4           4           4           3           4           4           2            4            4            4
1792575461          4           4           4           4           4           4           4           4           4            4            4            4
1792581413          4           4           4           4           4           4           4           4           4            4            4            4
1792582340          4           4           4           4           4           4           4           4           4            4            4            4
1792597384          4           4           4           4           4           2           4           4           4            4            4            4
1792672547          4           4           4           4           4           4           4           4           4            4            4            4
1792672765          4           4           4           4           4           4           4           4           4            4            4            4
1792676336          4           4           4           4           4           2           4           4           4            4            4            4
1792686733          4           4           4           1           4           4           4           4           4            4            4            4
1792722089          4           4           4           4           4           4           4           4           4            4            4            4
1792739338          4           4           4           4           4           1           1           4           1            4            4            4
1792767165          4           4           4           4           1           4           4           4           4            4            4            4
1792782964          4           4           4           4           4           1           4           4           4            4            4            4
1792800143          4           4           4           4           4           2           4           4           4            4            4            4
1792881244          4           4           4           4           4           4           4           4           4            4            4            4
1793188227          4           4           4           4           4           2           4           4           4            4            4            4
1793188686          4           1           4           4           4           4           4           4           4            4            4            4
1793190488          4           4           4           4           4           4           4           4           4            4            4            4
1793194295          4           4           4           4           4           4           4           2           2            4            4            4
1793196038          4           2           4           4           4           1           4           4           4            4            4            4
1793225418          4           4           4           4           4           3           4           4           4            4            4            4
1793253601          4           4           4           4           4           4           4           4           4            4            4            4
1793258626          4           4           4           4           4           4           4           4           4            4            4            4
1793263708          4           4           4           4           1           4           4           4           4            4            4            4
1793265852          4           3           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1792199446       4      4      4      4      4      4      4      4      4      4      4       4
1792287507       4      4      4      4      4      4      4      4      4      4      4       4
1792296106       4      4      4      4      4      4      4      4      2      4      4       4
1792409254       4      4      4      4      4      4      4      4      4      4      4       2
1792426102       4      4      3      4      4      2      4      4      4      4      4       4
1792525500       4      4      4      4      4      4      4      4      4      4      4       4
1792537715       4      4      4      4      4      4      4      4      4      4      4       4
1792537885       4      2      2      4      2      4      4      4      4      4      4       4
1792567303       4      1      4      4      4      4      4      4      4      4      4       4
1792575461       4      4      2      4      4      4      4      4      4      4      4       4
1792581413       4      4      4      4      4      4      4      4      3      4      4       4
1792582340       4      4      3      4      4      4      4      4      4      4      4       4
1792597384       4      4      4      4      2      4      4      4      4      4      4       4
1792672547       4      4      4      4      2      4      4      4      4      4      4       4
1792672765       4      4      4      4      4      4      4      4      4      4      4       3
1792676336       4      2      4      4      3      4      4      4      4      4      4       2
1792686733       4      4      4      4      4      4      4      4      4      4      4       4
1792722089       4      4      4      4      4      4      4      4      2      4      4       4
1792739338       4      4      4      4      4      4      4      4      4      4      4       4
1792767165       4      4      4      4      4      4      4      4      1      4      4       4
1792782964       4      4      4      4      4      4      4      4      4      4      4       4
1792800143       4      4      4      4      4      4      4      4      4      4      4       4
1792881244       4      4      4      4      4      4      4      4      2      4      4       4
1793188227       4      4      2      4      4      4      4      4      4      4      4       4
1793188686       4      4      4      4      4      4      4      4      4      4      4       4
1793190488       4      4      4      4      4      4      4      4      4      4      4       4
1793194295       4      4      4      4      4      4      4      4      4      4      4       4
1793196038       4      4      4      4      4      1      4      4      4      4      4       2
1793225418       4      4      4      4      4      4      4      4      4      4      4       4
1793253601       4      4      4      4      4      4      4      4      2      4      4       4
1793258626       4      4      4      4      2      4      4      4      4      4      4       4
1793263708       1      1      4      4      4      4      4      2      4      4      4       4
1793265852       4      4      4      4      4      4      4      4      4      4      4       1


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1792199446       4      38         6   question   question          1     7/10/2022 1:45:00     7/10/2022 1:55:00
1792287507       4      30         6   check      check             1     7/10/2022 6:54:00     7/10/2022 7:03:00
1792296106       4      38         6   survey     survey            1     7/10/2022 7:16:00     7/10/2022 7:36:00
1792409254       4      30         6   quality    quality           1    7/10/2022 11:00:00    7/10/2022 11:12:00
1792426102       4      30         6   check      check             1    7/10/2022 11:29:00    7/10/2022 11:39:00
1792525500       4      30         6   question   question          1    7/10/2022 14:14:00    7/10/2022 14:24:00
1792537715       4      30         6   quality    quality           1    7/10/2022 14:35:00    7/10/2022 14:47:00
1792537885       4      30         6   survey     Survey            1    7/10/2022 14:35:00    7/10/2022 14:42:00
1792567303       4      30         6   survey     survey            1    7/10/2022 15:26:00    7/10/2022 15:41:00
1792575461       4      38         6   check      Check             1    7/10/2022 15:43:00    7/10/2022 15:56:00
1792581413       4      38         6   quality    quality           1    7/10/2022 15:54:00    7/10/2022 16:20:00
1792582340       4      30         6   quality    quality           1    7/10/2022 15:58:00    7/10/2022 16:29:00
1792597384       4      20         6   question   question          1    7/10/2022 16:22:00    7/10/2022 16:33:00
1792672547       4      20         6   question   question          1    7/10/2022 18:50:00    7/10/2022 18:59:00
1792672765       4      30         6   check      check             1    7/10/2022 18:54:00    7/10/2022 19:02:00
1792676336       4      20         6   survey     survey            1    7/10/2022 18:58:00    7/10/2022 19:25:00
1792686733       4      20         6   survey     survey            1    7/10/2022 19:25:00    7/10/2022 19:42:00
1792722089       4      38         6   question   question          1    7/10/2022 20:45:00    7/10/2022 21:33:00
1792739338       4      30         6   check      check             1    7/10/2022 21:27:00    7/10/2022 21:40:00
1792767165       4      38         6   quality    Quality           1    7/10/2022 22:37:00    7/10/2022 22:48:00
1792782964       4      30         6   check      check             1    7/10/2022 23:23:00    7/10/2022 23:39:00
1792800143       4      30         6   survey     survey            1     7/11/2022 0:17:00     7/11/2022 0:23:00
1792881244       4      38         6   quality    quality           1     7/11/2022 4:29:00     7/11/2022 4:40:00
1793188227       4      30         6   question   question          1    7/11/2022 11:52:00    7/11/2022 12:20:00
1793188686       4      46         6   question   question          1    7/11/2022 11:53:00    7/11/2022 12:01:00
1793190488       3      46         6   quality    quality           1    7/11/2022 11:55:00    7/11/2022 12:21:00
1793194295       4      32         6   check      check             1    7/11/2022 11:58:00    7/11/2022 12:12:00
1793196038       3      46         6   survey     survey            1    7/11/2022 12:00:00    7/11/2022 12:19:00
1793225418       4      30         6   question   Question          1    7/11/2022 12:29:00    7/11/2022 12:38:00
1793253601       4      38         6   check      Check             1    7/11/2022 12:58:00    7/11/2022 13:08:00
1793258626       3      20         6   survey     survey            1    7/11/2022 13:04:00    7/11/2022 13:18:00
1793263708       2      46         6   quality    Quality           1    7/11/2022 13:08:00    7/11/2022 13:33:00
1793265852       4      46         6   check      check             1    7/11/2022 13:10:00    7/11/2022 13:17:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1793281726        4         2         2   VA            0           0           0           0           0           0           1          6
1793282510        1         2         4   PA            0           0           0           0           0           0           1          2
dFjfWsSL          2         2         2   DE            0           0           1           0           0           0           0          4
1793283920        1         1         4   NJ            0           0           0           0           0           0           1          8
1793286214        2         2         5   NJ            0           0           0           0           0           0           1          6
1793287737        3         2         3   NJ            0           0           0           0           0           0           1          6
1793290084        1         2         2   NJ            0           0           0           0           0           0           1          6
1793293582        4         2         3   VA            0           0           0           0           0           0           1          8
1793309274        1         2         2   VA            0           0           0           0           0           0           1          7
1793310691        4         2         2   PA            0           0           1           0           0           0           0          4
1793310628        2         2         3   PA            0           0           0           0           0           0           1          6
1793312583        2         2         2   PA            0           0           0           0           0           0           1          5
1793317449        3         2         5   VA            0           0           0           0           0           0           1          6
1793318252        2         2         2   VA            0           0           1           0           0           0           0          5
1793317112        4         2         2   VA            0           0           0           0           0           0           1          6
1793337901        2         2         2   VA            0           0           1           0           0           0           0          3
1793343828        2         2         3   VA            0           0           0           0           0           0           1          8
1793344404        4         2         2   PA            0           0           0           0           0           0           1          6
1793345230        1         2         2   PA            0           0           0           0           0           0           1          5
1793356759        1         1         4   VA            0           0           0           0           0           0           1          5
1793359231        4         2         2   MD            0           0           0           0           0           0           1          2
1793368414        4         2         5   VA            0           0           0           0           0           0           1          8
1793371602        1         2         5   VA            0           0           0           0           0           0           1          8
1793372071        1         1         4   VA            0           0           0           0           0           0           1          6
1793377443        2         2         3   VA            0           0           0           0           0           0           1          8
1793383429        2         1         3   VA            0           0           0           0           0           0           1          4
1793385029        2         2         3   VA            0           0           0           0           0           0           1          6
1793411919        2         1         3   PA            0           0           0           0           0           0           1          8
1793426303        1         1         3   PA            0           0           0           0           0           0           1          7
1793426658        2         1         4   VA            0           0           0           0           0           0           1          8
1793445472        2         1         3   VA            0           0           0           0           0           0           1          7
1793491061        1         2         5   MD            0           0           0           0           0           0           1          6
1793491242        4         2         2   PA            0           0           0           0           0           0           1          6


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1793281726          4           4           4           4           2           4           4           4           4            4            4            4
1793282510          4           4           4           1           4           4           1           4           4            1            4            4
dFjfWsSL            4           4           4           4           4           4           4           4           4            4            4            4
1793283920          4           4           4           4           4           2           4           4           4            4            4            4
1793286214          4           4           4           4           4           1           4           4           4            4            4            4
1793287737          4           4           4           4           4           2           4           4           4            4            4            4
1793290084          4           4           4           4           4           4           4           4           4            4            4            4
1793293582          4           4           4           4           4           4           4           4           4            4            4            4
1793309274          4           2           4           4           4           4           4           4           4            4            4            4
1793310691          4           4           4           2           2           4           4           4           4            4            1            4
1793310628          4           4           4           4           4           4           4           4           4            4            4            4
1793312583          4           4           4           2           4           4           4           4           4            4            4            4
1793317449          4           4           4           4           4           4           4           4           4            4            4            4
1793318252          4           4           4           4           1           4           4           4           4            4            4            4
1793317112          4           2           4           4           4           4           4           4           4            4            4            4
1793337901          4           4           4           4           4           4           4           4           4            4            4            4
1793343828          4           4           4           2           4           4           4           4           4            4            4            4
1793344404          4           4           4           4           4           4           4           4           4            4            4            4
1793345230          4           4           4           4           4           4           4           4           4            4            4            4
1793356759          4           4           4           4           4           4           4           4           4            4            4            4
1793359231          4           4           4           4           4           4           4           4           4            4            4            4
1793368414          4           3           4           4           4           4           4           4           4            4            4            4
1793371602          4           4           4           4           4           4           4           4           4            4            4            4
1793372071          4           3           4           4           4           4           4           4           4            4            4            4
1793377443          4           4           4           4           4           4           4           4           4            4            4            4
1793383429          4           4           4           4           4           4           4           4           4            4            4            4
1793385029          4           3           4           4           4           4           1           4           4            4            4            4
1793411919          4           4           4           4           4           4           4           4           4            4            4            4
1793426303          4           4           4           4           2           4           4           4           4            4            4            4
1793426658          4           2           4           4           4           4           4           4           4            4            4            4
1793445472          4           4           4           4           4           4           4           4           4            4            4            4
1793491061          4           4           4           4           4           4           4           4           4            4            4            4
1793491242          4           4           4           4           4           1           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1793281726       4      4      4      4      3      4      2      4      4      4      4       4
1793282510       4      4      4      4      4      4      4      4      1      4      4       4
dFjfWsSL         4      4      3      4      4      4      4      4      2      4      4       4
1793283920       4      4      4      4      4      4      4      4      4      4      4       4
1793286214       4      4      4      4      4      4      4      4      4      4      4       4
1793287737       4      4      3      4      2      4      4      4      4      4      4       4
1793290084       4      4      4      4      2      4      4      4      2      4      4       1
1793293582       4      4      4      4      4      4      4      4      4      4      4       4
1793309274       4      4      4      4      4      4      4      4      4      4      4       1
1793310691       4      4      3      4      4      4      4      4      4      1      1       2
1793310628       4      4      4      4      4      4      4      4      2      4      4       4
1793312583       1      4      4      1      4      4      4      4      3      4      4       4
1793317449       3      4      4      4      4      4      4      4      4      4      4       4
1793318252       4      4      4      4      4      4      4      4      4      4      4       1
1793317112       4      4      4      4      4      4      2      4      2      4      4       2
1793337901       4      4      4      4      4      4      1      4      4      4      4       2
1793343828       4      4      4      4      4      4      4      4      4      4      4       4
1793344404       4      4      4      4      4      4      4      4      4      2      4       4
1793345230       4      4      1      4      4      4      4      4      4      4      4       4
1793356759       4      4      4      4      4      4      4      4      4      4      4       2
1793359231       4      4      4      4      1      4      4      4      4      4      4       4
1793368414       4      4      4      4      4      4      4      4      4      4      4       2
1793371602       4      4      4      4      4      4      2      4      4      4      4       3
1793372071       4      4      4      4      4      4      4      4      4      4      4       4
1793377443       4      4      4      4      1      4      4      4      1      4      4       4
1793383429       4      4      4      4      4      4      4      4      4      4      4       4
1793385029       4      4      4      4      4      4      4      4      4      4      4       1
1793411919       4      4      1      4      4      4      4      4      4      4      4       4
1793426303       4      4      4      4      4      4      4      4      2      4      4       4
1793426658       4      4      4      4      4      4      4      4      4      4      4       4
1793445472       4      4      4      4      4      4      4      4      4      4      4       2
1793491061       4      4      4      4      1      4      4      4      4      4      4       4
1793491242       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1793281726       4      33         6   quality    quality           1    7/11/2022 13:26:00    7/11/2022 13:37:00
1793282510       4      38         6   survey     SURVEY            1    7/11/2022 13:27:00    7/11/2022 13:49:00
dFjfWsSL         4       8         6   question   question          1    7/11/2022 13:28:00    7/11/2022 13:44:00
1793283920       4      30         6   check      check             1    7/11/2022 13:30:00    7/11/2022 13:44:00
1793286214       4      30         6   quality    quality           1    7/11/2022 13:31:00    7/11/2022 14:15:00
1793287737       4      30         6   question   question          1    7/11/2022 13:33:00    7/11/2022 13:43:00
1793290084       4      30         6   survey     survey            1    7/11/2022 13:35:00    7/11/2022 13:46:00
1793293582       3      46         6   check      Check             1    7/11/2022 13:39:00    7/11/2022 13:59:00
1793309274       4      46         6   question   question          1    7/11/2022 13:57:00    7/11/2022 14:06:00
1793310691       2      23         6   survey     survey            1    7/11/2022 13:58:00    7/11/2022 14:05:00
1793310628       4      38         6   survey     survey            1    7/11/2022 13:59:00    7/11/2022 14:07:00
1793312583       4      13         6   quality    quality           1    7/11/2022 14:00:00    7/11/2022 14:09:00
1793317449       4      46         6   quality    quality           1    7/11/2022 14:06:00    7/11/2022 14:29:00
1793318252       4      46         6   quality    quality           1    7/11/2022 14:07:00    7/11/2022 14:20:00
1793317112       2      46         6   check      check             1    7/11/2022 14:07:00    7/11/2022 14:18:00
1793337901       4      46         6   question   question          1    7/11/2022 14:28:00    7/11/2022 14:37:00
1793343828       4      46         6   check      check             1    7/11/2022 14:34:00    7/11/2022 14:47:00
1793344404       4       7         6   question   Question          1    7/11/2022 14:34:00    7/11/2022 14:42:00
1793345230       4      38         6   survey     survey            1    7/11/2022 14:35:00    7/11/2022 14:42:00
1793356759       4      46         6   survey     survey            1    7/11/2022 14:47:00    7/11/2022 14:57:00
1793359231       4      20         6   check      Check             1    7/11/2022 14:50:00    7/11/2022 15:00:00
1793368414       4      46         6   question   question          1    7/11/2022 15:01:00    7/11/2022 15:15:00
1793371602       4      46         6   quality    quality           1    7/11/2022 15:03:00    7/11/2022 15:18:00
1793372071       4      46         6   check      check             1    7/11/2022 15:04:00    7/11/2022 15:11:00
1793377443       4      38         6   survey     survey            1    7/11/2022 15:09:00    7/11/2022 15:43:00
1793383429       3      46         6   question   question          1    7/11/2022 15:15:00    7/11/2022 15:25:00
1793385029       1      46         6   survey     survey            1    7/11/2022 15:17:00    7/11/2022 15:25:00
1793411919       4      38         6   check      check             1    7/11/2022 15:45:00    7/11/2022 15:57:00
1793426303       4      38         6   question   question          1    7/11/2022 16:02:00    7/11/2022 16:11:00
1793426658       4      46         6   quality    quality           1    7/11/2022 16:02:00    7/11/2022 16:21:00
1793445472       3      46         6   check      check             1    7/11/2022 16:25:00    7/11/2022 16:54:00
1793491061       4      20         6   question   question          1    7/11/2022 17:20:00    7/11/2022 17:29:00
1793491242       4      51         6   survey     Survey            1    7/11/2022 17:21:00    7/11/2022 17:32:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1793492325        2         2         3   NJ            0           0           0           0           0           0           1          5
1793492932        3         2         3   VA            0           0           0           0           0           0           1          5
1793492166        4         2         2   NJ            0           0           0           0           0           0           1          6
1793495031        2         2         4   VA            0           0           0           0           0           0           1          6
1793497056        4         2         2   PA            0           0           0           0           0           0           1          4
1793502184        4         2         2   NJ            0           0           0           0           0           0           1          6
1793503470        2         2         2   NJ            0           0           0           0           0           0           1          4
1793503868        4         2         3   TN            0           0           0           0           0           0           1          2
1793504932        1         2         4   MD            0           0           0           0           0           0           1          8
1793516768        4         2         3   VA            0           0           0           0           0           0           1          7
1793517647        3         2         2   NJ            0           0           0           0           0           0           1          5
1793519369        4         2         3   MD            0           0           0           0           0           0           1          8
1793527940        1         2         2   MD            0           0           0           0           0           0           1          3
1793530662        2         2         2   DC            0           0           0           0           0           0           1          5
1793536974        4         2         3   VA            0           0           0           0           0           0           1          6
1793548221        1         2         3   VA            0           0           0           0           0           0           1          8
1793567882        2         2         3   NJ            0           0           0           0           0           0           1          4
1793570456        4         2         2   VA            0           0           0           0           0           0           1          4
1793570532        2         2         2   PA            0           0           0           0           0           0           1          6
1793576941        4         2         3   PA            0           0           1           0           0           0           0          8
1793579027        1         2         4   VA            0           0           0           0           0           0           1          7
1793589469        3         1         3   VA            0           0           0           0           0           0           1          8
1793591188        2         2         2   VA            0           0           0           0           0           0           1          7
1793592627        4         2         3   PA            0           0           0           0           0           0           1          7
1793595768        4         2         2   PA            0           0           0           0           0           0           1          5
1793596012        4         2         2   PA            0           0           0           0           0           0           1          5
1793609713        3         2         3   PA            0           0           0           0           0           0           1          7
1793611531        4         1         3   VA            0           0           0           0           0           0           1          4
1793612762        2         2         2   MD            0           0           0           0           0           0           1          5
1793611838        4         2         2   KY            0           0           1           0           0           0           0          2
1793621323        4         1         4   VA            0           0           0           0           0           0           1          8
1793630044        4         1         3   VA            0           0           0           0           0           0           1          4
1793655795        4         1         2   NJ            0           0           0           0           0           0           1          4


                                                                                                                                          M-69
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                                            Exhibit M: Screener Data Listing

AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1793492325          4           4           4           4           4           1           4           4           4            4            4            4
1793492932          3           4           4           1           4           1           4           2           1            2            2            2
1793492166          4           2           4           4           4           4           4           4           4            4            4            4
1793495031          4           4           4           4           4           4           4           4           4            4            4            4
1793497056          4           4           4           4           2           4           4           4           4            4            4            4
1793502184          4           4           4           4           4           4           2           4           2            2            4            4
1793503470          4           4           4           4           4           4           4           4           4            4            4            4
1793503868          4           4           4           4           4           4           4           4           4            4            4            4
1793504932          4           4           4           4           4           4           4           4           4            4            4            4
1793516768          4           3           4           4           4           4           4           4           4            4            4            4
1793517647          4           4           4           4           4           2           4           4           4            4            4            4
1793519369          4           4           4           4           1           4           4           4           4            4            4            4
1793527940          4           4           4           4           4           4           4           4           4            4            4            4
1793530662          4           4           4           4           4           4           4           4           4            4            4            4
1793536974          4           4           4           4           4           4           4           4           4            4            4            4
1793548221          4           4           4           4           4           4           4           4           4            4            4            4
1793567882          4           4           4           4           4           4           4           4           4            4            4            4
1793570456          4           2           4           3           1           2           4           4           2            2            4            4
1793570532          4           4           4           4           4           4           4           4           4            4            4            4
1793576941          4           4           4           4           4           4           4           4           4            4            4            4
1793579027          4           4           4           4           4           4           4           4           4            4            4            4
1793589469          4           4           4           4           4           4           4           4           4            4            4            4
1793591188          4           3           4           4           4           4           4           4           4            4            4            4
1793592627          4           4           4           4           4           4           4           4           4            4            4            4
1793595768          4           4           4           4           4           4           4           4           4            4            4            4
1793596012          4           4           4           4           4           4           4           4           4            4            4            4
1793609713          4           4           4           4           4           4           4           4           4            4            4            4
1793611531          4           1           4           1           2           4           4           4           1            1            4            4
1793612762          4           4           4           4           4           4           4           4           4            4            4            4
1793611838          4           4           4           4           4           4           4           4           4            4            4            4
1793621323          4           4           4           4           4           4           4           4           4            4            4            4
1793630044          4           4           4           4           4           4           4           4           4            4            4            4
1793655795          4           4           4           4           4           1           4           4           4            4            4            4


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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1793492325       4      4      1      4      4      4      4      4      4      4      4       4
1793492932       4      1      2      1      1      3      2      1      2      1      3       2
1793492166       4      4      4      4      4      4      4      4      4      4      4       4
1793495031       4      4      4      4      4      4      4      4      4      4      4       4
1793497056       4      4      4      4      4      4      4      4      2      4      4       4
1793502184       4      1      3      4      1      2      4      4      4      4      4       4
1793503470       4      4      4      4      4      2      4      4      4      2      4       4
1793503868       4      4      4      4      4      4      4      4      1      4      4       4
1793504932       4      4      4      4      2      4      2      4      4      4      4       4
1793516768       4      4      4      4      4      4      4      4      4      4      4       4
1793517647       4      4      4      4      4      4      4      4      4      4      4       4
1793519369       4      4      4      1      3      4      4      4      4      4      4       2
1793527940       2      1      4      4      2      4      4      4      4      4      4       2
1793530662       4      4      2      4      4      4      4      4      2      4      4       4
1793536974       4      4      4      4      4      4      4      3      4      4      4       4
1793548221       4      4      4      4      4      4      4      4      4      4      4       3
1793567882       4      4      2      4      4      4      4      4      2      4      4       2
1793570456       4      4      4      2      2      1      1      4      4      4      4       2
1793570532       4      4      2      4      4      4      4      4      2      4      4       4
1793576941       4      4      4      4      4      4      4      4      1      4      4       4
1793579027       4      4      4      4      2      4      4      4      4      4      4       4
1793589469       4      4      4      4      4      4      4      4      4      4      4       1
1793591188       4      4      4      4      4      4      4      4      4      4      4       4
1793592627       4      4      4      4      4      4      4      4      3      4      4       4
1793595768       4      4      4      4      4      4      4      4      2      4      4       4
1793596012       4      4      4      4      4      4      4      4      3      4      4       4
1793609713       4      4      4      4      4      4      4      4      2      4      4       4
1793611531       4      1      4      4      4      4      1      4      1      1      1       3
1793612762       4      4      4      4      3      4      4      4      4      4      4       4
1793611838       4      4      4      4      4      4      4      4      4      4      4       1
1793621323       4      4      4      4      4      4      3      4      4      4      4       4
1793630044       4      4      4      4      4      4      4      4      4      4      4       4
1793655795       4      4      4      4      4      4      4      4      4      4      4       4


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                                        Exhibit M: Screener Data Listing

AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1793492325       4      30         6   quality    quality           1    7/11/2022 17:21:00    7/11/2022 17:31:00
1793492932       4      46         6   survey     survey            1    7/11/2022 17:22:00    7/11/2022 17:43:00
1793492166       4      30         6   quality    quality           1    7/11/2022 17:23:00    7/11/2022 17:41:00
1793495031       2      46         6   question   question          1    7/11/2022 17:25:00    7/11/2022 17:41:00
1793497056       4      38         6   check      check             1    7/11/2022 17:28:00    7/11/2022 17:39:00
1793502184       4       8         6   quality    Quality           1    7/11/2022 17:35:00    7/11/2022 17:46:00
1793503470       4      30         6   check      check             1    7/11/2022 17:36:00    7/11/2022 17:47:00
1793503868       4      42         6   survey     Survey            1    7/11/2022 17:38:00    7/11/2022 17:59:00
1793504932       4      20         6   question   question          1    7/11/2022 17:40:00    7/11/2022 18:19:00
1793516768       4      46         6   question   Question          1    7/11/2022 17:53:00    7/11/2022 18:22:00
1793517647       4      30         6   quality    quality           1    7/11/2022 17:54:00    7/11/2022 18:01:00
1793519369       2      20         6   check      check             1    7/11/2022 17:57:00    7/11/2022 18:11:00
1793527940       4      20         6   survey     survey            1    7/11/2022 18:08:00    7/11/2022 18:22:00
1793530662       4      51         6   question   question          1    7/11/2022 18:13:00    7/11/2022 18:20:00
1793536974       4      46         6   survey     survey            1    7/11/2022 18:20:00    7/11/2022 18:36:00
1793548221       4      46         6   check      check             1    7/11/2022 18:37:00    7/11/2022 18:57:00
1793567882       4      30         6   quality    quality           1    7/11/2022 19:04:00    7/11/2022 19:11:00
1793570456       3      46         6   survey     survey            1    7/11/2022 19:08:00    7/11/2022 19:15:00
1793570532       4      38         6   question   question          1    7/11/2022 19:08:00    7/11/2022 19:30:00
1793576941       4      38         6   question   question          1    7/11/2022 19:19:00    7/11/2022 19:34:00
1793579027       2      46         6   check      check             1    7/11/2022 19:20:00    7/11/2022 19:45:00
1793589469       2      46         6   quality    quality           1    7/11/2022 19:36:00    7/11/2022 20:01:00
1793591188       4      46         6   quality    quality           1    7/11/2022 19:39:00    7/11/2022 19:55:00
1793592627       4      38         6   check      Check             1    7/11/2022 19:40:00    7/11/2022 19:58:00
1793595768       4      38         6   survey     survey            1    7/11/2022 19:46:00    7/11/2022 19:55:00
1793596012       4      38         6   check      Check             1    7/11/2022 19:46:00    7/11/2022 19:59:00
1793609713       4      38         6   question   question          1    7/11/2022 20:08:00    7/11/2022 20:29:00
1793611531       1      46         6   question   question          1    7/11/2022 20:11:00    7/11/2022 20:26:00
1793612762       4      20         6   quality    quality           1    7/11/2022 20:13:00    7/11/2022 20:23:00
1793611838       4      46         6   check      Check             1    7/11/2022 20:14:00    7/11/2022 20:23:00
1793621323       4      46         6   survey     Survey            1    7/11/2022 20:26:00    7/11/2022 20:35:00
1793630044       2      46         6   quality    Quality           1    7/11/2022 20:40:00    7/11/2022 20:55:00
1793655795       4      30         6   question   question          1    7/11/2022 21:25:00    7/11/2022 21:38:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1793684356        4         1         4   VA            0           0           0           0           0           0           1          8
1793707798        4         1         3   MD            0           0           0           0           0           0           1          2
1793734970        1         1         3   VA            0           0           0           0           0           0           1          6
1793744786        4         1         3   PA            0           0           0           0           0           0           1          3
1793759426        4         1         2   VA            0           0           0           0           0           0           1          6
1793769355        4         1         3   NJ            0           0           0           0           0           0           1          6
1793795509        4         1         3   MD            0           0           0           0           0           0           1          3
1793851349        2         1         3   VA            0           0           0           0           0           0           1          6
1793890836        2         1         4   PA            0           0           0           0           0           0           1          7
1793918982        2         1         3   VA            0           0           0           0           0           0           1          8
1793944844        1         1         4   VA            0           0           0           0           0           0           1          7
1793959801        2         1         3   MD            0           0           0           0           0           0           1          8
1793960452        1         1         3   VA            0           0           0           0           0           0           1          6
1793960645        1         1         3   VA            0           0           0           0           0           0           1          2
1793961426        2         1         3   VA            0           0           0           0           0           0           1          7
1793973462        4         1         2   DC            0           0           0           0           0           0           1          5
1793976704        2         1         2   NJ            0           0           0           0           0           0           1          3
1793978197        1         1         2   VA            0           0           0           0           0           0           1          6
1794183140        4         2         4   NJ            0           0           0           0           0           0           1          8
1794184710        1         2         3   VA            0           0           0           0           0           0           1          7
1794186708        2         2         3   NJ            0           0           0           0           0           0           1          3
1794190686        4         2         3   PA            0           0           0           0           0           0           1          6
1794191038        4         2         3   DE            0           0           0           0           0           0           1          2
1794192453        2         2         2   PA            0           0           0           0           0           0           1          3
1794193385        2         2         4   DC            0           0           0           0           0           0           1          6
1794212350        4         2         4   VA            0           0           0           0           0           0           1          8
1794215693        3         2         3   PA            0           0           0           0           0           0           1          3
1794218721        4         2         4   PA            0           0           0           0           0           0           1          5
1794221868        1         2         3   VA            0           0           0           0           0           0           1          7
1794226574        4         2         3   VA            0           0           0           0           0           0           1          4
1794245788        1         2         4   VA            0           0           0           0           0           0           1          4
1794249792        4         2         3   NJ            0           0           0           0           0           0           1          8
1794253963        1         2         3   MD            0           0           0           0           0           0           1          8


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                                            Exhibit M: Screener Data Listing

AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1793684356          4           4           4           4           4           4           4           4           4            4            4            4
1793707798          4           4           4           4           4           4           4           4           4            4            4            4
1793734970          4           4           4           4           4           4           4           4           4            4            4            4
1793744786          4           4           4           4           4           4           4           4           1            4            4            4
1793759426          4           4           4           4           1           4           4           4           4            4            4            4
1793769355          4           4           4           4           4           2           4           4           4            4            4            4
1793795509          4           4           4           4           4           4           4           4           4            4            4            4
1793851349          4           4           4           4           4           4           4           4           4            4            4            4
1793890836          4           4           4           4           4           4           4           4           4            4            4            4
1793918982          2           4           4           3           2           4           4           4           4            4            4            4
1793944844          4           2           4           4           4           1           4           4           4            4            4            4
1793959801          4           4           4           4           4           4           4           4           4            4            4            4
1793960452          4           3           4           4           4           4           4           4           4            4            4            4
1793960645          4           2           4           4           4           4           4           4           4            4            4            4
1793961426          4           2           4           4           4           4           4           4           4            4            4            4
1793973462          4           4           4           4           2           4           4           4           1            4            4            4
1793976704          4           4           4           4           4           3           4           4           4            4            4            4
1793978197          4           4           4           4           4           4           4           4           4            4            4            4
1794183140          4           4           4           4           4           4           4           4           4            4            4            4
1794184710          4           4           4           4           4           4           4           4           4            4            4            4
1794186708          4           4           4           4           4           4           1           2           4            4            4            4
1794190686          4           4           4           4           4           4           4           4           4            4            4            4
1794191038          4           4           4           4           4           4           4           4           4            4            4            4
1794192453          4           4           4           4           4           2           4           4           4            4            4            4
1794193385          4           4           4           2           4           4           4           4           4            4            4            4
1794212350          4           4           4           4           4           4           4           4           4            4            4            4
1794215693          4           4           4           4           4           4           4           4           4            4            4            4
1794218721          4           4           4           1           1           4           4           4           1            4            4            4
1794221868          4           4           4           4           4           4           4           4           1            4            4            4
1794226574          4           4           4           4           4           4           4           4           4            4            4            4
1794245788          4           2           4           4           4           4           4           4           4            4            4            4
1794249792          4           4           4           4           4           4           2           4           4            4            4            4
1794253963          4           4           4           4           4           4           4           4           4            4            4            4


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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1793684356       4      4      4      4      4      4      4      4      4      4      4       1
1793707798       4      4      4      4      1      4      4      4      4      4      4       4
1793734970       4      4      4      4      4      4      4      4      4      4      4       3
1793744786       4      4      4      4      1      4      4      4      4      4      4       4
1793759426       4      4      4      4      4      4      4      4      4      4      4       4
1793769355       4      4      4      4      4      4      4      4      4      4      4       4
1793795509       4      1      4      4      1      4      4      4      4      4      4       4
1793851349       4      4      4      4      4      4      4      4      4      4      4       1
1793890836       4      4      4      4      4      4      4      4      3      4      4       4
1793918982       4      4      4      4      4      4      4      4      4      4      4       4
1793944844       4      4      4      4      4      4      1      4      4      4      4       2
1793959801       4      4      4      4      3      4      4      4      4      4      4       4
1793960452       4      4      4      4      2      2      4      4      4      4      4       1
1793960645       4      4      4      4      4      4      2      4      4      4      4       3
1793961426       4      4      4      4      4      4      4      4      4      4      4       4
1793973462       2      4      4      4      2      4      4      4      4      4      4       4
1793976704       4      4      2      4      4      4      4      4      4      4      4       4
1793978197       4      4      4      4      4      4      4      4      4      4      4       4
1794183140       4      4      4      4      4      4      4      4      1      4      4       4
1794184710       4      4      4      4      4      4      4      4      4      4      4       4
1794186708       4      4      4      4      4      4      4      4      4      4      4       4
1794190686       4      4      2      4      4      4      4      4      2      4      4       4
1794191038       4      4      2      4      4      4      4      4      4      4      4       4
1794192453       4      4      2      4      4      4      4      4      2      4      4       4
1794193385       4      4      4      4      3      4      4      4      4      4      4       4
1794212350       4      4      4      4      4      4      1      4      1      4      4       1
1794215693       4      4      4      4      4      4      4      4      3      4      4       4
1794218721       4      1      4      4      4      1      1      4      2      4      4       4
1794221868       4      4      4      4      4      4      4      4      4      4      4       1
1794226574       4      4      4      4      4      4      4      4      4      4      4       2
1794245788       1      4      4      4      1      4      1      4      4      4      4       1
1794249792       4      4      4      4      4      4      4      4      4      4      4       4
1794253963       4      4      4      4      2      4      2      4      4      4      4       4


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                                        Exhibit M: Screener Data Listing

AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1793684356       1      46         6   check      check             1    7/11/2022 22:13:00    7/11/2022 22:23:00
1793707798       4      20         6   survey     survey            1    7/11/2022 23:00:00    7/11/2022 23:16:00
1793734970       4      46         6   question   question          1     7/12/2022 0:00:00     7/12/2022 0:13:00
1793744786       4      38         6   quality    Quality           1     7/12/2022 0:27:00     7/12/2022 0:36:00
1793759426       4      52         6   check      Check             1     7/12/2022 1:04:00     7/12/2022 1:10:00
1793769355       4      30         6   question   question          1     7/12/2022 1:31:00     7/12/2022 1:40:00
1793795509       1      20         6   survey     Survey            1     7/12/2022 3:32:00     7/12/2022 4:03:00
1793851349       1      46         6   check      check             1     7/12/2022 5:01:00     7/12/2022 5:11:00
1793890836       4      38         6   quality    quality           1     7/12/2022 6:23:00     7/12/2022 6:40:00
1793918982       4      46         6   check      check             1     7/12/2022 7:15:00     7/12/2022 7:31:00
1793944844       4      46         6   survey     survey            1     7/12/2022 7:57:00     7/12/2022 8:13:00
1793959801       4      20         6   quality    quality           1     7/12/2022 8:19:00     7/12/2022 8:27:00
1793960452       1      46         6   question   question          1     7/12/2022 8:20:00     7/12/2022 8:29:00
1793960645       2      46         6   check      check             1     7/12/2022 8:20:00     7/12/2022 8:40:00
1793961426       2      46         6   quality    quality           1     7/12/2022 8:21:00     7/12/2022 8:45:00
1793973462       4      51         6   question   question          1     7/12/2022 8:37:00     7/12/2022 8:59:00
1793976704       4      30         6   quality    quality           1     7/12/2022 8:42:00     7/12/2022 8:49:00
1793978197       3      46         6   survey     survey            1     7/12/2022 8:44:00     7/12/2022 9:38:00
1794183140       1      38         6   question   Question          1    7/12/2022 12:33:00    7/12/2022 12:39:00
1794184710       2      46         6   check      check             1    7/12/2022 12:35:00    7/12/2022 12:54:00
1794186708       4      32         6   survey     survey            1    7/12/2022 12:37:00    7/12/2022 12:54:00
1794190686       4      38         6   check      Check             1    7/12/2022 12:41:00    7/12/2022 12:52:00
1794191038       4       8         6   survey     Survey            1    7/12/2022 12:42:00    7/12/2022 12:52:00
1794192453       4      38         6   survey     survey            1    7/12/2022 12:44:00    7/12/2022 12:54:00
1794193385       4      20         6   check      check             1    7/12/2022 12:44:00    7/12/2022 13:01:00
1794212350       1      46         6   quality    Quality           1    7/12/2022 13:05:00    7/12/2022 13:12:00
1794215693       4      38         6   question   question          1    7/12/2022 13:07:00    7/12/2022 13:15:00
1794218721       4      38         6   question   question          1    7/12/2022 13:10:00    7/12/2022 13:22:00
1794221868       4      46         6   check      check             1    7/12/2022 13:14:00    7/12/2022 13:28:00
1794226574       2      46         6   quality    Quality           1    7/12/2022 13:17:00    7/12/2022 13:41:00
1794245788       1      46         6   question   question          1    7/12/2022 13:36:00    7/12/2022 14:05:00
1794249792       4      52         6   quality    Quality           1    7/12/2022 13:42:00    7/12/2022 14:03:00
1794253963       4      20         6   check      check             1    7/12/2022 13:45:00    7/12/2022 14:43:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1794253330        1         2         3   NJ            0           0           0           0           0           0           1          7
1794256019        4         2         2   VA            0           0           0           0           0           0           1          4
1794257676        4         2         2   VA            0           0           1           0           0           0           0          5
1794257419        4         2         2   AL            0           0           0           0           0           0           1          4
1794275926        2         2         3   VA            0           0           0           0           0           0           1          6
1794277109        4         2         2   VA            0           0           0           0           0           0           1          2
1794275819        2         2         4   VA            0           0           0           0           0           0           1          6
1794278763        4         2         4   VA            0           0           0           0           0           0           1          3
1794280152        1         1         4   VA            0           0           0           0           0           0           1          7
1794281270        2         2         2   VA            0           0           0           0           0           0           1          5
1794285029        4         2         3   PA            0           0           0           0           0           0           1          7
1794286851        2         1         4   VA            0           0           0           0           0           0           1          7
1794303638        2         2         4   NJ            0           0           0           0           0           0           1          8
1794306102        2         2         2   MD            0           0           0           0           0           0           1          6
1794312166        2         1         2   MD            0           0           0           0           0           0           1          4
1794318058        2         2         2   MA            0           0           0           0           0           0           1          6
1794342397        2         2         3   MD            0           0           0           0           0           0           1          7
1794345509        4         1         3   PA            0           0           0           0           0           0           1          6
1794347049        4         2         4   MD            0           0           0           0           0           0           1          6
1794348717        2         2         3   VA            0           0           0           0           0           0           1          7
1794349649        4         2         3   VA            0           0           1           0           0           0           0          6
1794360225        2         2         2   NJ            0           0           0           0           0           0           1          5
1794363721        2         2         3   VA            0           0           0           0           0           0           1          7
1794368399        2         2         2   VA            0           0           0           0           0           0           1          7
1794372250        4         2         3   VA            0           0           0           0           0           0           1          6
1794385734        2         1         2   OH            0           0           1           0           0           0           0          6
1794387441        4         1         4   VA            0           0           1           0           0           0           0          7
1794388959        3         2         4   MD            0           0           0           0           0           0           1          8
1794397304        4         1         3   NJ            0           0           0           0           0           0           1          6
1794404413        4         2         2   PA            0           0           0           0           0           0           1          6
1794423464        4         2         3   NJ            0           0           1           0           0           0           0          7
1794423890        4         1         2   PA            0           0           0           0           0           0           1          4
1794427112        2         2         4   VA            0           0           0           0           0           0           1          8


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1794253330          4           4           4           4           4           3           4           4           4            4            4            4
1794256019          4           4           4           4           4           4           4           4           4            4            4            4
1794257676          4           2           4           4           4           4           4           4           4            4            4            4
1794257419          4           4           4           4           4           4           4           4           4            4            4            4
1794275926          4           4           4           4           4           4           4           4           4            4            4            4
1794277109          4           4           4           4           2           4           4           4           4            4            4            4
1794275819          4           4           4           4           4           3           4           4           4            3            4            4
1794278763          4           4           4           4           1           4           4           4           4            4            4            4
1794280152          4           2           4           4           4           4           4           4           4            4            4            4
1794281270          4           3           4           4           4           4           4           4           4            4            4            4
1794285029          4           4           4           4           4           4           4           4           4            4            4            4
1794286851          4           4           4           4           4           4           4           4           4            4            4            4
1794303638          4           4           4           4           4           2           4           4           4            4            4            4
1794306102          4           4           4           4           4           4           4           4           4            4            4            4
1794312166          4           4           4           4           1           4           4           4           4            4            4            4
1794318058          4           4           4           4           4           4           4           4           4            4            4            4
1794342397          4           4           4           4           4           4           4           4           4            4            4            4
1794345509          4           4           4           4           4           4           4           4           4            2            4            4
1794347049          4           4           4           4           4           4           4           4           4            4            4            1
1794348717          4           4           4           4           4           4           4           4           4            4            4            4
1794349649          4           4           4           4           4           4           4           4           4            4            4            4
1794360225          4           1           4           4           4           1           4           4           4            4            4            4
1794363721          4           4           4           4           4           4           4           4           4            4            4            4
1794368399          4           4           4           4           4           4           4           4           4            4            4            4
1794372250          4           4           4           4           4           4           4           4           4            4            4            4
1794385734          4           4           4           4           4           3           4           4           4            4            4            4
1794387441          4           4           4           4           4           4           4           4           4            4            4            4
1794388959          4           3           4           4           4           4           4           4           4            4            4            4
1794397304          4           4           4           4           4           1           4           4           1            4            4            4
1794404413          4           4           4           4           4           1           4           4           2            4            4            4
1794423464          4           4           4           4           4           4           4           4           4            4            4            4
1794423890          4           4           4           4           4           1           4           4           4            4            4            4
1794427112          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1794253330       4      4      1      4      4      4      4      4      4      4      4       4
1794256019       4      4      4      4      4      4      4      4      4      4      4       4
1794257676       4      4      4      4      4      4      4      4      4      4      4       4
1794257419       4      4      4      3      4      4      4      4      4      4      4       4
1794275926       4      4      4      4      4      4      4      4      4      4      4       2
1794277109       4      4      4      4      4      4      4      4      4      4      4       2
1794275819       4      4      4      4      4      4      4      4      4      4      4       1
1794278763       4      4      4      4      4      4      4      4      4      4      4       4
1794280152       4      4      4      4      1      4      4      4      4      4      4       2
1794281270       4      4      2      4      4      4      4      4      4      4      4       2
1794285029       4      4      4      4      4      4      4      4      1      4      4       4
1794286851       4      4      4      4      4      4      4      4      4      4      4       1
1794303638       4      2      2      4      4      4      4      4      2      4      4       4
1794306102       4      4      4      4      1      4      4      4      4      4      4       4
1794312166       2      4      2      4      1      4      1      4      1      4      4       1
1794318058       4      4      1      4      4      4      4      4      4      4      4       4
1794342397       4      4      4      4      3      4      4      4      4      4      4       4
1794345509       4      4      4      4      4      4      4      4      4      4      4       4
1794347049       4      4      4      4      1      4      4      4      4      4      4       4
1794348717       4      4      4      4      4      4      4      4      4      4      4       1
1794349649       4      4      4      4      2      4      4      4      4      4      4       2
1794360225       4      4      4      4      4      4      4      4      4      4      4       4
1794363721       4      4      3      4      4      4      4      4      4      4      4       4
1794368399       4      2      2      4      2      2      1      4      4      4      4       4
1794372250       4      4      4      4      4      4      4      4      4      4      4       1
1794385734       4      4      4      4      4      4      4      4      4      4      4       4
1794387441       4      4      4      4      4      4      4      4      4      4      4       4
1794388959       4      4      4      4      2      4      4      4      4      4      4       4
1794397304       4      4      4      4      4      4      4      4      4      4      4       4
1794404413       4      4      1      4      4      4      4      4      4      4      4       4
1794423464       4      4      4      4      4      4      1      4      3      4      4       4
1794423890       4      4      4      4      4      4      4      4      1      4      4       4
1794427112       4      4      4      4      4      4      1      4      4      4      4       1


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1794253330       4      30         6   survey     survey            1    7/12/2022 13:45:00    7/12/2022 13:55:00
1794256019       1      46         6   question   question          1    7/12/2022 13:47:00    7/12/2022 13:54:00
1794257676       4      46         6   survey     survey            1    7/12/2022 13:49:00    7/12/2022 14:00:00
1794257419       4       8         6   check      Check             1    7/12/2022 13:50:00    7/12/2022 13:57:00
1794275926       2      46         6   quality    quality           1    7/12/2022 14:09:00    7/12/2022 14:21:00
1794277109       4      46         6   survey     Survey            1    7/12/2022 14:10:00    7/12/2022 14:18:00
1794275819       3      46         6   check      check             1    7/12/2022 14:11:00    7/12/2022 14:25:00
1794278763       4      46         6   quality    quality           1    7/12/2022 14:12:00    7/12/2022 14:21:00
1794280152       1      46         6   quality    quality           1    7/12/2022 14:13:00    7/12/2022 14:29:00
1794281270       2      46         6   question   question          1    7/12/2022 14:15:00    7/12/2022 14:23:00
1794285029       4      38         6   question   Question          1    7/12/2022 14:19:00    7/12/2022 14:31:00
1794286851       4      46         6   check      check             1    7/12/2022 14:20:00    7/12/2022 14:35:00
1794303638       4      30         6   survey     survey            1    7/12/2022 14:38:00    7/12/2022 14:45:00
1794306102       4      20         6   survey     survey            1    7/12/2022 14:41:00    7/12/2022 14:49:00
1794312166       2      20         6   quality    quality           1    7/12/2022 14:48:00    7/12/2022 14:55:00
1794318058       4      20         6   question   question          1    7/12/2022 14:54:00    7/12/2022 15:03:00
1794342397       4      32         6   question   question          1    7/12/2022 15:21:00    7/12/2022 15:36:00
1794345509       4      17         6   check      check             1    7/12/2022 15:26:00    7/12/2022 15:40:00
1794347049       4       5         6   quality    quality           1    7/12/2022 15:27:00    7/12/2022 15:33:00
1794348717       3      46         6   survey     survey            1    7/12/2022 15:29:00    7/12/2022 15:59:00
1794349649       4      46         6   survey     Survey            1    7/12/2022 15:29:00    7/12/2022 15:47:00
1794360225       4      30         6   survey     survey            1    7/12/2022 15:42:00    7/12/2022 15:53:00
1794363721       4       8         6   check      check             1    7/12/2022 15:45:00    7/12/2022 16:19:00
1794368399       4       7         6   quality    quality           1    7/12/2022 15:51:00    7/12/2022 16:05:00
1794372250       1      46         6   question   question          1    7/12/2022 15:55:00    7/12/2022 16:20:00
1794385734       4      30         6   question   QUESTION          1    7/12/2022 16:11:00    7/12/2022 16:22:00
1794387441       1      46         6   question   Question          1    7/12/2022 16:12:00    7/12/2022 16:26:00
1794388959       4      20         6   quality    Quality           1    7/12/2022 16:14:00    7/12/2022 16:25:00
1794397304       4      30         6   check      Check             1    7/12/2022 16:24:00    7/12/2022 16:30:00
1794404413       4      38         6   quality    Quality           1    7/12/2022 16:32:00    7/12/2022 16:42:00
1794423464       4      30         6   survey     Survey            1    7/12/2022 16:54:00    7/12/2022 17:03:00
1794423890       4      38         6   check      Check             1    7/12/2022 16:57:00    7/12/2022 17:20:00
1794427112       4      46         6   check      check             1    7/12/2022 16:58:00    7/12/2022 17:11:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1794429683        1         2         3   NJ            0           0           0           0           0           0           1          6
1794439929        4         2         4   MD            0           0           0           0           0           0           1          8
1794440543        2         2         2   DE            0           0           0           0           0           0           1          6
1794457239        4         2         3   VA            0           0           0           0           0           0           1          8
1794466127        2         2         5   NJ            0           0           0           0           0           0           1          8
1794466682        4         2         3   VA            0           0           0           0           0           0           1          3
1794469754        1         1         2   VA            0           0           0           0           0           0           1          4
1794476034        4         1         2   NJ            0           0           0           0           0           0           1          2
1794496281        1         1         4   VA            0           0           0           0           0           0           1          8
1794498769        4         2         2   VA            0           0           0           0           0           0           1          4
1794512105        4         2         3   PA            0           0           0           0           0           0           1          8
1794517480        2         2         2   VA            0           0           0           0           0           0           1          6
1794519029        4         2         2   NJ            0           0           0           0           0           0           1          3
1794329768        4         2         4   DE            0           0           0           0           0           0           1          5
1794521441        4         1         5   DC            0           0           0           0           0           0           1          6
1794521735        4         2         2   MD            0           0           0           0           0           0           1          5
1794523095        1         1         2   AR            0           0           0           0           0           0           1          6
1794526206        4         1         5   PA            0           0           0           0           0           0           1          5
1794526557        1         2         4   MD            0           0           1           0           0           0           0          6
1794527292        1         2         4   VA            0           0           0           0           0           0           1          7
1794529905        4         2         3   MD            0           0           0           0           0           0           1          7
1794531290        4         2         2   VA            0           0           1           0           0           0           0          2
1794536552        1         1         2   NJ            0           0           0           0           0           0           1          5
1794553217        2         1         3   PA            0           0           0           0           0           0           1          3
1794553207        4         1         2   DC            0           0           0           0           0           0           1          3
1794556112        2         1         2   AZ            0           0           0           0           0           0           1          3
1794559475        2         2         3   NJ            0           0           1           0           0           0           0          8
1794560042        4         2         3   NJ            0           0           0           0           0           0           1          8
1794562443        4         2         2   VA            0           0           0           0           0           0           1          5
1794563655        4         2         2   NJ            0           0           0           0           0           0           1          6
1794563218        2         2         2   DC            0           0           0           0           0           0           1          6
1794567012        4         2         3   VA            0           0           0           0           0           0           1          8
1794570062        2         2         4   VA            0           0           0           0           0           0           1          7


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1794429683          4           4           4           4           4           3           4           4           2            4            4            4
1794439929          4           4           4           4           4           4           4           4           4            4            4            4
1794440543          4           2           4           4           4           4           4           4           2            4            4            4
1794457239          4           4           4           4           1           4           4           4           4            4            4            4
1794466127          4           4           4           4           4           1           4           4           4            4            4            4
1794466682          4           2           4           4           4           4           4           4           4            4            4            4
1794469754          4           1           4           4           4           4           4           4           4            4            4            4
1794476034          4           4           4           4           4           1           4           4           4            4            4            4
1794496281          4           4           4           4           4           4           4           4           4            4            4            4
1794498769          4           2           4           4           4           4           4           4           4            4            4            4
1794512105          4           4           4           4           4           4           4           4           4            4            4            4
1794517480          4           4           4           4           4           4           4           4           4            4            4            4
1794519029          4           4           4           4           4           2           4           4           4            4            4            4
1794329768          4           4           4           4           4           4           4           4           4            4            4            4
1794521441          4           4           4           4           4           4           4           4           4            4            4            4
1794521735          4           4           4           4           4           4           4           4           4            4            4            4
1794523095          4           2           4           4           4           4           4           4           4            4            4            4
1794526206          4           4           4           4           4           4           4           4           4            4            4            4
1794526557          4           4           4           4           4           4           4           4           4            4            4            4
1794527292          4           2           4           4           4           4           4           4           4            4            4            4
1794529905          4           4           4           4           4           4           4           4           4            4            4            4
1794531290          4           4           4           4           4           4           4           4           4            4            4            4
1794536552          4           4           4           4           4           2           4           4           4            4            4            4
1794553217          4           3           4           4           4           4           4           4           4            4            4            4
1794553207          4           4           4           4           4           4           4           4           4            4            4            4
1794556112          4           4           4           4           4           3           4           4           4            4            4            4
1794559475          4           4           4           4           4           1           4           4           4            4            4            4
1794560042          4           4           4           4           4           3           4           4           4            4            4            4
1794562443          4           1           4           4           4           4           4           4           4            4            4            4
1794563655          2           4           4           4           4           1           4           4           4            4            4            4
1794563218          4           2           4           4           4           4           4           4           4            4            4            4
1794567012          4           4           4           4           4           4           4           4           4            4            4            4
1794570062          4           4           4           4           1           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1794429683       4      4      4      4      4      4      4      4      4      4      4       4
1794439929       4      4      4      4      3      4      4      4      4      4      4       4
1794440543       4      4      3      4      2      4      4      4      4      4      4       3
1794457239       4      4      4      4      4      4      1      4      4      4      4       4
1794466127       4      4      4      4      4      4      4      4      4      4      4       4
1794466682       4      4      4      4      4      4      4      4      4      4      4       4
1794469754       4      4      4      4      4      4      4      4      4      4      4       2
1794476034       4      4      4      4      4      4      4      4      4      4      4       4
1794496281       4      4      4      4      4      4      4      4      4      4      4       4
1794498769       4      4      4      4      4      4      4      4      4      4      4       1
1794512105       4      4      4      4      4      4      4      4      3      4      4       4
1794517480       4      4      4      4      2      4      4      4      4      4      4       4
1794519029       4      4      4      4      4      4      4      4      3      4      4       4
1794329768       4      4      4      4      4      4      4      4      4      4      4       3
1794521441       4      4      4      4      1      4      4      4      4      4      4       4
1794521735       4      4      4      4      1      4      4      4      4      4      4       4
1794523095       4      4      4      4      2      4      2      4      4      4      4       2
1794526206       4      4      4      4      4      4      4      4      3      4      4       4
1794526557       4      4      4      4      3      4      4      4      4      4      4       4
1794527292       4      4      4      4      4      4      4      4      4      4      4       4
1794529905       4      4      1      4      2      4      1      4      4      4      4       4
1794531290       4      4      4      4      4      4      4      4      4      4      4       1
1794536552       4      4      4      4      4      4      4      4      4      4      4       4
1794553217       4      4      4      4      4      4      4      4      3      4      4       4
1794553207       4      4      4      4      1      4      4      4      4      4      4       4
1794556112       4      4      4      4      4      4      4      4      4      4      4       4
1794559475       4      4      4      4      4      4      4      4      4      4      4       4
1794560042       4      4      4      4      4      4      4      4      4      4      4       4
1794562443       4      4      4      4      4      4      4      4      4      4      4       1
1794563655       4      4      4      4      4      4      4      4      4      4      4       4
1794563218       4      4      4      4      4      4      4      4      4      4      4       4
1794567012       4      4      4      4      2      4      1      4      4      4      4       4
1794570062       4      4      4      4      1      4      1      4      4      4      4       1


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1794429683       4      30         6   question   question          1    7/12/2022 17:01:00    7/12/2022 17:12:00
1794439929       4      20         6   quality    Quality           1    7/12/2022 17:14:00    7/12/2022 17:26:00
1794440543       4      33         6   survey     survey            1    7/12/2022 17:15:00    7/12/2022 17:21:00
1794457239       4      33         6   quality    Quality           1    7/12/2022 17:38:00    7/12/2022 17:48:00
1794466127       4      30         6   question   question          1    7/12/2022 17:50:00    7/12/2022 18:36:00
1794466682       4      46         6   check      Check             1    7/12/2022 17:50:00    7/12/2022 17:58:00
1794469754       3      46         6   question   question          1    7/12/2022 17:54:00    7/12/2022 18:00:00
1794476034       4      30         6   survey     Survey            1    7/12/2022 18:05:00    7/12/2022 18:19:00
1794496281       2      46         6   check      check             1    7/12/2022 18:31:00    7/12/2022 18:47:00
1794498769       1      46         6   survey     survey            1    7/12/2022 18:35:00    7/12/2022 18:50:00
1794512105       4      38         6   check      Check             1    7/12/2022 18:55:00    7/12/2022 19:10:00
1794517480       4      46         6   quality    quality           1    7/12/2022 19:03:00    7/12/2022 19:19:00
1794519029       4      30         6   question   question          1    7/12/2022 19:05:00    7/12/2022 19:13:00
1794329768       4       8         6   survey     survey            1    7/12/2022 19:06:00    7/12/2022 19:18:00
1794521441       4      51         6   question   question          1    7/12/2022 19:09:00    7/12/2022 19:37:00
1794521735       4      20         6   check      check             1    7/12/2022 19:09:00    7/12/2022 19:19:00
1794523095       2      46         6   quality    quality           1    7/12/2022 19:12:00    7/12/2022 19:21:00
1794526206       4      38         6   question   question          1    7/12/2022 19:16:00    7/12/2022 19:27:00
1794526557       4      20         6   quality    quality           1    7/12/2022 19:17:00    7/12/2022 19:30:00
1794527292       4      46         6   check      check             1    7/12/2022 19:19:00    7/12/2022 19:44:00
1794529905       4      20         6   survey     survey            1    7/12/2022 19:22:00    7/12/2022 19:45:00
1794531290       4      46         6   question   question          1    7/12/2022 19:25:00    7/12/2022 19:37:00
1794536552       4      30         6   survey     survey            1    7/12/2022 19:36:00    7/12/2022 19:47:00
1794553217       4      38         6   quality    quality           1    7/12/2022 19:58:00    7/12/2022 20:10:00
1794553207       4      51         6   quality    Quality           1    7/12/2022 19:59:00    7/12/2022 20:12:00
1794556112       4       1         6   check      check             1    7/12/2022 20:04:00    7/12/2022 20:12:00
1794559475       4      30         6   question   question          1    7/12/2022 20:10:00    7/12/2022 20:43:00
1794560042       4      30         6   survey     Survey            1    7/12/2022 20:11:00    7/12/2022 20:18:00
1794562443       1      46         6   check      check             1    7/12/2022 20:14:00    7/12/2022 20:19:00
1794563655       4      32         6   check      check             1    7/12/2022 20:17:00    7/12/2022 20:25:00
1794563218       4      46         6   quality    quality           1    7/12/2022 20:17:00    7/12/2022 20:30:00
1794567012       3      46         6   question   Question          1    7/12/2022 20:21:00    7/12/2022 20:38:00
1794570062       1      46         6   survey     survey            1    7/12/2022 20:26:00    7/12/2022 20:36:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1794577387        2         1         2   NJ            0           0           0           0           0           0           1          4
1794578735        4         2         4   NJ            0           0           0           0           0           0           1          7
1794580369        4         2         3   PA            0           0           0           0           0           0           1          6
1794581042        4         2         3   NJ            0           0           0           0           0           0           1          5
1794592576        2         2         3   PA            0           0           0           0           0           0           1          8
1794592747        4         2         3   VA            0           0           0           0           0           0           1          8
1794595122        3         2         3   NJ            0           0           0           0           0           0           1          7
1794598137        4         2         2   MD            0           0           0           0           0           0           1          5
1794597625        4         2         3   NJ            0           0           0           0           0           0           1          6
1794602063        2         2         3   DC            0           0           0           0           0           0           1          8
1794608259        3         2         3   DC            0           0           0           0           0           0           1          8
1794611399        1         1         3   VA            0           0           0           0           0           0           1          7
1794614549        1         1         3   VA            0           0           0           0           0           0           1          8
1794619726        4         2         3   NJ            0           0           0           0           0           0           1          7
1794619753        4         2         3   DE            0           0           0           0           0           0           1          8
1794619844        2         2         2   NJ            0           0           0           0           0           0           1          7
1794620653        4         2         4   VA            0           0           0           0           0           0           1          8
1794623511        4         2         2   PA            0           0           1           0           0           0           0          6
1794628168        1         2         3   NJ            0           0           0           0           0           0           1          8
1794632394        4         2         3   VA            0           0           1           0           0           0           0          4
1794636200        4         2         2   PA            0           0           0           0           0           0           1          4
1794638263        1         2         2   NJ            0           0           0           0           0           0           1          5
1794640048        4         2         2   MD            0           0           0           0           0           0           1          4
1794643149        4         2         2   VA            0           0           0           0           0           0           1          2
1794646912        4         2         3   MD            0           0           0           0           0           0           1          7
1794667883        1         2         4   PA            0           0           0           0           0           0           1          8
1794669312        2         2         2   VA            0           0           0           0           0           0           1          5
1794672894        4         2         2   NJ            0           0           0           0           0           0           1          3
1794680042        4         1         2   NJ            0           0           0           0           0           0           1          6
1794680834        4         2         2   VA            0           0           1           0           0           0           0          2
1794687840        2         1         3   VA            0           0           0           0           0           0           1          7
1794688357        4         2         2   VA            0           0           0           0           0           0           1          4
1794689295        4         2         2   GA            0           0           0           0           0           0           1          4


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1794577387          4           4           4           4           4           3           4           4           4            4            4            4
1794578735          4           4           4           4           4           3           4           4           4            4            4            4
1794580369          4           4           4           1           1           4           4           4           4            4            4            4
1794581042          4           4           4           4           4           2           4           4           4            4            4            4
1794592576          4           4           4           4           4           4           4           4           4            4            4            4
1794592747          4           2           4           4           4           4           4           4           4            4            4            4
1794595122          4           4           4           4           4           3           4           4           4            4            4            4
1794598137          4           4           4           4           4           4           4           4           4            4            4            4
1794597625          4           4           4           4           4           3           4           4           4            4            4            4
1794602063          4           3           4           4           4           4           4           4           4            4            4            4
1794608259          4           4           4           4           4           4           4           4           4            4            4            4
1794611399          4           4           4           4           4           4           4           4           4            4            4            4
1794614549          4           3           4           4           4           4           4           4           4            4            4            4
1794619726          4           4           4           4           4           1           4           4           4            4            4            4
1794619753          4           4           4           4           4           4           4           4           4            4            4            4
1794619844          4           4           4           4           4           3           4           4           4            4            4            4
1794620653          4           4           4           4           4           4           4           4           4            4            4            4
1794623511          4           4           4           4           4           4           4           4           4            4            4            4
1794628168          4           4           4           4           4           2           4           4           4            4            4            4
1794632394          4           4           4           4           4           4           4           4           4            4            4            4
1794636200          4           1           4           4           1           4           1           4           4            4            1            4
1794638263          4           4           4           4           4           2           4           4           4            4            4            4
1794640048          4           4           4           4           1           1           2           1           4            4            4            4
1794643149          4           2           4           4           4           4           4           4           4            4            4            4
1794646912          4           4           4           4           4           4           4           4           4            4            4            4
1794667883          4           4           4           4           4           1           4           4           4            4            4            4
1794669312          4           3           4           4           4           4           4           4           4            4            4            4
1794672894          4           4           4           4           4           4           4           4           4            4            4            4
1794680042          4           4           4           4           4           2           4           4           4            4            4            4
1794680834          4           4           4           4           4           4           4           4           4            4            4            4
1794687840          4           4           4           4           4           4           4           4           4            4            4            4
1794688357          4           2           4           4           4           4           4           4           4            4            4            4
1794689295          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1794577387       4      4      4      4      4      4      4      4      4      4      4       4
1794578735       4      4      4      4      4      4      4      4      4      4      4       4
1794580369       1      4      4      4      4      4      4      4      1      4      4       4
1794581042       4      4      4      4      4      4      4      4      4      4      4       4
1794592576       4      4      3      4      4      4      4      4      4      4      4       4
1794592747       4      4      2      4      3      4      4      4      4      4      4       4
1794595122       4      4      4      4      4      4      4      4      4      4      4       4
1794598137       4      4      4      4      3      4      4      4      4      4      4       4
1794597625       4      4      4      4      4      4      4      4      4      4      4       4
1794602063       4      4      4      4      4      4      4      4      4      4      4       4
1794608259       4      4      4      4      4      2      4      4      4      4      4       4
1794611399       4      4      4      4      4      4      1      4      4      4      4       4
1794614549       4      4      4      4      4      4      4      4      4      4      4       4
1794619726       4      4      4      4      4      4      4      4      4      4      4       4
1794619753       4      4      3      4      4      4      4      4      4      4      4       4
1794619844       4      4      4      4      4      4      4      4      4      4      4       4
1794620653       4      4      4      4      4      4      4      4      2      4      4       3
1794623511       4      4      4      4      4      4      4      4      2      4      4       4
1794628168       4      4      4      4      4      4      4      4      4      4      4       4
1794632394       4      4      4      4      4      4      4      4      4      4      4       1
1794636200       4      1      4      4      4      4      4      4      2      4      4       4
1794638263       4      4      4      4      4      4      4      4      4      4      4       4
1794640048       4      4      2      4      3      4      4      4      4      4      4       4
1794643149       4      4      4      4      2      4      4      4      4      4      4       2
1794646912       4      4      4      4      2      4      4      4      4      4      4       4
1794667883       4      4      4      4      4      4      4      4      4      4      4       4
1794669312       4      4      4      4      4      4      4      4      4      4      4       4
1794672894       1      4      4      4      4      4      4      4      4      4      4       4
1794680042       4      4      4      4      4      4      4      4      4      4      4       4
1794680834       4      4      4      4      4      4      4      4      4      4      4       1
1794687840       4      4      4      4      4      4      4      4      4      4      4       1
1794688357       4      4      4      4      1      4      4      4      2      4      4       1
1794689295       4      4      4      4      4      4      2      4      4      4      4       2


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1794577387       4      30         6   quality    quality           1    7/12/2022 20:38:00    7/12/2022 20:47:00
1794578735       4      30         6   survey     survey            1    7/12/2022 20:43:00    7/12/2022 20:55:00
1794580369       4      38         6   question   question          1    7/12/2022 20:44:00    7/12/2022 21:00:00
1794581042       4      30         6   check      Check             1    7/12/2022 20:44:00    7/12/2022 20:59:00
1794592576       4      38         6   survey     survey            1    7/12/2022 21:03:00    7/12/2022 21:20:00
1794592747       2      20         6   quality    Quality           1    7/12/2022 21:04:00    7/12/2022 21:11:00
1794595122       4      30         6   question   question          1    7/12/2022 21:08:00    7/12/2022 21:19:00
1794598137       4       3         6   check      Check             1    7/12/2022 21:14:00    7/12/2022 21:21:00
1794597625       4      30         6   question   question          1    7/12/2022 21:14:00    7/12/2022 21:35:00
1794602063       4       9         6   survey     SURVEY            1    7/12/2022 21:23:00    7/12/2022 21:31:00
1794608259       4      22         6   check      Check             1    7/12/2022 21:33:00    7/12/2022 21:45:00
1794611399       4      33         6   quality    quality           1    7/12/2022 21:39:00    7/12/2022 21:50:00
1794614549       4      46         6   question   question          1    7/12/2022 21:46:00    7/12/2022 22:26:00
1794619726       4      30         6   survey     survey            1    7/12/2022 21:56:00    7/12/2022 22:08:00
1794619753       4       8         6   check      Check             1    7/12/2022 21:56:00    7/12/2022 22:17:00
1794619844       4      30         6   quality    quality           1    7/12/2022 21:56:00    7/12/2022 22:08:00
1794620653       4      38         6   question   question          1    7/12/2022 21:58:00    7/12/2022 22:08:00
1794623511       4      38         6   check      Check             1    7/12/2022 22:04:00    7/12/2022 22:11:00
1794628168       4      30         6   quality    quality           1    7/12/2022 22:14:00    7/12/2022 22:42:00
1794632394       1      46         6   survey     Survey            1    7/12/2022 22:22:00    7/12/2022 22:30:00
1794636200       2      38         6   check      Check             1    7/12/2022 22:30:00    7/12/2022 22:38:00
1794638263       4      30         6   quality    quality           1    7/12/2022 22:34:00    7/12/2022 22:41:00
1794640048       4      20         6   question   question          1    7/12/2022 22:40:00    7/12/2022 23:09:00
1794643149       2      46         6   survey     Survey            1    7/12/2022 22:45:00    7/12/2022 22:53:00
1794646912       4      20         6   survey     Survey            1    7/12/2022 22:56:00    7/12/2022 23:09:00
1794667883       4      30         6   check      check             1    7/12/2022 23:44:00     7/13/2022 0:29:00
1794669312       4      46         6   quality    quality           1    7/12/2022 23:47:00    7/12/2022 23:57:00
1794672894       4      30         6   question   Question          1    7/12/2022 23:57:00     7/13/2022 0:18:00
1794680042       4      30         6   quality    quality           1     7/13/2022 0:16:00     7/13/2022 0:34:00
1794680834       4      46         6   check      Check             1     7/13/2022 0:17:00     7/13/2022 0:24:00
1794687840       4      46         6   question   question          1     7/13/2022 0:37:00     7/13/2022 0:44:00
1794688357       4      46         6   survey     Survey            1     7/13/2022 0:39:00     7/13/2022 0:48:00
1794689295       2      20         6   question   question          1     7/13/2022 0:42:00     7/13/2022 0:50:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1794698365        4         1         4   PA            0           0           0           0           0           0           1          8
1794709075        4         1         3   PA            0           0           0           0           0           0           1          7
1794724349        4         2         3   PA            0           0           0           0           0           0           1          2
1794735156        4         2         3   NJ            0           0           0           0           0           0           1          5
1794738013        4         2         3   VA            0           0           0           0           0           0           1          8
1794739152        2         2         3   NJ            0           0           0           0           0           0           1          4
1794740776        4         2         3   NJ            0           0           0           0           0           0           1          2
1794745572        3         2         4   NJ            0           0           0           0           0           0           1          6
1794793903        2         2         3   VA            0           0           0           0           0           0           1          7
1794802854        4         2         3   VA            0           0           0           0           0           0           1          6
1794804209        4         2         3   VA            0           0           0           0           0           0           1          6
1794819653        4         2         4   NJ            0           0           0           0           0           0           1          8
1794829034        4         2         4   MD            0           0           0           0           0           0           1          6
1794834815        4         2         3   VA            0           0           0           0           0           0           1          5
1794835277        2         2         3   NJ            0           0           0           0           0           0           1          2
1794840951        2         2         3   VA            0           0           0           0           0           0           1          7
1794851150        2         2         5   NJ            0           0           0           0           0           0           1          5
1794854481        2         2         4   PA            0           0           0           0           0           0           1          8
1794870864        1         2         3   PA            0           0           0           0           0           0           1          4
1794874503        4         2         4   PA            0           0           0           0           0           0           1          8
1794878274        4         2         3   PA            0           0           0           0           0           0           1          7
1794890174        4         1         3   NJ            0           0           0           0           0           0           1          5
1794892245        2         2         4   VA            0           0           0           0           0           0           1          8
1794898393        4         2         2   VA            0           0           0           0           0           0           1          6
1794888287        4         1         3   VA            0           0           0           0           0           0           1          6
1794913430        4         2         4   VA            0           0           0           0           0           0           1          7
1794922715        2         2         3   MD            0           0           0           0           0           0           1          7
1794922463        1         2         3   VA            0           0           0           0           0           0           1          7
1794932666        4         2         4   PA            0           0           0           0           0           0           1          8
1794933839        4         2         4   NJ            0           0           0           0           0           0           1          6
1794933662        2         2         2   MD            0           0           0           0           0           0           1          5
1794935627        4         2         2   PA            0           0           1           0           0           0           0          6
1794937871        4         2         2   PA            0           0           0           0           0           0           1          6


                                                                                                                                          M-89
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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1794698365          4           4           4           4           4           4           4           4           4            4            4            4
1794709075          4           4           4           4           4           4           4           2           4            4            4            4
1794724349          4           4           4           1           4           1           1           4           4            4            4            4
1794735156          4           4           4           2           4           2           4           4           4            4            4            4
1794738013          4           4           4           4           4           1           4           4           4            4            4            4
1794739152          4           2           4           4           4           4           1           1           4            4            4            4
1794740776          4           4           4           1           4           1           1           4           4            4            1            4
1794745572          4           4           4           4           4           3           4           4           4            4            4            4
1794793903          2           2           4           2           3           2           2           2           2            2            4            4
1794802854          4           4           4           4           4           4           4           4           4            4            4            4
1794804209          1           1           4           4           4           4           1           4           4            4            4            4
1794819653          4           4           4           1           1           1           1           1           4            4            4            4
1794829034          4           4           4           4           4           4           4           4           4            4            4            4
1794834815          4           4           4           4           4           4           4           4           4            4            4            4
1794835277          4           4           4           4           4           1           4           4           2            4            4            4
1794840951          4           4           4           4           4           4           4           4           4            4            4            4
1794851150          4           4           4           4           2           2           4           2           2            4            4            4
1794854481          4           4           4           4           4           2           4           4           4            4            4            4
1794870864          4           4           4           4           1           4           4           4           4            4            4            4
1794874503          4           4           4           4           4           4           4           4           4            4            4            4
1794878274          4           4           4           4           4           4           4           4           4            4            4            4
1794890174          4           4           4           4           4           2           4           4           4            4            4            4
1794892245          4           1           4           4           4           4           4           4           4            4            4            4
1794898393          4           4           4           4           1           4           4           4           4            4            4            4
1794888287          4           4           4           4           4           4           4           4           4            4            4            4
1794913430          4           4           4           4           4           4           4           4           4            4            1            1
1794922715          4           4           4           4           4           4           4           4           4            4            4            4
1794922463          4           3           4           4           4           4           4           4           4            4            4            4
1794932666          4           4           4           4           3           4           4           4           4            4            4            4
1794933839          4           4           4           4           4           2           4           4           4            4            4            4
1794933662          4           4           4           4           4           4           4           4           4            4            4            4
1794935627          4           4           4           4           4           4           4           4           4            4            4            4
1794937871          4           4           4           4           2           4           4           4           4            2            4            4


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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1794698365       4      4      1      4      2      4      4      4      4      4      4       4
1794709075       4      4      4      4      2      4      4      4      4      4      4       4
1794724349       1      4      1      4      4      4      4      4      1      4      4       4
1794735156       4      4      1      4      4      4      4      4      4      4      4       4
1794738013       4      4      4      4      4      4      4      4      4      4      4       4
1794739152       4      4      4      4      4      4      4      4      4      4      4       4
1794740776       4      4      4      4      4      4      4      4      1      4      4       4
1794745572       4      4      4      4      4      4      4      4      4      4      4       4
1794793903       4      4      4      4      4      4      4      4      3      4      4       2
1794802854       4      4      4      4      4      4      2      4      4      4      4       4
1794804209       4      4      4      4      4      4      4      4      4      4      4       1
1794819653       4      1      1      4      1      4      4      4      1      4      4       1
1794829034       4      4      4      4      1      4      4      4      4      4      4       4
1794834815       4      4      4      4      4      4      4      4      4      4      4       1
1794835277       4      4      1      4      4      4      4      4      4      4      4       3
1794840951       4      4      4      4      2      4      4      4      2      4      4       4
1794851150       4      4      4      4      4      4      4      4      4      4      4       4
1794854481       4      4      2      4      4      2      4      4      4      4      4       4
1794870864       4      4      4      4      4      4      4      4      4      4      4       4
1794874503       4      4      4      4      4      4      4      4      3      4      4       4
1794878274       4      4      4      4      4      4      4      4      3      4      4       4
1794890174       4      4      4      4      4      4      4      4      4      4      4       4
1794892245       4      4      4      4      4      4      4      4      4      4      4       1
1794898393       4      4      4      3      4      4      4      4      4      4      4       4
1794888287       4      4      4      4      4      4      4      4      4      4      4       4
1794913430       4      4      4      4      4      4      4      4      4      4      4       4
1794922715       4      4      4      4      3      4      4      4      4      4      4       4
1794922463       4      4      4      4      4      4      4      4      4      4      4       4
1794932666       4      4      4      4      4      4      2      4      4      4      4       4
1794933839       4      4      4      4      4      4      4      4      4      4      4       4
1794933662       4      4      4      4      1      4      4      4      4      4      4       4
1794935627       4      4      4      4      4      4      4      4      2      4      4       4
1794937871       4      4      4      4      4      4      4      4      3      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime          EndTime
1794698365       4      38         6   quality    Quality           1     7/13/2022 1:09:00 7/13/2022 1:32:00
1794709075       4      20         6   survey     survey            1     7/13/2022 1:40:00 7/13/2022 1:52:00
1794724349       1      38         6   question   question          1     7/13/2022 2:30:00 7/13/2022 2:46:00
1794735156       4      30         6   check      Check             1     7/13/2022 3:04:00 7/13/2022 3:17:00
1794738013       4      30         6   quality    quality           1     7/13/2022 3:11:00 7/13/2022 3:25:00
1794739152       4      32         6   survey     survey            1     7/13/2022 3:13:00 7/13/2022 3:27:00
1794740776       4      30         6   question   Question          1     7/13/2022 3:17:00 7/13/2022 3:24:00
1794745572       4      30         6   check      check             1     7/13/2022 3:29:00 7/13/2022 3:46:00
1794793903       2      38         6   quality    quality           1     7/13/2022 5:20:00 7/13/2022 5:38:00
1794802854       4      42         6   survey     Survey            1     7/13/2022 5:38:00 7/13/2022 5:46:00
1794804209       1      46         6   survey     survey            1     7/13/2022 5:44:00 7/13/2022 5:56:00
1794819653       4      30         6   check      Check             1     7/13/2022 6:13:00 7/13/2022 6:20:00
1794829034       4      20         6   question   question          1     7/13/2022 6:31:00 7/13/2022 6:37:00
1794834815       1      42         6   survey     Survey            1     7/13/2022 6:41:00 7/13/2022 6:50:00
1794835277       2      30         6   check      check             1     7/13/2022 6:42:00 7/13/2022 6:57:00
1794840951       3      38         6   question   question          1     7/13/2022 6:53:00 7/13/2022 7:02:00
1794851150       4       9         6   quality    quality           1     7/13/2022 7:11:00 7/13/2022 7:33:00
1794854481       4      38         6   quality    quality           1     7/13/2022 7:17:00 7/13/2022 7:37:00
1794870864       4      38         6   check      CHECK             1     7/13/2022 7:45:00 7/13/2022 8:00:00
1794874503       4      38         6   survey     Survey            1     7/13/2022 7:48:00 7/13/2022 8:02:00
1794878274       4      38         6   survey     Survey            1     7/13/2022 7:55:00 7/13/2022 8:11:00
1794890174       4      30         6   check      Check             1     7/13/2022 8:13:00 7/13/2022 8:20:00
1794892245       4      46         6   question   question          1     7/13/2022 8:16:00 7/13/2022 8:29:00
1794898393       4      46         6   quality    quality           1     7/13/2022 8:26:00 7/13/2022 8:33:00
1794888287       1      46         6   check      Check             1     7/13/2022 8:30:00 7/13/2022 8:43:00
1794913430       4       5         6   survey     Survey            1     7/13/2022 8:46:00 7/13/2022 8:58:00
1794922715       4      20         6   quality    quality           1     7/13/2022 8:59:00 7/13/2022 9:06:00
1794922463       4      46         6   question   question          1     7/13/2022 9:00:00 7/13/2022 9:43:00
1794932666       4      33         6   survey     Survey            1     7/13/2022 9:12:00 7/13/2022 9:23:00
1794933839       4      30         6   question   Question          1     7/13/2022 9:14:00 7/13/2022 9:22:00
1794933662       4      20         6   question   question          1     7/13/2022 9:14:00 7/13/2022 9:23:00
1794935627       4      38         6   question   question          1     7/13/2022 9:17:00 7/13/2022 9:41:00
1794937871       4      38         6   survey     survey            1     7/13/2022 9:18:00 7/13/2022 9:29:00


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AMSID       QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
 1794938984        2         1         4   NJ            0           0           0           0           0           0           1          8
 1794948991        2         2         3   VA            0           0           0           0           0           0           1          8
 1794951007        2         2         2   MD            0           0           0           0           0           0           1          6
 1794971439        4         1         3   VA            0           0           0           0           0           0           1          6
 1794990239        2         2         3   DE            0           0           0           0           0           0           1          8
 1794991420        4         2         2   NJ            0           0           1           0           0           0           0          3
 1794997550        2         1         3   PA            0           0           0           0           0           0           1          7
 1795017829        2         1         3   MD            0           0           0           0           0           0           1          6
fX61RNK6           2         2         2   NJ            0           0           1           0           0           0           0          5
HYw3wzz6           4         1         2   CA            0           0           0           0           0           0           1          4
 1796136815        4         2         4   MD            0           0           0           0           0           0           1          8
 1796164610        1         2         2   PA            0           0           0           0           0           0           1          5
 1796173852        4         2         4   DE            0           0           0           0           0           0           1          8
 1796176767        4         2         3   DE            0           0           1           0           0           0           0          4
 1796197853        2         2         2   VA            0           0           0           0           0           0           1          6
gsIRgCcu           2         2         2   DE            0           0           0           0           0           0           1          5
 1796200531        2         2         2   PA            0           0           0           0           0           0           1          4
 1796235705        3         2         4   NJ            0           0           0           0           0           0           1          8
07NBxOcT           2         2         2   MD            0           0           0           0           0           0           1          4
 1796294789        4         2         2   VA            0           0           0           0           0           0           1          2
 1796301831        1         1         3   DC            0           0           0           0           0           0           1          7
 1796321963        2         2         2   VA            0           0           0           0           0           0           1          4
 1796327693        2         2         3   DE            0           0           0           0           0           0           1          7
 1796385115        2         1         2   MD            0           0           0           0           0           0           1          3
 1796402215        1         1         3   MD            0           0           0           0           0           0           1          7
 1796410247        3         1         4   NJ            0           0           0           0           0           0           1          6
 1796432503        1         1         2   VA            0           0           0           0           0           0           1          3
 1796434851        2         2         2   MD            0           0           0           0           0           0           1          4
 1796436404        4         2         3   NJ            0           0           0           0           0           0           1          4
 1796449111        1         2         3   NJ            0           0           0           0           0           0           1          6
 1796457061        4         2         2   MD            0           0           0           0           0           0           1          3
 1796461037        2         2         4   MD            0           0           0           0           0           0           1          8
 1796460502        2         2         3   PA            0           0           0           0           0           0           1          7


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AMSID       QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
 1794938984          4           4           4           4           4           4           4           4           4            4            4            2
 1794948991          4           4           4           4           4           4           4           4           4            4            4            4
 1794951007          4           4           4           4           4           4           4           4           4            4            4            4
 1794971439          4           2           4           4           4           4           4           4           4            4            4            4
 1794990239          4           4           4           4           4           4           4           4           4            4            4            4
 1794991420          4           4           4           4           4           2           4           4           4            4            4            4
 1794997550          4           4           4           4           4           4           4           4           4            4            4            4
 1795017829          4           3           4           4           4           4           4           4           4            4            4            4
fX61RNK6             4           4           4           4           4           2           4           4           4            4            4            4
HYw3wzz6             4           4           4           4           4           4           4           4           4            4            4            4
 1796136815          4           4           4           4           4           4           4           4           4            4            4            4
 1796164610          4           4           4           4           4           4           4           4           4            4            4            4
 1796173852          4           4           4           4           4           4           4           4           4            4            4            4
 1796176767          4           4           4           4           4           4           4           4           4            4            4            4
 1796197853          4           2           4           4           4           4           4           4           4            4            4            4
gsIRgCcu             4           4           4           4           4           4           4           4           4            4            4            4
 1796200531          4           4           4           4           1           4           2           3           4            4            4            4
 1796235705          4           4           4           4           4           3           4           4           4            4            4            4
07NBxOcT             4           4           4           4           4           4           4           4           4            4            4            4
 1796294789          4           4           4           4           4           4           4           4           4            4            4            4
 1796301831          4           4           4           4           4           4           4           4           4            4            4            4
 1796321963          4           4           4           4           4           4           4           4           4            4            4            4
 1796327693          4           4           4           4           4           4           4           4           4            4            4            4
 1796385115          4           4           4           4           4           4           4           4           4            4            4            4
 1796402215          4           4           4           4           4           4           4           4           4            4            4            4
 1796410247          4           4           4           4           4           3           4           4           4            4            4            4
 1796432503          4           2           4           4           4           4           4           4           4            4            4            4
 1796434851          4           4           4           2           4           2           4           4           4            4            4            4
 1796436404          4           4           4           4           4           1           4           4           4            4            4            4
 1796449111          4           4           4           4           4           3           4           4           4            4            4            4
 1796457061          4           4           4           4           4           4           4           4           4            4            4            4
 1796461037          2           4           4           4           2           2           4           4           4            4            4            4
 1796460502          4           4           4           4           4           2           4           4           4            4            4            4


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                                      Exhibit M: Screener Data Listing

AMSID       QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
 1794938984       4      4      4      4      4      4      4      4      4      4      4       4
 1794948991       4      4      4      4      4      4      4      4      4      4      4       3
 1794951007       4      4      4      4      3      4      4      4      4      4      4       4
 1794971439       4      4      4      4      1      4      4      4      1      4      4       4
 1794990239       4      4      3      4      4      4      4      4      4      4      4       4
 1794991420       4      4      4      4      4      4      4      4      4      4      4       4
 1794997550       4      4      2      4      4      4      4      4      4      4      4       4
 1795017829       4      4      4      4      4      4      4      4      4      4      4       2
fX61RNK6          4      4      3      4      1      2      4      4      4      4      4       4
HYw3wzz6          4      4      3      4      4      4      4      4      4      4      4       4
 1796136815       4      4      4      4      2      2      4      4      4      4      4       4
 1796164610       4      4      4      4      4      4      4      4      2      4      4       4
 1796173852       4      4      3      4      4      4      4      4      4      4      4       4
 1796176767       4      4      1      4      4      4      4      4      4      4      4       4
 1796197853       4      4      4      4      2      4      4      4      4      4      4       2
gsIRgCcu          4      4      3      4      4      4      4      4      4      4      4       4
 1796200531       4      4      4      4      4      4      4      4      1      4      4       4
 1796235705       4      4      4      4      4      4      4      4      4      4      4       4
07NBxOcT          4      4      3      4      4      4      4      4      4      4      4       4
 1796294789       1      4      4      4      1      4      4      4      2      4      4       2
 1796301831       4      3      4      4      4      4      4      4      4      4      4       4
 1796321963       4      4      4      4      4      4      4      4      4      4      4       4
 1796327693       4      4      3      4      4      4      4      4      4      4      4       4
 1796385115       4      4      4      4      3      4      4      4      4      4      4       4
 1796402215       4      4      4      4      4      4      4      4      2      4      4       4
 1796410247       4      4      4      4      4      4      4      4      4      4      4       4
 1796432503       4      4      4      4      4      4      4      4      4      4      4       1
 1796434851       4      4      4      4      3      2      2      4      4      4      4       1
 1796436404       4      4      4      4      4      4      4      4      4      4      4       4
 1796449111       4      4      4      4      4      4      4      4      4      4      4       4
 1796457061       4      4      4      4      1      4      4      4      4      4      4       4
 1796461037       2      4      4      4      2      4      4      4      4      4      4       2
 1796460502       4      4      4      4      4      4      4      4      4      4      4       4


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AMSID       QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
 1794938984       4       5         6   quality    quality           1     7/13/2022 9:20:00     7/13/2022 9:26:00
 1794948991       2      46         6   quality    quality           1     7/13/2022 9:31:00     7/13/2022 9:39:00
 1794951007       4      20         6   check      check             1     7/13/2022 9:34:00     7/13/2022 9:47:00
 1794971439       1      46         6   survey     Survey            1     7/13/2022 9:56:00    7/13/2022 10:08:00
 1794990239       4       8         6   check      check             1    7/13/2022 10:18:00    7/13/2022 10:29:00
 1794991420       4      30         6   quality    Quality           1    7/13/2022 10:22:00    7/13/2022 10:42:00
 1794997550       4      38         6   survey     survey            1    7/13/2022 10:26:00    7/13/2022 10:41:00
 1795017829       4      20         6   quality    quality           1    7/13/2022 10:51:00    7/13/2022 11:45:00
fX61RNK6          4      30         6   question   question          1    7/13/2022 21:32:00    7/13/2022 21:47:00
HYw3wzz6          4       5         6   check      check             1     7/14/2022 2:02:00     7/14/2022 2:11:00
 1796136815       4      20         6   question   question          1    7/14/2022 12:48:00    7/14/2022 12:59:00
 1796164610       4      38         6   question   question          1    7/14/2022 13:20:00    7/14/2022 13:50:00
 1796173852       4       8         6   quality    quality           1    7/14/2022 13:23:00    7/14/2022 13:37:00
 1796176767       4       8         6   survey     Survey            1    7/14/2022 13:26:00    7/14/2022 13:39:00
 1796197853       2      46         6   survey     survey            1    7/14/2022 13:46:00    7/14/2022 14:03:00
gsIRgCcu          4       8         6   question   question          1    7/14/2022 13:48:00    7/14/2022 14:00:00
 1796200531       4      38         6   quality    quality           1    7/14/2022 13:48:00    7/14/2022 13:58:00
 1796235705       4      30         6   check      check             1    7/14/2022 14:24:00    7/14/2022 14:31:00
07NBxOcT          4      20         6   survey     survey            1    7/14/2022 14:31:00    7/14/2022 14:38:00
 1796294789       2      46         6   question   Question          1    7/14/2022 15:28:00    7/14/2022 15:35:00
 1796301831       4       7         6   quality    quality           1    7/14/2022 15:36:00    7/14/2022 15:44:00
 1796321963       1      46         6   check      check             1    7/14/2022 15:55:00    7/14/2022 16:31:00
 1796327693       4       8         6   check      check             1    7/14/2022 16:01:00    7/14/2022 16:14:00
 1796385115       4      20         6   question   question          1    7/14/2022 17:06:00    7/14/2022 17:16:00
 1796402215       4      38         6   survey     survey            1    7/14/2022 17:25:00    7/14/2022 17:32:00
 1796410247       4      30         6   quality    QUALITY           1    7/14/2022 17:35:00    7/14/2022 17:45:00
 1796432503       1      46         6   survey     survey            1    7/14/2022 18:07:00    7/14/2022 18:14:00
 1796434851       1      20         6   check      check             1    7/14/2022 18:08:00    7/14/2022 18:19:00
 1796436404       4      30         6   question   question          1    7/14/2022 18:11:00    7/14/2022 18:27:00
 1796449111       4      30         6   quality    quality           1    7/14/2022 18:29:00    7/14/2022 18:55:00
 1796457061       4      20         6   quality    Quality           1    7/14/2022 18:41:00    7/14/2022 18:50:00
 1796461037       4       9         6   question   question          1    7/14/2022 18:45:00    7/14/2022 19:02:00
 1796460502       4      30         6   survey     survey            1    7/14/2022 18:46:00    7/14/2022 18:53:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1796470680        2         2         5   PA            0           0           0           0           0           0           1          7
1796471023        1         2         3   PA            0           0           0           0           0           0           1          7
1796477283        4         2         2   VA            0           0           0           0           0           0           1          6
1796480917        4         2         3   MD            0           0           0           0           0           0           1          6
1796492653        4         1         2   NJ            0           0           0           0           0           0           1          2
1796495726        4         2         4   VA            0           0           0           0           0           0           1          8
1796499510        1         2         3   MD            0           0           0           0           0           0           1          6
1796511067        2         1         3   MD            0           0           0           0           0           0           1          6
1796514794        2         2         3   NJ            0           0           1           0           0           0           0          7
1796517548        2         2         2   PA            0           0           0           0           0           0           1          3
1796529297        4         2         2   VA            0           0           0           0           0           0           1          5
1796538500        4         2         2   NJ            0           0           0           0           0           0           1          5
1796552936        4         2         4   PA            0           0           0           0           0           0           1          8
1796552836        4         2         2   PA            0           0           0           0           0           0           1          3
1796554511        1         2         4   NJ            0           0           1           0           0           0           0          4
1796560812        2         1         2   NJ            0           0           0           0           0           0           1          6
1796563920        2         2         4   PA            0           0           0           0           0           0           1          7
1796578581        2         2         4   NJ            0           0           0           0           0           0           1          8
1796583137        1         1         2   VA            0           0           0           0           0           0           1          3
1796590629        2         2         3   NJ            0           0           0           0           0           0           1          8
1796593741        4         2         3   MD            0           0           1           0           0           0           0          7
1796594336        4         2         2   VA            0           0           0           0           0           0           1          3
1796601929        4         2         3   NJ            0           0           0           0           0           0           1          7
1796605034        4         1         3   NJ            0           0           0           0           0           0           1          8
1796617659        3         1         4   PA            0           0           0           0           0           0           1          7
1796642949        4         1         2   NJ            0           0           0           0           0           0           1          4
1796660432        4         2         3   PA            0           0           0           0           0           0           1          5
1796667799        4         2         2   PA            0           0           0           0           0           0           1          5
1796673075        4         2         3   VA            0           0           0           0           0           0           1          2
1796703008        1         2         2   VA            0           0           0           0           0           0           1          6
1796734852        1         1         4   DE            0           0           0           0           0           0           1          3
1796747903        4         2         2   PA            0           0           0           0           0           0           1          7
1796761949        2         2         3   VA            0           0           0           0           0           0           1          5


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1796470680          4           4           4           4           4           4           4           4           4            4            4            4
1796471023          4           4           4           4           4           1           4           4           4            4            4            4
1796477283          4           4           4           4           4           4           4           4           4            4            4            4
1796480917          4           3           4           4           4           4           4           4           4            4            4            4
1796492653          4           4           4           4           4           2           4           4           4            4            4            4
1796495726          4           2           4           4           4           4           4           4           4            4            4            4
1796499510          4           4           4           4           2           4           4           4           4            4            4            4
1796511067          4           4           4           4           4           4           4           4           4            4            4            4
1796514794          4           4           4           4           4           3           4           4           2            4            4            4
1796517548          4           4           4           4           4           2           4           4           4            4            4            4
1796529297          4           1           4           4           4           4           4           4           4            4            4            4
1796538500          4           4           4           4           4           2           4           4           4            4            4            4
1796552936          4           4           4           4           4           3           4           4           4            4            4            4
1796552836          1           1           4           4           4           4           4           4           4            4            4            4
1796554511          4           4           4           4           4           3           4           4           1            4            4            4
1796560812          4           4           4           4           4           3           4           4           4            4            4            4
1796563920          4           4           4           4           4           4           4           4           4            4            4            4
1796578581          4           4           4           2           4           3           4           4           4            4            4            4
1796583137          4           3           4           4           4           4           4           4           4            4            4            4
1796590629          4           4           4           4           4           4           4           4           4            4            4            4
1796593741          4           4           4           4           4           4           4           4           4            4            4            4
1796594336          4           2           4           4           4           4           4           4           4            4            1            4
1796601929          4           4           4           4           4           4           4           3           4            4            4            4
1796605034          4           4           4           4           4           3           4           4           4            4            4            4
1796617659          4           4           4           4           1           4           4           4           4            4            4            4
1796642949          4           4           4           4           4           2           4           4           4            4            4            4
1796660432          3           4           4           4           2           4           4           4           4            4            4            1
1796667799          4           4           4           4           4           4           3           4           4            4            4            4
1796673075          4           4           4           4           1           4           4           4           4            4            4            4
1796703008          1           3           4           4           4           4           4           4           4            4            4            4
1796734852          4           4           4           4           4           4           4           4           4            4            4            4
1796747903          4           4           4           4           4           4           4           4           4            4            4            4
1796761949          4           4           4           1           4           4           4           1           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1796470680       4      4      4      4      4      4      4      4      1      4      4       4
1796471023       4      4      1      4      4      4      4      4      1      4      4       4
1796477283       4      4      4      4      4      4      4      4      4      4      4       4
1796480917       4      4      4      4      1      4      4      4      4      4      4       4
1796492653       4      4      4      4      4      4      4      4      4      4      4       4
1796495726       4      4      4      4      4      4      4      4      4      4      4       3
1796499510       4      4      4      4      4      4      2      4      4      4      4       4
1796511067       4      4      4      4      3      4      4      4      4      4      4       4
1796514794       4      4      4      4      2      4      4      2      4      4      4       4
1796517548       4      4      2      4      2      4      4      4      2      4      4       4
1796529297       4      4      4      4      4      4      4      4      4      4      4       4
1796538500       4      4      4      4      4      4      4      4      4      4      4       4
1796552936       4      4      4      4      4      4      4      4      4      4      4       4
1796552836       4      4      4      4      1      4      4      4      1      4      4       4
1796554511       4      4      1      4      4      4      4      4      4      4      4       4
1796560812       4      4      4      4      4      4      4      4      4      4      4       4
1796563920       4      4      4      4      4      4      4      4      2      4      4       4
1796578581       4      4      4      4      4      4      4      4      4      4      4       4
1796583137       4      4      4      4      4      4      4      4      4      4      4       1
1796590629       4      4      2      4      4      4      4      4      4      4      4       4
1796593741       4      4      4      4      3      4      4      4      4      4      4       4
1796594336       4      4      4      4      1      4      4      4      1      4      4       1
1796601929       4      4      4      4      4      4      4      4      4      4      4       4
1796605034       4      4      4      4      2      4      4      4      4      4      4       4
1796617659       4      4      4      1      4      4      4      4      2      4      4       4
1796642949       4      4      4      4      4      4      4      4      4      4      4       4
1796660432       4      4      4      4      4      4      4      1      4      4      4       4
1796667799       4      4      4      4      4      4      4      4      4      4      4       4
1796673075       4      4      4      4      4      4      4      4      4      4      4       1
1796703008       4      4      4      4      4      1      1      4      4      4      4       2
1796734852       4      4      2      4      4      4      4      4      4      4      4       4
1796747903       4      4      4      4      4      4      4      4      2      4      4       4
1796761949       4      4      4      4      4      4      4      4      4      4      4       1


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1796470680       4      38         6   check      check             1    7/14/2022 18:59:00    7/14/2022 19:08:00
1796471023       1      38         6   check      check             1    7/14/2022 19:01:00    7/14/2022 19:13:00
1796477283       3      46         6   quality    quality           1    7/14/2022 19:09:00    7/14/2022 19:16:00
1796480917       4      48         6   question   question          1    7/14/2022 19:15:00    7/14/2022 19:22:00
1796492653       4      30         6   survey     survey            1    7/14/2022 19:33:00    7/14/2022 19:51:00
1796495726       2      46         6   check      check             1    7/14/2022 19:38:00    7/14/2022 19:45:00
1796499510       4      51         6   survey     survey            1    7/14/2022 19:47:00    7/14/2022 20:23:00
1796511067       4      20         6   question   question          1    7/14/2022 20:07:00    7/14/2022 20:30:00
1796514794       4      30         6   quality    quality           1    7/14/2022 20:09:00    7/14/2022 20:44:00
1796517548       4      30         6   survey     survey            1    7/14/2022 20:13:00    7/14/2022 20:20:00
1796529297       4      46         6   question   question          1    7/14/2022 20:32:00    7/14/2022 20:42:00
1796538500       4      30         6   check      check             1    7/14/2022 20:47:00    7/14/2022 20:53:00
1796552936       4      30         6   quality    quality           1    7/14/2022 21:11:00    7/14/2022 21:18:00
1796552836       4      38         6   question   question          1    7/14/2022 21:12:00    7/14/2022 21:18:00
1796554511       4      30         6   survey     survey            1    7/14/2022 21:14:00    7/14/2022 21:27:00
1796560812       4      30         6   check      check             1    7/14/2022 21:26:00    7/14/2022 21:37:00
1796563920       4      38         6   quality    quality           1    7/14/2022 21:31:00    7/14/2022 21:51:00
1796578581       4      30         6   survey     survey            1    7/14/2022 22:07:00    7/14/2022 22:25:00
1796583137       2      46         6   quality    quality           1    7/14/2022 22:07:00    7/14/2022 22:17:00
1796590629       4      30         6   question   question          1    7/14/2022 22:19:00    7/14/2022 22:29:00
1796593741       4      20         6   check      Check             1    7/14/2022 22:25:00    7/14/2022 22:52:00
1796594336       1      46         6   survey     survey            1    7/14/2022 22:26:00    7/14/2022 22:39:00
1796601929       4      32         6   question   Question          1    7/14/2022 22:42:00    7/14/2022 22:50:00
1796605034       4      30         6   quality    Quality           1    7/14/2022 22:46:00    7/14/2022 22:55:00
1796617659       4      38         6   check      Check             1    7/14/2022 23:11:00    7/14/2022 23:27:00
1796642949       4      30         6   survey     survey            1     7/15/2022 0:07:00     7/15/2022 0:27:00
1796660432       4      38         6   question   Question          1     7/15/2022 0:54:00     7/15/2022 1:01:00
1796667799       4      32         6   quality    quality           1     7/15/2022 1:13:00     7/15/2022 1:22:00
1796673075       1      46         6   check      Check             1     7/15/2022 1:30:00     7/15/2022 1:41:00
1796703008       2      46         6   question   question          1     7/15/2022 2:53:00     7/15/2022 3:00:00
1796734852       4       8         6   check      check             1     7/15/2022 4:04:00     7/15/2022 4:14:00
1796747903       4      38         6   quality    quality           1     7/15/2022 4:32:00     7/15/2022 4:48:00
1796761949       3      46         6   survey     survey            1     7/15/2022 5:06:00     7/15/2022 5:17:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1796766398        4         2         2   PA            0           0           0           0           0           0           1           5
1796776009        4         1         3   PA            0           0           0           0           0           0           1           7
1796804233        2         1         3   DE            0           0           0           0           0           0           1           7
1796812530        4         2         4   VA            0           0           0           0           0           0           1           7
1796811803        2         1         3   VA            0           0           0           0           0           0           1           4
1796821427        4         2         3   DE            0           0           0           0           0           0           1           3
1796865363        4         2         2   VA            0           0           0           0           0           0           1           4
1796872897        2         2         2   MD            0           0           0           0           0           0           1           6
1796846407        4         2         3   VA            0           0           0           0           0           0           1           7
1796886829        4         2         2   MD            0           0           0           0           0           0           1           6
1796901078        4         2         4   NJ            0           0           0           0           0           0           1           7
1796903526        2         2         2   MD            0           0           0           0           0           0           1           5
1796911773        2         2         4   NJ            0           0           0           0           0           0           1           6
1796913552        4         2         2   NJ            0           0           1           0           0           0           0           3
1796924821        4         2         4   PA            0           0           0           0           0           0           1           8
1796932942        2         1         3   MD            0           0           1           0           0           0           0           6
1796928859        2         2         3   VA            0           0           0           0           0           0           1           2
nE4lQJGU          4         2         3   DE            0           0           0           0           0           0           1           5
1796922026        2         2         5   NJ            0           0           0           0           0           0           1           8
1796955687        4         2         2   VA            0           0           0           0           0           0           1           4
1796956560        4         2         3   VA            0           0           0           0           0           0           1           8
1796959692        3         2         4   MD            0           0           0           0           0           0           1           8
bjcD7Wpt          2         2         2   DE            0           0           0           0           0           0           1           6
1797000306        2         1         3   VA            0           0           0           0           0           0           1           7
1797000110        2         2         2   VA            0           0           0           0           0           0           1           7
1797007911        2         2         2   NJ            0           0           0           0           0           0           1           4
1797008537        4         2         2   PA            0           0           1           0           0           0           0           6
1797024866        2         2         2   VA            0           0           0           0           0           0           1           6
1797026137        2         2         3   VA            0           0           0           0           0           0           1           6
1797029201        2         1         3   PA            0           0           0           0           0           0           1           7
1797031239        4         2         3   MD            0           0           0           0           0           0           1           5
1797033090        4         2         3   VA            0           0           0           0           0           0           1           6
1797060207        4         2         3   PA            0           0           0           0           0           0           1           8


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1796766398          4           4           4           2           2           4           2           4           4            4            4            4
1796776009          4           4           4           4           4           2           4           4           4            4            4            4
1796804233          4           4           4           4           4           4           2           2           4            4            4            4
1796812530          4           4           4           4           4           4           4           4           4            4            4            4
1796811803          4           4           4           1           2           4           4           4           4            4            4            4
1796821427          4           4           4           4           4           4           4           4           4            4            4            4
1796865363          4           2           4           4           4           4           4           4           4            4            4            4
1796872897          4           4           4           3           4           4           4           4           4            4            4            4
1796846407          4           1           4           4           4           4           4           4           4            4            4            4
1796886829          4           4           4           4           4           4           4           4           4            4            4            4
1796901078          4           4           4           4           4           2           4           4           4            4            4            4
1796903526          4           4           4           2           4           2           4           4           4            4            4            4
1796911773          4           4           4           4           1           3           4           4           4            4            4            4
1796913552          4           4           4           4           4           1           4           4           4            4            4            4
1796924821          4           4           4           4           4           4           4           4           4            4            4            4
1796932942          4           4           4           4           4           4           4           4           4            4            4            4
1796928859          4           4           4           4           4           4           4           4           4            1            4            4
nE4lQJGU            4           4           4           4           4           4           4           4           4            4            4            4
1796922026          4           4           4           4           4           2           4           4           4            4            4            4
1796955687          4           2           4           4           4           2           4           4           4            4            4            4
1796956560          4           4           4           4           4           4           4           4           4            4            4            4
1796959692          4           2           4           4           4           4           4           4           4            4            4            4
bjcD7Wpt            4           4           4           4           4           4           4           4           4            4            4            4
1797000306          4           4           4           4           4           4           4           4           4            4            4            4
1797000110          4           2           4           4           4           4           4           4           4            4            4            4
1797007911          4           4           4           4           4           2           4           4           4            4            4            4
1797008537          4           4           4           4           2           4           4           4           4            2            4            4
1797024866          4           4           4           4           2           4           4           4           4            4            4            4
1797026137          4           4           4           4           4           4           4           4           4            4            4            4
1797029201          4           4           4           4           4           4           4           4           4            4            4            4
1797031239          4           4           4           4           4           4           4           4           4            4            4            4
1797033090          4           4           4           4           4           4           4           4           4            4            4            4
1797060207          4           4           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1796766398       4      2      4      4      4      4      4      4      3      4      4       2
1796776009       4      4      4      4      4      4      4      4      4      4      4       4
1796804233       4      2      3      4      4      4      4      4      4      2      4       4
1796812530       4      4      4      4      4      4      4      4      4      4      4       4
1796811803       4      4      4      4      4      4      2      4      4      4      4       2
1796821427       4      4      3      4      1      4      4      4      4      4      4       4
1796865363       4      4      4      4      3      4      4      4      4      4      4       1
1796872897       4      4      4      4      4      4      4      4      4      4      4       4
1796846407       4      4      4      4      4      4      4      4      4      4      4       4
1796886829       4      4      2      4      2      4      4      4      4      4      4       4
1796901078       4      4      2      4      2      4      4      4      4      4      4       4
1796903526       4      4      4      4      2      4      4      4      4      4      4       4
1796911773       4      4      4      4      4      4      4      4      4      4      4       4
1796913552       4      4      4      4      4      4      4      4      4      4      4       4
1796924821       4      4      4      4      4      4      4      4      3      4      4       4
1796932942       4      4      4      4      4      4      4      4      4      4      4       4
1796928859       4      4      4      4      4      4      4      4      4      4      4       4
nE4lQJGU         4      4      3      4      4      4      4      4      4      4      4       4
1796922026       4      4      4      4      4      4      4      4      4      4      4       4
1796955687       4      4      4      4      4      4      4      4      4      4      4       4
1796956560       4      4      4      4      4      4      4      4      4      4      4       3
1796959692       4      4      2      4      2      4      4      4      4      4      4       2
bjcD7Wpt         4      4      3      4      4      4      4      4      4      4      4       4
1797000306       4      4      4      4      4      4      4      4      4      4      4       2
1797000110       4      4      4      4      4      4      4      4      4      4      4       4
1797007911       4      4      4      4      4      4      4      4      4      4      4       1
1797008537       4      4      4      4      2      4      4      4      3      4      4       4
1797024866       4      4      4      4      4      4      2      4      4      4      4       3
1797026137       4      4      4      4      4      4      4      4      4      4      4       4
1797029201       4      4      4      4      4      4      4      4      2      4      4       4
1797031239       4      4      4      4      1      4      4      4      4      4      4       1
1797033090       4      4      4      4      4      4      4      4      3      4      4       4
1797060207       4      4      4      4      4      4      4      4      3      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1796766398       2      38         6   question   question          1     7/15/2022 5:14:00     7/15/2022 5:27:00
1796776009       4      38         6   survey     survey            1     7/15/2022 5:32:00     7/15/2022 5:42:00
1796804233       4       8         6   quality    quality           1     7/15/2022 6:36:00     7/15/2022 7:16:00
1796812530       2      46         6   check      Check             1     7/15/2022 6:40:00     7/15/2022 6:57:00
1796811803       2      46         6   check      check             1     7/15/2022 6:47:00     7/15/2022 7:19:00
1796821427       4       8         6   survey     Survey            1     7/15/2022 6:55:00     7/15/2022 7:02:00
1796865363       1      46         6   question   question          1     7/15/2022 8:06:00     7/15/2022 8:19:00
1796872897       4      22         6   quality    quality           1     7/15/2022 8:17:00     7/15/2022 8:36:00
1796846407       4      46         6   check      Check             1     7/15/2022 8:21:00     7/15/2022 8:36:00
1796886829       4      20         6   quality    Quality           1     7/15/2022 8:34:00     7/15/2022 8:44:00
1796901078       4      30         6   question   Question          1     7/15/2022 8:51:00     7/15/2022 8:58:00
1796903526       2      20         6   survey     survey            1     7/15/2022 8:54:00     7/15/2022 9:02:00
1796911773       4      30         6   check      CHECK             1     7/15/2022 9:07:00     7/15/2022 9:32:00
1796913552       4      30         6   survey     Survey            1     7/15/2022 9:07:00     7/15/2022 9:23:00
1796924821       4      38         6   quality    Quality           1     7/15/2022 9:22:00     7/15/2022 9:30:00
1796932942       2      20         6   question   question          1     7/15/2022 9:29:00     7/15/2022 9:38:00
1796928859       1      46         6   survey     survey            1     7/15/2022 9:34:00    7/15/2022 10:11:00
nE4lQJGU         4       8         6   quality    Quality           1     7/15/2022 9:36:00     7/15/2022 9:44:00
1796922026       4      30         6   question   question          1     7/15/2022 9:50:00    7/15/2022 10:15:00
1796955687       4      46         6   quality    Quality           1     7/15/2022 9:54:00    7/15/2022 10:03:00
1796956560       4      46         6   question   Question          1     7/15/2022 9:55:00    7/15/2022 10:22:00
1796959692       3      20         6   check      check             1     7/15/2022 9:59:00    7/15/2022 10:16:00
bjcD7Wpt         4       8         6   check      check             1    7/15/2022 10:35:00    7/15/2022 11:09:00
1797000306       4      32         6   check      check             1    7/15/2022 10:42:00    7/15/2022 11:21:00
1797000110       4      46         6   check      check             1    7/15/2022 10:45:00    7/15/2022 10:58:00
1797007911       4      30         6   quality    quality           1    7/15/2022 10:49:00    7/15/2022 10:55:00
1797008537       4      38         6   survey     survey            1    7/15/2022 10:50:00    7/15/2022 11:04:00
1797024866       4      46         6   question   question          1    7/15/2022 11:07:00    7/15/2022 11:15:00
1797026137       3      46         6   question   question          1    7/15/2022 11:08:00    7/15/2022 11:27:00
1797029201       4      38         6   quality    quality           1    7/15/2022 11:13:00    7/15/2022 11:21:00
1797031239       4      43         6   survey     survey            1    7/15/2022 11:13:00    7/15/2022 11:25:00
1797033090       4      46         6   quality    Quality           1    7/15/2022 11:14:00    7/15/2022 11:29:00
1797060207       4      38         6   question   Question          1    7/15/2022 11:45:00    7/15/2022 12:01:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1797062709        2         2         2   MD            0           0           0           0           0           0           1           5
1797071204        2         1         5   NJ            0           0           0           0           0           0           1           8
1797076882        4         2         3   NJ            0           0           0           0           0           0           1           6
1797109458        4         1         4   MD            0           0           0           0           0           0           1           5
1797111718        1         1         3   PA            0           0           0           0           0           0           1           8
1797134376        4         2         3   VA            0           0           0           0           0           0           1           6
1797147203        2         2         2   DC            0           0           0           0           0           0           1           4
1797162972        4         2         2   NJ            0           0           0           0           0           0           1           3
1797167695        2         2         2   NJ            0           0           1           0           0           0           0           6
1797172044        2         1         4   MD            0           0           0           0           0           0           1           8
1797172391        3         1         5   PA            0           0           0           0           0           0           1           6
1797180825        2         2         3   VA            0           0           0           0           0           0           1           7
1797194107        2         2         3   PA            0           0           0           0           0           0           1           7
1797200010        1         2         3   VA            0           0           0           0           0           0           1           7
1797205485        4         2         2   PA            0           0           0           0           0           0           1           5
1797221107        2         2         3   VA            0           0           0           0           0           0           1           7
1797237600        4         2         2   PA            0           0           0           0           0           0           1           6
1797249751        4         2         2   VA            0           0           0           0           0           0           1           7
1797296858        4         1         3   NJ            0           0           0           0           0           0           1           7
1797274985        4         2         2   VA            0           0           1           0           0           0           0           5
1797352919        4         2         2   PA            0           0           0           0           0           0           1           4
1797381048        2         2         2   ME            0           0           0           0           0           0           1           6
1797400644        4         2         2   MD            0           0           0           0           0           0           1           4
1797571598        4         1         4   PA            0           0           0           0           0           0           1           8
1797623686        2         1         2   TN            0           1           0           0           0           0           0           4
1797654708        1         1         3   NJ            0           0           0           0           0           0           1           8
1797733766        1         1         2   VA            0           0           0           0           0           0           1           5
1797863665        2         1         5   VA            0           0           0           0           0           0           1           2
1797932837        4         1         4   VA            0           0           0           0           0           0           1           8
1797992208        4         1         2   MD            0           0           0           0           0           0           1           5
YBuIMCZi          2         2         2   CA            0           0           0           0           0           0           1           5
1798066463        4         1         2   NJ            0           0           0           0           0           0           1           6
1798070588        4         1         2   VA            0           0           0           0           0           0           1           4


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1797062709          4           4           4           4           4           4           4           4           4            4            4            4
1797071204          4           4           4           4           4           3           4           4           4            4            4            4
1797076882          4           4           4           4           4           2           4           4           4            4            4            4
1797109458          4           4           4           4           4           4           4           4           4            4            4            4
1797111718          4           4           4           4           4           4           4           4           4            4            4            4
1797134376          4           4           4           4           4           4           4           4           4            4            4            4
1797147203          4           2           4           2           2           4           1           4           4            4            4            4
1797162972          4           4           4           4           4           2           4           4           4            4            4            4
1797167695          4           4           4           4           4           3           4           4           4            4            4            4
1797172044          4           2           4           2           2           4           4           4           4            1            1            4
1797172391          4           4           4           4           4           4           4           4           4            4            4            4
1797180825          4           4           4           4           4           4           4           4           4            4            4            4
1797194107          4           4           4           4           4           4           4           4           4            4            4            4
1797200010          4           4           4           4           4           4           4           4           4            4            4            4
1797205485          4           4           4           4           4           4           4           4           4            4            4            4
1797221107          4           2           4           4           4           4           4           4           4            4            4            4
1797237600          4           2           4           4           4           2           4           4           4            4            4            4
1797249751          4           4           4           4           4           4           4           4           4            4            4            4
1797296858          4           4           4           4           4           1           4           4           4            4            4            4
1797274985          4           1           4           4           4           4           4           4           4            4            4            4
1797352919          4           4           4           4           4           4           4           4           4            4            4            4
1797381048          4           4           4           4           2           2           4           4           4            4            4            4
1797400644          4           4           4           4           4           4           4           4           4            4            4            4
1797571598          4           4           4           4           4           4           4           1           4            4            4            4
1797623686          4           3           4           4           4           4           4           4           4            4            4            4
1797654708          4           4           4           4           4           2           4           4           4            4            4            4
1797733766          4           2           4           4           2           4           4           4           4            4            4            3
1797863665          4           2           4           4           4           4           4           4           4            4            4            4
1797932837          4           4           4           4           4           4           4           4           4            4            4            4
1797992208          2           2           4           4           4           4           4           4           4            1            4            4
YBuIMCZi            4           4           4           4           4           4           4           4           4            4            4            4
1798066463          4           4           4           1           4           2           4           4           4            4            4            4
1798070588          4           4           4           4           1           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1797062709       4      2      4      4      2      4      4      4      4      4      4       4
1797071204       4      4      4      4      4      4      4      4      4      4      4       4
1797076882       4      4      4      4      4      4      4      4      4      4      4       4
1797109458       4      4      4      4      4      4      4      4      4      4      4       4
1797111718       4      4      1      4      4      4      4      4      1      4      4       4
1797134376       4      4      4      4      4      4      4      4      4      4      4       1
1797147203       4      4      4      4      3      2      2      4      4      4      4       2
1797162972       4      4      4      4      4      4      4      4      4      4      4       4
1797167695       4      4      4      4      4      4      4      4      4      4      4       4
1797172044       4      4      4      4      2      1      4      4      4      4      4       3
1797172391       4      4      1      4      4      4      4      4      4      4      4       4
1797180825       4      4      4      4      4      4      4      4      4      4      4       4
1797194107       4      4      2      4      4      4      4      4      2      4      4       4
1797200010       4      4      4      4      4      4      4      4      4      4      4       4
1797205485       4      4      4      4      4      4      4      4      2      4      4       4
1797221107       4      4      4      4      4      4      4      4      4      4      4       1
1797237600       4      4      4      4      2      4      4      4      4      2      4       4
1797249751       4      4      4      4      4      4      4      4      4      4      4       2
1797296858       4      4      4      4      4      4      4      4      4      4      4       4
1797274985       4      4      4      4      4      4      4      4      4      4      4       2
1797352919       4      4      4      4      4      4      4      4      3      4      4       4
1797381048       4      4      4      4      2      2      1      4      4      4      4       4
1797400644       4      1      1      4      2      4      1      1      4      4      4       1
1797571598       4      4      4      4      4      4      4      4      3      4      4       4
1797623686       4      4      4      4      4      4      4      3      4      4      4       3
1797654708       4      4      4      4      4      4      4      4      4      4      4       4
1797733766       3      4      4      4      4      4      4      4      4      4      4       4
1797863665       4      4      4      4      4      4      4      4      4      4      4       1
1797932837       4      4      4      4      4      4      4      4      4      4      4       4
1797992208       4      4      1      4      3      4      4      4      2      4      4       1
YBuIMCZi         4      4      3      4      4      4      4      4      4      4      4       4
1798066463       4      1      4      4      4      4      4      4      4      4      4       1
1798070588       4      4      4      4      4      4      4      4      4      4      4       1


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1797062709       4      20         6   survey     survey            1    7/15/2022 11:45:00    7/15/2022 11:54:00
1797071204       4      30         6   survey     survey            1    7/15/2022 11:51:00    7/15/2022 12:09:00
1797076882       4      30         6   quality    Quality           1    7/15/2022 12:29:00    7/15/2022 12:39:00
1797109458       1      20         6   check      Check             1    7/15/2022 12:30:00    7/15/2022 12:37:00
1797111718       4      38         6   question   question          1    7/15/2022 12:30:00    7/15/2022 12:49:00
1797134376       4      46         6   check      Check             1    7/15/2022 12:55:00    7/15/2022 13:28:00
1797147203       2      51         6   quality    quality           1    7/15/2022 13:11:00    7/15/2022 13:31:00
1797162972       4      30         6   question   question          1    7/15/2022 13:21:00    7/15/2022 13:47:00
1797167695       4      30         6   survey     survey            1    7/15/2022 13:25:00    7/15/2022 13:43:00
1797172044       2      20         6   survey     survey            1    7/15/2022 13:33:00    7/15/2022 13:45:00
1797172391       4      38         6   check      Check             1    7/15/2022 13:33:00    7/15/2022 13:44:00
1797180825       3      46         6   quality    quality           1    7/15/2022 13:38:00    7/15/2022 13:53:00
1797194107       4      38         6   question   question          1    7/15/2022 13:55:00    7/15/2022 14:07:00
1797200010       1      46         6   quality    quality           1    7/15/2022 13:57:00    7/15/2022 14:08:00
1797205485       4      38         6   check      check             1    7/15/2022 14:14:00    7/15/2022 14:27:00
1797221107       4      46         6   question   question          1    7/15/2022 14:20:00    7/15/2022 14:36:00
1797237600       4      46         6   survey     survey            1    7/15/2022 14:37:00    7/15/2022 14:52:00
1797249751       4       9         6   check      check             1    7/15/2022 14:50:00    7/15/2022 14:58:00
1797296858       4      30         6   question   Question          1    7/15/2022 15:45:00    7/15/2022 15:52:00
1797274985       2      46         6   quality    Quality           1    7/15/2022 15:51:00    7/15/2022 16:07:00
1797352919       4      38         6   question   question          1    7/15/2022 16:45:00    7/15/2022 16:53:00
1797381048       4      19         6   survey     survey            1    7/15/2022 17:16:00    7/15/2022 17:26:00
1797400644       1      20         6   check      check             1    7/15/2022 17:40:00    7/15/2022 17:48:00
1797571598       4      38         6   quality    quality           1    7/15/2022 22:23:00    7/15/2022 22:41:00
1797623686       3      46         6   question   question          1     7/16/2022 0:25:00     7/16/2022 0:33:00
1797654708       4      30         6   survey     survey            1     7/16/2022 1:55:00     7/16/2022 2:08:00
1797733766       1      46         6   survey     survey            1     7/16/2022 5:27:00     7/16/2022 5:38:00
1797863665       4      46         6   question   question          1     7/16/2022 9:42:00     7/16/2022 9:52:00
1797932837       1      32         6   quality    Quality           1    7/16/2022 11:16:00    7/16/2022 11:34:00
1797992208       4      20         6   check      check             1    7/16/2022 12:38:00    7/16/2022 12:50:00
YBuIMCZi         4      20         6   quality    quality           1    7/16/2022 14:07:00    7/16/2022 14:41:00
1798066463       4      30         6   check      Check             1    7/16/2022 14:26:00    7/16/2022 14:35:00
1798070588       2      46         6   question   question          1    7/16/2022 14:32:00    7/16/2022 14:41:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1798109669        1         1         3   NJ            0           0           0           0           0           0           1           4
1798133032        4         1         4   VA            0           0           0           0           0           0           1           4
1798139473        4         1         4   NJ            0           0           0           0           0           0           1           2
BbR2NtOk          4         2         2   NJ            0           0           0           0           0           0           1           5
1799744047        2         2         3   VA            0           0           0           0           0           0           1           7
1799763213        4         1         4   NJ            0           0           0           0           0           0           1           6
1799769094        4         2         3   DC            0           0           0           0           0           0           1           7
1799784254        4         1         2   NJ            0           0           0           0           0           0           1           5
1799812249        1         1         2   PA            0           0           0           0           0           0           1           5
1799831815        3         1         3   DC            0           0           0           0           0           0           1           7
1799836268        2         1         5   PA            0           0           0           0           0           0           1           6
1799843445        4         1         5   PA            0           1           0           0           0           0           0           8
1799843805        1         2         4   MD            0           0           0           0           0           0           1           8
1799849065        4         2         3   VA            0           0           0           0           0           0           1           7
wPTFA6fG          4         1         2   FL            0           0           0           0           0           0           1           4
1799868046        4         2         3   VA            0           0           0           0           0           0           1           7
1799868615        2         1         2   PA            0           0           0           0           0           0           1           6
1799883932        4         2         2   VA            0           0           0           0           0           0           1           5
1799884401        2         2         2   NJ            0           0           0           0           0           0           1           6
1799888880        2         2         2   VA            0           0           1           0           0           0           0           4
1799891301        2         2         3   PA            0           0           0           0           0           0           1           7
1799896189        2         1         2   DC            0           0           0           0           0           0           1           6
1799897721        2         2         2   VA            0           0           0           0           0           0           1           6
1799902779        4         1         2   MD            0           0           0           0           0           0           1           5
1799904709        4         2         3   PA            0           0           0           0           0           0           1           6
1799912530        4         1         4   VA            0           0           0           0           0           0           1           7
1799910931        2         2         2   VA            0           0           0           0           0           0           1           2
1799922398        2         2         2   MA            0           0           0           0           0           0           1           5
1799941455        4         2         3   VA            0           0           0           0           0           0           1           6
1799942334        4         2         3   PA            0           0           0           0           0           0           1           8
1799957095        2         2         3   VA            0           0           0           0           0           0           1           7
1799957253        4         1         3   VA            0           0           0           0           0           0           1           2
1799958667        4         2         3   NJ            0           0           1           0           0           0           0           7


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1798109669          4           4           4           1           1           1           1           4           3            1            4            4
1798133032          4           4           4           4           2           4           4           4           4            4            4            4
1798139473          4           4           4           4           4           1           4           4           4            4            4            4
BbR2NtOk            4           4           4           4           4           2           4           4           4            4            4            4
1799744047          4           3           4           4           4           4           4           4           4            4            4            4
1799763213          4           4           4           4           4           2           2           4           2            2            4            4
1799769094          4           4           4           4           4           4           4           4           4            4            4            2
1799784254          4           4           4           4           4           4           4           4           2            4            4            4
1799812249          4           4           4           2           4           4           4           4           4            4            4            4
1799831815          4           4           4           4           4           4           4           2           4            4            4            4
1799836268          4           4           4           4           4           1           4           4           4            4            4            4
1799843445          4           4           4           4           4           4           4           4           4            4            4            4
1799843805          4           4           4           4           2           4           4           4           4            4            4            4
1799849065          4           4           4           4           4           4           4           4           4            4            4            4
wPTFA6fG            4           4           4           4           4           4           4           4           4            4            4            4
1799868046          4           4           4           4           4           4           4           4           4            4            4            4
1799868615          4           4           4           4           4           4           4           4           4            4            4            4
1799883932          4           2           4           4           4           4           4           4           4            4            4            4
1799884401          4           4           4           4           4           2           4           4           4            4            4            4
1799888880          4           2           4           4           4           4           4           4           4            4            4            4
1799891301          4           4           4           4           4           4           4           4           4            4            4            4
1799896189          4           4           4           2           4           4           4           4           4            4            4            4
1799897721          4           1           4           4           4           4           4           4           4            4            4            4
1799902779          4           4           4           4           4           4           4           4           4            4            4            4
1799904709          4           4           4           4           4           3           4           4           4            4            4            4
1799912530          4           4           4           4           4           4           4           4           4            4            4            4
1799910931          4           1           4           1           1           4           4           1           4            4            4            4
1799922398          4           4           4           4           4           4           4           4           4            4            4            4
1799941455          4           2           4           4           4           4           4           4           4            4            4            4
1799942334          4           4           4           4           4           4           4           4           4            4            4            4
1799957095          4           4           4           4           4           4           4           4           4            4            4            4
1799957253          4           4           4           4           1           4           4           4           4            4            4            4
1799958667          4           2           4           4           4           3           4           1           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1798109669       4      4      4      1      4      4      4      1      4      1      4       1
1798133032       4      4      4      4      2      4      1      4      4      2      4       2
1798139473       4      4      1      4      4      4      4      4      1      4      4       4
BbR2NtOk         4      4      3      4      4      4      4      4      4      4      4       4
1799744047       4      4      4      4      4      4      4      4      4      4      4       4
1799763213       4      4      2      4      4      4      4      4      4      4      4       4
1799769094       4      4      4      4      4      4      4      4      4      4      4       4
1799784254       4      4      4      4      4      4      4      4      4      4      4       4
1799812249       4      4      2      4      4      4      4      4      2      4      4       3
1799831815       4      4      4      4      4      4      4      4      4      4      4       4
1799836268       4      4      4      4      4      4      4      4      4      4      4       4
1799843445       4      4      4      4      4      4      4      4      3      4      4       4
1799843805       4      4      4      4      4      4      4      4      4      4      4       4
1799849065       4      4      4      4      4      4      4      4      4      4      4       4
wPTFA6fG         4      4      3      4      4      4      4      4      4      4      4       4
1799868046       4      4      4      4      4      4      2      4      4      4      4       4
1799868615       4      4      4      4      4      4      4      4      2      4      4       4
1799883932       4      4      4      4      4      4      4      4      4      4      4       4
1799884401       4      4      4      4      4      4      4      4      4      4      4       4
1799888880       4      4      4      4      4      4      4      4      4      4      4       3
1799891301       4      4      4      4      4      4      4      4      1      4      4       4
1799896189       4      4      4      4      4      4      4      4      4      4      4       4
1799897721       4      4      4      4      4      4      4      4      4      4      4       4
1799902779       4      4      4      4      2      4      4      4      4      4      4       4
1799904709       4      4      4      4      4      4      4      4      4      4      4       4
1799912530       4      4      4      4      4      4      1      4      4      4      4       1
1799910931       1      1      1      1      1      4      4      1      1      4      4       1
1799922398       4      2      4      4      4      2      4      4      4      4      4       4
1799941455       4      4      4      4      4      4      4      4      4      4      4       2
1799942334       4      4      4      4      4      4      4      4      2      4      4       4
1799957095       4      4      4      4      4      4      4      4      4      4      4       1
1799957253       4      4      4      4      4      4      1      4      4      4      4       1
1799958667       4      4      4      4      4      4      4      3      4      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1798109669       1      30         6   survey     survey            1    7/16/2022 15:36:00    7/16/2022 15:45:00
1798133032       2      32         6   check      Check             1    7/16/2022 16:19:00    7/16/2022 16:34:00
1798139473       4      30         6   survey     Survey            1    7/16/2022 16:24:00    7/16/2022 16:34:00
BbR2NtOk         4      30         6   question   question          1    7/18/2022 12:23:00    7/18/2022 12:33:00
1799744047       4      46         6   quality    quality           1    7/18/2022 18:25:00    7/18/2022 18:40:00
1799763213       4      30         6   survey     Survey            1    7/18/2022 18:50:00    7/18/2022 18:57:00
1799769094       4       5         6   check      check             1    7/18/2022 18:58:00    7/18/2022 19:08:00
1799784254       4      30         6   question   question          1    7/18/2022 19:19:00    7/18/2022 19:33:00
1799812249       4      38         6   question   question          1    7/18/2022 20:01:00    7/18/2022 20:08:00
1799831815       4      32         6   quality    quality           1    7/18/2022 20:29:00    7/18/2022 20:42:00
1799836268       4      38         6   quality    Quality           1    7/18/2022 20:35:00    7/18/2022 20:42:00
1799843445       4      35         6   check      Check             1    7/18/2022 20:46:00    7/18/2022 21:13:00
1799843805       4      38         6   survey     survey            1    7/18/2022 20:51:00    7/18/2022 21:05:00
1799849065       2      46         6   question   Question          1    7/18/2022 20:57:00    7/18/2022 21:08:00
wPTFA6fG         4       9         6   survey     survey            1    7/18/2022 21:18:00    7/18/2022 21:24:00
1799868046       4      33         6   quality    Quality           1    7/18/2022 21:26:00    7/18/2022 21:35:00
1799868615       4      38         6   check      check             1    7/18/2022 21:29:00    7/18/2022 21:40:00
1799883932       4      46         6   quality    Quality           1    7/18/2022 21:54:00    7/18/2022 22:11:00
1799884401       4      30         6   question   question          1    7/18/2022 21:55:00    7/18/2022 22:10:00
1799888880       2      46         6   quality    quality           1    7/18/2022 22:05:00    7/18/2022 22:17:00
1799891301       4      38         6   survey     survey            1    7/18/2022 22:08:00    7/18/2022 22:28:00
1799896189       4       5         6   question   question          1    7/18/2022 22:17:00    7/18/2022 22:27:00
1799897721       4      46         6   check      check             1    7/18/2022 22:23:00    7/18/2022 22:33:00
1799902779       4      20         6   quality    Quality           1    7/18/2022 22:29:00    7/18/2022 22:51:00
1799904709       4      30         6   check      Check             1    7/18/2022 22:33:00    7/18/2022 22:41:00
1799912530       1      46         6   question   question          1    7/18/2022 22:48:00    7/18/2022 22:58:00
1799910931       1      46         6   quality    quality           1    7/18/2022 22:48:00    7/18/2022 22:58:00
1799922398       4      21         6   survey     survey            1    7/18/2022 23:08:00    7/18/2022 23:15:00
1799941455       3      46         6   survey     Survey            1    7/18/2022 23:50:00    7/18/2022 23:59:00
1799942334       4      38         6   check      Check             1    7/18/2022 23:53:00     7/19/2022 0:06:00
1799957095       1      46         6   question   question          1     7/19/2022 0:31:00     7/19/2022 0:42:00
1799957253       1      46         6   check      check             1     7/19/2022 0:31:00     7/19/2022 0:56:00
1799958667       4      30         6   quality    Quality           1     7/19/2022 0:37:00     7/19/2022 0:50:00


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AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1800000408        4         1         3   VA            0           0           0           0           0           0           1           6
1800056276        2         1         4   PA            0           0           0           0           0           0           1           6
1800074595        4         2         2   PA            0           0           0           0           0           0           1           4
1800087923        4         2         2   NJ            0           0           0           0           0           0           1           6
1800105619        3         2         4   PA            0           0           0           0           0           0           1           4
1800118742        4         2         2   PA            0           0           0           0           0           0           1           6
1800119827        2         1         3   VA            0           0           0           0           0           0           1           7
1800146298        1         2         5   VA            0           0           0           0           0           0           1           6
1800154737        4         2         3   VA            0           0           0           0           0           0           1           7
1800166741        1         2         4   PA            0           0           0           0           0           0           1           7
1800167301        4         1         3   PA            0           0           0           0           0           0           1           7
1800165411        2         2         3   PA            0           0           0           0           0           0           1           7
1800167722        2         1         2   PA            0           0           0           0           0           0           1           3
1800172761        1         2         4   VA            0           0           0           0           0           0           1           8
1800180402        2         2         3   PA            0           0           0           0           0           0           1           7
1800180428        2         2         4   VA            0           0           0           0           0           0           1           2
1800188949        2         2         3   DE            0           0           0           0           0           0           1           7
1800195914        1         1         4   NY            0           0           0           0           0           0           1           4
1800199994        2         1         2   VA            0           0           0           0           0           0           1           4
1800204557        4         2         2   VA            0           0           1           0           0           0           0           3
1800216657        4         1         2   WV            0           0           0           0           0           0           1           2
1800252586        1         2         4   NJ            0           0           0           0           0           0           1           7
1800256786        2         2         2   MD            0           0           0           0           0           0           1           6
1800260672        2         2         2   MD            0           0           0           0           0           0           1           5
1800261277        1         2         2   VA            0           0           0           0           0           0           1           4
1800266238        4         2         2   VA            0           0           0           0           0           0           1           5
1800268548        2         2         3   NJ            0           0           0           0           0           0           1           8
1800267825        1         1         2   PA            0           0           0           0           0           0           1           6
1800271048        1         1         3   VA            0           0           0           0           0           0           1           4
1800286204        2         2         2   MD            0           0           0           0           0           0           1           5
1800285672        4         2         2   VA            0           0           0           0           0           0           1           5
1800299409        2         2         3   PA            0           0           0           0           0           0           1           7
1800303695        4         2         3   PA            0           0           0           0           0           0           1           8


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AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1800000408          4           4           4           4           1           4           4           4           4            4            4            4
1800056276          4           4           4           4           2           4           4           2           2            4            4            4
1800074595          4           4           4           4           4           4           4           4           4            4            4            4
1800087923          4           4           4           4           4           1           4           4           4            4            4            4
1800105619          4           4           4           4           4           4           4           4           4            4            4            4
1800118742          4           4           4           4           4           4           4           4           4            4            4            4
1800119827          4           3           4           4           4           4           4           4           4            4            4            4
1800146298          4           1           4           4           4           4           4           4           4            4            4            4
1800154737          4           4           4           4           4           4           4           4           4            4            4            4
1800166741          4           4           4           4           4           4           4           4           4            4            4            4
1800167301          4           4           4           4           4           2           4           4           4            4            4            4
1800165411          4           4           4           4           4           4           4           4           4            4            4            4
1800167722          4           4           4           4           4           4           4           4           4            4            4            4
1800172761          4           4           4           4           4           4           4           4           4            4            4            4
1800180402          4           4           4           4           4           2           2           4           4            4            4            4
1800180428          4           4           4           4           4           4           4           4           4            4            4            4
1800188949          4           4           4           4           4           4           4           4           4            4            4            4
1800195914          4           4           4           4           4           1           4           4           4            4            4            4
1800199994          4           1           4           4           4           4           4           4           4            4            4            4
1800204557          4           1           4           4           1           4           4           4           4            4            4            4
1800216657          4           4           4           4           4           1           2           4           4            4            4            4
1800252586          4           4           4           4           4           1           4           4           4            4            4            4
1800256786          4           4           4           4           4           4           4           4           4            4            4            4
1800260672          4           4           4           4           4           4           4           4           4            4            4            4
1800261277          4           4           4           4           4           4           4           4           4            4            4            4
1800266238          4           4           4           4           4           4           4           4           4            4            4            4
1800268548          1           1           4           4           4           4           4           4           3            1            4            4
1800267825          4           4           4           4           4           2           4           4           4            4            4            4
1800271048          4           1           4           1           1           4           4           4           4            4            4            4
1800286204          4           4           4           4           4           4           4           4           4            4            4            4
1800285672          4           2           4           4           4           4           4           4           4            4            4            4
1800299409          4           4           4           4           4           4           4           4           4            4            4            4
1800303695          4           2           4           4           4           4           4           4           4            4            4            4


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AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1800000408       4      4      4      4      4      4      1      4      4      4      4       4
1800056276       4      4      4      4      4      2      3      4      4      4      4       4
1800074595       4      4      4      4      4      4      4      4      3      4      4       4
1800087923       4      4      4      4      4      4      4      4      4      4      4       4
1800105619       4      4      4      4      4      4      4      4      2      4      4       1
1800118742       4      4      4      4      4      4      4      4      3      4      4       4
1800119827       4      4      4      4      4      4      4      4      4      4      4       4
1800146298       4      4      4      4      4      4      4      4      4      4      4       4
1800154737       4      4      4      4      4      4      4      4      4      4      4       4
1800166741       4      4      1      4      4      4      4      4      1      4      4       1
1800167301       4      4      4      4      4      4      4      4      4      4      4       4
1800165411       4      4      4      4      4      4      4      4      4      4      4       2
1800167722       4      4      4      4      4      4      4      4      2      4      4       4
1800172761       4      4      4      4      4      4      4      4      4      4      4       1
1800180402       4      4      2      4      4      4      4      4      4      4      4       4
1800180428       4      4      4      4      4      4      4      4      4      4      4       4
1800188949       4      4      2      4      4      4      4      4      4      4      4       1
1800195914       4      4      4      4      4      4      4      4      4      4      4       4
1800199994       4      4      4      4      4      4      4      4      4      4      4       4
1800204557       4      4      4      4      4      4      4      4      4      4      4       4
1800216657       4      4      2      4      4      4      4      4      4      4      4       1
1800252586       4      4      4      4      4      4      4      4      4      4      4       4
1800256786       4      4      4      4      1      4      4      4      4      4      4       4
1800260672       4      4      4      4      1      4      4      4      4      4      4       4
1800261277       4      4      4      4      4      4      4      4      4      4      4       4
1800266238       4      4      4      4      4      4      4      4      4      4      4       2
1800268548       4      4      4      4      4      4      4      4      4      4      4       4
1800267825       4      4      4      4      4      4      4      4      2      4      4       4
1800271048       4      4      1      1      1      4      1      4      4      4      4       1
1800286204       4      4      2      4      4      4      4      4      4      4      4       4
1800285672       4      4      4      4      4      4      4      4      3      4      4       4
1800299409       4      4      4      4      4      4      4      4      3      4      4       4
1800303695       4      4      2      4      4      4      1      4      2      4      4       4


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AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
1800000408       1      46         6   survey     Survey            1     7/19/2022 2:40:00     7/19/2022 2:54:00
1800056276       4      38         6   question   Question          1     7/19/2022 4:44:00     7/19/2022 5:05:00
1800074595       4      38         6   check      Check             1     7/19/2022 5:23:00     7/19/2022 5:30:00
1800087923       4      30         6   quality    quality           1     7/19/2022 5:48:00     7/19/2022 5:58:00
1800105619       4      38         6   survey     Survey            1     7/19/2022 6:23:00     7/19/2022 6:52:00
1800118742       4      38         6   question   Question          1     7/19/2022 6:45:00     7/19/2022 6:53:00
1800119827       4      46         6   question   question          1     7/19/2022 6:51:00     7/19/2022 7:02:00
1800146298       4      46         6   survey     survey            1     7/19/2022 7:30:00     7/19/2022 7:38:00
1800154737       2      46         6   check      Check             1     7/19/2022 7:43:00     7/19/2022 7:54:00
1800166741       4      38         6   question   question          1     7/19/2022 8:01:00     7/19/2022 8:43:00
1800167301       4      30         6   quality    Quality           1     7/19/2022 8:01:00     7/19/2022 8:17:00
1800165411       4      46         6   question   question          1     7/19/2022 8:02:00     7/19/2022 8:46:00
1800167722       4      38         6   survey     survey            1     7/19/2022 8:02:00     7/19/2022 8:10:00
1800172761       2      46         6   check      check             1     7/19/2022 8:09:00     7/19/2022 8:20:00
1800180402       4      30         6   survey     survey            1     7/19/2022 8:19:00     7/19/2022 8:42:00
1800180428       1      46         6   check      check             1     7/19/2022 8:19:00     7/19/2022 8:36:00
1800188949       4       8         6   question   question          1     7/19/2022 8:30:00     7/19/2022 8:41:00
1800195914       4      30         6   check      check             1     7/19/2022 8:38:00     7/19/2022 8:59:00
1800199994       1      46         6   quality    quality           1     7/19/2022 8:43:00     7/19/2022 9:01:00
1800204557       4      46         6   quality    quality           1     7/19/2022 8:51:00     7/19/2022 9:02:00
1800216657       2      48         6   survey     survey            1     7/19/2022 9:06:00     7/19/2022 9:15:00
1800252586       4      30         6   survey     survey            1     7/19/2022 9:44:00     7/19/2022 9:54:00
1800256786       4      51         6   check      check             1     7/19/2022 9:48:00     7/19/2022 9:57:00
1800260672       4      20         6   question   question          1     7/19/2022 9:53:00    7/19/2022 10:02:00
1800261277       3      46         6   check      check             1     7/19/2022 9:53:00    7/19/2022 10:08:00
1800266238       2      46         6   survey     survey            1    7/19/2022 10:01:00    7/19/2022 10:09:00
1800268548       4      32         6   quality    quality           1    7/19/2022 10:01:00    7/19/2022 10:40:00
1800267825       4      38         6   question   question          1    7/19/2022 10:03:00    7/19/2022 10:14:00
1800271048       2      46         6   check      check             1    7/19/2022 10:03:00    7/19/2022 10:29:00
1800286204       4      32         6   survey     survey            1    7/19/2022 10:19:00    7/19/2022 10:33:00
1800285672       4      46         6   question   question          1    7/19/2022 10:23:00    7/19/2022 10:37:00
1800299409       4      38         6   question   question          1    7/19/2022 10:33:00    7/19/2022 10:47:00
1800303695       4      38         6   quality    Quality           1    7/19/2022 10:37:00    7/19/2022 10:48:00


                                                                                                                    M-116
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                                           Exhibit M: Screener Data Listing

AMSID       QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
 1800307712        4         1         3   PA            0           0           0           0           0           0           1           8
 1800337921        4         2         3   VA            0           1           0           0           0           0           0           7
 1800345551        2         2         2   NJ            0           0           0           0           0           0           1           6
 1800352739        2         1         2   NJ            0           0           0           0           0           0           1           4
 1800381785        2         2         3   MD            0           0           0           0           0           0           1           6
 1800390099        1         2         4   VA            0           0           0           0           0           0           1           8
 1800390382        4         1         4   PA            0           0           0           0           0           0           1           8
 1800411650        4         2         3   MD            0           0           0           0           0           0           1           8
IGjo8SuF           2         2         2   NY            0           0           0           0           0           0           1           3
5H7SPSd6           4         2         2   DE            0           0           0           0           0           0           1           6
 1800780561        4         2         2   DE            0           0           0           0           0           0           1           5
 1801662764        4         2         4   PA            0           0           0           0           0           0           1           8
 1801685217        2         1         3   MD            0           0           0           0           0           0           1           7
 1801700936        2         1         3   VA            0           0           0           0           0           0           1           5
 1801713807        4         1         3   PA            0           0           0           0           0           0           1           7
 1801754817        4         2         4   MD            0           0           0           0           0           0           1           7
 1801809380        4         1         4   VA            0           0           0           0           0           0           1           6
 1801813155        2         1         3   NJ            0           0           1           0           0           0           0           8
 1801816939        4         2         3   PA            0           0           0           0           0           0           1           6
 1801813931        4         2         2   NJ            0           0           0           0           0           0           1           5
 1801820925        4         1         3   PA            0           0           1           0           0           0           0           7
 1801827515        4         2         2   VA            0           0           0           0           0           0           1           6
 1801845515        2         2         3   NJ            0           0           0           0           0           0           1           8
 1801847336        4         2         2   VA            0           0           0           0           0           0           1           6
 1801848745        4         1         3   DE            0           0           0           0           0           0           1           6
 1801852668        3         2         4   NJ            0           0           0           0           0           0           1           8
 1801862179        4         2         2   PA            0           0           0           0           0           0           1           6
 1801892804        2         2         2   NJ            0           0           0           0           0           0           1           4
 1801896460        4         2         4   MD            0           0           0           0           0           0           1           8
 1801896298        4         2         4   VA            0           0           0           0           0           0           1           8
 1801902268        4         2         2   MD            0           0           1           0           0           0           0           6
 1801951641        4         1         3   NJ            0           0           0           0           0           0           1           6
 1802063155        4         1         3   VA            0           0           0           0           0           0           1           7


                                                                                                                                           M-117
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                                             Exhibit M: Screener Data Listing

AMSID       QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
 1800307712          4           4           4           4           4           4           4           4           4            4            4            4
 1800337921          4           2           4           4           4           4           4           4           4            4            4            4
 1800345551          4           4           4           4           4           2           4           4           4            4            4            4
 1800352739          4           4           4           4           4           2           4           3           2            2            4            4
 1800381785          4           1           4           4           4           4           4           4           4            4            4            4
 1800390099          4           4           4           4           4           4           4           4           4            4            4            4
 1800390382          4           4           4           4           4           2           4           4           4            4            4            4
 1800411650          4           4           4           4           4           4           4           4           4            4            4            4
IGjo8SuF             4           4           4           4           4           2           4           4           4            4            4            4
5H7SPSd6             4           4           4           4           4           4           4           4           4            4            4            4
 1800780561          4           4           4           4           4           4           4           4           4            4            4            4
 1801662764          4           4           4           4           4           4           4           4           4            4            4            4
 1801685217          4           4           4           4           4           4           2           2           4            4            4            4
 1801700936          4           4           4           1           4           4           4           4           1            4            4            4
 1801713807          4           4           4           4           4           4           4           4           4            1            4            4
 1801754817          4           2           4           4           3           4           4           4           4            4            4            4
 1801809380          4           4           4           4           4           4           4           4           4            4            4            4
 1801813155          4           4           4           4           4           3           4           4           4            4            4            4
 1801816939          4           4           4           4           4           4           4           4           4            4            4            4
 1801813931          4           4           4           4           4           2           2           4           2            4            4            4
 1801820925          4           4           4           4           4           4           2           2           2            4            4            4
 1801827515          4           4           4           4           4           4           4           4           4            4            4            4
 1801845515          4           4           4           4           4           2           4           4           4            4            4            4
 1801847336          4           2           4           4           4           4           4           4           4            4            4            4
 1801848745          4           4           4           4           4           4           4           4           4            4            4            4
 1801852668          4           4           4           4           4           4           4           4           4            4            4            4
 1801862179          4           4           4           4           4           4           4           4           4            4            4            4
 1801892804          4           4           4           4           4           2           4           4           4            4            4            4
 1801896460          4           1           4           4           4           4           4           4           4            4            4            4
 1801896298          4           4           4           4           4           4           4           4           4            4            4            4
 1801902268          4           4           4           4           4           4           4           4           4            4            4            4
 1801951641          4           4           4           1           4           1           1           4           1            4            4            4
 1802063155          4           4           4           4           4           4           1           4           4            1            4            4


                                                                                                                                                       M-118
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                                      Exhibit M: Screener Data Listing

AMSID       QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
 1800307712       4      4      4      4      4      4      4      4      1      4      4       4
 1800337921       4      4      4      4      4      4      4      4      4      4      4       4
 1800345551       4      4      4      4      4      4      4      4      4      4      4       4
 1800352739       4      4      2      4      4      2      4      4      4      4      4       4
 1800381785       4      4      2      4      3      4      4      4      4      4      4       4
 1800390099       4      4      4      4      4      4      4      4      4      4      4       4
 1800390382       4      2      2      4      4      4      4      4      4      4      4       4
 1800411650       4      4      4      4      2      4      4      4      4      4      4       4
IGjo8SuF          4      4      3      4      2      4      4      4      4      4      4       1
5H7SPSd6          4      4      3      4      1      4      4      4      4      4      4       4
 1800780561       4      4      3      4      4      4      4      4      4      4      4       4
 1801662764       4      4      4      4      4      4      4      4      3      4      4       4
 1801685217       4      4      4      4      4      4      4      4      4      4      4       4
 1801700936       4      4      4      4      4      4      4      4      4      4      4       1
 1801713807       4      4      4      4      4      4      4      4      4      4      4       4
 1801754817       4      4      1      4      1      4      4      4      4      4      4       4
 1801809380       4      4      4      4      4      4      4      4      4      4      4       4
 1801813155       4      4      4      4      4      4      4      4      4      4      4       4
 1801816939       4      4      4      4      4      4      4      4      3      4      4       4
 1801813931       4      4      4      4      4      4      4      4      4      1      4       4
 1801820925       4      4      4      4      4      2      4      4      4      4      4       4
 1801827515       4      4      4      4      4      4      4      4      4      4      4       1
 1801845515       4      4      4      4      4      4      4      4      4      4      4       4
 1801847336       4      4      4      4      4      4      4      4      4      4      4       1
 1801848745       4      4      3      4      4      4      4      4      4      4      4       4
 1801852668       4      4      4      4      1      4      4      4      4      3      4       4
 1801862179       4      4      4      4      4      4      2      4      1      4      4       4
 1801892804       4      4      4      4      4      4      4      4      4      4      4       4
 1801896460       4      4      4      4      2      4      4      4      4      4      4       1
 1801896298       4      4      4      4      4      4      2      4      4      4      4       4
 1801902268       4      4      4      4      3      4      4      4      4      4      4       4
 1801951641       1      4      4      4      4      1      4      1      4      4      4       4
 1802063155       4      4      4      4      4      4      4      4      4      4      4       4


                                                                                                  M-119
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                                        Exhibit M: Screener Data Listing

AMSID       QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10       StartTime             EndTime
 1800307712       4      38         6   check      Check             1    7/19/2022 10:41:00    7/19/2022 10:48:00
 1800337921       4      46         6   survey     Survey            1    7/19/2022 11:12:00    7/19/2022 11:34:00
 1800345551       4      30         6   quality    quality           1    7/19/2022 11:21:00    7/19/2022 11:28:00
 1800352739       4      30         6   survey     survey            1    7/19/2022 11:24:00    7/19/2022 11:39:00
 1800381785       1      20         6   quality    quality           1    7/19/2022 11:55:00    7/19/2022 12:30:00
 1800390099       3      46         6   check      check             1    7/19/2022 11:59:00    7/19/2022 12:05:00
 1800390382       3      38         6   question   question          1    7/19/2022 12:00:00    7/19/2022 12:27:00
 1800411650       4      20         6   question   Question          1    7/19/2022 12:18:00    7/19/2022 12:39:00
IGjo8SuF          4       8         6   quality    quality           1    7/19/2022 15:33:00    7/19/2022 15:40:00
5H7SPSd6          4       8         6   survey     survey            1    7/19/2022 15:39:00    7/19/2022 15:54:00
 1800780561       4       8         6   survey     survey            1    7/19/2022 19:08:00    7/19/2022 19:38:00
 1801662764       4      38         6   question   question          1    7/20/2022 17:12:00    7/20/2022 17:19:00
 1801685217       4      32         6   check      check             1    7/20/2022 17:40:00    7/20/2022 17:48:00
 1801700936       1      46         6   question   question          1    7/20/2022 18:01:00    7/20/2022 18:11:00
 1801713807       4      32         6   check      check             1    7/20/2022 18:18:00    7/20/2022 18:34:00
 1801754817       1      33         6   quality    quality           1    7/20/2022 19:18:00    7/20/2022 19:32:00
 1801809380       3      46         6   survey     Survey            1    7/20/2022 20:43:00    7/20/2022 20:50:00
 1801813155       4      30         6   question   question          1    7/20/2022 20:48:00    7/20/2022 20:57:00
 1801816939       4      38         6   quality    quality           1    7/20/2022 20:56:00    7/20/2022 21:04:00
 1801813931       4      30         6   check      check             1    7/20/2022 20:58:00    7/20/2022 21:23:00
 1801820925       4      32         6   survey     survey            1    7/20/2022 21:01:00    7/20/2022 21:16:00
 1801827515       1      46         6   check      Check             1    7/20/2022 21:12:00    7/20/2022 21:34:00
 1801845515       4      30         6   quality    quality           1    7/20/2022 21:44:00    7/20/2022 21:51:00
 1801847336       1      46         6   question   Question          1    7/20/2022 21:48:00    7/20/2022 21:57:00
 1801848745       4       8         6   survey     survey            1    7/20/2022 21:51:00    7/20/2022 22:20:00
 1801852668       4      30         6   survey     Survey            1    7/20/2022 21:59:00    7/20/2022 22:12:00
 1801862179       4      38         6   question   Question          1    7/20/2022 22:15:00    7/20/2022 22:25:00
 1801892804       4      30         6   check      check             1    7/20/2022 23:21:00    7/20/2022 23:27:00
 1801896460       1      51         6   check      Check             1    7/20/2022 23:29:00    7/20/2022 23:44:00
 1801896298       4       5         6   quality    quality           1    7/20/2022 23:29:00    7/20/2022 23:39:00
 1801902268       4      20         6   question   question          1    7/20/2022 23:45:00    7/20/2022 23:53:00
 1801951641       1      30         6   survey     survey            1     7/21/2022 2:04:00     7/21/2022 2:11:00
 1802063155       4      32         6   quality    Quality           1     7/21/2022 6:24:00     7/21/2022 6:30:00


                                                                                                                     M-120
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                                          Exhibit M: Screener Data Listing

AMSID      QS1        QS2       QS3       QS4   QS5_1       QS5_2       QS5_3       QS5_4       QS5_5       QS5_6       QS5_7       QS6
1802107857        2         1         4   VA            0           0           0           0           0           0           1           4
1802161898        4         1         3   FL            0           0           0           0           0           0           1           4
1802245468        1         1         3   VA            0           0           0           0           0           0           1           6
1800291912        2         2         5   VA            0           0           0           0           0           0           1           6




                                                                                                                                          M-121
                   Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 247 of 476 PageID #: 2885
                                            Exhibit M: Screener Data Listing

AMSID      QS7_1        QS7_2       QS7_3       QS7_4       QS7_5       QS7_6       QS7_7       QS7_8       QS7_9       QS7_10       QS7_11       QS7_12
1802107857          4           3           4           4           4           4           4           4           4            4            4            4
1802161898          4           2           4           4           4           4           4           4           4            4            4            4
1802245468          4           4           4           4           4           4           4           4           4            4            4            4
1800291912          4           4           4           4           4           4           4           4           4            4            4            4




                                                                                                                                                      M-122
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                                      Exhibit M: Screener Data Listing

AMSID      QS7_13 QS7_14 QS7_15 QS7_16 QS7_17 QS7_18 QS7_19 QS7_20 QS7_21 QS7_22 QS7_23 QS7_24
1802107857       4      2      4      4      2      4      4      4      4      4      4       2
1802161898       4      4      4      4      4      4      4      4      4      4      4       4
1802245468       4      4      4      4      4      4      4      4      4      4      4       1
1800291912       4      4      4      4      4      4      4      4      4      4      4       1




                                                                                                  M-123
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                                        Exhibit M: Screener Data Listing

AMSID      QS7_25 QS8        QS9       QS9Word    QS9_6_SP   QS10    StartTime          EndTime
1802107857       2      46         6   quality    quality           1 7/21/2022 7:36:00 7/21/2022 7:44:00
1802161898       4       9         6   survey     survey            1 7/21/2022 8:52:00 7/21/2022 8:58:00
1802245468       4      46         6   question   question          1 7/21/2022 10:27:00 7/21/2022 11:25:00
1800291912       3      46         6   quality    quality           1 7/19/2022 10:28:00 7/19/2022 10:46:00




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                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
           4   16 Jun 2022 - 17:18:51 EDT     16 Jun 2022 - 17:22:40 EDT                229                229           1655414331
           5   16 Jun 2022 - 17:40:00 EDT     16 Jun 2022 - 17:42:03 EDT                123                122           1655415600
           6   16 Jun 2022 - 17:40:37 EDT     16 Jun 2022 - 17:42:54 EDT                137                135           1655415637
           7   16 Jun 2022 - 17:40:41 EDT     16 Jun 2022 - 17:42:50 EDT                129                127           1655415641
           8   16 Jun 2022 - 17:43:06 EDT     16 Jun 2022 - 17:45:13 EDT                127                124           1655415786
           9   16 Jun 2022 - 17:43:09 EDT     16 Jun 2022 - 17:54:51 EDT                702                701           1655415789
          11   16 Jun 2022 - 18:16:17 EDT     16 Jun 2022 - 18:17:57 EDT                100                 99           1655417777
          12   16 Jun 2022 - 18:19:18 EDT     16 Jun 2022 - 18:26:14 EDT                416                415           1655417958
          13   16 Jun 2022 - 18:48:01 EDT     16 Jun 2022 - 18:52:44 EDT                283                282           1655419681
          14   16 Jun 2022 - 18:52:00 EDT     16 Jun 2022 - 18:54:17 EDT                137                136           1655419920
          15   16 Jun 2022 - 19:14:12 EDT     16 Jun 2022 - 19:15:36 EDT                 84                 83           1655421252
          17   16 Jun 2022 - 19:45:37 EDT     16 Jun 2022 - 20:02:13 EDT                996                995           1655423137
          18   16 Jun 2022 - 19:46:21 EDT     16 Jun 2022 - 19:51:04 EDT                283                281           1655423181
          19   16 Jun 2022 - 20:14:57 EDT     16 Jun 2022 - 20:16:12 EDT                 75                 74           1655424897
          20   16 Jun 2022 - 20:17:33 EDT     16 Jun 2022 - 20:21:36 EDT                243                241           1655425053
          21   16 Jun 2022 - 20:18:24 EDT     16 Jun 2022 - 20:23:44 EDT                320                319           1655425104
          22   16 Jun 2022 - 20:18:25 EDT     16 Jun 2022 - 20:20:32 EDT                127                125           1655425105
          23   16 Jun 2022 - 20:50:57 EDT     16 Jun 2022 - 20:54:37 EDT                220                220           1655427057
          25   17 Jun 2022 - 18:32:34 EDT     17 Jun 2022 - 18:35:48 EDT                194                193           1655505154
          26   17 Jun 2022 - 20:39:13 EDT     17 Jun 2022 - 20:47:24 EDT                491                490           1655512753
          28   18 Jun 2022 - 00:44:28 EDT     18 Jun 2022 - 00:46:52 EDT                144                142           1655527468
          29   18 Jun 2022 - 01:15:32 EDT     18 Jun 2022 - 01:21:56 EDT                384                382           1655529332
          30   18 Jun 2022 - 03:19:31 EDT     18 Jun 2022 - 03:23:23 EDT                232                232           1655536771
          31   18 Jun 2022 - 04:19:46 EDT     18 Jun 2022 - 04:22:03 EDT                137                137           1655540386
          32   18 Jun 2022 - 04:20:42 EDT     18 Jun 2022 - 04:22:26 EDT                104                100           1655540442
          34   18 Jun 2022 - 04:58:59 EDT     18 Jun 2022 - 05:11:46 EDT                767                766           1655542739
          35   18 Jun 2022 - 08:28:29 EDT     18 Jun 2022 - 08:30:36 EDT                127                125           1655555309
          36   18 Jun 2022 - 09:00:44 EDT     18 Jun 2022 - 09:06:34 EDT                350                350           1655557244
          37   18 Jun 2022 - 09:01:40 EDT     18 Jun 2022 - 09:06:56 EDT                316                316           1655557300
          39   18 Jun 2022 - 09:32:02 EDT     18 Jun 2022 - 09:35:58 EDT                236                236           1655559122
          40   18 Jun 2022 - 09:34:44 EDT     18 Jun 2022 - 09:39:20 EDT                276                274           1655559284
          41   18 Jun 2022 - 10:00:51 EDT     18 Jun 2022 - 10:04:50 EDT                239                239           1655560851
          42   18 Jun 2022 - 10:03:45 EDT     18 Jun 2022 - 10:05:21 EDT                 96                 95           1655561025


                                                                                                                                      N-1
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
           4         1655414560                1                5                 0                         Term
           5         1655415723                1                5                 0                         Term
           6         1655415774                1                5                 0                         Term
           7         1655415770                1                5                 0                         Term
           8         1655415913                1                5                 0                         Term
           9         1655416491                1                5                 0                         Term
          11         1655417877                1                5                 0                         Term
          12         1655418374                1                5                 0                         Term
          13         1655419964                1                5                 0                         Term
          14         1655420057                1                5                 0                         Term
          15         1655421336                1                5                 0                         Term
          17         1655424133                1                5                 0                         Term
          18         1655423464                1                5                 0                         Term
          19         1655424972                1                5                 0                         Term
          20         1655425296                1                5                 0                         Term
          21         1655425424                1                5                 0                         Term
          22         1655425232                1                5                 0                         Term
          23         1655427277                1                5                 0                         Term
          25         1655505348                1                5                 0                         Term
          26         1655513244                1                5                 0                         Term
          28         1655527612                1                5                 0                         Term
          29         1655529716                1                5                 0                         Term
          30         1655537003                1                5                 0                         Term
          31         1655540523                1                5                 0                         Term
          32         1655540546                1                5                 0                         Term
          34         1655543506                1                5                 0                         Term
          35         1655555436                1                5                 0                         Term
          36         1655557594                1                5                 0                         Term
          37         1655557616                1                5                 0                         Term
          39         1655559358                1                5                 0                         Term
          40         1655559560                1                5                 0                         Term
          41         1655561090                1                5                 0                         Term
          42         1655561121                1                5                 0                         Term


                                                                                                                                 N-2
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 252 of 476 PageID #: 2890
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
           4                    1              1551   1771534109             3                  1             1
           5                    1              1300   1771558898             1                  1             3
           6                    1              1583   1771559284             1                  1             1
           7                    1              1024   1771559211             1                  1             1
           8                    1              1440   1771559269             2                  1             1
           9                    1              1349   1771559180             3                  1             1
          11                    1              1519   1771583400             3                  1             3
          12                    1              1349   1771583340             2                  1             2
          13                    1              1519   1771605677             3                  1             1
          14                    1              1194   1771605717             3                  1             1
          15                    1              1194   1771627895             1                  1             2
          17                    1               718   1771627952             2                  1             2
          18                    1              1024   1771648704             3                  1             2
          19                    1              1519   1771669109             2                  1             3
          20                    1              1242   1771668887             1                  1             2
          21                    1              1349   1771669142             3                  1             1
          22                    1              1253   1771669044             2                  2             3
          23                    1              1349   1771668331             2                  1             3
          25                    1              1815   1772611941             1                  1             2
          26                    1               384   1772695901             1                  1             2
          28                    1               384   1772820460             1                  1             1
          29                    1               360   1772831637             2                  1             2
          30                    1               375   1772877780             2                  1             1
          31                    1               800   1772904853             2                  1             1
          32                    1               375   1772904580             3                  1             3
          34                    1               390   1772916960             2                  1             1
          35                    1               360   1773025206             2                  1             3
          36                    1               412   1773045609             2                  1             2
          37                    1               712   1773045615             1                  1             3
          39                    1               360   1773066156             1                  2             2
          40                    1               778   1773066137             2                  1             2
          41                    1               414   1773087431             1                  1             1
          42                    1               384   1773087635             3                  1             2


                                                                                                                  N-3
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 253 of 476 PageID #: 2891
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
           4                  1             1                  2             2                  1             1
           5                  1             2                  1             2                  1             2
           6                  1             1                  2             3                  1             1
           7                  1             2                  1             2                  1             2
           8                  1             1                  1             2                  1             1
           9                  2             3                  2             1                  1             2
          11                  1             2                  1             3                  2             3
          12                  1             2                  1             1                  1             3
          13                  1             2                  1             1                  2             2
          14                  2             3                  1             3                  1             3
          15                  1             2                  1             2                  1             2
          17                  1             1                  1             2                  1             1
          18                  1             2                  1             2                  1             3
          19                  1             2                  1             3                  1             3
          20                  1             1                  1             2                  1             2
          21                  1             3                  1             3                  1             1
          22                  1             2                  1             1                  1             3
          23                  1             2                  1             3                  1             2
          25                  1             1                  1             2                  2             3
          26                  1             1                  1             2                  1             3
          28                  1             2                  1             1                  1             2
          29                  1             1                  1             2                  1             2
          30                  1             1                  1             2                  2             1
          31                  1             2                  1             1                  1             3
          32                  1             2                  1             2                  1             2
          34                  2             3                  1             1                  1             2
          35                  1             1                  1             2                  1             1
          36                  1             2                  2             1                  1             3
          37                  1             1                  1             2                  1             1
          39                  1             3                  1             3                  2             2
          40                  1             3                  2             1                  2             3
          41                  1             1                  1             2                  1             1
          42                  2             3                  1             3                  1             3


                                                                                                                  N-4
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 254 of 476 PageID #: 2892
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
           4                  1             1                  1             2                  1             3
           5                  1             2                  1             2                  1             3
           6                  2             1                  1             2                  1             2
           7                  1             1                  1             3                  1             3
           8                  1             1                  1             2                  2             3
           9                  2             2                  1             3                  1             1
          11                  1             1                  1             2                  1             1
          12                  2             3                  1             3                  2             2
          13                  1             2                  1             2                  2             2
          14                  2             2                  1             3                  2             2
          15                  1             2                  1             3                  1             3
          17                  1             2                  1             3                  1             2
          18                  1             2                  1             1                  1             2
          19                  1             3                  1             3                  1             2
          20                  1             1                  2             2                  2             2
          21                  1             2                  1             2                  1             2
          22                  1             2                  1             1                  1             1
          23                  1             1                  1             3                  1             2
          25                  1             1                  2             1                  1             2
          26                  1             1                  1             1                  1             1
          28                  1             2                  1             3                  1             1
          29                  1             1                  1             3                  1             1
          30                  2             1                  2             1                  2             3
          31                  1             2                  1             2                  1             3
          32                  1             2                  1             2                  1             2
          34                  1             1                  1             3                  2             3
          35                  1             2                  1             3                  1             3
          36                  2             3                  2             2                  1             3
          37                  1             2                  1             2                  1             2
          39                  1             3                  1             3                  1             3
          40                  2             1                  1             2                  1             1
          41                  1             1                  1             1                  1             3
          42                  1             3                  2             3                  1             3


                                                                                                                  N-5
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 255 of 476 PageID #: 2893
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
           4                  1             3                  1              1                   1              1
           5                  1             1                  1              1                   1              2
           6                  1             3                  2              1                   2              3
           7                  1             1                  1              2                   1              3
           8                  1             2                  2              1                   1              1
           9                  2             2                  2              1                   2              1
          11                  2             3                  2              1                   1              2
          12                  2             3                  1              1                   1              2
          13                  2             2                  2              3                   2              3
          14                  2             2                  1              1                   2              2
          15                  1             2                  1              3                   1              2
          17                  1             1                  1              1                   1              2
          18                  1             3                  1              3                   1              3
          19                  1             3                  1              2                   1              2
          20                  2             1                  2              3                   2              2
          21                  1             2                  1              1                   1              3
          22                  1             2                  1              3                   1              2
          23                  1             2                  1              3                   2              3
          25                  1             2                  2              1                   1              1
          26                  1             1                  1              3                   1              3
          28                  1             1                  1              2                   1              2
          29                  1             3                  1              1                   2              1
          30                  1             1                  2              3                   2              1
          31                  1             2                  1              3                   1              2
          32                  1             3                  1              2                   1              2
          34                  1             2                  1              2                   1              2
          35                  1             1                  1              3                   1              3
          36                  1             3                  2              3                   1              2
          37                  1             3                  1              2                   1              1
          39                  1             3                  2              2                   1              3
          40                  2             1                  1              1                   2              3
          41                  1             3                  1              3                   1              2
          42                  1             3                  1              3                   1              3


                                                                                                                     N-6
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 256 of 476 PageID #: 2894
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
           4                   1              1                   1                    4   CBC1_1651757381_6
           5                   1              1                   1                    5   CBC1_1651757381_6
           6                   1              2                   1                    6   CBC1_1651757381_6
           7                   1              2                   2                    7   CBC1_1651757381_6
           8                   1              1                   1                    8   CBC1_1651757381_6
           9                   2              3                   2                    9   CBC1_1651757381_6
          11                   2              3                   1                   11   CBC1_1651757381_6
          12                   2              3                   1                   12   CBC1_1651757381_6
          13                   1              2                   2                   13   CBC1_1651757381_6
          14                   2              2                   1                   14   CBC1_1651757381_6
          15                   1              2                   1                   15   CBC1_1651757381_6
          17                   1              1                   1                   17   CBC1_1651757381_6
          18                   1              2                   1                   18   CBC1_1651757381_6
          19                   1              1                   1                   19   CBC1_1651757381_6
          20                   1              1                   1                   20   CBC1_1651757381_6
          21                   1              3                   1                   21   CBC1_1651757381_6
          22                   2              1                   1                   22   CBC1_1651757381_6
          23                   1              3                   1                   23   CBC1_1651757381_6
          25                   1              3                   2                   25   CBC1_1651757381_6
          26                   1              1                   1                   26   CBC1_1651757381_6
          28                   1              1                   1                   28   CBC1_1651757381_6
          29                   1              3                   1                   29   CBC1_1651757381_6
          30                   2              3                   1                   30   CBC1_1651757381_6
          31                   1              2                   1                   31   CBC1_1651757381_6
          32                   1              1                   1                   32   CBC1_1651757381_6
          34                   1              2                   1                   34   CBC1_1651757381_6
          35                   1              2                   1                   35   CBC1_1651757381_6
          36                   1              1                   2                   36   CBC1_1651757381_6
          37                   1              2                   1                   37   CBC1_1651757381_6
          39                   1              3                   2                   39   CBC1_1651757381_6
          40                   1              1                   2                   40   CBC1_1651757381_6
          41                   1              1                   1                   41   CBC1_1651757381_6
          42                   2              2                   1                   42   CBC1_1651757381_6


                                                                                                                   N-7
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 257 of 476 PageID #: 2895
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
          43   18 Jun 2022 - 10:04:34 EDT     18 Jun 2022 - 10:15:57 EDT                683                683           1655561074
          44   18 Jun 2022 - 10:12:56 EDT     18 Jun 2022 - 10:21:01 EDT                485                484           1655561576
          45   18 Jun 2022 - 10:33:24 EDT     18 Jun 2022 - 10:37:41 EDT                257                271           1655562804
          47   18 Jun 2022 - 11:12:05 EDT     18 Jun 2022 - 11:16:11 EDT                246                245           1655565125
          48   18 Jun 2022 - 11:24:59 EDT     18 Jun 2022 - 11:46:32 EDT               1293               1291           1655565899
          49   18 Jun 2022 - 11:35:11 EDT     18 Jun 2022 - 11:38:29 EDT                198                197           1655566511
          50   18 Jun 2022 - 11:40:29 EDT     18 Jun 2022 - 11:45:54 EDT                325                324           1655566829
          51   18 Jun 2022 - 12:06:02 EDT     18 Jun 2022 - 12:09:06 EDT                184                181           1655568362
          52   18 Jun 2022 - 12:37:20 EDT     18 Jun 2022 - 12:41:24 EDT                244                243           1655570240
          53   18 Jun 2022 - 13:07:22 EDT     18 Jun 2022 - 13:09:21 EDT                119                117           1655572042
          54   18 Jun 2022 - 13:07:51 EDT     18 Jun 2022 - 13:12:41 EDT                290                285           1655572071
          55   18 Jun 2022 - 13:08:29 EDT     18 Jun 2022 - 13:11:13 EDT                164                162           1655572109
          56   18 Jun 2022 - 13:39:38 EDT     18 Jun 2022 - 13:45:43 EDT                365                365           1655573978
          57   18 Jun 2022 - 14:09:36 EDT     18 Jun 2022 - 14:11:28 EDT                112                110           1655575776
          58   18 Jun 2022 - 14:09:38 EDT     18 Jun 2022 - 14:13:38 EDT                240                240           1655575778
          59   18 Jun 2022 - 14:10:10 EDT     18 Jun 2022 - 14:14:08 EDT                238                238           1655575810
          60   18 Jun 2022 - 14:39:28 EDT     18 Jun 2022 - 14:42:20 EDT                172                169           1655577568
          61   18 Jun 2022 - 14:44:02 EDT     18 Jun 2022 - 14:48:00 EDT                238                236           1655577842
          62   18 Jun 2022 - 15:12:09 EDT     18 Jun 2022 - 15:14:01 EDT                112                111           1655579529
          63   18 Jun 2022 - 15:14:17 EDT     18 Jun 2022 - 15:20:30 EDT                373                372           1655579657
          64   18 Jun 2022 - 15:20:19 EDT     18 Jun 2022 - 15:23:37 EDT                198                198           1655580019
          65   18 Jun 2022 - 15:22:28 EDT     18 Jun 2022 - 15:24:03 EDT                 95                 94           1655580148
          66   18 Jun 2022 - 15:50:20 EDT     18 Jun 2022 - 15:55:35 EDT                315                315           1655581820
          67   18 Jun 2022 - 16:12:18 EDT     18 Jun 2022 - 16:14:40 EDT                142                140           1655583138
          68   18 Jun 2022 - 16:12:19 EDT     18 Jun 2022 - 16:16:07 EDT                228                226           1655583139
          69   18 Jun 2022 - 16:12:38 EDT     18 Jun 2022 - 16:15:12 EDT                154                154           1655583158
          70   18 Jun 2022 - 16:43:23 EDT     18 Jun 2022 - 16:46:47 EDT                204                203           1655585003
          71   18 Jun 2022 - 16:44:11 EDT     18 Jun 2022 - 16:50:29 EDT                378                377           1655585051
          72   18 Jun 2022 - 16:54:15 EDT     18 Jun 2022 - 16:57:10 EDT                175                175           1655585655
          73   18 Jun 2022 - 17:13:51 EDT     18 Jun 2022 - 17:15:17 EDT                 86                 83           1655586831
          74   18 Jun 2022 - 17:15:51 EDT     18 Jun 2022 - 17:18:02 EDT                131                130           1655586951
          75   18 Jun 2022 - 17:22:19 EDT     18 Jun 2022 - 17:28:40 EDT                381                381           1655587339
          76   18 Jun 2022 - 17:46:08 EDT     18 Jun 2022 - 17:56:05 EDT                597                595           1655588768


                                                                                                                                      N-8
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 258 of 476 PageID #: 2896
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
          43         1655561757                1                5                 0                         Term
          44         1655562061                1                5                 0                         Term
          45         1655563061                1                5                 0                         Term
          47         1655565371                1                5                 0                         Term
          48         1655567192                1                5                 0                         Term
          49         1655566709                1                5                 0                         Term
          50         1655567154                1                5                 0                         Term
          51         1655568546                1                5                 0                         Term
          52         1655570484                1                5                 0                         Term
          53         1655572161                1                5                 0                         Term
          54         1655572361                1                5                 0                         Term
          55         1655572273                1                5                 0                         Term
          56         1655574343                1                5                 0                         Term
          57         1655575888                1                5                 0                         Term
          58         1655576018                1                5                 0                         Term
          59         1655576048                1                5                 0                         Term
          60         1655577740                1                5                 0                         Term
          61         1655578080                1                5                 0                         Term
          62         1655579641                1                5                 0                         Term
          63         1655580030                1                5                 0                         Term
          64         1655580217                1                5                 0                         Term
          65         1655580243                1                5                 0                         Term
          66         1655582135                1                5                 0                         Term
          67         1655583280                1                5                 0                         Term
          68         1655583367                1                5                 0                         Term
          69         1655583312                1                5                 0                         Term
          70         1655585207                1                5                 0                         Term
          71         1655585429                1                5                 0                         Term
          72         1655585830                1                5                 0                         Term
          73         1655586917                1                5                 0                         Term
          74         1655587082                1                5                 0                         Term
          75         1655587720                1                5                 0                         Term
          76         1655589365                1                5                 0                         Term


                                                                                                                                 N-9
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 259 of 476 PageID #: 2897
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
          43                    1               414   1773087662              2                  1             2
          44                    1               360   1773087485              1                  2             2
          45                    1               390   1773109824              3                  1             1
          47                    1               360   1773132524              2                  1             3
          48                    1               384   1773132751              1                  1             3
          49                    1               393   1773155113              3                  2             1
          50                    1              1333   1773155081              3                  1             2
          51                    1               800   1773177158              2                  1             1
          52                    1               390   1773198248              2                  1             1
          53                    1               360   1773219257              3                  2             3
          54                    1               375   1773219234              2                  1             3
          55                    1               375   1773219082              2                  1             3
          56                    1               724   1773241173              2                  2             1
          57                    1               390   1773263764              2                  1             3
          58                    1               390   1773263614              2                  1             3
          59                    1              1423   1773263705              2                  2             2
          60                    1               390   1773284316              2                  2             2
          61                    1               759   1773284366              2                  1             2
          62                    1               360   1773305666              2                  2             3
          63                    1               432   1773305592              2                  1             1
          64                    1               390   1773305599              2                  1             2
          65                    1              1670   1773284157              2                  1             2
          66                    1               414   9AeYIO7d                3                  1             3
          67                    1               412   1773344346              2                  1             1
          68                    1               375   1773344369              1                  1             3
          69                    1               412   1773344449              1                  1             1
          70                    1               414   1773363599              2                  1             2
          71                    1              1519   1773363543              1                  2             3
          72                    1               375   1773363699              2                  1             2
          73                    1               360   1773382195              3                  1             2
          74                    1              1349   1773382217              1                  1             3
          75                    1               360   1773382363              2                  1             1
          76                    1              1299   1773399872              3                  1             1


                                                                                                                   N-10
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 260 of 476 PageID #: 2898
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
          43                  1             3                  2             1                  1             1
          44                  2             3                  2             3                  1             3
          45                  1             1                  1             1                  1             3
          47                  1             3                  1             2                  1             2
          48                  1             3                  1             2                  1             1
          49                  2             2                  2             1                  1             1
          50                  1             3                  1             3                  1             3
          51                  1             1                  1             3                  2             3
          52                  1             2                  2             3                  2             2
          53                  1             1                  1             3                  1             2
          54                  1             2                  1             3                  2             1
          55                  2             2                  1             1                  1             1
          56                  1             1                  1             1                  1             1
          57                  1             3                  1             3                  1             3
          58                  2             2                  1             3                  2             2
          59                  2             3                  1             2                  1             2
          60                  2             1                  1             1                  1             2
          61                  1             2                  1             3                  1             2
          62                  2             1                  2             2                  2             1
          63                  1             3                  1             3                  1             1
          64                  1             2                  2             2                  1             3
          65                  1             3                  1             3                  1             1
          66                  1             1                  1             2                  1             1
          67                  2             3                  1             2                  1             2
          68                  1             3                  1             2                  1             3
          69                  1             3                  1             1                  1             1
          70                  1             1                  1             2                  1             3
          71                  2             2                  2             1                  2             1
          72                  1             3                  1             3                  1             3
          73                  1             3                  1             1                  1             3
          74                  1             2                  1             3                  1             2
          75                  2             1                  2             1                  1             3
          76                  1             3                  1             3                  1             3


                                                                                                                  N-11
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 261 of 476 PageID #: 2899
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
          43                  2             2                  1             3                  1             3
          44                  2             3                  2             1                  2             2
          45                  1             1                  1             3                  1             1
          47                  1             3                  1             2                  1             2
          48                  1             2                  1             3                  1             3
          49                  2             1                  2             3                  2             1
          50                  1             2                  1             2                  1             1
          51                  1             2                  1             3                  1             3
          52                  2             2                  1             1                  2             1
          53                  2             2                  2             2                  1             3
          54                  1             1                  1             3                  1             3
          55                  2             1                  2             1                  2             3
          56                  1             3                  1             2                  1             1
          57                  1             3                  1             3                  1             3
          58                  1             2                  2             3                  1             2
          59                  1             2                  1             3                  1             2
          60                  2             1                  1             1                  1             2
          61                  1             3                  1             1                  1             2
          62                  2             1                  2             1                  2             3
          63                  1             1                  1             3                  1             3
          64                  2             3                  1             3                  1             2
          65                  1             3                  1             2                  1             3
          66                  1             2                  1             3                  1             1
          67                  1             1                  2             2                  1             1
          68                  1             2                  1             2                  1             3
          69                  1             1                  1             1                  2             1
          70                  1             3                  1             2                  1             3
          71                  1             3                  2             1                  2             3
          72                  1             3                  1             2                  1             1
          73                  1             3                  1             2                  1             3
          74                  1             2                  1             3                  1             1
          75                  2             3                  1             3                  1             1
          76                  1             3                  1             1                  1             3


                                                                                                                  N-12
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 262 of 476 PageID #: 2900
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
          43                  1             1                  1              1                   2              2
          44                  2             2                  2              2                   2              2
          45                  1             2                  1              3                   1              3
          47                  1             3                  2              2                   1              3
          48                  1             2                  1              1                   1              2
          49                  1             1                  2              1                   1              2
          50                  1             2                  1              1                   1              2
          51                  2             2                  2              1                   1              3
          52                  1             2                  2              1                   1              1
          53                  2             3                  1              1                   1              3
          54                  1             3                  1              2                   1              2
          55                  1             1                  1              1                   2              2
          56                  1             3                  1              3                   2              3
          57                  1             3                  2              3                   1              3
          58                  1             3                  1              1                   2              2
          59                  1             2                  1              3                   1              1
          60                  2             2                  2              1                   1              1
          61                  1             2                  1              3                   1              3
          62                  2             3                  2              3                   2              3
          63                  1             2                  1              1                   1              1
          64                  2             3                  2              2                   1              3
          65                  1             3                  1              3                   1              3
          66                  1             1                  1              3                   1              1
          67                  2             2                  2              3                   2              1
          68                  1             1                  1              1                   1              1
          69                  1             3                  2              2                   1              3
          70                  1             2                  1              2                   1              3
          71                  1             2                  2              3                   2              3
          72                  1             1                  1              3                   1              2
          73                  1             2                  1              1                   1              3
          74                  1             1                  1              1                   1              2
          75                  2             1                  1              1                   1              1
          76                  1             2                  1              2                   1              3


                                                                                                                     N-13
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 263 of 476 PageID #: 2901
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
          43                   1              3                   2                   43   CBC1_1651757381_6
          44                   2              2                   2                   44   CBC1_1651757381_6
          45                   1              2                   1                   45   CBC1_1651757381_6
          47                   1              3                   1                   47   CBC1_1651757381_6
          48                   1              2                   1                   48   CBC1_1651757381_6
          49                   2              2                   1                   49   CBC1_1651757381_6
          50                   1              2                   1                   50   CBC1_1651757381_6
          51                   1              3                   2                   51   CBC1_1651757381_6
          52                   1              2                   1                   52   CBC1_1651757381_6
          53                   2              3                   2                   53   CBC1_1651757381_6
          54                   1              2                   1                   54   CBC1_1651757381_6
          55                   1              3                   2                   55   CBC1_1651757381_6
          56                   2              3                   2                   56   CBC1_1651757381_6
          57                   2              1                   1                   57   CBC1_1651757381_6
          58                   1              3                   1                   58   CBC1_1651757381_6
          59                   1              3                   1                   59   CBC1_1651757381_6
          60                   1              3                   1                   60   CBC1_1651757381_6
          61                   1              3                   1                   61   CBC1_1651757381_6
          62                   2              1                   2                   62   CBC1_1651757381_6
          63                   1              2                   1                   63   CBC1_1651757381_6
          64                   1              1                   1                   64   CBC1_1651757381_6
          65                   1              3                   1                   65   CBC1_1651757381_6
          66                   1              1                   1                   66   CBC1_1651757381_6
          67                   1              2                   2                   67   CBC1_1651757381_6
          68                   1              3                   1                   68   CBC1_1651757381_6
          69                   1              3                   2                   69   CBC1_1651757381_6
          70                   1              1                   1                   70   CBC1_1651757381_6
          71                   1              1                   2                   71   CBC1_1651757381_6
          72                   1              3                   1                   72   CBC1_1651757381_6
          73                   1              3                   1                   73   CBC1_1651757381_6
          74                   1              2                   1                   74   CBC1_1651757381_6
          75                   2              3                   2                   75   CBC1_1651757381_6
          76                   1              2                   1                   76   CBC1_1651757381_6


                                                                                                                   N-14
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 264 of 476 PageID #: 2902
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
          77   18 Jun 2022 - 18:16:32 EDT     18 Jun 2022 - 18:18:59 EDT                147                146           1655590592
          78   18 Jun 2022 - 18:19:28 EDT     18 Jun 2022 - 18:23:20 EDT                232                230           1655590768
          79   18 Jun 2022 - 18:23:32 EDT     18 Jun 2022 - 18:33:01 EDT                569                647           1655591012
          80   18 Jun 2022 - 18:46:39 EDT     18 Jun 2022 - 18:48:43 EDT                124                123           1655592399
          81   18 Jun 2022 - 18:48:54 EDT     18 Jun 2022 - 18:50:07 EDT                 73                 73           1655592534
          82   18 Jun 2022 - 19:17:36 EDT     18 Jun 2022 - 19:20:07 EDT                151                148           1655594256
          83   18 Jun 2022 - 19:19:28 EDT     18 Jun 2022 - 19:23:27 EDT                239                236           1655594368
          84   18 Jun 2022 - 19:24:10 EDT     18 Jun 2022 - 19:35:12 EDT                662                659           1655594650
          85   18 Jun 2022 - 19:27:21 EDT     18 Jun 2022 - 19:31:51 EDT                270                268           1655594841
          86   18 Jun 2022 - 19:57:08 EDT     18 Jun 2022 - 20:03:42 EDT                394                393           1655596628
          87   18 Jun 2022 - 20:02:23 EDT     18 Jun 2022 - 20:05:12 EDT                169                165           1655596943
          88   18 Jun 2022 - 21:24:27 EDT     18 Jun 2022 - 21:28:34 EDT                247                245           1655601867
          89   18 Jun 2022 - 21:54:56 EDT     18 Jun 2022 - 21:57:54 EDT                178                178           1655603696
          91   18 Jun 2022 - 21:59:02 EDT     18 Jun 2022 - 22:07:59 EDT                537                537           1655603942
          92   18 Jun 2022 - 22:24:12 EDT     18 Jun 2022 - 22:26:17 EDT                125                124           1655605452
          93   18 Jun 2022 - 22:25:08 EDT     18 Jun 2022 - 22:32:24 EDT                436                436           1655605508
          94   18 Jun 2022 - 22:25:27 EDT     18 Jun 2022 - 22:27:41 EDT                134                132           1655605527
          95   18 Jun 2022 - 22:25:28 EDT     18 Jun 2022 - 22:29:40 EDT                252                249           1655605528
          96   18 Jun 2022 - 22:55:26 EDT     18 Jun 2022 - 22:58:05 EDT                159                158           1655607326
          97   18 Jun 2022 - 23:27:11 EDT     18 Jun 2022 - 23:29:48 EDT                157                156           1655609231
          99   18 Jun 2022 - 23:57:32 EDT     18 Jun 2022 - 23:59:17 EDT                105                105           1655611052
         100   18 Jun 2022 - 23:58:48 EDT     19 Jun 2022 - 00:03:42 EDT                294                294           1655611128
         101   18 Jun 2022 - 23:59:54 EDT     19 Jun 2022 - 00:06:54 EDT                420                420           1655611194
         102   19 Jun 2022 - 00:28:08 EDT     19 Jun 2022 - 00:32:01 EDT                233                232           1655612888
         103   19 Jun 2022 - 02:06:09 EDT     19 Jun 2022 - 02:11:56 EDT                347                345           1655618769
         104   19 Jun 2022 - 02:16:00 EDT     19 Jun 2022 - 02:27:28 EDT                688                688           1655619360
         106   19 Jun 2022 - 02:34:32 EDT     19 Jun 2022 - 02:36:10 EDT                 98                 97           1655620472
         107   19 Jun 2022 - 03:07:12 EDT     19 Jun 2022 - 03:11:23 EDT                251                250           1655622432
         108   19 Jun 2022 - 03:07:59 EDT     19 Jun 2022 - 03:11:45 EDT                226                225           1655622479
         109   19 Jun 2022 - 03:14:40 EDT     19 Jun 2022 - 03:28:30 EDT                830                829           1655622880
         110   19 Jun 2022 - 03:36:53 EDT     19 Jun 2022 - 03:38:35 EDT                102                102           1655624213
         111   19 Jun 2022 - 03:44:40 EDT     19 Jun 2022 - 03:54:05 EDT                565                563           1655624680
         112   19 Jun 2022 - 04:05:29 EDT     19 Jun 2022 - 04:08:15 EDT                166                165           1655625929


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 265 of 476 PageID #: 2903
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
          77         1655590739                1                5                 0                         Term
          78         1655591000                1                5                 0                         Term
          79         1655591581                1                5                 0                         Term
          80         1655592523                1                5                 0                         Term
          81         1655592607                1                5                 0                         Term
          82         1655594407                1                5                 0                         Term
          83         1655594607                1                5                 0                         Term
          84         1655595312                1                5                 0                         Term
          85         1655595111                1                5                 0                         Term
          86         1655597022                1                5                 0                         Term
          87         1655597112                1                5                 0                         Term
          88         1655602114                1                5                 0                         Term
          89         1655603874                1                5                 0                         Term
          91         1655604479                1                5                 0                         Term
          92         1655605577                1                5                 0                         Term
          93         1655605944                1                5                 0                         Term
          94         1655605661                1                5                 0                         Term
          95         1655605780                1                5                 0                         Term
          96         1655607485                1                5                 0                         Term
          97         1655609388                1                5                 0                         Term
          99         1655611157                1                5                 0                         Term
         100         1655611422                1                5                 0                         Term
         101         1655611614                1                5                 0                         Term
         102         1655613121                1                5                 0                         Term
         103         1655619116                1                5                 0                         Term
         104         1655620048                1                5                 0                         Term
         106         1655620570                1                5                 0                         Term
         107         1655622683                1                5                 0                         Term
         108         1655622705                1                5                 0                         Term
         109         1655623710                1                5                 0                         Term
         110         1655624315                1                5                 0                         Term
         111         1655625245                1                5                 0                         Term
         112         1655626095                1                5                 0                         Term


                                                                                                                                 N-16
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 266 of 476 PageID #: 2904
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
          77                    1               375   1773416204             2                  2             1
          78                    1               390   1773416304             1                  1             2
          79                    1               750   1773416150             1                  2             3
          80                    1               412   1773432025             3                  1             1
          81                    1              1349   1773432103             1                  1             1
          82                    1               667   1773447468             2                  1             3
          83                    1               414   1773447690             1                  1             1
          84                    1               414   1773447662             2                  1             3
          85                    1               360   1773447666             3                  2             1
          86                    1              1075   1773462776             1                  1             1
          87                    1              1349   1773462813             3                  1             3
          88                    1               390   1773504865             3                  1             3
          89                    1               390   1773518519             3                  1             2
          91                    1               414   1773518559             2                  1             1
          92                    1               320   1773531372             2                  1             3
          93                    1               414   1773531253             3                  1             3
          94                    1              1903   1773531277             2                  1             1
          95                    1              1263   1773531369             2                  1             2
          96                    1               390   1773543873             2                  1             2
          97                    1               768   1773555537             2                  1             1
          99                    1              1043   1773566233             2                  1             1
         100                    1               390   1773566242             3                  2             3
         101                    1               390   1773566193             3                  2             2
         102                    1              1194   c8WkbKax               3                  1             3
         103                    1              1606   1773595304             3                  2             3
         104                    1              1349   1773603241             3                  1             1
         106                    1               428   1773611952             3                  1             2
         107                    1              2131   1773619763             2                  1             1
         108                    1              1920   1773619852             1                  1             3
         109                    1               724   1773619921             2                  1             3
         110                    1              1349   1773630781             2                  1             2
         111                    1              1482   1773630552             1                  2             1
         112                    1               412   1773641048             3                  1             3


                                                                                                                  N-17
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 267 of 476 PageID #: 2905
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
          77                  2             1                  2             2                  2             3
          78                  1             3                  2             3                  1             1
          79                  1             1                  1             1                  2             1
          80                  1             3                  1             3                  1             2
          81                  1             3                  1             2                  1             3
          82                  2             3                  1             2                  1             3
          83                  1             1                  1             3                  1             2
          84                  2             3                  1             2                  1             1
          85                  2             2                  1             2                  1             3
          86                  1             2                  1             1                  1             1
          87                  1             3                  1             2                  1             3
          88                  1             3                  1             1                  1             3
          89                  1             3                  1             1                  2             2
          91                  1             3                  1             1                  2             3
          92                  1             3                  1             1                  1             1
          93                  1             3                  1             3                  1             3
          94                  1             3                  1             2                  1             3
          95                  2             2                  2             2                  1             3
          96                  1             2                  1             3                  1             2
          97                  1             1                  1             2                  1             3
          99                  1             3                  2             2                  1             1
         100                  1             2                  1             1                  1             3
         101                  1             2                  1             2                  1             3
         102                  1             2                  1             2                  2             2
         103                  1             1                  2             3                  1             1
         104                  1             3                  1             3                  1             3
         106                  1             2                  1             3                  1             2
         107                  1             1                  1             2                  1             2
         108                  1             3                  2             2                  1             2
         109                  1             1                  1             1                  1             1
         110                  1             2                  1             2                  1             3
         111                  2             1                  2             2                  2             3
         112                  1             1                  1             1                  1             2


                                                                                                                  N-18
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 268 of 476 PageID #: 2906
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
          77                  2             3                  2             2                  2             3
          78                  1             2                  1             1                  2             3
          79                  1             1                  1             2                  2             3
          80                  1             1                  1             3                  1             3
          81                  1             2                  1             2                  1             2
          82                  1             3                  2             3                  1             3
          83                  1             3                  1             3                  1             1
          84                  1             2                  1             1                  2             2
          85                  1             2                  1             1                  1             2
          86                  2             2                  1             1                  1             2
          87                  1             1                  1             3                  1             1
          88                  1             3                  1             1                  1             2
          89                  1             1                  1             2                  1             3
          91                  1             3                  1             1                  1             2
          92                  2             2                  1             2                  1             3
          93                  1             2                  1             3                  1             3
          94                  1             3                  1             3                  1             2
          95                  2             2                  1             1                  1             3
          96                  1             3                  1             3                  1             2
          97                  1             1                  1             1                  1             2
          99                  1             3                  1             2                  1             1
         100                  1             1                  1             1                  1             3
         101                  1             3                  1             3                  1             3
         102                  1             1                  1             1                  2             1
         103                  1             2                  2             3                  2             2
         104                  1             2                  1             3                  1             2
         106                  1             2                  1             2                  1             3
         107                  1             1                  1             3                  1             3
         108                  2             3                  1             1                  1             1
         109                  1             2                  1             2                  1             1
         110                  1             1                  1             2                  1             3
         111                  2             2                  2             2                  2             2
         112                  1             3                  1             1                  1             1


                                                                                                                  N-19
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 269 of 476 PageID #: 2907
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
          77                  2             2                  2              3                   2              1
          78                  1             1                  1              3                   2              2
          79                  1             2                  2              2                   1              3
          80                  1             3                  1              2                   1              3
          81                  1             2                  1              2                   1              1
          82                  1             1                  1              2                   1              2
          83                  1             3                  1              2                   1              3
          84                  1             2                  1              3                   1              3
          85                  2             1                  2              3                   2              2
          86                  1             3                  1              3                   1              1
          87                  1             3                  1              1                   1              1
          88                  1             2                  1              3                   1              2
          89                  2             2                  1              1                   1              1
          91                  1             1                  2              3                   1              3
          92                  1             3                  2              2                   1              2
          93                  1             1                  1              2                   1              3
          94                  1             3                  1              3                   1              3
          95                  1             1                  2              3                   2              3
          96                  1             1                  1              2                   1              1
          97                  1             1                  1              3                   1              2
          99                  1             3                  1              2                   2              2
         100                  1             1                  1              2                   1              1
         101                  1             3                  1              3                   1              3
         102                  1             2                  2              1                   2              3
         103                  2             1                  2              3                   1              3
         104                  1             2                  1              1                   1              1
         106                  1             2                  1              2                   1              3
         107                  1             2                  1              1                   1              1
         108                  1             1                  1              3                   1              1
         109                  1             3                  1              1                   1              2
         110                  1             2                  1              3                   1              2
         111                  2             1                  2              3                   2              3
         112                  1             3                  1              3                   1              3


                                                                                                                     N-20
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 270 of 476 PageID #: 2908
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
          77                   2              1                   2                   77   CBC1_1651757381_6
          78                   2              2                   1                   78   CBC1_1651757381_6
          79                   1              3                   2                   79   CBC1_1651757381_6
          80                   1              2                   1                   80   CBC1_1651757381_6
          81                   1              3                   1                   81   CBC1_1651757381_6
          82                   1              3                   1                   82   CBC1_1651757381_6
          83                   1              3                   1                   83   CBC1_1651757381_6
          84                   1              3                   2                   84   CBC1_1651757381_6
          85                   2              2                   2                   85   CBC1_1651757381_6
          86                   1              3                   1                   86   CBC1_1651757381_6
          87                   1              1                   1                   87   CBC1_1651757381_6
          88                   1              2                   1                   88   CBC1_1651757381_6
          89                   1              1                   1                   89   CBC1_1651757381_6
          91                   1              2                   1                   91   CBC1_1651757381_6
          92                   1              3                   1                   92   CBC1_1651757381_6
          93                   1              3                   1                   93   CBC1_1651757381_6
          94                   1              1                   1                   94   CBC1_1651757381_6
          95                   1              3                   2                   95   CBC1_1651757381_6
          96                   1              2                   1                   96   CBC1_1651757381_6
          97                   1              3                   1                   97   CBC1_1651757381_6
          99                   1              2                   1                   99   CBC1_1651757381_6
         100                   1              1                   2                  100   CBC1_1651757381_6
         101                   1              3                   1                  101   CBC1_1651757381_6
         102                   1              2                   1                  102   CBC1_1651757381_6
         103                   1              3                   2                  103   CBC1_1651757381_6
         104                   1              3                   1                  104   CBC1_1651757381_6
         106                   1              2                   1                  106   CBC1_1651757381_6
         107                   1              1                   1                  107   CBC1_1651757381_6
         108                   1              1                   1                  108   CBC1_1651757381_6
         109                   1              3                   1                  109   CBC1_1651757381_6
         110                   1              1                   1                  110   CBC1_1651757381_6
         111                   2              3                   2                  111   CBC1_1651757381_6
         112                   1              2                   1                  112   CBC1_1651757381_6


                                                                                                                   N-21
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 271 of 476 PageID #: 2909
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         113   19 Jun 2022 - 05:09:46 EDT     19 Jun 2022 - 05:26:27 EDT               1001               1001           1655629786
         114   19 Jun 2022 - 05:12:38 EDT     19 Jun 2022 - 05:15:54 EDT                196                195           1655629958
         115   19 Jun 2022 - 05:42:20 EDT     19 Jun 2022 - 05:46:22 EDT                242                239           1655631740
         116   19 Jun 2022 - 06:11:24 EDT     19 Jun 2022 - 06:15:01 EDT                217                216           1655633484
         117   19 Jun 2022 - 06:23:10 EDT     19 Jun 2022 - 06:28:54 EDT                344                343           1655634190
         118   19 Jun 2022 - 07:19:15 EDT     19 Jun 2022 - 07:21:12 EDT                117                115           1655637555
         119   19 Jun 2022 - 07:46:09 EDT     19 Jun 2022 - 07:49:44 EDT                215                214           1655639169
         120   19 Jun 2022 - 07:54:41 EDT     19 Jun 2022 - 07:57:02 EDT                141                140           1655639681
         121   19 Jun 2022 - 08:13:46 EDT     19 Jun 2022 - 08:15:28 EDT                102                102           1655640826
         122   19 Jun 2022 - 08:14:30 EDT     19 Jun 2022 - 08:17:57 EDT                207                206           1655640870
         123   19 Jun 2022 - 08:15:33 EDT     19 Jun 2022 - 08:18:43 EDT                190                190           1655640933
         124   19 Jun 2022 - 09:15:59 EDT     19 Jun 2022 - 09:18:28 EDT                149                149           1655644559
         125   19 Jun 2022 - 09:18:06 EDT     19 Jun 2022 - 09:21:44 EDT                218                218           1655644686
         126   19 Jun 2022 - 09:19:51 EDT     19 Jun 2022 - 09:25:26 EDT                335                335           1655644791
         127   19 Jun 2022 - 09:46:52 EDT     19 Jun 2022 - 09:49:33 EDT                161                160           1655646412
         128   19 Jun 2022 - 09:50:11 EDT     19 Jun 2022 - 09:55:05 EDT                294                292           1655646611
         129   19 Jun 2022 - 10:18:28 EDT     19 Jun 2022 - 10:20:49 EDT                141                140           1655648308
         130   19 Jun 2022 - 10:20:20 EDT     19 Jun 2022 - 10:21:54 EDT                 94                 93           1655648420
         131   19 Jun 2022 - 10:20:49 EDT     19 Jun 2022 - 10:22:56 EDT                127                127           1655648449
         132   19 Jun 2022 - 10:52:37 EDT     19 Jun 2022 - 10:58:04 EDT                327                326           1655650357
         134   19 Jun 2022 - 11:24:51 EDT     19 Jun 2022 - 11:29:42 EDT                291                290           1655652291
         135   19 Jun 2022 - 11:25:38 EDT     19 Jun 2022 - 11:32:06 EDT                388                388           1655652338
         136   19 Jun 2022 - 11:51:05 EDT     19 Jun 2022 - 11:54:13 EDT                188                188           1655653865
         137   19 Jun 2022 - 11:52:27 EDT     19 Jun 2022 - 11:54:10 EDT                103                102           1655653947
         138   19 Jun 2022 - 11:52:29 EDT     19 Jun 2022 - 11:55:07 EDT                158                155           1655653949
         139   19 Jun 2022 - 11:56:44 EDT     19 Jun 2022 - 12:01:00 EDT                256                255           1655654204
         140   19 Jun 2022 - 12:00:34 EDT     19 Jun 2022 - 12:01:50 EDT                 76                 76           1655654434
         141   19 Jun 2022 - 12:54:53 EDT     19 Jun 2022 - 12:59:06 EDT                253                252           1655657693
         142   19 Jun 2022 - 13:01:49 EDT     19 Jun 2022 - 13:04:32 EDT                163                161           1655658109
         143   19 Jun 2022 - 13:27:54 EDT     19 Jun 2022 - 13:35:11 EDT                437                434           1655659674
         144   19 Jun 2022 - 13:55:31 EDT     19 Jun 2022 - 13:58:15 EDT                164                161           1655661331
         145   19 Jun 2022 - 13:57:31 EDT     19 Jun 2022 - 14:00:00 EDT                149                149           1655661451
         146   19 Jun 2022 - 14:26:03 EDT     19 Jun 2022 - 14:27:26 EDT                 83                 82           1655663163


                                                                                                                                      N-22
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 272 of 476 PageID #: 2910
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         113         1655630787                1                5                 0                         Term
         114         1655630154                1                5                 0                         Term
         115         1655631982                1                5                 0                         Term
         116         1655633701                1                5                 0                         Term
         117         1655634534                1                5                 0                         Term
         118         1655637672                1                5                 0                         Term
         119         1655639384                1                5                 0                         Term
         120         1655639822                1                5                 0                         Term
         121         1655640928                1                5                 0                         Term
         122         1655641077                1                5                 0                         Term
         123         1655641123                1                5                 0                         Term
         124         1655644708                1                5                 0                         Term
         125         1655644904                1                5                 0                         Term
         126         1655645126                1                5                 0                         Term
         127         1655646573                1                5                 0                         Term
         128         1655646905                1                5                 0                         Term
         129         1655648449                1                5                 0                         Term
         130         1655648514                1                5                 0                         Term
         131         1655648576                1                5                 0                         Term
         132         1655650684                1                5                 0                         Term
         134         1655652582                1                5                 0                         Term
         135         1655652726                1                5                 0                         Term
         136         1655654053                1                5                 0                         Term
         137         1655654050                1                5                 0                         Term
         138         1655654107                1                5                 0                         Term
         139         1655654460                1                5                 0                         Term
         140         1655654510                1                5                 0                         Term
         141         1655657946                1                5                 0                         Term
         142         1655658272                1                5                 0                         Term
         143         1655660111                1                5                 0                         Term
         144         1655661495                1                5                 0                         Term
         145         1655661600                1                5                 0                         Term
         146         1655663246                1                5                 0                         Term


                                                                                                                                 N-23
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 273 of 476 PageID #: 2911
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         113                    1               375   1773661139             3                  1             2
         114                    1               360   1773660999             3                  1             2
         115                    1               854   1773670505             1                  1             1
         116                    1               873   1773680650             1                  1             2
         117                    1              1349   1773680660             2                  1             2
         118                    1              1153   1773704279             2                  1             3
         119                    1              1365   1773718319             1                  1             2
         120                    1              1583   1773718355             3                  2             1
         121                    1              1311   1773733891             1                  1             2
         122                    1              1519   1773733758             3                  2             3
         123                    1               361   1773733603             1                  1             3
         124                    1               390   1773770159             2                  1             2
         125                    1              1440   1773769985             1                  1             3
         126                    1               769   1773769732             3                  2             1
         127                    1               375   1773789252             2                  1             1
         128                    1               390   1773789163             3                  1             2
         129                    1              1903   1773808850             2                  1             3
         130                    1              1569   1773808935             3                  1             1
         131                    1              1680   1773808585             2                  1             3
         132                    1              1349   1773829069             2                  1             2
         134                    1               414   1773849720             3                  1             2
         135                    1               375   1773849651             1                  1             2
         136                    1               375   1773870170             3                  1             2
         137                    1               414   1773870024             3                  1             1
         138                    1               412   1773870025             3                  1             2
         139                    1              1423   1773870038             2                  1             2
         140                    1              1902   1773870192             2                  1             3
         141                    1               712   1773910602             1                  1             3
         142                    1               602   1773910837             2                  1             3
         143                    1              1173   1773930253             3                  1             2
         144                    1               412   1773950158             1                  1             3
         145                    1               375   1773950487             3                  2             3
         146                    1              1519   1773969790             2                  1             3


                                                                                                                  N-24
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 274 of 476 PageID #: 2912
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         113                  1             3                  1             2                  1             1
         114                  2             2                  1             1                  1             3
         115                  2             1                  1             1                  2             1
         116                  1             2                  1             3                  1             2
         117                  1             2                  1             1                  1             3
         118                  1             2                  1             1                  1             2
         119                  1             1                  2             2                  2             1
         120                  1             2                  2             2                  2             1
         121                  1             2                  1             3                  1             3
         122                  2             1                  2             2                  2             1
         123                  1             1                  1             2                  1             3
         124                  1             2                  2             3                  1             1
         125                  1             2                  1             3                  1             2
         126                  1             2                  1             2                  2             1
         127                  2             3                  2             2                  2             3
         128                  1             3                  1             1                  1             2
         129                  1             2                  1             3                  1             2
         130                  1             3                  1             1                  2             2
         131                  2             3                  1             3                  1             1
         132                  1             1                  1             1                  1             1
         134                  1             2                  1             1                  1             2
         135                  1             1                  1             1                  1             2
         136                  1             3                  1             1                  1             3
         137                  1             2                  1             3                  1             3
         138                  1             1                  1             3                  1             1
         139                  1             2                  1             1                  1             2
         140                  1             2                  1             1                  1             2
         141                  1             3                  1             1                  1             3
         142                  1             3                  1             1                  1             1
         143                  2             2                  2             1                  2             2
         144                  1             2                  1             3                  2             2
         145                  2             1                  1             2                  2             3
         146                  2             1                  1             2                  1             1


                                                                                                                  N-25
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 275 of 476 PageID #: 2913
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         113                  1             2                  1             2                  1             2
         114                  1             2                  1             3                  1             3
         115                  2             3                  1             2                  2             3
         116                  1             2                  1             1                  1             2
         117                  1             2                  1             3                  1             3
         118                  1             3                  1             3                  1             3
         119                  1             2                  1             2                  2             1
         120                  1             1                  2             2                  2             1
         121                  1             2                  1             3                  1             3
         122                  2             1                  2             2                  1             2
         123                  1             3                  1             2                  1             1
         124                  1             2                  1             2                  1             1
         125                  1             3                  1             2                  1             2
         126                  1             3                  1             3                  2             1
         127                  1             3                  1             1                  1             3
         128                  1             1                  1             2                  1             1
         129                  1             2                  2             2                  1             2
         130                  1             2                  2             3                  1             3
         131                  1             2                  1             1                  1             3
         132                  1             3                  1             2                  1             3
         134                  1             1                  1             1                  1             1
         135                  1             2                  1             1                  1             2
         136                  1             1                  1             3                  1             1
         137                  1             2                  1             2                  1             2
         138                  1             3                  1             3                  1             3
         139                  2             2                  1             1                  1             2
         140                  1             3                  1             2                  1             3
         141                  1             1                  1             2                  1             3
         142                  1             1                  1             2                  1             1
         143                  1             3                  2             3                  1             1
         144                  2             1                  2             2                  1             3
         145                  2             3                  1             2                  1             2
         146                  2             3                  1             1                  2             2


                                                                                                                  N-26
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 276 of 476 PageID #: 2914
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         113                  1             2                  1              2                   1              3
         114                  1             2                  1              1                   2              1
         115                  2             2                  1              3                   2              2
         116                  1             2                  1              1                   1              2
         117                  2             2                  1              1                   2              3
         118                  1             2                  1              1                   1              3
         119                  2             1                  1              2                   2              2
         120                  2             1                  1              2                   2              3
         121                  1             2                  1              3                   1              2
         122                  2             1                  2              3                   2              3
         123                  1             2                  1              3                   1              2
         124                  1             3                  1              3                   1              3
         125                  1             2                  1              2                   1              2
         126                  2             3                  2              3                   1              1
         127                  2             1                  1              3                   2              2
         128                  1             2                  1              2                   1              2
         129                  1             1                  1              2                   1              1
         130                  2             2                  1              3                   1              1
         131                  2             1                  1              1                   2              3
         132                  1             1                  1              3                   1              2
         134                  1             3                  1              3                   1              3
         135                  1             1                  1              1                   1              1
         136                  1             3                  1              3                   1              3
         137                  2             3                  1              1                   1              2
         138                  1             3                  1              3                   1              3
         139                  1             1                  1              2                   2              3
         140                  1             1                  1              2                   1              3
         141                  1             2                  2              3                   1              2
         142                  2             1                  1              1                   1              1
         143                  2             1                  2              3                   2              1
         144                  2             2                  1              3                   1              3
         145                  2             3                  1              2                   2              1
         146                  1             3                  2              1                   1              2


                                                                                                                     N-27
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 277 of 476 PageID #: 2915
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         113                   1              1                   1                  113   CBC1_1651757381_6
         114                   1              3                   2                  114   CBC1_1651757381_6
         115                   1              1                   1                  115   CBC1_1651757381_6
         116                   1              2                   1                  116   CBC1_1651757381_6
         117                   1              1                   1                  117   CBC1_1651757381_6
         118                   1              1                   1                  118   CBC1_1651757381_6
         119                   2              2                   1                  119   CBC1_1651757381_6
         120                   2              3                   2                  120   CBC1_1651757381_6
         121                   1              3                   1                  121   CBC1_1651757381_6
         122                   1              1                   2                  122   CBC1_1651757381_6
         123                   1              3                   2                  123   CBC1_1651757381_6
         124                   2              3                   2                  124   CBC1_1651757381_6
         125                   1              1                   1                  125   CBC1_1651757381_6
         126                   2              1                   2                  126   CBC1_1651757381_6
         127                   2              3                   1                  127   CBC1_1651757381_6
         128                   1              2                   1                  128   CBC1_1651757381_6
         129                   1              2                   1                  129   CBC1_1651757381_6
         130                   2              3                   1                  130   CBC1_1651757381_6
         131                   1              2                   2                  131   CBC1_1651757381_6
         132                   1              1                   1                  132   CBC1_1651757381_6
         134                   1              1                   1                  134   CBC1_1651757381_6
         135                   1              2                   1                  135   CBC1_1651757381_6
         136                   1              3                   1                  136   CBC1_1651757381_6
         137                   1              1                   1                  137   CBC1_1651757381_6
         138                   1              3                   1                  138   CBC1_1651757381_6
         139                   2              1                   1                  139   CBC1_1651757381_6
         140                   1              1                   1                  140   CBC1_1651757381_6
         141                   1              2                   1                  141   CBC1_1651757381_6
         142                   1              1                   1                  142   CBC1_1651757381_6
         143                   1              3                   2                  143   CBC1_1651757381_6
         144                   1              3                   1                  144   CBC1_1651757381_6
         145                   2              3                   2                  145   CBC1_1651757381_6
         146                   2              3                   1                  146   CBC1_1651757381_6


                                                                                                                   N-28
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 278 of 476 PageID #: 2916
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         147   19 Jun 2022 - 14:30:37 EDT     19 Jun 2022 - 14:32:30 EDT                113                111           1655663437
         150   19 Jun 2022 - 16:28:34 EDT     19 Jun 2022 - 16:30:08 EDT                 94                 92           1655670514
         151   19 Jun 2022 - 16:31:28 EDT     19 Jun 2022 - 16:37:33 EDT                365                363           1655670688
         152   21 Jun 2022 - 11:01:45 EDT     21 Jun 2022 - 11:07:21 EDT                336                334           1655823705
         153   21 Jun 2022 - 12:06:47 EDT     21 Jun 2022 - 12:13:08 EDT                381                380           1655827607
         155   21 Jun 2022 - 13:05:09 EDT     21 Jun 2022 - 13:08:56 EDT                227                225           1655831109
         156   21 Jun 2022 - 13:08:16 EDT     21 Jun 2022 - 13:13:03 EDT                287                285           1655831296
         157   21 Jun 2022 - 14:22:34 EDT     21 Jun 2022 - 14:27:51 EDT                317                316           1655835754
         158   21 Jun 2022 - 15:39:46 EDT     21 Jun 2022 - 15:41:15 EDT                 89                 87           1655840386
         159   21 Jun 2022 - 18:43:57 EDT     21 Jun 2022 - 18:45:56 EDT                119                117           1655851437
         160   21 Jun 2022 - 19:16:07 EDT     21 Jun 2022 - 19:20:03 EDT                236                234           1655853367
         161   21 Jun 2022 - 20:18:58 EDT     21 Jun 2022 - 20:24:59 EDT                361                360           1655857138
         162   21 Jun 2022 - 20:22:51 EDT     21 Jun 2022 - 20:41:11 EDT               1100               1097           1655857371
         163   21 Jun 2022 - 20:54:04 EDT     21 Jun 2022 - 20:59:52 EDT                348                347           1655859244
         164   21 Jun 2022 - 21:01:04 EDT     21 Jun 2022 - 21:06:08 EDT                304                302           1655859664
         165   21 Jun 2022 - 21:22:53 EDT     21 Jun 2022 - 21:24:47 EDT                114                113           1655860973
         167   21 Jun 2022 - 21:55:37 EDT     21 Jun 2022 - 21:58:12 EDT                155                155           1655862937
         168   21 Jun 2022 - 22:24:19 EDT     21 Jun 2022 - 22:28:52 EDT                273                273           1655864659
         170   21 Jun 2022 - 22:57:56 EDT     21 Jun 2022 - 23:04:32 EDT                396                395           1655866676
         171   21 Jun 2022 - 23:03:30 EDT     21 Jun 2022 - 23:09:21 EDT                351                351           1655867010
         172   21 Jun 2022 - 23:23:33 EDT     21 Jun 2022 - 23:24:38 EDT                 65                 65           1655868213
         175   22 Jun 2022 - 00:12:44 EDT     22 Jun 2022 - 00:15:32 EDT                168                165           1655871164
         176   22 Jun 2022 - 00:27:29 EDT     22 Jun 2022 - 00:28:38 EDT                 69                 66           1655872049
         177   22 Jun 2022 - 00:56:28 EDT     22 Jun 2022 - 00:58:28 EDT                120                119           1655873788
         178   22 Jun 2022 - 01:32:15 EDT     22 Jun 2022 - 01:36:19 EDT                244                243           1655875935
         179   22 Jun 2022 - 01:35:15 EDT     22 Jun 2022 - 01:37:18 EDT                123                121           1655876115
         180   22 Jun 2022 - 02:11:42 EDT     22 Jun 2022 - 02:28:45 EDT               1023               1023           1655878302
         181   22 Jun 2022 - 02:31:42 EDT     22 Jun 2022 - 02:33:15 EDT                 93                 92           1655879502
         182   22 Jun 2022 - 03:04:37 EDT     22 Jun 2022 - 03:08:00 EDT                203                201           1655881477
         183   22 Jun 2022 - 03:08:08 EDT     22 Jun 2022 - 03:12:02 EDT                234                233           1655881688
         184   22 Jun 2022 - 03:34:20 EDT     22 Jun 2022 - 03:37:51 EDT                211                211           1655883260
         185   22 Jun 2022 - 05:02:05 EDT     22 Jun 2022 - 05:07:42 EDT                337                336           1655888525
         186   22 Jun 2022 - 05:12:39 EDT     22 Jun 2022 - 05:17:29 EDT                290                352           1655889159


                                                                                                                                      N-29
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 279 of 476 PageID #: 2917
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         147         1655663550                1                5                 0                         Term
         150         1655670608                1                5                 0                         Term
         151         1655671053                1                5                 0                         Term
         152         1655824041                1                5                 0                         Term
         153         1655827988                1                5                 0                         Term
         155         1655831336                1                5                 0                         Term
         156         1655831583                1                5                 0                         Term
         157         1655836071                1                5                 0                         Term
         158         1655840475                1                5                 0                         Term
         159         1655851556                1                5                 0                         Term
         160         1655853603                1                5                 0                         Term
         161         1655857499                1                5                 0                         Term
         162         1655858471                1                5                 0                         Term
         163         1655859592                1                5                 0                         Term
         164         1655859968                1                5                 0                         Term
         165         1655861087                1                5                 0                         Term
         167         1655863092                1                5                 0                         Term
         168         1655864932                1                5                 0                         Term
         170         1655867072                1                5                 0                         Term
         171         1655867361                1                5                 0                         Term
         172         1655868278                1                5                 0                         Term
         175         1655871332                1                5                 0                         Term
         176         1655872118                1                5                 0                         Term
         177         1655873908                1                5                 0                         Term
         178         1655876179                1                5                 0                         Term
         179         1655876238                1                5                 0                         Term
         180         1655879325                1                5                 0                         Term
         181         1655879595                1                5                 0                         Term
         182         1655881680                1                5                 0                         Term
         183         1655881922                1                5                 0                         Term
         184         1655883471                1                5                 0                         Term
         185         1655888862                1                5                 0                         Term
         186         1655889449                1                5                 0                         Term


                                                                                                                                 N-30
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 280 of 476 PageID #: 2918
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         147                    1              1903    1773969463             2                  2             3
         150                    1               414    1774040984             2                  1             3
         151                    1              1440    1774040599             2                  1             3
         152                    1              1440   2wAwFsHK                1                  2             1
         153                    1              1349    1775673926             3                  1             3
         155                    1              1810    1775735698             3                  1             2
         156                    1              1680    1775735555             1                  1             3
         157                    1              1206   YJ3zWvio                1                  1             3
         158                    1              1903    1775887643             1                  1             3
         159                    1              1366    1776064278             1                  1             2
         160                    1               859    1776087756             1                  1             3
         161                    1              1351    1776130214             3                  1             1
         162                    1              1440    1776130272             3                  1             3
         163                    1              1920    1776152280             1                  1             3
         164                    1              1515    1776152198             1                  1             2
         165                    1              1440    1776172142             2                  1             2
         167                    1              1515    1776191447             3                  1             3
         168                    1               412    1776210051             3                  1             3
         170                    1               738    1776226595             2                  1             2
         171                    1              1351    1776226788             2                  1             2
         172                    1              1519    1776243190             3                  2             1
         175                    1              1440   JFPMFOdC                3                  1             1
         176                    1              1440    1776270891             2                  1             2
         177                    1               412    1776284163             3                  1             2
         178                    1               384    1776297653             2                  1             1
         179                    1              1349    1776297532             2                  1             1
         180                    1              1349    1776309371             3                  1             2
         181                    1              2560    1776320362             2                  1             2
         182                    1              1657    1776332807             1                  1             3
         183                    1              1425    1776332943             1                  1             3
         184                    1               640    1776346742             2                  1             2
         185                    1              1261    1776387795             2                  1             2
         186                    1               360    1776394179             1                  1             1


                                                                                                                   N-31
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 281 of 476 PageID #: 2919
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         147                  1             1                  2             3                  1             3
         150                  1             3                  1             3                  1             1
         151                  2             3                  2             3                  1             1
         152                  2             1                  2             1                  2             3
         153                  1             3                  1             2                  1             1
         155                  1             1                  1             1                  1             1
         156                  1             1                  1             1                  1             3
         157                  1             1                  1             3                  2             3
         158                  1             1                  1             2                  1             3
         159                  1             3                  1             3                  1             3
         160                  1             1                  1             3                  1             2
         161                  1             1                  1             2                  1             3
         162                  1             3                  1             3                  1             1
         163                  2             1                  1             3                  1             2
         164                  1             2                  1             1                  1             1
         165                  1             2                  1             1                  1             1
         167                  1             3                  1             1                  1             3
         168                  1             2                  1             3                  1             3
         170                  1             1                  2             3                  2             3
         171                  2             2                  1             1                  1             1
         172                  1             3                  1             2                  2             1
         175                  1             1                  1             2                  1             1
         176                  1             2                  2             3                  2             3
         177                  1             3                  2             3                  1             3
         178                  1             3                  2             3                  1             3
         179                  1             1                  1             2                  1             1
         180                  1             3                  1             1                  1             3
         181                  1             1                  1             3                  1             2
         182                  1             1                  1             3                  1             1
         183                  1             2                  1             3                  1             3
         184                  1             1                  1             2                  1             2
         185                  1             3                  2             3                  1             3
         186                  1             2                  1             2                  1             1


                                                                                                                  N-32
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 282 of 476 PageID #: 2920
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         147                  2             3                  1             2                  1             3
         150                  1             3                  1             3                  1             1
         151                  1             1                  2             1                  2             2
         152                  2             1                  2             3                  2             1
         153                  1             1                  1             1                  1             3
         155                  1             2                  1             3                  1             3
         156                  1             1                  1             3                  1             1
         157                  1             3                  2             3                  2             1
         158                  1             3                  1             2                  1             3
         159                  1             3                  1             1                  1             2
         160                  1             2                  1             2                  1             2
         161                  1             3                  1             3                  1             1
         162                  1             3                  1             2                  1             1
         163                  1             3                  1             3                  2             1
         164                  1             1                  1             1                  1             2
         165                  1             2                  2             1                  1             3
         167                  1             2                  1             2                  1             1
         168                  1             3                  1             1                  1             2
         170                  1             3                  2             3                  1             3
         171                  1             2                  2             1                  2             1
         172                  2             3                  2             2                  1             1
         175                  1             2                  1             2                  1             3
         176                  2             2                  1             2                  1             2
         177                  1             3                  1             3                  1             3
         178                  1             2                  1             3                  1             3
         179                  1             1                  1             1                  1             1
         180                  1             1                  1             1                  1             3
         181                  1             2                  1             2                  1             1
         182                  1             2                  1             3                  1             1
         183                  1             2                  2             2                  2             1
         184                  1             1                  1             1                  1             1
         185                  1             3                  1             3                  2             1
         186                  1             1                  1             2                  1             2


                                                                                                                  N-33
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 283 of 476 PageID #: 2921
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         147                  1             1                  1              3                   1              3
         150                  1             2                  1              2                   1              3
         151                  2             1                  2              2                   1              3
         152                  2             3                  2              3                   2              3
         153                  1             1                  1              3                   1              1
         155                  1             1                  1              3                   1              2
         156                  1             2                  1              2                   1              2
         157                  1             1                  1              3                   2              2
         158                  1             2                  1              3                   1              3
         159                  1             2                  1              2                   1              3
         160                  1             2                  1              1                   1              2
         161                  2             2                  2              2                   2              1
         162                  1             1                  1              3                   1              2
         163                  2             3                  2              2                   1              1
         164                  1             1                  1              2                   1              1
         165                  2             3                  2              2                   2              1
         167                  1             2                  1              2                   1              2
         168                  1             1                  1              2                   1              3
         170                  2             3                  1              3                   2              3
         171                  1             3                  1              2                   1              2
         172                  2             2                  1              1                   2              3
         175                  1             2                  1              1                   1              3
         176                  1             2                  1              2                   2              3
         177                  2             2                  1              1                   1              2
         178                  2             3                  1              3                   1              3
         179                  1             2                  1              2                   1              1
         180                  1             3                  1              1                   1              3
         181                  1             2                  1              2                   1              2
         182                  1             2                  1              3                   1              1
         183                  2             3                  1              2                   1              2
         184                  1             1                  1              3                   1              2
         185                  1             1                  1              3                   2              1
         186                  1             1                  1              1                   1              2


                                                                                                                     N-34
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 284 of 476 PageID #: 2922
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         147                   1              3                   2                  147   CBC1_1651757381_6
         150                   1              3                   1                  150   CBC1_1651757381_6
         151                   2              1                   1                  151   CBC1_1651757381_6
         152                   2              3                   2                  152   CBC1_1651757381_6
         153                   1              1                   1                  153   CBC1_1651757381_6
         155                   1              2                   1                  155   CBC1_1651757381_6
         156                   1              3                   1                  156   CBC1_1651757381_6
         157                   1              1                   2                  157   CBC1_1651757381_6
         158                   1              2                   1                  158   CBC1_1651757381_6
         159                   1              3                   1                  159   CBC1_1651757381_6
         160                   1              3                   2                  160   CBC1_1651757381_6
         161                   1              2                   1                  161   CBC1_1651757381_6
         162                   1              1                   1                  162   CBC1_1651757381_6
         163                   2              3                   2                  163   CBC1_1651757381_6
         164                   1              1                   1                  164   CBC1_1651757381_6
         165                   2              2                   1                  165   CBC1_1651757381_6
         167                   1              2                   1                  167   CBC1_1651757381_6
         168                   1              2                   1                  168   CBC1_1651757381_6
         170                   2              3                   2                  170   CBC1_1651757381_6
         171                   1              3                   2                  171   CBC1_1651757381_6
         172                   2              1                   2                  172   CBC1_1651757381_6
         175                   1              3                   1                  175   CBC1_1651757381_6
         176                   1              2                   2                  176   CBC1_1651757381_6
         177                   2              1                   1                  177   CBC1_1651757381_6
         178                   1              2                   1                  178   CBC1_1651757381_6
         179                   1              2                   1                  179   CBC1_1651757381_6
         180                   1              2                   1                  180   CBC1_1651757381_6
         181                   1              2                   1                  181   CBC1_1651757381_6
         182                   1              3                   1                  182   CBC1_1651757381_6
         183                   2              2                   1                  183   CBC1_1651757381_6
         184                   1              2                   1                  184   CBC1_1651757381_6
         185                   1              3                   1                  185   CBC1_1651757381_6
         186                   1              1                   1                  186   CBC1_1651757381_6


                                                                                                                   N-35
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 285 of 476 PageID #: 2923
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         187   22 Jun 2022 - 05:16:58 EDT     22 Jun 2022 - 05:21:21 EDT                263                262           1655889418
         188   22 Jun 2022 - 05:49:06 EDT     22 Jun 2022 - 05:58:18 EDT                552                613           1655891346
         189   22 Jun 2022 - 06:02:38 EDT     22 Jun 2022 - 06:05:05 EDT                147                146           1655892158
         190   22 Jun 2022 - 06:14:09 EDT     22 Jun 2022 - 06:19:48 EDT                339                339           1655892849
         191   22 Jun 2022 - 06:46:06 EDT     22 Jun 2022 - 06:53:20 EDT                434                434           1655894766
         193   22 Jun 2022 - 07:12:11 EDT     22 Jun 2022 - 07:17:02 EDT                291                290           1655896331
         194   22 Jun 2022 - 07:45:15 EDT     22 Jun 2022 - 07:47:11 EDT                116                115           1655898315
         195   22 Jun 2022 - 08:10:37 EDT     22 Jun 2022 - 08:14:25 EDT                228                227           1655899837
         196   22 Jun 2022 - 08:20:41 EDT     22 Jun 2022 - 08:25:11 EDT                270                270           1655900441
         197   22 Jun 2022 - 08:43:11 EDT     22 Jun 2022 - 08:50:02 EDT                411                409           1655901791
         198   22 Jun 2022 - 08:44:26 EDT     22 Jun 2022 - 08:46:49 EDT                143                142           1655901866
         200   22 Jun 2022 - 09:22:05 EDT     22 Jun 2022 - 09:24:05 EDT                120                119           1655904125
         201   22 Jun 2022 - 09:37:31 EDT     22 Jun 2022 - 09:38:34 EDT                 63                 61           1655905051
         203   22 Jun 2022 - 09:43:04 EDT     22 Jun 2022 - 09:45:39 EDT                155                155           1655905384
         204   22 Jun 2022 - 10:22:27 EDT     22 Jun 2022 - 10:24:29 EDT                122                120           1655907747
         205   22 Jun 2022 - 11:49:18 EDT     22 Jun 2022 - 11:52:40 EDT                202                200           1655912958
         206   22 Jun 2022 - 12:58:32 EDT     22 Jun 2022 - 13:01:38 EDT                186                186           1655917112
         207   22 Jun 2022 - 13:23:36 EDT     22 Jun 2022 - 13:26:50 EDT                194                192           1655918616
         208   22 Jun 2022 - 13:55:23 EDT     22 Jun 2022 - 13:56:57 EDT                 94                 93           1655920523
         210   22 Jun 2022 - 15:11:46 EDT     22 Jun 2022 - 15:16:50 EDT                304                333           1655925106
         211   22 Jun 2022 - 15:25:48 EDT     22 Jun 2022 - 15:29:20 EDT                212                211           1655925948
         212   22 Jun 2022 - 15:33:34 EDT     22 Jun 2022 - 15:39:05 EDT                331                330           1655926414
         213   22 Jun 2022 - 15:59:51 EDT     22 Jun 2022 - 16:02:44 EDT                173                171           1655927991
         214   22 Jun 2022 - 16:00:52 EDT     22 Jun 2022 - 16:07:27 EDT                395                393           1655928052
         215   22 Jun 2022 - 16:03:53 EDT     22 Jun 2022 - 16:07:25 EDT                212                209           1655928233
         216   22 Jun 2022 - 16:18:11 EDT     22 Jun 2022 - 16:39:35 EDT               1284               1283           1655929091
         217   22 Jun 2022 - 16:30:54 EDT     22 Jun 2022 - 16:33:56 EDT                182                181           1655929854
         218   22 Jun 2022 - 16:31:03 EDT     22 Jun 2022 - 16:34:45 EDT                222                221           1655929863
         219   22 Jun 2022 - 16:48:48 EDT     22 Jun 2022 - 16:52:59 EDT                251                250           1655930928
         220   29 Jun 2022 - 20:12:56 EDT     29 Jun 2022 - 20:22:14 EDT                558                557           1656547976
         221   29 Jun 2022 - 21:38:14 EDT     29 Jun 2022 - 21:40:29 EDT                135                134           1656553094
         222   29 Jun 2022 - 21:40:01 EDT     29 Jun 2022 - 21:43:43 EDT                222                219           1656553201
         223   29 Jun 2022 - 22:40:31 EDT     29 Jun 2022 - 22:42:49 EDT                138                138           1656556831


                                                                                                                                      N-36
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 286 of 476 PageID #: 2924
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         187         1655889681                1                5                 0                         Term
         188         1655891898                1                5                 0                         Term
         189         1655892305                1                5                 0                         Term
         190         1655893188                1                5                 0                         Term
         191         1655895200                1                5                 0                         Term
         193         1655896622                1                5                 0                         Term
         194         1655898431                1                5                 0                         Term
         195         1655900065                1                5                 0                         Term
         196         1655900711                1                5                 0                         Term
         197         1655902202                1                5                 0                         Term
         198         1655902009                1                5                 0                         Term
         200         1655904245                1                5                 0                         Term
         201         1655905114                1                5                 0                         Term
         203         1655905539                1                5                 0                         Term
         204         1655907869                1                5                 0                         Term
         205         1655913160                1                5                 0                         Term
         206         1655917298                1                5                 0                         Term
         207         1655918810                1                5                 0                         Term
         208         1655920617                1                5                 0                         Term
         210         1655925410                1                5                 0                         Term
         211         1655926160                1                5                 0                         Term
         212         1655926745                1                5                 0                         Term
         213         1655928164                1                5                 0                         Term
         214         1655928447                1                5                 0                         Term
         215         1655928445                1                5                 0                         Term
         216         1655930375                1                5                 0                         Term
         217         1655930036                1                5                 0                         Term
         218         1655930085                1                5                 0                         Term
         219         1655931179                1                5                 0                         Term
         220         1656548534                1                5                 0                         Term
         221         1656553229                1                5                 0                         Term
         222         1656553423                1                5                 0                         Term
         223         1656556969                1                5                 0                         Term


                                                                                                                                 N-37
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 287 of 476 PageID #: 2925
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         187                    1              1333   1776396413             3                  1             1
         188                    1               384   1776410763             3                  1             2
         189                    1               375   1776410852             3                  1             3
         190                    1               375   1776426172             3                  1             3
         191                    1              1903   1776444673             3                  1             2
         193                    1               384   1776464003             3                  1             1
         194                    1              1349   1776485659             2                  1             1
         195                    1              1349   1776508864             2                  1             3
         196                    1              1718   1776509236             3                  1             1
         197                    1              1263   1776534263             3                  1             2
         198                    1              1351   1776534191             1                  2             1
         200                    1              1903   1776562249             1                  1             2
         201                    1              1903   1776561834             1                  1             2
         203                    1              1519   1776589715             3                  2             2
         204                    1              1903   1776621349             3                  1             2
         205                    1              1903   1776718723             1                  1             2
         206                    1              1440   1776781876             1                  1             3
         207                    1               414   1776816925             3                  1             1
         208                    1              1280   1776852458             1                  1             1
         210                    1               412   1776920957             3                  1             3
         211                    1               412   1776950219             1                  1             1
         212                    1               384   1776950674             2                  1             1
         213                    1               832   1776984609             3                  1             2
         214                    1               375   1776983268             2                  2             1
         215                    1               808   1776984398             2                  1             3
         216                    1               393   1776984331             3                  2             1
         217                    1               414   1777014846             1                  1             3
         218                    1               384   1777014364             3                  1             2
         219                    1              1583   1777014057             1                  1             3
         220                    1              1349   1783587070             1                  2             1
         221                    1               320   1783643435             3                  1             2
         222                    1              1263   1783643649             1                  1             1
         223                    1               412   1783679344             1                  1             2


                                                                                                                  N-38
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 288 of 476 PageID #: 2926
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         187                  1             2                  1             3                  1             2
         188                  1             2                  1             2                  2             2
         189                  1             3                  1             3                  1             2
         190                  1             2                  1             2                  1             2
         191                  1             3                  1             2                  1             2
         193                  1             3                  1             3                  1             3
         194                  1             2                  1             1                  1             1
         195                  1             3                  1             3                  1             3
         196                  1             2                  1             1                  1             2
         197                  1             2                  1             2                  1             2
         198                  2             3                  1             2                  1             3
         200                  1             3                  1             1                  1             3
         201                  1             3                  1             3                  1             3
         203                  1             3                  1             3                  1             1
         204                  1             2                  1             1                  1             2
         205                  1             2                  1             3                  2             1
         206                  1             2                  1             2                  1             3
         207                  1             3                  1             3                  1             2
         208                  1             1                  2             2                  1             2
         210                  2             1                  1             3                  2             2
         211                  1             1                  1             2                  1             3
         212                  1             1                  1             2                  1             1
         213                  1             2                  1             2                  1             3
         214                  2             3                  2             2                  2             3
         215                  1             1                  1             3                  1             2
         216                  1             3                  1             1                  1             2
         217                  1             2                  1             2                  1             3
         218                  1             1                  1             3                  1             3
         219                  1             2                  1             1                  1             3
         220                  2             1                  2             1                  2             1
         221                  1             2                  1             2                  1             3
         222                  1             3                  1             1                  1             3
         223                  1             2                  1             2                  1             2


                                                                                                                  N-39
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 289 of 476 PageID #: 2927
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         187                  1             1                  2             1                  1             2
         188                  2             3                  1             3                  1             1
         189                  2             1                  1             1                  1             3
         190                  1             1                  1             1                  1             2
         191                  1             1                  2             1                  2             3
         193                  1             3                  1             2                  1             1
         194                  1             1                  1             1                  1             1
         195                  1             2                  1             1                  1             2
         196                  1             2                  1             1                  1             2
         197                  1             3                  1             3                  1             1
         198                  1             2                  2             2                  2             2
         200                  1             2                  1             3                  1             2
         201                  1             3                  1             1                  1             3
         203                  1             2                  2             1                  1             1
         204                  1             3                  2             2                  1             2
         205                  1             2                  1             2                  1             3
         206                  1             1                  1             1                  1             1
         207                  1             1                  1             1                  1             3
         208                  1             3                  1             1                  1             1
         210                  1             2                  1             1                  1             2
         211                  1             2                  1             1                  1             3
         212                  1             3                  1             3                  1             2
         213                  1             3                  1             1                  1             3
         214                  2             1                  2             2                  2             1
         215                  1             2                  1             1                  1             1
         216                  1             1                  1             3                  1             2
         217                  1             1                  1             1                  1             1
         218                  1             3                  1             1                  1             1
         219                  1             1                  1             2                  1             2
         220                  2             1                  2             1                  2             2
         221                  1             3                  1             3                  1             1
         222                  1             1                  1             2                  1             1
         223                  2             2                  1             3                  1             1


                                                                                                                  N-40
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 290 of 476 PageID #: 2928
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         187                  1             1                  1              2                   1              1
         188                  1             1                  1              1                   2              2
         189                  1             2                  1              1                   1              1
         190                  1             1                  1              3                   1              3
         191                  1             3                  2              3                   1              2
         193                  1             3                  1              2                   1              1
         194                  1             1                  1              2                   1              1
         195                  1             1                  1              2                   1              2
         196                  1             1                  1              2                   1              2
         197                  1             3                  1              1                   1              1
         198                  1             3                  2              1                   1              1
         200                  1             3                  1              2                   1              2
         201                  1             1                  1              1                   1              2
         203                  1             3                  2              3                   1              3
         204                  1             3                  1              3                   2              3
         205                  2             1                  1              1                   1              2
         206                  1             3                  1              3                   1              1
         207                  1             1                  1              2                   1              1
         208                  1             3                  1              1                   1              2
         210                  1             1                  1              1                   1              1
         211                  1             3                  1              3                   2              1
         212                  1             3                  1              3                   1              3
         213                  1             3                  1              1                   1              2
         214                  2             1                  2              2                   2              3
         215                  1             3                  1              2                   1              2
         216                  1             1                  1              2                   1              1
         217                  1             1                  1              3                   1              2
         218                  1             2                  1              2                   1              2
         219                  1             3                  1              1                   1              2
         220                  2             2                  2              1                   2              2
         221                  1             2                  1              2                   1              1
         222                  1             1                  1              1                   1              3
         223                  1             1                  1              1                   1              2


                                                                                                                     N-41
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 291 of 476 PageID #: 2929
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         187                   1              3                   1                  187   CBC1_1651757381_6
         188                   2              2                   1                  188   CBC1_1651757381_6
         189                   1              1                   1                  189   CBC1_1651757381_6
         190                   1              2                   1                  190   CBC1_1651757381_6
         191                   2              3                   1                  191   CBC1_1651757381_6
         193                   1              2                   1                  193   CBC1_1651757381_6
         194                   1              2                   1                  194   CBC1_1651757381_6
         195                   1              2                   1                  195   CBC1_1651757381_6
         196                   1              2                   1                  196   CBC1_1651757381_6
         197                   1              2                   1                  197   CBC1_1651757381_6
         198                   2              3                   2                  198   CBC1_1651757381_6
         200                   1              2                   1                  200   CBC1_1651757381_6
         201                   1              3                   1                  201   CBC1_1651757381_6
         203                   1              3                   2                  203   CBC1_1651757381_6
         204                   2              2                   1                  204   CBC1_1651757381_6
         205                   2              2                   1                  205   CBC1_1651757381_6
         206                   1              2                   1                  206   CBC1_1651757381_6
         207                   1              2                   1                  207   CBC1_1651757381_6
         208                   1              1                   1                  208   CBC1_1651757381_6
         210                   1              2                   2                  210   CBC1_1651757381_6
         211                   1              3                   1                  211   CBC1_1651757381_6
         212                   1              3                   1                  212   CBC1_1651757381_6
         213                   1              3                   1                  213   CBC1_1651757381_6
         214                   2              3                   2                  214   CBC1_1651757381_6
         215                   1              1                   1                  215   CBC1_1651757381_6
         216                   2              2                   1                  216   CBC1_1651757381_6
         217                   1              1                   1                  217   CBC1_1651757381_6
         218                   1              3                   1                  218   CBC1_1651757381_6
         219                   1              1                   1                  219   CBC1_1651757381_6
         220                   2              1                   1                  220   CBC1_1651757381_6
         221                   1              3                   1                  221   CBC1_1651757381_6
         222                   1              1                   1                  222   CBC1_1651757381_6
         223                   1              1                   1                  223   CBC1_1651757381_6


                                                                                                                   N-42
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 292 of 476 PageID #: 2930
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         224   29 Jun 2022 - 23:17:11 EDT     29 Jun 2022 - 23:24:30 EDT                439                438           1656559031
         225   29 Jun 2022 - 23:45:51 EDT     29 Jun 2022 - 23:52:13 EDT                382                380           1656560751
         227   30 Jun 2022 - 07:53:10 EDT     30 Jun 2022 - 07:59:18 EDT                368                367           1656589990
         228   30 Jun 2022 - 08:33:06 EDT     30 Jun 2022 - 08:36:50 EDT                224                223           1656592386
         229   30 Jun 2022 - 08:39:06 EDT     30 Jun 2022 - 08:41:47 EDT                161                161           1656592746
         231   30 Jun 2022 - 09:49:22 EDT     30 Jun 2022 - 09:51:23 EDT                121                119           1656596962
         232   30 Jun 2022 - 10:20:23 EDT     30 Jun 2022 - 10:23:28 EDT                185                185           1656598823
         233   30 Jun 2022 - 10:34:11 EDT     30 Jun 2022 - 10:38:33 EDT                262                260           1656599651
         234   30 Jun 2022 - 10:50:37 EDT     30 Jun 2022 - 10:53:41 EDT                184                183           1656600637
         235   30 Jun 2022 - 10:52:56 EDT     30 Jun 2022 - 10:56:03 EDT                187                185           1656600776
         236   30 Jun 2022 - 11:00:55 EDT     30 Jun 2022 - 11:08:28 EDT                453                451           1656601255
         237   30 Jun 2022 - 11:32:40 EDT     30 Jun 2022 - 11:35:46 EDT                186                185           1656603160
         238   30 Jun 2022 - 11:34:22 EDT     30 Jun 2022 - 11:38:46 EDT                264                261           1656603262
         239   30 Jun 2022 - 11:51:05 EDT     30 Jun 2022 - 11:55:23 EDT                258                258           1656604265
         240   30 Jun 2022 - 11:58:22 EDT     30 Jun 2022 - 12:03:18 EDT                296                295           1656604702
         241   30 Jun 2022 - 12:33:46 EDT     30 Jun 2022 - 12:36:55 EDT                189                189           1656606826
         242   30 Jun 2022 - 12:35:10 EDT     30 Jun 2022 - 12:38:49 EDT                219                219           1656606910
         243   30 Jun 2022 - 12:37:06 EDT     30 Jun 2022 - 12:38:49 EDT                103                101           1656607026
         244   30 Jun 2022 - 13:04:41 EDT     30 Jun 2022 - 13:07:31 EDT                170                169           1656608681
         245   30 Jun 2022 - 13:05:19 EDT     30 Jun 2022 - 13:10:08 EDT                289                289           1656608719
         246   30 Jun 2022 - 13:08:28 EDT     30 Jun 2022 - 13:18:39 EDT                611                608           1656608908
         247   30 Jun 2022 - 13:12:24 EDT     30 Jun 2022 - 13:17:05 EDT                281                280           1656609144
         249   30 Jun 2022 - 13:19:40 EDT     30 Jun 2022 - 13:24:46 EDT                306                304           1656609580
         251   30 Jun 2022 - 13:39:41 EDT     30 Jun 2022 - 13:43:58 EDT                257                256           1656610781
         252   30 Jun 2022 - 13:42:39 EDT     30 Jun 2022 - 14:01:48 EDT               1149               1147           1656610959
         253   30 Jun 2022 - 14:03:48 EDT     30 Jun 2022 - 14:06:31 EDT                163                159           1656612228
         256   30 Jun 2022 - 14:10:30 EDT     30 Jun 2022 - 14:13:26 EDT                176                173           1656612630
         257   30 Jun 2022 - 14:12:43 EDT     30 Jun 2022 - 14:16:27 EDT                224                222           1656612763
         258   30 Jun 2022 - 14:13:24 EDT     30 Jun 2022 - 14:16:06 EDT                162                161           1656612804
         260   30 Jun 2022 - 14:40:03 EDT     30 Jun 2022 - 14:41:48 EDT                105                104           1656614403
         261   30 Jun 2022 - 14:40:34 EDT     30 Jun 2022 - 14:44:19 EDT                225                224           1656614434
         262   30 Jun 2022 - 14:46:40 EDT     30 Jun 2022 - 14:53:00 EDT                380                378           1656614800
         263   30 Jun 2022 - 14:53:05 EDT     30 Jun 2022 - 14:58:50 EDT                345                345           1656615185


                                                                                                                                      N-43
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         224         1656559470                1                5                 0                         Term
         225         1656561133                1                5                 0                         Term
         227         1656590358                1                5                 0                         Term
         228         1656592610                1                5                 0                         Term
         229         1656592907                1                5                 0                         Term
         231         1656597083                1                5                 0                         Term
         232         1656599008                1                5                 0                         Term
         233         1656599913                1                5                 0                         Term
         234         1656600821                1                5                 0                         Term
         235         1656600963                1                5                 0                         Term
         236         1656601708                1                5                 0                         Term
         237         1656603346                1                5                 0                         Term
         238         1656603526                1                5                 0                         Term
         239         1656604523                1                5                 0                         Term
         240         1656604998                1                5                 0                         Term
         241         1656607015                1                5                 0                         Term
         242         1656607129                1                5                 0                         Term
         243         1656607129                1                5                 0                         Term
         244         1656608851                1                5                 0                         Term
         245         1656609008                1                5                 0                         Term
         246         1656609519                1                5                 0                         Term
         247         1656609425                1                5                 0                         Term
         249         1656609886                1                5                 0                         Term
         251         1656611038                1                5                 0                         Term
         252         1656612108                1                5                 0                         Term
         253         1656612391                1                5                 0                         Term
         256         1656612806                1                5                 0                         Term
         257         1656612987                1                5                 0                         Term
         258         1656612966                1                5                 0                         Term
         260         1656614508                1                5                 0                         Term
         261         1656614659                1                5                 0                         Term
         262         1656615180                1                5                 0                         Term
         263         1656615530                1                5                 0                         Term


                                                                                                                                 N-44
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 294 of 476 PageID #: 2932
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         224                    1               424   1783696255             3                  1             1
         225                    1              1366   1783709624             3                  2             1
         227                    1              1903   1783927985             2                  1             1
         228                    1              1349   1783974042             2                  2             1
         229                    1               375   1783980496             1                  1             1
         231                    1               414   1784041171             3                  1             2
         232                    1               360   1784070353             2                  1             3
         233                    1               414   1784083568             3                  1             1
         234                    1              1903   1784090017             1                  1             1
         235                    1               428   1784099142             3                  1             2
         236                    1               414   1784108080             3                  1             2
         237                    1              1263   1784140247             2                  1             3
         238                    1               414   1784139264             2                  1             2
         239                    1              1519   1784158266             1                  1             2
         240                    1              1903   1784145977             2                  1             2
         241                    1              1349   1784203787             2                  1             1
         242                    1              1349   1784203626             2                  1             2
         243                    1              1264   1784207006             3                  2             3
         244                    1              1519   1784206338             1                  1             1
         245                    1               667   1784234491             1                  1             2
         246                    1              1104   1784236526             2                  1             1
         247                    1               412   1784240703             3                  2             1
         249                    1              1453   1784235153             1                  1             1
         251                    1              1351   1784269594             1                  1             1
         252                    1              1903   1784265193             3                  1             2
         253                    1              1903   1784295765             1                  1             3
         256                    1               414   1784303028             1                  1             1
         257                    1              1080   1784303236             1                  1             3
         258                    1              1263   1784304066             3                  1             2
         260                    1              1519   1784330221             2                  1             2
         261                    1              1518   1784329721             3                  1             3
         262                    1               428   1784333427             3                  2             3
         263                    1               390   1784339472             1                  1             1


                                                                                                                  N-45
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 295 of 476 PageID #: 2933
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         224                  1             2                  1             1                  1             3
         225                  1             3                  1             2                  1             2
         227                  2             1                  1             3                  1             1
         228                  1             1                  1             2                  1             3
         229                  2             2                  1             1                  1             3
         231                  1             3                  1             2                  1             3
         232                  1             3                  1             3                  1             2
         233                  1             3                  1             1                  1             3
         234                  1             1                  1             2                  2             3
         235                  1             3                  1             1                  1             3
         236                  1             3                  1             2                  1             1
         237                  2             1                  1             1                  1             3
         238                  1             2                  1             2                  1             1
         239                  1             1                  1             1                  2             3
         240                  1             2                  1             3                  1             2
         241                  1             3                  1             3                  2             2
         242                  1             3                  1             2                  1             1
         243                  1             1                  2             2                  1             1
         244                  1             2                  1             1                  1             2
         245                  1             2                  1             1                  1             1
         246                  1             2                  1             2                  1             2
         247                  2             3                  2             1                  1             3
         249                  1             1                  1             2                  1             2
         251                  1             1                  1             2                  1             2
         252                  1             3                  1             1                  1             2
         253                  1             3                  1             2                  1             2
         256                  1             3                  1             3                  1             2
         257                  1             2                  1             3                  1             3
         258                  1             3                  2             1                  1             3
         260                  1             3                  1             3                  1             1
         261                  1             1                  2             3                  2             1
         262                  1             2                  1             3                  1             1
         263                  1             2                  1             2                  2             2


                                                                                                                  N-46
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 296 of 476 PageID #: 2934
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         224                  1             2                  1             2                  1             3
         225                  1             3                  1             3                  1             2
         227                  1             2                  1             2                  2             2
         228                  1             2                  1             2                  1             1
         229                  1             2                  2             2                  2             1
         231                  1             3                  1             2                  1             3
         232                  1             3                  1             1                  1             2
         233                  1             1                  1             3                  1             2
         234                  1             3                  1             2                  2             1
         235                  1             3                  1             2                  1             3
         236                  1             2                  1             3                  1             2
         237                  2             2                  2             3                  2             2
         238                  1             1                  1             2                  1             1
         239                  1             2                  1             3                  1             1
         240                  1             2                  1             1                  1             3
         241                  1             2                  1             1                  2             2
         242                  1             2                  1             2                  1             2
         243                  2             1                  2             3                  1             1
         244                  1             3                  1             1                  1             3
         245                  1             2                  1             3                  1             1
         246                  1             2                  1             1                  1             2
         247                  2             2                  2             2                  2             2
         249                  1             2                  2             1                  1             2
         251                  1             1                  1             1                  2             1
         252                  2             3                  1             2                  1             3
         253                  1             2                  1             3                  1             1
         256                  1             2                  1             2                  1             1
         257                  1             3                  1             3                  1             3
         258                  1             1                  1             2                  2             1
         260                  1             1                  1             1                  1             2
         261                  1             2                  1             2                  2             3
         262                  1             1                  1             3                  1             1
         263                  1             2                  1             3                  1             1


                                                                                                                  N-47
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 297 of 476 PageID #: 2935
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         224                  1             3                  1              2                   2              2
         225                  2             2                  2              1                   1              3
         227                  1             1                  1              2                   2              1
         228                  2             2                  2              3                   1              2
         229                  1             1                  2              2                   1              1
         231                  1             1                  1              3                   1              3
         232                  1             3                  1              1                   1              3
         233                  1             2                  1              2                   1              2
         234                  1             1                  1              2                   1              3
         235                  1             2                  1              2                   1              2
         236                  1             3                  1              1                   1              2
         237                  2             1                  2              2                   2              2
         238                  1             3                  1              3                   1              2
         239                  1             1                  1              1                   1              3
         240                  1             2                  1              2                   1              3
         241                  1             1                  1              2                   2              3
         242                  1             2                  1              1                   2              1
         243                  1             2                  2              3                   1              2
         244                  1             3                  1              1                   1              1
         245                  1             1                  1              2                   1              2
         246                  1             1                  1              2                   1              2
         247                  1             2                  1              1                   2              1
         249                  1             2                  1              3                   1              2
         251                  1             2                  1              3                   1              2
         252                  1             1                  1              2                   1              3
         253                  1             3                  1              3                   1              2
         256                  1             3                  1              1                   1              2
         257                  1             2                  1              2                   2              2
         258                  1             3                  1              3                   1              1
         260                  1             2                  1              3                   1              3
         261                  1             2                  2              2                   2              3
         262                  1             1                  1              3                   1              1
         263                  2             3                  2              3                   1              3


                                                                                                                     N-48
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 298 of 476 PageID #: 2936
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         224                   1              2                   1                  224   CBC1_1651757381_6
         225                   1              1                   2                  225   CBC1_1651757381_6
         227                   1              1                   1                  227   CBC1_1651757381_6
         228                   1              3                   1                  228   CBC1_1651757381_6
         229                   1              2                   2                  229   CBC1_1651757381_6
         231                   1              3                   1                  231   CBC1_1651757381_6
         232                   1              2                   1                  232   CBC1_1651757381_6
         233                   1              3                   1                  233   CBC1_1651757381_6
         234                   2              1                   1                  234   CBC1_1651757381_6
         235                   1              3                   1                  235   CBC1_1651757381_6
         236                   1              2                   1                  236   CBC1_1651757381_6
         237                   2              1                   2                  237   CBC1_1651757381_6
         238                   1              1                   1                  238   CBC1_1651757381_6
         239                   2              2                   2                  239   CBC1_1651757381_6
         240                   1              2                   1                  240   CBC1_1651757381_6
         241                   2              1                   1                  241   CBC1_1651757381_6
         242                   1              1                   1                  242   CBC1_1651757381_6
         243                   2              2                   1                  243   CBC1_1651757381_6
         244                   1              1                   1                  244   CBC1_1651757381_6
         245                   1              1                   1                  245   CBC1_1651757381_6
         246                   1              3                   1                  246   CBC1_1651757381_6
         247                   2              2                   2                  247   CBC1_1651757381_6
         249                   1              1                   1                  249   CBC1_1651757381_6
         251                   1              2                   1                  251   CBC1_1651757381_6
         252                   1              2                   1                  252   CBC1_1651757381_6
         253                   1              2                   1                  253   CBC1_1651757381_6
         256                   1              3                   1                  256   CBC1_1651757381_6
         257                   2              3                   2                  257   CBC1_1651757381_6
         258                   1              3                   1                  258   CBC1_1651757381_6
         260                   1              1                   1                  260   CBC1_1651757381_6
         261                   1              1                   2                  261   CBC1_1651757381_6
         262                   2              1                   1                  262   CBC1_1651757381_6
         263                   1              2                   1                  263   CBC1_1651757381_6


                                                                                                                   N-49
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 299 of 476 PageID #: 2937
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         266   30 Jun 2022 - 14:58:15 EDT     30 Jun 2022 - 15:03:30 EDT                315                315           1656615495
         267   30 Jun 2022 - 15:06:37 EDT     30 Jun 2022 - 15:10:49 EDT                252                251           1656615997
         268   30 Jun 2022 - 15:10:11 EDT     30 Jun 2022 - 15:16:08 EDT                357                355           1656616211
         269   30 Jun 2022 - 15:14:12 EDT     30 Jun 2022 - 15:16:23 EDT                131                131           1656616452
         270   30 Jun 2022 - 15:23:24 EDT     30 Jun 2022 - 15:26:39 EDT                195                190           1656617004
         271   30 Jun 2022 - 15:23:36 EDT     30 Jun 2022 - 15:27:32 EDT                236                236           1656617016
         272   30 Jun 2022 - 15:23:53 EDT     30 Jun 2022 - 15:31:02 EDT                429                425           1656617033
         273   30 Jun 2022 - 15:31:28 EDT     30 Jun 2022 - 15:33:30 EDT                122                121           1656617488
         274   30 Jun 2022 - 15:48:54 EDT     30 Jun 2022 - 16:03:53 EDT                899                897           1656618534
         275   30 Jun 2022 - 15:54:06 EDT     30 Jun 2022 - 15:58:24 EDT                258                256           1656618846
         277   30 Jun 2022 - 15:55:03 EDT     30 Jun 2022 - 16:01:35 EDT                392                390           1656618903
         278   30 Jun 2022 - 16:02:35 EDT     30 Jun 2022 - 16:05:10 EDT                155                153           1656619355
         279   30 Jun 2022 - 16:03:21 EDT     30 Jun 2022 - 16:06:09 EDT                168                166           1656619401
         281   30 Jun 2022 - 16:28:12 EDT     30 Jun 2022 - 16:32:50 EDT                278                278           1656620892
         282   30 Jun 2022 - 17:14:24 EDT     30 Jun 2022 - 17:16:53 EDT                149                148           1656623664
         283   30 Jun 2022 - 17:52:52 EDT     30 Jun 2022 - 17:54:37 EDT                105                105           1656625972
         284   30 Jun 2022 - 18:22:07 EDT     30 Jun 2022 - 18:23:53 EDT                106                106           1656627727
         287   30 Jun 2022 - 19:47:11 EDT     30 Jun 2022 - 19:56:10 EDT                539                539           1656632831
         288   30 Jun 2022 - 20:40:18 EDT     30 Jun 2022 - 20:44:09 EDT                231                230           1656636018
         289   30 Jun 2022 - 20:41:19 EDT     30 Jun 2022 - 20:43:55 EDT                156                153           1656636079
         290   30 Jun 2022 - 20:48:01 EDT     30 Jun 2022 - 20:50:31 EDT                150                148           1656636481
         293   30 Jun 2022 - 23:04:29 EDT     30 Jun 2022 - 23:10:58 EDT                389                387           1656644669
         294   30 Jun 2022 - 23:58:18 EDT     01 Jul 2022 - 00:01:41 EDT                203                202           1656647898
         295   01 Jul 2022 - 07:10:57 EDT     01 Jul 2022 - 07:20:02 EDT                545                545           1656673857
         296   01 Jul 2022 - 09:15:14 EDT     01 Jul 2022 - 09:20:02 EDT                288                286           1656681314
         297   01 Jul 2022 - 11:05:40 EDT     01 Jul 2022 - 11:14:51 EDT                551                549           1656687940
         298   01 Jul 2022 - 13:35:56 EDT     01 Jul 2022 - 13:37:19 EDT                 83                 82           1656696956
         299   01 Jul 2022 - 13:37:05 EDT     01 Jul 2022 - 13:44:47 EDT                462                459           1656697025
         300   01 Jul 2022 - 13:37:17 EDT     01 Jul 2022 - 13:41:21 EDT                244                243           1656697037
         301   01 Jul 2022 - 13:47:02 EDT     01 Jul 2022 - 13:50:37 EDT                215                215           1656697622
         302   01 Jul 2022 - 13:52:38 EDT     01 Jul 2022 - 13:55:50 EDT                192                191           1656697958
         303   01 Jul 2022 - 13:52:55 EDT     01 Jul 2022 - 13:57:06 EDT                251                250           1656697975
         304   01 Jul 2022 - 13:57:11 EDT     01 Jul 2022 - 13:59:34 EDT                143                142           1656698231


                                                                                                                                      N-50
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         266         1656615810                1                5                 0                         Term
         267         1656616249                1                5                 0                         Term
         268         1656616568                1                5                 0                         Term
         269         1656616583                1                5                 0                         Term
         270         1656617199                1                5                 0                         Term
         271         1656617252                1                5                 0                         Term
         272         1656617462                1                5                 0                         Term
         273         1656617610                1                5                 0                         Term
         274         1656619433                1                5                 0                         Term
         275         1656619104                1                5                 0                         Term
         277         1656619295                1                5                 0                         Term
         278         1656619510                1                5                 0                         Term
         279         1656619569                1                5                 0                         Term
         281         1656621170                1                5                 0                         Term
         282         1656623813                1                5                 0                         Term
         283         1656626077                1                5                 0                         Term
         284         1656627833                1                5                 0                         Term
         287         1656633370                1                5                 0                         Term
         288         1656636249                1                5                 0                         Term
         289         1656636235                1                5                 0                         Term
         290         1656636631                1                5                 0                         Term
         293         1656645058                1                5                 0                         Term
         294         1656648101                1                5                 0                         Term
         295         1656674402                1                5                 0                         Term
         296         1656681602                1                5                 0                         Term
         297         1656688491                1                5                 0                         Term
         298         1656697039                1                5                 0                         Term
         299         1656697487                1                5                 0                         Term
         300         1656697281                1                5                 0                         Term
         301         1656697837                1                5                 0                         Term
         302         1656698150                1                5                 0                         Term
         303         1656698226                1                5                 0                         Term
         304         1656698374                1                5                 0                         Term


                                                                                                                                 N-51
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         266                    1              1519   1784344379             3                  1             3
         267                    1              1263   1784354688             2                  1             2
         268                    1              1082   1784355538             1                  1             2
         269                    1              1519   1784364667             1                  1             3
         270                    1              1349   1784370996             2                  1             1
         271                    1              1349   1784364840             1                  1             2
         272                    1              1690   1784371962             1                  1             2
         273                    1              1561   1784379594             2                  1             2
         274                    1              1366   1784391288             2                  1             1
         275                    1              1192   1784396873             2                  1             2
         277                    1               432   1784401636             3                  1             3
         278                    1              1316   1784409549             1                  1             3
         279                    1              1519   1784409575             1                  1             3
         281                    1              1425   1784431411             1                  1             2
         282                    1               915   1784470970             1                  1             2
         283                    1              1423   1784500821             1                  2             3
         284                    1              1200   1784521747             1                  1             3
         287                    1               384   1784578390             3                  1             3
         288                    1              1263   1784612596             3                  1             2
         289                    1              1536   1784614750             1                  1             3
         290                    1              1349   1784617938             3                  1             2
         293                    1              1263   1784693596             1                  1             1
         294                    1               414   1784714162             1                  2             1
         295                    1              1519   1784918678             1                  1             3
         296                    1               798   1785005689             3                  1             3
         297                    1              1440   1785108481             3                  1             1
         298                    1              1440   1785252476             3                  2             2
         299                    1              1519   1785251077             2                  1             2
         300                    1              1127   1785250160             2                  1             2
         301                    1               432   1785248272             2                  1             2
         302                    1              1519   1785258478             3                  1             2
         303                    1              1903   1785264210             1                  2             2
         304                    1              1663   1785270406             1                  1             1


                                                                                                                  N-52
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         266                  1             2                  1             2                  1             3
         267                  1             3                  1             2                  1             3
         268                  1             1                  1             1                  1             3
         269                  1             2                  1             3                  1             3
         270                  1             1                  1             2                  2             3
         271                  1             2                  1             2                  1             3
         272                  2             2                  1             2                  2             3
         273                  1             1                  1             3                  1             3
         274                  1             2                  1             1                  2             1
         275                  1             1                  1             1                  2             1
         277                  1             1                  2             1                  2             2
         278                  1             1                  1             1                  1             3
         279                  1             1                  2             1                  1             1
         281                  1             3                  1             3                  1             2
         282                  2             3                  1             2                  1             1
         283                  2             2                  2             2                  1             2
         284                  1             2                  1             3                  1             3
         287                  2             3                  1             2                  1             1
         288                  1             1                  1             2                  1             2
         289                  1             2                  1             2                  1             2
         290                  1             1                  1             3                  1             2
         293                  1             2                  1             1                  1             1
         294                  2             3                  1             3                  2             1
         295                  1             1                  1             2                  1             3
         296                  1             3                  1             1                  1             3
         297                  1             1                  1             1                  2             1
         298                  1             2                  1             2                  1             2
         299                  1             2                  2             1                  2             3
         300                  1             3                  1             3                  1             2
         301                  1             2                  1             2                  1             3
         302                  1             1                  1             1                  1             1
         303                  2             3                  2             2                  2             1
         304                  2             1                  1             2                  1             1


                                                                                                                  N-53
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         266                  1             1                  1             1                  1             3
         267                  1             1                  1             2                  1             2
         268                  1             2                  1             2                  1             2
         269                  2             1                  1             1                  1             2
         270                  1             1                  1             2                  1             1
         271                  1             3                  1             2                  1             2
         272                  1             3                  1             1                  1             2
         273                  1             2                  1             1                  1             2
         274                  1             1                  1             1                  2             3
         275                  1             3                  2             3                  1             3
         277                  1             1                  2             3                  2             2
         278                  1             2                  1             2                  1             2
         279                  1             1                  1             1                  2             2
         281                  1             1                  1             3                  1             1
         282                  2             3                  1             2                  2             1
         283                  1             3                  1             3                  1             1
         284                  1             2                  1             3                  1             3
         287                  2             2                  1             3                  2             2
         288                  1             3                  1             2                  1             2
         289                  1             2                  1             2                  1             2
         290                  1             3                  1             3                  1             3
         293                  1             1                  1             2                  1             2
         294                  1             3                  1             3                  1             3
         295                  1             3                  1             3                  1             2
         296                  1             2                  1             2                  1             1
         297                  2             3                  1             1                  2             1
         298                  1             2                  1             1                  1             1
         299                  2             3                  2             3                  1             2
         300                  1             1                  1             1                  1             2
         301                  2             3                  1             3                  1             1
         302                  1             3                  1             1                  1             1
         303                  2             1                  2             3                  2             3
         304                  1             2                  1             3                  1             3


                                                                                                                  N-54
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 304 of 476 PageID #: 2942
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         266                  2             1                  2              2                   2              2
         267                  1             2                  1              3                   1              3
         268                  1             2                  1              1                   1              1
         269                  2             2                  1              1                   1              3
         270                  2             2                  1              2                   1              1
         271                  1             2                  1              2                   1              2
         272                  1             3                  1              1                   1              3
         273                  1             3                  1              2                   1              3
         274                  2             2                  2              1                   1              3
         275                  1             2                  1              2                   2              3
         277                  1             3                  2              1                   2              3
         278                  1             2                  1              2                   1              1
         279                  2             2                  2              1                   1              2
         281                  1             3                  1              2                   1              2
         282                  2             2                  1              2                   1              3
         283                  1             1                  1              1                   2              2
         284                  1             3                  1              3                   1              2
         287                  1             1                  1              2                   1              2
         288                  1             3                  1              2                   1              1
         289                  1             2                  1              3                   1              2
         290                  1             2                  1              1                   1              2
         293                  1             1                  1              3                   1              1
         294                  2             3                  1              2                   1              3
         295                  1             1                  1              1                   1              3
         296                  1             1                  1              3                   1              2
         297                  2             2                  2              2                   1              1
         298                  1             2                  1              1                   1              3
         299                  1             1                  1              2                   1              2
         300                  1             3                  1              1                   2              2
         301                  1             2                  2              2                   2              2
         302                  1             1                  1              2                   1              1
         303                  2             1                  2              2                   2              3
         304                  1             1                  1              3                   1              2


                                                                                                                     N-55
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 305 of 476 PageID #: 2943
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         266                   1              3                   1                  266   CBC1_1651757381_6
         267                   1              3                   1                  267   CBC1_1651757381_6
         268                   1              1                   1                  268   CBC1_1651757381_6
         269                   1              3                   1                  269   CBC1_1651757381_6
         270                   1              1                   2                  270   CBC1_1651757381_6
         271                   1              2                   1                  271   CBC1_1651757381_6
         272                   2              2                   2                  272   CBC1_1651757381_6
         273                   1              2                   1                  273   CBC1_1651757381_6
         274                   2              3                   1                  274   CBC1_1651757381_6
         275                   1              1                   2                  275   CBC1_1651757381_6
         277                   2              2                   2                  277   CBC1_1651757381_6
         278                   1              1                   1                  278   CBC1_1651757381_6
         279                   1              3                   1                  279   CBC1_1651757381_6
         281                   1              3                   1                  281   CBC1_1651757381_6
         282                   2              1                   2                  282   CBC1_1651757381_6
         283                   2              2                   2                  283   CBC1_1651757381_6
         284                   1              3                   1                  284   CBC1_1651757381_6
         287                   1              2                   1                  287   CBC1_1651757381_6
         288                   1              2                   1                  288   CBC1_1651757381_6
         289                   1              2                   1                  289   CBC1_1651757381_6
         290                   1              3                   1                  290   CBC1_1651757381_6
         293                   1              2                   1                  293   CBC1_1651757381_6
         294                   2              2                   1                  294   CBC1_1651757381_6
         295                   1              2                   1                  295   CBC1_1651757381_6
         296                   1              2                   1                  296   CBC1_1651757381_6
         297                   2              2                   1                  297   CBC1_1651757381_6
         298                   1              2                   1                  298   CBC1_1651757381_6
         299                   2              3                   1                  299   CBC1_1651757381_6
         300                   2              2                   1                  300   CBC1_1651757381_6
         301                   1              3                   1                    1   CBC1_1651757381_6
         302                   1              2                   1                    2   CBC1_1651757381_6
         303                   2              2                   2                    3   CBC1_1651757381_6
         304                   1              1                   1                    4   CBC1_1651757381_6


                                                                                                                   N-56
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 306 of 476 PageID #: 2944
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         305   01 Jul 2022 - 13:59:39 EDT     01 Jul 2022 - 14:05:53 EDT                374                372           1656698379
         306   01 Jul 2022 - 14:29:50 EDT     01 Jul 2022 - 14:31:52 EDT                122                121           1656700190
         307   01 Jul 2022 - 14:36:06 EDT     01 Jul 2022 - 14:39:30 EDT                204                200           1656700566
         308   01 Jul 2022 - 14:54:42 EDT     01 Jul 2022 - 15:15:28 EDT               1246               1245           1656701682
         311   01 Jul 2022 - 15:46:23 EDT     01 Jul 2022 - 15:51:05 EDT                282                279           1656704783
         312   01 Jul 2022 - 16:00:31 EDT     01 Jul 2022 - 16:04:06 EDT                215                213           1656705631
         313   01 Jul 2022 - 16:02:22 EDT     01 Jul 2022 - 16:04:08 EDT                106                103           1656705742
         314   01 Jul 2022 - 16:02:31 EDT     01 Jul 2022 - 16:06:20 EDT                229                229           1656705751
         315   01 Jul 2022 - 16:11:18 EDT     01 Jul 2022 - 16:17:45 EDT                387                387           1656706278
         316   01 Jul 2022 - 16:13:18 EDT     01 Jul 2022 - 16:19:23 EDT                365                393           1656706398
         317   01 Jul 2022 - 16:17:42 EDT     01 Jul 2022 - 16:24:50 EDT                428                427           1656706662
         318   01 Jul 2022 - 16:24:10 EDT     01 Jul 2022 - 16:40:25 EDT                975                974           1656707050
         319   01 Jul 2022 - 16:27:47 EDT     01 Jul 2022 - 16:31:49 EDT                242                241           1656707267
         320   01 Jul 2022 - 16:31:28 EDT     01 Jul 2022 - 16:33:32 EDT                124                122           1656707488
         321   01 Jul 2022 - 16:32:46 EDT     01 Jul 2022 - 16:54:46 EDT               1320               1318           1656707566
         322   01 Jul 2022 - 16:36:14 EDT     01 Jul 2022 - 16:44:40 EDT                506                505           1656707774
         323   01 Jul 2022 - 16:48:08 EDT     01 Jul 2022 - 16:52:43 EDT                275                274           1656708488
         324   01 Jul 2022 - 16:49:51 EDT     01 Jul 2022 - 16:51:30 EDT                 99                 99           1656708591
         325   01 Jul 2022 - 16:50:34 EDT     01 Jul 2022 - 16:53:15 EDT                161                161           1656708634
         326   01 Jul 2022 - 16:59:18 EDT     01 Jul 2022 - 17:04:09 EDT                291                291           1656709158
         327   01 Jul 2022 - 17:08:53 EDT     01 Jul 2022 - 17:20:54 EDT                721                719           1656709733
         328   01 Jul 2022 - 17:12:54 EDT     01 Jul 2022 - 17:19:48 EDT                414                411           1656709974
         329   01 Jul 2022 - 17:42:47 EDT     01 Jul 2022 - 17:49:36 EDT                409                408           1656711767
         331   01 Jul 2022 - 18:59:06 EDT     01 Jul 2022 - 19:02:48 EDT                222                222           1656716346
         332   01 Jul 2022 - 19:48:51 EDT     01 Jul 2022 - 19:51:32 EDT                161                159           1656719331
         333   01 Jul 2022 - 20:03:27 EDT     01 Jul 2022 - 20:11:09 EDT                462                460           1656720207
         334   01 Jul 2022 - 20:14:02 EDT     01 Jul 2022 - 20:20:10 EDT                368                365           1656720842
         335   01 Jul 2022 - 20:27:12 EDT     01 Jul 2022 - 20:31:44 EDT                272                309           1656721632
         336   01 Jul 2022 - 21:24:50 EDT     01 Jul 2022 - 21:27:23 EDT                153                152           1656725090
         337   01 Jul 2022 - 21:35:31 EDT     01 Jul 2022 - 21:38:31 EDT                180                179           1656725731
         338   01 Jul 2022 - 22:37:08 EDT     01 Jul 2022 - 22:40:21 EDT                193                193           1656729428
         339   01 Jul 2022 - 23:31:52 EDT     01 Jul 2022 - 23:37:56 EDT                364                363           1656732712
         340   01 Jul 2022 - 23:33:49 EDT     01 Jul 2022 - 23:41:33 EDT                464                463           1656732829


                                                                                                                                      N-57
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 307 of 476 PageID #: 2945
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         305         1656698753                1                5                 0                         Term
         306         1656700312                1                5                 0                         Term
         307         1656700770                1                5                 0                         Term
         308         1656702928                1                5                 0                         Term
         311         1656705065                1                5                 0                         Term
         312         1656705846                1                5                 0                         Term
         313         1656705848                1                5                 0                         Term
         314         1656705980                1                5                 0                         Term
         315         1656706665                1                5                 0                         Term
         316         1656706763                1                5                 0                         Term
         317         1656707090                1                5                 0                         Term
         318         1656708025                1                5                 0                         Term
         319         1656707509                1                5                 0                         Term
         320         1656707612                1                5                 0                         Term
         321         1656708886                1                5                 0                         Term
         322         1656708280                1                5                 0                         Term
         323         1656708763                1                5                 0                         Term
         324         1656708690                1                5                 0                         Term
         325         1656708795                1                5                 0                         Term
         326         1656709449                1                5                 0                         Term
         327         1656710454                1                5                 0                         Term
         328         1656710388                1                5                 0                         Term
         329         1656712176                1                5                 0                         Term
         331         1656716568                1                5                 0                         Term
         332         1656719492                1                5                 0                         Term
         333         1656720669                1                5                 0                         Term
         334         1656721210                1                5                 0                         Term
         335         1656721904                1                5                 0                         Term
         336         1656725243                1                5                 0                         Term
         337         1656725911                1                5                 0                         Term
         338         1656729621                1                5                 0                         Term
         339         1656733076                1                5                 0                         Term
         340         1656733293                1                5                 0                         Term


                                                                                                                                 N-58
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 308 of 476 PageID #: 2946
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         305                    1              1343   1785265364             3                  1             1
         306                    1              1440   1785299587             3                  2             1
         307                    1              1263   1785299682             3                  1             3
         308                    1               768   1785315228             3                  2             2
         311                    1               375   1785365969             2                  1             3
         312                    1              1263   1785376895             2                  1             2
         313                    1              1354   1785379809             3                  1             3
         314                    1               390   1785378965             2                  1             3
         315                    1              1903   1785380196             3                  1             3
         316                    1              1583   1785384425             2                  1             2
         317                    1               941   1785385241             2                  1             2
         318                    1              1394   1785392950             2                  1             1
         319                    1               832   1785398431             1                  2             2
         320                    1              1519   1785399788             1                  1             2
         321                    1               360   1785398343             3                  1             3
         322                    1              1440   1785406067             3                  1             2
         323                    1              1903   1785411365             2                  1             2
         324                    1              1269   1785415863             3                  2             2
         325                    1              1903   1785418369             2                  2             1
         326                    1               667   1785423379             1                  1             3
         327                    1               375   1785420004             2                  1             1
         328                    1               414   1785422380             1                  1             1
         329                    1              1349   1785426594             1                  1             2
         331                    1              1487   1785512144             2                  1             1
         332                    1              1349   1785543643             3                  1             3
         333                    1               782   1785551207             1                  1             1
         334                    1              1583   1785554730             3                  2             1
         335                    1               375   1785566319             2                  1             1
         336                    1               390   1785597376             2                  1             2
         337                    1              1349   1785601455             2                  1             3
         338                    1               390   1785635688             2                  1             1
         339                    1               320   1785659570             2                  2             3
         340                    1               360   1785652391             2                  1             1


                                                                                                                  N-59
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 309 of 476 PageID #: 2947
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         305                  1             3                  1             3                  1             2
         306                  1             1                  2             3                  1             3
         307                  1             2                  2             1                  1             1
         308                  2             1                  1             2                  1             1
         311                  1             2                  1             2                  1             3
         312                  1             2                  1             1                  1             3
         313                  1             3                  1             3                  1             2
         314                  1             1                  1             3                  1             2
         315                  1             1                  1             1                  1             1
         316                  1             1                  2             2                  2             2
         317                  1             2                  1             3                  2             3
         318                  1             3                  1             3                  1             1
         319                  1             2                  1             3                  2             3
         320                  1             1                  1             2                  1             3
         321                  2             3                  1             2                  1             1
         322                  1             3                  1             1                  2             1
         323                  1             3                  2             1                  2             3
         324                  1             1                  1             1                  1             1
         325                  1             3                  1             3                  1             1
         326                  1             1                  1             1                  1             3
         327                  1             2                  1             2                  1             1
         328                  1             3                  1             1                  1             2
         329                  1             2                  1             1                  1             3
         331                  1             3                  1             1                  1             1
         332                  2             3                  2             1                  1             1
         333                  1             2                  1             2                  1             1
         334                  1             2                  2             1                  1             3
         335                  1             1                  2             2                  1             2
         336                  1             1                  1             1                  1             3
         337                  1             2                  1             2                  1             1
         338                  1             2                  1             1                  1             3
         339                  1             3                  1             2                  1             3
         340                  1             1                  2             1                  2             3


                                                                                                                  N-60
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 310 of 476 PageID #: 2948
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         305                  1             2                  1             3                  1             1
         306                  1             2                  1             2                  2             3
         307                  1             1                  1             1                  1             3
         308                  1             3                  2             2                  2             3
         311                  1             1                  1             3                  1             1
         312                  2             3                  2             3                  2             2
         313                  1             2                  1             3                  1             2
         314                  1             3                  1             3                  1             3
         315                  1             2                  2             2                  1             2
         316                  2             1                  1             1                  1             2
         317                  1             3                  2             3                  2             3
         318                  2             2                  1             1                  2             3
         319                  2             1                  2             2                  2             1
         320                  1             2                  1             3                  1             3
         321                  2             2                  1             3                  1             2
         322                  1             3                  1             1                  1             1
         323                  2             3                  1             1                  2             2
         324                  1             3                  2             2                  2             3
         325                  1             1                  1             2                  2             2
         326                  1             1                  1             1                  1             2
         327                  1             3                  1             2                  1             1
         328                  1             3                  1             2                  2             3
         329                  1             3                  1             1                  1             1
         331                  1             1                  1             2                  1             2
         332                  1             2                  1             2                  1             2
         333                  1             3                  1             3                  1             3
         334                  2             2                  1             2                  1             2
         335                  1             3                  2             1                  1             3
         336                  1             3                  2             2                  1             1
         337                  1             3                  1             2                  2             2
         338                  1             3                  1             1                  1             2
         339                  1             1                  2             3                  1             3
         340                  1             3                  1             3                  2             1


                                                                                                                  N-61
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 311 of 476 PageID #: 2949
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         305                  1             3                  1              2                   1              3
         306                  2             3                  1              2                   2              1
         307                  1             2                  1              1                   1              1
         308                  1             1                  2              2                   2              2
         311                  1             1                  1              1                   1              2
         312                  1             3                  1              1                   1              3
         313                  1             2                  1              1                   1              2
         314                  1             2                  1              2                   1              2
         315                  1             3                  1              2                   1              1
         316                  2             2                  2              1                   1              3
         317                  1             1                  1              1                   2              2
         318                  2             3                  1              2                   1              2
         319                  1             2                  2              3                   1              1
         320                  1             3                  1              3                   1              3
         321                  1             3                  1              1                   1              1
         322                  1             1                  1              2                   1              1
         323                  1             1                  2              1                   2              2
         324                  1             1                  1              2                   2              1
         325                  1             2                  1              3                   1              2
         326                  1             3                  1              2                   1              2
         327                  1             1                  1              1                   1              1
         328                  1             1                  1              3                   2              1
         329                  1             1                  1              3                   1              1
         331                  1             3                  1              3                   1              3
         332                  1             2                  2              3                   1              3
         333                  1             1                  1              3                   1              3
         334                  1             1                  1              1                   1              3
         335                  2             1                  1              1                   1              1
         336                  1             3                  1              3                   1              1
         337                  1             3                  1              3                   1              3
         338                  1             3                  1              2                   2              2
         339                  2             3                  1              3                   2              1
         340                  1             1                  1              3                   2              1


                                                                                                                     N-62
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 312 of 476 PageID #: 2950
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         305                   1              2                   1                    5   CBC1_1651757381_6
         306                   1              3                   1                    6   CBC1_1651757381_6
         307                   1              1                   1                    7   CBC1_1651757381_6
         308                   2              3                   2                    8   CBC1_1651757381_6
         311                   1              3                   1                   11   CBC1_1651757381_6
         312                   1              3                   1                   12   CBC1_1651757381_6
         313                   1              2                   1                   13   CBC1_1651757381_6
         314                   1              2                   1                   14   CBC1_1651757381_6
         315                   1              3                   2                   15   CBC1_1651757381_6
         316                   1              2                   1                   16   CBC1_1651757381_6
         317                   2              1                   1                   17   CBC1_1651757381_6
         318                   2              1                   2                   18   CBC1_1651757381_6
         319                   1              3                   2                   19   CBC1_1651757381_6
         320                   1              1                   1                   20   CBC1_1651757381_6
         321                   1              3                   1                   21   CBC1_1651757381_6
         322                   2              2                   1                   22   CBC1_1651757381_6
         323                   2              3                   2                   23   CBC1_1651757381_6
         324                   1              3                   1                   24   CBC1_1651757381_6
         325                   1              2                   1                   25   CBC1_1651757381_6
         326                   1              3                   1                   26   CBC1_1651757381_6
         327                   1              2                   1                   27   CBC1_1651757381_6
         328                   1              1                   1                   28   CBC1_1651757381_6
         329                   1              1                   1                   29   CBC1_1651757381_6
         331                   1              2                   1                   31   CBC1_1651757381_6
         332                   1              2                   1                   32   CBC1_1651757381_6
         333                   1              1                   1                   33   CBC1_1651757381_6
         334                   2              2                   1                   34   CBC1_1651757381_6
         335                   1              1                   1                   35   CBC1_1651757381_6
         336                   1              2                   1                   36   CBC1_1651757381_6
         337                   1              1                   1                   37   CBC1_1651757381_6
         338                   1              2                   1                   38   CBC1_1651757381_6
         339                   1              1                   1                   39   CBC1_1651757381_6
         340                   1              2                   1                   40   CBC1_1651757381_6


                                                                                                                   N-63
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 313 of 476 PageID #: 2951
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         342   02 Jul 2022 - 01:05:49 EDT     02 Jul 2022 - 01:09:09 EDT                200                197           1656738349
         343   02 Jul 2022 - 02:07:49 EDT     02 Jul 2022 - 02:09:24 EDT                 95                 92           1656742069
         345   02 Jul 2022 - 05:09:40 EDT     02 Jul 2022 - 05:11:56 EDT                136                136           1656752980
         346   04 Jul 2022 - 11:26:19 EDT     04 Jul 2022 - 11:27:47 EDT                 88                 87           1656948379
         347   04 Jul 2022 - 11:31:25 EDT     04 Jul 2022 - 11:33:36 EDT                131                130           1656948685
         348   04 Jul 2022 - 11:35:02 EDT     04 Jul 2022 - 11:36:30 EDT                 88                 87           1656948902
         349   04 Jul 2022 - 11:46:05 EDT     04 Jul 2022 - 11:50:43 EDT                278                274           1656949565
         350   04 Jul 2022 - 12:04:48 EDT     04 Jul 2022 - 12:07:01 EDT                133                133           1656950688
         351   04 Jul 2022 - 12:09:01 EDT     04 Jul 2022 - 12:11:30 EDT                149                146           1656950941
         352   04 Jul 2022 - 12:37:19 EDT     04 Jul 2022 - 12:38:47 EDT                 88                 86           1656952639
         354   04 Jul 2022 - 13:24:18 EDT     04 Jul 2022 - 14:08:27 EDT               2649               2649           1656955458
         355   04 Jul 2022 - 14:06:32 EDT     04 Jul 2022 - 14:08:32 EDT                120                118           1656957992
         357   04 Jul 2022 - 14:36:14 EDT     04 Jul 2022 - 14:39:34 EDT                200                200           1656959774
         358   05 Jul 2022 - 10:58:10 EDT     05 Jul 2022 - 10:59:48 EDT                 98                 95           1657033090
         359   05 Jul 2022 - 11:01:27 EDT     05 Jul 2022 - 11:15:00 EDT                813                813           1657033287
         360   05 Jul 2022 - 11:24:51 EDT     05 Jul 2022 - 11:29:22 EDT                271                271           1657034691
         361   05 Jul 2022 - 11:29:09 EDT     05 Jul 2022 - 11:33:00 EDT                231                230           1657034949
         362   05 Jul 2022 - 11:29:27 EDT     05 Jul 2022 - 11:37:09 EDT                462                461           1657034967
         363   05 Jul 2022 - 11:35:03 EDT     05 Jul 2022 - 11:38:03 EDT                180                179           1657035303
         364   05 Jul 2022 - 11:57:59 EDT     05 Jul 2022 - 12:06:40 EDT                521                520           1657036679
         365   05 Jul 2022 - 11:58:30 EDT     05 Jul 2022 - 12:00:24 EDT                114                113           1657036710
         366   05 Jul 2022 - 11:59:45 EDT     05 Jul 2022 - 12:03:26 EDT                221                221           1657036785
         367   05 Jul 2022 - 11:59:51 EDT     05 Jul 2022 - 12:03:05 EDT                194                192           1657036791
         368   05 Jul 2022 - 12:00:09 EDT     05 Jul 2022 - 12:02:17 EDT                128                128           1657036809
         369   05 Jul 2022 - 12:03:23 EDT     05 Jul 2022 - 12:04:41 EDT                 78                 77           1657037003
         370   05 Jul 2022 - 12:03:38 EDT     05 Jul 2022 - 12:05:50 EDT                132                131           1657037018
         371   05 Jul 2022 - 12:06:46 EDT     05 Jul 2022 - 12:09:26 EDT                160                158           1657037206
         372   05 Jul 2022 - 12:09:51 EDT     05 Jul 2022 - 12:15:09 EDT                318                316           1657037391
         373   05 Jul 2022 - 12:28:51 EDT     05 Jul 2022 - 12:32:30 EDT                219                219           1657038531
         374   05 Jul 2022 - 12:41:11 EDT     05 Jul 2022 - 12:56:44 EDT                933                933           1657039271
         375   05 Jul 2022 - 12:47:45 EDT     05 Jul 2022 - 12:51:37 EDT                232                228           1657039665
         376   05 Jul 2022 - 12:58:34 EDT     05 Jul 2022 - 13:02:35 EDT                241                241           1657040314
         377   05 Jul 2022 - 13:26:32 EDT     05 Jul 2022 - 13:32:31 EDT                359                358           1657041992


                                                                                                                                      N-64
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 314 of 476 PageID #: 2952
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         342         1656738549                1                5                 0                         Term
         343         1656742164                1                5                 0                         Term
         345         1656753116                1                5                 0                         Term
         346         1656948467                1                5                 0                         Term
         347         1656948816                1                5                 0                         Term
         348         1656948990                1                5                 0                         Term
         349         1656949843                1                5                 0                         Term
         350         1656950821                1                5                 0                         Term
         351         1656951090                1                5                 0                         Term
         352         1656952727                1                5                 0                         Term
         354         1656958107                1                5                 0                         Term
         355         1656958112                1                5                 0                         Term
         357         1656959974                1                5                 0                         Term
         358         1657033188                1                5                 0                         Term
         359         1657034100                1                5                 0                         Term
         360         1657034962                1                5                 0                         Term
         361         1657035180                1                5                 0                         Term
         362         1657035429                1                5                 0                         Term
         363         1657035483                1                5                 0                         Term
         364         1657037200                1                5                 0                         Term
         365         1657036824                1                5                 0                         Term
         366         1657037006                1                5                 0                         Term
         367         1657036985                1                5                 0                         Term
         368         1657036937                1                5                 0                         Term
         369         1657037081                1                5                 0                         Term
         370         1657037150                1                5                 0                         Term
         371         1657037366                1                5                 0                         Term
         372         1657037709                1                5                 0                         Term
         373         1657038750                1                5                 0                         Term
         374         1657040204                1                5                 0                         Term
         375         1657039897                1                5                 0                         Term
         376         1657040555                1                5                 0                         Term
         377         1657042351                1                5                 0                         Term


                                                                                                                                 N-65
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 315 of 476 PageID #: 2953
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         342                    1              1583   1785695925             2                  1             2
         343                    1              1519   1785716353             3                  1             3
         345                    1               375   1785781094             2                  1             3
         346                    1               414   1787295286             3                  2             3
         347                    1              1440   1787300023             1                  1             1
         348                    1               412   1787300955             1                  1             1
         349                    1               390   1787301986             3                  1             1
         350                    1              1519   1787315449             1                  1             1
         351                    1               412   1787330031             3                  1             2
         352                    1              1519   1787348455             1                  1             1
         354                    1               414   1787385297             3                  1             3
         355                    1              1077   1787415709             2                  1             3
         357                    1               360   1787426668             3                  2             1
         358                    1              1903   1788032862             2                  1             1
         359                    1              1903   1788033014             3                  1             2
         360                    1              1263   1788061140             3                  1             1
         361                    1               360   1788062199             3                  1             3
         362                    1               360   1788059460             3                  1             3
         363                    1              1349   1788063164             2                  1             3
         364                    1              1365   1788093273             3                  2             2
         365                    1              1263   1788095121             2                  1             2
         366                    1              1473   1788091627             2                  1             3
         367                    1              1263   1788061382             3                  2             3
         368                    1              1022   1788093342             1                  1             1
         369                    1              1080   1788100135             2                  1             1
         370                    1               414   1788099416             2                  1             1
         371                    1              1349   1788099530             2                  1             1
         372                    1               378   1788099191             3                  1             3
         373                    1              1519   1788122218             3                  1             2
         374                    1              1349   1788131031             2                  1             1
         375                    1              1583   1788123449             2                  1             1
         376                    1               384   1788153050             1                  2             1
         377                    1              1263   1788173038             3                  1             1


                                                                                                                  N-66
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 316 of 476 PageID #: 2954
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         342                  1             3                  1             3                  1             3
         343                  1             3                  1             3                  1             1
         345                  1             2                  1             2                  1             2
         346                  1             3                  2             3                  1             3
         347                  1             3                  1             1                  1             3
         348                  2             2                  1             1                  1             3
         349                  1             1                  1             1                  2             3
         350                  1             2                  1             3                  1             1
         351                  1             3                  1             1                  2             2
         352                  1             1                  1             3                  1             2
         354                  1             1                  1             3                  2             1
         355                  2             3                  1             1                  1             3
         357                  2             1                  2             2                  2             3
         358                  1             2                  1             2                  1             1
         359                  2             2                  1             1                  1             1
         360                  1             2                  2             1                  1             1
         361                  2             1                  1             1                  2             2
         362                  2             2                  1             1                  1             2
         363                  1             2                  1             3                  1             1
         364                  2             3                  1             1                  1             1
         365                  2             1                  2             3                  2             1
         366                  1             3                  1             2                  1             1
         367                  1             3                  2             2                  1             2
         368                  1             3                  1             1                  1             2
         369                  1             3                  1             3                  1             2
         370                  1             3                  2             1                  1             2
         371                  2             1                  1             2                  1             1
         372                  1             2                  1             1                  1             1
         373                  1             1                  1             2                  1             1
         374                  1             3                  1             1                  1             2
         375                  1             2                  1             2                  1             2
         376                  1             3                  1             3                  1             3
         377                  1             2                  2             2                  1             2


                                                                                                                  N-67
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 317 of 476 PageID #: 2955
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         342                  2             2                  1             3                  1             1
         343                  1             2                  1             3                  1             3
         345                  1             3                  1             1                  1             1
         346                  1             3                  1             3                  2             3
         347                  1             3                  1             2                  1             2
         348                  1             2                  1             2                  1             1
         349                  1             1                  2             1                  2             1
         350                  1             1                  1             1                  1             1
         351                  1             3                  1             2                  1             3
         352                  1             3                  1             3                  1             2
         354                  1             3                  1             3                  2             3
         355                  1             1                  2             3                  1             2
         357                  2             1                  2             3                  2             3
         358                  1             3                  1             3                  1             2
         359                  1             3                  1             2                  1             2
         360                  1             1                  1             2                  1             2
         361                  2             1                  2             1                  1             1
         362                  1             1                  1             1                  1             2
         363                  1             1                  1             1                  1             1
         364                  2             1                  1             2                  2             2
         365                  2             3                  2             3                  2             2
         366                  1             2                  1             1                  1             1
         367                  1             1                  2             2                  1             3
         368                  1             2                  1             3                  1             1
         369                  1             1                  1             1                  1             2
         370                  2             1                  1             3                  2             2
         371                  2             2                  2             3                  1             2
         372                  1             2                  1             1                  1             3
         373                  1             2                  2             3                  1             1
         374                  1             3                  1             1                  1             3
         375                  1             2                  1             1                  1             3
         376                  1             2                  1             2                  1             3
         377                  2             2                  1             3                  1             3


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 318 of 476 PageID #: 2956
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         342                  1             1                  2              1                   1              1
         343                  1             3                  1              1                   1              1
         345                  1             3                  1              2                   1              2
         346                  2             3                  2              2                   1              3
         347                  1             1                  1              3                   1              2
         348                  1             3                  2              1                   1              3
         349                  1             3                  2              3                   1              1
         350                  1             2                  1              3                   1              1
         351                  1             1                  2              1                   2              1
         352                  1             1                  1              3                   1              1
         354                  2             3                  2              2                   1              2
         355                  1             1                  1              3                   1              2
         357                  2             3                  2              2                   2              3
         358                  1             3                  1              1                   1              3
         359                  2             3                  1              1                   2              2
         360                  1             2                  1              1                   1              3
         361                  2             1                  2              1                   2              2
         362                  1             3                  1              1                   1              3
         363                  1             1                  1              1                   1              1
         364                  2             2                  2              1                   2              1
         365                  2             1                  2              3                   2              1
         366                  1             1                  1              1                   1              3
         367                  1             1                  1              2                   2              2
         368                  1             2                  1              2                   1              2
         369                  1             2                  1              2                   1              1
         370                  1             2                  2              2                   2              3
         371                  2             1                  1              2                   2              2
         372                  1             3                  1              1                   1              3
         373                  1             1                  2              2                   1              3
         374                  1             3                  1              1                   1              2
         375                  1             1                  1              2                   1              1
         376                  1             2                  1              3                   1              3
         377                  2             2                  1              3                   1              2


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 319 of 476 PageID #: 2957
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         342                   1              3                   1                   42   CBC1_1651757381_6
         343                   1              1                   1                   43   CBC1_1651757381_6
         345                   1              3                   1                   45   CBC1_1651757381_6
         346                   1              2                   2                   46   CBC1_1651757381_6
         347                   1              3                   1                   47   CBC1_1651757381_6
         348                   2              3                   2                   48   CBC1_1651757381_6
         349                   2              3                   2                   49   CBC1_1651757381_6
         350                   1              2                   1                   50   CBC1_1651757381_6
         351                   1              2                   2                   51   CBC1_1651757381_6
         352                   1              1                   1                   52   CBC1_1651757381_6
         354                   1              2                   1                   54   CBC1_1651757381_6
         355                   1              3                   1                   55   CBC1_1651757381_6
         357                   2              3                   2                   57   CBC1_1651757381_6
         358                   1              1                   1                   58   CBC1_1651757381_6
         359                   1              2                   1                   59   CBC1_1651757381_6
         360                   1              2                   1                   60   CBC1_1651757381_6
         361                   2              2                   2                   61   CBC1_1651757381_6
         362                   1              3                   2                   62   CBC1_1651757381_6
         363                   1              3                   1                   63   CBC1_1651757381_6
         364                   2              3                   2                   64   CBC1_1651757381_6
         365                   2              1                   2                   65   CBC1_1651757381_6
         366                   1              2                   1                   66   CBC1_1651757381_6
         367                   1              1                   1                   67   CBC1_1651757381_6
         368                   1              1                   1                   68   CBC1_1651757381_6
         369                   1              1                   2                   69   CBC1_1651757381_6
         370                   2              1                   1                   70   CBC1_1651757381_6
         371                   2              1                   1                   71   CBC1_1651757381_6
         372                   1              2                   1                   72   CBC1_1651757381_6
         373                   2              2                   2                   73   CBC1_1651757381_6
         374                   1              1                   1                   74   CBC1_1651757381_6
         375                   1              2                   1                   75   CBC1_1651757381_6
         376                   1              2                   1                   76   CBC1_1651757381_6
         377                   2              1                   1                   77   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 320 of 476 PageID #: 2958
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         378   05 Jul 2022 - 13:36:05 EDT     05 Jul 2022 - 13:41:30 EDT                325                325           1657042565
         379   05 Jul 2022 - 13:58:55 EDT     05 Jul 2022 - 14:02:24 EDT                209                207           1657043935
         380   05 Jul 2022 - 14:02:17 EDT     05 Jul 2022 - 14:06:43 EDT                266                265           1657044137
         381   06 Jul 2022 - 10:15:13 EDT     06 Jul 2022 - 10:18:06 EDT                173                173           1657116913
         382   06 Jul 2022 - 11:06:13 EDT     06 Jul 2022 - 11:08:36 EDT                143                143           1657119973
         383   06 Jul 2022 - 11:10:09 EDT     06 Jul 2022 - 11:13:29 EDT                200                199           1657120209
         384   06 Jul 2022 - 11:12:14 EDT     06 Jul 2022 - 11:15:43 EDT                209                205           1657120334
         385   06 Jul 2022 - 11:15:25 EDT     06 Jul 2022 - 11:17:57 EDT                152                152           1657120525
         386   06 Jul 2022 - 11:39:42 EDT     06 Jul 2022 - 11:46:29 EDT                407                471           1657121982
         388   06 Jul 2022 - 11:42:38 EDT     06 Jul 2022 - 11:46:28 EDT                230                229           1657122158
         389   06 Jul 2022 - 11:43:05 EDT     06 Jul 2022 - 11:49:17 EDT                372                371           1657122185
         390   06 Jul 2022 - 11:51:55 EDT     06 Jul 2022 - 12:06:38 EDT                883                920           1657122715
         391   06 Jul 2022 - 12:13:33 EDT     06 Jul 2022 - 12:17:05 EDT                212                210           1657124013
         392   06 Jul 2022 - 12:18:13 EDT     06 Jul 2022 - 12:22:09 EDT                236                236           1657124293
         394   06 Jul 2022 - 12:19:28 EDT     06 Jul 2022 - 12:32:40 EDT                792                791           1657124368
         395   06 Jul 2022 - 12:24:14 EDT     06 Jul 2022 - 12:28:20 EDT                246                246           1657124654
         397   06 Jul 2022 - 12:42:59 EDT     06 Jul 2022 - 12:46:15 EDT                196                196           1657125779
         399   06 Jul 2022 - 12:55:30 EDT     06 Jul 2022 - 13:04:12 EDT                522                521           1657126530
         400   06 Jul 2022 - 13:05:37 EDT     06 Jul 2022 - 13:07:26 EDT                109                107           1657127137
         402   06 Jul 2022 - 13:27:47 EDT     06 Jul 2022 - 13:29:38 EDT                111                107           1657128467
         403   06 Jul 2022 - 13:41:16 EDT     06 Jul 2022 - 13:50:43 EDT                567                567           1657129276
         404   06 Jul 2022 - 13:47:38 EDT     06 Jul 2022 - 13:51:25 EDT                227                227           1657129658
         405   06 Jul 2022 - 13:48:58 EDT     06 Jul 2022 - 13:52:11 EDT                193                192           1657129738
         406   06 Jul 2022 - 13:49:13 EDT     06 Jul 2022 - 13:52:04 EDT                171                170           1657129753
         407   06 Jul 2022 - 13:56:50 EDT     06 Jul 2022 - 14:08:03 EDT                673                672           1657130210
         409   06 Jul 2022 - 14:09:39 EDT     06 Jul 2022 - 14:12:16 EDT                157                155           1657130979
         410   06 Jul 2022 - 14:11:46 EDT     06 Jul 2022 - 14:14:11 EDT                145                144           1657131106
         411   06 Jul 2022 - 14:13:33 EDT     06 Jul 2022 - 14:18:59 EDT                326                324           1657131213
         412   06 Jul 2022 - 14:16:02 EDT     06 Jul 2022 - 14:18:00 EDT                118                116           1657131362
         413   06 Jul 2022 - 14:35:09 EDT     06 Jul 2022 - 14:37:31 EDT                142                141           1657132509
         414   06 Jul 2022 - 14:38:09 EDT     06 Jul 2022 - 14:40:11 EDT                122                122           1657132689
         415   06 Jul 2022 - 14:41:12 EDT     06 Jul 2022 - 14:44:52 EDT                220                217           1657132872
         416   06 Jul 2022 - 14:53:50 EDT     06 Jul 2022 - 14:57:33 EDT                223                222           1657133630


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 321 of 476 PageID #: 2959
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         378         1657042890                1                5                 0                         Term
         379         1657044144                1                5                 0                         Term
         380         1657044403                1                5                 0                         Term
         381         1657117086                1                5                 0                         Term
         382         1657120116                1                5                 0                         Term
         383         1657120409                1                5                 0                         Term
         384         1657120543                1                5                 0                         Term
         385         1657120677                1                5                 0                         Term
         386         1657122389                1                5                 0                         Term
         388         1657122388                1                5                 0                         Term
         389         1657122557                1                5                 0                         Term
         390         1657123598                1                5                 0                         Term
         391         1657124225                1                5                 0                         Term
         392         1657124529                1                5                 0                         Term
         394         1657125160                1                5                 0                         Term
         395         1657124900                1                5                 0                         Term
         397         1657125975                1                5                 0                         Term
         399         1657127052                1                5                 0                         Term
         400         1657127246                1                5                 0                         Term
         402         1657128578                1                5                 0                         Term
         403         1657129843                1                5                 0                         Term
         404         1657129885                1                5                 0                         Term
         405         1657129931                1                5                 0                         Term
         406         1657129924                1                5                 0                         Term
         407         1657130883                1                5                 0                         Term
         409         1657131136                1                5                 0                         Term
         410         1657131251                1                5                 0                         Term
         411         1657131539                1                5                 0                         Term
         412         1657131480                1                5                 0                         Term
         413         1657132651                1                5                 0                         Term
         414         1657132811                1                5                 0                         Term
         415         1657133092                1                5                 0                         Term
         416         1657133853                1                5                 0                         Term


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 322 of 476 PageID #: 2960
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         378                    1               414   1788192782             1                  1             3
         379                    1               414   1788219399             1                  1             1
         380                    1              2560   1788221599             3                  1             1
         381                    1              1519   1788945710             1                  1             1
         382                    1               390   1789000944             3                  1             2
         383                    1               360   1789004437             1                  1             1
         384                    1               375   1789008335             2                  1             2
         385                    1               384   1789010111             2                  1             3
         386                    1               390   1789029910             1                  1             2
         388                    1              1279   1789038733             3                  1             3
         389                    1               872   1789031050             2                  1             2
         390                    1               622   1789037238             3                  1             1
         391                    1               800   1789071074             3                  1             3
         392                    1              1440   1789076782             2                  1             3
         394                    1              1440   1789044633             3                  2             3
         395                    1              1440   1789075731             3                  1             3
         397                    1              1385   1789102677             1                  1             2
         399                    1               360   1789107941             3                  1             2
         400                    1              1082   1789124710             3                  1             3
         402                    1              1080   1789142981             3                  1             3
         403                    1               414   1789149328             3                  1             3
         404                    1              1583   1789163799             1                  1             1
         405                    1               360   1789164526             1                  1             3
         406                    1              1583   1789164847             3                  1             2
         407                    1              1263   1789172217             1                  1             1
         409                    1              1519   1789185620             2                  1             3
         410                    1               412   1789187157             3                  1             3
         411                    1              1440   1789189910             1                  1             1
         412                    1              1583   1789190919             1                  1             1
         413                    1               412   1789207930             3                  1             1
         414                    1              1440   1789212032             3                  1             2
         415                    1              1263   1789213095             3                  2             1
         416                    1               750   1789222374             1                  1             3


                                                                                                                  N-73
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         378                  1             3                  1             1                  1             1
         379                  2             1                  1             3                  2             1
         380                  2             3                  2             2                  2             3
         381                  1             1                  1             2                  1             2
         382                  1             3                  1             2                  1             3
         383                  1             1                  1             3                  1             2
         384                  1             2                  1             1                  1             2
         385                  1             3                  1             2                  1             2
         386                  1             2                  1             1                  1             1
         388                  1             2                  1             2                  1             2
         389                  1             3                  1             3                  2             2
         390                  1             1                  1             1                  2             3
         391                  1             2                  1             1                  1             2
         392                  1             1                  1             1                  1             3
         394                  2             2                  2             2                  1             3
         395                  1             2                  1             2                  1             3
         397                  1             2                  1             1                  1             3
         399                  1             2                  1             2                  1             1
         400                  1             1                  1             3                  1             1
         402                  1             3                  2             3                  2             3
         403                  1             1                  1             1                  2             3
         404                  2             3                  1             1                  1             2
         405                  1             2                  1             2                  1             3
         406                  1             2                  1             2                  1             1
         407                  1             1                  1             1                  1             2
         409                  1             3                  1             1                  1             2
         410                  1             1                  1             3                  1             1
         411                  1             3                  1             3                  1             2
         412                  2             3                  2             1                  2             3
         413                  1             2                  1             3                  2             3
         414                  1             2                  1             2                  1             2
         415                  1             3                  1             2                  1             1
         416                  1             3                  1             1                  1             1


                                                                                                                  N-74
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 324 of 476 PageID #: 2962
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         378                  1             2                  1             2                  1             3
         379                  1             3                  1             3                  1             1
         380                  1             2                  2             2                  2             3
         381                  1             2                  1             2                  1             3
         382                  1             3                  1             3                  1             3
         383                  1             3                  1             3                  1             1
         384                  1             3                  1             2                  1             1
         385                  1             1                  1             2                  1             3
         386                  1             2                  1             1                  1             2
         388                  1             1                  1             1                  2             3
         389                  1             2                  2             3                  1             2
         390                  2             1                  2             3                  1             3
         391                  1             3                  1             2                  1             1
         392                  1             3                  1             2                  1             3
         394                  1             3                  1             3                  1             3
         395                  1             2                  1             2                  1             3
         397                  1             1                  1             2                  1             1
         399                  1             2                  1             3                  1             2
         400                  1             1                  1             3                  1             2
         402                  2             3                  2             2                  1             2
         403                  2             2                  2             2                  1             2
         404                  2             2                  2             3                  1             2
         405                  1             3                  1             2                  1             1
         406                  1             3                  1             3                  1             2
         407                  1             3                  1             2                  1             2
         409                  1             3                  1             3                  1             1
         410                  1             3                  1             3                  1             2
         411                  2             2                  2             2                  2             2
         412                  1             2                  1             1                  2             3
         413                  2             3                  2             3                  2             3
         414                  1             3                  1             2                  1             2
         415                  1             3                  2             3                  1             3
         416                  1             3                  1             3                  1             3


                                                                                                                  N-75
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 325 of 476 PageID #: 2963
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         378                  1             3                  1              1                   1              1
         379                  1             1                  2              3                   1              1
         380                  2             2                  1              1                   2              2
         381                  2             1                  2              2                   1              1
         382                  1             1                  1              2                   1              2
         383                  1             3                  1              2                   1              3
         384                  1             2                  1              1                   1              3
         385                  1             3                  1              1                   1              1
         386                  1             2                  1              3                   1              3
         388                  1             2                  1              3                   1              2
         389                  1             2                  1              3                   1              1
         390                  2             2                  2              2                   2              2
         391                  1             3                  1              1                   1              1
         392                  2             2                  2              3                   1              3
         394                  2             3                  2              3                   1              3
         395                  1             1                  1              3                   1              2
         397                  1             3                  1              3                   1              2
         399                  1             2                  1              1                   1              1
         400                  1             2                  1              2                   1              2
         402                  1             3                  1              3                   1              3
         403                  1             1                  1              3                   1              3
         404                  1             2                  2              1                   1              2
         405                  1             2                  1              1                   1              1
         406                  1             2                  1              2                   1              1
         407                  1             3                  1              1                   1              1
         409                  1             3                  1              1                   1              2
         410                  1             3                  1              3                   1              1
         411                  1             1                  2              3                   2              3
         412                  2             1                  1              3                   1              2
         413                  1             3                  1              2                   1              1
         414                  1             3                  1              3                   1              1
         415                  2             2                  2              2                   1              1
         416                  1             2                  1              2                   1              1


                                                                                                                     N-76
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 326 of 476 PageID #: 2964
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         378                   1              1                   1                   78   CBC1_1651757381_6
         379                   1              2                   1                   79   CBC1_1651757381_6
         380                   1              3                   1                   80   CBC1_1651757381_6
         381                   1              3                   1                   81   CBC1_1651757381_6
         382                   1              3                   1                   82   CBC1_1651757381_6
         383                   1              3                   1                   83   CBC1_1651757381_6
         384                   1              3                   1                   84   CBC1_1651757381_6
         385                   1              3                   1                   85   CBC1_1651757381_6
         386                   1              3                   1                   86   CBC1_1651757381_6
         388                   2              2                   1                   88   CBC1_1651757381_6
         389                   1              2                   1                   89   CBC1_1651757381_6
         390                   2              1                   2                   90   CBC1_1651757381_6
         391                   1              3                   1                   91   CBC1_1651757381_6
         392                   2              2                   1                   92   CBC1_1651757381_6
         394                   1              1                   2                   94   CBC1_1651757381_6
         395                   1              2                   1                   95   CBC1_1651757381_6
         397                   1              3                   1                   97   CBC1_1651757381_6
         399                   1              2                   1                   99   CBC1_1651757381_6
         400                   1              3                   1                  100   CBC1_1651757381_6
         402                   1              3                   2                  102   CBC1_1651757381_6
         403                   2              3                   2                  103   CBC1_1651757381_6
         404                   1              1                   2                  104   CBC1_1651757381_6
         405                   1              1                   1                  105   CBC1_1651757381_6
         406                   1              2                   1                  106   CBC1_1651757381_6
         407                   1              3                   1                  107   CBC1_1651757381_6
         409                   1              3                   1                  109   CBC1_1651757381_6
         410                   1              2                   1                  110   CBC1_1651757381_6
         411                   2              3                   2                  111   CBC1_1651757381_6
         412                   1              3                   2                  112   CBC1_1651757381_6
         413                   1              1                   2                  113   CBC1_1651757381_6
         414                   1              3                   1                  114   CBC1_1651757381_6
         415                   1              2                   2                  115   CBC1_1651757381_6
         416                   1              2                   2                  116   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 327 of 476 PageID #: 2965
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         417   06 Jul 2022 - 14:55:26 EDT     06 Jul 2022 - 14:58:38 EDT                192                191           1657133726
         418   06 Jul 2022 - 15:01:57 EDT     06 Jul 2022 - 15:25:06 EDT               1389               1418           1657134117
         419   06 Jul 2022 - 15:05:19 EDT     06 Jul 2022 - 15:08:00 EDT                161                161           1657134319
         420   06 Jul 2022 - 15:08:30 EDT     06 Jul 2022 - 15:10:32 EDT                122                122           1657134510
         421   06 Jul 2022 - 15:13:21 EDT     06 Jul 2022 - 15:22:12 EDT                531                529           1657134801
         422   06 Jul 2022 - 15:18:47 EDT     06 Jul 2022 - 15:28:15 EDT                568                568           1657135127
         423   06 Jul 2022 - 15:20:09 EDT     06 Jul 2022 - 15:32:31 EDT                742                742           1657135209
         424   06 Jul 2022 - 15:20:17 EDT     06 Jul 2022 - 15:23:46 EDT                209                208           1657135217
         426   06 Jul 2022 - 16:07:47 EDT     06 Jul 2022 - 16:09:21 EDT                 94                 92           1657138067
         427   06 Jul 2022 - 16:34:15 EDT     06 Jul 2022 - 16:43:29 EDT                554                553           1657139655
         428   06 Jul 2022 - 16:43:39 EDT     06 Jul 2022 - 16:48:43 EDT                304                303           1657140219
         429   06 Jul 2022 - 16:46:55 EDT     06 Jul 2022 - 16:55:10 EDT                495                494           1657140415
         430   06 Jul 2022 - 16:52:16 EDT     06 Jul 2022 - 16:56:37 EDT                261                259           1657140736
         432   06 Jul 2022 - 17:01:10 EDT     06 Jul 2022 - 17:13:13 EDT                723                721           1657141270
         433   06 Jul 2022 - 17:03:08 EDT     06 Jul 2022 - 17:05:34 EDT                146                144           1657141388
         434   06 Jul 2022 - 17:22:16 EDT     06 Jul 2022 - 17:35:28 EDT                792                790           1657142536
         435   06 Jul 2022 - 17:22:48 EDT     06 Jul 2022 - 17:24:16 EDT                 88                 88           1657142568
         436   06 Jul 2022 - 17:43:38 EDT     06 Jul 2022 - 17:48:32 EDT                294                292           1657143818
         437   06 Jul 2022 - 17:45:31 EDT     06 Jul 2022 - 17:49:23 EDT                232                232           1657143931
         438   06 Jul 2022 - 17:49:03 EDT     06 Jul 2022 - 17:51:43 EDT                160                158           1657144143
         439   06 Jul 2022 - 18:25:44 EDT     06 Jul 2022 - 18:33:01 EDT                437                434           1657146344
         440   06 Jul 2022 - 18:28:45 EDT     06 Jul 2022 - 18:32:56 EDT                251                251           1657146525
         441   06 Jul 2022 - 18:40:24 EDT     06 Jul 2022 - 18:42:27 EDT                123                123           1657147224
         442   06 Jul 2022 - 19:08:22 EDT     06 Jul 2022 - 19:12:41 EDT                259                258           1657148902
         444   06 Jul 2022 - 19:35:25 EDT     06 Jul 2022 - 19:37:20 EDT                115                114           1657150525
         445   06 Jul 2022 - 19:44:33 EDT     06 Jul 2022 - 19:49:30 EDT                297                297           1657151073
         446   06 Jul 2022 - 21:25:49 EDT     06 Jul 2022 - 21:28:18 EDT                149                149           1657157149
         447   06 Jul 2022 - 21:38:11 EDT     06 Jul 2022 - 21:47:05 EDT                534                533           1657157891
         448   06 Jul 2022 - 21:45:53 EDT     06 Jul 2022 - 21:51:29 EDT                336                335           1657158353
         449   06 Jul 2022 - 22:00:22 EDT     06 Jul 2022 - 22:03:10 EDT                168                166           1657159222
         450   06 Jul 2022 - 22:03:09 EDT     06 Jul 2022 - 22:07:10 EDT                241                239           1657159389
         451   06 Jul 2022 - 23:39:35 EDT     06 Jul 2022 - 23:44:43 EDT                308                307           1657165175
         452   07 Jul 2022 - 00:26:51 EDT     07 Jul 2022 - 00:28:43 EDT                112                109           1657168011


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 328 of 476 PageID #: 2966
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         417         1657133918                1                5                 0                         Term
         418         1657135506                1                5                 0                         Term
         419         1657134480                1                5                 0                         Term
         420         1657134632                1                5                 0                         Term
         421         1657135332                1                5                 0                         Term
         422         1657135695                1                5                 0                         Term
         423         1657135951                1                5                 0                         Term
         424         1657135426                1                5                 0                         Term
         426         1657138161                1                5                 0                         Term
         427         1657140209                1                5                 0                         Term
         428         1657140523                1                5                 0                         Term
         429         1657140910                1                5                 0                         Term
         430         1657140997                1                5                 0                         Term
         432         1657141993                1                5                 0                         Term
         433         1657141534                1                5                 0                         Term
         434         1657143328                1                5                 0                         Term
         435         1657142656                1                5                 0                         Term
         436         1657144112                1                5                 0                         Term
         437         1657144163                1                5                 0                         Term
         438         1657144303                1                5                 0                         Term
         439         1657146781                1                5                 0                         Term
         440         1657146776                1                5                 0                         Term
         441         1657147347                1                5                 0                         Term
         442         1657149161                1                5                 0                         Term
         444         1657150640                1                5                 0                         Term
         445         1657151370                1                5                 0                         Term
         446         1657157298                1                5                 0                         Term
         447         1657158425                1                5                 0                         Term
         448         1657158689                1                5                 0                         Term
         449         1657159390                1                5                 0                         Term
         450         1657159630                1                5                 0                         Term
         451         1657165483                1                5                 0                         Term
         452         1657168123                1                5                 0                         Term


                                                                                                                                 N-79
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 329 of 476 PageID #: 2967
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         417                    1               412   1789227954             2                  1             3
         418                    1               600   1789222618             2                  1             2
         419                    1              1519   1789236842             1                  1             2
         420                    1               888   1789240576             2                  1             3
         421                    1              1263   1789240202             3                  1             3
         422                    1               779   1789243038             2                  1             1
         423                    1               320   1789246545             3                  1             3
         424                    1               592   1789249014             2                  1             2
         426                    1              1349   1789289111             3                  1             2
         427                    1              1324   1789314086             2                  1             1
         428                    1              1324   1789324745             3                  1             2
         429                    1              1253   1789318888             2                  2             1
         430                    1               384   1789330455             1                  2             2
         432                    1               674   1789333431             2                  1             1
         433                    1               360   1789341554             3                  1             2
         434                    1               732   1789351396             2                  2             2
         435                    1              1333   1789336382             3                  1             1
         436                    1               390   1789371975             1                  1             3
         437                    1               375   1789372104             2                  1             2
         438                    1              1112   1789359690             3                  1             1
         439                    1               667   1789401721             1                  1             3
         440                    1              1903   1789409120             3                  1             3
         441                    1              1519   1789416156             3                  1             2
         442                    1              1519   1789407359             3                  1             3
         444                    1              1349   1789450904             1                  1             1
         445                    1               800   1789458626             1                  1             3
         446                    1               412   1789523930             1                  1             1
         447                    1               875   1789528537             2                  2             3
         448                    1               375   1789532199             3                  1             3
         449                    1              1212   1789542962             2                  1             2
         450                    1               384   1789545249             3                  1             3
         451                    1              2560   1789593669             2                  1             3
         452                    1               390   1789613467             2                  1             2


                                                                                                                  N-80
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 330 of 476 PageID #: 2968
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         417                  2             2                  1             1                  2             1
         418                  1             2                  1             1                  1             2
         419                  1             2                  1             2                  1             2
         420                  1             1                  1             2                  1             1
         421                  1             3                  1             1                  1             1
         422                  2             2                  2             2                  1             3
         423                  1             2                  1             1                  1             1
         424                  1             1                  2             1                  1             3
         426                  1             3                  1             1                  1             3
         427                  1             2                  1             2                  1             2
         428                  1             3                  1             2                  1             1
         429                  2             3                  2             3                  2             2
         430                  1             3                  2             1                  1             3
         432                  1             3                  1             2                  1             3
         433                  2             3                  1             3                  1             1
         434                  1             1                  2             1                  1             1
         435                  1             3                  1             2                  1             2
         436                  1             1                  1             1                  1             2
         437                  1             3                  1             2                  1             1
         438                  1             1                  1             3                  1             3
         439                  1             1                  1             1                  1             2
         440                  1             2                  1             3                  1             2
         441                  2             1                  1             2                  1             1
         442                  1             3                  1             1                  1             1
         444                  1             2                  1             2                  2             3
         445                  1             3                  1             1                  1             2
         446                  1             3                  2             3                  1             2
         447                  2             1                  2             1                  2             1
         448                  1             2                  1             1                  1             2
         449                  1             1                  1             3                  2             2
         450                  1             3                  2             2                  1             3
         451                  1             1                  1             3                  1             3
         452                  1             2                  1             2                  1             1


                                                                                                                  N-81
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 331 of 476 PageID #: 2969
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         417                  2             2                  2             1                  2             1
         418                  1             3                  1             2                  1             1
         419                  1             2                  1             3                  1             1
         420                  1             2                  1             2                  1             2
         421                  1             2                  1             1                  1             2
         422                  1             3                  1             2                  1             2
         423                  1             1                  1             1                  1             2
         424                  1             2                  1             1                  2             1
         426                  1             1                  1             2                  1             2
         427                  1             2                  1             3                  1             3
         428                  1             1                  1             2                  1             2
         429                  2             1                  2             2                  2             2
         430                  1             3                  1             3                  2             1
         432                  1             2                  1             1                  1             1
         433                  2             1                  1             2                  1             1
         434                  2             1                  1             1                  2             1
         435                  1             2                  1             1                  1             2
         436                  1             3                  1             3                  1             3
         437                  1             2                  1             2                  1             1
         438                  1             1                  1             2                  1             2
         439                  1             1                  1             3                  1             3
         440                  1             3                  1             2                  1             2
         441                  1             2                  1             2                  1             1
         442                  1             1                  1             3                  2             1
         444                  1             3                  1             2                  2             1
         445                  1             3                  1             3                  1             1
         446                  1             3                  1             1                  1             1
         447                  2             3                  2             2                  2             3
         448                  1             3                  1             1                  1             3
         449                  2             3                  1             1                  1             2
         450                  2             1                  1             2                  1             3
         451                  1             3                  2             3                  2             1
         452                  1             2                  1             3                  1             2


                                                                                                                  N-82
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 332 of 476 PageID #: 2970
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         417                  1             3                  2              1                   2              2
         418                  1             1                  1              1                   1              2
         419                  1             2                  1              2                   1              2
         420                  1             1                  1              2                   1              1
         421                  1             2                  1              2                   1              1
         422                  1             2                  1              3                   1              1
         423                  1             2                  1              3                   1              1
         424                  1             3                  1              2                   1              3
         426                  1             2                  1              2                   1              2
         427                  1             2                  1              3                   1              1
         428                  1             1                  1              3                   2              2
         429                  1             3                  2              1                   1              1
         430                  2             3                  1              2                   2              1
         432                  1             3                  1              1                   1              1
         433                  2             1                  1              1                   2              2
         434                  1             3                  1              3                   1              1
         435                  1             2                  1              1                   1              1
         436                  1             3                  1              3                   1              3
         437                  2             2                  1              2                   1              2
         438                  1             1                  1              2                   1              2
         439                  1             3                  2              1                   1              1
         440                  1             1                  2              2                   1              3
         441                  1             1                  1              2                   1              1
         442                  2             1                  1              2                   1              2
         444                  1             1                  2              3                   1              3
         445                  1             3                  1              3                   1              3
         446                  1             3                  1              3                   2              2
         447                  2             1                  2              1                   2              1
         448                  1             2                  1              1                   1              3
         449                  1             3                  1              1                   1              2
         450                  1             1                  1              2                   1              3
         451                  2             1                  1              2                   1              2
         452                  1             1                  1              3                   1              2


                                                                                                                     N-83
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 333 of 476 PageID #: 2971
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         417                   2              1                   2                  117   CBC1_1651757381_6
         418                   1              3                   1                  118   CBC1_1651757381_6
         419                   1              1                   1                  119   CBC1_1651757381_6
         420                   1              1                   1                  120   CBC1_1651757381_6
         421                   1              2                   1                  121   CBC1_1651757381_6
         422                   1              1                   1                  122   CBC1_1651757381_6
         423                   1              1                   1                  123   CBC1_1651757381_6
         424                   1              3                   1                  124   CBC1_1651757381_6
         426                   1              3                   1                  126   CBC1_1651757381_6
         427                   1              2                   1                  127   CBC1_1651757381_6
         428                   1              1                   1                  128   CBC1_1651757381_6
         429                   2              2                   2                  129   CBC1_1651757381_6
         430                   1              2                   1                  130   CBC1_1651757381_6
         432                   1              2                   1                  132   CBC1_1651757381_6
         433                   2              1                   1                  133   CBC1_1651757381_6
         434                   2              1                   1                  134   CBC1_1651757381_6
         435                   1              2                   1                  135   CBC1_1651757381_6
         436                   1              3                   1                  136   CBC1_1651757381_6
         437                   1              3                   1                  137   CBC1_1651757381_6
         438                   1              2                   1                  138   CBC1_1651757381_6
         439                   2              1                   1                  139   CBC1_1651757381_6
         440                   1              2                   1                  140   CBC1_1651757381_6
         441                   1              2                   1                  141   CBC1_1651757381_6
         442                   2              1                   1                  142   CBC1_1651757381_6
         444                   2              3                   1                  144   CBC1_1651757381_6
         445                   1              2                   1                  145   CBC1_1651757381_6
         446                   1              2                   2                  146   CBC1_1651757381_6
         447                   2              3                   2                  147   CBC1_1651757381_6
         448                   1              1                   1                  148   CBC1_1651757381_6
         449                   2              1                   2                  149   CBC1_1651757381_6
         450                   2              2                   1                  150   CBC1_1651757381_6
         451                   1              3                   1                  151   CBC1_1651757381_6
         452                   1              3                   1                  152   CBC1_1651757381_6


                                                                                                                   N-84
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 334 of 476 PageID #: 2972
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         453   07 Jul 2022 - 00:38:10 EDT     07 Jul 2022 - 00:40:17 EDT                127                126           1657168690
         454   07 Jul 2022 - 12:00:39 EDT     07 Jul 2022 - 12:03:30 EDT                171                170           1657209639
         455   07 Jul 2022 - 12:20:14 EDT     07 Jul 2022 - 12:31:14 EDT                660                657           1657210814
         456   07 Jul 2022 - 12:28:19 EDT     07 Jul 2022 - 12:34:27 EDT                368                367           1657211299
         457   07 Jul 2022 - 13:00:46 EDT     07 Jul 2022 - 13:08:29 EDT                463                462           1657213246
         458   07 Jul 2022 - 13:04:00 EDT     07 Jul 2022 - 13:18:09 EDT                849                847           1657213440
         460   07 Jul 2022 - 13:23:12 EDT     07 Jul 2022 - 13:31:57 EDT                525                523           1657214592
         461   07 Jul 2022 - 13:25:22 EDT     07 Jul 2022 - 13:36:46 EDT                684                683           1657214722
         462   07 Jul 2022 - 13:33:52 EDT     07 Jul 2022 - 13:37:45 EDT                233                232           1657215232
         463   07 Jul 2022 - 13:41:52 EDT     07 Jul 2022 - 13:46:04 EDT                252                252           1657215712
         464   07 Jul 2022 - 13:43:21 EDT     07 Jul 2022 - 13:45:07 EDT                106                105           1657215801
         465   07 Jul 2022 - 13:49:39 EDT     07 Jul 2022 - 13:57:25 EDT                466                465           1657216179
         466   07 Jul 2022 - 14:10:57 EDT     07 Jul 2022 - 14:19:10 EDT                493                490           1657217457
         468   07 Jul 2022 - 14:20:47 EDT     07 Jul 2022 - 14:28:00 EDT                433                433           1657218047
         469   07 Jul 2022 - 14:23:59 EDT     07 Jul 2022 - 14:27:43 EDT                224                222           1657218239
         470   07 Jul 2022 - 14:32:06 EDT     07 Jul 2022 - 14:42:25 EDT                619                615           1657218726
         471   07 Jul 2022 - 14:40:52 EDT     07 Jul 2022 - 14:44:48 EDT                236                236           1657219252
         472   07 Jul 2022 - 14:46:08 EDT     07 Jul 2022 - 14:50:58 EDT                290                289           1657219568
         473   07 Jul 2022 - 15:02:54 EDT     07 Jul 2022 - 15:07:00 EDT                246                244           1657220574
         474   07 Jul 2022 - 15:19:09 EDT     07 Jul 2022 - 15:28:39 EDT                570                569           1657221549
         475   07 Jul 2022 - 15:36:36 EDT     07 Jul 2022 - 15:48:54 EDT                738                734           1657222596
         477   07 Jul 2022 - 16:09:04 EDT     07 Jul 2022 - 16:11:12 EDT                128                127           1657224544
         478   07 Jul 2022 - 16:12:29 EDT     07 Jul 2022 - 16:23:05 EDT                636                636           1657224749
         479   07 Jul 2022 - 16:17:23 EDT     07 Jul 2022 - 16:50:43 EDT               2000               2000           1657225043
         480   07 Jul 2022 - 16:19:04 EDT     07 Jul 2022 - 16:28:37 EDT                573                573           1657225144
         481   07 Jul 2022 - 16:19:46 EDT     07 Jul 2022 - 16:24:14 EDT                268                268           1657225186
         482   07 Jul 2022 - 16:34:00 EDT     07 Jul 2022 - 16:38:14 EDT                254                253           1657226040
         483   07 Jul 2022 - 16:36:57 EDT     07 Jul 2022 - 16:43:53 EDT                416                415           1657226217
         484   07 Jul 2022 - 16:43:01 EDT     07 Jul 2022 - 16:46:03 EDT                182                181           1657226581
         486   07 Jul 2022 - 16:46:34 EDT     07 Jul 2022 - 16:50:22 EDT                228                226           1657226794
         488   07 Jul 2022 - 17:23:00 EDT     07 Jul 2022 - 17:30:23 EDT                443                440           1657228980
         489   07 Jul 2022 - 17:23:12 EDT     07 Jul 2022 - 17:26:08 EDT                176                175           1657228992
         490   07 Jul 2022 - 17:23:43 EDT     07 Jul 2022 - 17:25:34 EDT                111                111           1657229023


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 335 of 476 PageID #: 2973
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         453         1657168817                1                5                 0                         Term
         454         1657209810                1                5                 0                         Term
         455         1657211474                1                5                 0                         Term
         456         1657211667                1                5                 0                         Term
         457         1657213709                1                5                 0                         Term
         458         1657214289                1                5                 0                         Term
         460         1657215117                1                5                 0                         Term
         461         1657215406                1                5                 0                         Term
         462         1657215465                1                5                 0                         Term
         463         1657215964                1                5                 0                         Term
         464         1657215907                1                5                 0                         Term
         465         1657216645                1                5                 0                         Term
         466         1657217950                1                5                 0                         Term
         468         1657218480                1                5                 0                         Term
         469         1657218463                1                5                 0                         Term
         470         1657219345                1                5                 0                         Term
         471         1657219488                1                5                 0                         Term
         472         1657219858                1                5                 0                         Term
         473         1657220820                1                5                 0                         Term
         474         1657222119                1                5                 0                         Term
         475         1657223334                1                5                 0                         Term
         477         1657224672                1                5                 0                         Term
         478         1657225385                1                5                 0                         Term
         479         1657227043                1                5                 0                         Term
         480         1657225717                1                5                 0                         Term
         481         1657225454                1                5                 0                         Term
         482         1657226294                1                5                 0                         Term
         483         1657226633                1                5                 0                         Term
         484         1657226763                1                5                 0                         Term
         486         1657227022                1                5                 0                         Term
         488         1657229423                1                5                 0                         Term
         489         1657229168                1                5                 0                         Term
         490         1657229134                1                5                 0                         Term


                                                                                                                                 N-86
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 336 of 476 PageID #: 2974
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         453                    1               360   1789619032             3                  1             3
         454                    1               390   1790036429             2                  1             2
         455                    1              1517   1790039489             3                  1             1
         456                    1              1903   1790062906             1                  1             3
         457                    1              1263   1790095918             3                  1             3
         458                    1              1241   1790075040             3                  1             2
         460                    1              1263   1790115508             1                  1             3
         461                    1              1180   1790119154             2                  2             1
         462                    1              1263   1790129499             2                  2             2
         463                    1               360   1790136042             3                  1             1
         464                    1              1536   1790140628             2                  1             3
         465                    1               390   1790144646             3                  2             2
         466                    1               724   1790164377             2                  2             1
         468                    1               390   1790172402             1                  1             2
         469                    1               412   1790177494             3                  1             1
         470                    1               842   1790176061             1                  1             1
         471                    1               390   1790191089             2                  1             3
         472                    1               339   1790194413             3                  1             1
         473                    1               320   1790210578             1                  1             1
         474                    1               375   1790222383             1                  1             1
         475                    1              1519   1790231032             1                  2             2
         477                    1              1903   1790268714             1                  1             2
         478                    1               412   1790260245             1                  1             2
         479                    1              1440   1790260053             2                  2             1
         480                    1              1865   1790266729             1                  1             3
         481                    1              1519   1790279623             1                  1             3
         482                    1               838   1790290133             3                  1             3
         483                    1              1350   1790287050             2                  1             1
         484                    1              1440   1790299614             2                  1             1
         486                    1              1349   1790301416             1                  1             3
         488                    1               750   1790332134             3                  1             2
         489                    1              1889   1790332862             2                  1             1
         490                    1              1903   1790333129             3                  1             3


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 337 of 476 PageID #: 2975
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         453                  1             3                  1             2                  1             3
         454                  1             2                  1             1                  1             1
         455                  1             2                  1             1                  2             3
         456                  1             2                  1             1                  1             3
         457                  1             2                  1             1                  2             3
         458                  1             2                  1             3                  1             3
         460                  1             2                  1             3                  1             1
         461                  1             2                  1             1                  1             2
         462                  2             2                  2             1                  2             1
         463                  1             2                  1             3                  1             1
         464                  1             3                  1             2                  2             2
         465                  1             2                  1             1                  1             3
         466                  1             3                  1             2                  1             3
         468                  1             2                  1             3                  1             1
         469                  1             2                  1             2                  1             2
         470                  1             3                  1             3                  1             3
         471                  1             1                  1             1                  1             2
         472                  1             3                  1             3                  1             1
         473                  1             1                  1             1                  1             3
         474                  1             1                  1             1                  1             2
         475                  1             2                  1             3                  1             3
         477                  1             2                  1             2                  1             3
         478                  1             3                  1             2                  1             2
         479                  1             2                  1             2                  2             3
         480                  2             3                  1             1                  1             2
         481                  1             3                  1             1                  1             3
         482                  1             1                  1             3                  1             1
         483                  1             1                  1             2                  1             1
         484                  1             2                  1             1                  1             3
         486                  1             1                  2             1                  1             2
         488                  1             2                  1             3                  2             3
         489                  1             1                  1             2                  1             1
         490                  1             1                  1             3                  1             2


                                                                                                                  N-88
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 338 of 476 PageID #: 2976
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         453                  1             2                  1             2                  1             2
         454                  1             1                  1             2                  1             1
         455                  1             2                  1             1                  1             2
         456                  1             1                  1             2                  1             3
         457                  1             2                  2             2                  1             2
         458                  1             2                  1             3                  1             3
         460                  1             2                  1             3                  1             3
         461                  2             3                  1             3                  1             3
         462                  2             3                  2             3                  2             1
         463                  1             3                  1             3                  1             2
         464                  1             2                  1             2                  1             3
         465                  1             2                  1             1                  1             1
         466                  1             3                  1             1                  1             1
         468                  1             1                  1             2                  1             2
         469                  1             1                  1             2                  1             3
         470                  1             2                  1             3                  1             2
         471                  1             3                  1             2                  1             1
         472                  1             3                  1             1                  1             2
         473                  1             2                  1             2                  1             3
         474                  1             2                  2             3                  1             1
         475                  1             3                  1             2                  1             2
         477                  1             1                  1             2                  1             1
         478                  1             2                  2             3                  2             2
         479                  2             2                  1             2                  2             1
         480                  1             2                  1             1                  1             3
         481                  1             2                  2             2                  2             3
         482                  1             3                  1             2                  1             1
         483                  1             3                  1             3                  1             2
         484                  1             3                  1             2                  1             3
         486                  1             3                  1             3                  2             2
         488                  2             3                  1             3                  1             3
         489                  1             2                  1             3                  1             3
         490                  1             1                  1             1                  1             2


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 339 of 476 PageID #: 2977
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         453                  1             3                  1              2                   1              2
         454                  1             1                  1              3                   1              1
         455                  1             1                  1              3                   1              1
         456                  1             3                  1              3                   1              2
         457                  1             1                  2              1                   1              3
         458                  1             3                  1              2                   1              2
         460                  1             2                  1              1                   1              1
         461                  2             3                  2              3                   2              1
         462                  2             1                  2              1                   2              1
         463                  1             2                  1              3                   1              3
         464                  1             2                  2              1                   2              3
         465                  1             1                  2              1                   2              2
         466                  2             1                  1              2                   1              3
         468                  1             1                  1              1                   1              3
         469                  1             1                  1              3                   1              2
         470                  1             2                  1              3                   1              2
         471                  1             3                  1              2                   1              2
         472                  1             3                  1              1                   1              1
         473                  1             1                  1              2                   1              2
         474                  1             2                  1              1                   2              3
         475                  1             1                  1              3                   1              3
         477                  1             3                  1              2                   1              2
         478                  1             3                  1              1                   1              2
         479                  1             2                  2              3                   2              1
         480                  1             3                  1              2                   1              3
         481                  1             3                  2              3                   1              2
         482                  1             2                  1              2                   1              2
         483                  1             2                  1              3                   1              3
         484                  1             1                  1              1                   1              1
         486                  2             3                  1              2                   1              2
         488                  2             1                  1              1                   1              2
         489                  1             3                  1              3                   1              1
         490                  1             3                  1              2                   1              3


                                                                                                                     N-90
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 340 of 476 PageID #: 2978
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         453                   1              2                   1                  153   CBC1_1651757381_6
         454                   1              3                   1                  154   CBC1_1651757381_6
         455                   1              2                   1                  155   CBC1_1651757381_6
         456                   1              1                   1                  156   CBC1_1651757381_6
         457                   2              2                   2                  157   CBC1_1651757381_6
         458                   1              2                   1                  158   CBC1_1651757381_6
         460                   1              3                   1                  160   CBC1_1651757381_6
         461                   1              3                   1                  161   CBC1_1651757381_6
         462                   2              3                   2                  162   CBC1_1651757381_6
         463                   1              2                   1                  163   CBC1_1651757381_6
         464                   1              2                   1                  164   CBC1_1651757381_6
         465                   1              3                   1                  165   CBC1_1651757381_6
         466                   2              1                   2                  166   CBC1_1651757381_6
         468                   1              2                   1                  168   CBC1_1651757381_6
         469                   1              3                   1                  169   CBC1_1651757381_6
         470                   2              1                   1                  170   CBC1_1651757381_6
         471                   1              3                   1                  171   CBC1_1651757381_6
         472                   1              2                   1                  172   CBC1_1651757381_6
         473                   1              3                   1                  173   CBC1_1651757381_6
         474                   1              1                   1                  174   CBC1_1651757381_6
         475                   1              3                   1                  175   CBC1_1651757381_6
         477                   1              2                   1                  177   CBC1_1651757381_6
         478                   1              3                   2                  178   CBC1_1651757381_6
         479                   2              1                   2                  179   CBC1_1651757381_6
         480                   1              1                   1                  180   CBC1_1651757381_6
         481                   1              2                   1                  181   CBC1_1651757381_6
         482                   1              2                   1                  182   CBC1_1651757381_6
         483                   1              3                   1                  183   CBC1_1651757381_6
         484                   1              3                   1                  184   CBC1_1651757381_6
         486                   1              3                   1                  186   CBC1_1651757381_6
         488                   1              1                   2                  188   CBC1_1651757381_6
         489                   1              1                   1                  189   CBC1_1651757381_6
         490                   1              2                   1                  190   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 341 of 476 PageID #: 2979
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         491   07 Jul 2022 - 17:37:20 EDT     07 Jul 2022 - 17:43:30 EDT                370                370           1657229840
         492   07 Jul 2022 - 17:37:32 EDT     07 Jul 2022 - 17:40:42 EDT                190                188           1657229852
         493   07 Jul 2022 - 17:39:14 EDT     07 Jul 2022 - 17:42:46 EDT                212                212           1657229954
         494   07 Jul 2022 - 18:15:53 EDT     07 Jul 2022 - 18:18:52 EDT                179                179           1657232153
         495   07 Jul 2022 - 18:25:37 EDT     07 Jul 2022 - 18:31:02 EDT                325                323           1657232737
         496   07 Jul 2022 - 18:27:15 EDT     07 Jul 2022 - 18:32:04 EDT                289                287           1657232835
         497   07 Jul 2022 - 19:19:14 EDT     07 Jul 2022 - 19:24:46 EDT                332                347           1657235954
         498   07 Jul 2022 - 19:25:36 EDT     07 Jul 2022 - 19:28:41 EDT                185                185           1657236336
         499   07 Jul 2022 - 19:41:09 EDT     07 Jul 2022 - 19:44:38 EDT                209                209           1657237269
         500   07 Jul 2022 - 19:42:07 EDT     07 Jul 2022 - 19:50:46 EDT                519                518           1657237327
         501   07 Jul 2022 - 19:45:28 EDT     07 Jul 2022 - 19:48:06 EDT                158                158           1657237528
         502   07 Jul 2022 - 19:54:38 EDT     07 Jul 2022 - 19:56:20 EDT                102                100           1657238078
         504   07 Jul 2022 - 23:21:07 EDT     07 Jul 2022 - 23:23:24 EDT                137                134           1657250467
         505   08 Jul 2022 - 00:48:06 EDT     08 Jul 2022 - 00:53:33 EDT                327                326           1657255686
         506   08 Jul 2022 - 02:21:12 EDT     08 Jul 2022 - 02:23:19 EDT                127                125           1657261272
         507   08 Jul 2022 - 05:46:08 EDT     08 Jul 2022 - 05:47:37 EDT                 89                 89           1657273568
         508   08 Jul 2022 - 06:16:26 EDT     08 Jul 2022 - 06:20:18 EDT                232                232           1657275386
         509   08 Jul 2022 - 07:56:59 EDT     08 Jul 2022 - 08:00:08 EDT                189                189           1657281419
         510   08 Jul 2022 - 09:14:43 EDT     08 Jul 2022 - 09:18:25 EDT                222                221           1657286083
         511   08 Jul 2022 - 09:40:27 EDT     08 Jul 2022 - 09:42:08 EDT                101                100           1657287627
         512   08 Jul 2022 - 09:44:35 EDT     08 Jul 2022 - 09:52:52 EDT                497                497           1657287875
         514   08 Jul 2022 - 10:07:27 EDT     08 Jul 2022 - 10:09:06 EDT                 99                 98           1657289247
         515   08 Jul 2022 - 11:17:36 EDT     08 Jul 2022 - 11:19:41 EDT                125                124           1657293456
         516   08 Jul 2022 - 11:58:58 EDT     08 Jul 2022 - 12:01:40 EDT                162                160           1657295938
         517   08 Jul 2022 - 14:42:25 EDT     08 Jul 2022 - 14:48:25 EDT                360                358           1657305745
         518   08 Jul 2022 - 16:44:52 EDT     08 Jul 2022 - 16:48:06 EDT                194                190           1657313092
         519   08 Jul 2022 - 18:30:20 EDT     08 Jul 2022 - 18:40:04 EDT                584                582           1657319420
         520   08 Jul 2022 - 18:43:36 EDT     08 Jul 2022 - 18:48:41 EDT                305                304           1657320216
         521   08 Jul 2022 - 18:43:37 EDT     08 Jul 2022 - 18:48:33 EDT                296                295           1657320217
         522   08 Jul 2022 - 18:59:57 EDT     08 Jul 2022 - 19:05:49 EDT                352                351           1657321197
         523   08 Jul 2022 - 19:00:46 EDT     08 Jul 2022 - 19:21:10 EDT               1224               1223           1657321246
         524   08 Jul 2022 - 19:20:56 EDT     08 Jul 2022 - 19:24:06 EDT                190                189           1657322456
         525   08 Jul 2022 - 20:29:14 EDT     08 Jul 2022 - 20:40:46 EDT                692                692           1657326554


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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         491         1657230210                1                5                 0                         Term
         492         1657230042                1                5                 0                         Term
         493         1657230166                1                5                 0                         Term
         494         1657232332                1                5                 0                         Term
         495         1657233062                1                5                 0                         Term
         496         1657233124                1                5                 0                         Term
         497         1657236286                1                5                 0                         Term
         498         1657236521                1                5                 0                         Term
         499         1657237478                1                5                 0                         Term
         500         1657237846                1                5                 0                         Term
         501         1657237686                1                5                 0                         Term
         502         1657238180                1                5                 0                         Term
         504         1657250604                1                5                 0                         Term
         505         1657256013                1                5                 0                         Term
         506         1657261399                1                5                 0                         Term
         507         1657273657                1                5                 0                         Term
         508         1657275618                1                5                 0                         Term
         509         1657281608                1                5                 0                         Term
         510         1657286305                1                5                 0                         Term
         511         1657287728                1                5                 0                         Term
         512         1657288372                1                5                 0                         Term
         514         1657289346                1                5                 0                         Term
         515         1657293581                1                5                 0                         Term
         516         1657296100                1                5                 0                         Term
         517         1657306105                1                5                 0                         Term
         518         1657313286                1                5                 0                         Term
         519         1657320004                1                5                 0                         Term
         520         1657320521                1                5                 0                         Term
         521         1657320513                1                5                 0                         Term
         522         1657321549                1                5                 0                         Term
         523         1657322470                1                5                 0                         Term
         524         1657322646                1                5                 0                         Term
         525         1657327246                1                5                 0                         Term


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 343 of 476 PageID #: 2981
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         491                    1               428   1790343421             3                  1             3
         492                    1              1903   1790344820             3                  1             3
         493                    1              1519   1790340220             1                  1             2
         494                    1              1349   1790370608             3                  1             3
         495                    1               390   1790379347             2                  1             1
         496                    1               384   1790374190             2                  1             2
         497                    1              1336   1790414475             3                  1             3
         498                    1              1080   1790419521             1                  1             1
         499                    1              1366   1790429049             2                  1             2
         500                    1               390   1790426262             2                  1             2
         501                    1              1263   1790433210             2                  1             2
         502                    1               375   1790438909             2                  2             1
         504                    1              1440   1790546652             1                  2             2
         505                    1               414   1790581534             3                  1             3
         506                    1              1349   1790614142             1                  1             2
         507                    1              1903   1790699941             2                  1             2
         508                    1               414   1790713523             1                  1             1
         509                    1              1519   1790759919             3                  1             3
         510                    1              1583   1790827631             1                  1             3
         511                    1              1583   1790851184             1                  1             1
         512                    1              1263   1790847303             3                  2             1
         514                    1               390   1790874374             1                  1             3
         515                    1              1201   1790936264             3                  1             2
         516                    1              1536   1790974452             3                  1             2
         517                    1               320   1791123699             1                  1             3
         518                    1               360   1791229265             3                  1             3
         519                    1              1536   1791302452             3                  1             3
         520                    1               750   1791310474             1                  1             2
         521                    1               750   1791309762             3                  1             2
         522                    1               360   1791312896             1                  2             2
         523                    1               412   1790823166             3                  1             2
         524                    1               820   1791333150             2                  1             1
         525                    1               390   1791366526             1                  1             3


                                                                                                                  N-94
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 344 of 476 PageID #: 2982
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         491                  1             2                  1             2                  1             2
         492                  1             2                  1             1                  1             1
         493                  1             3                  1             2                  1             1
         494                  1             1                  1             2                  1             2
         495                  1             3                  2             2                  1             2
         496                  1             3                  1             1                  1             3
         497                  1             1                  1             1                  1             1
         498                  1             3                  1             2                  1             3
         499                  1             1                  1             2                  1             2
         500                  1             2                  1             2                  1             2
         501                  1             3                  1             3                  1             3
         502                  1             3                  2             2                  1             2
         504                  1             2                  1             3                  1             1
         505                  1             2                  1             3                  1             1
         506                  1             2                  1             2                  1             1
         507                  1             3                  1             3                  1             2
         508                  1             1                  2             2                  1             1
         509                  1             2                  1             2                  1             1
         510                  1             1                  1             3                  1             3
         511                  1             2                  1             2                  1             3
         512                  2             1                  2             1                  1             3
         514                  1             2                  1             3                  1             2
         515                  1             1                  1             1                  1             3
         516                  1             3                  1             2                  1             3
         517                  1             2                  1             2                  1             3
         518                  1             1                  1             3                  1             3
         519                  1             2                  1             3                  2             3
         520                  1             2                  1             3                  1             2
         521                  1             3                  1             2                  1             1
         522                  1             3                  1             1                  1             3
         523                  1             1                  1             2                  1             2
         524                  1             1                  1             2                  1             3
         525                  1             1                  1             3                  1             2


                                                                                                                  N-95
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 345 of 476 PageID #: 2983
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         491                  1             3                  1             3                  1             3
         492                  1             1                  1             1                  1             2
         493                  1             3                  1             2                  1             2
         494                  1             1                  1             2                  1             2
         495                  1             1                  1             2                  2             2
         496                  1             3                  1             3                  1             3
         497                  1             2                  1             2                  2             2
         498                  1             2                  1             1                  1             2
         499                  1             3                  1             1                  1             1
         500                  1             2                  1             3                  1             3
         501                  1             3                  1             1                  1             3
         502                  1             3                  1             3                  1             1
         504                  1             2                  2             2                  1             2
         505                  1             1                  1             1                  1             2
         506                  1             1                  1             3                  1             1
         507                  1             1                  1             1                  1             2
         508                  1             2                  1             1                  1             3
         509                  1             3                  1             3                  1             1
         510                  1             3                  1             1                  1             1
         511                  1             2                  1             3                  1             1
         512                  1             1                  1             2                  1             1
         514                  1             3                  2             1                  1             1
         515                  1             3                  1             3                  1             3
         516                  1             2                  1             3                  1             3
         517                  1             3                  1             2                  1             2
         518                  1             2                  1             1                  1             2
         519                  1             3                  1             2                  1             2
         520                  1             1                  1             1                  1             1
         521                  1             1                  2             1                  2             1
         522                  1             1                  1             2                  2             2
         523                  1             3                  1             3                  1             3
         524                  1             2                  1             3                  1             3
         525                  1             2                  2             3                  2             1


                                                                                                                  N-96
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 346 of 476 PageID #: 2984
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         491                  1             2                  1              3                   1              1
         492                  1             2                  1              1                   2              3
         493                  1             3                  1              1                   1              2
         494                  1             3                  1              3                   1              3
         495                  2             1                  1              2                   2              3
         496                  1             2                  1              1                   1              1
         497                  1             2                  1              1                   2              1
         498                  1             2                  1              3                   1              2
         499                  1             2                  1              3                   1              3
         500                  1             2                  1              3                   1              1
         501                  1             1                  1              1                   1              2
         502                  1             1                  2              3                   1              1
         504                  2             3                  2              1                   1              1
         505                  1             2                  1              2                   1              1
         506                  1             1                  1              1                   1              2
         507                  1             2                  1              2                   1              1
         508                  1             3                  1              2                   1              2
         509                  1             2                  1              1                   1              1
         510                  1             2                  1              2                   1              2
         511                  1             3                  1              3                   1              1
         512                  1             3                  1              1                   2              1
         514                  1             1                  1              2                   1              3
         515                  1             3                  1              2                   1              2
         516                  1             3                  1              3                   1              3
         517                  1             2                  1              1                   1              1
         518                  1             1                  1              3                   1              3
         519                  2             1                  2              1                   1              1
         520                  1             3                  1              2                   1              1
         521                  1             1                  1              3                   1              1
         522                  1             3                  1              3                   1              1
         523                  1             2                  1              2                   1              1
         524                  1             2                  1              3                   1              1
         525                  1             1                  1              2                   1              1


                                                                                                                     N-97
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 347 of 476 PageID #: 2985
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         491                   1              2                   1                  191   CBC1_1651757381_6
         492                   1              3                   1                  192   CBC1_1651757381_6
         493                   1              3                   1                  193   CBC1_1651757381_6
         494                   1              1                   1                  194   CBC1_1651757381_6
         495                   2              3                   1                  195   CBC1_1651757381_6
         496                   1              1                   1                  196   CBC1_1651757381_6
         497                   1              1                   2                  197   CBC1_1651757381_6
         498                   1              1                   1                  198   CBC1_1651757381_6
         499                   1              2                   1                  199   CBC1_1651757381_6
         500                   1              2                   1                  200   CBC1_1651757381_6
         501                   1              3                   1                  201   CBC1_1651757381_6
         502                   1              2                   1                  202   CBC1_1651757381_6
         504                   1              2                   1                  204   CBC1_1651757381_6
         505                   1              2                   1                  205   CBC1_1651757381_6
         506                   1              3                   1                  206   CBC1_1651757381_6
         507                   1              2                   1                  207   CBC1_1651757381_6
         508                   1              3                   2                  208   CBC1_1651757381_6
         509                   1              2                   1                  209   CBC1_1651757381_6
         510                   1              3                   1                  210   CBC1_1651757381_6
         511                   1              2                   1                  211   CBC1_1651757381_6
         512                   2              1                   1                  212   CBC1_1651757381_6
         514                   1              2                   1                  214   CBC1_1651757381_6
         515                   1              2                   1                  215   CBC1_1651757381_6
         516                   1              3                   1                  216   CBC1_1651757381_6
         517                   1              1                   1                  217   CBC1_1651757381_6
         518                   1              1                   1                  218   CBC1_1651757381_6
         519                   2              3                   2                  219   CBC1_1651757381_6
         520                   1              1                   1                  220   CBC1_1651757381_6
         521                   1              2                   1                  221   CBC1_1651757381_6
         522                   2              2                   2                  222   CBC1_1651757381_6
         523                   1              1                   1                  223   CBC1_1651757381_6
         524                   1              2                   1                  224   CBC1_1651757381_6
         525                   1              3                   1                  225   CBC1_1651757381_6


                                                                                                                   N-98
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 348 of 476 PageID #: 2986
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         526   08 Jul 2022 - 20:43:17 EDT     08 Jul 2022 - 20:49:08 EDT                351                351           1657327397
         527   08 Jul 2022 - 20:44:11 EDT     08 Jul 2022 - 20:55:06 EDT                655                654           1657327451
         529   08 Jul 2022 - 20:54:01 EDT     08 Jul 2022 - 20:57:30 EDT                209                206           1657328041
         530   08 Jul 2022 - 20:59:30 EDT     08 Jul 2022 - 21:02:30 EDT                180                180           1657328370
         531   08 Jul 2022 - 21:09:01 EDT     08 Jul 2022 - 21:16:15 EDT                434                433           1657328941
         533   08 Jul 2022 - 21:14:58 EDT     08 Jul 2022 - 21:22:25 EDT                447                444           1657329298
         534   08 Jul 2022 - 21:29:02 EDT     08 Jul 2022 - 21:33:23 EDT                261                260           1657330142
         535   08 Jul 2022 - 21:37:30 EDT     08 Jul 2022 - 21:42:05 EDT                275                273           1657330650
         536   08 Jul 2022 - 21:54:20 EDT     08 Jul 2022 - 21:57:45 EDT                205                203           1657331660
         537   08 Jul 2022 - 21:55:09 EDT     08 Jul 2022 - 22:04:20 EDT                551                550           1657331709
         538   08 Jul 2022 - 21:58:00 EDT     08 Jul 2022 - 22:02:48 EDT                288                285           1657331880
         539   08 Jul 2022 - 22:11:39 EDT     08 Jul 2022 - 22:15:31 EDT                232                232           1657332699
         540   08 Jul 2022 - 22:18:27 EDT     08 Jul 2022 - 22:26:45 EDT                498                497           1657333107
         541   08 Jul 2022 - 22:25:40 EDT     08 Jul 2022 - 22:31:32 EDT                352                351           1657333540
         542   08 Jul 2022 - 22:58:00 EDT     08 Jul 2022 - 23:01:58 EDT                238                234           1657335480
         543   08 Jul 2022 - 23:03:04 EDT     08 Jul 2022 - 23:05:42 EDT                158                156           1657335784
         544   08 Jul 2022 - 23:05:20 EDT     08 Jul 2022 - 23:13:05 EDT                465                465           1657335920
         545   08 Jul 2022 - 23:16:41 EDT     08 Jul 2022 - 23:22:29 EDT                348                347           1657336601
         546   08 Jul 2022 - 23:36:34 EDT     08 Jul 2022 - 23:40:25 EDT                231                228           1657337794
         547   09 Jul 2022 - 00:36:55 EDT     09 Jul 2022 - 00:39:55 EDT                180                180           1657341415
         548   09 Jul 2022 - 01:38:49 EDT     09 Jul 2022 - 01:41:17 EDT                148                146           1657345129
         549   09 Jul 2022 - 06:01:27 EDT     09 Jul 2022 - 06:22:24 EDT               1257               1256           1657360887
         552   09 Jul 2022 - 07:15:50 EDT     09 Jul 2022 - 07:20:03 EDT                253                253           1657365350
         553   09 Jul 2022 - 09:51:53 EDT     09 Jul 2022 - 09:56:04 EDT                251                251           1657374713
         554   09 Jul 2022 - 10:15:38 EDT     09 Jul 2022 - 10:18:48 EDT                190                190           1657376138
         556   09 Jul 2022 - 11:08:18 EDT     09 Jul 2022 - 11:10:59 EDT                161                160           1657379298
         557   09 Jul 2022 - 11:57:02 EDT     09 Jul 2022 - 12:00:36 EDT                214                214           1657382222
         558   09 Jul 2022 - 13:37:12 EDT     09 Jul 2022 - 13:39:30 EDT                138                138           1657388232
         559   09 Jul 2022 - 18:29:40 EDT     09 Jul 2022 - 18:36:20 EDT                400                398           1657405780
         560   09 Jul 2022 - 21:02:35 EDT     09 Jul 2022 - 21:07:54 EDT                319                317           1657414955
         561   09 Jul 2022 - 21:13:44 EDT     09 Jul 2022 - 21:16:35 EDT                171                171           1657415624
         562   09 Jul 2022 - 22:04:50 EDT     09 Jul 2022 - 22:07:56 EDT                186                184           1657418690
         563   10 Jul 2022 - 00:05:32 EDT     10 Jul 2022 - 00:10:54 EDT                322                320           1657425932


                                                                                                                                      N-99
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 349 of 476 PageID #: 2987
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         526         1657327748                1                5                 0                         Term
         527         1657328106                1                5                 0                         Term
         529         1657328250                1                5                 0                         Term
         530         1657328550                1                5                 0                         Term
         531         1657329375                1                5                 0                         Term
         533         1657329745                1                5                 0                         Term
         534         1657330403                1                5                 0                         Term
         535         1657330925                1                5                 0                         Term
         536         1657331865                1                5                 0                         Term
         537         1657332260                1                5                 0                         Term
         538         1657332168                1                5                 0                         Term
         539         1657332931                1                5                 0                         Term
         540         1657333605                1                5                 0                         Term
         541         1657333892                1                5                 0                         Term
         542         1657335718                1                5                 0                         Term
         543         1657335942                1                5                 0                         Term
         544         1657336385                1                5                 0                         Term
         545         1657336949                1                5                 0                         Term
         546         1657338025                1                5                 0                         Term
         547         1657341595                1                5                 0                         Term
         548         1657345277                1                5                 0                         Term
         549         1657362144                1                5                 0                         Term
         552         1657365603                1                5                 0                         Term
         553         1657374964                1                5                 0                         Term
         554         1657376328                1                5                 0                         Term
         556         1657379459                1                5                 0                         Term
         557         1657382436                1                5                 0                         Term
         558         1657388370                1                5                 0                         Term
         559         1657406180                1                5                 0                         Term
         560         1657415274                1                5                 0                         Term
         561         1657415795                1                5                 0                         Term
         562         1657418876                1                5                 0                         Term
         563         1657426254                1                5                 0                         Term


                                                                                                                                 N-100
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 350 of 476 PageID #: 2988
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         526                    1              1903   1791367286             2                  1             1
         527                    1               724   1791375983             2                  1             1
         529                    1               800   1791385544             1                  1             3
         530                    1              1215   1791381403             2                  2             2
         531                    1              1903   1791389262             3                  1             2
         533                    1               360   1791393450             3                  1             1
         534                    1              1263   1791401426             3                  2             1
         535                    1               724   1791406705             3                  1             1
         536                    1              1366   1791413678             1                  1             2
         537                    1               750   1791410648             2                  1             1
         538                    1               712   1791417600             3                  2             3
         539                    1              1129   1791423391             1                  1             1
         540                    1              1903   1791417997             2                  1             2
         541                    1               800   1791431097             1                  2             3
         542                    1              1280   1791437149             2                  2             3
         543                    1               384   1791448760             1                  1             2
         544                    1               390   1791442189             3                  1             1
         545                    1               836   1791454952             2                  1             3
         546                    1               412   1791463118             2                  2             2
         547                    1               412   1791485937             2                  1             2
         548                    1               759   1791508946             3                  1             3
         549                    1              1903   1791596556             1                  1             1
         552                    1               414   1791633644             3                  1             2
         553                    1              1695   1791721245             2                  1             2
         554                    1              1349   1791733729             1                  1             2
         556                    1              1903   1791759922             2                  1             3
         557                    1               667   1791805035             3                  2             3
         558                    1               412   1791871513             2                  1             2
         559                    1               780   1792036494             1                  1             3
         560                    1               602   1792103079             3                  1             1
         561                    1              1423   1792107947             2                  1             2
         562                    1               390   1792125230             3                  1             2
         563                    1               384   1792171137             1                  1             3


                                                                                                                  N-101
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 351 of 476 PageID #: 2989
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         526                  2             1                  1             2                  1             2
         527                  1             3                  1             2                  1             1
         529                  1             2                  2             2                  2             2
         530                  2             2                  2             3                  2             2
         531                  1             2                  2             3                  2             1
         533                  1             2                  1             2                  1             3
         534                  1             3                  1             1                  2             2
         535                  1             1                  1             3                  1             2
         536                  1             1                  1             3                  1             3
         537                  1             1                  1             2                  1             2
         538                  2             1                  2             2                  1             1
         539                  1             2                  1             1                  2             2
         540                  1             2                  1             1                  1             1
         541                  1             3                  1             3                  1             3
         542                  1             3                  1             3                  2             1
         543                  1             3                  1             3                  1             2
         544                  1             1                  1             1                  1             2
         545                  1             1                  2             1                  1             2
         546                  1             2                  1             3                  1             2
         547                  1             3                  1             1                  1             1
         548                  1             1                  1             2                  1             2
         549                  1             1                  1             2                  1             1
         552                  1             3                  1             3                  2             3
         553                  1             1                  1             2                  2             3
         554                  1             2                  1             2                  1             3
         556                  1             3                  1             2                  1             3
         557                  1             2                  1             2                  2             1
         558                  1             3                  1             3                  1             3
         559                  1             3                  1             2                  2             2
         560                  1             3                  1             3                  1             1
         561                  1             1                  1             2                  1             1
         562                  1             2                  1             2                  1             3
         563                  1             2                  1             2                  1             2


                                                                                                                  N-102
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 352 of 476 PageID #: 2990
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         526                  2             3                  2             1                  1             3
         527                  1             3                  1             2                  1             1
         529                  1             3                  1             2                  2             3
         530                  2             3                  2             3                  1             2
         531                  1             1                  2             2                  1             3
         533                  1             1                  1             2                  1             1
         534                  1             2                  2             3                  1             2
         535                  1             2                  1             1                  1             2
         536                  1             2                  1             2                  1             2
         537                  2             2                  1             1                  1             2
         538                  2             3                  2             2                  2             2
         539                  1             2                  1             3                  1             1
         540                  1             2                  1             3                  1             3
         541                  1             1                  1             1                  1             1
         542                  1             1                  1             2                  1             3
         543                  1             2                  1             1                  1             1
         544                  1             3                  1             1                  1             2
         545                  2             3                  1             3                  1             3
         546                  2             2                  2             1                  2             2
         547                  1             3                  1             3                  1             2
         548                  1             3                  1             3                  1             2
         549                  2             2                  1             1                  2             2
         552                  1             3                  1             1                  1             1
         553                  2             3                  1             2                  1             3
         554                  1             2                  1             1                  1             3
         556                  1             3                  1             3                  1             3
         557                  1             3                  1             3                  1             2
         558                  1             1                  1             1                  1             2
         559                  1             3                  1             2                  1             1
         560                  1             3                  1             2                  1             3
         561                  1             1                  1             1                  1             3
         562                  1             3                  1             2                  1             1
         563                  1             3                  1             3                  1             1


                                                                                                                  N-103
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 353 of 476 PageID #: 2991
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         526                  1             1                  1              2                   2              2
         527                  1             2                  1              2                   1              1
         529                  2             1                  1              2                   1              1
         530                  1             2                  2              2                   2              2
         531                  1             2                  1              2                   1              1
         533                  1             3                  1              3                   1              3
         534                  1             1                  1              3                   2              3
         535                  1             2                  1              2                   1              3
         536                  1             2                  1              3                   1              2
         537                  2             2                  2              2                   2              3
         538                  2             2                  1              3                   1              3
         539                  1             1                  1              1                   1              2
         540                  1             2                  1              3                   1              1
         541                  1             1                  1              1                   1              3
         542                  1             1                  1              1                   1              1
         543                  1             1                  1              1                   1              3
         544                  1             1                  1              1                   1              3
         545                  2             1                  1              1                   1              3
         546                  1             2                  2              2                   1              2
         547                  1             2                  1              1                   1              3
         548                  1             3                  1              3                   1              1
         549                  1             2                  2              3                   1              2
         552                  2             1                  1              1                   1              1
         553                  1             2                  1              1                   1              1
         554                  2             3                  1              2                   1              2
         556                  1             1                  1              3                   1              3
         557                  2             2                  2              3                   1              2
         558                  1             1                  1              1                   1              2
         559                  1             3                  2              2                   1              2
         560                  1             1                  1              1                   1              3
         561                  1             1                  1              2                   1              1
         562                  1             2                  1              1                   1              3
         563                  1             3                  1              3                   1              1


                                                                                                                     N-104
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 354 of 476 PageID #: 2992
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         526                   2              2                   1                  226   CBC1_1651757381_6
         527                   1              3                   1                  227   CBC1_1651757381_6
         529                   1              1                   1                  229   CBC1_1651757381_6
         530                   1              3                   2                  230   CBC1_1651757381_6
         531                   1              3                   1                  231   CBC1_1651757381_6
         533                   1              3                   1                  233   CBC1_1651757381_6
         534                   2              2                   1                  234   CBC1_1651757381_6
         535                   1              3                   1                  235   CBC1_1651757381_6
         536                   1              2                   1                  236   CBC1_1651757381_6
         537                   1              2                   2                  237   CBC1_1651757381_6
         538                   2              1                   2                  238   CBC1_1651757381_6
         539                   1              2                   1                  239   CBC1_1651757381_6
         540                   1              1                   1                  240   CBC1_1651757381_6
         541                   1              2                   1                  241   CBC1_1651757381_6
         542                   2              3                   2                  242   CBC1_1651757381_6
         543                   1              3                   1                  243   CBC1_1651757381_6
         544                   1              1                   1                  244   CBC1_1651757381_6
         545                   2              2                   1                  245   CBC1_1651757381_6
         546                   2              1                   1                  246   CBC1_1651757381_6
         547                   1              1                   1                  247   CBC1_1651757381_6
         548                   1              2                   1                  248   CBC1_1651757381_6
         549                   1              1                   2                  249   CBC1_1651757381_6
         552                   1              1                   1                  252   CBC1_1651757381_6
         553                   1              2                   1                  253   CBC1_1651757381_6
         554                   1              3                   1                  254   CBC1_1651757381_6
         556                   1              2                   1                  256   CBC1_1651757381_6
         557                   1              1                   2                  257   CBC1_1651757381_6
         558                   1              1                   1                  258   CBC1_1651757381_6
         559                   2              3                   1                  259   CBC1_1651757381_6
         560                   1              3                   1                  260   CBC1_1651757381_6
         561                   1              2                   1                  261   CBC1_1651757381_6
         562                   1              3                   1                  262   CBC1_1651757381_6
         563                   1              1                   1                  263   CBC1_1651757381_6


                                                                                                                   N-105
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 355 of 476 PageID #: 2993
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         564   10 Jul 2022 - 01:50:43 EDT     10 Jul 2022 - 01:55:09 EDT                266                265           1657432243
         565   10 Jul 2022 - 07:00:03 EDT     10 Jul 2022 - 07:03:09 EDT                186                185           1657450803
         566   10 Jul 2022 - 07:27:50 EDT     10 Jul 2022 - 07:36:38 EDT                528                528           1657452470
         567   10 Jul 2022 - 11:07:16 EDT     10 Jul 2022 - 11:12:12 EDT                296                296           1657465636
         568   10 Jul 2022 - 11:35:59 EDT     10 Jul 2022 - 11:39:44 EDT                225                224           1657467359
         569   10 Jul 2022 - 14:19:13 EDT     10 Jul 2022 - 14:24:17 EDT                304                303           1657477153
         570   10 Jul 2022 - 14:40:08 EDT     10 Jul 2022 - 14:42:53 EDT                165                163           1657478408
         571   10 Jul 2022 - 14:40:52 EDT     10 Jul 2022 - 14:47:04 EDT                372                371           1657478452
         572   10 Jul 2022 - 15:33:53 EDT     10 Jul 2022 - 15:41:35 EDT                462                460           1657481633
         573   10 Jul 2022 - 15:48:47 EDT     10 Jul 2022 - 15:56:08 EDT                441                439           1657482527
         574   10 Jul 2022 - 16:08:15 EDT     10 Jul 2022 - 16:20:36 EDT                741                741           1657483695
         575   10 Jul 2022 - 16:24:34 EDT     10 Jul 2022 - 16:29:09 EDT                275                275           1657484674
         576   10 Jul 2022 - 16:29:12 EDT     10 Jul 2022 - 16:33:24 EDT                252                252           1657484952
         577   10 Jul 2022 - 18:57:46 EDT     10 Jul 2022 - 18:59:48 EDT                122                119           1657493866
         578   10 Jul 2022 - 18:58:55 EDT     10 Jul 2022 - 19:02:58 EDT                243                242           1657493935
         579   10 Jul 2022 - 19:23:51 EDT     10 Jul 2022 - 19:25:18 EDT                 87                 87           1657495431
         580   10 Jul 2022 - 19:32:21 EDT     10 Jul 2022 - 19:42:20 EDT                599                599           1657495941
         581   10 Jul 2022 - 21:11:31 EDT     10 Jul 2022 - 21:33:21 EDT               1310               1309           1657501891
         582   10 Jul 2022 - 21:37:03 EDT     10 Jul 2022 - 21:40:04 EDT                181                180           1657503423
         583   10 Jul 2022 - 22:44:58 EDT     10 Jul 2022 - 22:48:20 EDT                202                200           1657507498
         584   10 Jul 2022 - 23:32:58 EDT     10 Jul 2022 - 23:39:13 EDT                375                375           1657510378
         585   11 Jul 2022 - 00:22:20 EDT     11 Jul 2022 - 00:23:46 EDT                 86                 85           1657513340
         586   11 Jul 2022 - 04:36:39 EDT     11 Jul 2022 - 04:40:30 EDT                231                231           1657528599
         587   11 Jul 2022 - 11:58:42 EDT     11 Jul 2022 - 12:01:08 EDT                146                145           1657555122
         588   11 Jul 2022 - 12:06:04 EDT     11 Jul 2022 - 12:12:54 EDT                410                408           1657555564
         589   11 Jul 2022 - 12:10:26 EDT     11 Jul 2022 - 12:20:08 EDT                582                582           1657555826
         590   11 Jul 2022 - 12:18:20 EDT     11 Jul 2022 - 12:20:59 EDT                159                158           1657556300
         591   11 Jul 2022 - 12:18:30 EDT     11 Jul 2022 - 12:19:50 EDT                 80                 79           1657556310
         592   11 Jul 2022 - 12:33:19 EDT     11 Jul 2022 - 12:38:45 EDT                326                326           1657557199
         593   11 Jul 2022 - 13:03:39 EDT     11 Jul 2022 - 13:08:50 EDT                311                309           1657559019
         594   11 Jul 2022 - 13:11:44 EDT     11 Jul 2022 - 13:18:42 EDT                418                417           1657559504
         595   11 Jul 2022 - 13:14:49 EDT     11 Jul 2022 - 13:17:05 EDT                136                133           1657559689
         596   11 Jul 2022 - 13:19:06 EDT     11 Jul 2022 - 13:33:15 EDT                849                846           1657559946


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 356 of 476 PageID #: 2994
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         564         1657432509                1                5                 0                         Term
         565         1657450989                1                5                 0                         Term
         566         1657452998                1                5                 0                         Term
         567         1657465932                1                5                 0                         Term
         568         1657467584                1                5                 0                         Term
         569         1657477457                1                5                 0                         Term
         570         1657478573                1                5                 0                         Term
         571         1657478824                1                5                 0                         Term
         572         1657482095                1                5                 0                         Term
         573         1657482968                1                5                 0                         Term
         574         1657484436                1                5                 0                         Term
         575         1657484949                1                5                 0                         Term
         576         1657485204                1                5                 0                         Term
         577         1657493988                1                5                 0                         Term
         578         1657494178                1                5                 0                         Term
         579         1657495518                1                5                 0                         Term
         580         1657496540                1                5                 0                         Term
         581         1657503201                1                5                 0                         Term
         582         1657503604                1                5                 0                         Term
         583         1657507700                1                5                 0                         Term
         584         1657510753                1                5                 0                         Term
         585         1657513426                1                5                 0                         Term
         586         1657528830                1                5                 0                         Term
         587         1657555268                1                5                 0                         Term
         588         1657555974                1                5                 0                         Term
         589         1657556408                1                5                 0                         Term
         590         1657556459                1                5                 0                         Term
         591         1657556390                1                5                 0                         Term
         592         1657557525                1                5                 0                         Term
         593         1657559330                1                5                 0                         Term
         594         1657559922                1                5                 0                         Term
         595         1657559825                1                5                 0                         Term
         596         1657560795                1                5                 0                         Term


                                                                                                                                 N-107
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 357 of 476 PageID #: 2995
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         564                    1              1349   1792199446             2                  1             3
         565                    1              1010   1792287507             3                  1             3
         566                    1               667   1792296106             2                  1             2
         567                    1              1128   1792409254             1                  1             2
         568                    1              1903   1792426102             3                  1             2
         569                    1               375   1792525500             1                  1             3
         570                    1               830   1792537885             3                  1             3
         571                    1               716   1792537715             1                  1             1
         572                    1               428   1792567303             1                  1             1
         573                    1               320   1792575461             2                  1             3
         574                    1              1423   1792581413             2                  1             1
         575                    1              1177   1792582340             3                  1             2
         576                    1              1440   1792597384             2                  1             3
         577                    1              1263   1792672547             2                  2             1
         578                    1               722   1792672765             3                  1             1
         579                    1              1519   1792676336             2                  1             2
         580                    1              1217   1792686733             1                  1             3
         581                    1               570   1792722089             1                  1             2
         582                    1              1263   1792739338             3                  1             1
         583                    1               414   1792767165             2                  1             2
         584                    1              1440   1792782964             2                  1             1
         585                    1              1583   1792800143             1                  1             2
         586                    1               360   1792881244             2                  1             3
         587                    1               870   1793188686             3                  1             1
         588                    1              1660   1793194295             2                  1             1
         589                    1               390   1793188227             1                  1             3
         590                    1              1366   1793190488             2                  2             2
         591                    1              1519   1793196038             2                  1             3
         592                    1               412   1793225418             3                  1             2
         593                    1               384   1793253601             3                  1             1
         594                    1               414   1793258626             3                  1             2
         595                    1              1519   1793265852             2                  1             3
         596                    1               428   1793263708             3                  1             1


                                                                                                                  N-108
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 358 of 476 PageID #: 2996
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         564                  1             1                  1             3                  2             3
         565                  2             3                  1             2                  1             3
         566                  1             3                  1             3                  1             2
         567                  1             3                  1             2                  1             3
         568                  1             1                  2             1                  1             1
         569                  1             2                  1             3                  1             3
         570                  1             3                  1             2                  2             2
         571                  1             2                  1             2                  1             2
         572                  1             2                  1             1                  1             3
         573                  1             1                  1             3                  1             1
         574                  1             1                  1             3                  1             2
         575                  1             3                  1             1                  1             3
         576                  1             2                  2             1                  2             1
         577                  2             3                  2             3                  2             2
         578                  1             3                  1             2                  1             2
         579                  1             2                  1             3                  1             1
         580                  1             2                  1             1                  1             2
         581                  1             1                  1             1                  1             3
         582                  1             3                  2             1                  1             2
         583                  1             2                  1             2                  1             3
         584                  1             2                  1             2                  1             1
         585                  1             1                  1             2                  1             1
         586                  1             2                  1             2                  1             3
         587                  1             2                  1             1                  1             1
         588                  1             2                  1             2                  2             1
         589                  1             1                  1             2                  1             3
         590                  2             3                  2             2                  2             1
         591                  1             3                  1             2                  1             3
         592                  1             2                  1             2                  1             3
         593                  1             3                  1             1                  1             1
         594                  1             2                  1             3                  1             1
         595                  2             2                  1             2                  1             3
         596                  1             3                  1             2                  1             3


                                                                                                                  N-109
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 359 of 476 PageID #: 2997
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         564                  1             3                  1             2                  1             2
         565                  1             2                  1             3                  1             2
         566                  1             3                  1             3                  1             1
         567                  1             1                  1             3                  1             2
         568                  1             2                  1             2                  1             2
         569                  1             1                  1             1                  1             2
         570                  2             3                  1             3                  1             3
         571                  1             2                  1             3                  1             1
         572                  1             2                  1             1                  1             2
         573                  1             2                  1             1                  1             2
         574                  2             3                  1             2                  2             3
         575                  1             1                  1             1                  1             2
         576                  2             1                  1             2                  1             3
         577                  2             2                  2             3                  2             3
         578                  2             2                  1             3                  2             3
         579                  2             3                  1             1                  1             1
         580                  1             1                  1             1                  1             3
         581                  1             1                  1             1                  2             3
         582                  2             3                  1             3                  2             1
         583                  1             2                  1             1                  1             3
         584                  1             3                  1             1                  1             1
         585                  1             3                  1             1                  1             1
         586                  1             1                  1             3                  1             1
         587                  1             1                  1             1                  1             2
         588                  1             1                  1             1                  2             2
         589                  1             1                  1             3                  1             1
         590                  2             3                  2             3                  1             3
         591                  1             1                  2             2                  2             3
         592                  1             3                  1             3                  1             1
         593                  1             1                  1             3                  1             3
         594                  1             3                  1             1                  1             1
         595                  1             3                  1             2                  1             1
         596                  1             2                  1             2                  1             3


                                                                                                                  N-110
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 360 of 476 PageID #: 2998
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         564                  2             1                  2              2                   2              1
         565                  2             1                  2              1                   1              2
         566                  1             2                  1              1                   1              2
         567                  1             3                  1              1                   1              2
         568                  1             2                  1              1                   1              1
         569                  1             3                  1              1                   2              1
         570                  2             3                  2              3                   2              3
         571                  1             2                  1              3                   1              2
         572                  1             3                  1              1                   1              3
         573                  1             3                  1              3                   1              3
         574                  1             1                  1              1                   1              3
         575                  1             1                  1              1                   1              1
         576                  2             3                  2              1                   2              3
         577                  2             2                  2              3                   2              1
         578                  2             2                  2              1                   2              2
         579                  1             3                  1              1                   1              2
         580                  1             3                  1              1                   1              1
         581                  2             2                  1              2                   1              2
         582                  1             3                  1              2                   2              1
         583                  1             3                  1              1                   1              1
         584                  1             1                  1              2                   1              1
         585                  1             2                  1              3                   1              3
         586                  1             3                  1              2                   1              3
         587                  1             2                  1              1                   1              2
         588                  1             3                  1              3                   2              2
         589                  1             1                  1              3                   2              2
         590                  2             3                  2              3                   2              2
         591                  1             3                  1              2                   1              2
         592                  1             1                  1              1                   1              2
         593                  1             3                  1              1                   1              3
         594                  1             3                  1              1                   1              1
         595                  1             1                  1              1                   1              1
         596                  1             1                  1              3                   1              3


                                                                                                                     N-111
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 361 of 476 PageID #: 2999
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         564                   1              1                   2                  264   CBC1_1651757381_6
         565                   1              2                   2                  265   CBC1_1651757381_6
         566                   1              2                   1                  266   CBC1_1651757381_6
         567                   1              2                   1                  267   CBC1_1651757381_6
         568                   1              1                   2                  268   CBC1_1651757381_6
         569                   1              3                   2                  269   CBC1_1651757381_6
         570                   2              3                   2                  270   CBC1_1651757381_6
         571                   1              3                   1                  271   CBC1_1651757381_6
         572                   1              3                   1                  272   CBC1_1651757381_6
         573                   1              2                   1                  273   CBC1_1651757381_6
         574                   2              3                   1                  274   CBC1_1651757381_6
         575                   1              2                   1                  275   CBC1_1651757381_6
         576                   1              1                   2                  276   CBC1_1651757381_6
         577                   2              3                   2                  277   CBC1_1651757381_6
         578                   2              2                   1                  278   CBC1_1651757381_6
         579                   2              2                   1                  279   CBC1_1651757381_6
         580                   1              3                   1                  280   CBC1_1651757381_6
         581                   2              1                   1                  281   CBC1_1651757381_6
         582                   2              1                   2                  282   CBC1_1651757381_6
         583                   1              3                   1                  283   CBC1_1651757381_6
         584                   1              2                   1                  284   CBC1_1651757381_6
         585                   1              2                   1                  285   CBC1_1651757381_6
         586                   1              1                   1                  286   CBC1_1651757381_6
         587                   1              3                   1                  287   CBC1_1651757381_6
         588                   1              2                   1                  288   CBC1_1651757381_6
         589                   1              3                   2                  289   CBC1_1651757381_6
         590                   2              3                   2                  290   CBC1_1651757381_6
         591                   1              1                   1                  291   CBC1_1651757381_6
         592                   1              3                   1                  292   CBC1_1651757381_6
         593                   1              3                   1                  293   CBC1_1651757381_6
         594                   1              2                   1                  294   CBC1_1651757381_6
         595                   2              3                   1                  295   CBC1_1651757381_6
         596                   1              1                   1                  296   CBC1_1651757381_6


                                                                                                                   N-112
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 362 of 476 PageID #: 3000
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         597   11 Jul 2022 - 13:31:58 EDT     11 Jul 2022 - 13:37:15 EDT                317                314           1657560718
         598   11 Jul 2022 - 13:34:06 EDT     11 Jul 2022 - 13:43:32 EDT                566                566           1657560846
         599   11 Jul 2022 - 13:39:11 EDT     11 Jul 2022 - 13:44:57 EDT                346                346           1657561151
         600   11 Jul 2022 - 13:40:12 EDT     11 Jul 2022 - 13:49:23 EDT                551                548           1657561212
         601   11 Jul 2022 - 13:40:24 EDT     11 Jul 2022 - 13:42:59 EDT                155                155           1657561224
         602   11 Jul 2022 - 13:41:02 EDT     11 Jul 2022 - 13:46:04 EDT                302                301           1657561262
         603   11 Jul 2022 - 13:54:26 EDT     11 Jul 2022 - 13:59:26 EDT                300                299           1657562066
         604   11 Jul 2022 - 13:56:51 EDT     11 Jul 2022 - 14:15:51 EDT               1140               1139           1657562211
         605   11 Jul 2022 - 14:01:55 EDT     11 Jul 2022 - 14:06:28 EDT                273                271           1657562515
         606   11 Jul 2022 - 14:03:08 EDT     11 Jul 2022 - 14:05:20 EDT                132                130           1657562588
         607   11 Jul 2022 - 14:03:56 EDT     11 Jul 2022 - 14:07:36 EDT                220                219           1657562636
         608   11 Jul 2022 - 14:06:45 EDT     11 Jul 2022 - 14:09:28 EDT                163                162           1657562805
         609   11 Jul 2022 - 14:14:12 EDT     11 Jul 2022 - 14:20:20 EDT                368                368           1657563252
         610   11 Jul 2022 - 14:14:40 EDT     11 Jul 2022 - 14:18:15 EDT                215                213           1657563280
         611   11 Jul 2022 - 14:17:43 EDT     11 Jul 2022 - 14:29:47 EDT                724                723           1657563463
         613   11 Jul 2022 - 14:33:58 EDT     11 Jul 2022 - 14:37:19 EDT                201                201           1657564438
         614   11 Jul 2022 - 14:40:05 EDT     11 Jul 2022 - 14:42:09 EDT                124                123           1657564805
         615   11 Jul 2022 - 14:40:18 EDT     11 Jul 2022 - 14:42:48 EDT                150                146           1657564818
         616   11 Jul 2022 - 14:41:48 EDT     11 Jul 2022 - 14:47:14 EDT                326                323           1657564908
         617   11 Jul 2022 - 14:54:34 EDT     11 Jul 2022 - 14:57:50 EDT                196                195           1657565674
         618   11 Jul 2022 - 14:57:10 EDT     11 Jul 2022 - 15:00:41 EDT                211                207           1657565830
         619   11 Jul 2022 - 15:09:14 EDT     11 Jul 2022 - 15:15:14 EDT                360                360           1657566554
         620   11 Jul 2022 - 15:10:02 EDT     11 Jul 2022 - 15:11:55 EDT                113                113           1657566602
         621   11 Jul 2022 - 15:12:33 EDT     11 Jul 2022 - 15:18:12 EDT                339                336           1657566753
         622   11 Jul 2022 - 15:20:15 EDT     11 Jul 2022 - 15:25:36 EDT                321                321           1657567215
         623   11 Jul 2022 - 15:21:00 EDT     11 Jul 2022 - 15:43:14 EDT               1334               1334           1657567260
         624   11 Jul 2022 - 15:23:23 EDT     11 Jul 2022 - 15:24:59 EDT                 96                 96           1657567403
         625   11 Jul 2022 - 15:52:41 EDT     11 Jul 2022 - 15:57:04 EDT                263                262           1657569161
         626   11 Jul 2022 - 16:09:06 EDT     11 Jul 2022 - 16:11:29 EDT                143                140           1657570146
         627   11 Jul 2022 - 16:14:39 EDT     11 Jul 2022 - 16:21:31 EDT                412                411           1657570479
         628   11 Jul 2022 - 16:48:07 EDT     11 Jul 2022 - 16:54:23 EDT                376                373           1657572487
         629   11 Jul 2022 - 17:26:28 EDT     11 Jul 2022 - 17:29:46 EDT                198                195           1657574788
         630   11 Jul 2022 - 17:26:54 EDT     11 Jul 2022 - 17:32:46 EDT                352                350           1657574814


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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         597         1657561035                1                5                 0                         Term
         598         1657561412                1                5                 0                         Term
         599         1657561497                1                5                 0                         Term
         600         1657561763                1                5                 0                         Term
         601         1657561379                1                5                 0                         Term
         602         1657561564                1                5                 0                         Term
         603         1657562366                1                5                 0                         Term
         604         1657563351                1                5                 0                         Term
         605         1657562788                1                5                 0                         Term
         606         1657562720                1                5                 0                         Term
         607         1657562856                1                5                 0                         Term
         608         1657562968                1                5                 0                         Term
         609         1657563620                1                5                 0                         Term
         610         1657563495                1                5                 0                         Term
         611         1657564187                1                5                 0                         Term
         613         1657564639                1                5                 0                         Term
         614         1657564929                1                5                 0                         Term
         615         1657564968                1                5                 0                         Term
         616         1657565234                1                5                 0                         Term
         617         1657565870                1                5                 0                         Term
         618         1657566041                1                5                 0                         Term
         619         1657566914                1                5                 0                         Term
         620         1657566715                1                5                 0                         Term
         621         1657567092                1                5                 0                         Term
         622         1657567536                1                5                 0                         Term
         623         1657568594                1                5                 0                         Term
         624         1657567499                1                5                 0                         Term
         625         1657569424                1                5                 0                         Term
         626         1657570289                1                5                 0                         Term
         627         1657570891                1                5                 0                         Term
         628         1657572863                1                5                 0                         Term
         629         1657574986                1                5                 0                         Term
         630         1657575166                1                5                 0                         Term


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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         597                    1               375   1793281726              3                  1             2
         598                    1               977   dFjfWsSL                3                  1             3
         599                    1              1723   1793283920              3                  1             2
         600                    1              1903   1793282510              2                  1             2
         601                    1              1080   1793287737              3                  1             3
         602                    1              1903   1793290084              2                  1             2
         603                    1               384   1793293582              1                  1             3
         604                    1              1349   1793286214              2                  1             3
         605                    1              1118   1793309274              1                  1             2
         606                    1               375   1793310691              3                  2             2
         607                    1              1519   1793310628              3                  2             3
         608                    1               820   1793312583              1                  1             2
         609                    1              1366   1793318252              3                  1             2
         610                    1               863   1793317112              3                  1             1
         611                    1               375   1793317449              2                  1             3
         613                    1              1200   1793337901              3                  2             2
         614                    1               390   1793344404              2                  1             3
         615                    1              1903   1793345230              3                  1             3
         616                    1              1440   1793343828              3                  1             3
         617                    1              1903   1793356759              3                  1             2
         618                    1               390   1793359231              3                  1             3
         619                    1               360   1793368414              3                  2             3
         620                    1              1263   1793372071              2                  1             1
         621                    1              1159   1793371602              3                  2             3
         622                    1              1200   1793383429              2                  1             2
         623                    1              1249   1793377443              2                  1             2
         624                    1              1349   1793385029              3                  1             1
         625                    1              1307   1793411919              1                  1             2
         626                    1              1903   1793426303              1                  1             2
         627                    1              1263   1793426658              3                  1             1
         628                    1              1263   1793445472              2                  1             1
         629                    1              1519   1793491061              3                  1             1
         630                    1               375   1793491242              3                  1             1


                                                                                                                   N-115
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 365 of 476 PageID #: 3003
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         597                  2             1                  2             1                  2             3
         598                  2             2                  1             1                  1             3
         599                  1             1                  1             3                  1             2
         600                  1             3                  1             1                  1             2
         601                  1             1                  1             1                  1             2
         602                  1             1                  1             2                  1             2
         603                  1             3                  2             2                  2             2
         604                  1             1                  1             1                  1             1
         605                  1             2                  1             1                  1             2
         606                  2             3                  1             2                  1             3
         607                  1             2                  1             3                  1             2
         608                  1             2                  1             2                  1             3
         609                  1             3                  1             3                  2             1
         610                  2             1                  1             2                  2             2
         611                  1             2                  1             2                  1             2
         613                  1             3                  1             3                  2             3
         614                  1             3                  1             3                  1             2
         615                  1             3                  1             1                  1             3
         616                  1             1                  1             3                  1             3
         617                  1             2                  1             1                  1             1
         618                  1             2                  1             1                  1             3
         619                  2             2                  2             2                  1             3
         620                  1             3                  1             2                  1             3
         621                  2             1                  2             3                  2             3
         622                  1             3                  2             3                  2             2
         623                  1             3                  1             1                  1             3
         624                  1             3                  1             2                  1             3
         625                  1             1                  1             3                  1             3
         626                  1             1                  1             2                  1             3
         627                  1             1                  1             3                  1             3
         628                  2             1                  2             2                  2             1
         629                  1             1                  1             1                  2             1
         630                  1             1                  1             3                  1             2


                                                                                                                  N-116
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 366 of 476 PageID #: 3004
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         597                  1             2                  2             3                  2             3
         598                  2             2                  1             1                  1             2
         599                  1             1                  1             2                  1             1
         600                  1             2                  1             2                  1             1
         601                  1             3                  1             3                  1             2
         602                  2             1                  1             2                  1             2
         603                  2             1                  1             2                  2             3
         604                  1             2                  1             3                  1             2
         605                  1             2                  1             2                  1             3
         606                  2             3                  2             2                  2             2
         607                  1             1                  1             1                  1             2
         608                  1             2                  1             2                  1             1
         609                  1             2                  2             3                  1             2
         610                  2             2                  2             3                  1             3
         611                  1             1                  1             3                  1             2
         613                  1             3                  1             3                  2             1
         614                  1             3                  2             3                  1             3
         615                  1             2                  1             2                  1             2
         616                  1             1                  1             1                  1             2
         617                  1             3                  1             1                  1             2
         618                  1             2                  1             3                  1             1
         619                  2             3                  1             2                  2             1
         620                  1             2                  1             3                  1             3
         621                  2             2                  2             3                  2             2
         622                  2             1                  1             2                  1             2
         623                  1             3                  1             1                  1             2
         624                  1             1                  1             3                  1             3
         625                  1             1                  1             1                  1             2
         626                  1             1                  2             1                  1             1
         627                  1             2                  1             3                  1             1
         628                  1             2                  2             2                  1             2
         629                  1             3                  1             1                  1             1
         630                  1             1                  1             1                  1             3


                                                                                                                  N-117
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 367 of 476 PageID #: 3005
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         597                  1             3                  2              1                   1              1
         598                  1             3                  2              3                   2              1
         599                  1             1                  1              3                   1              3
         600                  1             2                  1              2                   1              2
         601                  1             3                  1              3                   1              3
         602                  1             3                  1              2                   1              3
         603                  1             1                  1              1                   1              2
         604                  1             3                  1              3                   1              3
         605                  1             2                  1              2                   1              2
         606                  2             2                  2              3                   2              3
         607                  1             2                  1              1                   1              2
         608                  1             3                  1              3                   1              3
         609                  1             2                  1              1                   1              1
         610                  1             2                  2              1                   2              1
         611                  1             1                  1              3                   2              2
         613                  1             2                  1              2                   2              3
         614                  1             2                  1              2                   1              2
         615                  1             3                  1              2                   1              2
         616                  1             2                  1              2                   1              3
         617                  1             1                  1              1                   1              3
         618                  1             1                  1              2                   1              2
         619                  2             2                  1              3                   2              1
         620                  1             3                  1              3                   1              3
         621                  2             2                  2              3                   2              3
         622                  2             1                  1              1                   1              1
         623                  1             1                  1              1                   2              3
         624                  1             2                  1              2                   1              2
         625                  1             3                  1              3                   1              1
         626                  2             1                  1              1                   1              3
         627                  1             3                  1              1                   1              1
         628                  2             2                  2              2                   2              2
         629                  1             3                  1              1                   1              2
         630                  1             3                  1              3                   1              1


                                                                                                                     N-118
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 368 of 476 PageID #: 3006
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         597                   1              2                   2                  297   CBC1_1651757381_6
         598                   2              3                   1                  298   CBC1_1651757381_6
         599                   1              3                   1                  299   CBC1_1651757381_6
         600                   1              1                   1                  300   CBC1_1651757381_6
         601                   1              2                   1                    1   CBC1_1651757381_6
         602                   1              2                   1                    2   CBC1_1651757381_6
         603                   2              3                   2                    3   CBC1_1651757381_6
         604                   1              1                   1                    4   CBC1_1651757381_6
         605                   1              1                   1                    5   CBC1_1651757381_6
         606                   1              3                   2                    6   CBC1_1651757381_6
         607                   2              1                   1                    7   CBC1_1651757381_6
         608                   1              3                   1                    8   CBC1_1651757381_6
         609                   1              2                   1                    9   CBC1_1651757381_6
         610                   1              1                   1                   10   CBC1_1651757381_6
         611                   1              2                   1                   11   CBC1_1651757381_6
         613                   1              3                   1                   13   CBC1_1651757381_6
         614                   2              2                   1                   14   CBC1_1651757381_6
         615                   2              2                   1                   15   CBC1_1651757381_6
         616                   1              3                   1                   16   CBC1_1651757381_6
         617                   1              3                   1                   17   CBC1_1651757381_6
         618                   1              2                   1                   18   CBC1_1651757381_6
         619                   1              2                   1                   19   CBC1_1651757381_6
         620                   1              1                   1                   20   CBC1_1651757381_6
         621                   2              2                   2                   21   CBC1_1651757381_6
         622                   1              2                   1                   22   CBC1_1651757381_6
         623                   1              3                   1                   23   CBC1_1651757381_6
         624                   1              3                   1                   24   CBC1_1651757381_6
         625                   1              3                   1                   25   CBC1_1651757381_6
         626                   1              2                   1                   26   CBC1_1651757381_6
         627                   1              3                   1                   27   CBC1_1651757381_6
         628                   2              2                   2                   28   CBC1_1651757381_6
         629                   2              2                   1                   29   CBC1_1651757381_6
         630                   1              3                   1                   30   CBC1_1651757381_6


                                                                                                                   N-119
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 369 of 476 PageID #: 3007
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         631   11 Jul 2022 - 17:29:00 EDT     11 Jul 2022 - 17:31:34 EDT                154                153           1657574940
         632   11 Jul 2022 - 17:33:23 EDT     11 Jul 2022 - 17:39:09 EDT                346                344           1657575203
         633   11 Jul 2022 - 17:33:59 EDT     11 Jul 2022 - 17:41:26 EDT                447                446           1657575239
         634   11 Jul 2022 - 17:35:08 EDT     11 Jul 2022 - 17:43:43 EDT                515                515           1657575308
         635   11 Jul 2022 - 17:36:53 EDT     11 Jul 2022 - 17:41:28 EDT                275                274           1657575413
         636   11 Jul 2022 - 17:42:20 EDT     11 Jul 2022 - 17:46:10 EDT                230                229           1657575740
         637   11 Jul 2022 - 17:42:42 EDT     11 Jul 2022 - 17:47:02 EDT                260                260           1657575762
         638   11 Jul 2022 - 17:52:11 EDT     11 Jul 2022 - 17:59:30 EDT                439                439           1657576331
         639   11 Jul 2022 - 17:58:51 EDT     11 Jul 2022 - 18:01:15 EDT                144                141           1657576731
         640   11 Jul 2022 - 18:01:59 EDT     11 Jul 2022 - 18:19:28 EDT               1049               1049           1657576919
         641   11 Jul 2022 - 18:06:18 EDT     11 Jul 2022 - 18:11:52 EDT                334                333           1657577178
         642   11 Jul 2022 - 18:11:30 EDT     11 Jul 2022 - 18:22:07 EDT                637                636           1657577490
         643   11 Jul 2022 - 18:16:51 EDT     11 Jul 2022 - 18:20:09 EDT                198                195           1657577811
         644   11 Jul 2022 - 18:18:02 EDT     11 Jul 2022 - 18:22:09 EDT                247                244           1657577882
         645   11 Jul 2022 - 18:27:55 EDT     11 Jul 2022 - 18:36:38 EDT                523                523           1657578475
         646   11 Jul 2022 - 18:48:10 EDT     11 Jul 2022 - 18:57:34 EDT                564                564           1657579690
         647   11 Jul 2022 - 19:10:00 EDT     11 Jul 2022 - 19:11:01 EDT                 61                 60           1657581000
         648   11 Jul 2022 - 19:13:16 EDT     11 Jul 2022 - 19:15:42 EDT                146                144           1657581196
         649   11 Jul 2022 - 19:14:41 EDT     11 Jul 2022 - 19:30:14 EDT                933                930           1657581281
         651   11 Jul 2022 - 19:26:19 EDT     11 Jul 2022 - 19:34:04 EDT                465                465           1657581979
         652   11 Jul 2022 - 19:43:44 EDT     11 Jul 2022 - 19:45:48 EDT                124                124           1657583024
         653   11 Jul 2022 - 19:46:26 EDT     11 Jul 2022 - 20:01:57 EDT                931                931           1657583186
         654   11 Jul 2022 - 19:49:16 EDT     11 Jul 2022 - 19:55:07 EDT                351                350           1657583356
         655   11 Jul 2022 - 19:51:04 EDT     11 Jul 2022 - 19:55:02 EDT                238                237           1657583464
         656   11 Jul 2022 - 19:52:36 EDT     11 Jul 2022 - 19:59:39 EDT                423                421           1657583556
         657   11 Jul 2022 - 19:52:50 EDT     11 Jul 2022 - 19:58:45 EDT                355                353           1657583570
         658   11 Jul 2022 - 20:19:12 EDT     11 Jul 2022 - 20:26:01 EDT                409                408           1657585152
         659   11 Jul 2022 - 20:19:42 EDT     11 Jul 2022 - 20:23:35 EDT                233                233           1657585182
         660   11 Jul 2022 - 20:20:36 EDT     11 Jul 2022 - 20:23:14 EDT                158                156           1657585236
         661   11 Jul 2022 - 20:21:34 EDT     11 Jul 2022 - 20:29:55 EDT                501                499           1657585294
         662   11 Jul 2022 - 20:30:50 EDT     11 Jul 2022 - 20:35:01 EDT                251                250           1657585850
         663   11 Jul 2022 - 20:50:36 EDT     11 Jul 2022 - 20:55:51 EDT                315                315           1657587036
         664   11 Jul 2022 - 21:32:31 EDT     11 Jul 2022 - 21:38:16 EDT                345                343           1657589551


                                                                                                                                      N-120
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 370 of 476 PageID #: 3008
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         631         1657575094                1                5                 0                         Term
         632         1657575549                1                5                 0                         Term
         633         1657575686                1                5                 0                         Term
         634         1657575823                1                5                 0                         Term
         635         1657575688                1                5                 0                         Term
         636         1657575970                1                5                 0                         Term
         637         1657576022                1                5                 0                         Term
         638         1657576770                1                5                 0                         Term
         639         1657576875                1                5                 0                         Term
         640         1657577968                1                5                 0                         Term
         641         1657577512                1                5                 0                         Term
         642         1657578127                1                5                 0                         Term
         643         1657578009                1                5                 0                         Term
         644         1657578129                1                5                 0                         Term
         645         1657578998                1                5                 0                         Term
         646         1657580254                1                5                 0                         Term
         647         1657581061                1                5                 0                         Term
         648         1657581342                1                5                 0                         Term
         649         1657582214                1                5                 0                         Term
         651         1657582444                1                5                 0                         Term
         652         1657583148                1                5                 0                         Term
         653         1657584117                1                5                 0                         Term
         654         1657583707                1                5                 0                         Term
         655         1657583702                1                5                 0                         Term
         656         1657583979                1                5                 0                         Term
         657         1657583925                1                5                 0                         Term
         658         1657585561                1                5                 0                         Term
         659         1657585415                1                5                 0                         Term
         660         1657585394                1                5                 0                         Term
         661         1657585795                1                5                 0                         Term
         662         1657586101                1                5                 0                         Term
         663         1657587351                1                5                 0                         Term
         664         1657589896                1                5                 0                         Term


                                                                                                                                 N-121
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 371 of 476 PageID #: 3009
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         631                    1              1379   1793492325             2                  1             1
         632                    1               414   1793497056             3                  1             3
         633                    1               390   1793492166             1                  1             1
         634                    1               360   1793492932             1                  1             2
         635                    1              1519   1793495031             2                  1             3
         636                    1               414   1793502184             3                  1             1
         637                    1              1482   1793503470             1                  1             3
         638                    1               384   1793503868             2                  1             2
         639                    1               713   1793517647             1                  1             3
         640                    1              1357   1793504932             2                  1             1
         641                    1               980   1793519369             1                  1             3
         642                    1               527   1793516768             2                  1             1
         643                    1              1349   1793530662             2                  1             3
         644                    1              2560   1793527940             2                  1             2
         645                    1               750   1793536974             1                  2             1
         646                    1              1903   1793548221             2                  1             2
         647                    1              1263   1793567882             1                  1             1
         648                    1               390   1793570456             3                  1             2
         649                    1              1440   1793570532             3                  1             3
         651                    1               360   1793576941             3                  1             2
         652                    1              1140   1793579027             3                  1             3
         653                    1               768   1793589469             3                  1             2
         654                    1              1440   1793591188             2                  1             3
         655                    1              1440   1793595768             3                  1             1
         656                    1               414   1793596012             2                  1             1
         657                    1               750   1793592627             3                  1             3
         658                    1               393   1793611531             3                  1             1
         659                    1               428   1793611838             1                  2             2
         660                    1              1324   1793612762             3                  2             1
         661                    1              1080   1793609713             3                  2             3
         662                    1               360   1793621323             2                  1             3
         663                    1               384   1793630044             1                  1             3
         664                    1               320   1793655795             3                  1             3


                                                                                                                  N-122
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 372 of 476 PageID #: 3010
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         631                  1             2                  1             1                  1             3
         632                  2             3                  1             1                  1             2
         633                  1             3                  1             2                  1             3
         634                  1             1                  1             3                  2             2
         635                  1             1                  1             1                  1             3
         636                  1             1                  1             1                  1             3
         637                  1             1                  1             2                  1             3
         638                  1             3                  1             3                  2             3
         639                  1             2                  1             1                  1             3
         640                  1             2                  1             2                  1             2
         641                  1             1                  1             2                  1             1
         642                  1             2                  1             1                  2             1
         643                  1             3                  1             2                  1             1
         644                  1             3                  1             3                  1             1
         645                  1             1                  1             3                  1             1
         646                  1             2                  1             2                  1             1
         647                  1             3                  1             3                  1             3
         648                  1             2                  1             1                  1             3
         649                  1             2                  1             1                  1             2
         651                  1             3                  2             3                  1             2
         652                  2             1                  1             1                  2             1
         653                  1             1                  1             3                  1             2
         654                  1             3                  2             2                  2             3
         655                  1             1                  1             3                  1             3
         656                  1             3                  1             1                  1             1
         657                  1             3                  1             2                  2             2
         658                  1             3                  1             2                  1             2
         659                  2             2                  2             1                  2             2
         660                  2             1                  2             3                  1             3
         661                  1             3                  1             2                  1             2
         662                  1             1                  1             1                  1             2
         663                  1             1                  1             3                  1             1
         664                  1             2                  2             3                  1             3


                                                                                                                  N-123
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 373 of 476 PageID #: 3011
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         631                  1             2                  1             2                  1             3
         632                  1             3                  1             3                  2             3
         633                  1             2                  1             2                  1             3
         634                  2             2                  2             3                  2             2
         635                  1             3                  1             2                  1             3
         636                  1             3                  1             3                  1             1
         637                  1             1                  1             1                  1             1
         638                  1             3                  1             2                  1             2
         639                  1             3                  1             3                  1             1
         640                  1             3                  1             2                  2             1
         641                  1             3                  2             3                  1             3
         642                  1             3                  1             1                  1             3
         643                  1             2                  1             3                  1             2
         644                  1             3                  2             3                  1             2
         645                  1             2                  2             3                  2             2
         646                  1             3                  1             3                  1             2
         647                  1             3                  1             3                  1             2
         648                  1             3                  1             2                  1             1
         649                  1             2                  1             2                  1             1
         651                  1             2                  2             1                  1             3
         652                  2             3                  2             1                  1             1
         653                  1             2                  1             2                  1             2
         654                  2             1                  2             3                  2             3
         655                  1             1                  1             1                  1             1
         656                  1             3                  2             2                  1             1
         657                  1             2                  1             3                  2             3
         658                  1             3                  1             3                  1             1
         659                  2             3                  2             1                  1             3
         660                  1             1                  2             3                  1             2
         661                  1             3                  1             1                  1             2
         662                  1             3                  1             3                  1             3
         663                  1             2                  1             3                  1             2
         664                  2             1                  1             3                  2             2


                                                                                                                  N-124
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 374 of 476 PageID #: 3012
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         631                  1             2                  1              3                   1              2
         632                  1             1                  1              1                   1              1
         633                  1             1                  1              3                   1              1
         634                  2             2                  2              2                   1              2
         635                  1             1                  1              1                   1              2
         636                  1             2                  1              2                   1              1
         637                  1             1                  1              3                   1              3
         638                  2             3                  1              2                   1              3
         639                  1             1                  1              3                   1              1
         640                  1             3                  1              3                   1              1
         641                  2             2                  1              1                   1              2
         642                  1             1                  1              1                   1              3
         643                  1             1                  1              1                   2              1
         644                  1             1                  1              2                   2              2
         645                  2             2                  1              1                   2              3
         646                  1             2                  1              1                   1              3
         647                  1             2                  1              3                   1              3
         648                  1             3                  1              3                   1              3
         649                  1             3                  1              3                   1              1
         651                  1             3                  1              3                   2              1
         652                  1             3                  2              2                   1              1
         653                  1             3                  1              1                   1              3
         654                  2             1                  2              2                   2              2
         655                  1             2                  1              1                   1              1
         656                  1             2                  2              1                   2              3
         657                  1             1                  1              3                   2              2
         658                  1             2                  1              2                   2              3
         659                  1             3                  1              1                   1              3
         660                  1             2                  2              2                   1              1
         661                  1             2                  2              1                   2              3
         662                  1             3                  1              1                   1              2
         663                  1             3                  1              3                   1              2
         664                  1             3                  1              2                   1              2


                                                                                                                     N-125
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 375 of 476 PageID #: 3013
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         631                   1              2                   1                   31   CBC1_1651757381_6
         632                   1              1                   1                   32   CBC1_1651757381_6
         633                   1              1                   1                   33   CBC1_1651757381_6
         634                   1              2                   1                   34   CBC1_1651757381_6
         635                   1              3                   1                   35   CBC1_1651757381_6
         636                   1              1                   1                   36   CBC1_1651757381_6
         637                   1              2                   1                   37   CBC1_1651757381_6
         638                   1              3                   1                   38   CBC1_1651757381_6
         639                   1              1                   1                   39   CBC1_1651757381_6
         640                   1              1                   2                   40   CBC1_1651757381_6
         641                   1              1                   2                   41   CBC1_1651757381_6
         642                   1              3                   1                   42   CBC1_1651757381_6
         643                   1              2                   1                   43   CBC1_1651757381_6
         644                   1              3                   1                   44   CBC1_1651757381_6
         645                   2              3                   1                   45   CBC1_1651757381_6
         646                   1              2                   1                   46   CBC1_1651757381_6
         647                   1              3                   1                   47   CBC1_1651757381_6
         648                   1              2                   1                   48   CBC1_1651757381_6
         649                   1              1                   1                   49   CBC1_1651757381_6
         651                   1              3                   1                   51   CBC1_1651757381_6
         652                   2              3                   1                   52   CBC1_1651757381_6
         653                   1              3                   1                   53   CBC1_1651757381_6
         654                   1              1                   2                   54   CBC1_1651757381_6
         655                   1              3                   1                   55   CBC1_1651757381_6
         656                   1              3                   2                   56   CBC1_1651757381_6
         657                   2              1                   1                   57   CBC1_1651757381_6
         658                   1              3                   1                   58   CBC1_1651757381_6
         659                   1              3                   2                   59   CBC1_1651757381_6
         660                   2              2                   1                   60   CBC1_1651757381_6
         661                   2              1                   2                   61   CBC1_1651757381_6
         662                   1              1                   1                   62   CBC1_1651757381_6
         663                   1              1                   1                   63   CBC1_1651757381_6
         664                   2              2                   1                   64   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 376 of 476 PageID #: 3014
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         665   11 Jul 2022 - 22:20:26 EDT     11 Jul 2022 - 22:23:53 EDT                207                207           1657592426
         666   11 Jul 2022 - 23:09:05 EDT     11 Jul 2022 - 23:16:03 EDT                418                416           1657595345
         669   12 Jul 2022 - 00:07:21 EDT     12 Jul 2022 - 00:13:24 EDT                363                363           1657598841
         670   12 Jul 2022 - 00:33:22 EDT     12 Jul 2022 - 00:36:12 EDT                170                170           1657600402
         671   12 Jul 2022 - 01:08:44 EDT     12 Jul 2022 - 01:10:37 EDT                113                111           1657602524
         672   12 Jul 2022 - 01:36:36 EDT     12 Jul 2022 - 01:40:30 EDT                234                234           1657604196
         673   12 Jul 2022 - 03:50:10 EDT     12 Jul 2022 - 04:03:41 EDT                811                809           1657612210
         674   12 Jul 2022 - 05:06:09 EDT     12 Jul 2022 - 05:11:04 EDT                295                294           1657616769
         675   12 Jul 2022 - 06:34:18 EDT     12 Jul 2022 - 06:40:45 EDT                387                385           1657622058
         676   12 Jul 2022 - 07:28:06 EDT     12 Jul 2022 - 07:31:20 EDT                194                194           1657625286
         677   12 Jul 2022 - 08:10:39 EDT     12 Jul 2022 - 08:12:59 EDT                140                136           1657627839
         678   12 Jul 2022 - 08:24:49 EDT     12 Jul 2022 - 08:27:28 EDT                159                158           1657628689
         679   12 Jul 2022 - 08:28:35 EDT     12 Jul 2022 - 08:29:45 EDT                 70                 69           1657628915
         680   12 Jul 2022 - 08:37:57 EDT     12 Jul 2022 - 08:45:48 EDT                471                470           1657629477
         681   12 Jul 2022 - 08:38:54 EDT     12 Jul 2022 - 08:40:35 EDT                101                101           1657629534
         682   12 Jul 2022 - 08:47:25 EDT     12 Jul 2022 - 08:49:01 EDT                 96                 95           1657630045
         683   12 Jul 2022 - 08:47:59 EDT     12 Jul 2022 - 08:59:32 EDT                693                692           1657630079
         684   12 Jul 2022 - 09:19:09 EDT     12 Jul 2022 - 09:38:25 EDT               1156               1156           1657631949
         685   12 Jul 2022 - 12:37:21 EDT     12 Jul 2022 - 12:39:19 EDT                118                116           1657643841
         686   12 Jul 2022 - 12:48:05 EDT     12 Jul 2022 - 12:54:56 EDT                411                407           1657644485
         687   12 Jul 2022 - 12:48:27 EDT     12 Jul 2022 - 12:52:32 EDT                245                241           1657644507
         688   12 Jul 2022 - 12:49:36 EDT     12 Jul 2022 - 12:52:45 EDT                189                189           1657644576
         689   12 Jul 2022 - 12:50:05 EDT     12 Jul 2022 - 12:54:25 EDT                260                259           1657644605
         690   12 Jul 2022 - 12:53:17 EDT     12 Jul 2022 - 12:54:22 EDT                 65                 65           1657644797
         691   12 Jul 2022 - 12:55:11 EDT     12 Jul 2022 - 13:01:51 EDT                400                398           1657644911
         692   12 Jul 2022 - 13:09:32 EDT     12 Jul 2022 - 13:12:23 EDT                171                169           1657645772
         693   12 Jul 2022 - 13:12:45 EDT     12 Jul 2022 - 13:15:48 EDT                183                183           1657645965
         694   12 Jul 2022 - 13:17:08 EDT     12 Jul 2022 - 13:22:10 EDT                302                298           1657646228
         696   12 Jul 2022 - 13:23:02 EDT     12 Jul 2022 - 13:28:22 EDT                320                320           1657646582
         697   12 Jul 2022 - 13:30:16 EDT     12 Jul 2022 - 13:41:25 EDT                669                668           1657647016
         698   12 Jul 2022 - 13:51:35 EDT     12 Jul 2022 - 13:55:26 EDT                231                230           1657648295
         699   12 Jul 2022 - 13:52:10 EDT     12 Jul 2022 - 13:54:45 EDT                155                155           1657648330
         700   12 Jul 2022 - 13:53:18 EDT     12 Jul 2022 - 14:03:37 EDT                619                617           1657648398


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 377 of 476 PageID #: 3015
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         665         1657592633                1                5                 0                         Term
         666         1657595763                1                5                 0                         Term
         669         1657599204                1                5                 0                         Term
         670         1657600572                1                5                 0                         Term
         671         1657602637                1                5                 0                         Term
         672         1657604430                1                5                 0                         Term
         673         1657613021                1                5                 0                         Term
         674         1657617064                1                5                 0                         Term
         675         1657622445                1                5                 0                         Term
         676         1657625480                1                5                 0                         Term
         677         1657627979                1                5                 0                         Term
         678         1657628848                1                5                 0                         Term
         679         1657628985                1                5                 0                         Term
         680         1657629948                1                5                 0                         Term
         681         1657629635                1                5                 0                         Term
         682         1657630141                1                5                 0                         Term
         683         1657630772                1                5                 0                         Term
         684         1657633105                1                5                 0                         Term
         685         1657643959                1                5                 0                         Term
         686         1657644896                1                5                 0                         Term
         687         1657644752                1                5                 0                         Term
         688         1657644765                1                5                 0                         Term
         689         1657644865                1                5                 0                         Term
         690         1657644862                1                5                 0                         Term
         691         1657645311                1                5                 0                         Term
         692         1657645943                1                5                 0                         Term
         693         1657646148                1                5                 0                         Term
         694         1657646530                1                5                 0                         Term
         696         1657646902                1                5                 0                         Term
         697         1657647685                1                5                 0                         Term
         698         1657648526                1                5                 0                         Term
         699         1657648485                1                5                 0                         Term
         700         1657649017                1                5                 0                         Term


                                                                                                                                 N-128
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 378 of 476 PageID #: 3016
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         665                    1               832   1793684356             2                  1             3
         666                    1               412   1793707798             2                  1             1
         669                    1              1201   1793734970             1                  1             2
         670                    1               428   1793744786             3                  1             1
         671                    1               414   1793759426             1                  1             1
         672                    1               390   1793769355             2                  1             2
         673                    1               832   1793795509             2                  1             3
         674                    1              1792   1793851349             2                  1             2
         675                    1              1300   1793890836             2                  1             1
         676                    1              1366   1793918982             1                  1             3
         677                    1              1282   1793944844             1                  1             3
         678                    1              1519   1793959801             3                  1             2
         679                    1              1903   1793960452             2                  1             1
         680                    1              1519   1793961426             3                  1             1
         681                    1              1663   1793960645             3                  1             1
         682                    1              1482   1793976704             3                  1             2
         683                    1               375   1793973462             1                  1             3
         684                    1              1903   1793978197             2                  2             3
         685                    1               432   1794183140             3                  2             3
         686                    1              1583   1794184710             1                  2             2
         687                    1               390   1794191038             2                  1             3
         688                    1               412   1794190686             3                  1             1
         689                    1              1425   1794192453             3                  2             3
         690                    1              1349   1794186708             1                  1             2
         691                    1               778   1794193385             1                  1             2
         692                    1               390   1794212350             2                  1             2
         693                    1               375   1794215693             3                  1             3
         694                    1               414   1794218721             1                  1             2
         696                    1              1663   1794221868             2                  1             3
         697                    1               360   1794226574             1                  1             3
         698                    1              1729   1794253330             1                  1             1
         699                    1               412   1794256019             3                  1             2
         700                    1               390   1794249792             2                  1             3


                                                                                                                  N-129
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 379 of 476 PageID #: 3017
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         665                  1             1                  1             2                  1             2
         666                  1             3                  1             2                  1             2
         669                  1             1                  1             1                  1             3
         670                  1             2                  1             1                  1             3
         671                  1             3                  1             2                  1             3
         672                  1             1                  1             3                  1             3
         673                  1             1                  1             2                  1             1
         674                  2             3                  1             3                  1             2
         675                  1             2                  2             2                  2             2
         676                  1             1                  1             3                  1             2
         677                  1             3                  1             3                  1             1
         678                  1             3                  1             2                  1             2
         679                  1             1                  1             1                  1             1
         680                  1             3                  1             3                  1             3
         681                  1             1                  1             2                  1             1
         682                  2             1                  1             2                  2             3
         683                  2             1                  1             2                  2             2
         684                  1             2                  2             1                  2             2
         685                  2             3                  1             1                  2             1
         686                  1             2                  2             2                  1             3
         687                  1             3                  1             1                  1             3
         688                  1             3                  1             1                  1             1
         689                  2             3                  1             2                  2             2
         690                  1             3                  1             1                  1             3
         691                  1             3                  1             3                  1             2
         692                  1             1                  1             2                  1             2
         693                  1             3                  1             3                  1             2
         694                  1             1                  1             3                  1             2
         696                  1             3                  1             1                  1             1
         697                  1             3                  1             2                  1             2
         698                  1             3                  1             2                  2             3
         699                  1             1                  1             2                  2             2
         700                  1             3                  1             3                  1             1


                                                                                                                  N-130
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 380 of 476 PageID #: 3018
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         665                  1             3                  1             3                  1             2
         666                  1             3                  1             1                  1             3
         669                  1             1                  1             3                  1             1
         670                  1             1                  1             1                  1             2
         671                  1             1                  1             3                  1             1
         672                  1             3                  1             2                  1             1
         673                  1             1                  1             1                  1             2
         674                  2             2                  2             1                  1             1
         675                  1             2                  1             1                  1             3
         676                  1             1                  1             2                  1             1
         677                  1             1                  1             1                  1             1
         678                  1             2                  1             2                  1             3
         679                  2             3                  1             1                  2             1
         680                  1             2                  1             1                  1             2
         681                  1             1                  1             3                  1             2
         682                  2             2                  1             1                  1             2
         683                  1             3                  1             3                  1             1
         684                  2             3                  2             2                  2             3
         685                  1             3                  2             1                  1             2
         686                  2             2                  2             1                  1             1
         687                  1             2                  2             2                  1             1
         688                  1             3                  1             3                  1             2
         689                  1             1                  2             2                  1             3
         690                  1             1                  1             2                  1             1
         691                  1             1                  1             3                  1             1
         692                  1             1                  1             1                  1             1
         693                  1             1                  1             3                  1             3
         694                  1             2                  1             2                  1             1
         696                  1             1                  1             2                  1             1
         697                  2             3                  1             3                  2             3
         698                  1             3                  1             1                  1             2
         699                  2             3                  1             1                  1             2
         700                  1             2                  1             2                  1             3


                                                                                                                  N-131
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 381 of 476 PageID #: 3019
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         665                  1             2                  1              3                   1              3
         666                  1             2                  1              3                   1              3
         669                  1             1                  1              2                   1              3
         670                  1             2                  1              2                   1              1
         671                  1             1                  1              2                   1              1
         672                  1             2                  1              2                   1              1
         673                  1             3                  1              1                   1              2
         674                  2             1                  2              1                   1              2
         675                  1             1                  1              2                   1              1
         676                  1             3                  1              1                   1              1
         677                  1             3                  1              2                   1              3
         678                  1             3                  1              1                   1              1
         679                  1             2                  2              2                   1              2
         680                  1             1                  1              1                   1              3
         681                  1             2                  1              2                   1              1
         682                  2             3                  2              2                   1              1
         683                  2             3                  1              1                   2              3
         684                  2             3                  2              3                   2              3
         685                  2             3                  2              1                   1              3
         686                  1             1                  2              3                   2              1
         687                  2             2                  1              3                   1              3
         688                  1             2                  1              3                   1              2
         689                  2             2                  2              1                   1              1
         690                  1             1                  1              2                   1              2
         691                  1             3                  1              1                   1              1
         692                  1             3                  1              1                   1              3
         693                  1             1                  1              1                   1              3
         694                  1             1                  2              3                   1              3
         696                  1             2                  2              3                   1              3
         697                  1             3                  1              1                   1              2
         698                  1             3                  1              3                   1              3
         699                  1             2                  1              3                   2              3
         700                  1             3                  1              1                   1              1


                                                                                                                     N-132
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 382 of 476 PageID #: 3020
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         665                   1              2                   1                   65   CBC1_1651757381_6
         666                   1              3                   1                   66   CBC1_1651757381_6
         669                   1              2                   1                   69   CBC1_1651757381_6
         670                   1              2                   1                   70   CBC1_1651757381_6
         671                   1              1                   1                   71   CBC1_1651757381_6
         672                   1              3                   1                   72   CBC1_1651757381_6
         673                   1              3                   1                   73   CBC1_1651757381_6
         674                   2              2                   2                   74   CBC1_1651757381_6
         675                   2              3                   1                   75   CBC1_1651757381_6
         676                   1              1                   1                   76   CBC1_1651757381_6
         677                   1              3                   1                   77   CBC1_1651757381_6
         678                   1              1                   1                   78   CBC1_1651757381_6
         679                   2              2                   1                   79   CBC1_1651757381_6
         680                   1              3                   1                   80   CBC1_1651757381_6
         681                   1              2                   1                   81   CBC1_1651757381_6
         682                   1              2                   2                   82   CBC1_1651757381_6
         683                   2              3                   1                   83   CBC1_1651757381_6
         684                   2              3                   2                   84   CBC1_1651757381_6
         685                   1              3                   1                   85   CBC1_1651757381_6
         686                   2              3                   2                   86   CBC1_1651757381_6
         687                   2              1                   1                   87   CBC1_1651757381_6
         688                   1              2                   1                   88   CBC1_1651757381_6
         689                   1              3                   2                   89   CBC1_1651757381_6
         690                   1              1                   1                   90   CBC1_1651757381_6
         691                   1              3                   1                   91   CBC1_1651757381_6
         692                   1              1                   1                   92   CBC1_1651757381_6
         693                   1              3                   1                   93   CBC1_1651757381_6
         694                   2              1                   1                   94   CBC1_1651757381_6
         696                   1              2                   1                   96   CBC1_1651757381_6
         697                   1              1                   1                   97   CBC1_1651757381_6
         698                   1              2                   1                   98   CBC1_1651757381_6
         699                   2              2                   2                   99   CBC1_1651757381_6
         700                   1              1                   1                  100   CBC1_1651757381_6


                                                                                                                   N-133
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 383 of 476 PageID #: 3021
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         701   12 Jul 2022 - 13:54:46 EDT     12 Jul 2022 - 13:57:43 EDT                177                177           1657648486
         702   12 Jul 2022 - 13:54:48 EDT     12 Jul 2022 - 14:00:08 EDT                320                319           1657648488
         703   12 Jul 2022 - 14:01:48 EDT     12 Jul 2022 - 14:05:09 EDT                201                200           1657648908
         704   12 Jul 2022 - 14:15:36 EDT     12 Jul 2022 - 14:21:30 EDT                354                353           1657649736
         705   12 Jul 2022 - 14:15:43 EDT     12 Jul 2022 - 14:18:29 EDT                166                166           1657649743
         706   12 Jul 2022 - 14:17:35 EDT     12 Jul 2022 - 14:21:39 EDT                244                244           1657649855
         707   12 Jul 2022 - 14:20:37 EDT     12 Jul 2022 - 14:25:05 EDT                268                266           1657650037
         708   12 Jul 2022 - 14:21:05 EDT     12 Jul 2022 - 14:23:37 EDT                152                150           1657650065
         709   12 Jul 2022 - 14:25:24 EDT     12 Jul 2022 - 14:29:40 EDT                256                256           1657650324
         710   12 Jul 2022 - 14:26:19 EDT     12 Jul 2022 - 14:31:25 EDT                306                303           1657650379
         711   12 Jul 2022 - 14:32:28 EDT     12 Jul 2022 - 14:35:27 EDT                179                178           1657650748
         713   12 Jul 2022 - 14:38:05 EDT     12 Jul 2022 - 14:43:17 EDT                312                311           1657651085
         714   12 Jul 2022 - 14:44:36 EDT     12 Jul 2022 - 14:45:50 EDT                 74                 73           1657651476
         715   12 Jul 2022 - 14:45:55 EDT     12 Jul 2022 - 14:49:10 EDT                195                195           1657651555
         716   12 Jul 2022 - 14:53:26 EDT     12 Jul 2022 - 14:55:46 EDT                140                139           1657652006
         717   12 Jul 2022 - 14:59:30 EDT     12 Jul 2022 - 15:03:32 EDT                242                240           1657652370
         718   12 Jul 2022 - 15:31:00 EDT     12 Jul 2022 - 15:33:47 EDT                167                166           1657654260
         719   12 Jul 2022 - 15:32:36 EDT     12 Jul 2022 - 15:36:36 EDT                240                239           1657654356
         720   12 Jul 2022 - 15:34:07 EDT     12 Jul 2022 - 15:39:59 EDT                352                352           1657654447
         721   12 Jul 2022 - 15:38:58 EDT     12 Jul 2022 - 15:47:50 EDT                532                531           1657654738
         722   12 Jul 2022 - 15:44:59 EDT     12 Jul 2022 - 15:59:35 EDT                876                874           1657655099
         723   12 Jul 2022 - 15:49:44 EDT     12 Jul 2022 - 15:53:11 EDT                207                205           1657655384
         725   12 Jul 2022 - 15:57:39 EDT     12 Jul 2022 - 16:05:55 EDT                496                493           1657655859
         727   12 Jul 2022 - 16:08:29 EDT     12 Jul 2022 - 16:20:51 EDT                742                741           1657656509
         728   12 Jul 2022 - 16:17:55 EDT     12 Jul 2022 - 16:19:43 EDT                108                107           1657657075
         729   12 Jul 2022 - 16:18:58 EDT     12 Jul 2022 - 16:21:59 EDT                181                181           1657657138
         730   12 Jul 2022 - 16:19:47 EDT     12 Jul 2022 - 16:25:12 EDT                325                324           1657657187
         731   12 Jul 2022 - 16:20:14 EDT     12 Jul 2022 - 16:26:44 EDT                390                386           1657657214
         732   12 Jul 2022 - 16:28:30 EDT     12 Jul 2022 - 16:30:35 EDT                125                122           1657657710
         733   12 Jul 2022 - 16:39:07 EDT     12 Jul 2022 - 16:42:33 EDT                206                205           1657658347
         734   12 Jul 2022 - 16:59:33 EDT     12 Jul 2022 - 17:03:04 EDT                211                209           1657659573
         735   12 Jul 2022 - 17:03:59 EDT     12 Jul 2022 - 17:11:21 EDT                442                440           1657659839
         736   12 Jul 2022 - 17:09:30 EDT     12 Jul 2022 - 17:12:08 EDT                158                156           1657660170


                                                                                                                                      N-134
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         701         1657648663                1                5                 0                         Term
         702         1657648808                1                5                 0                         Term
         703         1657649109                1                5                 0                         Term
         704         1657650090                1                5                 0                         Term
         705         1657649909                1                5                 0                         Term
         706         1657650099                1                5                 0                         Term
         707         1657650305                1                5                 0                         Term
         708         1657650217                1                5                 0                         Term
         709         1657650580                1                5                 0                         Term
         710         1657650685                1                5                 0                         Term
         711         1657650927                1                5                 0                         Term
         713         1657651397                1                5                 0                         Term
         714         1657651550                1                5                 0                         Term
         715         1657651750                1                5                 0                         Term
         716         1657652146                1                5                 0                         Term
         717         1657652612                1                5                 0                         Term
         718         1657654427                1                5                 0                         Term
         719         1657654596                1                5                 0                         Term
         720         1657654799                1                5                 0                         Term
         721         1657655270                1                5                 0                         Term
         722         1657655975                1                5                 0                         Term
         723         1657655591                1                5                 0                         Term
         725         1657656355                1                5                 0                         Term
         727         1657657251                1                5                 0                         Term
         728         1657657183                1                5                 0                         Term
         729         1657657319                1                5                 0                         Term
         730         1657657512                1                5                 0                         Term
         731         1657657604                1                5                 0                         Term
         732         1657657835                1                5                 0                         Term
         733         1657658553                1                5                 0                         Term
         734         1657659784                1                5                 0                         Term
         735         1657660281                1                5                 0                         Term
         736         1657660328                1                5                 0                         Term


                                                                                                                                 N-135
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 385 of 476 PageID #: 3023
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         701                    1               390   1794257419             1                  1             2
         702                    1               808   1794257676             3                  1             2
         703                    1              1903   1794245788             3                  1             3
         704                    1              1263   1794275926             2                  1             2
         705                    1               428   1794277109             1                  1             2
         706                    1               360   1794278763             2                  1             3
         707                    1              1349   1794275819             3                  1             3
         708                    1              1280   1794281270             3                  1             2
         709                    1               941   1794280152             3                  1             3
         710                    1               360   1794285029             1                  1             3
         711                    1              1349   1794286851             3                  1             2
         713                    1              1903   1794253963             3                  1             1
         714                    1              1835   1794303638             2                  1             2
         715                    1              1209   1794306102             2                  2             3
         716                    1              1440   1794312166             1                  1             3
         717                    1              1440   1794318058             3                  1             2
         718                    1               320   1794347049             3                  1             3
         719                    1              1349   1794342397             1                  1             2
         720                    1               390   1794345509             2                  2             1
         721                    1               375   1794349649             2                  1             3
         722                    1               941   1794348717             2                  2             2
         723                    1              1321   1794360225             1                  1             3
         725                    1              1438   1794368399             3                  1             2
         727                    1               692   1794372250             1                  1             1
         728                    1              1203   1794363721             3                  1             2
         729                    1              1440   1794385734             2                  1             3
         730                    1              1024   1794388959             3                  1             2
         731                    1               390   1794387441             3                  1             2
         732                    1               428   1794397304             3                  1             3
         733                    1               390   1794404413             1                  1             2
         734                    1               428   1794423464             2                  2             2
         735                    1              1903   1794427112             2                  2             2
         736                    1              1517   1794429683             3                  1             2


                                                                                                                  N-136
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 386 of 476 PageID #: 3024
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         701                  1             2                  2             1                  2             1
         702                  1             1                  1             3                  1             2
         703                  2             1                  1             3                  1             1
         704                  1             3                  1             2                  2             2
         705                  1             2                  1             2                  1             3
         706                  1             1                  1             1                  1             1
         707                  1             1                  1             3                  1             3
         708                  1             3                  1             2                  1             2
         709                  1             3                  1             1                  1             1
         710                  1             3                  1             1                  1             1
         711                  1             2                  1             2                  1             2
         713                  1             2                  1             2                  1             1
         714                  1             2                  1             1                  1             2
         715                  2             1                  1             3                  1             3
         716                  1             1                  1             1                  1             2
         717                  1             2                  1             3                  1             1
         718                  1             3                  1             2                  1             1
         719                  1             2                  1             1                  1             1
         720                  1             2                  1             1                  1             1
         721                  1             3                  1             3                  1             1
         722                  2             3                  2             3                  2             1
         723                  1             3                  1             2                  1             3
         725                  1             3                  1             1                  1             2
         727                  1             1                  1             1                  1             1
         728                  1             3                  1             1                  1             1
         729                  1             3                  1             3                  1             2
         730                  1             2                  1             3                  1             1
         731                  1             3                  1             1                  1             1
         732                  1             1                  1             3                  1             2
         733                  1             3                  1             3                  1             1
         734                  1             2                  2             3                  2             1
         735                  2             1                  1             1                  2             2
         736                  2             1                  1             3                  2             1


                                                                                                                  N-137
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 387 of 476 PageID #: 3025
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         701                  2             2                  2             1                  1             3
         702                  1             1                  1             1                  1             1
         703                  1             1                  2             3                  1             1
         704                  1             2                  1             3                  1             3
         705                  1             1                  1             2                  1             3
         706                  1             2                  1             3                  1             2
         707                  1             2                  1             2                  1             2
         708                  1             2                  1             3                  1             2
         709                  1             2                  1             2                  1             1
         710                  1             3                  1             3                  1             2
         711                  1             3                  1             1                  1             1
         713                  1             2                  2             2                  1             2
         714                  1             1                  1             1                  1             3
         715                  2             1                  1             2                  2             3
         716                  2             1                  1             3                  1             3
         717                  1             2                  1             1                  1             2
         718                  1             2                  1             3                  1             3
         719                  1             2                  1             2                  1             2
         720                  2             2                  1             2                  2             3
         721                  1             1                  1             3                  1             1
         722                  2             1                  2             1                  2             3
         723                  1             3                  1             2                  1             3
         725                  1             3                  1             1                  1             3
         727                  1             1                  1             2                  1             2
         728                  2             1                  1             1                  1             2
         729                  1             3                  1             2                  1             1
         730                  1             1                  1             3                  1             1
         731                  1             3                  1             1                  1             1
         732                  1             3                  1             1                  1             3
         733                  1             1                  1             3                  1             2
         734                  2             1                  2             3                  2             1
         735                  2             2                  1             1                  1             2
         736                  2             3                  1             3                  2             3


                                                                                                                  N-138
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 388 of 476 PageID #: 3026
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         701                  2             3                  2              2                   1              3
         702                  1             2                  1              1                   1              3
         703                  2             3                  1              3                   1              1
         704                  2             2                  1              1                   1              2
         705                  1             1                  1              3                   1              1
         706                  1             3                  1              3                   1              2
         707                  1             3                  1              2                   1              1
         708                  1             2                  1              3                   1              2
         709                  1             3                  1              1                   1              1
         710                  1             3                  1              1                   2              1
         711                  1             3                  1              2                   1              2
         713                  1             2                  1              2                   1              1
         714                  1             3                  1              2                   1              3
         715                  2             1                  2              1                   2              3
         716                  1             2                  2              2                   1              2
         717                  1             2                  1              2                   1              1
         718                  1             2                  1              3                   1              3
         719                  1             2                  1              2                   1              1
         720                  1             3                  1              2                   2              2
         721                  1             1                  1              1                   1              2
         722                  1             3                  2              2                   2              2
         723                  1             2                  1              1                   1              2
         725                  1             1                  1              2                   1              1
         727                  1             1                  1              3                   1              2
         728                  1             1                  2              1                   1              2
         729                  2             2                  1              2                   1              1
         730                  1             2                  1              1                   1              1
         731                  1             1                  1              1                   1              2
         732                  1             3                  1              1                   1              1
         733                  1             2                  1              3                   1              2
         734                  1             1                  2              2                   2              1
         735                  2             3                  2              1                   2              2
         736                  2             1                  2              2                   1              1


                                                                                                                     N-139
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 389 of 476 PageID #: 3027
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         701                   2              2                   1                  101   CBC1_1651757381_6
         702                   1              2                   1                  102   CBC1_1651757381_6
         703                   1              1                   1                  103   CBC1_1651757381_6
         704                   1              3                   2                  104   CBC1_1651757381_6
         705                   1              1                   1                  105   CBC1_1651757381_6
         706                   1              3                   1                  106   CBC1_1651757381_6
         707                   1              2                   1                  107   CBC1_1651757381_6
         708                   1              2                   1                  108   CBC1_1651757381_6
         709                   1              2                   1                  109   CBC1_1651757381_6
         710                   1              2                   1                  110   CBC1_1651757381_6
         711                   1              2                   1                  111   CBC1_1651757381_6
         713                   1              1                   1                  113   CBC1_1651757381_6
         714                   1              3                   1                  114   CBC1_1651757381_6
         715                   2              2                   2                  115   CBC1_1651757381_6
         716                   1              2                   2                  116   CBC1_1651757381_6
         717                   1              3                   1                  117   CBC1_1651757381_6
         718                   1              1                   1                  118   CBC1_1651757381_6
         719                   1              2                   1                  119   CBC1_1651757381_6
         720                   2              2                   1                  120   CBC1_1651757381_6
         721                   1              3                   1                  121   CBC1_1651757381_6
         722                   2              2                   2                  122   CBC1_1651757381_6
         723                   1              1                   1                  123   CBC1_1651757381_6
         725                   1              1                   1                  125   CBC1_1651757381_6
         727                   1              2                   1                  127   CBC1_1651757381_6
         728                   1              3                   1                  128   CBC1_1651757381_6
         729                   1              3                   1                  129   CBC1_1651757381_6
         730                   1              1                   1                  130   CBC1_1651757381_6
         731                   1              1                   1                  131   CBC1_1651757381_6
         732                   1              3                   1                  132   CBC1_1651757381_6
         733                   1              1                   1                  133   CBC1_1651757381_6
         734                   2              3                   2                  134   CBC1_1651757381_6
         735                   2              2                   2                  135   CBC1_1651757381_6
         736                   2              3                   2                  136   CBC1_1651757381_6


                                                                                                                   N-140
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 390 of 476 PageID #: 3028
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         737   12 Jul 2022 - 17:10:33 EDT     12 Jul 2022 - 17:20:12 EDT                579                563           1657660233
         738   12 Jul 2022 - 17:20:13 EDT     12 Jul 2022 - 17:21:34 EDT                 81                 80           1657660813
         739   12 Jul 2022 - 17:21:22 EDT     12 Jul 2022 - 17:26:03 EDT                281                281           1657660882
         741   12 Jul 2022 - 17:43:24 EDT     12 Jul 2022 - 17:48:03 EDT                279                278           1657662204
         742   12 Jul 2022 - 17:54:40 EDT     12 Jul 2022 - 17:58:04 EDT                204                203           1657662880
         743   12 Jul 2022 - 17:57:40 EDT     12 Jul 2022 - 18:36:21 EDT               2321               2320           1657663060
         744   12 Jul 2022 - 17:58:40 EDT     12 Jul 2022 - 18:00:00 EDT                 80                 80           1657663120
         745   12 Jul 2022 - 18:14:32 EDT     12 Jul 2022 - 18:19:22 EDT                290                287           1657664072
         747   12 Jul 2022 - 18:43:03 EDT     12 Jul 2022 - 18:47:29 EDT                266                265           1657665783
         748   12 Jul 2022 - 18:44:35 EDT     12 Jul 2022 - 18:50:00 EDT                325                325           1657665875
         750   12 Jul 2022 - 19:04:15 EDT     12 Jul 2022 - 19:10:55 EDT                400                396           1657667055
         751   12 Jul 2022 - 19:09:54 EDT     12 Jul 2022 - 19:13:32 EDT                218                218           1657667394
         752   12 Jul 2022 - 19:10:31 EDT     12 Jul 2022 - 19:19:14 EDT                523                523           1657667431
         753   12 Jul 2022 - 19:13:51 EDT     12 Jul 2022 - 19:18:32 EDT                281                281           1657667631
         754   12 Jul 2022 - 19:15:06 EDT     12 Jul 2022 - 19:19:02 EDT                236                234           1657667706
         755   12 Jul 2022 - 19:16:53 EDT     12 Jul 2022 - 19:21:22 EDT                269                266           1657667813
         756   12 Jul 2022 - 19:22:44 EDT     12 Jul 2022 - 19:27:03 EDT                259                258           1657668164
         757   12 Jul 2022 - 19:24:48 EDT     12 Jul 2022 - 19:30:41 EDT                353                351           1657668288
         758   12 Jul 2022 - 19:27:20 EDT     12 Jul 2022 - 19:37:13 EDT                593                590           1657668440
         759   12 Jul 2022 - 19:31:34 EDT     12 Jul 2022 - 19:37:04 EDT                330                328           1657668694
         760   12 Jul 2022 - 19:32:28 EDT     12 Jul 2022 - 19:45:26 EDT                778                776           1657668748
         761   12 Jul 2022 - 19:34:47 EDT     12 Jul 2022 - 19:44:13 EDT                566                565           1657668887
         762   12 Jul 2022 - 19:43:43 EDT     12 Jul 2022 - 19:47:03 EDT                200                199           1657669423
         764   12 Jul 2022 - 20:07:35 EDT     12 Jul 2022 - 20:12:24 EDT                289                289           1657670855
         765   12 Jul 2022 - 20:08:59 EDT     12 Jul 2022 - 20:10:40 EDT                101                 99           1657670939
         766   12 Jul 2022 - 20:10:16 EDT     12 Jul 2022 - 20:12:17 EDT                121                121           1657671016
         767   12 Jul 2022 - 20:14:41 EDT     12 Jul 2022 - 20:18:03 EDT                202                200           1657671281
         768   12 Jul 2022 - 20:18:04 EDT     12 Jul 2022 - 20:19:41 EDT                 97                 94           1657671484
         769   12 Jul 2022 - 20:22:32 EDT     12 Jul 2022 - 20:25:08 EDT                156                155           1657671752
         770   12 Jul 2022 - 20:26:07 EDT     12 Jul 2022 - 20:30:23 EDT                256                254           1657671967
         771   12 Jul 2022 - 20:31:34 EDT     12 Jul 2022 - 20:38:09 EDT                395                394           1657672294
         772   12 Jul 2022 - 20:31:54 EDT     12 Jul 2022 - 20:36:20 EDT                266                266           1657672314
         773   12 Jul 2022 - 20:37:43 EDT     12 Jul 2022 - 20:43:52 EDT                369                367           1657672663


                                                                                                                                      N-141
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 391 of 476 PageID #: 3029
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         737         1657660812                1                5                 0                         Term
         738         1657660894                1                5                 0                         Term
         739         1657661163                1                5                 0                         Term
         741         1657662483                1                5                 0                         Term
         742         1657663084                1                5                 0                         Term
         743         1657665381                1                5                 0                         Term
         744         1657663200                1                5                 0                         Term
         745         1657664362                1                5                 0                         Term
         747         1657666049                1                5                 0                         Term
         748         1657666200                1                5                 0                         Term
         750         1657667455                1                5                 0                         Term
         751         1657667612                1                5                 0                         Term
         752         1657667954                1                5                 0                         Term
         753         1657667912                1                5                 0                         Term
         754         1657667942                1                5                 0                         Term
         755         1657668082                1                5                 0                         Term
         756         1657668423                1                5                 0                         Term
         757         1657668641                1                5                 0                         Term
         758         1657669033                1                5                 0                         Term
         759         1657669024                1                5                 0                         Term
         760         1657669526                1                5                 0                         Term
         761         1657669453                1                5                 0                         Term
         762         1657669623                1                5                 0                         Term
         764         1657671144                1                5                 0                         Term
         765         1657671040                1                5                 0                         Term
         766         1657671137                1                5                 0                         Term
         767         1657671483                1                5                 0                         Term
         768         1657671581                1                5                 0                         Term
         769         1657671908                1                5                 0                         Term
         770         1657672223                1                5                 0                         Term
         771         1657672689                1                5                 0                         Term
         772         1657672580                1                5                 0                         Term
         773         1657673032                1                5                 0                         Term


                                                                                                                                 N-142
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 392 of 476 PageID #: 3030
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         737                    1               414   1794423890             2                  1             2
         738                    1              1440   1794440543             3                  1             1
         739                    1               390   1794439929             3                  2             3
         741                    1               375   1794457239             1                  1             2
         742                    1               360   1794466682             3                  1             2
         743                    1              1523   1794466127             3                  1             2
         744                    1              1522   1794469754             2                  1             2
         745                    1               414   1794476034             1                  1             1
         747                    1              1903   1794496281             3                  1             1
         748                    1               390   1794498769             2                  1             3
         750                    1               800   1794512105             1                  1             2
         751                    1               414   1794519029             3                  1             1
         752                    1              1449   1794517480             1                  1             1
         753                    1               390   1794329768             3                  1             3
         754                    1               414   1794521735             1                  1             3
         755                    1              1903   1794523095             3                  1             2
         756                    1               375   1794526206             1                  1             3
         757                    1              1349   1794526557             3                  1             3
         758                    1               412   1794521441             3                  1             3
         759                    1               384   1794531290             3                  1             1
         760                    1               414   1794529905             3                  1             3
         761                    1              1263   1794527292             2                  1             1
         762                    1              1903   1794536552             3                  1             2
         764                    1               823   1794553207             2                  1             1
         765                    1              1440   1794553217             2                  1             2
         766                    1              1728   1794556112             2                  2             1
         767                    1               778   1794560042             1                  1             2
         768                    1               390   1794562443             3                  1             3
         769                    1               414   1794563655             1                  1             3
         770                    1              1292   1794563218             1                  2             1
         771                    1               320   1794567012             2                  1             2
         772                    1              1519   1794570062             2                  1             1
         773                    1              1199   1794559475             2                  1             1


                                                                                                                  N-143
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 393 of 476 PageID #: 3031
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         737                  1             1                  1             2                  1             3
         738                  1             3                  1             1                  1             1
         739                  2             3                  2             1                  2             1
         741                  1             1                  1             1                  1             3
         742                  2             3                  1             1                  1             2
         743                  2             3                  1             3                  2             2
         744                  1             3                  1             1                  1             2
         745                  1             1                  1             1                  2             1
         747                  1             2                  1             2                  1             2
         748                  1             2                  1             1                  1             3
         750                  2             1                  2             1                  2             3
         751                  1             2                  1             3                  1             1
         752                  2             2                  2             1                  1             2
         753                  1             1                  1             3                  1             1
         754                  1             3                  1             1                  1             1
         755                  1             1                  1             1                  1             2
         756                  1             1                  1             1                  1             3
         757                  1             2                  1             3                  1             3
         758                  1             2                  1             3                  1             3
         759                  1             2                  1             1                  1             1
         760                  1             2                  2             3                  1             3
         761                  1             1                  1             1                  1             3
         762                  1             2                  1             3                  1             1
         764                  1             1                  1             2                  1             2
         765                  1             2                  1             1                  1             1
         766                  2             1                  2             2                  2             2
         767                  1             2                  1             2                  1             2
         768                  1             3                  1             1                  1             3
         769                  1             2                  2             2                  2             1
         770                  1             1                  1             1                  1             2
         771                  1             1                  1             2                  1             1
         772                  2             3                  1             3                  1             3
         773                  1             1                  1             3                  1             2


                                                                                                                  N-144
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 394 of 476 PageID #: 3032
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         737                  1             2                  1             2                  1             1
         738                  1             2                  1             1                  1             1
         739                  2             3                  2             3                  2             2
         741                  1             1                  1             3                  1             2
         742                  1             3                  1             2                  1             1
         743                  1             3                  2             3                  1             1
         744                  1             2                  1             1                  1             2
         745                  1             3                  1             3                  1             1
         747                  1             1                  1             1                  1             2
         748                  1             3                  1             1                  1             3
         750                  1             1                  1             1                  2             1
         751                  1             3                  1             1                  1             1
         752                  2             1                  1             3                  1             1
         753                  1             1                  1             1                  1             3
         754                  1             2                  1             2                  1             1
         755                  2             1                  2             3                  2             3
         756                  1             3                  1             3                  1             3
         757                  1             1                  1             2                  1             2
         758                  1             3                  1             3                  1             2
         759                  1             3                  1             2                  1             3
         760                  1             3                  1             2                  2             2
         761                  1             2                  1             3                  1             3
         762                  1             3                  1             2                  1             1
         764                  1             1                  1             2                  1             1
         765                  1             2                  1             1                  1             3
         766                  2             1                  2             1                  2             1
         767                  2             1                  1             1                  1             2
         768                  1             1                  1             2                  1             2
         769                  1             1                  1             2                  1             2
         770                  1             2                  1             2                  1             3
         771                  1             2                  1             3                  1             1
         772                  1             2                  1             2                  1             1
         773                  1             3                  2             1                  1             3


                                                                                                                  N-145
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 395 of 476 PageID #: 3033
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         737                  1             2                  1              2                   1              2
         738                  1             1                  1              2                   1              1
         739                  2             3                  2              2                   2              3
         741                  1             3                  1              3                   1              2
         742                  1             3                  2              3                   1              2
         743                  1             3                  2              3                   2              1
         744                  1             2                  1              3                   1              1
         745                  1             3                  1              1                   1              2
         747                  1             2                  1              3                   1              2
         748                  1             2                  1              1                   1              3
         750                  1             1                  1              3                   2              2
         751                  1             3                  1              2                   1              2
         752                  2             2                  2              3                   1              3
         753                  1             1                  1              3                   1              1
         754                  1             2                  1              3                   1              1
         755                  1             2                  2              2                   2              1
         756                  1             3                  1              2                   1              2
         757                  1             3                  1              2                   1              2
         758                  1             3                  1              3                   1              3
         759                  1             2                  1              2                   1              1
         760                  1             2                  1              1                   2              1
         761                  2             2                  1              1                   1              1
         762                  1             2                  1              3                   1              3
         764                  1             1                  1              3                   1              3
         765                  1             1                  1              1                   1              2
         766                  2             2                  1              1                   1              2
         767                  1             3                  1              3                   1              3
         768                  1             3                  1              1                   1              3
         769                  1             1                  1              3                   1              2
         770                  1             1                  1              3                   2              3
         771                  1             3                  1              2                   1              2
         772                  1             1                  1              2                   1              1
         773                  1             2                  2              1                   1              3


                                                                                                                     N-146
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 396 of 476 PageID #: 3034
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         737                   1              3                   1                  137   CBC1_1651757381_6
         738                   1              3                   1                  138   CBC1_1651757381_6
         739                   2              1                   2                  139   CBC1_1651757381_6
         741                   1              1                   1                  141   CBC1_1651757381_6
         742                   1              3                   1                  142   CBC1_1651757381_6
         743                   1              1                   2                  143   CBC1_1651757381_6
         744                   1              2                   1                  144   CBC1_1651757381_6
         745                   1              2                   1                  145   CBC1_1651757381_6
         747                   1              3                   1                  147   CBC1_1651757381_6
         748                   2              1                   1                  148   CBC1_1651757381_6
         750                   2              3                   2                  150   CBC1_1651757381_6
         751                   1              2                   1                  151   CBC1_1651757381_6
         752                   1              1                   2                  152   CBC1_1651757381_6
         753                   1              1                   1                  153   CBC1_1651757381_6
         754                   1              2                   1                  154   CBC1_1651757381_6
         755                   1              2                   1                  155   CBC1_1651757381_6
         756                   1              1                   1                  156   CBC1_1651757381_6
         757                   1              2                   1                  157   CBC1_1651757381_6
         758                   1              3                   1                  158   CBC1_1651757381_6
         759                   1              3                   1                  159   CBC1_1651757381_6
         760                   1              3                   2                  160   CBC1_1651757381_6
         761                   1              3                   1                  161   CBC1_1651757381_6
         762                   1              2                   2                  162   CBC1_1651757381_6
         764                   1              2                   1                  164   CBC1_1651757381_6
         765                   1              3                   1                  165   CBC1_1651757381_6
         766                   2              3                   1                  166   CBC1_1651757381_6
         767                   1              3                   1                  167   CBC1_1651757381_6
         768                   1              1                   1                  168   CBC1_1651757381_6
         769                   2              1                   2                  169   CBC1_1651757381_6
         770                   1              1                   1                  170   CBC1_1651757381_6
         771                   1              1                   1                  171   CBC1_1651757381_6
         772                   1              1                   1                  172   CBC1_1651757381_6
         773                   2              2                   1                  173   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 397 of 476 PageID #: 3035
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         774   12 Jul 2022 - 20:43:50 EDT     12 Jul 2022 - 20:47:24 EDT                214                213           1657673030
         775   12 Jul 2022 - 20:50:50 EDT     12 Jul 2022 - 20:55:32 EDT                282                278           1657673450
         776   12 Jul 2022 - 20:51:43 EDT     12 Jul 2022 - 20:59:00 EDT                437                437           1657673503
         777   12 Jul 2022 - 20:54:03 EDT     12 Jul 2022 - 20:59:59 EDT                356                354           1657673643
         779   12 Jul 2022 - 21:07:59 EDT     12 Jul 2022 - 21:11:03 EDT                184                183           1657674479
         780   12 Jul 2022 - 21:13:45 EDT     12 Jul 2022 - 21:20:03 EDT                378                375           1657674825
         781   12 Jul 2022 - 21:14:35 EDT     12 Jul 2022 - 21:19:27 EDT                292                291           1657674875
         782   12 Jul 2022 - 21:18:33 EDT     12 Jul 2022 - 21:21:50 EDT                197                195           1657675113
         783   12 Jul 2022 - 21:25:15 EDT     12 Jul 2022 - 21:35:29 EDT                614                614           1657675515
         784   12 Jul 2022 - 21:29:11 EDT     12 Jul 2022 - 21:31:57 EDT                166                165           1657675751
         785   12 Jul 2022 - 21:41:24 EDT     12 Jul 2022 - 21:45:36 EDT                252                252           1657676484
         786   12 Jul 2022 - 21:48:47 EDT     12 Jul 2022 - 21:50:25 EDT                 98                 97           1657676927
         787   12 Jul 2022 - 22:01:26 EDT     12 Jul 2022 - 22:26:21 EDT               1495               1494           1657677686
         788   12 Jul 2022 - 22:02:52 EDT     12 Jul 2022 - 22:08:46 EDT                354                353           1657677772
         789   12 Jul 2022 - 22:03:23 EDT     12 Jul 2022 - 22:08:23 EDT                300                298           1657677803
         790   12 Jul 2022 - 22:04:57 EDT     12 Jul 2022 - 22:08:02 EDT                185                184           1657677897
         791   12 Jul 2022 - 22:05:52 EDT     12 Jul 2022 - 22:17:41 EDT                709                707           1657677952
         793   12 Jul 2022 - 22:08:37 EDT     12 Jul 2022 - 22:11:55 EDT                198                196           1657678117
         794   12 Jul 2022 - 22:27:59 EDT     12 Jul 2022 - 22:30:47 EDT                168                167           1657679279
         795   12 Jul 2022 - 22:32:28 EDT     12 Jul 2022 - 22:42:35 EDT                607                607           1657679548
         796   12 Jul 2022 - 22:35:07 EDT     12 Jul 2022 - 22:38:02 EDT                175                174           1657679707
         797   12 Jul 2022 - 22:38:29 EDT     12 Jul 2022 - 22:41:23 EDT                174                173           1657679909
         798   12 Jul 2022 - 22:49:17 EDT     12 Jul 2022 - 22:53:20 EDT                243                241           1657680557
         799   12 Jul 2022 - 22:59:53 EDT     12 Jul 2022 - 23:09:02 EDT                549                510           1657681193
         800   12 Jul 2022 - 23:03:48 EDT     12 Jul 2022 - 23:09:12 EDT                324                323           1657681428
         802   12 Jul 2022 - 23:53:33 EDT     12 Jul 2022 - 23:57:42 EDT                249                248           1657684413
         803   13 Jul 2022 - 00:05:48 EDT     13 Jul 2022 - 00:18:06 EDT                738                736           1657685148
         804   13 Jul 2022 - 00:13:15 EDT     13 Jul 2022 - 00:29:43 EDT                988                988           1657685595
         805   13 Jul 2022 - 00:21:57 EDT     13 Jul 2022 - 00:24:54 EDT                177                177           1657686117
         806   13 Jul 2022 - 00:24:37 EDT     13 Jul 2022 - 00:34:35 EDT                598                597           1657686277
         807   13 Jul 2022 - 00:41:42 EDT     13 Jul 2022 - 00:44:42 EDT                180                179           1657687302
         808   13 Jul 2022 - 00:45:16 EDT     13 Jul 2022 - 00:48:05 EDT                169                169           1657687516
         809   13 Jul 2022 - 00:47:04 EDT     13 Jul 2022 - 00:50:38 EDT                214                214           1657687624


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 398 of 476 PageID #: 3036
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         774         1657673244                1                5                 0                         Term
         775         1657673732                1                5                 0                         Term
         776         1657673940                1                5                 0                         Term
         777         1657673999                1                5                 0                         Term
         779         1657674663                1                5                 0                         Term
         780         1657675203                1                5                 0                         Term
         781         1657675167                1                5                 0                         Term
         782         1657675310                1                5                 0                         Term
         783         1657676129                1                5                 0                         Term
         784         1657675917                1                5                 0                         Term
         785         1657676736                1                5                 0                         Term
         786         1657677025                1                5                 0                         Term
         787         1657679181                1                5                 0                         Term
         788         1657678126                1                5                 0                         Term
         789         1657678103                1                5                 0                         Term
         790         1657678082                1                5                 0                         Term
         791         1657678661                1                5                 0                         Term
         793         1657678315                1                5                 0                         Term
         794         1657679447                1                5                 0                         Term
         795         1657680155                1                5                 0                         Term
         796         1657679882                1                5                 0                         Term
         797         1657680083                1                5                 0                         Term
         798         1657680800                1                5                 0                         Term
         799         1657681742                1                5                 0                         Term
         800         1657681752                1                5                 0                         Term
         802         1657684662                1                5                 0                         Term
         803         1657685886                1                5                 0                         Term
         804         1657686583                1                5                 0                         Term
         805         1657686294                1                5                 0                         Term
         806         1657686875                1                5                 0                         Term
         807         1657687482                1                5                 0                         Term
         808         1657687685                1                5                 0                         Term
         809         1657687838                1                5                 0                         Term


                                                                                                                                 N-149
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 399 of 476 PageID #: 3037
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         774                    1              1519   1794577387             2                  2             1
         775                    1               360   1794578735             1                  1             2
         776                    1               360   1794581042             2                  1             3
         777                    1               412   1794580369             3                  1             2
         779                    1               414   1794592747             3                  1             2
         780                    1              1519   1794592576             1                  1             2
         781                    1              1080   1794595122             1                  1             1
         782                    1               428   1794598137             1                  1             3
         783                    1               692   1794597625             1                  1             3
         784                    1              1005   1794602063             2                  1             3
         785                    1               393   1794608259             3                  2             2
         786                    1              1903   1794611399             1                  1             3
         787                    1              1716   1794614549             3                  1             1
         788                    1              1440   1794619844             3                  1             2
         789                    1               414   1794620653             2                  1             2
         790                    1               412   1794619726             2                  1             3
         791                    1               800   1794619753             3                  1             2
         793                    1               736   1794623511             2                  1             1
         794                    1               412   1794632394             3                  1             3
         795                    1              1583   1794628168             3                  1             1
         796                    1               390   1794636200             1                  1             2
         797                    1              1903   1794638263             3                  1             3
         798                    1               390   1794643149             3                  1             1
         799                    1               360   1794640048             1                  2             2
         800                    1               360   1794646912             2                  1             3
         802                    1              1440   1794669312             2                  1             3
         803                    1               724   1794672894             1                  1             1
         804                    1              1840   1794667883             3                  1             2
         805                    1               412   1794680834             3                  1             1
         806                    1               375   1794680042             2                  2             3
         807                    1              1903   1794687840             3                  1             2
         808                    1               375   1794688357             1                  1             1
         809                    1               375   1794689295             3                  1             3


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 400 of 476 PageID #: 3038
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         774                  1             1                  1             2                  2             2
         775                  1             2                  1             3                  1             1
         776                  1             2                  1             1                  1             1
         777                  2             1                  1             2                  1             3
         779                  1             2                  1             2                  1             1
         780                  1             3                  1             1                  1             3
         781                  2             1                  2             1                  2             1
         782                  1             1                  1             2                  1             1
         783                  1             2                  1             3                  2             3
         784                  1             2                  1             2                  1             3
         785                  1             3                  2             2                  1             2
         786                  1             2                  2             1                  2             2
         787                  1             2                  1             2                  1             2
         788                  2             2                  2             3                  1             3
         789                  1             3                  1             3                  1             1
         790                  1             1                  1             3                  1             2
         791                  2             3                  1             2                  1             2
         793                  1             3                  1             3                  2             1
         794                  1             1                  2             2                  1             2
         795                  1             3                  1             3                  1             1
         796                  1             2                  1             3                  1             1
         797                  1             3                  1             1                  1             1
         798                  2             1                  2             1                  1             2
         799                  2             3                  1             2                  1             1
         800                  1             2                  1             2                  1             2
         802                  1             3                  2             2                  1             1
         803                  2             2                  2             3                  1             3
         804                  1             3                  2             1                  1             2
         805                  1             2                  1             1                  1             1
         806                  1             2                  1             3                  1             1
         807                  1             2                  1             3                  1             2
         808                  1             2                  1             3                  1             1
         809                  1             1                  1             1                  1             1


                                                                                                                  N-151
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 401 of 476 PageID #: 3039
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         774                  1             1                  1             2                  1             3
         775                  1             3                  1             3                  1             2
         776                  1             3                  1             3                  1             2
         777                  2             2                  2             1                  1             1
         779                  1             2                  1             3                  1             1
         780                  1             3                  2             3                  2             3
         781                  2             2                  1             1                  2             3
         782                  1             2                  1             3                  1             1
         783                  2             2                  2             1                  1             1
         784                  1             2                  1             1                  1             3
         785                  2             3                  2             2                  1             1
         786                  1             2                  1             2                  2             2
         787                  1             2                  1             1                  1             2
         788                  2             2                  1             3                  1             3
         789                  2             2                  1             3                  1             1
         790                  1             3                  1             2                  1             2
         791                  1             1                  1             1                  1             1
         793                  1             3                  1             3                  1             1
         794                  1             1                  2             2                  1             2
         795                  1             1                  1             2                  1             1
         796                  1             2                  1             1                  1             2
         797                  1             1                  1             3                  1             2
         798                  2             2                  1             2                  1             3
         799                  1             3                  1             2                  1             3
         800                  1             1                  1             3                  1             1
         802                  1             2                  1             3                  1             2
         803                  1             3                  1             1                  1             2
         804                  1             1                  2             2                  1             2
         805                  2             2                  1             2                  1             2
         806                  2             1                  1             2                  1             3
         807                  2             2                  1             1                  2             2
         808                  1             2                  1             1                  1             2
         809                  1             3                  1             2                  1             3


                                                                                                                  N-152
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 402 of 476 PageID #: 3040
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         774                  1             2                  1              3                   2              1
         775                  1             2                  1              3                   1              3
         776                  1             2                  1              1                   1              2
         777                  1             3                  1              2                   1              2
         779                  1             3                  1              2                   1              2
         780                  1             2                  1              1                   2              3
         781                  1             3                  1              3                   2              2
         782                  1             3                  1              2                   1              1
         783                  2             2                  2              2                   1              2
         784                  1             1                  1              1                   1              2
         785                  2             3                  1              1                   2              1
         786                  2             3                  1              1                   1              2
         787                  1             2                  1              2                   1              3
         788                  2             1                  1              1                   1              2
         789                  1             2                  2              2                   1              1
         790                  1             3                  1              2                   1              3
         791                  1             3                  1              3                   2              2
         793                  1             2                  1              1                   1              2
         794                  2             3                  1              3                   1              3
         795                  1             2                  1              3                   1              2
         796                  1             1                  1              2                   1              1
         797                  1             3                  1              1                   1              2
         798                  1             1                  2              3                   1              3
         799                  1             3                  1              3                   1              2
         800                  1             1                  1              3                   1              1
         802                  1             3                  1              1                   2              2
         803                  2             1                  1              2                   1              1
         804                  1             3                  1              3                   2              2
         805                  1             3                  1              3                   1              1
         806                  2             3                  1              3                   2              2
         807                  2             1                  2              1                   2              1
         808                  1             2                  1              1                   1              2
         809                  1             1                  1              2                   1              3


                                                                                                                     N-153
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 403 of 476 PageID #: 3041
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         774                   2              1                   2                  174   CBC1_1651757381_6
         775                   1              3                   1                  175   CBC1_1651757381_6
         776                   1              3                   1                  176   CBC1_1651757381_6
         777                   2              2                   2                  177   CBC1_1651757381_6
         779                   1              3                   1                  179   CBC1_1651757381_6
         780                   1              1                   1                  180   CBC1_1651757381_6
         781                   2              2                   2                  181   CBC1_1651757381_6
         782                   1              3                   1                  182   CBC1_1651757381_6
         783                   1              2                   1                  183   CBC1_1651757381_6
         784                   1              2                   1                  184   CBC1_1651757381_6
         785                   2              2                   2                  185   CBC1_1651757381_6
         786                   2              3                   2                  186   CBC1_1651757381_6
         787                   1              3                   1                  187   CBC1_1651757381_6
         788                   1              1                   1                  188   CBC1_1651757381_6
         789                   1              1                   1                  189   CBC1_1651757381_6
         790                   1              2                   1                  190   CBC1_1651757381_6
         791                   1              2                   1                  191   CBC1_1651757381_6
         793                   1              3                   1                  193   CBC1_1651757381_6
         794                   1              1                   2                  194   CBC1_1651757381_6
         795                   1              2                   1                  195   CBC1_1651757381_6
         796                   1              3                   1                  196   CBC1_1651757381_6
         797                   1              1                   1                  197   CBC1_1651757381_6
         798                   2              1                   1                  198   CBC1_1651757381_6
         799                   1              3                   1                  199   CBC1_1651757381_6
         800                   1              3                   1                  200   CBC1_1651757381_6
         802                   1              1                   1                  202   CBC1_1651757381_6
         803                   1              1                   1                  203   CBC1_1651757381_6
         804                   2              2                   1                  204   CBC1_1651757381_6
         805                   2              3                   1                  205   CBC1_1651757381_6
         806                   2              2                   1                  206   CBC1_1651757381_6
         807                   1              2                   1                  207   CBC1_1651757381_6
         808                   1              3                   1                  208   CBC1_1651757381_6
         809                   1              2                   1                  209   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 404 of 476 PageID #: 3042
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         810   13 Jul 2022 - 01:21:05 EDT     13 Jul 2022 - 01:32:48 EDT                703                702           1657689665
         811   13 Jul 2022 - 01:48:23 EDT     13 Jul 2022 - 01:52:49 EDT                266                264           1657691303
         812   13 Jul 2022 - 02:42:38 EDT     13 Jul 2022 - 02:46:50 EDT                252                251           1657694558
         813   13 Jul 2022 - 03:10:13 EDT     13 Jul 2022 - 03:17:00 EDT                407                407           1657696213
         814   13 Jul 2022 - 03:18:48 EDT     13 Jul 2022 - 03:25:35 EDT                407                406           1657696728
         815   13 Jul 2022 - 03:21:38 EDT     13 Jul 2022 - 03:24:01 EDT                143                142           1657696898
         816   13 Jul 2022 - 03:25:20 EDT     13 Jul 2022 - 03:27:04 EDT                104                101           1657697120
         817   13 Jul 2022 - 03:37:21 EDT     13 Jul 2022 - 03:46:39 EDT                558                558           1657697841
         818   13 Jul 2022 - 05:35:30 EDT     13 Jul 2022 - 05:38:24 EDT                174                172           1657704930
         819   13 Jul 2022 - 05:43:40 EDT     13 Jul 2022 - 05:46:45 EDT                185                185           1657705420
         820   13 Jul 2022 - 05:53:24 EDT     13 Jul 2022 - 05:56:32 EDT                188                187           1657706004
         821   13 Jul 2022 - 06:18:26 EDT     13 Jul 2022 - 06:20:16 EDT                110                109           1657707506
         822   13 Jul 2022 - 06:34:41 EDT     13 Jul 2022 - 06:37:39 EDT                178                177           1657708481
         824   13 Jul 2022 - 06:45:44 EDT     13 Jul 2022 - 06:50:39 EDT                295                295           1657709144
         825   13 Jul 2022 - 06:53:07 EDT     13 Jul 2022 - 06:57:15 EDT                248                246           1657709587
         826   13 Jul 2022 - 06:59:40 EDT     13 Jul 2022 - 07:02:34 EDT                174                174           1657709980
         828   13 Jul 2022 - 07:24:31 EDT     13 Jul 2022 - 07:33:27 EDT                536                536           1657711471
         829   13 Jul 2022 - 07:34:28 EDT     13 Jul 2022 - 07:37:02 EDT                154                150           1657712068
         830   13 Jul 2022 - 07:58:39 EDT     13 Jul 2022 - 08:02:23 EDT                224                223           1657713519
         831   13 Jul 2022 - 07:58:47 EDT     13 Jul 2022 - 08:00:14 EDT                 87                 85           1657713527
         832   13 Jul 2022 - 08:02:45 EDT     13 Jul 2022 - 08:11:49 EDT                544                542           1657713765
         833   13 Jul 2022 - 08:17:23 EDT     13 Jul 2022 - 08:20:33 EDT                190                186           1657714643
         834   13 Jul 2022 - 08:23:55 EDT     13 Jul 2022 - 08:29:30 EDT                335                333           1657715035
         836   13 Jul 2022 - 08:30:44 EDT     13 Jul 2022 - 08:33:49 EDT                185                183           1657715444
         837   13 Jul 2022 - 08:39:47 EDT     13 Jul 2022 - 08:43:05 EDT                198                198           1657715987
         838   13 Jul 2022 - 08:54:23 EDT     13 Jul 2022 - 08:58:16 EDT                233                232           1657716863
         839   13 Jul 2022 - 09:04:26 EDT     13 Jul 2022 - 09:06:15 EDT                109                109           1657717466
         840   13 Jul 2022 - 09:17:46 EDT     13 Jul 2022 - 09:23:32 EDT                346                345           1657718266
         841   13 Jul 2022 - 09:19:18 EDT     13 Jul 2022 - 09:22:06 EDT                168                167           1657718358
         842   13 Jul 2022 - 09:20:41 EDT     13 Jul 2022 - 09:23:54 EDT                193                192           1657718441
         843   13 Jul 2022 - 09:25:15 EDT     13 Jul 2022 - 09:26:48 EDT                 93                 92           1657718715
         844   13 Jul 2022 - 09:25:26 EDT     13 Jul 2022 - 09:29:24 EDT                238                235           1657718726
         845   13 Jul 2022 - 09:30:49 EDT     13 Jul 2022 - 09:41:36 EDT                647                645           1657719049


                                                                                                                                      N-155
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         810         1657690368                1                5                 0                         Term
         811         1657691569                1                5                 0                         Term
         812         1657694810                1                5                 0                         Term
         813         1657696620                1                5                 0                         Term
         814         1657697135                1                5                 0                         Term
         815         1657697041                1                5                 0                         Term
         816         1657697224                1                5                 0                         Term
         817         1657698399                1                5                 0                         Term
         818         1657705104                1                5                 0                         Term
         819         1657705605                1                5                 0                         Term
         820         1657706192                1                5                 0                         Term
         821         1657707616                1                5                 0                         Term
         822         1657708659                1                5                 0                         Term
         824         1657709439                1                5                 0                         Term
         825         1657709835                1                5                 0                         Term
         826         1657710154                1                5                 0                         Term
         828         1657712007                1                5                 0                         Term
         829         1657712222                1                5                 0                         Term
         830         1657713743                1                5                 0                         Term
         831         1657713614                1                5                 0                         Term
         832         1657714309                1                5                 0                         Term
         833         1657714833                1                5                 0                         Term
         834         1657715370                1                5                 0                         Term
         836         1657715629                1                5                 0                         Term
         837         1657716185                1                5                 0                         Term
         838         1657717096                1                5                 0                         Term
         839         1657717575                1                5                 0                         Term
         840         1657718612                1                5                 0                         Term
         841         1657718526                1                5                 0                         Term
         842         1657718634                1                5                 0                         Term
         843         1657718808                1                5                 0                         Term
         844         1657718964                1                5                 0                         Term
         845         1657719696                1                5                 0                         Term


                                                                                                                                 N-156
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 406 of 476 PageID #: 3044
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         810                    1               782   1794698365             3                  1             2
         811                    1               412   1794709075             1                  1             1
         812                    1               414   1794724349             2                  1             1
         813                    1               730   1794735156             2                  1             2
         814                    1               390   1794738013             2                  2             1
         815                    1               414   1794740776             3                  1             2
         816                    1              1349   1794739152             2                  1             2
         817                    1               962   1794745572             1                  1             2
         818                    1              1349   1794793903             2                  1             1
         819                    1               390   1794802854             3                  1             3
         820                    1               396   1794804209             2                  1             2
         821                    1               414   1794819653             2                  1             2
         822                    1               412   1794829034             1                  1             3
         824                    1               414   1794834815             3                  1             1
         825                    1              1263   1794835277             1                  1             1
         826                    1              1321   1794840951             2                  2             3
         828                    1              1051   1794851150             2                  1             1
         829                    1              1536   1794854481             1                  1             2
         830                    1               360   1794874503             3                  1             1
         831                    1              1903   1794870864             2                  1             2
         832                    1               800   1794878274             2                  1             3
         833                    1               412   1794890174             3                  1             3
         834                    1              1519   1794892245             1                  1             1
         836                    1               375   1794898393             2                  1             1
         837                    1               360   1794888287             3                  1             1
         838                    1               360   1794913430             2                  1             3
         839                    1              1440   1794922715             3                  1             2
         840                    1               375   1794932666             2                  1             3
         841                    1               360   1794933839             3                  1             3
         842                    1              1405   1794933662             1                  2             2
         843                    1              1440   1794938984             2                  1             1
         844                    1               360   1794937871             1                  1             2
         845                    1               800   1794935627             1                  1             3


                                                                                                                  N-157
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 407 of 476 PageID #: 3045
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         810                  1             1                  1             3                  1             3
         811                  1             1                  2             3                  1             3
         812                  1             1                  1             2                  1             3
         813                  1             2                  2             3                  1             3
         814                  1             3                  2             2                  1             1
         815                  1             2                  1             3                  1             2
         816                  1             1                  1             1                  1             3
         817                  1             2                  2             2                  1             3
         818                  1             1                  1             1                  1             2
         819                  1             1                  1             1                  1             1
         820                  1             2                  1             1                  1             2
         821                  1             3                  1             1                  1             3
         822                  1             2                  1             1                  1             3
         824                  1             2                  1             1                  2             3
         825                  1             1                  2             1                  2             3
         826                  1             3                  1             2                  1             1
         828                  1             1                  1             2                  1             3
         829                  1             1                  1             1                  2             1
         830                  2             1                  1             1                  1             2
         831                  1             2                  1             3                  1             3
         832                  1             3                  2             1                  1             1
         833                  1             3                  1             3                  1             1
         834                  1             1                  1             2                  1             3
         836                  1             3                  1             3                  1             3
         837                  1             3                  2             2                  1             3
         838                  1             1                  1             1                  1             2
         839                  1             1                  1             3                  1             1
         840                  1             2                  1             2                  1             1
         841                  1             1                  1             1                  1             3
         842                  1             2                  1             3                  2             3
         843                  1             3                  2             2                  1             3
         844                  1             3                  1             2                  1             3
         845                  1             2                  1             2                  1             3


                                                                                                                  N-158
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 408 of 476 PageID #: 3046
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         810                  2             2                  1             1                  1             1
         811                  1             2                  2             3                  1             3
         812                  1             1                  1             2                  1             1
         813                  1             3                  1             3                  1             1
         814                  1             3                  2             2                  2             1
         815                  2             1                  2             1                  1             1
         816                  1             3                  1             2                  1             2
         817                  2             2                  1             2                  2             1
         818                  1             3                  1             1                  1             1
         819                  1             1                  1             3                  1             2
         820                  1             2                  1             3                  1             3
         821                  1             3                  1             3                  1             3
         822                  1             1                  1             2                  1             2
         824                  2             2                  2             2                  2             3
         825                  1             3                  2             3                  1             1
         826                  1             3                  1             2                  1             1
         828                  1             2                  2             2                  1             2
         829                  1             3                  1             3                  1             2
         830                  1             2                  1             2                  2             1
         831                  1             3                  1             1                  1             1
         832                  2             1                  1             1                  1             2
         833                  1             1                  1             2                  1             1
         834                  1             3                  1             3                  1             2
         836                  1             2                  1             2                  1             1
         837                  2             2                  2             1                  1             1
         838                  1             1                  1             2                  1             1
         839                  1             1                  1             3                  1             3
         840                  1             2                  1             1                  1             1
         841                  1             3                  1             3                  1             1
         842                  2             2                  1             1                  2             2
         843                  1             3                  2             2                  2             1
         844                  1             3                  1             3                  1             2
         845                  1             3                  1             3                  1             1


                                                                                                                  N-159
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 409 of 476 PageID #: 3047
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         810                  2             2                  1              2                   1              2
         811                  1             3                  1              3                   2              2
         812                  1             3                  1              2                   1              3
         813                  2             3                  2              2                   1              2
         814                  1             1                  2              2                   1              1
         815                  2             3                  2              3                   1              2
         816                  1             2                  1              3                   1              1
         817                  1             2                  2              1                   2              2
         818                  1             2                  1              3                   1              2
         819                  1             1                  1              1                   1              3
         820                  1             3                  1              3                   1              3
         821                  1             2                  1              2                   1              3
         822                  1             2                  1              3                   1              2
         824                  1             1                  2              1                   1              3
         825                  2             1                  1              2                   2              1
         826                  1             2                  1              1                   2              3
         828                  2             3                  1              3                   1              3
         829                  2             1                  2              2                   1              3
         830                  1             2                  2              3                   1              1
         831                  1             3                  1              3                   1              3
         832                  2             2                  1              2                   1              1
         833                  1             1                  1              2                   1              1
         834                  1             1                  1              2                   1              2
         836                  1             3                  1              1                   1              3
         837                  2             2                  1              2                   2              2
         838                  1             3                  1              1                   1              1
         839                  1             3                  1              1                   1              2
         840                  1             1                  1              2                   1              3
         841                  1             3                  1              1                   1              1
         842                  1             3                  1              3                   1              3
         843                  2             2                  1              2                   1              1
         844                  1             3                  1              2                   2              2
         845                  1             1                  1              1                   1              3


                                                                                                                     N-160
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 410 of 476 PageID #: 3048
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         810                   2              3                   1                  210   CBC1_1651757381_6
         811                   2              3                   1                  211   CBC1_1651757381_6
         812                   1              1                   1                  212   CBC1_1651757381_6
         813                   1              3                   1                  213   CBC1_1651757381_6
         814                   1              3                   2                  214   CBC1_1651757381_6
         815                   2              1                   1                  215   CBC1_1651757381_6
         816                   1              1                   1                  216   CBC1_1651757381_6
         817                   2              2                   2                  217   CBC1_1651757381_6
         818                   1              1                   1                  218   CBC1_1651757381_6
         819                   1              3                   1                  219   CBC1_1651757381_6
         820                   1              3                   1                  220   CBC1_1651757381_6
         821                   1              2                   1                  221   CBC1_1651757381_6
         822                   1              2                   1                  222   CBC1_1651757381_6
         824                   1              2                   1                  224   CBC1_1651757381_6
         825                   1              1                   2                  225   CBC1_1651757381_6
         826                   2              2                   1                  226   CBC1_1651757381_6
         828                   1              3                   1                  228   CBC1_1651757381_6
         829                   1              1                   1                  229   CBC1_1651757381_6
         830                   1              2                   1                  230   CBC1_1651757381_6
         831                   1              2                   2                  231   CBC1_1651757381_6
         832                   2              1                   1                  232   CBC1_1651757381_6
         833                   1              2                   1                  233   CBC1_1651757381_6
         834                   1              2                   1                  234   CBC1_1651757381_6
         836                   1              1                   1                  236   CBC1_1651757381_6
         837                   1              2                   2                  237   CBC1_1651757381_6
         838                   1              2                   1                  238   CBC1_1651757381_6
         839                   1              3                   1                  239   CBC1_1651757381_6
         840                   1              2                   1                  240   CBC1_1651757381_6
         841                   1              3                   1                  241   CBC1_1651757381_6
         842                   1              3                   2                  242   CBC1_1651757381_6
         843                   1              2                   2                  243   CBC1_1651757381_6
         844                   1              2                   1                  244   CBC1_1651757381_6
         845                   2              2                   1                  245   CBC1_1651757381_6


                                                                                                                   N-161
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 411 of 476 PageID #: 3049
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         846   13 Jul 2022 - 09:36:50 EDT     13 Jul 2022 - 09:39:56 EDT                186                184           1657719410
         847   13 Jul 2022 - 09:41:40 EDT     13 Jul 2022 - 09:43:36 EDT                116                114           1657719700
         848   13 Jul 2022 - 09:41:51 EDT     13 Jul 2022 - 09:47:11 EDT                320                317           1657719711
         850   13 Jul 2022 - 10:03:11 EDT     13 Jul 2022 - 10:08:16 EDT                305                305           1657720991
         851   13 Jul 2022 - 10:25:06 EDT     13 Jul 2022 - 10:29:29 EDT                263                263           1657722306
         852   13 Jul 2022 - 10:33:45 EDT     13 Jul 2022 - 10:42:11 EDT                506                399           1657722825
         853   13 Jul 2022 - 10:36:16 EDT     13 Jul 2022 - 10:41:48 EDT                332                332           1657722976
         854   13 Jul 2022 - 11:30:04 EDT     13 Jul 2022 - 11:45:16 EDT                912                910           1657726204
         857   13 Jul 2022 - 21:40:03 EDT     13 Jul 2022 - 21:46:24 EDT                381                378           1657762803
         858   14 Jul 2022 - 02:06:48 EDT     14 Jul 2022 - 02:10:36 EDT                228                228           1657778808
         860   14 Jul 2022 - 12:56:34 EDT     14 Jul 2022 - 12:59:38 EDT                184                184           1657817794
         862   14 Jul 2022 - 13:29:03 EDT     14 Jul 2022 - 13:37:23 EDT                500                497           1657819743
         863   14 Jul 2022 - 13:34:49 EDT     14 Jul 2022 - 13:39:52 EDT                303                303           1657820089
         864   14 Jul 2022 - 13:45:26 EDT     14 Jul 2022 - 13:50:39 EDT                313                312           1657820726
         865   14 Jul 2022 - 13:53:34 EDT     14 Jul 2022 - 14:00:15 EDT                401                401           1657821214
         866   14 Jul 2022 - 13:54:43 EDT     14 Jul 2022 - 13:58:00 EDT                197                196           1657821283
         867   14 Jul 2022 - 13:56:08 EDT     14 Jul 2022 - 14:03:15 EDT                427                427           1657821368
         868   14 Jul 2022 - 14:29:19 EDT     14 Jul 2022 - 14:31:19 EDT                120                118           1657823359
         869   14 Jul 2022 - 14:35:35 EDT     14 Jul 2022 - 14:38:20 EDT                165                164           1657823735
         870   14 Jul 2022 - 15:32:45 EDT     14 Jul 2022 - 15:35:36 EDT                171                169           1657827165
         871   14 Jul 2022 - 15:41:19 EDT     14 Jul 2022 - 15:44:19 EDT                180                180           1657827679
         872   14 Jul 2022 - 16:08:49 EDT     14 Jul 2022 - 16:14:03 EDT                314                312           1657829329
         873   14 Jul 2022 - 16:09:53 EDT     14 Jul 2022 - 16:31:26 EDT               1293               1290           1657829393
         874   14 Jul 2022 - 17:12:04 EDT     14 Jul 2022 - 17:16:45 EDT                281                280           1657833124
         875   14 Jul 2022 - 17:30:36 EDT     14 Jul 2022 - 17:32:29 EDT                113                111           1657834236
         876   14 Jul 2022 - 17:41:24 EDT     14 Jul 2022 - 17:45:35 EDT                251                251           1657834884
         878   14 Jul 2022 - 18:12:16 EDT     14 Jul 2022 - 18:14:41 EDT                145                145           1657836736
         879   14 Jul 2022 - 18:16:38 EDT     14 Jul 2022 - 18:19:35 EDT                177                177           1657836998
         880   14 Jul 2022 - 18:23:28 EDT     14 Jul 2022 - 18:27:44 EDT                256                255           1657837408
         881   14 Jul 2022 - 18:47:28 EDT     14 Jul 2022 - 18:50:45 EDT                197                196           1657838848
         882   14 Jul 2022 - 18:48:38 EDT     14 Jul 2022 - 18:55:13 EDT                395                393           1657838918
         883   14 Jul 2022 - 18:50:45 EDT     14 Jul 2022 - 18:53:02 EDT                137                137           1657839045
         884   14 Jul 2022 - 18:55:22 EDT     14 Jul 2022 - 19:02:20 EDT                418                417           1657839322


                                                                                                                                      N-162
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 412 of 476 PageID #: 3050
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         846         1657719596                1                5                 0                         Term
         847         1657719816                1                5                 0                         Term
         848         1657720031                1                5                 0                         Term
         850         1657721296                1                5                 0                         Term
         851         1657722569                1                5                 0                         Term
         852         1657723331                1                5                 0                         Term
         853         1657723308                1                5                 0                         Term
         854         1657727116                1                5                 0                         Term
         857         1657763184                1                5                 0                         Term
         858         1657779036                1                5                 0                         Term
         860         1657817978                1                5                 0                         Term
         862         1657820243                1                5                 0                         Term
         863         1657820392                1                5                 0                         Term
         864         1657821039                1                5                 0                         Term
         865         1657821615                1                5                 0                         Term
         866         1657821480                1                5                 0                         Term
         867         1657821795                1                5                 0                         Term
         868         1657823479                1                5                 0                         Term
         869         1657823900                1                5                 0                         Term
         870         1657827336                1                5                 0                         Term
         871         1657827859                1                5                 0                         Term
         872         1657829643                1                5                 0                         Term
         873         1657830686                1                5                 0                         Term
         874         1657833405                1                5                 0                         Term
         875         1657834349                1                5                 0                         Term
         876         1657835135                1                5                 0                         Term
         878         1657836881                1                5                 0                         Term
         879         1657837175                1                5                 0                         Term
         880         1657837664                1                5                 0                         Term
         881         1657839045                1                5                 0                         Term
         882         1657839313                1                5                 0                         Term
         883         1657839182                1                5                 0                         Term
         884         1657839740                1                5                 0                         Term


                                                                                                                                 N-163
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 413 of 476 PageID #: 3051
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth         RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         846                    1              1253    1794948991              1                  2             1
         847                    1              1887    1794922463              2                  1             2
         848                    1              1158    1794951007              2                  1             2
         850                    1               390    1794971439              3                  1             2
         851                    1              1519    1794990239              2                  1             1
         852                    1               414    1794991420              3                  2             1
         853                    1              1519    1794997550              2                  1             1
         854                    1              1519    1795017829              2                  1             3
         857                    1              1440   fX61RNK6                 1                  1             2
         858                    1               750   HYw3wzz6                 1                  2             1
         860                    1               428    1796136815              2                  1             1
         862                    1               667    1796173852              2                  1             1
         863                    1               412    1796176767              1                  1             2
         864                    1              1519    1796164610              1                  1             3
         865                    1              1903   gsIRgCcu                 1                  1             1
         866                    1              1519    1796200531              2                  1             2
         867                    1              1440    1796197853              1                  1             3
         868                    1              1422    1796235705              1                  1             2
         869                    1              1263   07NBxOcT                 1                  1             3
         870                    1               414    1796294789              3                  1             3
         871                    1              1489    1796301831              1                  2             3
         872                    1              1009    1796327693              1                  1             2
         873                    1              1440    1796321963              1                  1             3
         874                    1              1440    1796385115              1                  1             1
         875                    1              1903    1796402215              2                  1             2
         876                    1              1489    1796410247              3                  2             2
         878                    1              1864    1796432503              2                  1             3
         879                    1              1536    1796434851              1                  2             2
         880                    1               375    1796436404              1                  1             2
         881                    1               414    1796457061              1                  1             2
         882                    1              1903    1796449111              3                  1             1
         883                    1              1390    1796460502              2                  1             2
         884                    1              1366    1796461037              1                  1             3


                                                                                                                    N-164
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 414 of 476 PageID #: 3052
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         846                  2             2                  1             1                  2             1
         847                  1             3                  1             3                  1             1
         848                  1             3                  1             2                  1             2
         850                  1             2                  1             1                  1             2
         851                  1             1                  1             2                  1             2
         852                  1             3                  1             1                  1             3
         853                  1             3                  1             2                  1             2
         854                  1             1                  1             3                  1             2
         857                  1             2                  1             3                  1             3
         858                  2             2                  2             1                  1             3
         860                  1             3                  1             3                  1             2
         862                  1             1                  1             2                  1             1
         863                  1             2                  1             1                  1             2
         864                  1             2                  1             3                  1             2
         865                  2             2                  1             3                  2             1
         866                  1             2                  1             3                  1             2
         867                  1             2                  1             3                  1             3
         868                  1             2                  2             1                  1             3
         869                  1             2                  1             2                  1             3
         870                  1             2                  1             3                  2             2
         871                  1             3                  1             1                  1             2
         872                  1             2                  1             1                  2             3
         873                  1             1                  1             2                  1             2
         874                  1             2                  1             2                  1             1
         875                  1             2                  2             3                  1             1
         876                  2             1                  1             2                  1             1
         878                  1             2                  2             3                  1             1
         879                  1             3                  1             3                  1             3
         880                  2             1                  2             1                  2             1
         881                  1             3                  1             3                  1             3
         882                  1             2                  1             3                  1             3
         883                  1             2                  1             2                  1             2
         884                  1             2                  1             2                  1             2


                                                                                                                  N-165
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 415 of 476 PageID #: 3053
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         846                  2             3                  2             1                  1             2
         847                  1             3                  1             3                  1             3
         848                  1             1                  1             1                  1             1
         850                  1             3                  1             3                  1             1
         851                  1             2                  1             2                  1             3
         852                  1             3                  2             2                  2             3
         853                  1             2                  1             1                  1             3
         854                  1             2                  1             1                  1             3
         857                  1             2                  1             2                  1             1
         858                  1             2                  2             1                  2             2
         860                  2             3                  2             1                  1             2
         862                  1             1                  1             3                  1             2
         863                  1             3                  1             2                  1             3
         864                  1             3                  2             3                  1             2
         865                  2             2                  1             1                  1             3
         866                  1             3                  1             2                  2             1
         867                  1             1                  1             2                  1             2
         868                  1             2                  1             2                  1             2
         869                  1             1                  1             1                  1             2
         870                  1             3                  1             3                  1             3
         871                  2             2                  1             2                  1             2
         872                  1             3                  1             1                  1             2
         873                  1             1                  1             2                  1             2
         874                  1             1                  1             2                  1             1
         875                  1             3                  2             3                  1             2
         876                  2             2                  2             1                  2             2
         878                  1             1                  2             2                  1             3
         879                  1             1                  1             1                  1             1
         880                  1             1                  2             2                  2             2
         881                  1             3                  2             3                  2             1
         882                  1             3                  1             1                  1             1
         883                  1             2                  1             1                  1             3
         884                  1             1                  1             1                  1             2


                                                                                                                  N-166
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 416 of 476 PageID #: 3054
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         846                  1             1                  2              2                   2              3
         847                  1             2                  1              1                   1              3
         848                  1             3                  1              1                   1              3
         850                  1             3                  1              1                   1              1
         851                  1             3                  1              3                   1              2
         852                  1             1                  1              1                   2              1
         853                  1             2                  1              3                   1              1
         854                  1             2                  1              1                   1              2
         857                  1             3                  1              2                   2              2
         858                  2             3                  1              3                   2              1
         860                  2             2                  1              3                   1              3
         862                  1             1                  1              3                   1              3
         863                  1             3                  1              3                   1              1
         864                  1             1                  1              3                   1              2
         865                  1             1                  1              3                   1              3
         866                  2             2                  1              3                   2              2
         867                  1             3                  2              3                   1              1
         868                  1             2                  1              3                   2              3
         869                  2             2                  2              1                   2              3
         870                  1             3                  1              3                   1              2
         871                  1             1                  2              2                   2              1
         872                  1             3                  2              1                   1              3
         873                  1             2                  1              3                   1              2
         874                  1             1                  1              1                   1              3
         875                  2             1                  2              3                   1              1
         876                  1             1                  2              1                   2              2
         878                  1             1                  2              2                   1              1
         879                  1             3                  1              3                   1              1
         880                  2             2                  2              1                   2              3
         881                  1             3                  2              2                   1              1
         882                  1             3                  1              2                   1              3
         883                  1             1                  1              1                   1              1
         884                  1             1                  1              3                   1              3


                                                                                                                     N-167
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 417 of 476 PageID #: 3055
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         846                   2              2                   1                  246   CBC1_1651757381_6
         847                   1              1                   1                  247   CBC1_1651757381_6
         848                   1              2                   1                  248   CBC1_1651757381_6
         850                   1              1                   1                  250   CBC1_1651757381_6
         851                   1              2                   1                  251   CBC1_1651757381_6
         852                   1              1                   1                  252   CBC1_1651757381_6
         853                   1              1                   1                  253   CBC1_1651757381_6
         854                   1              1                   1                  254   CBC1_1651757381_6
         857                   1              3                   1                  257   CBC1_1651757381_6
         858                   1              3                   1                  258   CBC1_1651757381_6
         860                   1              1                   1                  260   CBC1_1651757381_6
         862                   1              2                   1                  262   CBC1_1651757381_6
         863                   1              3                   1                  263   CBC1_1651757381_6
         864                   2              3                   1                  264   CBC1_1651757381_6
         865                   1              3                   1                  265   CBC1_1651757381_6
         866                   1              2                   1                  266   CBC1_1651757381_6
         867                   1              1                   1                  267   CBC1_1651757381_6
         868                   2              1                   1                  268   CBC1_1651757381_6
         869                   1              3                   2                  269   CBC1_1651757381_6
         870                   1              2                   1                  270   CBC1_1651757381_6
         871                   2              2                   1                  271   CBC1_1651757381_6
         872                   1              3                   1                  272   CBC1_1651757381_6
         873                   1              2                   1                  273   CBC1_1651757381_6
         874                   1              3                   1                  274   CBC1_1651757381_6
         875                   1              2                   2                  275   CBC1_1651757381_6
         876                   2              2                   2                  276   CBC1_1651757381_6
         878                   1              3                   2                  278   CBC1_1651757381_6
         879                   2              2                   1                  279   CBC1_1651757381_6
         880                   2              2                   1                  280   CBC1_1651757381_6
         881                   2              2                   1                  281   CBC1_1651757381_6
         882                   1              2                   1                  282   CBC1_1651757381_6
         883                   1              1                   1                  283   CBC1_1651757381_6
         884                   1              3                   1                  284   CBC1_1651757381_6


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                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 418 of 476 PageID #: 3056
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         885   14 Jul 2022 - 19:05:08 EDT     14 Jul 2022 - 19:08:13 EDT                185                184           1657839908
         886   14 Jul 2022 - 19:08:43 EDT     14 Jul 2022 - 19:13:28 EDT                285                283           1657840123
         887   14 Jul 2022 - 19:15:09 EDT     14 Jul 2022 - 19:16:55 EDT                106                106           1657840509
         888   14 Jul 2022 - 19:19:18 EDT     14 Jul 2022 - 19:22:43 EDT                205                203           1657840758
         889   14 Jul 2022 - 19:42:27 EDT     14 Jul 2022 - 19:45:03 EDT                156                155           1657842147
         890   14 Jul 2022 - 19:43:26 EDT     14 Jul 2022 - 19:51:19 EDT                473                471           1657842206
         891   14 Jul 2022 - 20:09:10 EDT     14 Jul 2022 - 20:23:46 EDT                876                876           1657843750
         892   14 Jul 2022 - 20:18:31 EDT     14 Jul 2022 - 20:20:49 EDT                138                137           1657844311
         893   14 Jul 2022 - 20:19:00 EDT     14 Jul 2022 - 20:30:10 EDT                670                666           1657844340
         894   14 Jul 2022 - 20:35:32 EDT     14 Jul 2022 - 20:44:20 EDT                528                527           1657845332
         895   14 Jul 2022 - 20:38:15 EDT     14 Jul 2022 - 20:42:43 EDT                268                267           1657845495
         896   14 Jul 2022 - 20:52:06 EDT     14 Jul 2022 - 20:53:59 EDT                113                113           1657846326
         897   14 Jul 2022 - 21:16:10 EDT     14 Jul 2022 - 21:18:15 EDT                125                124           1657847770
         898   14 Jul 2022 - 21:16:31 EDT     14 Jul 2022 - 21:18:14 EDT                103                101           1657847791
         899   14 Jul 2022 - 21:22:58 EDT     14 Jul 2022 - 21:27:20 EDT                262                260           1657848178
         900   14 Jul 2022 - 21:32:09 EDT     14 Jul 2022 - 21:37:22 EDT                313                313           1657848729
         901   14 Jul 2022 - 21:42:31 EDT     14 Jul 2022 - 21:51:58 EDT                567                566           1657849351
         902   14 Jul 2022 - 22:13:11 EDT     14 Jul 2022 - 22:17:24 EDT                253                252           1657851191
         903   14 Jul 2022 - 22:13:19 EDT     14 Jul 2022 - 22:25:16 EDT                717                717           1657851199
         904   14 Jul 2022 - 22:25:54 EDT     14 Jul 2022 - 22:29:26 EDT                212                212           1657851954
         905   14 Jul 2022 - 22:32:10 EDT     14 Jul 2022 - 22:39:28 EDT                438                437           1657852330
         906   14 Jul 2022 - 22:45:40 EDT     14 Jul 2022 - 22:52:32 EDT                412                411           1657853140
         907   14 Jul 2022 - 22:47:06 EDT     14 Jul 2022 - 22:50:05 EDT                179                177           1657853226
         908   14 Jul 2022 - 22:51:16 EDT     14 Jul 2022 - 22:55:06 EDT                230                227           1657853476
         909   14 Jul 2022 - 23:22:52 EDT     14 Jul 2022 - 23:27:10 EDT                258                257           1657855372
         910   15 Jul 2022 - 00:15:59 EDT     15 Jul 2022 - 00:27:39 EDT                700                699           1657858559
         912   15 Jul 2022 - 00:59:23 EDT     15 Jul 2022 - 01:01:54 EDT                151                151           1657861163
         913   15 Jul 2022 - 01:18:50 EDT     15 Jul 2022 - 01:22:11 EDT                201                199           1657862330
         914   15 Jul 2022 - 01:36:14 EDT     15 Jul 2022 - 01:41:08 EDT                294                292           1657863374
         915   15 Jul 2022 - 02:58:00 EDT     15 Jul 2022 - 03:00:39 EDT                159                159           1657868280
         916   15 Jul 2022 - 04:11:13 EDT     15 Jul 2022 - 04:14:39 EDT                206                206           1657872673
         917   15 Jul 2022 - 04:42:22 EDT     15 Jul 2022 - 04:48:16 EDT                354                354           1657874542
         918   15 Jul 2022 - 05:13:13 EDT     15 Jul 2022 - 05:17:19 EDT                246                246           1657876393


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 419 of 476 PageID #: 3057
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         885         1657840093                1                5                 0                         Term
         886         1657840408                1                5                 0                         Term
         887         1657840615                1                5                 0                         Term
         888         1657840963                1                5                 0                         Term
         889         1657842303                1                5                 0                         Term
         890         1657842679                1                5                 0                         Term
         891         1657844626                1                5                 0                         Term
         892         1657844449                1                5                 0                         Term
         893         1657845010                1                5                 0                         Term
         894         1657845860                1                5                 0                         Term
         895         1657845763                1                5                 0                         Term
         896         1657846439                1                5                 0                         Term
         897         1657847895                1                5                 0                         Term
         898         1657847894                1                5                 0                         Term
         899         1657848440                1                5                 0                         Term
         900         1657849042                1                5                 0                         Term
         901         1657849918                1                5                 0                         Term
         902         1657851444                1                5                 0                         Term
         903         1657851916                1                5                 0                         Term
         904         1657852166                1                5                 0                         Term
         905         1657852768                1                5                 0                         Term
         906         1657853552                1                5                 0                         Term
         907         1657853405                1                5                 0                         Term
         908         1657853706                1                5                 0                         Term
         909         1657855630                1                5                 0                         Term
         910         1657859259                1                5                 0                         Term
         912         1657861314                1                5                 0                         Term
         913         1657862531                1                5                 0                         Term
         914         1657863668                1                5                 0                         Term
         915         1657868439                1                5                 0                         Term
         916         1657872879                1                5                 0                         Term
         917         1657874896                1                5                 0                         Term
         918         1657876639                1                5                 0                         Term


                                                                                                                                 N-170
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 420 of 476 PageID #: 3058
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         885                    1              1583   1796470680             3                  1             2
         886                    1              1903   1796471023             2                  1             3
         887                    1               375   1796477283             1                  1             2
         888                    1               412   1796480917             2                  1             1
         889                    1               375   1796495726             3                  1             2
         890                    1               667   1796492653             2                  2             2
         891                    1              1423   1796499510             1                  1             1
         892                    1              1263   1796517548             3                  1             3
         893                    1              1519   1796511067             3                  1             2
         894                    1              1518   1796514794             1                  1             1
         895                    1               836   1796529297             2                  1             3
         896                    1               412   1796538500             1                  1             1
         897                    1               432   1796552936             1                  1             2
         898                    1               375   1796552836             3                  1             1
         899                    1              1264   1796554511             3                  1             2
         900                    1              1263   1796560812             1                  1             1
         901                    1              1349   1796563920             3                  1             2
         902                    1              1263   1796583137             2                  1             2
         903                    1              1903   1796578581             1                  1             2
         904                    1              1440   1796590629             3                  1             1
         905                    1               390   1796594336             1                  1             3
         906                    1               414   1796593741             3                  1             1
         907                    1               390   1796601929             2                  1             3
         908                    1               723   1796605034             2                  1             3
         909                    1               600   1796617659             3                  1             1
         910                    1               393   1796642949             1                  1             2
         912                    1               414   1796660432             1                  1             1
         913                    1               414   1796667799             3                  1             1
         914                    1               375   1796673075             2                  1             3
         915                    1              1354   1796703008             3                  1             3
         916                    1              1905   1796734852             2                  2             2
         917                    1               390   1796747903             1                  1             2
         918                    1              1349   1796761949             3                  1             2


                                                                                                                  N-171
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 421 of 476 PageID #: 3059
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         885                  1             2                  1             3                  1             3
         886                  1             2                  1             1                  1             3
         887                  1             3                  1             1                  2             2
         888                  1             3                  1             2                  2             1
         889                  2             3                  1             1                  1             2
         890                  1             1                  2             3                  1             2
         891                  1             2                  2             2                  1             3
         892                  1             2                  1             3                  1             3
         893                  1             3                  1             1                  1             1
         894                  1             2                  1             3                  1             1
         895                  1             2                  1             2                  1             1
         896                  2             3                  1             3                  1             1
         897                  1             1                  1             3                  1             3
         898                  1             2                  1             2                  1             1
         899                  1             2                  1             3                  1             1
         900                  1             3                  1             2                  1             2
         901                  1             2                  1             2                  1             3
         902                  1             1                  1             3                  1             2
         903                  1             3                  1             2                  1             1
         904                  1             1                  1             2                  1             1
         905                  1             2                  2             1                  1             2
         906                  1             1                  2             3                  1             2
         907                  1             1                  1             3                  1             2
         908                  1             2                  1             2                  1             3
         909                  1             3                  1             1                  1             2
         910                  1             3                  2             2                  1             3
         912                  1             3                  1             1                  1             1
         913                  1             2                  1             1                  1             2
         914                  1             1                  1             3                  1             2
         915                  1             2                  1             1                  1             1
         916                  2             1                  1             2                  1             1
         917                  2             2                  2             1                  1             1
         918                  1             2                  1             2                  1             2


                                                                                                                  N-172
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 422 of 476 PageID #: 3060
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         885                  1             1                  1             1                  1             1
         886                  2             2                  1             3                  1             1
         887                  1             3                  1             2                  1             3
         888                  1             1                  1             3                  1             1
         889                  1             3                  2             1                  1             1
         890                  2             2                  1             3                  1             1
         891                  2             3                  1             1                  2             3
         892                  1             1                  2             2                  1             1
         893                  1             1                  1             1                  1             2
         894                  1             3                  1             3                  1             3
         895                  2             3                  2             3                  1             1
         896                  2             3                  2             2                  1             1
         897                  1             3                  1             1                  1             3
         898                  1             2                  1             1                  1             2
         899                  1             3                  1             1                  1             2
         900                  1             1                  1             3                  1             1
         901                  2             3                  1             3                  1             3
         902                  1             3                  1             3                  1             1
         903                  1             1                  1             1                  1             3
         904                  1             1                  1             2                  1             1
         905                  2             3                  1             1                  1             2
         906                  1             3                  1             2                  1             1
         907                  1             2                  1             1                  1             2
         908                  1             2                  1             2                  1             3
         909                  2             1                  2             3                  1             1
         910                  1             1                  2             3                  1             2
         912                  1             1                  1             3                  1             3
         913                  1             2                  1             2                  1             2
         914                  1             1                  1             2                  1             2
         915                  1             3                  1             1                  1             2
         916                  2             2                  2             3                  1             1
         917                  2             3                  1             1                  1             1
         918                  1             2                  1             1                  1             1


                                                                                                                  N-173
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 423 of 476 PageID #: 3061
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         885                  1             1                  1              1                   1              3
         886                  1             2                  2              2                   1              1
         887                  2             2                  2              1                   1              2
         888                  1             1                  2              1                   1              3
         889                  1             2                  2              2                   2              1
         890                  1             3                  2              1                   2              3
         891                  2             1                  1              1                   1              2
         892                  1             2                  2              2                   1              3
         893                  1             3                  1              1                   1              1
         894                  1             3                  1              3                   1              3
         895                  2             1                  2              2                   2              3
         896                  1             2                  1              3                   1              1
         897                  1             3                  1              1                   1              1
         898                  1             2                  1              2                   1              3
         899                  1             2                  1              3                   1              3
         900                  1             2                  1              3                   1              2
         901                  2             3                  1              3                   1              2
         902                  1             2                  1              2                   1              3
         903                  1             1                  1              1                   1              2
         904                  1             1                  1              1                   1              2
         905                  2             2                  1              1                   1              1
         906                  1             3                  1              3                   2              1
         907                  1             2                  1              2                   1              1
         908                  1             1                  1              1                   1              3
         909                  1             2                  2              3                   2              3
         910                  1             3                  1              2                   2              2
         912                  1             3                  1              2                   1              1
         913                  1             2                  1              3                   1              3
         914                  1             3                  1              1                   1              2
         915                  1             3                  1              2                   1              1
         916                  1             3                  2              2                   1              1
         917                  1             1                  2              1                   1              2
         918                  2             2                  1              2                   2              2


                                                                                                                     N-174
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 424 of 476 PageID #: 3062
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         885                   2              1                   2                  285   CBC1_1651757381_6
         886                   1              1                   1                  286   CBC1_1651757381_6
         887                   2              1                   2                  287   CBC1_1651757381_6
         888                   1              3                   1                  288   CBC1_1651757381_6
         889                   1              3                   2                  289   CBC1_1651757381_6
         890                   2              3                   2                  290   CBC1_1651757381_6
         891                   2              3                   1                  291   CBC1_1651757381_6
         892                   1              2                   1                  292   CBC1_1651757381_6
         893                   1              2                   1                  293   CBC1_1651757381_6
         894                   1              2                   1                  294   CBC1_1651757381_6
         895                   1              2                   1                  295   CBC1_1651757381_6
         896                   2              1                   2                  296   CBC1_1651757381_6
         897                   1              2                   1                  297   CBC1_1651757381_6
         898                   1              3                   1                  298   CBC1_1651757381_6
         899                   1              2                   1                  299   CBC1_1651757381_6
         900                   1              1                   1                  300   CBC1_1651757381_6
         901                   1              3                   1                    1   CBC1_1651757381_6
         902                   1              2                   1                    2   CBC1_1651757381_6
         903                   1              2                   1                    3   CBC1_1651757381_6
         904                   1              2                   1                    4   CBC1_1651757381_6
         905                   2              2                   2                    5   CBC1_1651757381_6
         906                   2              1                   1                    6   CBC1_1651757381_6
         907                   1              2                   1                    7   CBC1_1651757381_6
         908                   1              1                   1                    8   CBC1_1651757381_6
         909                   2              2                   1                    9   CBC1_1651757381_6
         910                   2              2                   2                   10   CBC1_1651757381_6
         912                   1              3                   1                   12   CBC1_1651757381_6
         913                   1              2                   1                   13   CBC1_1651757381_6
         914                   1              1                   1                   14   CBC1_1651757381_6
         915                   1              3                   1                   15   CBC1_1651757381_6
         916                   2              2                   1                   16   CBC1_1651757381_6
         917                   1              3                   1                   17   CBC1_1651757381_6
         918                   2              2                   2                   18   CBC1_1651757381_6


                                                                                                                   N-175
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 425 of 476 PageID #: 3063
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         919   15 Jul 2022 - 05:19:40 EDT     15 Jul 2022 - 05:27:08 EDT                448                447           1657876780
         920   15 Jul 2022 - 05:39:05 EDT     15 Jul 2022 - 05:42:18 EDT                193                193           1657877945
         921   15 Jul 2022 - 06:46:36 EDT     15 Jul 2022 - 06:57:39 EDT                663                663           1657881996
         922   15 Jul 2022 - 07:00:01 EDT     15 Jul 2022 - 07:02:46 EDT                165                165           1657882801
         923   15 Jul 2022 - 07:06:04 EDT     15 Jul 2022 - 07:16:55 EDT                651                649           1657883164
         924   15 Jul 2022 - 07:15:26 EDT     15 Jul 2022 - 07:19:51 EDT                265                263           1657883726
         925   15 Jul 2022 - 08:12:51 EDT     15 Jul 2022 - 08:19:13 EDT                382                382           1657887171
         926   15 Jul 2022 - 08:27:10 EDT     15 Jul 2022 - 08:36:58 EDT                588                586           1657888030
         927   15 Jul 2022 - 08:29:24 EDT     15 Jul 2022 - 08:36:06 EDT                402                412           1657888164
         928   15 Jul 2022 - 08:38:55 EDT     15 Jul 2022 - 08:44:21 EDT                326                326           1657888735
         929   15 Jul 2022 - 08:55:43 EDT     15 Jul 2022 - 08:58:19 EDT                156                153           1657889743
         930   15 Jul 2022 - 08:58:05 EDT     15 Jul 2022 - 09:02:13 EDT                248                247           1657889885
         931   15 Jul 2022 - 09:13:49 EDT     15 Jul 2022 - 09:23:46 EDT                597                595           1657890829
         932   15 Jul 2022 - 09:20:26 EDT     15 Jul 2022 - 09:32:25 EDT                719                717           1657891226
         933   15 Jul 2022 - 09:27:20 EDT     15 Jul 2022 - 09:30:08 EDT                168                168           1657891640
         934   15 Jul 2022 - 09:34:58 EDT     15 Jul 2022 - 09:38:17 EDT                199                195           1657892098
         936   15 Jul 2022 - 09:41:37 EDT     15 Jul 2022 - 09:44:25 EDT                168                164           1657892497
         937   15 Jul 2022 - 10:01:12 EDT     15 Jul 2022 - 10:03:39 EDT                147                144           1657893672
         938   15 Jul 2022 - 10:03:55 EDT     15 Jul 2022 - 10:11:19 EDT                444                443           1657893835
         939   15 Jul 2022 - 10:04:29 EDT     15 Jul 2022 - 10:15:46 EDT                677                677           1657893869
         940   15 Jul 2022 - 10:04:46 EDT     15 Jul 2022 - 10:22:43 EDT               1077               1075           1657893886
         941   15 Jul 2022 - 10:12:10 EDT     15 Jul 2022 - 10:16:57 EDT                287                286           1657894330
         943   15 Jul 2022 - 10:51:48 EDT     15 Jul 2022 - 10:58:32 EDT                404                403           1657896708
         945   15 Jul 2022 - 10:53:28 EDT     15 Jul 2022 - 10:55:34 EDT                126                126           1657896808
         946   15 Jul 2022 - 10:58:02 EDT     15 Jul 2022 - 11:04:24 EDT                382                381           1657897082
         947   15 Jul 2022 - 11:03:18 EDT     15 Jul 2022 - 11:08:57 EDT                339                338           1657897398
         948   15 Jul 2022 - 11:09:32 EDT     15 Jul 2022 - 11:21:41 EDT                729                728           1657897772
         949   15 Jul 2022 - 11:11:32 EDT     15 Jul 2022 - 11:15:15 EDT                223                220           1657897892
         950   15 Jul 2022 - 11:15:32 EDT     15 Jul 2022 - 11:27:08 EDT                696                695           1657898132
         951   15 Jul 2022 - 11:18:39 EDT     15 Jul 2022 - 11:21:00 EDT                141                138           1657898319
         952   15 Jul 2022 - 11:19:55 EDT     15 Jul 2022 - 11:25:10 EDT                315                332           1657898395
         953   15 Jul 2022 - 11:24:05 EDT     15 Jul 2022 - 11:29:09 EDT                304                303           1657898645
         954   15 Jul 2022 - 11:50:44 EDT     15 Jul 2022 - 11:54:02 EDT                198                196           1657900244


                                                                                                                                      N-176
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 426 of 476 PageID #: 3064
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         919         1657877228                1                5                 0                         Term
         920         1657878138                1                5                 0                         Term
         921         1657882659                1                5                 0                         Term
         922         1657882966                1                5                 0                         Term
         923         1657883815                1                5                 0                         Term
         924         1657883991                1                5                 0                         Term
         925         1657887553                1                5                 0                         Term
         926         1657888618                1                5                 0                         Term
         927         1657888566                1                5                 0                         Term
         928         1657889061                1                5                 0                         Term
         929         1657889899                1                5                 0                         Term
         930         1657890133                1                5                 0                         Term
         931         1657891426                1                5                 0                         Term
         932         1657891945                1                5                 0                         Term
         933         1657891808                1                5                 0                         Term
         934         1657892297                1                5                 0                         Term
         936         1657892665                1                5                 0                         Term
         937         1657893819                1                5                 0                         Term
         938         1657894279                1                5                 0                         Term
         939         1657894546                1                5                 0                         Term
         940         1657894963                1                5                 0                         Term
         941         1657894617                1                5                 0                         Term
         943         1657897112                1                5                 0                         Term
         945         1657896934                1                5                 0                         Term
         946         1657897464                1                5                 0                         Term
         947         1657897737                1                5                 0                         Term
         948         1657898501                1                5                 0                         Term
         949         1657898115                1                5                 0                         Term
         950         1657898828                1                5                 0                         Term
         951         1657898460                1                5                 0                         Term
         952         1657898710                1                5                 0                         Term
         953         1657898949                1                5                 0                         Term
         954         1657900442                1                5                 0                         Term


                                                                                                                                 N-177
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 427 of 476 PageID #: 3065
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         919                    1               414   1796766398              3                  1             2
         920                    1               428   1796776009              2                  2             2
         921                    1               390   1796812530              1                  1             3
         922                    1               390   1796821427              1                  1             3
         923                    1              1349   1796804233              1                  2             1
         924                    1               941   1796811803              2                  1             2
         925                    1               414   1796865363              1                  1             2
         926                    1              1413   1796872897              1                  1             1
         927                    1               428   1796846407              2                  1             2
         928                    1               375   1796886829              1                  1             1
         929                    1               787   1796901078              3                  1             3
         930                    1              1412   1796903526              3                  1             1
         931                    1               428   1796913552              3                  1             1
         932                    1              1263   1796911773              3                  1             1
         933                    1               390   1796924821              2                  1             1
         934                    1              1903   1796932942              1                  1             3
         936                    1               724   nE4lQJGU                3                  1             3
         937                    1               414   1796955687              3                  2             3
         938                    1              1263   1796928859              3                  1             1
         939                    1              1349   1796922026              2                  1             1
         940                    1               360   1796956560              1                  2             1
         941                    1              1024   1796959692              1                  1             1
         943                    1              1440   1797000110              1                  1             2
         945                    1              1440   1797007911              3                  1             1
         946                    1               320   1797008537              2                  1             2
         947                    1              1435   bjcD7Wpt                2                  1             1
         948                    1              1440   1797000306              2                  1             1
         949                    1              1600   1797024866              2                  1             1
         950                    1              1174   1797026137              1                  2             1
         951                    1              1583   1797029201              3                  1             2
         952                    1               414   1797031239              3                  1             3
         953                    1               375   1797033090              3                  1             3
         954                    1              1430   1797062709              3                  1             3


                                                                                                                   N-178
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 428 of 476 PageID #: 3066
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         919                  1             2                  1             1                  1             1
         920                  1             1                  1             2                  1             1
         921                  1             2                  1             3                  1             1
         922                  1             1                  1             3                  2             2
         923                  1             1                  1             2                  1             1
         924                  1             1                  2             1                  1             1
         925                  1             1                  1             1                  1             3
         926                  1             1                  1             2                  2             3
         927                  2             2                  1             3                  1             3
         928                  1             3                  1             1                  1             2
         929                  1             2                  1             1                  1             3
         930                  1             1                  1             2                  1             1
         931                  1             3                  2             1                  1             1
         932                  1             3                  2             1                  1             2
         933                  2             3                  2             1                  2             1
         934                  2             3                  1             3                  1             2
         936                  1             3                  1             1                  1             3
         937                  2             2                  1             2                  2             2
         938                  1             1                  1             1                  1             1
         939                  1             3                  1             2                  1             1
         940                  1             3                  1             2                  1             3
         941                  2             1                  1             3                  1             1
         943                  1             2                  1             1                  1             1
         945                  1             2                  2             2                  1             1
         946                  1             1                  1             1                  1             2
         947                  1             2                  1             1                  1             3
         948                  2             3                  1             2                  2             2
         949                  1             1                  1             1                  1             3
         950                  2             2                  1             3                  1             1
         951                  1             1                  2             3                  1             3
         952                  1             1                  1             3                  1             2
         953                  1             2                  1             1                  1             2
         954                  1             2                  1             2                  1             1


                                                                                                                  N-179
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 429 of 476 PageID #: 3067
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         919                  1             2                  1             1                  2             1
         920                  2             1                  2             2                  1             3
         921                  1             2                  1             2                  1             2
         922                  1             2                  1             3                  1             3
         923                  1             3                  1             3                  1             2
         924                  1             2                  1             2                  1             1
         925                  1             1                  1             1                  1             2
         926                  2             3                  1             3                  1             2
         927                  2             3                  2             3                  2             3
         928                  1             2                  1             2                  1             1
         929                  1             2                  1             3                  1             1
         930                  2             2                  1             1                  1             3
         931                  1             2                  1             3                  1             3
         932                  1             3                  2             3                  2             1
         933                  2             3                  2             3                  2             2
         934                  1             2                  1             3                  1             3
         936                  1             1                  1             3                  1             1
         937                  2             3                  2             2                  2             2
         938                  1             3                  1             1                  1             2
         939                  1             2                  1             2                  1             3
         940                  1             3                  2             1                  1             1
         941                  1             2                  1             1                  1             3
         943                  1             1                  1             3                  1             3
         945                  1             3                  1             2                  2             2
         946                  1             3                  1             1                  1             2
         947                  1             3                  1             3                  1             2
         948                  1             1                  1             3                  1             2
         949                  1             2                  1             3                  1             3
         950                  1             3                  1             1                  1             1
         951                  1             3                  2             2                  1             3
         952                  1             2                  1             1                  1             1
         953                  1             2                  1             3                  1             3
         954                  1             1                  1             3                  1             2


                                                                                                                  N-180
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 430 of 476 PageID #: 3068
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         919                  1             3                  2              3                   1              1
         920                  1             3                  2              3                   1              3
         921                  2             2                  1              3                   2              2
         922                  1             1                  1              2                   1              3
         923                  1             3                  1              2                   1              3
         924                  1             1                  1              2                   2              2
         925                  1             2                  1              1                   1              1
         926                  1             1                  1              3                   2              3
         927                  1             3                  2              1                   1              1
         928                  1             2                  1              3                   1              3
         929                  1             2                  1              3                   1              2
         930                  1             1                  2              3                   1              1
         931                  1             1                  1              2                   1              1
         932                  1             1                  2              1                   1              1
         933                  2             1                  2              3                   2              3
         934                  1             1                  1              1                   1              2
         936                  1             1                  1              2                   1              2
         937                  1             3                  1              2                   1              3
         938                  1             3                  1              3                   1              3
         939                  1             2                  1              2                   1              1
         940                  1             2                  2              2                   2              2
         941                  1             1                  1              3                   1              2
         943                  1             1                  1              2                   1              2
         945                  2             2                  1              2                   1              1
         946                  1             3                  1              3                   1              2
         947                  1             1                  1              2                   2              2
         948                  1             2                  1              1                   1              2
         949                  1             2                  1              3                   1              3
         950                  1             3                  1              3                   1              1
         951                  1             2                  2              1                   1              3
         952                  1             3                  1              1                   1              1
         953                  1             3                  1              1                   1              1
         954                  1             1                  1              2                   1              2


                                                                                                                     N-181
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 431 of 476 PageID #: 3069
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         919                   1              1                   1                   19   CBC1_1651757381_6
         920                   1              1                   2                   20   CBC1_1651757381_6
         921                   1              2                   1                   21   CBC1_1651757381_6
         922                   1              2                   2                   22   CBC1_1651757381_6
         923                   1              2                   1                   23   CBC1_1651757381_6
         924                   2              3                   2                   24   CBC1_1651757381_6
         925                   1              2                   1                   25   CBC1_1651757381_6
         926                   2              1                   2                   26   CBC1_1651757381_6
         927                   1              2                   1                   27   CBC1_1651757381_6
         928                   1              1                   1                   28   CBC1_1651757381_6
         929                   1              3                   1                   29   CBC1_1651757381_6
         930                   1              3                   1                   30   CBC1_1651757381_6
         931                   1              2                   1                   31   CBC1_1651757381_6
         932                   1              1                   1                   32   CBC1_1651757381_6
         933                   2              1                   2                   33   CBC1_1651757381_6
         934                   2              2                   1                   34   CBC1_1651757381_6
         936                   1              2                   1                   36   CBC1_1651757381_6
         937                   1              1                   1                   37   CBC1_1651757381_6
         938                   1              2                   1                   38   CBC1_1651757381_6
         939                   1              2                   1                   39   CBC1_1651757381_6
         940                   1              2                   1                   40   CBC1_1651757381_6
         941                   1              3                   1                   41   CBC1_1651757381_6
         943                   1              2                   1                   43   CBC1_1651757381_6
         945                   2              3                   1                   45   CBC1_1651757381_6
         946                   1              2                   1                   46   CBC1_1651757381_6
         947                   1              3                   1                   47   CBC1_1651757381_6
         948                   2              2                   1                   48   CBC1_1651757381_6
         949                   1              3                   1                   49   CBC1_1651757381_6
         950                   1              2                   1                   50   CBC1_1651757381_6
         951                   2              2                   2                   51   CBC1_1651757381_6
         952                   1              3                   1                   52   CBC1_1651757381_6
         953                   1              1                   1                   53   CBC1_1651757381_6
         954                   1              1                   1                   54   CBC1_1651757381_6


                                                                                                                   N-182
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 432 of 476 PageID #: 3070
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         955   15 Jul 2022 - 11:53:59 EDT     15 Jul 2022 - 12:01:37 EDT                458                456           1657900439
         956   15 Jul 2022 - 12:01:42 EDT     15 Jul 2022 - 12:09:16 EDT                454                452           1657900902
         958   15 Jul 2022 - 12:34:36 EDT     15 Jul 2022 - 12:39:13 EDT                277                312           1657902876
         959   15 Jul 2022 - 12:35:14 EDT     15 Jul 2022 - 12:37:34 EDT                140                139           1657902914
         960   15 Jul 2022 - 12:39:43 EDT     15 Jul 2022 - 12:49:36 EDT                593                592           1657903183
         961   15 Jul 2022 - 13:24:14 EDT     15 Jul 2022 - 13:28:07 EDT                233                228           1657905854
         962   15 Jul 2022 - 13:27:29 EDT     15 Jul 2022 - 13:31:51 EDT                262                259           1657906049
         963   15 Jul 2022 - 13:36:17 EDT     15 Jul 2022 - 13:47:20 EDT                663                660           1657906577
         964   15 Jul 2022 - 13:40:07 EDT     15 Jul 2022 - 13:44:49 EDT                282                279           1657906807
         965   15 Jul 2022 - 13:40:39 EDT     15 Jul 2022 - 13:43:16 EDT                157                154           1657906839
         966   15 Jul 2022 - 13:42:34 EDT     15 Jul 2022 - 13:45:35 EDT                181                180           1657906954
         967   15 Jul 2022 - 13:46:43 EDT     15 Jul 2022 - 13:53:32 EDT                409                407           1657907203
         968   15 Jul 2022 - 14:00:46 EDT     15 Jul 2022 - 14:07:24 EDT                398                396           1657908046
         969   15 Jul 2022 - 14:03:39 EDT     15 Jul 2022 - 14:08:14 EDT                275                273           1657908219
         970   15 Jul 2022 - 14:20:29 EDT     15 Jul 2022 - 14:27:06 EDT                397                396           1657909229
         971   15 Jul 2022 - 14:33:34 EDT     15 Jul 2022 - 14:36:06 EDT                152                147           1657910014
         973   15 Jul 2022 - 14:47:09 EDT     15 Jul 2022 - 14:52:51 EDT                342                339           1657910829
         974   15 Jul 2022 - 14:53:44 EDT     15 Jul 2022 - 14:58:01 EDT                257                255           1657911224
         975   15 Jul 2022 - 15:50:20 EDT     15 Jul 2022 - 15:52:36 EDT                136                135           1657914620
         976   15 Jul 2022 - 16:02:45 EDT     15 Jul 2022 - 16:07:03 EDT                258                255           1657915365
         980   15 Jul 2022 - 16:50:09 EDT     15 Jul 2022 - 16:53:01 EDT                172                170           1657918209
         981   15 Jul 2022 - 17:23:27 EDT     15 Jul 2022 - 17:26:46 EDT                199                199           1657920207
         982   15 Jul 2022 - 17:45:06 EDT     15 Jul 2022 - 17:48:26 EDT                200                198           1657921506
         983   15 Jul 2022 - 22:32:27 EDT     15 Jul 2022 - 22:41:46 EDT                559                557           1657938747
         984   16 Jul 2022 - 00:32:15 EDT     16 Jul 2022 - 00:33:44 EDT                 89                 88           1657945935
         985   16 Jul 2022 - 02:04:09 EDT     16 Jul 2022 - 02:08:46 EDT                277                275           1657951449
         986   16 Jul 2022 - 05:34:34 EDT     16 Jul 2022 - 05:38:57 EDT                263                261           1657964074
         987   16 Jul 2022 - 09:48:45 EDT     16 Jul 2022 - 09:52:58 EDT                253                252           1657979325
         988   16 Jul 2022 - 11:26:47 EDT     16 Jul 2022 - 11:34:04 EDT                437                435           1657985207
         989   16 Jul 2022 - 12:45:01 EDT     16 Jul 2022 - 12:50:16 EDT                315                313           1657989901
         991   16 Jul 2022 - 14:24:20 EDT     16 Jul 2022 - 14:40:53 EDT                993                990           1657995860
         992   16 Jul 2022 - 14:30:37 EDT     16 Jul 2022 - 14:35:48 EDT                311                310           1657996237
         993   16 Jul 2022 - 14:37:39 EDT     16 Jul 2022 - 14:41:09 EDT                210                208           1657996659


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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         955         1657900897                1                5                 0                         Term
         956         1657901356                1                5                 0                         Term
         958         1657903153                1                5                 0                         Term
         959         1657903054                1                5                 0                         Term
         960         1657903776                1                5                 0                         Term
         961         1657906087                1                5                 0                         Term
         962         1657906311                1                5                 0                         Term
         963         1657907240                1                5                 0                         Term
         964         1657907089                1                5                 0                         Term
         965         1657906996                1                5                 0                         Term
         966         1657907135                1                5                 0                         Term
         967         1657907612                1                5                 0                         Term
         968         1657908444                1                5                 0                         Term
         969         1657908494                1                5                 0                         Term
         970         1657909626                1                5                 0                         Term
         971         1657910166                1                5                 0                         Term
         973         1657911171                1                5                 0                         Term
         974         1657911481                1                5                 0                         Term
         975         1657914756                1                5                 0                         Term
         976         1657915623                1                5                 0                         Term
         980         1657918381                1                5                 0                         Term
         981         1657920406                1                5                 0                         Term
         982         1657921706                1                5                 0                         Term
         983         1657939306                1                5                 0                         Term
         984         1657946024                1                5                 0                         Term
         985         1657951726                1                5                 0                         Term
         986         1657964337                1                5                 0                         Term
         987         1657979578                1                5                 0                         Term
         988         1657985644                1                5                 0                         Term
         989         1657990216                1                5                 0                         Term
         991         1657996853                1                5                 0                         Term
         992         1657996548                1                5                 0                         Term
         993         1657996869                1                5                 0                         Term


                                                                                                                                 N-184
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         955                    1               375   1797060207              2                  1             1
         956                    1              1349   1797071204              3                  1             1
         958                    1               428   1797076882              3                  1             3
         959                    1               375   1797109458              3                  1             3
         960                    1              1038   1797111718              3                  2             3
         961                    1               412   1797134376              2                  1             2
         962                    1              1616   1797147203              3                  1             2
         963                    1               360   1797162972              2                  1             1
         964                    1               800   1797172391              3                  1             2
         965                    1              1440   1797167695              1                  1             3
         966                    1              1349   1797172044              1                  1             2
         967                    1              1903   1797180825              3                  1             3
         968                    1              1349   1797194107              1                  1             3
         969                    1              1903   1797200010              2                  1             3
         970                    1               390   1797205485              2                  1             2
         971                    1              1366   1797221107              2                  1             3
         973                    1               390   1797237600              3                  2             3
         974                    1               390   1797249751              2                  1             3
         975                    1               375   1797296858              1                  1             1
         976                    1               428   1797274985              2                  2             1
         980                    1               414   1797352919              2                  1             2
         981                    1              1440   1797381048              2                  1             1
         982                    1               414   1797400644              2                  1             2
         983                    1               778   1797571598              2                  2             1
         984                    1              1440   1797623686              2                  1             1
         985                    1              1903   1797654708              3                  1             1
         986                    1               751   1797733766              1                  1             1
         987                    1              1522   1797863665              3                  1             2
         988                    1               360   1797932837              3                  2             1
         989                    1               412   1797992208              2                  1             2
         991                    1              1440   YBuIMCZi                3                  1             1
         992                    1               390   1798066463              2                  1             2
         993                    1               414   1798070588              3                  1             3


                                                                                                                   N-185
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 435 of 476 PageID #: 3073
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         955                  2             3                  2             1                  1             2
         956                  1             1                  1             2                  1             3
         958                  1             2                  1             3                  1             1
         959                  1             1                  1             2                  1             3
         960                  1             2                  2             1                  1             2
         961                  1             2                  1             2                  1             2
         962                  1             1                  1             1                  1             1
         963                  1             2                  1             2                  2             3
         964                  2             1                  1             1                  2             1
         965                  1             1                  1             3                  1             1
         966                  1             3                  1             2                  1             3
         967                  1             3                  1             2                  1             1
         968                  1             3                  1             2                  2             1
         969                  1             3                  1             1                  1             3
         970                  1             1                  1             3                  1             1
         971                  1             3                  1             3                  2             1
         973                  1             1                  2             3                  2             3
         974                  2             3                  1             3                  1             3
         975                  1             2                  1             3                  1             2
         976                  2             2                  2             2                  2             1
         980                  1             1                  1             2                  1             3
         981                  1             3                  1             1                  1             3
         982                  2             3                  2             1                  2             1
         983                  2             2                  1             3                  1             2
         984                  1             1                  1             3                  1             2
         985                  1             1                  1             2                  1             3
         986                  1             3                  1             2                  1             1
         987                  1             1                  2             2                  1             1
         988                  1             3                  1             1                  1             2
         989                  1             3                  1             1                  1             2
         991                  1             2                  1             1                  1             3
         992                  1             3                  1             1                  1             1
         993                  1             1                  2             3                  1             1


                                                                                                                  N-186
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         955                  2             1                  1             3                  1             2
         956                  1             1                  1             1                  1             2
         958                  1             3                  1             1                  1             1
         959                  1             1                  1             1                  1             2
         960                  1             1                  1             1                  1             2
         961                  2             3                  1             1                  1             2
         962                  1             2                  1             3                  1             3
         963                  1             1                  1             3                  1             3
         964                  1             3                  1             3                  2             1
         965                  1             3                  1             2                  2             2
         966                  1             3                  1             1                  1             1
         967                  1             1                  2             3                  1             2
         968                  2             3                  2             2                  2             2
         969                  1             1                  1             2                  1             1
         970                  1             3                  1             2                  1             3
         971                  1             1                  1             2                  1             2
         973                  2             2                  2             1                  2             1
         974                  2             2                  2             1                  2             2
         975                  1             3                  1             1                  1             3
         976                  2             2                  1             2                  2             3
         980                  1             3                  1             2                  1             2
         981                  1             1                  1             2                  1             3
         982                  1             3                  2             3                  1             2
         983                  1             2                  1             2                  1             1
         984                  1             2                  1             3                  1             2
         985                  1             2                  1             1                  1             1
         986                  2             2                  1             3                  1             1
         987                  1             2                  1             2                  2             3
         988                  2             3                  1             3                  1             3
         989                  1             3                  2             3                  1             2
         991                  2             3                  1             1                  1             2
         992                  1             2                  1             1                  1             3
         993                  2             1                  1             3                  2             3


                                                                                                                  N-187
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 437 of 476 PageID #: 3075
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         955                  2             2                  1              1                   1              2
         956                  1             3                  1              3                   1              3
         958                  1             1                  1              3                   1              2
         959                  1             2                  1              2                   1              3
         960                  1             2                  1              1                   1              3
         961                  1             2                  1              3                   1              3
         962                  1             3                  1              3                   1              1
         963                  1             2                  2              1                   1              1
         964                  2             3                  2              3                   1              2
         965                  1             1                  1              1                   1              3
         966                  1             2                  1              3                   1              2
         967                  2             3                  2              1                   2              1
         968                  2             1                  2              1                   1              1
         969                  1             2                  1              2                   1              2
         970                  1             2                  1              2                   1              3
         971                  2             1                  1              2                   1              1
         973                  2             2                  2              2                   2              1
         974                  2             3                  2              2                   2              1
         975                  1             3                  1              3                   1              2
         976                  1             1                  2              1                   2              3
         980                  1             1                  1              3                   1              2
         981                  1             2                  2              2                   1              1
         982                  1             3                  1              1                   2              1
         983                  1             3                  1              2                   2              2
         984                  1             2                  1              2                   1              1
         985                  2             1                  2              3                   1              1
         986                  2             3                  2              2                   1              3
         987                  1             2                  1              1                   1              3
         988                  1             2                  1              3                   1              3
         989                  2             2                  1              3                   1              1
         991                  1             2                  2              3                   1              3
         992                  1             3                  1              2                   1              3
         993                  2             3                  2              2                   1              1


                                                                                                                     N-188
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 438 of 476 PageID #: 3076
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         955                   1              2                   1                   55   CBC1_1651757381_6
         956                   1              1                   1                   56   CBC1_1651757381_6
         958                   1              3                   1                   58   CBC1_1651757381_6
         959                   1              3                   1                   59   CBC1_1651757381_6
         960                   1              3                   1                   60   CBC1_1651757381_6
         961                   1              3                   1                   61   CBC1_1651757381_6
         962                   1              2                   1                   62   CBC1_1651757381_6
         963                   1              1                   1                   63   CBC1_1651757381_6
         964                   2              2                   2                   64   CBC1_1651757381_6
         965                   1              2                   1                   65   CBC1_1651757381_6
         966                   1              2                   1                   66   CBC1_1651757381_6
         967                   1              3                   1                   67   CBC1_1651757381_6
         968                   1              3                   2                   68   CBC1_1651757381_6
         969                   1              3                   1                   69   CBC1_1651757381_6
         970                   2              2                   1                   70   CBC1_1651757381_6
         971                   2              1                   1                   71   CBC1_1651757381_6
         973                   2              2                   2                   73   CBC1_1651757381_6
         974                   2              2                   1                   74   CBC1_1651757381_6
         975                   1              3                   1                   75   CBC1_1651757381_6
         976                   2              1                   2                   76   CBC1_1651757381_6
         980                   1              3                   1                   80   CBC1_1651757381_6
         981                   1              2                   1                   81   CBC1_1651757381_6
         982                   1              2                   1                   82   CBC1_1651757381_6
         983                   1              3                   1                   83   CBC1_1651757381_6
         984                   1              2                   1                   84   CBC1_1651757381_6
         985                   1              3                   1                   85   CBC1_1651757381_6
         986                   2              3                   1                   86   CBC1_1651757381_6
         987                   2              3                   1                   87   CBC1_1651757381_6
         988                   2              3                   2                   88   CBC1_1651757381_6
         989                   1              3                   2                   89   CBC1_1651757381_6
         991                   1              2                   1                   91   CBC1_1651757381_6
         992                   1              2                   1                   92   CBC1_1651757381_6
         993                   2              2                   2                   93   CBC1_1651757381_6


                                                                                                                   N-189
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 439 of 476 PageID #: 3077
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
         994   16 Jul 2022 - 15:41:22 EDT     16 Jul 2022 - 15:45:23 EDT                241                239           1658000482
         995   16 Jul 2022 - 16:27:27 EDT     16 Jul 2022 - 16:34:03 EDT                396                395           1658003247
         996   16 Jul 2022 - 16:31:24 EDT     16 Jul 2022 - 16:34:03 EDT                159                156           1658003484
         997   18 Jul 2022 - 12:28:21 EDT     18 Jul 2022 - 12:33:04 EDT                283                283           1658161701
         998   18 Jul 2022 - 18:33:07 EDT     18 Jul 2022 - 18:40:56 EDT                469                467           1658183587
         999   18 Jul 2022 - 18:54:16 EDT     18 Jul 2022 - 18:57:19 EDT                183                182           1658184856
        1000   18 Jul 2022 - 19:03:21 EDT     18 Jul 2022 - 19:08:24 EDT                303                303           1658185401
        1001   18 Jul 2022 - 19:28:03 EDT     18 Jul 2022 - 19:33:27 EDT                324                323           1658186883
        1004   18 Jul 2022 - 20:06:55 EDT     18 Jul 2022 - 20:08:23 EDT                 88                 86           1658189215
        1005   18 Jul 2022 - 20:36:01 EDT     18 Jul 2022 - 20:42:10 EDT                369                367           1658190961
        1006   18 Jul 2022 - 20:40:07 EDT     18 Jul 2022 - 20:42:25 EDT                138                136           1658191207
        1009   18 Jul 2022 - 21:01:05 EDT     18 Jul 2022 - 21:05:42 EDT                277                276           1658192465
        1010   18 Jul 2022 - 21:03:14 EDT     18 Jul 2022 - 21:08:28 EDT                314                314           1658192594
        1011   18 Jul 2022 - 21:04:40 EDT     18 Jul 2022 - 21:12:58 EDT                498                498           1658192680
        1013   18 Jul 2022 - 21:22:36 EDT     18 Jul 2022 - 21:24:43 EDT                127                126           1658193756
        1015   18 Jul 2022 - 21:31:50 EDT     18 Jul 2022 - 21:35:51 EDT                241                240           1658194310
        1016   18 Jul 2022 - 21:34:25 EDT     18 Jul 2022 - 21:40:37 EDT                372                371           1658194465
        1017   18 Jul 2022 - 22:01:30 EDT     18 Jul 2022 - 22:11:37 EDT                607                607           1658196090
        1018   18 Jul 2022 - 22:02:32 EDT     18 Jul 2022 - 22:10:17 EDT                465                465           1658196152
        1019   18 Jul 2022 - 22:14:18 EDT     18 Jul 2022 - 22:17:06 EDT                168                167           1658196858
        1020   18 Jul 2022 - 22:21:11 EDT     18 Jul 2022 - 22:28:57 EDT                466                465           1658197271
        1021   18 Jul 2022 - 22:22:32 EDT     18 Jul 2022 - 22:27:33 EDT                301                300           1658197352
        1022   18 Jul 2022 - 22:28:29 EDT     18 Jul 2022 - 22:33:26 EDT                297                296           1658197709
        1023   18 Jul 2022 - 22:38:29 EDT     18 Jul 2022 - 22:41:44 EDT                195                194           1658198309
        1024   18 Jul 2022 - 22:43:24 EDT     18 Jul 2022 - 22:51:50 EDT                506                505           1658198604
        1025   18 Jul 2022 - 22:55:23 EDT     18 Jul 2022 - 22:58:16 EDT                173                172           1658199323
        1026   18 Jul 2022 - 22:56:01 EDT     18 Jul 2022 - 22:58:37 EDT                156                154           1658199361
        1027   18 Jul 2022 - 23:12:50 EDT     18 Jul 2022 - 23:15:07 EDT                137                135           1658200370
        1028   18 Jul 2022 - 23:56:05 EDT     18 Jul 2022 - 23:59:38 EDT                213                209           1658202965
        1029   19 Jul 2022 - 00:00:32 EDT     19 Jul 2022 - 00:06:04 EDT                332                330           1658203232
        1030   19 Jul 2022 - 00:37:28 EDT     19 Jul 2022 - 00:42:10 EDT                282                282           1658205448
        1031   19 Jul 2022 - 00:43:33 EDT     19 Jul 2022 - 00:50:05 EDT                392                392           1658205813
        1032   19 Jul 2022 - 00:43:48 EDT     19 Jul 2022 - 00:56:13 EDT                745                742           1658205828


                                                                                                                                      N-190
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
         994         1658000723                1                5                 0                         Term
         995         1658003643                1                5                 0                         Term
         996         1658003643                1                5                 0                         Term
         997         1658161984                1                5                 0                         Term
         998         1658184056                1                5                 0                         Term
         999         1658185039                1                5                 0                         Term
        1000         1658185704                1                5                 0                         Term
        1001         1658187207                1                5                 0                         Term
        1004         1658189303                1                5                 0                         Term
        1005         1658191330                1                5                 0                         Term
        1006         1658191345                1                5                 0                         Term
        1009         1658192742                1                5                 0                         Term
        1010         1658192908                1                5                 0                         Term
        1011         1658193178                1                5                 0                         Term
        1013         1658193883                1                5                 0                         Term
        1015         1658194551                1                5                 0                         Term
        1016         1658194837                1                5                 0                         Term
        1017         1658196697                1                5                 0                         Term
        1018         1658196617                1                5                 0                         Term
        1019         1658197026                1                5                 0                         Term
        1020         1658197737                1                5                 0                         Term
        1021         1658197653                1                5                 0                         Term
        1022         1658198006                1                5                 0                         Term
        1023         1658198504                1                5                 0                         Term
        1024         1658199110                1                5                 0                         Term
        1025         1658199496                1                5                 0                         Term
        1026         1658199517                1                5                 0                         Term
        1027         1658200507                1                5                 0                         Term
        1028         1658203178                1                5                 0                         Term
        1029         1658203564                1                5                 0                         Term
        1030         1658205730                1                5                 0                         Term
        1031         1658206205                1                5                 0                         Term
        1032         1658206573                1                5                 0                         Term


                                                                                                                                 N-191
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth        RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
         994                    1               432   1798109669              2                  1             3
         995                    1               320   1798133032              1                  1             2
         996                    1               412   1798139473              3                  1             3
         997                    1               390   BbR2NtOk                1                  1             3
         998                    1              1263   1799744047              1                  1             2
         999                    1               390   1799763213              2                  1             2
        1000                    1               375   1799769094              2                  1             2
        1001                    1               390   1799784254              3                  1             2
        1004                    1               894   1799812249              1                  1             3
        1005                    1               390   1799831815              1                  1             2
        1006                    1               810   1799836268              3                  1             1
        1009                    1              1359   1799843805              1                  1             3
        1010                    1               800   1799849065              1                  1             1
        1011                    1               775   1799843445              2                  1             1
        1013                    1               390   wPTFA6fG                1                  2             1
        1015                    1               360   1799868046              2                  1             1
        1016                    1              1519   1799868615              3                  1             2
        1017                    1               428   1799883932              2                  1             3
        1018                    1              1519   1799884401              2                  1             1
        1019                    1              1440   1799888880              2                  1             2
        1020                    1              1280   1799891301              3                  1             1
        1021                    1              1903   1799896189              3                  1             3
        1022                    1              1263   1799897721              2                  1             3
        1023                    1               390   1799904709              3                  1             2
        1024                    1               375   1799902779              2                  2             2
        1025                    1              1366   1799910931              3                  1             1
        1026                    1               412   1799912530              2                  1             3
        1027                    1              1440   1799922398              1                  1             2
        1028                    1               414   1799941455              1                  1             2
        1029                    1               432   1799942334              1                  1             3
        1030                    1              1263   1799957095              3                  1             2
        1031                    1               390   1799958667              2                  1             2
        1032                    1               412   1799957253              3                  1             3


                                                                                                                   N-192
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 442 of 476 PageID #: 3080
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
         994                  1             2                  2             2                  1             1
         995                  1             1                  1             2                  1             1
         996                  1             2                  1             3                  1             2
         997                  1             1                  1             1                  1             2
         998                  1             1                  1             3                  1             3
         999                  1             1                  2             2                  1             1
        1000                  1             2                  1             2                  1             1
        1001                  1             1                  2             3                  1             1
        1004                  1             3                  1             3                  1             3
        1005                  1             2                  1             1                  1             3
        1006                  1             3                  1             3                  2             3
        1009                  1             3                  2             1                  2             1
        1010                  1             1                  2             2                  2             2
        1011                  1             3                  1             3                  1             1
        1013                  1             2                  1             3                  1             2
        1015                  1             1                  1             2                  1             3
        1016                  2             1                  1             3                  1             1
        1017                  1             2                  1             1                  1             1
        1018                  1             3                  1             3                  1             3
        1019                  1             3                  1             2                  1             2
        1020                  1             2                  1             1                  1             3
        1021                  2             2                  1             3                  1             1
        1022                  1             3                  1             3                  1             1
        1023                  1             3                  1             3                  1             1
        1024                  2             1                  1             1                  2             3
        1025                  1             2                  2             1                  1             3
        1026                  1             2                  1             2                  1             1
        1027                  1             1                  1             2                  1             2
        1028                  1             3                  1             1                  1             2
        1029                  1             2                  1             1                  1             2
        1030                  1             2                  1             1                  1             2
        1031                  1             2                  1             1                  1             3
        1032                  1             2                  1             2                  1             3


                                                                                                                  N-193
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 443 of 476 PageID #: 3081
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
         994                  1             3                  2             2                  2             3
         995                  1             1                  1             1                  1             2
         996                  1             3                  1             3                  1             1
         997                  1             3                  1             2                  1             1
         998                  1             3                  1             2                  1             1
         999                  1             1                  1             2                  2             2
        1000                  1             2                  1             1                  2             1
        1001                  2             2                  1             2                  2             3
        1004                  1             3                  2             3                  1             2
        1005                  1             2                  1             3                  1             2
        1006                  1             3                  2             3                  1             3
        1009                  1             2                  1             2                  1             1
        1010                  1             3                  1             1                  2             2
        1011                  1             3                  1             2                  1             1
        1013                  2             3                  2             3                  2             3
        1015                  1             3                  1             2                  1             3
        1016                  2             1                  1             3                  1             1
        1017                  1             2                  2             2                  2             1
        1018                  1             2                  1             2                  1             1
        1019                  1             2                  1             2                  1             3
        1020                  1             1                  1             2                  1             3
        1021                  1             3                  1             3                  1             2
        1022                  1             2                  1             1                  1             3
        1023                  1             1                  1             3                  1             1
        1024                  2             2                  2             2                  2             1
        1025                  1             2                  2             2                  1             1
        1026                  1             2                  1             3                  1             1
        1027                  2             2                  2             2                  1             1
        1028                  1             3                  1             2                  1             1
        1029                  1             3                  1             3                  1             1
        1030                  1             2                  1             3                  1             2
        1031                  1             2                  1             3                  1             3
        1032                  1             2                  2             1                  1             2


                                                                                                                  N-194
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 444 of 476 PageID #: 3082
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
         994                  2             1                  2              3                   2              3
         995                  1             3                  1              3                   1              3
         996                  1             1                  1              3                   1              1
         997                  1             3                  1              1                   1              2
         998                  1             2                  1              3                   1              3
         999                  2             1                  2              3                   2              3
        1000                  1             2                  1              3                   1              1
        1001                  1             3                  1              1                   1              2
        1004                  1             2                  1              1                   1              2
        1005                  1             2                  1              2                   1              1
        1006                  1             1                  1              2                   1              3
        1009                  1             1                  1              1                   1              1
        1010                  2             3                  1              1                   2              3
        1011                  1             1                  1              2                   1              3
        1013                  2             3                  1              2                   1              3
        1015                  1             2                  1              3                   1              2
        1016                  2             3                  1              2                   1              1
        1017                  1             1                  2              2                   1              2
        1018                  1             1                  1              2                   1              3
        1019                  1             3                  1              3                   1              3
        1020                  1             1                  1              2                   1              2
        1021                  1             3                  1              2                   1              2
        1022                  1             2                  1              3                   1              1
        1023                  1             2                  1              3                   1              3
        1024                  2             3                  2              3                   2              3
        1025                  1             2                  1              3                   2              1
        1026                  1             3                  1              2                   1              3
        1027                  1             3                  1              1                   1              1
        1028                  1             2                  1              2                   1              2
        1029                  1             2                  1              3                   1              1
        1030                  2             2                  1              2                   2              2
        1031                  1             3                  1              3                   1              2
        1032                  2             2                  2              1                   1              3


                                                                                                                     N-195
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 445 of 476 PageID #: 3083
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
         994                   2              2                   1                   94   CBC1_1651757381_6
         995                   1              2                   1                   95   CBC1_1651757381_6
         996                   1              2                   1                   96   CBC1_1651757381_6
         997                   1              3                   1                   97   CBC1_1651757381_6
         998                   1              2                   1                   98   CBC1_1651757381_6
         999                   1              1                   2                   99   CBC1_1651757381_6
        1000                   1              3                   1                  100   CBC1_1651757381_6
        1001                   2              1                   1                  101   CBC1_1651757381_6
        1004                   1              3                   1                  104   CBC1_1651757381_6
        1005                   1              2                   1                  105   CBC1_1651757381_6
        1006                   1              2                   2                  106   CBC1_1651757381_6
        1009                   1              3                   1                  109   CBC1_1651757381_6
        1010                   2              2                   2                  110   CBC1_1651757381_6
        1011                   1              1                   1                  111   CBC1_1651757381_6
        1013                   1              1                   1                  113   CBC1_1651757381_6
        1015                   1              2                   1                  115   CBC1_1651757381_6
        1016                   2              2                   1                  116   CBC1_1651757381_6
        1017                   2              2                   1                  117   CBC1_1651757381_6
        1018                   1              3                   1                  118   CBC1_1651757381_6
        1019                   1              3                   1                  119   CBC1_1651757381_6
        1020                   1              3                   1                  120   CBC1_1651757381_6
        1021                   1              3                   1                  121   CBC1_1651757381_6
        1022                   1              1                   1                  122   CBC1_1651757381_6
        1023                   1              3                   1                  123   CBC1_1651757381_6
        1024                   1              1                   2                  124   CBC1_1651757381_6
        1025                   1              2                   1                  125   CBC1_1651757381_6
        1026                   1              1                   1                  126   CBC1_1651757381_6
        1027                   2              1                   2                  127   CBC1_1651757381_6
        1028                   1              1                   1                  128   CBC1_1651757381_6
        1029                   1              2                   1                  129   CBC1_1651757381_6
        1030                   1              1                   1                  130   CBC1_1651757381_6
        1031                   1              1                   1                  131   CBC1_1651757381_6
        1032                   2              3                   2                  132   CBC1_1651757381_6


                                                                                                                   N-196
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 446 of 476 PageID #: 3084
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
        1033   19 Jul 2022 - 02:48:03 EDT     19 Jul 2022 - 02:54:02 EDT                359                359           1658213283
        1035   19 Jul 2022 - 04:58:29 EDT     19 Jul 2022 - 05:05:52 EDT                443                440           1658221109
        1037   19 Jul 2022 - 05:28:00 EDT     19 Jul 2022 - 05:30:55 EDT                175                175           1658222880
        1038   19 Jul 2022 - 05:54:50 EDT     19 Jul 2022 - 05:58:08 EDT                198                198           1658224490
        1039   19 Jul 2022 - 06:50:00 EDT     19 Jul 2022 - 06:52:16 EDT                136                135           1658227800
        1040   19 Jul 2022 - 06:50:28 EDT     19 Jul 2022 - 06:53:53 EDT                205                202           1658227828
        1041   19 Jul 2022 - 06:56:03 EDT     19 Jul 2022 - 07:02:00 EDT                357                356           1658228163
        1042   19 Jul 2022 - 07:35:38 EDT     19 Jul 2022 - 07:38:44 EDT                186                186           1658230538
        1044   19 Jul 2022 - 07:50:03 EDT     19 Jul 2022 - 07:54:28 EDT                265                264           1658231403
        1045   19 Jul 2022 - 08:06:56 EDT     19 Jul 2022 - 08:10:43 EDT                227                227           1658232416
        1046   19 Jul 2022 - 08:09:32 EDT     19 Jul 2022 - 08:17:38 EDT                486                483           1658232572
        1047   19 Jul 2022 - 08:16:31 EDT     19 Jul 2022 - 08:20:18 EDT                227                226           1658232991
        1048   19 Jul 2022 - 08:26:53 EDT     19 Jul 2022 - 08:43:12 EDT                979                976           1658233613
        1049   19 Jul 2022 - 08:27:44 EDT     19 Jul 2022 - 08:36:25 EDT                521                520           1658233664
        1050   19 Jul 2022 - 08:36:14 EDT     19 Jul 2022 - 08:41:09 EDT                295                294           1658234174
        1051   19 Jul 2022 - 08:37:24 EDT     19 Jul 2022 - 08:42:14 EDT                290                286           1658234244
        1052   19 Jul 2022 - 08:40:12 EDT     19 Jul 2022 - 08:46:57 EDT                405                403           1658234412
        1053   19 Jul 2022 - 08:54:12 EDT     19 Jul 2022 - 08:59:44 EDT                332                331           1658235252
        1054   19 Jul 2022 - 08:57:34 EDT     19 Jul 2022 - 09:02:20 EDT                286                286           1658235454
        1055   19 Jul 2022 - 08:59:34 EDT     19 Jul 2022 - 09:01:01 EDT                 87                 85           1658235574
        1056   19 Jul 2022 - 09:11:38 EDT     19 Jul 2022 - 09:15:34 EDT                236                234           1658236298
        1058   19 Jul 2022 - 09:51:02 EDT     19 Jul 2022 - 09:54:24 EDT                202                201           1658238662
        1059   19 Jul 2022 - 09:53:46 EDT     19 Jul 2022 - 09:57:03 EDT                197                196           1658238826
        1060   19 Jul 2022 - 09:59:19 EDT     19 Jul 2022 - 10:02:08 EDT                169                168           1658239159
        1061   19 Jul 2022 - 10:00:17 EDT     19 Jul 2022 - 10:08:39 EDT                502                498           1658239217
        1062   19 Jul 2022 - 10:06:24 EDT     19 Jul 2022 - 10:09:24 EDT                180                180           1658239584
        1063   19 Jul 2022 - 10:12:14 EDT     19 Jul 2022 - 10:14:28 EDT                134                131           1658239934
        1064   19 Jul 2022 - 10:21:52 EDT     19 Jul 2022 - 10:29:21 EDT                449                445           1658240512
        1065   19 Jul 2022 - 10:26:37 EDT     19 Jul 2022 - 10:40:13 EDT                816                816           1658240797
        1066   19 Jul 2022 - 10:30:20 EDT     19 Jul 2022 - 10:37:05 EDT                405                403           1658241020
        1067   19 Jul 2022 - 10:31:04 EDT     19 Jul 2022 - 10:33:58 EDT                174                172           1658241064
        1068   19 Jul 2022 - 10:39:02 EDT     19 Jul 2022 - 10:46:59 EDT                477                474           1658241542
        1069   19 Jul 2022 - 10:39:28 EDT     19 Jul 2022 - 10:46:04 EDT                396                395           1658241568


                                                                                                                                      N-197
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
        1033         1658213642                1                5                 0                         Term
        1035         1658221552                1                5                 0                         Term
        1037         1658223055                1                5                 0                         Term
        1038         1658224688                1                5                 0                         Term
        1039         1658227936                1                5                 0                         Term
        1040         1658228033                1                5                 0                         Term
        1041         1658228520                1                5                 0                         Term
        1042         1658230724                1                5                 0                         Term
        1044         1658231668                1                5                 0                         Term
        1045         1658232643                1                5                 0                         Term
        1046         1658233058                1                5                 0                         Term
        1047         1658233218                1                5                 0                         Term
        1048         1658234592                1                5                 0                         Term
        1049         1658234185                1                5                 0                         Term
        1050         1658234469                1                5                 0                         Term
        1051         1658234534                1                5                 0                         Term
        1052         1658234817                1                5                 0                         Term
        1053         1658235584                1                5                 0                         Term
        1054         1658235740                1                5                 0                         Term
        1055         1658235661                1                5                 0                         Term
        1056         1658236534                1                5                 0                         Term
        1058         1658238864                1                5                 0                         Term
        1059         1658239023                1                5                 0                         Term
        1060         1658239328                1                5                 0                         Term
        1061         1658239719                1                5                 0                         Term
        1062         1658239764                1                5                 0                         Term
        1063         1658240068                1                5                 0                         Term
        1064         1658240961                1                5                 0                         Term
        1065         1658241613                1                5                 0                         Term
        1066         1658241425                1                5                 0                         Term
        1067         1658241238                1                5                 0                         Term
        1068         1658242019                1                5                 0                         Term
        1069         1658241964                1                5                 0                         Term


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                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 448 of 476 PageID #: 3086
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
        1033                    1               674   1800000408             3                  1             1
        1035                    1              1349   1800056276             2                  1             2
        1037                    1               800   1800074595             2                  1             3
        1038                    1               390   1800087923             3                  1             1
        1039                    1              1024   1800105619             2                  1             2
        1040                    1               375   1800118742             3                  1             3
        1041                    1              1519   1800119827             2                  2             3
        1042                    1              1425   1800146298             3                  1             3
        1044                    1               428   1800154737             1                  1             1
        1045                    1              1440   1800167722             1                  1             2
        1046                    1               390   1800167301             1                  1             2
        1047                    1              1583   1800172761             1                  1             1
        1048                    1              1109   1800166741             2                  1             3
        1049                    1              1343   1800180428             1                  1             1
        1050                    1              1349   1800188949             3                  2             3
        1051                    1              1354   1800180402             2                  1             1
        1052                    1              1330   1800165411             1                  1             1
        1053                    1              3440   1800195914             3                  1             1
        1054                    1               750   1800204557             1                  2             3
        1055                    1              1519   1800199994             2                  1             1
        1056                    1               390   1800216657             1                  1             2
        1058                    1              1903   1800252586             2                  1             3
        1059                    1              1417   1800256786             1                  1             3
        1060                    1              1440   1800260672             1                  1             3
        1061                    1              1903   1800261277             2                  1             1
        1062                    1               360   1800266238             3                  2             1
        1063                    1              1920   1800267825             3                  1             1
        1064                    1              1903   1800271048             3                  1             1
        1065                    1              1350   1800268548             1                  1             3
        1066                    1               832   1800285672             2                  1             1
        1067                    1              1543   1800286204             1                  1             2
        1068                    1              1200   1800299409             2                  1             3
        1069                    1              1074   1800291912             3                  1             2


                                                                                                                  N-199
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 449 of 476 PageID #: 3087
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
        1033                  1             3                  1             3                  1             1
        1035                  2             3                  1             2                  1             3
        1037                  1             1                  1             2                  1             3
        1038                  1             1                  1             3                  1             3
        1039                  1             2                  1             1                  1             1
        1040                  1             2                  1             3                  1             2
        1041                  1             1                  1             2                  2             1
        1042                  2             2                  1             1                  1             1
        1044                  1             2                  1             1                  2             3
        1045                  1             1                  1             1                  1             1
        1046                  2             2                  1             1                  2             3
        1047                  1             1                  1             3                  1             3
        1048                  1             2                  1             1                  1             2
        1049                  1             3                  1             1                  1             1
        1050                  2             1                  2             2                  1             3
        1051                  1             1                  2             3                  1             2
        1052                  1             2                  1             2                  1             1
        1053                  1             1                  1             3                  1             1
        1054                  2             3                  2             1                  2             2
        1055                  1             2                  1             3                  1             1
        1056                  1             1                  1             1                  1             2
        1058                  1             3                  1             2                  1             3
        1059                  1             3                  1             1                  1             1
        1060                  1             1                  1             3                  1             3
        1061                  1             1                  1             1                  1             3
        1062                  1             2                  2             2                  2             1
        1063                  1             2                  1             3                  1             1
        1064                  1             2                  1             3                  1             2
        1065                  1             1                  1             1                  1             2
        1066                  1             2                  1             3                  1             3
        1067                  1             1                  1             1                  1             3
        1068                  1             3                  1             1                  1             2
        1069                  2             1                  1             2                  1             3


                                                                                                                  N-200
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 450 of 476 PageID #: 3088
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
        1033                  1             1                  1             2                  1             1
        1035                  2             3                  1             3                  1             3
        1037                  1             2                  1             3                  1             2
        1038                  1             1                  1             2                  1             2
        1039                  1             2                  1             2                  2             1
        1040                  1             3                  1             2                  1             3
        1041                  1             1                  1             2                  1             2
        1042                  2             2                  1             2                  2             3
        1044                  1             3                  1             2                  1             1
        1045                  1             2                  1             3                  1             3
        1046                  1             2                  1             1                  1             2
        1047                  1             1                  1             1                  1             3
        1048                  1             3                  1             1                  1             3
        1049                  1             3                  2             3                  1             2
        1050                  2             1                  1             2                  1             3
        1051                  2             1                  2             1                  1             1
        1052                  1             2                  1             3                  1             2
        1053                  1             1                  1             1                  1             3
        1054                  2             3                  2             2                  2             2
        1055                  1             2                  1             1                  1             1
        1056                  1             1                  1             3                  1             3
        1058                  1             1                  2             3                  2             3
        1059                  1             3                  1             1                  1             1
        1060                  1             2                  1             2                  1             3
        1061                  1             3                  1             1                  1             3
        1062                  1             2                  2             3                  2             1
        1063                  1             3                  1             3                  1             2
        1064                  1             3                  1             2                  2             2
        1065                  1             2                  1             1                  1             3
        1066                  1             1                  1             1                  1             1
        1067                  1             3                  1             2                  1             1
        1068                  1             3                  1             2                  1             2
        1069                  2             1                  1             1                  2             3


                                                                                                                  N-201
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 451 of 476 PageID #: 3089
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
        1033                  1             1                  1              1                   1              2
        1035                  1             1                  2              3                   1              3
        1037                  1             2                  1              1                   1              2
        1038                  1             3                  1              2                   1              2
        1039                  2             3                  1              3                   2              1
        1040                  1             1                  1              2                   1              3
        1041                  1             2                  2              3                   1              1
        1042                  1             1                  2              2                   1              2
        1044                  1             1                  1              3                   2              3
        1045                  2             3                  1              1                   1              1
        1046                  1             2                  1              2                   1              3
        1047                  1             3                  1              1                   1              3
        1048                  1             2                  1              2                   1              3
        1049                  2             3                  1              1                   2              3
        1050                  1             3                  2              3                   1              1
        1051                  2             1                  1              2                   1              3
        1052                  1             2                  2              3                   1              3
        1053                  1             1                  1              3                   1              1
        1054                  2             1                  2              3                   1              1
        1055                  1             1                  1              3                   1              1
        1056                  1             3                  1              3                   1              2
        1058                  1             2                  2              3                   1              3
        1059                  1             2                  1              1                   1              1
        1060                  1             2                  1              3                   1              1
        1061                  1             2                  1              1                   1              1
        1062                  1             1                  2              2                   2              2
        1063                  1             2                  1              2                   1              3
        1064                  1             2                  1              1                   1              2
        1065                  1             2                  1              2                   1              2
        1066                  1             2                  1              2                   1              2
        1067                  1             1                  1              1                   1              2
        1068                  1             1                  1              1                   1              2
        1069                  1             1                  1              2                   1              2


                                                                                                                     N-202
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 452 of 476 PageID #: 3090
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
        1033                   1              1                   1                  133   CBC1_1651757381_6
        1035                   1              1                   1                  135   CBC1_1651757381_6
        1037                   1              2                   1                  137   CBC1_1651757381_6
        1038                   1              2                   1                  138   CBC1_1651757381_6
        1039                   1              3                   1                  139   CBC1_1651757381_6
        1040                   1              1                   1                  140   CBC1_1651757381_6
        1041                   1              1                   1                  141   CBC1_1651757381_6
        1042                   1              3                   1                  142   CBC1_1651757381_6
        1044                   1              3                   1                  144   CBC1_1651757381_6
        1045                   2              2                   1                  145   CBC1_1651757381_6
        1046                   1              3                   1                  146   CBC1_1651757381_6
        1047                   1              2                   1                  147   CBC1_1651757381_6
        1048                   1              1                   1                  148   CBC1_1651757381_6
        1049                   1              3                   1                  149   CBC1_1651757381_6
        1050                   1              3                   1                  150   CBC1_1651757381_6
        1051                   2              2                   2                  151   CBC1_1651757381_6
        1052                   1              1                   1                  152   CBC1_1651757381_6
        1053                   1              1                   1                  153   CBC1_1651757381_6
        1054                   2              2                   2                  154   CBC1_1651757381_6
        1055                   1              2                   1                  155   CBC1_1651757381_6
        1056                   1              1                   1                  156   CBC1_1651757381_6
        1058                   1              2                   1                  158   CBC1_1651757381_6
        1059                   1              1                   1                  159   CBC1_1651757381_6
        1060                   1              2                   1                  160   CBC1_1651757381_6
        1061                   1              1                   1                  161   CBC1_1651757381_6
        1062                   2              1                   1                  162   CBC1_1651757381_6
        1063                   1              2                   1                  163   CBC1_1651757381_6
        1064                   2              3                   2                  164   CBC1_1651757381_6
        1065                   1              3                   1                  165   CBC1_1651757381_6
        1066                   1              1                   1                  166   CBC1_1651757381_6
        1067                   1              2                   1                  167   CBC1_1651757381_6
        1068                   1              2                   1                  168   CBC1_1651757381_6
        1069                   2              3                   2                  169   CBC1_1651757381_6


                                                                                                                   N-203
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 453 of 476 PageID #: 3091
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
        1070   19 Jul 2022 - 10:42:32 EDT     19 Jul 2022 - 10:48:18 EDT                346                343           1658241752
        1071   19 Jul 2022 - 10:46:03 EDT     19 Jul 2022 - 10:48:55 EDT                172                172           1658241963
        1072   19 Jul 2022 - 11:19:55 EDT     19 Jul 2022 - 11:34:19 EDT                864                863           1658243995
        1073   19 Jul 2022 - 11:26:05 EDT     19 Jul 2022 - 11:28:58 EDT                173                173           1658244365
        1074   19 Jul 2022 - 11:33:13 EDT     19 Jul 2022 - 11:39:08 EDT                355                355           1658244793
        1075   19 Jul 2022 - 12:03:03 EDT     19 Jul 2022 - 12:05:21 EDT                138                135           1658246583
        1077   19 Jul 2022 - 12:20:39 EDT     19 Jul 2022 - 12:30:08 EDT                569                569           1658247639
        1078   19 Jul 2022 - 12:22:43 EDT     19 Jul 2022 - 12:27:15 EDT                272                270           1658247763
        1079   19 Jul 2022 - 12:29:14 EDT     19 Jul 2022 - 12:39:11 EDT                597                595           1658248154
        1081   19 Jul 2022 - 15:37:55 EDT     19 Jul 2022 - 15:40:37 EDT                162                160           1658259475
        1082   19 Jul 2022 - 15:50:58 EDT     19 Jul 2022 - 15:54:03 EDT                185                184           1658260258
        1083   19 Jul 2022 - 19:34:18 EDT     19 Jul 2022 - 19:38:09 EDT                231                230           1658273658
        1084   20 Jul 2022 - 17:17:18 EDT     20 Jul 2022 - 17:19:54 EDT                156                155           1658351838
        1085   20 Jul 2022 - 17:45:09 EDT     20 Jul 2022 - 17:48:41 EDT                212                212           1658353509
        1086   20 Jul 2022 - 18:08:35 EDT     20 Jul 2022 - 18:11:31 EDT                176                173           1658354915
        1087   20 Jul 2022 - 18:29:08 EDT     20 Jul 2022 - 18:33:57 EDT                289                287           1658356148
        1088   20 Jul 2022 - 19:26:50 EDT     20 Jul 2022 - 19:32:42 EDT                352                350           1658359610
        1089   20 Jul 2022 - 20:48:44 EDT     20 Jul 2022 - 20:50:30 EDT                106                106           1658364524
        1090   20 Jul 2022 - 20:52:47 EDT     20 Jul 2022 - 20:57:12 EDT                265                264           1658364767
        1091   20 Jul 2022 - 21:00:52 EDT     20 Jul 2022 - 21:04:32 EDT                220                220           1658365252
        1092   20 Jul 2022 - 21:10:28 EDT     20 Jul 2022 - 21:16:50 EDT                382                380           1658365828
        1093   20 Jul 2022 - 21:12:39 EDT     20 Jul 2022 - 21:23:16 EDT                637                634           1658365959
        1094   20 Jul 2022 - 21:30:36 EDT     20 Jul 2022 - 21:34:50 EDT                254                254           1658367036
        1095   20 Jul 2022 - 21:48:35 EDT     20 Jul 2022 - 21:51:22 EDT                167                167           1658368115
        1096   20 Jul 2022 - 21:54:02 EDT     20 Jul 2022 - 21:57:31 EDT                209                209           1658368442
        1097   20 Jul 2022 - 22:02:18 EDT     20 Jul 2022 - 22:20:06 EDT               1068               1029           1658368938
        1098   20 Jul 2022 - 22:06:04 EDT     20 Jul 2022 - 22:12:06 EDT                362                361           1658369164
        1100   20 Jul 2022 - 22:19:47 EDT     20 Jul 2022 - 22:25:18 EDT                331                328           1658369987
        1101   20 Jul 2022 - 23:24:45 EDT     20 Jul 2022 - 23:27:22 EDT                157                156           1658373885
        1102   20 Jul 2022 - 23:34:41 EDT     20 Jul 2022 - 23:38:59 EDT                258                254           1658374481
        1103   20 Jul 2022 - 23:37:02 EDT     20 Jul 2022 - 23:44:54 EDT                472                471           1658374622
        1104   20 Jul 2022 - 23:50:26 EDT     20 Jul 2022 - 23:53:34 EDT                188                186           1658375426
        1106   21 Jul 2022 - 02:09:31 EDT     21 Jul 2022 - 02:11:54 EDT                143                142           1658383771


                                                                                                                                      N-204
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
        1070         1658242098                1                5                 0                         Term
        1071         1658242135                1                5                 0                         Term
        1072         1658244859                1                5                 0                         Term
        1073         1658244538                1                5                 0                         Term
        1074         1658245148                1                5                 0                         Term
        1075         1658246721                1                5                 0                         Term
        1077         1658248208                1                5                 0                         Term
        1078         1658248035                1                5                 0                         Term
        1079         1658248751                1                5                 0                         Term
        1081         1658259637                1                5                 0                         Term
        1082         1658260443                1                5                 0                         Term
        1083         1658273889                1                5                 0                         Term
        1084         1658351994                1                5                 0                         Term
        1085         1658353721                1                5                 0                         Term
        1086         1658355091                1                5                 0                         Term
        1087         1658356437                1                5                 0                         Term
        1088         1658359962                1                5                 0                         Term
        1089         1658364630                1                5                 0                         Term
        1090         1658365032                1                5                 0                         Term
        1091         1658365472                1                5                 0                         Term
        1092         1658366210                1                5                 0                         Term
        1093         1658366596                1                5                 0                         Term
        1094         1658367290                1                5                 0                         Term
        1095         1658368282                1                5                 0                         Term
        1096         1658368651                1                5                 0                         Term
        1097         1658370006                1                5                 0                         Term
        1098         1658369526                1                5                 0                         Term
        1100         1658370318                1                5                 0                         Term
        1101         1658374042                1                5                 0                         Term
        1102         1658374739                1                5                 0                         Term
        1103         1658375094                1                5                 0                         Term
        1104         1658375614                1                5                 0                         Term
        1106         1658383914                1                5                 0                         Term


                                                                                                                                 N-205
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth         RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
        1070                    1               393    1800303695              1                  2             2
        1071                    1               390    1800307712              3                  1             1
        1072                    1               390    1800337921              1                  2             1
        1073                    1              1440    1800345551              2                  1             1
        1074                    1              1440    1800352739              3                  1             2
        1075                    1              1862    1800390099              3                  1             2
        1077                    1              1519    1800381785              3                  1             3
        1078                    1               360    1800390382              2                  1             2
        1079                    1               384    1800411650              1                  1             3
        1081                    1              1440   IGjo8SuF                 1                  1             3
        1082                    1               428   5H7SPSd6                 2                  1             3
        1083                    1               375    1800780561              1                  2             3
        1084                    1               360    1801662764              2                  1             1
        1085                    1              1263    1801685217              3                  1             1
        1086                    1              1349    1801700936              1                  1             3
        1087                    1               360    1801713807              3                  1             3
        1088                    1               922    1801754817              3                  1             2
        1089                    1               428    1801809380              3                  2             2
        1090                    1              1439    1801813155              1                  1             2
        1091                    1               390    1801816939              2                  1             2
        1092                    1               428    1801820925              3                  1             2
        1093                    1               390    1801813931              3                  1             3
        1094                    1               375    1801827515              2                  1             3
        1095                    1              1519    1801845515              3                  1             1
        1096                    1               414    1801847336              3                  1             1
        1097                    1               360    1801848745              3                  1             1
        1098                    1               768    1801852668              1                  1             1
        1100                    1               375    1801862179              3                  1             1
        1101                    1              1349    1801892804              2                  1             1
        1102                    1              1349    1801896298              1                  1             3
        1103                    1               360    1801896460              3                  1             3
        1104                    1               390    1801902268              2                  1             3
        1106                    1               390    1801951641              1                  1             1


                                                                                                                    N-206
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
        1070                  1             3                  2             1                  1             2
        1071                  2             1                  1             1                  1             2
        1072                  1             1                  1             3                  1             1
        1073                  1             3                  2             3                  2             3
        1074                  1             3                  1             1                  1             3
        1075                  1             1                  1             3                  1             2
        1077                  1             2                  1             3                  1             3
        1078                  1             2                  2             3                  2             2
        1079                  1             2                  1             3                  1             1
        1081                  1             1                  2             1                  1             3
        1082                  1             3                  1             3                  1             3
        1083                  2             1                  1             3                  2             3
        1084                  2             2                  1             2                  1             2
        1085                  1             1                  1             3                  2             3
        1086                  1             2                  1             2                  1             2
        1087                  1             1                  1             2                  1             1
        1088                  1             2                  1             3                  1             3
        1089                  2             3                  1             1                  1             3
        1090                  1             1                  1             1                  1             3
        1091                  1             3                  1             2                  1             2
        1092                  1             1                  1             3                  2             3
        1093                  1             3                  1             3                  1             3
        1094                  1             3                  2             3                  2             2
        1095                  1             3                  1             3                  1             3
        1096                  1             2                  1             2                  1             2
        1097                  1             3                  1             1                  1             2
        1098                  1             3                  1             1                  1             1
        1100                  1             1                  1             2                  1             2
        1101                  2             3                  1             3                  1             2
        1102                  1             2                  1             2                  1             1
        1103                  1             2                  1             3                  1             3
        1104                  1             1                  2             2                  1             2
        1106                  1             1                  1             3                  1             3


                                                                                                                  N-207
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 457 of 476 PageID #: 3095
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
        1070                  2             2                  1             3                  1             3
        1071                  2             1                  2             3                  1             1
        1072                  1             1                  1             3                  1             2
        1073                  1             2                  1             1                  1             3
        1074                  1             2                  1             3                  1             2
        1075                  2             1                  1             2                  1             3
        1077                  1             2                  1             2                  1             1
        1078                  1             3                  1             3                  2             3
        1079                  1             1                  1             1                  1             3
        1081                  2             2                  1             2                  1             3
        1082                  1             2                  1             1                  1             1
        1083                  1             1                  2             1                  1             2
        1084                  1             1                  1             1                  1             3
        1085                  1             1                  2             3                  2             1
        1086                  2             1                  1             2                  2             2
        1087                  1             2                  1             3                  1             2
        1088                  1             1                  1             3                  1             2
        1089                  2             3                  1             1                  1             3
        1090                  1             3                  1             2                  1             1
        1091                  1             1                  1             1                  1             2
        1092                  1             2                  1             1                  1             3
        1093                  1             3                  1             3                  1             3
        1094                  1             2                  2             3                  2             2
        1095                  1             2                  1             3                  1             3
        1096                  1             1                  1             3                  1             1
        1097                  1             3                  1             1                  1             2
        1098                  1             2                  1             2                  1             3
        1100                  1             2                  1             1                  1             1
        1101                  2             1                  1             1                  1             3
        1102                  1             3                  1             2                  1             3
        1103                  1             3                  1             3                  1             2
        1104                  1             1                  2             2                  1             3
        1106                  2             2                  2             3                  1             1


                                                                                                                  N-208
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 458 of 476 PageID #: 3096
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
        1070                  1             2                  1              3                   1              2
        1071                  2             3                  1              2                   2              2
        1072                  1             3                  1              2                   1              2
        1073                  2             2                  2              1                   2              2
        1074                  1             3                  1              1                   1              1
        1075                  2             2                  1              3                   1              2
        1077                  1             2                  1              2                   1              2
        1078                  1             1                  1              3                   2              3
        1079                  1             3                  1              3                   1              1
        1081                  1             3                  2              3                   2              2
        1082                  1             1                  1              3                   1              3
        1083                  1             3                  2              2                   1              1
        1084                  2             1                  1              1                   1              2
        1085                  1             1                  1              3                   1              2
        1086                  1             3                  1              2                   2              2
        1087                  1             2                  1              3                   1              2
        1088                  1             2                  1              1                   1              1
        1089                  2             3                  2              3                   1              3
        1090                  1             3                  1              2                   1              3
        1091                  1             3                  1              2                   1              2
        1092                  2             2                  1              1                   1              1
        1093                  1             1                  1              3                   1              1
        1094                  2             2                  2              2                   2              3
        1095                  1             1                  1              2                   1              1
        1096                  1             1                  1              1                   1              1
        1097                  1             2                  1              1                   1              1
        1098                  1             2                  1              3                   1              1
        1100                  1             2                  1              2                   1              2
        1101                  2             1                  1              1                   1              2
        1102                  1             2                  1              3                   1              1
        1103                  1             2                  1              3                   1              1
        1104                  1             3                  1              1                   1              2
        1106                  2             3                  1              2                   2              1


                                                                                                                     N-209
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 459 of 476 PageID #: 3097
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
        1070                   1              3                   1                  170   CBC1_1651757381_6
        1071                   1              1                   1                  171   CBC1_1651757381_6
        1072                   1              2                   1                  172   CBC1_1651757381_6
        1073                   1              1                   2                  173   CBC1_1651757381_6
        1074                   1              2                   1                  174   CBC1_1651757381_6
        1075                   1              1                   2                  175   CBC1_1651757381_6
        1077                   1              1                   1                  177   CBC1_1651757381_6
        1078                   1              2                   1                  178   CBC1_1651757381_6
        1079                   1              1                   1                  179   CBC1_1651757381_6
        1081                   1              2                   2                  181   CBC1_1651757381_6
        1082                   1              2                   1                  182   CBC1_1651757381_6
        1083                   1              2                   1                  183   CBC1_1651757381_6
        1084                   1              2                   1                  184   CBC1_1651757381_6
        1085                   1              3                   2                  185   CBC1_1651757381_6
        1086                   2              3                   1                  186   CBC1_1651757381_6
        1087                   1              1                   1                  187   CBC1_1651757381_6
        1088                   1              3                   1                  188   CBC1_1651757381_6
        1089                   1              2                   1                  189   CBC1_1651757381_6
        1090                   1              1                   1                  190   CBC1_1651757381_6
        1091                   1              3                   1                  191   CBC1_1651757381_6
        1092                   2              3                   1                  192   CBC1_1651757381_6
        1093                   1              2                   1                  193   CBC1_1651757381_6
        1094                   1              3                   1                  194   CBC1_1651757381_6
        1095                   1              2                   1                  195   CBC1_1651757381_6
        1096                   1              2                   1                  196   CBC1_1651757381_6
        1097                   1              3                   1                  197   CBC1_1651757381_6
        1098                   1              1                   1                  198   CBC1_1651757381_6
        1100                   1              1                   1                  200   CBC1_1651757381_6
        1101                   1              3                   1                  201   CBC1_1651757381_6
        1102                   1              3                   1                  202   CBC1_1651757381_6
        1103                   1              1                   1                  203   CBC1_1651757381_6
        1104                   1              1                   1                  204   CBC1_1651757381_6
        1106                   1              2                   1                  206   CBC1_1651757381_6


                                                                                                                   N-210
                    Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 460 of 476 PageID #: 3098
                                              Exhibit N: Conjoint Data Listing

sys_RespNum                   sys_StartTime                   sys_EndTime   sys_ElapsedTime   sys_SumPageTimes   sys_StartTimeStamp
        1107   21 Jul 2022 - 06:28:16 EDT     21 Jul 2022 - 06:30:48 EDT                152                152           1658399296
        1108   21 Jul 2022 - 07:40:55 EDT     21 Jul 2022 - 07:44:34 EDT                219                217           1658403655
        1109   21 Jul 2022 - 08:56:27 EDT     21 Jul 2022 - 08:58:26 EDT                119                118           1658408187
        1110   21 Jul 2022 - 11:07:25 EDT     21 Jul 2022 - 11:25:29 EDT               1084               1084           1658416045




                                                                                                                                      N-211
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_EndTimeStamp   sys_DataSource   sys_RespStatus   sys_RespRemoved   sys_DispositionCode     sys_LastQuestion
        1107         1658399448                1                5                 0                         Term
        1108         1658403874                1                5                 0                         Term
        1109         1658408306                1                5                 0                         Term
        1110         1658417129                1                5                 0                         Term




                                                                                                                                 N-212
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                                           Exhibit N: Conjoint Data Listing

sys_RespNum    sys_UserJavaScript   sys_ScreenWidth       RespID   CBC_Random1   CBC_Random1_none   CBC_Random2
        1107                    1               393   1802063155             3                  1             1
        1108                    1              1856   1802107857             2                  2             1
        1109                    1               360   1802161898             3                  1             3
        1110                    1              1903   1802245468             3                  1             3




                                                                                                                  N-213
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 463 of 476 PageID #: 3101
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random2_none   CBC_Random3   CBC_Random3_none   CBC_Random4   CBC_Random4_none   CBC_Random5
        1107                  1             3                  1             3                  1             2
        1108                  1             1                  2             2                  2             1
        1109                  2             2                  1             2                  1             2
        1110                  1             2                  2             1                  1             3




                                                                                                                  N-214
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 464 of 476 PageID #: 3102
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random5_none   CBC_Random6   CBC_Random6_none   CBC_Random7   CBC_Random7_none   CBC_Random8
        1107                  1             1                  1             1                  1             3
        1108                  1             2                  1             1                  1             2
        1109                  1             3                  1             2                  1             3
        1110                  1             1                  1             1                  1             1




                                                                                                                  N-215
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 465 of 476 PageID #: 3103
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random8_none   CBC_Random9   CBC_Random9_none   CBC_Random10   CBC_Random10_none   CBC_Random11
        1107                  1             1                  1              1                   1              1
        1108                  1             3                  2              2                   2              1
        1109                  2             2                  1              3                   1              3
        1110                  1             3                  1              2                   1              2




                                                                                                                     N-216
                 Case 1:20-cv-01478-SB Document 104-3 Filed 09/30/22 Page 466 of 476 PageID #: 3104
                                           Exhibit N: Conjoint Data Listing

sys_RespNum    CBC_Random11_none   CBC_Random12   CBC_Random12_none   sys_CBCVersion_CBC     sys_CBCDesignID_CBC
        1107                   1              2                   1                  207   CBC1_1651757381_6
        1108                   1              3                   1                  208   CBC1_1651757381_6
        1109                   1              3                   1                  209   CBC1_1651757381_6
        1110                   1              3                   1                  210   CBC1_1651757381_6




                                                                                                                   N-217
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                                 Exhibit O: CBC/HB Settings
  General Notes:
     •   Using Lighthouse Studio 9.13.1


  Screenshots of CBC/HB Settings
  Respondent ID settings:




                                                                            O-1
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  Respondent Filter settings:




                                                                            O-2
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  Tasks settings are set depending on analysis objectives (e.g., some tasks may be held out during
  holdout analyses):




                                                                                               O-3
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  Attribute Coding settings (interactions may be added depending on analysis objectives; but I did
  not find any interactions worth including, so a main-effects model was used):




                                                                                               O-4
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  Constraints settings are set depending on analysis objectives (e.g., constraining price):




                                                                                              O-5
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  Estimation settings (see the table immediately below this screenshot for number of iterations
  before using results, and number of draws to be used for each respondent):




                                                           Number of Draws to Be
                               Number of Iterations
        Study Name                                            Used for Each
                               Before Using Results
                                                               Respondent
             nnvd                      10,000                       10,000


  Convergence was assessed through observation of the chart depicting mean constrained beta
  parameters vs. iteration that is displayed by the HB regression software during estimation. While
  there may be variation in the betas across iterations, once they have no general trend upward or
  downward, convergence is considered to have been achieved.1




  1
   HB-Reg v4 For Hierarchical Bayes Regression, Sawtooth Software Technical Paper Series, 2013, pp. 12, 17, 18.
  See also Train, Kenneth E. (2009). Discrete Choice Methods with Simulation, (2nd Edition), New York, NY:
  Cambridge University Press, p. 303.

                                                                                                            O-6
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  Advanced settings (see below for Prior degrees of freedom and Prior variance):




                           Optimal Prior
                                                 Optimal Prior
      Study Name            Degrees of
                                                  Variance
                             Freedom
          nnvd                  5                     0.5

  The optimal prior variance and degrees of freedom shown above were set based on the grid
  search output from the Model Explorer (downloadable from Sawtooth Software).




                                                                                             O-7
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  Advanced Output Options settings: (these can be checked or not depending on objectives)




                                                                                            O-8
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  Combining Screener Data Files and Conjoint Data Files
     •   To match screener data to conjoint data use the field called "RespID" in the conjoint data,
         and "AMSID" in the screener data.
    Screener Data Exhibit Name          Conjoint Data                     SSI File Name Prefix
     Exhibit M: Screener Data      Exhibit N: Conjoint Data
          Listing (Exhibit             Listing (Exhibit                         nnvd.ssi
   M_Screener_Data_Listing.xlsx) N_Conjoint_Data_Listing.csv)




                                                                                                 O-9
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 Simulator Settings
       •    Each attribute’s level settings during the market simulations are listed in the tables below.
       •    Light blue denotes the key attribute being analyzed in the market simulation. Tuition per Semester, which is not shown, should
            be set in accordance with the simulation run’s objectives. See Exhibit K for details on the market simulations run for this
            report.
       •    Correlated error was applied to all attributes including tuition when running the market simulator.
       •    The solveforshare function was used to find the price change that would result in a 50/50 share in the simulations.2
       •    Unless otherwise noted, the defaults were used.

                                          ATTRIBUTE AND LEVEL SIMULATION SETTINGS
                                                                4-Year
                                Undergraduate        Student-
                 University                                   Graduation Ethnic Diversity Index                 Class and Campus Format
                              Teaching Ranking Faculty Ratio
                                                                 Rate
                              Undergraduate
                              teaching is not in              73%                                               Classes are offered in
                University of                                            The Ethnic Diversity
Product 1                     the top 10 among    12:1        Graduation                                        person; have access to
                Delaware                                                 Index is a .4 out of 1
                              public universities             Rate                                              campus and facilities
                              in the U.S.
                              Undergraduate
                              teaching is not in              73%                                               Classes held online; no
                University of                                            The Ethnic Diversity
Product 2                     the top 10 among    12:1        Graduation                                        access to campus or
                Delaware                                                 Index is a .4 out of 1
                              public universities             Rate                                              facilities
                              in the U.S.




 2
     https://www.sawtoothsoftware.com/help/lighthouse-studio/manual/solving-for-a-specific-share.html

                                                                                                                                     O-10
